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                   EXHIBIT L
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                                Section II
                                Completion of the Cuban
                                Claims Program
                                Under Title V of the
                                International Claims
                                Settlement Act of 1949




                                Foreign Claims Settlement
                                Commission of the United States
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                                  SUMMARY

         On October 16, 1964, the President signed into law, H.R. 12259,
      which became Public Law 88-666, title V of the International
      Claims Settlement Act of 1949, as amended (78 Stat. 1110), under
      which the Commission is authorized to determine the amount and
      validity of certain claims of nationals of the United States against
      the Government of Cuba based upon: ( 1) debts for merchandise
      furnished or services rendered by nationals of the United States;
       (2) losses arising since January 1, 1959, as a result of the nation­
      alization or other taking of property belonging to United States
      nationals; and (3) disability or death of nationals of the United
      States resulting from actions taken by, or under the authority of
      the Government of Cuba since January 1, 1959. The full text of
      the statute appears as Exhibit 11, and the implementing regula­
      tions appear as Exhibit 12.
         This legislation stemmed, in part, from various actions and en­
      actments in 1959 and 1960 by the Government of Cuba after the
      Castro regime came into power by which the Government of Cuba
      effectively seized and took into state ownership most of the prop­
      erty in that country owned by the United States and its nationals,
      with the exception of the United States Naval Base at Guantanamo
      Bay. No provision was made by the Cuban Government for the
      payment of compensation for such property as required under the
      generally accepted rules of international law.
         Subsequently, the Government of the United States terminated
      relations with the Government of Cuba after all attempts to nego­
      tiate failed.
         In signing H.R. 12259 into law, the President said:
              The basic purpose of this bill is to authorize the Foreign
           Claims Settlement Commission to determine the amount and
           validity of claims of United States nationals against the Gov­
           ernment of Cuba.
              The Castro regime has appropriated over $1 billion worth
           of property of United States nationals in total disregard for
           their rights. These unlawful seizures violated every standard
           by which the nationals of the free world conduct their affairs.
              I am confident that the Cuban people will not always be
           compelled to suffer under Communist rule-that one day they

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             will achieve freedom and democracy. I am also confident that
             it will be possible to settle claims of American nationals whose
             property has been wrongfully taken from them.
                This will provide for the adjudication of these claims of
             American nationals. I have signed it because of the importance
             of making such a permanent record while evidence and wit­
             nesses are still available." [51 Dept. of State Bull. 674
              (1964).]
           Title V of the International Claims Settlement Act of 1949, as
        amended does not provide for the payment of these losses of
        American nationals in claims against the Government of Cuba.
        The statute provides only for the determination by the Commis­
        sion of the validity and amounts of such claims and the certifica­
        tion of the findings to the Secretary of State. The stated purpose
        of the Congress in directing that the amounts of these losses be
        certified to the Secretary of State is to provide him with appro­
        priate information which would be useful in future negotiation
        of a claims settlement agreement with a friendly government in
        Cuba when diplomatic relations are resumed.
           The matter of payment of losses sustained by Americans was
        considered by the Congress as well as the Executive Branch of
        our Government when this legisaltion was examined prior to en­
        actment. Initially, the proposal included a section which would
        have provided for the liquidation of Cuban assets in the United
        States and made available the proceeds for payments on the losses
        determined by the Commission. However, after a study was made
        by the Treasury Department and the Department of State, upon
        the direction of the President, it was concluded that Cuban Gov­
        ernment assets in the United States were not of sufficient magni­
        tude to warrant such action. Thereafter, this section was deleted
        from the legislation by the Congress.
           Thus, in effect, this program may be classified as a presettlement
        adjudication of claims to determine the extent of American losses
        and provide a tool for our Government in dealing with the Gov­
        ernment of Cuba in the future on this important international
        issue.
           The program was officially commenced on November 1, 1965 by
        the issuance of a press release announcing that the filing period
        had opened and that the deadline for filing such claims was May 1,
        1967. Notice of this action was published in the Federal Register
        pursuant to a statutory requirement. At that time, the Commis­
        sion mailed claim forms and instructions for tiling claims to all
        persons who had registered an interest in tiling such claims with
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       the Commission as well as the Department of State and other
       agencies. The instruction sheets and form for filing claims against
       the Government of Cuba appear as Exhibit 13.
          The Cuban Claims Program was the most complex and chal­
       lenging assignment ever delegated to the Commission, both from
       a legal and administrative point of view, and it was the most inter­
       esting one as well. Over the many years during which Cuba was
       under the close influence of the United States, Americans were en­
       couraged to and did invest heavily in Cuba's economy. Many of
       Cuba's industries were developed with American capital and in­
       genuity, including some of the largest industrial and financial
       grants in the United States. As a result, Cuba became a progres­
       sive industrial country with a great potential for further
       development.
          These conditions changed radically after Fidel Castro came into
       power on January 1, 1959. By a series of actions taken shortly
       thereafter, Cuba confiscated, expropriated, intervened, national­
       ized, and by various means took the properties of American na­
       tionals without compensation. Some of the actions were subtle,
       commencing in one instance with costly and time-consuming re­
       quirements, which were clearly deliberate administrative ob­
       stacles, that Americans owning mineral and mining rights in
       Cuba reregister their concessions under conditions that made it
       almost impossible for anyone to comply. Under Law No. 635 of
       November 23, 1959, all pending applications for further explora­
       tion of American-owned ore concessions were cancelled arbitrarily,
       and new applications were ignored or disapproved. One such case
       is illustrated by the Claim of Felix Heyman, Claim No. CU-0412,
       1968 FCSC Ann. Rep. 51.
          American exporters of merchandise and other goods to Cuba
       came under attack upon the enactment of a foreign exchange law
       by Cuba. This action had the color of legitimacy since foreign
       exchange is universally recognized as being within the inherent
       jurisdiction of a sovereign state. However, an examination of the
       law and its implementation revealed that Cuba had imposed such
       unreasonable restrictions upon Cuban debtors that they were pre­
       cluded from making payments to their American suppliers. The
       Commission concluded that these actions constituted an interven­
       tion into the contractual rights of the American suppliers within
       the meaning of title V of the Act. Two outstanding cases in this
       respect are the Claim of Schwarzenbach Huber Company, Claim
       No. CU-0109, 25 FCSC Semiann. Rep. 58 (July-Dec. 1966), and
       the Claim of Etna Pozzolana Corporation, Claim No. CU-0049,
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       1967 FCSC Ann. Rep. 46. In another case, the Commission con­
       cluded that the cumulative effect of a number of restrictions by
       the Cuban Government on the maritime industry constituted a con­
       structive taking of American-owned properties engaged in that
       industry. (See the Claim of Garcia & Diaz, Inc., Claim No. CU­
       0940, 1970 FCSC Ann. Rep. 30.)
          Since the statute is remedial in nature, it warrants a liberal
       interpretation in accordance with established rules of construc­
       tion; and the Commission so construed the statute whenever the
       circumstances justified such action. Thus, while the statute pro­
       vided for a filing deadline of May 1, 1967, which could have been
       extended to May 31, 1967 under certain conditions, the Commis­
       sion decided that claims filed after the deadline could also be de­
       termined on their merits if it did not interfere with the orderly
       processing of the timely filed claims. That decision was in concert
       with the legislative intent of the Act that all American claims
       against Cuba be compiled at a. time when evidence and witnesses
       were still available. Such a complete record would also be.of assist­
       ance in the event of any future negotiations with Cuba. (See the
       Claim of John Korenda~ Claim No. CU-8255. reported herein.)
           Similarly, the Commission considered a number of claims in­
       volving a section of the statute that required, as a prerequisite for
       favorable action, that the claims be owned by nationals of the
       United States continuously from the dates of loss until the dates of
       filing with the Commission. (See Section 504 (a) . ) A claim was
       filed on the basis of certain losses with respect to certain Cuban
       bonds. It was noted by the Commission that the bonds had been
       owned and traded almost entirely by firms and persons in the
       United States. Applying a liberal interpretation to that section of
       the statute, the Commission concluded that the circumstances justi­
       fied an inference that the bonds and the claims based thereon were
       so owned continuously by nationals of the United States, and ap­
       propriate Certifications of Loss were entered. (See the Claim of
       Samuel J. Winkle1·, et al., Claim No. CU-2571, 1968 FCSC Ann.
       Rep. 47.)
           However, when the circumstances concerned an American cor­
       poration which clearly was excluded by the express provisions of
       the statute, the Commission found no basis for applying a liberal
       interpretation so as to render the claim valid under the Act. Two
       claims were filed by an American corporation for certain losses
       sustained as a result of Cuban Government actions, to which
       claims the American corporation had succeeded. The statute pro­
       vided that a corporation is a national of the United States if it
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       was organized domestically and if at least 50% of its outstanding
       capital stock is owned by nationals of the United States. (See Sec­
       tion 502(1) (B).)
          One of the claims arose in favor of an American corporation,
       but from 1960 to 1962 the claim had been owned by a corporation
       that was organized in Canada. The second claim arose in favor of
       this Canadian corporation. Claimant urged that since more than
       50% of the outstanding capital stock of the Canadian corporation
       was owned by nationals of the United States, claimant satisfied
       the nationality prerequisites of the statute.
          The Commission was constrained to reject claimant's conten­
       tions. Since the first claim had been owned by a Canadian corpor­
       ation for two years before the date of filing with the Commission,
       claimant could not show that the claim was owned continuously
       by nationals of the United States from the date of loss until the
       date of filing. The second claim arose in favor of the Canadian
       corporation (organized under the laws of Canada) and, therefore,
       was invalid ab initio because it was not owned by a national of the
       United States on the date of loss. The fact that the claimant, which
       presented the claim, itself qualified as a United States national and
       that more than 50% of the Canadian corporation's outstanding
       capital stock was owned by nationals of the United States was in­
       sufficient to cure the inherent defects in the claims, and both claims
       were denied. (See the Claims of AOFC, Inc., Claim Nos. CU-3671
       and CU-3672, reported herein.)
          As indicated in the decision on these two claims, had the second
       claim which arose in favor of the Canadian corporation been held
       by that foreign corporation continuously until the date of filing
       with the Commission, all American stockholders thereof could
       have filed claims for their proportionate stock interests therein
       pursuant to Section 505 (b) of the Act. Another leading case in
       which this latter issue is involved is the Claim of Ruth Anna
       Haskew, Claim No. CU-0849, 1968 FCSC Ann. Rep. 31.
          It may be noted at this point that there were a number of less
       difficult, but nonetheless important, cases that were encountered
       in the Cuban Claims Program. The following is a summary of
       some of those cases:
          (a) The Commission held that all properties, goods, chattels,
       and bank accounts of persons who had left Cuba were taken by
       virtue of Cuban Law 989 of December 6, 1961. (See the Cla1:m of
       Floyd W. Auld, Claim No. CU-0020, 25 FCSC Semiann. Rep. 55
        (July-Dec. 1966) .)
          (b) The Commission held that claims based on indirect owner­
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        ship of stock interests in nationalized Cuban corporations through
        stock interests in other foreign entities were within the purview of
        title V of the Act. if at least 25% of the entire ownership interests
        in the Cuban corporations were vested in United States nationals
        on the dates of loss. (See the Claim of Avon Products, Inc., Claim
        No. CU-0772, 1967 FCSC Ann. Rep. 35.)
            (c) The Government of Cuba enacted Law 963 of August 4,
        1961 which annulled all "old currency" and established a new cur­
        rency. Old currency was required to be turned in at certain desig­
        nated centers and only limited amounts of the new currency were
        authorized in exchange therefor. Amounts in excess thereof were
        deposited in special accounts. Claimant in this case possessed old
        currency in the United States. The Commission held that the
        annulment of such old currency outside of Cuba and the failure to
        provide the right to exchange it for new currency constituted a
        taking of property within the meaning of title V of the Act. (See
        the Claim of Betty G. Boyle, Claim No. CU-3473, 1968 FCSC Ann.
        Rep. 81).
            (d) Based upon a study of the legislative history of title V
        of the Act, the Commission held that the Government of the United
        States was not an eligible claimant. (See the Claims of the United
        States of America, Claim Nos. CU-2522 and CU-2618, 1967 FCSC
        Ann. Rep. 50.)
           (e) In accordance with the provisions of Section 506 of the
        Act, the Commission held that amounts received on account of the
        same loss from whatever source must be deducted in determining
        the certifiable amount of loss. (See the Claim of Richard G. Milk,
        et. al., Claim No. CU-0923, 1967 FCSC Ann. Rep.63.)
           (f) A question arose in a case concerning taxes which the
        claimant owed to the Government of Cuba. The Commission ap­
        plied the theory of set-off and held that such unpaid taxes must be
        deducted in determining the amount of loss under title V of the
        Act. (See the Claim of Simmons Company, Claim No. CU-2303,
        1968 FCSC Ann. Rep. 77.)
           (g) The Commission held that expenses incurred in moving
        personnel and records from Cuba to another country after an
        enterprise had been nationalized by Cuba, and expenses of estab­
        lishing a new office are losses outside the purview of title V of the
        Act. It was concluded that such losses were too remote and indirect
        to attribute them to the act of nationalization for the purposes of
        the statute, and claims for such losses were denied. However, the
        Commission held in one such case, that the value of improvements
        made by a lessee to leased premises that were taken by Cuba con­
        stituted losses certif.able under the statute. (See the Claim of PPG
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        Industries, Inc., Claim No. CU-1530, 1970 FCSC Ann. Rep. 51.
        See also Claim of Cuban Electric Company, Claim No. CU-2578,
        reported herein, and the Claim of American Brands, Inc., Claim
        No. CU-2354, 1970 FCSC Ann. Rep. 36.) In the Claim of Fred­
        erick Snare Corporation, et. al., Claim No. CU-2035, reported
        herein, the Commission held that improvements to leased premises
        that were taken by Cuba were allowable losses under title V of
        the Act if such improvements enhanced the value of the property
        in question. This was the rationale for allowing the leasehold
        improvements in the said Claim of PPG Industries, Inc.
           (h) Another example of indirect losses was presented in a
        claim for expenses incurred in preparing a claim under title V of
        the Act. The Commission held that such expenses do not constitute
        losses within the meaning of the statute. (See the Claim of Mary
        Pauline Seal, Claim No. CU-0059, 1967 FCSC Ann. Rep. 57.)
           (i) In one case, claimant asserted that it had made certain
        guarantees in the event certain conditions ever arose, and desig­
        nated this portion of the claim as a "provisional claim." The evi­
        dence failed to establish that claimant ever became liable under
        those guarantees or that it sustained any loss in this respect. The
        Commission held that contingent losses or losses which were never
        sustained do not form the basis for a valid claim under title V
        of the Act. (See the Claim of Ford Motor Company, Claim No.
        CU-3072, reported herein.)
           (j) The Commission held that the settlement of an attachment
        suit against a Cuban bank in the New York courts for an amount
        less than the full amount of the loss in question did not extinguish
        any claim for the balance of the loss under title V of the Act in
        the absence of evidence that the stipulation between the parties to
        the suit included a general release, a covenant not to sue, or a
        statement that the settlement was agreed upon with prejudice.
         (See the Claim of Deak and Co., Inc., Claim No. CU-0381, 1968
        FCSC Ann. Rep. 27.)
           (k) The statute provides for certain claims "arising since
        January 1. 1959." A study of the legislative history of title V of
        the Act, however, led to the conclusion that debts owed to Ameri­
        can nationals by the Government of Cuba which arose prior to
        January 1, 1959 are within the purview of the statute if the re­
        fusal to pay occurred for the first time after January 1, 1959. (See
        the Claim of United Fruit Sugar Company, Claim No. CU-2776,
        1969 FCSC Ann. Rep. 42, and the Claim of Clemens R. Maise,
        Claim No. CU-3191, 1967 FCSC Ann. Rep. 68.)
           (I) The Commission held that a trustee under a bond inden­
        ture owns no proprietary interest in claims based on the failure
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      of the Cuban Government to meet its obligations with respect to
      the bonds. Any losses in these respects were found to have been
      suffered by the individual bondholders in whose favor Certifica­
      tions of Loss were entered under title V of the Act. (See the
      Claim of M01·gan Guaranty and Trust Company of New York, as
      Trustee, Claim No. CU-1594, 1967 FCSC Ann. Rep. 44.)
         (m) Under the laws of Cuba, children are "obligatory heirs."
      A case was pre,sented involving American children of a Cuban
      parent who was alive and owned the claimed property on the date
      of loss. Counsel for the children, the claimants, urged that claim­
      ants owned interests in the property on the date of loss as "oblig­
      atory heirs." The Commission, however, held that such rights do
      not vest until the moment of death. Since it was clear that the
      claims were not owned by nationals of the United States on the
      date of loss, the claims were denied. (See the Claims of Robert
      M. Gonzalez, et al., Claim Nos. CU-3685 and CU-3687, 1971 FCSC
      Ann. Rep. 82.)
         (n) A case involved a life insurance policy issued by an Amer­
      ican company doing business in Cuba. The Commission held that
      the claim was not valid under title V of the Act unless Cuba took
      the proceeds of the policy. (See the Claim of Estrella Vaughn,
      et al., Claim No. CU-1213, 1971 FCSC Ann. Rep. 76.)
         (o) The Commission held that the failure of the Government
      of Cuba to honor and transfer benefits due American nationals on
      account of earned retirement benefits constituted a taking of prop­
      erty within the meaning of title V of the Act. (See the Claim of
       A.M. Joy de Pardo, Claim No. CU-1906, 1969 FCSC Ann. Rep.
      71.)
         (p) The Commission concluded that in determining the
      amount of loss sustained under title V of the Act. it is not bound
      by the amount asserted by claimant, and the Certification of Loss
      may be in a greater amount than claimed if warranted by the
      evidence of record. (See the Claim of King Ranch, Inc., Claim No.
      CU-1507, 1970 FCSC Ann. Rep. 59.)
         (q) Although title V of the Act did not expressly provide for
      the inclusion of interest on the amount allowed, the Commission
      concluded that interest should be added in a. certifiable loss in
      conformity with principles of international law, justice and equity,
      and should be computed from the date of loss to the date of any
      future settlement. (See the Cla1~m of American Cast Iron Pipe
      Company, Claim No. CU-0249, 25 FCSC Semiann. Rep. 49 (July­
      Dec. 1966.) Subsequently, the Commission cited another case as
      authority for this principle as a mere matter of expediency, known
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       as Claim of Lisle Corporation, Claim No. CU-0644, but there was
       no change in the effect of this holding .             .
          (r) Giving effect to the Community Property Laws of Cuba,
       which was a recognition of the rule that the law of the situs gov­
       erns ownership of property, the Commission held that properties
       in Cuba were owned equally by both spouses ( 1) if acquired by
       either one during coverture with funds of the marriage partner­
       ship; (2) if acquired by work or industry of either spouse during
       coverture; or (3) if the fruits, income or interests were received
       or accrued during coverture from the common or private proper­
       ties of the spouses. (See the Claim of Robert L. Cheaney, et al.,
       Claim No. CU-0915, reported herein.)
          (s) Under the act of state doctrine, the courts of the United
       States could not generally sit in judgment on the acts of another
       government committed within its territory. However, that rule
       was amended by the Hickenlooper Amendment to the Foreign
       Assistance Act of 1964. Thus, in a claim based on a judgment
       against the Government of Cuba entered by a Pennsylvania court,
       the Commission held that the failure of Cuba to satisfy the judg­
       ment constituted a loss within the meaning of title V of the Act.
        (See the Claim of James Keys, Claim No. CU-0991, 1968 FCSC
       Ann. Rep. 75.)
          (t) The Commission held that nonstock corporations organized
       in the United States, the members and trustees of which are citi­
       zens of the United States, qualify as nationals of the United States
       within the meaning of title V of the Act. (See the Claim of
       Brothers of the Order of Hermits of St. Augustine (Inc.), Claim
       No. CU-3503, reported herein. This decision followed the holding
       in the Claim of Independence Foundation, Claim No. CU-2152,
       1969 FCSC Ann. Rep. 38.)
          (u) An American insurance company asserted a claim based,
       in part, on loans made to Cuban insureds. The evidence showed
       that the loans were secured by the cash surrender values of the
       policies, which amounts were in the possession of claimant. In the
       absence of evidence establishing that claimant had not already
       been compensated for these asserted losses from the collateral
       funds in its possession, the Commission held that claimant had
       not met the burden of proof with respect to this portion of· the
       claim. (See the Claim of Occidental Insurance Company of North
       Carolina, Claim No. CU-2353, reported herein.)
          (v) In accordance with the express provisions of Section
       505 (a) of the Act, the Commission held that a claim based on a
       debt of an American corporation may not be allowed unless the
       debt was a charge on property taken by the Government of Cuba.
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        (See the Claim of Anac.onda American Brass Company, Claim No.
       CU-0112, 1967 FCSC Ann. Rep. 60; and the Claim of Ebasco
       Industries, Inc., Claim No. CU-3548, reported herein.) It should
       be noted, however that in another case in which the American
       debtor corporation became defunct after the date of loss, the Com­
       mission allowed claims on behalf of such creditors. (See the Claim
       of International Telephone and Telegraph Corporation, Claim No.
       CU-2615, which is discussed infra, and reported herein.)
          (w) Cuba nationalized, intervened and otherwise took Ameri­
       can properties by means of a number of laws specifically enacted
       for that purpose. Thus, improved real property was taken pur­
       suant to the Urban Reform Law of October 14, 1960. (See the
       Claim of Henry Lewis Slade, Claim No. CU-0183, 1967 FCSC
       Ann. Rep. 39.) The Urban Reform Law of October 14, 1960 also
       effected a cancellation of all mortgages on properties in Cuba, and
       gave rise to claims on account of such losses. (See the citation to
       the Claim of the Estate of Marita Dearing de Lattre, Deceased,
       Claim No. CU-0116, in the Claim of Occidental Insurance Com­
       pany of North Carolina, supra, reported herein.)         ·
          Private commercial enterprises in Cuba were taken pursuant
       to Law 1076 of December 5, 1962. (See the Claim of Perkins
       Marine Lamp and Hardware Corporation, Claim No. CU-0323,
       1967 FCSCAnn. Rep. 42.)
          Pursuant to Law 78 of February 19, 1959, and Law 715 of Jan­
       uary 26, 1960, the Government of Cuba directed the confiscation
       of goods or its proceeds representing what it considered "unjust
       enrichment." (See the Claim of United Merchants & Manufac­
       turers, Inc., Claim No. CU-0759, 1967 FCSC Ann. Rep. 52.)
          Resolution No. 1, issued pursuant to Law 851 of July 6, 1960,
       authorized the nationalization of Cuban concerns in which Amer­
       icans owned majority interests. (See the Claim of American Cast
       Iron Pipe Company, Claim No. CU-0249, 25 FCSC Semiann. Rep.
       49 (July-Dec. 1966).)
          Resolution No. 2, issued pursuant to Law 851 of July 6, 1960,
       listed certain American banks as nationalized. (See Proposed De­
       cision on the Claim of First National Bank of Boston, Claim No.
       CU-2268, discussed infra in connection with an important ques­
       tion of valuation, and reported herein.)
          Many other Cuban entities owned or controlled by Americans
       were listed as nationalized by Resolution No.3, issued pursuant to
       Law 851 of July 6, 1960. (See the Claim of Simmons Company,
       Claim No. CU-2303, 1968 FCSC Ann. Rep. 77.)
          Law No. 647 of November 25, 1959 authorized the Cuban Minis­
       ter of Labor to order the intervention of such enterprises as he
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       deemed necessary, and he was empowered to extend the date of
       intervention. (See the Claim of Parke, Davis & Company, Claim
       No. CU-0180, 1967 FCSC Ann. Rep. 32.)
          A large number of Cuban enterprises were listed as national­
       ized pursuant to Law 890 of October 13, 1960. (See the Claim of
       Kramer, Marx, Greenlee and Backus, Claim No. CU-0105, 25
       FCSC Semiann. Rep. 62 (July-Dec. 1966); the Claim of Bartlett­
       Collins Company, Claim No. CU-2192, 1968 FCSC Ann. Rep. 39;
       and the Claim of Samuel J. Winkler, et al., id. at 47.)
          Owners of mining concessions in Cuba, as distinguished from
       oil concessions, lost their properties on various dates by interven­
       tion by the Minister of Agriculture pursuant to Law No. 617 of
       October 7, 1959. (See the Claim of John El Koury, Claim No.
       CU-0384, and the Claim of Archibald S. Abbey, Claim No.
       CU-0352, both discussed infra in connection with an important
       question of valuation, and reported herein.)
          Cuba expropriated farms and rural properties pursuant to the
       Agrarian Reform Law of May 17, 1959, implemented by the regu­
       lations of October 7, 1959. (See the Claim of the Estate of Gren­
       ville M. Dodge, Deceased, Claim No. CU-1290, reported herein.)
          (x) The Commission held that the values of life estates and
       remainder interests in property that was taken by Cuba may be
       determined on the basis of the Makehamized Mortality Tables as
       prescribed by the United States Treasury Department regulations
       governing the collection of gift and estate taxes. (See the Claim of
       Richard Franchi Alfaro, et al., Claim No. CU-0048, 1967 FCSC
       Ann. Rep. 71.)
          The complexity of the Cuban Claims Program and the interest
       it engendered on the part of all concerned is further illustrated by
       the following cases:
          1. There were instances in which Americans whose properties
       were taken by Cuba were unable to leave Cuba and, therefore,
       could not file claims for their losses. On its own motion, the Com­
       mission opened claims on behalf of such claimants and left them
       open until their return to the United States or the end of the
       program, July 6, 1972. Whenever any such claimant had a mem­
       ber of his family in the United States who had filed a claim, all
       interests in the properties in question were considered. If the
       claims of the absent Americans were found to be valid under the
       statute, appropriate Certifications of Loss were entered in their
       favor. (See the Claim of Placido Navas Costa, et al., Claim No.
       CU-3344, reported herein.) In those instances in which it could
       not be determined whether the claims of such absent Americans
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        were valid under the Act due to the lack of evidence, the claims
        were held open as long as possible and were dismissed at the
        statutory end of the program.
           2. A very complex case involved several American and Cuban
        entities, as well as individuals, who owned direct or indirect in­
        terests in the entities. There were conflicting claims concerning
        ownership of certain large quantities of sugar that had been taken
        by the Government of Cuba. These claims were supported by a
        brief submitted by counsel for claimants who suggested findings
        of ownership in the alternative and agreed to any decision the
        Commission would reach in this respect. A second important issue
        in this case centered around ownership of certain stock interests
        by two non-United States nationals who were two of four bene­
        ficiaries under an irrevocable trust. Here, counsel urged that the
        trustees, nationals of the United States, owned the stock interests
        and that these two non-United States nationals never owned either
        a legal or equitable interest in the stock. Upon careful considera­
        tion of the evidence of record, the Commission held that the trust­
        ees were merely nominal holders, and that the beneficiaries were
        the real parties in interest who must satisfy the United States
        nationality prerequisites of the statute. (See the Claim of Efim
        Golodetz.. et al., Claim Nos. CU-1816, CU-1818, CU-1819 and
        CU-1820, reported herein.)
           3. The statute provides that a claim based on an interest in an
        entity which qualifies as a national of the United States shall not
        be considered because the entity itself is the proper party claim­
        ant. (See Section 505 (a) of the Act.) However, in an unusual set
        of circumstances the Commission held that covered losses of an
        American corporation which became defunct after the dates of
        loss may be the basis for certifying such losses in favor of a ma­
        jority stockholder of the defunct entity as trustee for the benefit
        of non-claimant stockholders and creditors. The Commission fur­
        ther held that the distribution is to be made in accordance with
        the laws of Delaware, where the defunct corporation had been
        organized. and with the provisions of title V of the Act, prefer­
        ence to be given to creditors, preferred stockholders and common
        stockholders in that order, and the qualifications as to nationality
        to be observed. Further, it was held that the distribution is to be
        made on the same pro rata basis as employed in determining any
        payment made to successful claimants against the Government of
        Cuba. (See the Claim of International Telephone and Telegraph
        Corporation, Individually and as Trustee, Claim No. CU-2615,
        reported herein.)
           4. A claim was presented by an American insurance company
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         doing business in Cuba. One of its Cuban insureds suffered a cov­
         ered loss in Cuba, and before he could recover from claimant, the
         Government of Cuba confiscated the Cuban's properties, including
         his claim against claimant. When claimant failed to pay Cuba for
         the insured's loss to which Cuba asserted title, Cuba confiscated
         assets of claimant on deposit in Cuba. In the meantime, the Cuban
         insured, who had fled to the United States, instituted suit against
         claimant in an American court. Claimant alleged in that suit that
         its liability to the insured had been satisfied when Cuba, as suc­
         cessor in interest, seized sufficient assets of claimant to pay the
         insured loss.
            Initially, the Cuban's suit was dismissed, and appealed ul­
         timately to the United States Supreme Court. Subsequently, the
         suit was remanded to the United States Court of Appeals and,
         in turn, to the United States District Court. Finally, the court
       · ruled in favor of the Cuban on the ground that the suit was tran­
         sitory in nature and that acts of Cuba expropriating the insured's
         properties could not be given extraterritorial effect. The court,
         therefore, held that Cuba had not taken the insured's claim against
        claimant, but only claimant's properties. The Commission found
         accordingly. (See the Claim of Aetna Insurance Company, Claim
         No. CU-2363, reported herein.)
            5. The Commission held that the value of the life of an Amer­
         ican who had been executed by a Cuban firing squad in violation
         of international law is measured by the contributions the deceased
         would have made to his dependents. (See the Claim of Jennie M.
         Fuller, et al., Claim No. CU-2803, reported herein.)
            This determination as to the value of human life is to be dis­
         tinguished from the Commission's holding in a case under the
         General War Claims Program authorized by the War Claims Act
         of 1948. Based upon a different legislative intent than that in the
         International Claims Settlement Act of 1949, the Commission held
        that the value of a human life should not be measured by age,
        status in life, ability to earn, or dependents; and that each life
        should be considered equal under the statute. Accordingly, the
         Commission initially fixed the award for a death claim at $10,­
        000.00 based upon allowances under other Federal statutes. Sub­
        sequently, upon reconsideration, the Commission allowed $25,­
         000.00 for the loss of each life. (See Claim of Edward T. Wilkes,
        et al., Claim Nos. W-10922, W-10923, W-10924, 23 FCSC Semi­
         ann. Rep. 77 (July-Dec. 1965) .)
            6. A very interesting case concerned a contract to build a low
        cost housing project in Cuba. As a result of certain negotiations
        with officials in Cuba, claimant, a corporation, was organized in
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       Delaware, and ultimately this entity entered into a contract with
       the Government of Cuba to build a $10 million housing develop­
       ment. One day later, claimant entered into a subcontract with a
       Cuban corporation that was wholly owned by one of the stock­
       holders of claimant, pursuant to which the Cuban entity agreed
       to build the housing project for $8.5 million. A week later, the
       same stockholders of claimant formed a Cuban corporation, and
       claimant assigned its original contract to the newly formed Cuban
       corporation. The Cuban subcontractor commenced work late in
       December 1958, and in January 1959, after Castro came into
       power, construction was halted and no work was performed there­
       after, which actions constituted a taking of property within the
       meaning of title V of the Act. Claimant requested $1.5 million as
       the profit it would have earned had there been no interference
       from Cuba.
          The Commission noted that the contract and the subcontract ·
       included "cost plus" provisions not to exceed $10 million and
       $8.5 million, respectively. There was no evidence to establish what
       the final costs would aggregate. The Commission, therefore, con­
       cluded that any finding that an amount certain would be earned as
       profit was purely speculative and without foundation. Accordingly,
       the claims were denied. (See the Claims of Berlanti Construction
       Company, Inc., et al., Claim Nos. CU-0871 and CU-0657, reported
       herein.) On the other hand, the losses actually sustained by the
       subcontractor for supplies and other related costs in commencing
       work under the subcontract were found to be allowable under the
       Act on the basis of a 100% stock interest in the subcontractor by
       an American national. (See the Claim of Angel Pagliuca, Claim
       No. CU-0632, reported herein.)
          The Pagliuca case also illustrates how the Commission evaluated
       items of personal property. Generally, such items were depreciated
       to arrive at their values on the dates of loss. Depreciation rates
       were, usually, those applied by the Internal Revenue Service in the
       collection of income taxes.
          7. A claim was presented by a claimant who asserted the loss
       of certain properties and personal injuries as a result of actions
       by the Cuban Government. It appeared from the record that claim­
       ant had been convicted of counter-revolutionary activities and
       imprisoned. The sentence also included the confiscation of all her
       properties in Cuba. Since the evidence failed to establish that
       claimant had been denied due process of law or that there was a
       denial of justice as that term is understood under international
       law, the Commission found no basis for allowing the claim for
       property losses. The Commission held that a state has the inherent
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        sovereign right to impose penalties for the violations of its laws.
        With respect to the claim for personal injuries, the evidence failed
        to establish that claimant's personal injuries or disability resulted
      . from action by the Cuban Government in violation of international
        law. Accordingly, the claim was denied in its entirety. (See the
        Claim of Isabella Shamma, Claim No. CU-2593, reported herein.)
           8. A case involved a contract between a Cuban corporation and
        an American entity. Pursuant to the agreement, the American
        entity shipped certain machinery to the Cuban entity for use in
        manufacturing certain products. The contract provided that the
        machinery was to remain the property of the American entity
        until paid for by the Cuban entity. In addition, the Cuban entity
        agreed to pay the American entity certain royalties based upon
        the amount of products manufactured by the machines. Since the
        record showed that the Government of Cuba had purchased the
        machines from the Cuban entity, the Commission held that Cuba
        had assumed the obligations of the Cuban entity under the con­
        tract. (See the Claim of Pilgrim Plastics Corporation, Claim No.
        CU-1979, reported herein. See also the Claim of Jantzen, Inc.,
        Claim No. CU-1531, 1968 FCSC Ann. Rep. 66; and the Claim of
        Schiaparelli, Inc., Claim No. CU-2112, 1970 FCSC Ann. Rep. 55.)
           9. Some of the cases were complicated because they involved
        interests in many Cuban corporations and other items of prop­
        erty. The values of each stock interest and each item of property
        had to be determined separately at the expense of much time, ef­
        fort and research. Moreover, it was necessary to find a date of
        loss with respect to each such stock interest or other item of prop­
        erty. (See the Claim of William A. Powe, Claim No. CU-0502,
        reported herein.)
          10. Many claims involved the issue of valuation which proved
       to be a most difficult one to resolve. The statute provides that the
       Commission shall consider "the basis of valuation most appro­
       priate to the property and equitable to the claimant, including but
       not limited to fair market value, book value, going concern value,
       or cost of replacement." (See Section 503 (a) of the Act.) Several
       cases have been selected to illustrate that this issue was resolved
       by determining each such case on its owri merits and thereby ap­
       plying the valuation "most appropriate" and "most equitable."
             (A) Where warranted, the Commission held that the value
       of a Cuban corporation may be determined by considering its book
       value and adjusting the values of its assets on the basis of com­
       petent appraisals. In this case, the Cuban corporation owned sugar
       cane plantations and refineries which were the subjects of the ap­
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      praisals. (See the Claim of Ruth Anna Haskew, Claim No.
      CU-0849, 1968 FCSC Ann. Rep. 31.)
            (B) In a claim based on a mining concession, it appeared
      that the mines in question were never operated because it was not
      considered commercially profitable to do so. Claimant contended
      that the concessions were valuable and that in the future there
      may be improved processes and conditions that would allow the
      mines ,to be exploited for commercial purposes. The Commission
      held that the values of the concessions must be determined on
      the basis of conditions existing as of the date of loss, and not on
      the basis of conditions that may arise in the future. Since the
      evidence failed to show that the concessions had any measurable
      value on the date of loss, the claim was denied. (See the Claim of
      Freeport Sulphur Company, Claim No. CU-2625, reported here­
      in.)
            (C) The values of mining concessions were issues in a num­
      ber of claims. In one case, it appeared that the concessions were
      commercially exploitable, but the evidence was insufficient to sup­
      port claimant's assertions as to their values. The record showed
      that some assays had been taken which indicated good values for
      some of the samples. The principal mining concession was under
      lease to a Cuban corporation providing for a 10% gross royalty.
      The Commission concluded that the evidence justified some finding
      of value because the property had a commercial worth in the mar­
      ket place. On the basis of the entire record and by the application,
      of sound reasoning, the Commission entered an appropriate Cer­
      tification of Loss in favor of claimant. (See the Claim of John El
      Koury, Claim No. CU-0384, reported herein.)
         Difficulties concerning valuation were also encountered in
      another case involving mining concessions. These difficulties and
      the lack of evidence in other respects led to a denial of the claim
      originally. Upon appeal, sufficient evidence was submitted to jus­
      tify a favorable decision. The record included copies of documents
      submitted to the Internal Revenue Service and a deposition from
      a mining engineer who had personal knowledge of the facts. Based
      upon this record, the Commission determined the value of the ores
      in the mines as of the date of loss by applying appropriate annual
      discount rates. (See the Claim of Archibald S. Abbey, Claim No.
      CU-:-0352, reported herein.)
         The two above cases should be distinguished from two other
      instances in which the evidence established substantial ore re­
      serves by clear and convincing proof. In one of these cases, it was
      shown that the concessions in question contained proven ore re­
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        serves of nickel and cobalt that would take 22 years to exhaust
        based upon the production capacity of the plant and equipment.
        The Commission determined the values of the ores and the liqui­
        dated future values of the plant and equipment by the application
        of appropriate annual discount rates. In effect, the plant and
        equipment were depreciated to find their value after 22 years of
        operation and that amount was subjected to a discount rate to
        find the value on the date of loss. (See the Claim of Moa Bay
        Mining Company, et al., Claim Nos. CU-2619 and CU-2573, re­
        ported herein.)
           The other case involved claims for the loss of mining conces­
        sions containing proven reserves of ore, probable reserves and
        possible reserves. Originally in its Proposed Decision, the Com­
        mission denied the portions of the claims for probable and possible
        ores, citing the Moa Bay Mining Company case, supra, in which
        only proven or measured ores were involved.
           Claimant appealed and submitted additional supporting evi­
        dence, including a report from a firm of mining, geological and'
       metallurgical consultants. It further appeared that actual ex­
       perience in exploiting the concessions showed that much of what
        was considered probable ore was found to be proven, and that
       much of what was considered possible was found to be probable.
       Considering the entire record, the Commission concluded that the
       values of the proven ore, the probable ore, and the possible ore
       should be determined by the application of annual discount rates
       of 8%, 12%, and 15%, respectively. (See the Claim of Nicaro
       Nickel Company, Claim No. CU-2624, reported herein.)
             (D) In a claim involving Cuban branches of an American
       bank, the Commission concluded that the application of the book
       value method would be inequitable to the claimant. On the basis of
       the evidence of record, the Commission held that the fair market
       value of the branches was the proper method of evaluation. Using
       the market price of the American bank's stock at the time of loss,
       the Commission allotted to the branches the portion of that market
       value of the entire enterprise, including all domestic and foreign
       operations, which the net income of the branches bore to the net
       income of the whole. Initially, the Commission found that the
       book value of the branches was most appropriate and issued its
       Proposed Decision on that basis. New evidence submitted there­
       after was found to warrant the use of the fair market value. (See
       the Claim of The First National Bank of Boston, Claim No. CU­
       2268, reported herein.)
             (E) However, in another case of Cuban branches of an
       American bank, the Commission applied a different method of
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      valuation, primarily because evidence as to the market value and
       percentages of profit were not of record, unlike the Claim of The
      First National Bank of Boston. In this case, the Commission con­
      sidered several methods of valuation suggested by claimant. It was
      clear that the book value method would be inequitable since the
      record included appraisals indicating that some of the properties
      in question had greater values than shown by the books. The Com­
      mission concluded that the most appropriate and equitable method
      was the result obtained by capitalizing the branches' average an­
      nual net earnings at 10%. (See the Claim of the First National
      City Bank, Claim No. CU-2628, reported herein.)
            (F) The value of a Cuban corporation which operated a very
      large hotel in Cuba w~ also determined by capitalizing its average
      annual net earnings at 10%. However, this amount was aug­
      mented by the value of certain improvements the Cuban corpora­
      tion had made shortly before intervention by the Government of
      Cuba, which method the Commission found most appropriate and
      equitable under the circumstances. (See the Claim of Interconti­
      nental Hotels Corporation, Claim No. CU-2521, reported herein.)
           (G) As indicated above, the Commission had concluded in a
      number of cases that the most appropriate and equitable basis for
      evaluating certain Cuban enterprises was capitalizing their
      average annual net earnings at 10%, or applying a multiple of 10
      to such earnings. In some instances where justified, these resulting
      amounts representing the "going concern" values, were augmented
      by the values of any liquid assets, such as cash and the excess of
      current accounts receivable over current accounts payable.
         That method of augmenting the "going concern" values of two
      Cuban enterprises was applied in a particular case, and an appro­
      priate Certification of Loss was entered. The claimant appealed,
      and at the oral hearing before the Commission it offered in evi­
      dence the testimony of one of its officers who had personal knowl­
      edge of the facts; of an expert who had prepared a valuation
      report already of record; and of an economist who had conducted
      an independent study of a number of American entities including
      claimant.
         The evidence indicated that as a result of a vigorous sales cam­
      paign in Cuba, the two Cuban enterprises were showing a high
      growth potential substantiated by progressively increasing net
      earnings. It further appeared that the net earnings leveled off in
      1959. Accordingly, the Commission held that the average annual
      net earnings of the two Cuban enterprises were represented by
      their net earnings in 1959. Considering the unusual rate at which
      these net earnings were rising, the Commission held that the most
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       appropriate and equitable valuation in this case was the result ob­
       tained from applying a multiple of 15 to such net earnings. (See
       the Claim of Colgate-Palmolive Company, Claim No. CU-0730,
       reported herein. It should be noted that an inadvertent error had
       been made in the Proposed Decision on this claim, which was cor­
       rected in the Final Decision which is also included herein.)
             (H) The Commission held that the value of a nationalized
       Cuban corporation may be determined on the basis of its balance
       sheet as of a date closest to the date of loss for the purposes of
       title V of the Act. However, items in such a balance sheet, such as
       good will and organization expenses, were not allowed as assets
       unless they enhanced the value of the Cuban enterprise, or unless
       Cuba benefited therefrom by continuing the business after taking
       it. (See the Claim of Bartlett-Collins Company, Claim No. CU­
       2192, 1968 FCSC Ann. Rep. 39, and the Claim of Libby Holman
       Reynolds, Claim No. CU-1384, 1969 FCSC Ann. Rep. 24. See also
       the Claim of William A. Powe, Claim No. CU-0502, reported here­
       in, in which organization expense was included as an asset by
       claimant in each of two of the several Cuban corporations in
       question. In one instance, $1,907.90 was shown for such expenses
       upon the formation of the Cuban entity in 1945, and in the other
       instance, it appeared in the amount of $6,618.51 upon the forma­
       tion of that Cuban entity in 1951. Considering the fact that both
       Cuban entities had been nationalized in October 1960, the Com­
       mission held that such items should have been written off com­
       pletely prior to the date of loss, and disregarded these items as
       assets in determining the values of the Cuban entities.)
             (I) Items in a balance sheet, such as intangibles and licenses,
       were held not allowable as assets in the absence of evidence estab­
       lishing the nature thereof and the fact that the items had values
       on the date of loss. (See the Claim of Union Light and P.ower
       Company of Cuba, Claim No. CU-0330, reported herein.)
             (J) In another case, the Commission held that items appear­
       ing in a balance sheet as liabilities may be shown by competent
       evidence not to be, in fact, liabilities and therefore not deductible
       in arriving at the net worth of a corporation that was nationalized
       by Cuba. (See the Claim of International Harvester Company,
       Claim Nos. CU-2458 and CU-2459, 1970 FCSC Ann. Rep. 71.)
             (K) The Commission held that the value an insurance com­
       pany's good will may, where circumstances warrant, be deter­
       mined by applying a multiple of 2 to the average annual gross
       income from commissions for the five-year period immediately
       preceding the year in which the loss occurred, for the purpose of
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       title V of the Act. (See the Clrkim of Johnson & Higgins, Claim
       No. CU-0769, 1971 FCSC Ann. Rep. 40.)
             (L) In another claim of an American insurance company, a
       question arose concerning the value of claimant's equity in its
       issued Cuban insurance policies on October 24, 1960 when the
       Government of Cuba seized all of claimant's properties and pre­
       vented it from continuing its business. On the basis of competent
       evidence, including a detailed analysis of claimant's Cuban opera­
       tions, the Commission found claimant's gross equity in the policies,
       and its net equity on the date of loss by the application of appro­
       priate discount rates. (See the Cwim .of Pan-American Life In­
       surance Compfkny, Claim No. CU-3651, reported herein.)
             (M) The Commission held that evidence indicating the values
       of claimant's stock interests in nationalized Cuban corporations as
       of dates too far removed from the dates of loss provides an in­
       sufficient basis to justify an allowance under title V of the Act.
        (See the Cwims of Warren and Arthur Smadbeck, Inc., et al.,
       Claim No. CU-2465, reported herein.)
             (N) A claim was presented involving the value of an enter­
       prise manufacturing and selling a soft drink that was made from
       a secret formula, which enterprise produced substantial profits
       in the Cuban market. The Commission originally allowed a min­
       imal amount on account of the intangible asset represented by the
       use of that formula. Upon the submission of further evidence, the
       Commission held that this intangible asset may be evaluated by
       capitalizing the enteprise's average annual net earnings. (See the
       Claim of Coca-Cow Comprkny, Claim No. CU-1743, reported
       herein.)
             (0) A claim was presented involving heavy machinery,
       barges, a dredge, and related pile-driving equipment, supplies and
       accessories. Claimants asserted losses based upon the costs of re­
       placing their properties with new ones. In rejecting this method of
       valuation, the Commission held that. the statutory term "cost of
       replacement" means replacement in kind, taking into considera­
       tion the age and condition of the properties on the date of loss;
       and that it does not mean replacing the properties with new ones.
        (See the Cwim of M & M Dredging & Construction Co., et al.,
       Claim No. CU-0219, reported herein.)
             (P) In a case in which the loss of rare paintings was as­
       serted, the Commission was constrained to reject certain ap­
       praisals submitted by claimant. Upon consideration of the entire
       record, the Commission held that the valuation most appropriate
       to the property and equitable to the claimant was the appraisal of
       an official art curator for the French Government who had selected
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       the paintings for purchase by claimant's father, her predecessor
       in interest. (See the Claim of Olga Lengyel, Claim·No. CU-3669,
        reported herein.)
             (Q) The Commission held that the nationalization of a
       wholly owned Cuban subsidiary of an American corporation did
        not justify a Certification of Loss because the Cuban entity was
       insolvent on the date of loss. (See the Claim of the Goodyear Tire
       & Rubber Company, Claim No. CU-0887, reported herein.)
             (R) The Commission held that the value of films and film
       products may be best determined by considering the costs of man­
       ufacturing and shipment, as well as depreciation incident to ship­
       ment, exhibition and storage of the properties in Cuba. (See the
       Claim of Twentieth Century-Fox Film Corporation, Claim No.
       CU-2114, reported herein.)
             (S) The Commission took administrative notice that land
       and improved real property values increased substantially in value
       between 1954 and 1959 when Castro came into power. Appropriate
       Certifications of Loss were entered on this basis. (See the Claim
       of Mac Gache, Claim No. CU-0050, reported herein.)
          11. The Commission's regulations provide that after the entry
       of a final decision a claim may be reopened upon the timely sub­
       mission of newly discovered evidence which warrants a change
       in that final decision. (See Section 531.5 (1).) There were a num­
       ber of instances in which petitions to reopen were granted. Gen­
       erally, in the cases that were allowed, the amounts previously
       granted were increased, or a claim that had been denied in whole
       or in part was allowed, on the basis of the newly discovered evi­
       dence. These regulations further provide that no such petition
       shall be entertained unless it appears that the newly discovered
       evidence came to the knowledge of the party filing the petition
       subsequent to the date of entry of the final decision, that it was
       not for want of due diligence that such evidence was not discov­
       ered sooner, that the evidence is material, and that reconsidera­
       tion of the matter on the basis of such evidence would produce a
       different decision.
          Several of these cases have been selected as examples of how
      ·such matters were handled, and they are reported herein as fol­
       lows:
          (a) Claim of Sperry Rand Corporation, Claim No. CU-0278.
       This claim was based on the nationalization of claimant's wholly
       owned Cuban subsidiary. The evidence showed that the subsidiary
       had been nationalized on October 24, 1960. The record included a
      certified balance sheet for the subsidiary for the year ending
       March 31, 1960, prepared by an independent firm of accountants.
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       According to that balance sheet, the subsidiary was insolvent.
       Another balance sheet of record, although uncertified, showed that
       as of September 30, 1960, the net deficit of the subsidiary had in­
       creased. On the basis of the precedent in the Claim of Goodyear
       Tire & Rubber Company, supra, reported herein, the claim was
       denied.
          The new evidence consisted of a valuation report for the sub­
       sidiary as of November 17, 1960, and supporting schedules pre­
       pared by claimant's chief executive officer on the basis of an exam­
       ination of the subsidiary's books and records. Upon consideration
       of the entire record in light of the newly discovered evidence, the
       Commission found that the actual values of the subsidiary's assets
       had been understated in the said balance sheets, and that the net
       worth of the subsidiary on the date of loss was substantial. An
       appropriate Certification of Loss was therefore entered. The
       Amended Final Decision and the original Proposed Decision,
       which was affirmed as the Commission's Final Decision, are re­
       ported herein.
           (b) Claims of Harry Schrage, et al., Claim Nos. CU-1433 and
       CU-1434. Originally, these claims were denied for lack of proof.
       Subsequently, upon appeal and the submission of some supporting
       evidence, the claims were allowed in part. Portions of the claims
       were denied in the Final Decision on the ground that claims for
       certain inherited stock interests had not been established as hav­
       ing been owned by nationals of the United States continuously
       from the dates of loss to the date of filing with the Commission.
           The newly discovered evidence established compliance with the
       nationality prerequisites ofthe statute. Since neither the values of
       the Cuban corporations in question, nor the debts owed by these
       entities to the claimants, which were already of record, had not
       been challenged, the Commission amended the Final Decision by
       the addition of new party claimants, the heirs, and by entering
       Certifications of Loss on the basis of their established interests in
       the claims.
           (c) Claim of Carter H. Ogden, et al., Claim No. CU-2339. This
       claim also was denied in its entirety for lack of proof. It had been
       filed by Carter H. Ogden alone. Subsequently, he submitted com­
       petent evidence establishing losses certifiable under the statute.
       However, the evidence also showed that his first wife had acquired
       one-half interests in the properties in question under the Com­
       munity Property Laws of Cuba. (See Claim of Robert L. Cheaney,
       et al., supra, reported herein.) Accordingly, the Commission en­
       tered a Final Decision certifying equal losses in favor of Carter H.
       Ogden and his first wife.
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          The newly discovered evidence established that Carter H. Ogden
       was divorced from his first wife in 1957, and that by a settlement
       agreement that was approved by a Cuban court of competent juris­
       diction his first wife waived her community property rights in
       consideration of a lump sum payment and a monthly alimony for
       the rest of her life. Claimant also attempted to have his second
       wife, whom he married in 1960, be recognized as part owner of
       the claim. Applying the laws of Cuba, the Commission found that
       neither the first nor the second wife owned any interests in the
       properties. The Commission therefore entered a Certification of
       Loss for the full amount in favor fo Carter H. Ogden.
          (d) Claim of Maria Vinas, Claim No. CU-3216. Originally, this
       claim was allowed in part, one portion thereof having been denied
       for lack of proof, and a third portion having been allowed on the
       basis of a 1/10 interest therein. These findings were made in the
       Proposed Decision which was entered as the Commission's Final
       Decision on this claim.
          The newly discovered evidence consisted of evidence obtained
       from abroad; and it established that the portion of the claim that
       had been denied should now be allowed. It further appeared from
       the new evidence that claimant was the sole owner of the property
       in which the Commission had found a 1/10 interest. An appro­
       priate Certification of Loss in favor of claimant was entered.
          (e) Claim of Frank Steinhart, Jr., et al., Claim No. CU-0231.
       This claim had been filed by Frank Steinhart, Jr. on his own behalf
       based on certain purchased and inherited properties. A Certifica­
       tion of Loss in his favor was entered by the Commission in its
       Final Decision.
          The petition to reopen requested that claimant's sister, a na­
       tional of the United States at all pertinent times, be permitted to
       join the claim for her inherited interests in some of the properties
       in question. It was also requested that she be allowed to claim other
       items of property in which her brother owned no interests. These
       requests were supported by competent evidence. The Commission
       granted the petition and entered appropriate Certifications of Loss
       in favor of both claimants. Here again, is an example of the Com­
       mission exercising its discretion in order to compile as complete a
       record as possible of all claims of nationals of the United States
       against the Government of Cuba.
          (f) Claim of Sweet Pa.per Sales Corpomtion, Claim No. CU­
       1874. This claim was denied originally in its entirety for lack of
       proof. The principal reason for denial was the failure of proof
       establishing that claimant qualified as a national of the United
       States within the meaning of title V of the Act.
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          The newly discovered evidence showed that claimant satisfied
       the nationality prerequisites of the statute. It further appeared
       from the new evidence that claimant owned a controlling stock
       interest in a Cuban corporation that was nationalized on Octo­
       ber 24, 1960. The evidence was also sufficient to establish an equi­
       table value for claimant's stock interest on the date of loss, and a
       Certification of Loss was entered in favor of claimant by an
       Amended Final Decision.
          (g) Claim of Frederic Samuels, Claim No. CU-0263. Originally
       this chiim was allowed in part, and a portion thereof based on a
       stock interest in a nationalized Cuban corporation was denied,
       because it appeared from the record that all stockholders of the
       corporation, including this claimant, had recovered amounts on
       account of this loss which exceeded the apparent net worth of the
       corporation. (See Section 506 of the Act.)
          In a related claim by another stockholder of that Cuban cor­
       poration, the evidence established that the corporation owned an
       asset, good will, which was not recorded on its books and records
       and was, therefore, not considered in determining the value of this
       claimant's stock interest. The Commission found a greater value
       per share of stock in that related claim than it found in the Claim
       of Frederic Samuels.
          Accordingly, the Commission reopened this claim on its own
       motion and increased the Certification of Loss in favor of Frederic
       Samuels appropriately.
          (h) Claim of Howard E. Holtzman, et al., Claim No. CU-2168.
       This is another instance in which the Commission reopened a
       claim on its own motion, but there is an important distinction
       between the two cases.
          The record shows that claimants owned stock interests in a
       Cuban corporation which had leased certain mines in Cuba from
       another Cuban entity. The taking of the mines by Cuba gave rise
       to a claim under title V of the Act. Pursuant to the lease, which
       ran for one year and was renewable from year to year for a maxi­
       mum of 30 years, the lessee was required to pay the lessor a
       royalty of 10% of the sales price for each long ton (2,240 pounds)
       mined, less certain expenses, and a minimum royalty was also in­
       cluded. Since the evidence indicated that all royalties had been
       paid by the lessee, the Commission determined the value of the
       lessee corporation's losses by reducing the value of its assets by its
       liabilities on the date of loss, and no deduction was made for any
       royalty due the lessor. On this basis, the Commission entered
       Certifications of Loss in favor of the claimants in accordance with
       their proportionate stock interests in the lessee.
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          The newly discovered evidence was found in another case which
      was determined long after the Final Decision was entered on the
      Holtzman claim. The case in point is the Claim of Matthew A.
      Fryer, Claim No. CU-1617 reported herein. In the Fryer case,
      it was first disclosed to the Commission that Mr. Fryer was the
      sole owner of the Cuban corporation which had leased the mines
      to the lessee in the Holtzman case.
          Mr. Fryer claimed, inter alia, a loss of $35,000.00 for unpaid
      royalties due from the lessee. Upon examination of the Holtzman
      file, which was already closed, in light of the evidence then of
      record in the Fryer case, the Commission concluded that all royal­
      ties due from the lessee had been paid. Accordingly, this portion
      of the Fryer claim was denied initially.
          At an oral hearing before the Commission, new documentary
      evidence was introduced, including testimony from Mr. Fryer and
      a mining engineer who had personal knowledge of the facts. It
      Y;hen appeared that said royalties of $35,000.00 had not been paid
      by the lessee. In order to extend to the claimants in the Holtzman
      case due process of law, the Commission set aside the Final Deci­
      sion in that claim, issued an Amended Proposed Decision by which
      it proposed to reduce the amount of losses found in the Holtzman
      case by $35,000.00, and fully advised these claimants by letter of
      their rights to submit evidence supporting their claim in this
      respect. When no objections or evidence was filed by these claim­
      ants within the allotted period of time, the Commission allowed
      the royalty claim in the Fryer case and reduced the Certifications
      of Loss in the Holtzman case.
          (i) Claim of Matthew A. Fryer, Claim No. CU-1617. In enter­
      ing a Final Decision on this claim, the Commission allowed a por­
      tion thereof based on unpaid royalties, as already noted above, in
      the Holtzman case. Another portion of the claim was based on a
      mining concession with respect to the Antonio Mine in Cuba which
      Mr. Fryer had leased to a Cuban corporation. Here again, claim
      was made for royalties due from this lessee. It may be noted that
      no claim was filed by any stockholder of this Cuban lessee cor­
      poration because apparently none was a national of the United
      States. The portion of the claim for said royalties was denied for
      lack of proof.
         The newly discovered evidence consisted of certain contem­
      porary correspondence and affidavits from individuals with per­
      sonal knowledge of the facts. Based on said evidence and the
      record already on file, the Commission determined the amount of
      ore in the mine, the length of time it would take to exhaust the
      ores therein, and the value of claimant's equity in the concession
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       on the date of loss by the application of an appropriate discount
       rate. The Proposed Decision, the Final Decision, and the Amended
       Final Decision issued upon reopening are published herein.
          (j) Claim of Intercontinental Hotels Corporation, Claim No.
       CU-2521. This is another case in which the Commission reopened
       the claim on its own motion. Here, the Commission determined the
       value of claimant's stock interest in a nationalized Cuban cor­
       poration. Subsequently, the Commission had occasion to consider
       another claim in which a stock interest in the same Cuban ·entity
       was involved. Initially, the value of the stock of the Cuban entity
       was found to be the same in both claims. However, convincing
       evidence submitted in support of objections in the other related
       case resulted in a stock valuation greater than originally found.
       Accordingly, the Commission reopened this claim and increased
       the Certification of Loss appropriately. The Amended Final Deci­
       sion by which this was accomplished may be found herein follow­
       ing the initial decision on this claim.
          Exhibit 15 of this report includes final statistics with respect
       to the Cuban Claims Program; a breakdown of the allowances
       made according to amounts and whether the awardees were cor­
       porations or individuals; and a list of the ten largest Certifications
       of Loss.
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                        TITLE V OF THE INTERNATIONAL CLAIMS
                               SETTLEMENT ACT OF 1949 1

                                           PURPOSE OF TITLE
                    2
          SEc. 501. It is the purpose of this title to provide for the determination of
       the amount and validity of claims against the Government of Cuba, or the
       Chinese Communist regime," which have arisen since January 1, 1959, in the
       case of claims against the Government of Cuba, or since October 1, 1949, in
       the case of claims against the Chinese Communist regime,' out of nationaliza­
       tion, expropriation, intervention, or other takings of, or special measures
       directed against, property of nationals of the United States, and claims for
       disability or death of nationals of the United States arising out of violations
       of international law by the Government of Cuba or the Chinese Communist
       regime," in order to obtain information concerning the total amount of such
       claims against the Government of Cuba, or the Chinese Communist regime,"
       on behalf of nationals of the United States. This title shall not be construed
       as authorizing an appropriation or as any intention to authorize an appropri­
       ation for the purpose of paying such claims.

                                              DEFINITIONS

          SEC. 502. For the purposes of this title:
          (1) The term "national of the United States," means (A) a natural per­
       son who is a citizen of the United States, or (B) a corporation or other legal
       entity which is organized under the laws of the United States, or of any
       States, the District of Columbia, or the Commonwealth of Puerto Rico, if
       natural persons who are citizens of the United States own, directly or in­
       directly, 50 per centum or more of the outstanding capital stock or other
       beneficial interest of such corporation or entity. The term does not include
       aliens.
          (2) The term "Commission" means the Foreign Claims Settlement Com­
       mission of the United States.
          (3) The term "property" means any property, right, or interest, including
       any leasehold interest, and debts owed by the Government of Cuba or the
       Chinese Communist regime 7 or by enterprises which have been nationalized,

          1 Title V was added by Public Law 88-666 (78 Stat. 1110), approved October 16, 1964. Public
        Law 89-780 (80 Stat. 1365), approved November 6, 1966, amended Title V to provide for the
        determination of the amounts of claims of nationals of the United States against the Chinese
        Communist regime.
          • This section was amended by sec. 1 of Public Law 89-'262 (79 Stat. 988.), approved Octo­
        ber 19, 1965, by striking out "which have arisen out of debts for merchandise furnished or
        services rendered by nationals of the United States without regard to the data on which such
        merchandise was furnished or services were rendered or".
          • This section was amended by sec. 1 of Public Law 89-780 (80 Stat. 1365), approved No­
        vember 6, 1966, by inserting u. or the Chinese Communist regime,'' after "the Government of
        Cuba,.. at each place it appears in such section.
          'This section was amended by sec. 1 of Public Law 89-780 (80 Stat. 1365), approved No­
        vember 6, 1966, by inserting "in the case of claims against the Government of Cuba, or since
        October 1, 1949, in the case of claims against the Chinese Communist regime/' after "since
        January 1, 1959,".
          o This section was amended by sec. 1 of Public Law 89-780 (80 Stat. 1365), approved No­
        vember 6, 1966, by inserting ", or the Chinese Communist regime/' after "the Government of
        Cuba'~ at each place it appears in such section.
          • Ibid.
          7 This section was amended by sec. 2 of Public Law 89-780 (80 Stat. 1365), approved No­
        vember 6, 1966, by inserting "or the Chinese Communist regime" after "the Government of
        Cuba" at each place it appears in such section.


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      expropriated, intervened, or taken by the Government of Cuba or the Chinese
      Communist regime • and debts which are a charge on property which has
      been nationalized, expropriated, intervened, or taken by the Government of
      Cuba or the Chinese Communist regime.•
         (4) The term "Government of Cuba" includes the government of any poli­
      tical subdivision, agency, or instrumenhiity thereof.
         (5) The term "Chinese Communist regime" means the so-called Peoples
      Republic of China, including any political subdivision, agency, or instrument­
      ality thereof.'0

                                        Rj,;Cj,;IPT OF CLIAMS

         SEc. 503. (a) 11 The Commission shall receive and determine in accordance
      with applicable substantive law, including international law, the amount and
      validity of claims by nationals of the United States against the Government
      of Cuba, or the Chinese Communist regime,' 2 arising since January 1, 1959, in
      the case of claims against the Government of Cuba, or since October 1, 1949,
      in the case of claims against the Chinese Communists regime, 13 for losses re­
      sulting from the nationalization, expropriation, intervention, or other taking
      of, or special measures directed against, property including any rights or
      interests therein owned wholly or partially, directly or indirectly at the time
      by nationals of the United States, if such claims are submitted to the Commis­
      sion within such period specified by the Commission by notice published in the
      Federal Register (which period shall not be more than eighteen months after
      such publication) within sixty days after the enactment of this title or sixty
      days after the enactment of the amendments made thereto with re,spect to
      claims against the Chinese Communist regime," or of legislation making ap­
      propriations to the Commission for payment of administrative expenses in­
      curred in carrying out its functions with respect to each respective claims
      program authorized,'" under this title, whichever date is later. In making the
      determination with respect to the validity and amount of claims and value of
      properties, rights, or interests taken, the Commission shall take into account


        s Ibid,
        o Ibid,
        lOThis paragraph was added by sec, 2 of Public Law 89-790 (80 Stat. 1365), approved No­
      vember 6, 1966.
        ''This section was amended by sec. 2 of Public Law 89-262 (79 Stat. 988), approved Octo­
      ber 19, 1965, by striking out "arising out of debts for merchandise furnished or services ren­
      dered by nationals of the Utined States without regard to the date on which such merchandise
      was furnished or services were rendered or".
        "This section was amended by sec. 3 of Public Law 89-780 (80 Stat. 1365), approved No­
      vember 6, 1966, by inserting ", or the Chinese Communist regime," after "the Government of
      Cuba" at each place it appears in such section.
         '"This section was amended by sec. 3 of Public Law 89-780 (80 Stat. 1365), approved No­
      vember 6, 1966, by inserting "in the cese of claims against the Government of Cuba, or since
      October 1, 1949, in the case of claims against the Chinese Communist regime," after "since
      January 1, 1959,".
        H This section was amended by sec. 3 of Public Law 89-780 (80 Stat. 1365), approved
      November 6, 1966, by inserting "or sixty days after the enactment of the amendments made
      thereto with respect to claims against the Chinese Communist regime," after "within sixty
      days after the enactment of this title".
         '"This section was amended by sec. 3 of Public Law 89-780 (80 Stat. 1365), approved No­
      vember 6, 1966, by inserting "with respect to each respective claims program authorized,"
      after ucarrying out its functions".
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       the basis of valuation most appropriate to the property and equitable to the
       claimant, including but not limited to, (i) fair market value, (ii) book value,
       (iii) going concern value, or (iv) cost of replacement.
          (b) The Commission shall receive and determine in accordance with applic­
       able substantive law, including international law, the amount and validity
       of claims by nationals of the United States against the Government of Cuba,
       or the Chinese Communist regime,'" arising since January 1, 1959, in the
       case of claims against the Government of Cuba, or since October 1, 1949, in
       the case of claims against the Chinese regime, 17 for disability or death result­
       ing from actions taken by or under the authority of the Government of Cuba,
       or the Chinese Communist regime,' 8 if such claims are submitted to the
       Commission within the period established by the Commission under subsec­
       tion (a), or within six months after the date the claims first arose (as deter­
       mined by the Commission), whichever date last occurs.

                                       OWNERSHIP OF CLAIMS

          SEC. 504. (a) A claim shall not be considered under section 503 (a) of this
       title unless the property on which the claim was based was owned wholly or
       partially, directly or indirectly by a national of the United States on the
       date of the loss and if considered shall be considered only to the extent the
       claim has been held by one or more nationals of the United States continu­
       ously thereafter until the date of filing with the Commission.
           (b) A claim for disability under section 503 (b) may be considered if it is
       filed by the disabled person or by this successors in interest; and a claim for
       death under section 503 (b) may be considered if filed by the personal repre­
       sentative of decedent's estate or by a person or persons for pecuniary losses
       and damage sustained on account of such death. A claim shall not be consid­
       ered under this section unless the disabled or deceased person was a national
       of the United States at the time of injury or death and if considered, shall
       be considered only to the extent the claim has been held by a national or
       nationals of the United States continuously until the date of filing with the
       Commission.

                                          CORPORATE CLAIMS

          SEc. 505. (a) A claim under section 503 (a) of this title based upon an
       ownership interest in any corporation, association, or other entity which
       is a national of the United States shall not be considered. A claim under sec­
       tion 503 (a) of this title based upon a debt or other obligation by any corpora­
       tion, association, or other entity organized under the laws of the United
       States, or of any State, the District of Columbia, or the Commonwealth of
       Puerto Rico shall be considered, only when such debt or other obligation is a

         16 This section was amended by sec. 3 of Public Law 89-780 (80 Stat. 1365), approved No­
       vember. 6, 1966, by inserting ", or the Chinese Communist regime," after "the Government of
       Cuba"' at each place it appears in such section.
         "This section was amended by sec. 3 of Public Law 89-780 (80 Stat. 1365), approved No­
       vember 6, 1966, by inserting Hin the case of claims against the Government of Cuba, or since
       October 1, 1949, in the case of claims against the Chinese Communist regime/' after "since
       January 1, 1959,".
         1s This section was amended by sec. 3 of Public Law 89-780 (80 Stat. 1365), approved No­
       vember 6, 1966, by inserting u. or the Chinese Communist regime," after "the Government
       of Cuba" at each place it appears in such section.
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        charge on property which has been nationalized, expropriated, intervened, or
        taken by the Government of Cuba, or the Chinese Communist regime.'"
           (b) A claim undeT section 503 (a) of this title based upon a direct owner­
        ship interest in a corporation, association, or other entity for loss shall be
        considered, subject to the other provisions of this title, if such corporation,
        association, or other entity on the date of the loss was not a national of the
        United States, without regard to the per centum of ownership vested in the
        claimant.
           (c) A claim under section 503 (a) of this title based upon an indirect
        ownership interest in a corporation, association, or other entity for loss shall
        be considered, subject to the other provisions of this title, only if at least 25
        per centum of the entire ownership interest thereof at the time of such loss
        was vested in nationals of the United States.
           (d) The amount of any claim covered by subsection (b) or (c) of this
        Fection shall be calculated on the basis of the total loss suffered by such
        corporation, association, or other entity, and shall bear the same proportion
        to such loss as the ownership interest of the claimant at the time of loss bears
        to the entire ownership interest thereof.

                                                  OFFSETS

          SEc. 506."" In determining the amount of any claim, the Commission shall
        deduct all amounts the claimant has received from any source on account of
        the same loss or losses.

                        ACTION OF COMMISSION WITH RESPECT TO CLAIMS

           SEC. 507. (a) The Commission shall certify to each individual who has
        filed a claim under this title the amount determined by the Commission to be
        the loss or damage suffered by the claimant which is covered by this title.
        The Commission shall certify to the Secretary of State such amount and the
        basic information underlying that amount, together with a statement of the
        evidence relied upon and the reasoning employed in reaching its decision.
            (b) The amount determined to be due on any claim of an assignee who
        acquires the same by purchase shall not exceed (or, in the case of any such
        acquisition subsequent to the date of the determination, shall not be deemed
        to have exceeded) the amount of the actual consideration paid by such
        assignee, or in case of successive assignments of a claim by any assignee.

                                         TRANSFER OF RECORDS

           SEc. 508. The Secretary of State shall transfer or otherwise make avail­
        able to the Commission such records and documents relating to claims author­
        ized by this title as may be required by the Commission in carrying out its
        functions under this title.

           1 9 This sentence was added by sec. 3 of Public Law 89-262 (79 Stat. 988), approv~ October
        19, 1965. The sentence was amended by sec. 4 of Public Law 89-780 (80 Stat. 1365), approved
        November 6, 1966, by adding to the end thereof a comma and the following: "or the Chinese
        Communist regime.''
           20 This section was amended by sec. 4 of Public Law 89-262 (79 Stat. 988), approved October

        19, 1965, by striking out ": Provided, That the deduction of such amounts shall not be con­
        strued as divesting Lhe United States of any rights against the Government of Cuba for the
        amounts so deducted".
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                                   APPLICATION OF OTHER LAWS
        SEC. 509. To the extent they are not inconsistent with the provisions of
      this title, the following provisions of title I of this Act shall be applicable
      to this title: Subsections (b), (c), (d), (e), (h), and (j) of section 4; sub­
      section (f) of section 7.
                                         SETTLEMENT PERIOD
         SEC. 510. The Commission shall complete its affairs in connection with
      the settlement of claims pursuant to this title not later than three years
      following the final date for the filing of claims as provided in section 503(a)
      of this title or following enactment of legislation making appropriations to
      the Commission for payment of administrative expenses incurred in carry­
      ing out its functions with respect to each respective claims program author­
      ized under this title, whichever date is later. 21

                                           APPROPRIATIONS
        SEC. 511." There are hereby authorized to be appropriated such sums as
      may be necessary to enable the Commission to pay its administrative expenses
      incurred in carrying out its functions under this title.

                                         FEES FOR SERVICES
         SEC. 512. No remuneration on account of any services rendered on behalf
      of any claimant in connection with any claim filed with the Commission under
      this title shall exceed 10 per centum of so much of the total amount of such
      claim, as determined under this title, as does not exceed $20,000, plus 5 per
      centum of so much of such amount, if any, as exceeds $20,000. Any agreement
      to the contrary shall be unlawful and void. Whoever, in the United States or
      elsewhere, demands or receives on account of services so rendered, any re­
      muneration in excess of the maximum permitted by this section, shall be fined
      not more than $5,000 or imprisoned not more than twelve months, or both.

                                             SEPARABILITY
        SEC. 513. If any prov1s10n of this Act, or the application thereof to any
      person or circumstances, shall be held invalid, the remainder of the Act, or
      the application of such provision to other persons or circumstances, shall not
      be affected.
        21 This section was amended by sec. 5 of Public Law 89-780 (80 Stat. 1365), approved
      November 6, 1966, by inserting uwith respect to each respective claims program authorized"
      after "carrying out its functions".
        ""Sec. 511 (22 U.S.C. 1643j) of this Act, as added by Public Law 88-666, 78 Stat. 1113,
      October 16, 1964, was amended by se.c. 5 of Public Law 89-.262, 79 Stat. 988, approved October
      19, 1965.
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                                         EXHIBIT 12
       REGULATIONS GOVERNING THE RECEIPT AND SETTLEMENT OF
        CLAIMS UNDER THE INTERNATIONAL CLAIMS SETTLEMENT ACT
        OF 1949, AS AMENDED


                                   Code of Federal Regulations
                                TITLE 45-PUBLIC WELFARE
          Chapter V-Foreign Claims Settlement Commission of the United States


                                Subchapter A-Rules of Practice
                  PART 500-APPEARANCE AND PRACTICE BEFORE THE COMMISSION
        Sec.
        500.1     Appearance and practice.
        500.2     Notice of entry or withdrawal of counsel in claims.
        500.3     Fees.
        500.4     Petition for fee exceeding ten per centum of amount paid on account of
                    claim.
        500.5     Order allowing fee in excess of ten per centum of amount paid on
                    account of claim.
        500.6     Suspension of attorneys.
        500.7     Restrictions on former employees.

          AUTHORITY: §§ 500.1 to 500.7 issued under sec. 2, 62 Stat. 1240, as amended,
        sec . .3, 64 Stat. 13, as amended; 50 U.S.C. App. 2001, 22 U.S.C. 1622
        § 500.1    Appearance and practice.
          (a) An individual may appear in his own behalf; a member of a partner­
       ship may represent the partnership; a bona fide officer of a corporation, trust
       or association may represent the corporation, trust or association; any officer
       or employee of the United States Department of Justice, when designated
       by the Attorney General of the United States, may represent the United
       States in a claim proceeding.
          (b) A person may be represented by an attorney at law admitted to prac­
       tice in any State or Territory of the United States, or the District of Colum­
       bia. With respect to Philippine war damage claims under the provisions of
       Public Law 87-616 (76 Stat. 411), a person may also be represented by an
       attorney at law in good standing with the Philippine Bar Association or the
       Philippine Supreme Court. However, such attorney may be required to furnish
       a certificate to this effect.
          (c) In cases falling within the purview of Subchapter B of this chapter,
       persons designated by veterans' service, and other organizations to appear be­
       fore the Commission in a representative capacity on behalf of claimants shall
       be deemed duly authorized to practice before the Commission when the desig­
       nating organization shall have been issued a letter of accreditation by the
       Commission. Petitions for accreditation shall be in writing, executed by duly
       authorized officer or officers, addressed to the Foreign Claims Settlement
       Commission of the United States, Washington, D.C. Upon receipt of a petition
       setting forth pertinent facts as to the organization's history, purpose, number
       of posts or chapters and their locations, approximate number of paid-up
       membership, statements that the organization will not charge any fee for
       services rendered by its designees in behalf of claimants and that it will not

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      refuse on the grounds of non-membership to represent any claimant who
      applies for such representation if he has an appare]ltly valid claim, accom­
      panied by a copy of the organization's constitution, or charter, by-laws, and
      its latest financial statement, the Commission in its discretion will consider
      and in appropriate cases issue or deny letters of accreditation.
         (d) A person may not be represented before the Commission except as
      authorized in paragraph (a), (b) or (c) of this section.
      § 500.2  Notice of entry or withdrawal of counsel in claims.
          (a) Counsel entering an appearance in a claim originally filed by claimant
      in his own behalf or requesting a substitution of attorneys, and counsel filing
      a claim on behalf of a claimant under Public Law 87-616, shall be required to
      file an authorization by claimant.
          (b) When counsel seeks to withdraw from the prosecution of a claim, it
      must appear that he had duly notified his client (claimant).
          (c) When a claimant advises the Commission that counsel no longer repre­
      sents him, a copy of the Commission's acknowledgement shall be forwarded
      to such counsel.
      § 500.3  Fees.
         (a) No remuneration on account of services rendered or to be rendered to
     or on behalf of any claimant in connection with any claim falling within the
     purview of Subchapter B and Subchapter F of this chapter shall exceed ten
     per centum of the amount allowed on account of such claim, except that the
     Commission in its discretion may fix a lesser per centum with respect to any
     claim filed thereunder.
         (b) The total remuneration on account of services rendered or to be ren­
     dered to or on behalf of any claimant in connection with any claim falling
     within the purview of Title III of the Act shall not exceed ten per centum
     of the total amount paid on account of such claim, except that the Commission
     may upon petition, as prescribed in § 500.4, in its discretion enter an order
     authorizing such remuneration in an amount which exceeds the maximum
     otherwise permitted.
         (c) The total remuneration on account of services rendered or to be rendered
     to or on behalf of any claimant in connection with any claim falling within
     Title I and Title IV of the Act shall not exceed ten per centum of the total
     amount paid on account of such claim.
         (d) No remuneration on account of any services rendered on behalf of any
     claimant in connection with any claim filed with the Commission under Title
     V of the International Claims Settlement Act of 1949, as amended (claims
     against the Government of Cuba and the Chinese Communist regime), shall
     exceed 10 per centum of so much of the total amount of such claim, as deter­
     mined by the Commission under Title V of the Act, as does not exceed
     $20,000, plus 5 per centum of so much of such amount, if any, as exceeds
     $20,000.
         (e) The total remuneration on account of services rendered or to be
     rendered to or on behalf of any applicant in connection with any application
     filed under Public Law 87-616 (76 Stat. 411) shall not exceed five per centum
     of the amount paid by the Commission on account of such application.
      § 500.4Petitions for additional remuneration pursuant to section 317(b) of
         Title III of the Act.
        A petition under section 317 (b) of the Act for an order authorizing the
      payment of remuneration in excess of the maximum prescribed by section
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       317(a) of the Act shall be in writing and verified by the petitioner. It shall
       include (a) a fully itemized statement of all services at any time rendered
       by the petitioner on behalf of the claimant in connection with the claim with
       respect to which the petition is filed, whether rendered before or after the
       filing of the claim with the Commission, (b) a statement of all remuneration
       theretofore received by the petitioner on account of such services, and (c) an
       itemized statement to the best of petitioner's knowledge, information and
       belief, of all services theretofore at any time rendered by any other person
       or persons on behalf of the claimant in connection with such claim and of all
       remuneration paid on account of such services; shall state in detail such spe­
       cial circumstances of unusual hardship as, in the opinion of the petitioner,
       justify payment in excess of the maximum. remuneration otherwise permitted
       by section 317(a); shall be accompanied, as exhibits, by all documents in­
       cluding agreements relating to remuneration, available to petitioner evi­
       dencing the allegations of his petition; and shall state the total amount of
       remuneration which it is believed should be authorized.
       § 500.5 Order allowing fees in excess of ten per centum of amount paid on
            account of claims under Title III of the International Claims Settlement
            Act of 1949, as amended.
          The Commission may, upon the petition described in § 500.4 and supporting
       affidavit, after consultation with the claimant and consideration of the evi­
       dence, in its sole discretion, upon a finding that there exist special circum­
       stances of unusual hardship which require the payment of a fee in excess
       of the maximum amount otherwise allowable, issue an order authorizing such
       excess, the said order to specify the amount of such excess.
        § 500.6Suspension of attorneys.
          (a) The Commission may disqualify, or deny, temporarily or permanently,
       the privilege of appearing or practicing before it in any way to any person
       who is found after a hearing in the matter­
          (1) Not to possess the requisite qualifications to represent others before
       the Commission; or
          (2) To be lacking in character or integrity or to have engaged in unethical
       or improper professional conduct; or
          (3) To have violated sections 10 and 214 of the War Claims Act of 1948,
       as amended, or sections 4(f), 317(a), 414, and 512 of the International Claims
       Settlement Act of 1949, as amended, or § 500.3 of Part 500 of the regulations.
          (b) Contemptuous or contumaciou; conduct at any hearing shall be ground
       for exclusion from said hearing and for summary suspension without a hear­
       ing for the duration of the hearing.
       § 500.7 Restrictions on former employees.
          (a) No former officer or employee of the executive branch of the United
       States Government, of any independent agency of the United States, or of
       the District of Columbia, shall act in any way as agent or attorney for any­
       one other than the United States in connection with any matter before the
       Commission if he participated in the matter personally and substantially
       through decision, approval, disapproval, recommendation, the rendering of
       advice, investigation, or otherwise, while so employed.
          (b) No forme:c officer or employee of the executive branch of the United
       States Government, of any independent agency of the United States, or of the
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        District of Columbia, shall, for a period of one year following such service,
        appear personally before the Commission as agent or attorney for anyone
        other than the United States with respect to a matter which was within the
        boundaries of his official responsibility during the last year of his service as
        an officer or employee of the Government.

                      PART 501-SUBPOENAS, DEPOSITIONS, AND OATHS
        Sec.
        501.1   Extent of authority.
        501.2   Subpoenas.
        501.3   Service of process.
        501.4   Witnesses.
        501.5   Depositions.
        501.6   Documentary evidence.
        501.7   Time.

          AUTHORITY: §§ 501.1 to 501.7 issued under sec. 2, 62 Stat. 1240, as amended,
        sec. 3, 64 Stat. 13, as amended; 50 U.S.C. App. 2001, 22 U.S.C. 1622.

        § 501.1 Extent of authority.
           (a) Subpoenas, oaths and affirmations. The Commission or any member
        thereof may issue subpoenas, administer oaths and affirmations, take affi­
        davits, conduct investigations and examine witnesses in connection with any
        hearing, examination, or investigation within its jurisdiction.
           (b) Certification. The Commission or any mamber thereof may, for the
        purpose of any such hearing, examination, or investigation, certify the cor­
        rectness of any papers, documents, and other matters pertaining to the admin­
        istration of any laws relating to the functions of the Commission.
        § 501.2 Subpoenas.
           (a) Issuance. A member of the Commission or a designated employee may,
        on his own volition or upon written application by any party and upon a
        showing of general relevance and reasonable scope of the evidence sought,
        issue subpoenas requiring persons to appear and testify or to appear and
        produce documents. Applications for the issuance of subpoenas duces tecum
        shall specify the books, records, correspondence, or other documents sought.
        The subpoena shall show on its face the name and address of the party at
        whose request the subpoena was issued.
           (b) Deposit for costs. The Commission or designated employee, before
        issuing any subpoena in response to any application by an interested party,
        may require a deposit in an amount adequate to cover the fees and mileage
        involved.
           (c) Motion to quash. If any person subpoenaed does not intend to comply
        with the subpoena, he shall, within 15 days after the date of service of the
        subpoena upon him, petition in writing to quash the subpoena. The basis for
        the motion must be stated in detail. Any party desiring to file an answer to a
        motion to quash must file such answer not later than 15 days after the filing
        of the motion. The Commission shall rule on the motion to quash, duly recog­
        nizing any answer thereto filed. The motion, answer, and any ruling thereon
        shall become part of the official record.
           (d) Appeal from interlocutory order. An appeal may be taken to the Com­
        mission by the interested parties from the denial of a motion to quash or
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      from the refusal to issue a subpoena for the production of documentary
      evidence.
         (e) Order of court upon failure to comply. Upon the failure or refusal
      of any person to comply with a subpoena, the Commission may invoke the
      aid of the United States District Court within the jurisdiction of which the
      hearing, examination or investigation is being conducted, or wherein such
      person resides or transacts business. Such court, pursuant to the provisions
      of Public Law 696, 81st Congress, approved August 16, 1950, 50 U.S.C. App.
      2001 (d), may issue an order requiring such person to appear at the desig­
      nated place of hearing, examination of investigation, then and there to give
      or produce testimony or documentary evidence concerning the matter in ques­
      tion. Any failure to obey such an order may be punished by the court as a
      contempt thereof. All processes in any such case may be served in the judicial
      district wherein such person resides or transacts business or wherever such
      person may be found.

      § 501.3 Service of Process.
         (a) By whom served. The Commission shall serve all orders, notices and
      other papers issued by it, together with any other papers which it is required
      by law to serve.
         (b) Kinds of service. Subpoenas, orders, rulings, and other ·processes of
      the Commission may be served by delivering in person, by first class or regis­
      tered mail, or by telegraph or by publications.
         (c) Personal service. Service by delivering in person may be accompanied
      by:
         (1) Delivering a copy of the document to the person to be served, to a
      member of the partnership to be served, to an executive officer, or a director
      of the corporation to be served or to a person competent to accept service; or
         (2) By leaving a copy thereof at the residence, principal office or place
      of business of such person, partnership, or corporation.
         (3) Proof of service. The return receipt for said order, other process or
      supporting papers, or the verification by the person serving, setting forth the
      manner of said service, shall be proof of the service of the document.
         (4) Service upon attorney or agent. When any party has appeared by an
      authorized attorney or agent, service upon such attorney or agent shall be
      deemed service upon the party.
         (d) Service by first class mail. Service by first class mail shall be regarded
      as complete, upon deposit in the United States mail properly stamped and
      addressed.
         (e) Service by registered mail. Service by registered mail shall be regarded
      as complete on the date the return post office registered receipt for said
      orders, notices and other papers, is received by the Commission.
         (f) Service by telegraph. Service by telegraph shall be regarded as com­
      plete when deposited with a telegraph company properly addressed and with
      charges prepaid.
         (g) Service by publication. Service by publication is complete when due
      notice shail have been given in the publication for the time and in the manner
      provided by law or rule.
         (h) Date of service. The date of service shall be the day upon which the
      document is deposited in the United States mail or delivered in person, as the
      case may be.
         (i) Filing with Commission. Papers required to be filed with the agency
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        shall be deemed filed upon actual receipt by the Commission accompanied by
        proof of service upon parties required to be served. Upon such actual receipt
        the filing shall be deemed complete as of the date of deposit in the mail or
        with the telegraph company as provided in paragraph (e) and (f) of this
        section.
        § 501.4   Witnesses.
           (a) Examination of witnesses. Witnesses shall appear in person and be
        examined orally under oath, except that for good cause shown, testimony may
        be taken by deposition.
           (b) Witnesses fees and mileage. Witnesses summoned by the Commission
        on its own behalf or on behalf of a claimant or interested party shall be paid
        the same fees and mileage that are allowed and paid witnesses in the District
        Courts of the United States. Witness fees and mileage shall be paid by the
        Commission or by the party at whose request the witness appears.
           (c) Transcript of testimony. Every person required to attend and testify
        or to submit documents or other evidence shall be entitled to retain or, on
        payment of prescribed costs, procure a copy or transcript of his testimony or
        the documents produced.
        § 501.5   Depositions.
           (a) Application to take. (1) An application to take a deposition shall be
        in writing setting forth the reason why such deposition should be taken, the
        name and address of the witness, the matters concerning which it is expected
        the witness will testify, and the time and place proposed for the taking of the
        deposition, together with the name and address of the person before whom it
        is desired that the deposition be taken. If such deposition is being offered in
        connection with a hearing or examination, the application for deposition shall
        be made to the Commission at least 15 days prior to the proposed date of such
        hearing or examination.                                      ·
           (2) Application to take a deposition may be made during a hearing or ex­
        amination, or subsequent to a hearing or examination only where it is shown
        for good cause that such testimony is essential and that the facts as set forth
        in the application to take the deposition were not within the knowledge of the
        person signing the application prior to the time of the hearing or examina­
        tion.
           (3) The Commission or its representative shall, upon receipt of the appli­
        cation and a showing of good cause, make and cause to be served upon the
        parties an order which will specify the name of the witness whose deposition
        is to be taken, the time, the place, and where practicable the designation of
        the officer before whom the witness is to testify. Such officer may or may not
        be the one specified in the application. The order shall be served upon all
        parties at least 10 days prior to the date of the taking of the deposition.
           (b) Who may take. Such deposition may be taken before the designated
        officer or, if none is designated, before any officer authorized to administer
        oaths by the laws of the United States. If the examination is held in a foreign
        country, it may be taken before a secretary of an embassy or legation, consul
        general, consul, vice consul, or consular agent of the United States.
           (c) Examination and certification of testimony. At the time and place
        specified in said order the officer taking such deposition shall permit the
        witness to be examined and cross-examined under oath by all parties appear­
        ing, and his testimony shall be reduced to writing by, or under the direction
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      of, the presiding officer. All objections to questions or evidence shall be deemed
      waived unless made in accordance with paragraph (d) of this section. The
      officer shall not have power to rule upon any objections but he shall note them
      upon the deposition. The testimony shall be subscribed by the witness in the
      presence of the officer who shall attach his certificate stating that the witness
      was duly sworn by him, that the deposition is a true record of the testimony
      and exhibits given by the witness and that said officer is not counsel or at­
      torney to any of the interested parties. The officer shall immediately seal
      and deliver an original and two copies of said transcript, together with his
      certificate, by registered mail to the Foreign Claims Settlement Commission,
      Washington, D.C. 20579, or to the field office designated.
         (d) Admissibility in evidence. The deposition shall be admissible in evi­
      dence, subject to such objections to the questions and answers ·as were noted
      at the time of taking the deposition, or within ten (10) days after the return
      thereof, and would be valid were·· the witness personally present at the
      hearing.
         (e) Errors and irregularities. All errors or irregularities occurring shall
      be deemed waived unless a motion to suppress the deposition or some part
      thereof is made with reasonable promptness after such defect is, or with due
      diligence might have been, ascertained.
         (f) Scope of use. The deposition of a witness, if relevant, may be used if
      the Commission finds: (1) That the witness has died since the deposition was
      taken; or (2) that the witness is beyond a distance greater than 100 miles
      radius of Washington, D.C., the designated field office or the designated place
      of the hearing; or (3) that the witness is unable to attend because of other
      good cause shown.
         (g) Interrogatories and cross-interrogatories. Depositions may also be
      taken and submitted on written interrogatories in substantially the same
      manner as depositions taken by oral examinations. When a deposition is taken
      upon interrogatories and cross-interrogatories, none of the parties shall be
      present or represented, and no person, other than the witness, and his repre­
      sentative or attorney, a stenographic reporter and the presiding officer, shall
      be present at the examination of the witness, which fact shall be certified by
      such officer, who shall propound the interrogatories and cross-interrogatories
      to the witness in their order and reduce the testimony to writing in the
      witness' own words.
         (h) Fees. A witness whose deposition is taken pursuant to the regulations
      in this part and the officer taking the deposition, shall be entitled to the same
      fees and mileage allowed and paid for like service in the United States Dis­
      trict Court for the district in which the deposition is taken. Such fees shall be
      paid by the Commission or by the party at whose request the deposition is
      being taken.
      § 501.6 Documentary evidence.
         Documentary evidence may consist of books, records, correspondence or
      other documents pertinent to any hearing, examination, or investigation
      within the jurisdiction of the Commission. The application for the issuance of
      subpoenas duces tecum shall specify the books, records, correspondence or
      other documents sought. The production of documentary evidence shall not
      be required at any place other than the witness' place of business. The produc­
      tion of such documents shall not be required at any place if, prior to the re­
      turn date specified in the subpoena, such person either has furnished the
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        issuer of the subpoena with a properly certified copy of such documents or has
        entered into a stipulation as to the information contained in such documents.
        § 501.7 Time.
           (a) Computation. In computing any period of time prescribed or allowed by
        the regulations by order of the Commission, or by any applicable statute, the
        d_ay of the act, event, or default after which the designated period of time
        begins to run is not to be included. The last day of the period so computed
        is to be included, unless it is a Saturday, Sunday or legal holiday, in which
        event the period runs until the end of the next day which is neither a Satur­
        day, Sunday nor a holiday. When the period of time prescribed or allowed
        is less than 7 days, intermediate Saturdays, Sundays and holidays shall be
        excluded in the computation.
           (b) Enlargement. When by the regulations in this chapter or by a notice
        given thereunder or by order of the Commission an act is required or al­
        lowed to be done at or within a specific time, the Commission for good cause
        shown may, at any time in its discretion (1) with or without motion or no­
        tice, previous order or (2) upon motion permit the act to be done after the
        expiration of the specified period.

                               PART 503-PUBLIC INFORMATION
        Sec.
        503.1  Organization and authority-Foreign Claims Settlement Commission.
        503.2  Material to be published in the FEDERAL REGISTER pursuant to Pub­
                 lic Law 89-487.
        503.3  Effect of nonpublication.
        503.4  Incorporation by reference.
        503.5  Public records.
        503.6  Current index.
        503.7  Effect of noncompliance.
        503.8  Documents and records generally available for inspection.
        503.9  Other records available upon written request.
        503.10 Identification of records.
        503.11 Appeal.
        503.12 Exemptions.
        503.13 Fees-policy and services available.
        503.14 Fees for services.
        503.15 Payment of fees and charges.
          AUTHORITY: The provisions of Part 503 issued under sec. 3, Administrative
        Procedure Act, 5 U.S.C. 552, as amended by Public Law 90-23 (81 Stat. 54).

        § 503.1   Organization and authority-Foreign Claims Settlement Commission.
           (a) The Foreign Claims Settlement Commission of the United States is
        an independent agency of the Federal Government created by Reorganization
        Plan No. 1 of 1954 (68 Stat. 1279), effective July 1, 1954. Its duties and
        authority are defined in the International Claims Settlement Act of 1949, as
        amended (64 Stat. 12; 22 U.S.C. 1621-1642) and the War Claims Act of
        1948 (62 Stat. 1240; 50 U.S.C. 2001-2016).
           (b) The Commission has jurisdiction to determine claims of U.S. nationals
        against foreign governments for compensation for losses and injuries sus­
        tained by such nationals, pursuant to programs which may be authorized
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     under either of said Acts. Available funds have their sources in international
     settlements or liquidation of foreign assets in this country by the Depart­
     ment of Justice or Treasury, andf!:9m public'funds when provided by the
     Congress.                            .
        (c) The three members of the Commission are appointed by the President
     with the advice and consent of the Senate to serve for 3-year terms of office
     as provided by the Act of October 22, 1962 (76 Stat. 1107; 50 U.S.C. 2001).
     The President designates the Chairman.
        (d) All functions of the Commission are vested in the Chairman with re­
     spect to the internal management of the affairs of the Commission, including
     but not limited to: (1) The appointment of personnel employed under the
     Commission; (2) the direction of employees of the Commission and the
     supervision of their official duties; (3) the distribution of business among
     employees and organizational units under the Commission; (4) the prepara­
     tion of budget estimates; and (5) the use and expenditures of funds of the
     Commission available for expenses of administration.
       ·(e) The Chairman pursuant to his responsibility hereby directs that every
     effort be expended to facilitate the maximum service to the public· with re­
     spect to the obtaining of information and records in the spirit and the letter
     of the provisions of Public Law 87-487 amending section 3 of the Adminis­
     trative Procedures Act, effective July 4, 1967.
        (f) Requests for information, decisions, or records may be made in per­
     son or in writing to the Clerk, Foreign Claims Settlement Commission.
        (g) The offices of the Commission are located at 1111 20th Street. NW.
      (Vanguard Building), Washington, D.C. An information center for the con­
     venience of the public is located on the fourth floor.
     § 503.2 ;Materials to be published in the Federal Register pursuant to Public
         Law 89-487.
       The Commission shall separately state and concurrently publish the fol­
     lowing materials in the FEDERAL REGISTER for the guidance of the public:
        (a) Description of its central and field organization and the established
     places at which, the offices from whom, and the methods whereby, the public
     may secure information, make submittals or requests, or obtain decisions.
        (b) Statements of the general course and method by which its functions
     are channeled and determined, including the nature and requirements of all
     formal and informal procedures available.
        (c) Rules of procedure, descriptions Of forms available or the places at
     which forms may be obtained, and instructions as to the scope and contents
     of all papers, reports, or examinations.
        (d) Substantive rules of general applicability adopted as authorized by
     law, and statement's of general policy or interpretations of general applic­
     ability formulated and adopted by the agency.
        (e) Every amendment, revision, or repeal of the foregoing.
     § 503.3 Effect of nonpublication.
        Except to the extent that a person has actual and timely notice of the
     terms thereof, no person shall in any manner be required to resort to, or be
     adversely affected by, any matter required to be published in the FEDERAL
     REGISTER and not SO published.
     § 503.4 Incorporation by reference.
       For purposes of this part, matter which is reasonably available to the class
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        of persons affected thereby shall be deemed published in the FEDERAL REGISTER
        when incorporated by reference therein with the approval of the Director of
        the Federal Register.
        § 503.5 Public records.
           The Commission shall, in accordance with this part, make the following
        materials available for public inspection and copying:
           (a) Proposed and Final Decisions (including dissenting opinions) and
        all orders made with respect thereto.
           (b). Those statements of policy and interpretations which have been
        adopted by the Commission.
        To prevent unwarranted invasion of personal privacy, the Commission may
        delete identifying details when it makes available or publishes a decision,
        statement of policy, interpretation, or staff manual or instruction, and shall,
        in each such case, explain in writing the justification for the deletion.

        § 503.6 Current index.
           The Commission shall maintain and make available for public inspection
        and copying a current index providing identifying information for the public
        as to any matter which is issued, adopted, or promulgated after July 4, 1967,
        and which is required by § 503.2 of this part to be made available or pub­
        lished. The index shall be available at the information center of the Commis­
        sion, fourth floor, Vanguard Building, 1111 20th Street, NW., Washington,
        D.C. 20579.

        § 503.7  Effect of noncompliance.
           No decision, statement of policy, interpretation, or staff manual or instruc­
        tion that affects any member of the public will be relied upon, used, or cited,
        as precedent by the Commission against any private party unless it has been
        indexed and either made available or published as provided by this subpart,
        or unless that private party shall have actual and timely notice of the terms
        thereof.

        § 503.8 Documents and records generally available for inspection.
           The following kinds of documents are available for inspection and copy­
        ing at the public information center of the Commission.
           (a) Rules of practice and procedure.
           (b) Semiannual reports of the Commission.
           (c) Bound volumes of Commission decisions.
           (d) International Claims Settlement Act of 1949, with amendments, the
        War Claims Act of 1948, with amendments, and related Acts.
           (e) Claims Agreements with foreign governments within the jurisdiction
        of the Commission.
           (f) Press releases, biographies, and other miscellaneous information of
        general interest to the pablic.

        § 503.9 Other records available upon written request.
          Any written request to the Clerk, Foreign Claims Settlement Commission,
        1111 20th Street NW., Washington, D.C. 20579, for records listed in para­
        graphs (a) through (g) inclusive, of this section, shall identify the record as
        provided in § 503.10.·-The Clerk shall evaluate each request in conjunction
        with the official having responsibility for the subject matter area, the Gen­
        eral Counsel and the Executive Director, and shall make the record available
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     unless the Clerk shall notify the person making the request that no such rec­
     ord can be found; that the record is needed by the staff; or that the record
     falls within a specific exception. The following records are subject to this
     provision:
        (a) General correspondence.
        (b) Correspondence regarding interpretation or applicability of a statute
     or rule.
        (c) Correspondence and reports on legislaion if made public by the Bureau
     of the Budget and Congressional Committee.
        (d) Filing and docketing of claims.
        (e) Records regarding final disposition of claims.
        (f) Claims applications of individuals.
        (g) Claims applications of legal entities.
     ~ 503.10 Identification of records.
        A member of the public who requests permission to inspect or copy a rec­
     ord must identify the record sought in sufficient detail to enable the Commis­
     sion staff to locate the record.
     § 503.11 Appeal.
        Upon refusal of the Clerk to furnish a record, which has been requested
     in writing under § 503.9, the requesting person or entity may appeal in writ­
     ing to the Chairman from the Clerk's action or failure to act.
     § 503.12 Exemptions.
        The following records shall not be available: Provided, however, That
     nothing in this section authorizes withholding of information or limiting the
     availability of records to the public except as specifically stated in this part,
     nor shall this part be authority to withhold information from Congress. More­
     over, nothing in this paragraph shall preclude the consideration of any re­
     quest received by the Commission to release information with respect to mat­
     ters which may come within the exemptions.
        (a) Records specifically required by Executive Order to be kept secret in
     the interest of the national defense or foreign policy. This exception may
     apply to records in the custody of the Commission which have been trans­
     mitted to the Commission by another agency which has designated the
     record as nonpublic under Executive Order.
        (b) Records related solely to the internal personnel rules and practices
     of the Commission.
        (c) Records specifically exempted from disclosure by statute.
        (d) Information given in confidence. This includes information obtained
     by or given to the Commission which constitutes confidential commercial or
     financial information, privileged information, or other information which was
     given to the Commission in confidence or would not customarily be released
     by the person from whom it was obtained.
        (e) Interagency or intraagency memoranda or letters which would not
     be available by law to a private party in litigation with the Commission. Such
     communications include interagency memoranda, ·drafts, staff memoranda
     transmitted to the Commission, written communications between the Com­
     mission, the Executive Director, and the General Counsel, regarding the
     preparation of Commission decisions, other documents received or generated
     in the process of issuing a decision, or regulation, 'find reports and other
     work papers of staff attorneys, accountants, and investigators.
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         (f)     Personnel and medical files and similar files, the disclosure of which
      would      constitute a clearly unwarranted invasion of personal privacy.
         (g)     Investigatory files compiled for law enforcement purposes except
      to the     extent available by law to a private party.

      s503.13      Fees--policy and services available.
        Pursuant to policies established by the Congress, the Government's costs
      for special services furnished to individuals or firms who request such service
      are to be recovered by the payment of fees (Act of Aug. 31, 1951-5 U.S.C.
      140). Upon written request directed to and within the discretion of the
      Foreign Claims Settlement Commission, there are available upon payment
      of the fees hereinafter prescribed, with respect to documents subject to in­
      spection, services as follows:
         (a) Copying records/documents.
         (b) Certification of copies of documents.
         (c) Records search.
         (d) Transcripts of hearings when requested by claimants.

      § 503.14     Fees for services.
         The basic fees set forth below provide for documents to be mailed with
      ordinary first-class postage prepaid. If copy is to be transmitted by registered,
      certified, air, or special delivery mail, postage therefor will be added to the
      basic fee. Also, if special handling or packaging is required, costs thereof
      will be added to the basic fee.
         (a) The copying of records and documents will be available at the rate
      of 25 cents per page (one side).
         (b) The certification and validation of documents filed with or issued by
      the Commission will be available at $1 for each such certification.
         (c) To the extent that time can be made available, records and informa­
      tion search will be performed for reimbursement at the following rates:
         (1) By clerical personnel at a rate of $4 per person per hour.
         (2) By professional personnel at an actual hourly cost basis to be estab­
      lished prior to search.
         (3) Minimum charge, $2.
         (d) Exceptions: No charge will be made by the Commission for notices,
      decisions, orders, etc., required by law to be served on a party to any pro­
      ceeding or matter before the Commission. No charge will be made for single
      copies of Commission publications individually requested in person or by
      mail. In addition a subscription to Commission mailing lists will be entered
      without charge when one of the following conditons is present:
         (1) The furnishing of the service wihout charge is an appropriate cour­
      tesy to a foreign country or international organization.
         (2) The recipient is another governmental agency, Federal, State, or local,
      concerned with claims of nationals of the United States against foreign gov­
      ernments or having a legitimate interest in the proceedings and activities of
      the Commission.
         (3) The recipient is a college or university.
         (4) The recipient does not fall into subdivision (1), (2), or (3) of this
      subparagraph, but is determined by the Commission to be an appropriate re­
      cipient in the interest of its program.
         (e) Transcripts of testimony and of oral argument taken by a private
      firm may be purchased directly from the reporting firm.
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       § 503.15 Payment of fees and charges.
          The fees charged for special services may be paid by check, draft, or postal
       money order, payable to the Foreign Claims Settlement Commission, except
       for charges for transcript of hearings. Fees for transcripts of hearings are
       payable to the firm providing the services.
        [Effective date. Part 503 became effective July 4, 1967.]
       Subchapter C-Receipt, Administration and Payment of Claims Under the
               International Claims Settlement Act of 1949, as amended
                  PART 531-FILING OF CLAIMS AND PROCEDURES THEREFORE
       Sec.
       531.1    Time for filing.
       531.2    Form and content.
       531.3    Exhibits and documents in support of claim.
       531.4    Acknowledgment and numbering.
       531.5    Procedure for determination of claims.
       531.6    Hearings.
       531.7    Presettlement conference.

            AUTHORITY: §§ 531.1 to 531.7 issued under sec. 3, .64 Stat. 13, as amended;
       22    u.s.c. 1622.
       § 531.1 Time for filing.
           (a) Claims under Title III of the Act shall be filed with Commission on
       or before September 30, 1956, except that claims pursuant to section 305
       (Soviet Claims) shall be filed on or before March 31, 1956.
           (b) Claims under Title IV (Czechoslovakian claims) of the Act shall be
       filed with the Commission on or before September 15, 1959.
           (c) Claims under Title I of the Act (Polish claims) shall be filed with
       the Commission on or before March 31, 1962·.
           (d) Claims under Title V of the Act ( Cuoan claims) shall be filed with the
       Commission on or before May 1, 1967.
           (e) Claims under Title I of the Act pursuant to the Yugoslav Claims
       Agreement of November 5, 1964, shall be filed with the Commission on or
       before January 15, 1968.
           (f) Claims under Title V of the Act against the Chinese Communist re­
       gime shall be filed with the Commission on or before July 6, 1969.
       § 531.2 Form, content and filing of claims.
          (a) Claims shall be filed on official forms provided by the Commission
       upon request in writing addressed to the Commission at its principal office
       at Washington, D.C., shall include all of the information called for in the
       appropriate form indicated below, and shall be completed and signed in ac­
       cordance with the instructions accompanying the form.
          (b) FCSC Form 285-Statement of Claim Against the Government of
       (Bulgaria, Hungary, Rumania, Italy, Soviet Union).
          (c) FCSC Form 604-Claims against the Government of Czechoslovakia.
          (d) FCSC Form 709-Claim against the Government of the Polish
       People's Republic.
          (e) FCSC Form 666--Claims against the Government of Cuba.
          (f) FCSC Form 701-Claims against the Government of Yugoslavia
       under the Yugoslav Claims Agreement of November 5, 1964.
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         (g) FCSC Form 780-Claims against the Chinese Communist regime.
         (h) Notice to the Foreign Claims Settlement Commission, the Department
      of State, or any other governmental office or agency; prior to the enactment
      of the statute authorizing a claims program or the effective date of a lump­
      sum claims settlement agreement, or an intention to file a claim against a
      foreign country, shall not be considered as a timely filing of a claim under
      the statute or agreement.
         (i) Any initial written indication of an intention to file a claim received
      within 30 days prior to the expiration of the filing period thereof shall be
      considered as a timely filing of a claim if formalized within 30 days after
      the expiration of the filing period.

      § 531.3 Exhibits and documents in support of claim.
          (a) If available, all exhibits and documents shall be filed with and at the
      same time as the claim, and shall, wherever possible, be in the form of
      original documents, or copies of originals certified as such by their public or
      other official custodian.
          (b) Documents in foreign language. Each copy of a document, exhibit or
      paper filed, which is written or printed in a language other than English,
      shall be accompanied by an English translation thereof duly verified under
      oath by its translator to be a true and accurate translation thereof, together
      with the name and address of the translator.
          (c) Preparation of papers. All claims, briefs, and memoranda filed shall
      be typewritten or printed and, if typewritten, shall be on legal size paper.

      § 531.4 Acknowledgment and numbering.
        The Commission will acknowledge the receipt of a claim in writing and
      will notify the claimant of the claim number assigned to it, which number
      shall be used on all further correspondence and papers filed with regard to
      the claim.

      § 531.5   Procedure for determination of claims.
         (a) The Commission may on its own motion order a hearing upon any
      claim, specifying the questions to which the hearing shall be limited.
         (b) Without previous hearing, the Commission may issue a proposed de­
      cision in determination of a claim.
         (c) Such proposed decision shall be delivered to the claimant or his attor­
      ney of record in person or by mail. Delivery by mail shall be deemed com­
      pleted 5 days after the mailing of such proposed decision addressed to the
      last known address of the claimant or his attorney of record. One copy of
      the proposed decision shall be available for public inspection at the office of
      the Commission. Notice of proposed decision shall be posted on the bulletin
      board at the office of the Commission on the day of its issuance and for 20
      days thereafter.
         (d) It shall be the policy of the Commission to post on said bulletin board
      other information of general interest to the claimants before the Commission.
         (e) Where such proposed decision denies the claim in whole or in part,
      claimant may within 15 days of service thereof file objections to such denial
      assigning the errors relied upon, with accompanying brief in support thereof,
      and may request a hearing on the claim, specifying whether for the taking
      of evidence or only for the hearing of oral argument upon the errors assigned.
         (f) Public notice shall be promptly posted on said bulletin board of the
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       tiling of any objection to, or request for a hearing on any proposed decision.
           (g) Upon the expiration of 30 days after such service or receipt of notice,
       if no objection under this section has in the meantime been filed, such pro­
       posed decision shall, without further order or decision of the Commission,
       become the Commission's final determination and decision on the claim.
           (h) If any such objections have in the meantime been filed, but no hearing
       requested, the Commission may, after due consideration thereof, (1) issue
       its final decision affirming or modifying its proposed decision, (2) issue a
       further proposed decision, or (3) on its own motion order hearing thereon,
       indicating whether for the taking of evidence on specified questions or only
       for the hearing of oral argument.
           (i) After the conclusion of a hearing, upon the expiration of any time al­
       lowed by the Commission for further submissions, the Commission may pro­
       ceed to final decision and determination of the claim.
           (j) (1) In case an individual claimant dies prior to the issuance of a final
       decision his legal representative shall be substituted as party claimant. How­
       ever, upon failure to comply with the foregoing, the Commission may issue
       its decision in the name of the estate and, in case of an award, certify the
       award to the Secretary of the Treasury for payment, if the payment of such
       award is provided for by statute.
           (2) Notice of the Commission's action under this subparagraph shall be
       forwarded to the claimant's attorney of record, or if claimant is not repre­
       sented by an attorney, such notice shall be addressed to the estate of the
       claimant at the last known place of residence.
           (3) The term "legal representative" as applied in this subparagraph
       means, in general, the administrator or executor, heir (s), next of kin, or
       descendant (s).
           (k) After the date of filing with the Commission no claim shall be amended
       to reflect the assignment thereof by the claimant to any other person or en­
       tity except as otherwise provided by statute.
           (1) At any time after a final decision has been issued on a claim, or a
       proposed decision has become the final decision on a claim, but not later than
       60 days before the completion date of the Commission's affairs in connection
       with the program under which such claim is filed, a petition to reopen on the
       ground of newly discovered evidence may be filed. No such petition shall be
       entertained unless it appears therein that the newly discovered evidence came
       to the knowledge of the party filing the petition subsequent to the date of
       issuance of the final decision or the date on which the proposed decision became
       the final decision; that it was not for want of due diligence that such evidence
       did not come sooner to his knowledge; and that the evidence is material, and
       not merely cumulative, and that reconsideration of the matter on the basis
       of such evidence would produce a different decision. Such petition shall in­
       clude a statement of the facts which the petitioner expects to prove, the name
       and address of each witness, the identity of documents, and the reasons for
       failure to make earlier submission of the evidence.
       § 531.6 Hearings.
          (a) Hearings, whether upon the Commission's own motion or upon re­
       quest of claimant, shall be held upon not less than fifteen days' notice of the
       time and place thereof.
          (b) Such hearings shall be open to the public unless otherwise requested by
       claimant and ordered by the Commission.
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          (c) Such hearings shall be conducted by the Commission, its designee or
       designees. Oral testimony and documentary evidence, including depositions
       that may have been taken as provided by statute and the rules of practice,
       may be offered in evidence on claimant's behalf or by counsel for the Com­
       mission designated by it to represent the public interest opposed to the allow­
       ance of any unjust or unfounded claim or portion thereof; and either may
       cross-examine as to evidence offered through witnesses on behalf of the other.
       Objections to the admission of any such evidence shall be ruled upon by the
       presiding officer.
          (d) The claimant shall be the moving party, and shall have the burden
       of proof on all issues involved in the determination of his claim.
          (e) Hearings may be stenographically reported either at the request of
       the claimant or upon the discretion of the Commission. Claimants making
       such a request shall notify the Commission at the least ten (10) days prior
       to the hearing date. When a stenographic record of a hearing is ordered at
       the claimant's request, the cost of such reporting and transcription may
       be charged to him.
       § 531.7 Presettlement conference.
          The Commission on its own initiative or upon the application of a claimant
       for good cause shown, may direct that a presettlement conference be held
       with respect to any issue involved in a claim.
                         EXHIBIT
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                         INSTRUCTION SHEETS AND FORMS
         FOR PREPARING AND FILING CLAIMS AGAINST THE GOVERNMENT OF CUBA

                                GENERAL STATEMENT
                  READ CAREFULLY BEFORE COMPLETING CLAIM FORM

         Public Law 88-666, approved October 16, 1964, amends the International
      Claims Settlement Act of 1949 (64 Stat. 12 (1950), 22 U.S.C. §§ 1621-1627
       (1950)), as amended, by adding at the end thereof, Title V which authorizes
      the Foreign Claims Settlement Commission to receive and determine the
      amount and validity of claims by nationals of the United States against the
      Government of Cuba for (a) debts for merchandise furnished or services
      rendered by nationals of the United States; (b) losses arising since January
      1, 1959 as a result of the nationalization, expropriation, intervention, or other
      taking thereof, or special measures directed against property including any
      rights or interests therein owned at the time by nationals of the United
      States; and (c) disability or death of nationals of the United States, includ­
      ing pecuniary losses and damages (e.g. loss of support, medical and funeral
      expenses, or other expenses), resulting from actions taken by, or under the
      authority of, the Government of Cuba since January 1, 1959.
         Eligible Claimants.-A claim may not be considered under categories (a)
      and (b) above unless the property on which the claim is based was owned
      wholly or partially, directly or indirectly, by a national of the United States
      on the date of loss and unless the claim has been owned continuously there­
      after by one or more nationals of the United States until the date of filing
      with the Commission. With respect to claims under category (c) above, Public
      Law 88-666 provides that in order to receive consideration, such claim must
      be filed by the disabled person or by his successors in interest, and in case of
      death of a United States national, claims may be filed by the personal repre­
      sentative of decedent's estate or by a person or persons for pecuniary losses
      and damages (e.g., loss of support, medical and funeral expenses, or other
      expenses) on account of such death.
         The statute further provides that no claim be considered under this section
      unless the property upon which it is based was owned by, or in the case of dis­
      ability or death, the disabled or deceased person was, a national of the United
      States at the time of loss, injury or death, and if considered, such claims shall
      be considered only to the extent that it has been held by a national or na­
     tionals of the United States continuously until the date of filing with the
      Commission.
        National of United States Defined.-The term "National of the United
     States" is defined as (1) a natural person who is a citizen of the United
     States or (2) a corporation or other legal entity which was organized under
     the laws of the United States, or of any State, the District of Columbia, or
     Commonwealth of Puerto Rico, if 50 percent or more of the outstanding
     stock or other beneficial interests of such corporation or entity is owned by
     citizens of the United States.
        Stockholders.-Claims of nationals based on ownership interests in corpora­
     tions or other legal entities-(!) which are nationals of the United States
     will not be considered (inasmuch as such corporation or other legal entities
     are eligible claimants in their own right); (2) which are not nationals of the
     United States may be considered depending on the nature and extent of the
     interests therein. The amounts of any claim will reflect the proportion that

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        such interests bear to the entire ownership interests in the corporation or
        other legal entity.
           Commission Action.-Public Law 88-666 provides that the Commission
        certify to each individual who has filed a claim the amount determined by the
        Commission to be the loss or damage suffered by the claimant which is covered
        by the Act. The Commission is also required to certify to the Secretary of
        State its determination with respect to each claim filed.
          Assignments.-In case of assignment of a claim, the amount determined to
        be due on such claim shall not exceed the actual consideration paid by the
        assignee or assignees. It should be noted that the nationality requirements
        apply equally to both the assignor and assignee.
           Offsets.-The Commission, in reaching a determination with respect to the
        the amount of loss suffered by each claimant is required to deduct all amounts
        the claimant has received from any source on account of the same loss or
        losses.
           Attorney Fees.-No remuneration on account of any services rendered on
        behalf of any claimant in connection with any claim filed with the Commis­
        sion under this law shall exceed 10 percent on the first $20,000 of the award
        as determined by the Commission, plus 5 percent on any amount which is in
        excess of $20,000.
           Application of Other Laws.-To the extent they are not inconsistent with
        the provisions of this Act, subsection (b), (c), (d), (e), (h), and (j) of sec­
        tion 4 subsection (f) of section 7 of title I of the International Claims Settle­
        ment Act of 1949, as amended, are applicable to claims authorized under
        Public Law 88-666. These subsections pertain to procedural matters and are
        implemented under the Commission's Regulations (45 CFR 500.1 (1964)).
           Payment of Claims.-lt should be noted that Public Law 88-666 does not
        provide for the payment of any claim. In this connection, reference is made
        to the Senate Report (S. Rept. 1521, 88th Congress, 2d Session) with respect
        to this legislation ( H.R. 12259) which reads, in part, as follows:
               The Committee on Foreign Relations wishes to reiterate its position
            that the enactment of this legislation is not to be construed as any inten­
            tion to authorize an appropriation now or in the future of Federal
            funds for the purpose of paying the claims of U.S. nationals against the
            Government of Cuba. The payment of such claims is not the responsibil­
            ity of the U.S. Government. On the contrary, it is the responsibility of
            the Cuban Government, and under no circumstances should the American
            taxpayer be required to foot the bill for the payment of any part of these
            claims. It was with this specific understanding that the Committee on
            Foreign Relations decided to report H.R. 12259, which provides only for
            the receipt and determination by the Foreign Claims Settlement Com­
            mission of the amount and validity of claims of U.S. nationals against
            the Government of Cuba.
          Claim Filing Period.-Within 60 days after the enactment of legislation
       making appropriations to the Foreign Claims Settlement Commission for the
       payment of administrative expenses in carrying out its functions under the
       Act, the Commission is required to give public notice by publication in the
       Federal Register of the time within which claims may be filed with the
       Commission. The time limit may not be more than 18 months after such pub­
       lication. The Commission is required to complete its affairs not later than
       3 years following the final filing date.
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         Penalty.-Any claimant, or person filing any claim on behalf of a claimant,
      who knowingly and willfully conceals a material fact or makes a false state­
      ment or representation with respect to any matter before the Commission
      shall, under law, forfeit all rights to any award or payment on account of this
      claim and in addition shall be subject to the criminal penalties provided in
      title 18, United States Code, section 1001.
         All statements by persons other than the claimant which may be submitted
      in support of this claim shall include the following:
              "The undersigned is aware that this statement is to be submitted to the
           Foreign Claims Settlement Commission of the United States in connec­
           tion with the claim of -------(Name of claimant)------- and that any
           willfully false statement herein may subject the undersigned to criminal
           penalties provided by law in such cases."
        Certain A wards Prohibited.-Section 208 of the Act prohibits an award to
      or for the benefit of any person who has been convicted of a violation of any
      provision of chapter ::.15, title 18, of the United States Code, or of any other
      crime involving disloyalty to the United States.
        IMPORTANT.-All questions included in the statement of claim form must
      be answered where applicable. The statement of claim must be signed.

                    INSTRUCTIONS FOR COMPLETING FCSC FORM No. 666
         The items listed below are numbered to correspond to the items or ques­
      tions on the application form.
         Item No. 1.~If claimant is an individual, give name in full (last, first,
      middle) indicating any other names heretofore used; if claimant is a corpo­
      ration or other legal entity, give the entity's full name, indicating any other
      names it has used. If claimant is other than an individual or corporation
       (e.g., partnership, association, trust, decedent's estate, minor's estate, etc.),
      state its character and attach a copy of the partnership agreement, articles
      of association, trust indenture, letters of administration or letters testamen­
      tary, together with a certified copy of probated will, etc., whichever is appro­
      priate. If the claimant is asserting a claim in a fiduciary capacity, describe
      the capacity of the claimant and the names, addresses, and the nature and
      extent of the interest of all beneficiaries, indicating the 'nationality of each
      such beneficiary on a separate sheet.
         Item No. 2.-If claimant is an individual, give present residence; if claim­
      ant is a corporation, other legal entity, or partnership, etc., give principal
      place of business.
        NOTE.-It is important that the Commission be notified immediately of any change in
      claimant's address, or his status (i.e., death, marriage, etc.). The same holds true as to
      dissolution, reorganization, or other changes in the status of corporations or entities filing
      claims or having any interest in a claim.
        Item No. 3.-A person may be represented by an atorney at law admitted
      to practice before the courts of any State of the United States, the District of
      Columbia or the Commonwealth of Puerto Rico; however, claimants are not
      required to be represented by counsel.
        Item No. 4.-Give the dollar amount claimed for (a) all unimproved land
      and (b) all improved real estate in the first column with the total amount for
      these two categories in the column marked "Total claimed."
        Item No. 5.-Give total dollar amount claimed for all personal property
      except stock shares, securities, and notes.
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          Item No. 6.-Give total dollar amount claimed for stock share interests in
       assets of corporations or other entities. Give names of such corporations or
       entities on a saparate sheet if space is not sufficient. State dollar amount
       claimed for other securities and identify.
          Item No. 7.-Give dollar amount claimed for (a) debts for goods and
       services owed by nationalized enterprises or Cuban Government, and (b)
       mortgages, liens and other charges upon property taken, in the first column
       with the total of the two in the column marked "Total claimed." The term
       "property" as defined by paragraph (3) of section 502 of the Act, includes
       debts owed by the Gove_rnment of Cuba or by enterprises which have been
       nationalized, expropriated, intervened, or taken by the Government of Cuba
       and debts which are a charge on property which has been nationalized, ex­
       propriated, intervened, or taken by the Government of Cuba.
          Item No. 8.-This includes claims by successors in interest to a disabled
       person who may have died from causes other than those which resulted from
       wrongful acts of the Cuban Government or authorities. Successors in interest
        (including widows, widowers, children, parents, brothers and sisters, and
       other near relatives) may have a claim also for loss of support and for medi­
       cal, funeral, and other expenses paid by the decedent himself or his estate.
       Such claims may be in addition to the amount claimed for death or disable­
       ment of the American citizen.
          Item No. 9.-Show the total of items 4, 5, 6, 7, and 8 as the total amount
       of the claim in dollars.
          Item No. 10.-A native-born American citizen should submit a birth cer­
       tificate or, if such certificate is not obtainable, a baptismal certificate, a certi­
       fied copy of the record of baptism, passports, etc. A naturalized person, or
       a person who acquired U.S. citizenship by marriage, or through his parent(s)
       must complete, in duplicate, and return to this Commission the enclosed
       "Request for Confirmation of Naturalizaztion," Form DSP-13. Do NOT send
       this form to the Immigration and Naturalization Service.
          Item No. 11.-In case of claims by corporations or other legal entities,
       proof of 50 percent or more ownership by natural persons who were U.S.
       citizens will, wherever feasible, be established as indicated in item 10 above.
       Where stockholders are many in number, the Commission will consider a
       sworn statement by the secretary or other principal officers of the corpora­
       tion (or other legal entity) certifying, for claims based upon direct owner­
       ship by juridical persons, as to the percentages of the outstanding capital
       stock or proprietary interests owned by nationals of the United States at
       the date of loss and continuously until the date of filing this claim.
          Item No. 12.-If the claimant has at any time lost his U.S. nationality, a
       detailed statement should be attached indicating when and how such nation­
       ality was lost, and when and how it was reacquired, together with all perti­
       nent documentary evidence.
          Item No. 13.-Describe in detail the cause of action upon which the loss of
       property, or the death, injury, or physical disability of an American citizen
       may be attributable. Indicate the exact location in which such loss, death,
       or physical injury occurred. A certified copy of any specific decree or order
       taking or interfering with claimant's ownership of the property should be
       supplied together with affidavits of persons having personal knowledge of
       wrongful action with respect to the property, setting out fully the nature
       and date of such acts and by whom taken. Any other documenary evidence
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        to establish action taken, such as laws, resolutions, requisition order, receipts
        for property taken, etc., should be included.
           Item No. 14.-Describe in detail the property involved, including the exact
        location of the property at the time of its nationalization or other taking,
        original cost, subsequent improvements, amount of income derived from the
        property during the year immediately preceding the loss, value of property at
        time of loss, including appraisals, insured and tax valuations, extent to
        which depreciation has been taken into account in arriving at actual value.
        Proof of the foregoing may be in the nature of contracts, deeds, vouchers,
        etc., photographs of property duly authenticated, itemizezd list of personal
        property reflecting original cost, depreciation and value at time of loss, and
        affidavits of persons having personal knowledge of the property, the nature
        and amount of damages sustained, and who are qualified to express reliable
        opinions as to the extent of damage.
           Item No. 15.-0omplete chronology of medical histories should be given
        in case of personal injuries or disabilities, medical costs, etc. Claims based
        upon the death of an American citizen should contain a statement of partic­
        uars including date and place of birth of deceased, citizenship status at time
        of death, realtionship to claimant, names and addresses of heirs; and the
        basis of which the amount of the claim is computed.
          Item No. 16.-Certified copy of deeds, extracts from property registers
        contract of purchase or other evidence of claimant's ownership of property
        should be furnished. In the event the property was inherited from a dece­
        dent who died intestate and no proceedings have been instituted in connection
        with his estate, give name in full, relationship to the claimant, and submit
        a certified copy of decedent's death certificate or, if none is available, other
        documentary proof on which you rely to establish his death and the date
        thereof. In such event submit, also, claimant's affida·•it and the affidavits of
        two others who are familiar with the facts, reciting the name, age address,
        and nationality of all relatives surviving.
           Item No. 17.-Section 505 (a) of the act precludes claims based upon an
        ownership interest in any entity, such as a stockholder, an association mem­
        ber, etc., if the entity itself qualifies as an eligible claimant. In other words,
        if the entity comes within the definition of the term "national of the United
        States," a stockholder or member would not be an eligible claimant for his
        proportionate share of any compensable loss sustained by the entity.
           Where any corporation or other entity does not qualify as an eligible claim­
        ant in its own right, section 505 (b) of the act permits a stockholder to file
        a claim for his proportionate share of the loss. This would be a claim based
        upon the loss of direct proprietary interest in such entity.
           Section 505 (c) provides for claims based upon an indirect ownership of a
        proprietary or similar interest in a corporation or other entity which does not
        qualify as an eligible claimant in its own right. Such a claim would arise,
        for example, where the claimant owned stock in a foreign corporation which,
        in turn, owned stock in another foreign corporation which suffered a loss.
        In such a case a claim may be filed provided that at least 25 percent of the
        entire ownership interest in the corporation which directly suffered the was
        owned by nationals of the United States at the time of the loss.
           Item No. 18.-State value of property at time of loss. If any item enter­
        ing into computation of the loss, such as original purchase price, cost of
        improvements, etc., entered into these calculations, the equivalent thereof
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     in terms of U.S. currency should be stated based upon the rate of exchange
     in effect at the time the loss occurred.
       Item No. 19.-If claimant has recovered through insurance or otherwise
     for property losses as indicated under subparagraph (b) of item 19, proof
     as to the amount received or the amount expected to be received should be
     submitted.
       Item No. 20.-No special instructions.
       Item No. 21.-Chapter 115 of title 18 of the United States Code pertains
     to such crimes as treason, rebellion or insurrection, seditious conspiracy, ad­
     vocating overthrow of the U.S. Government, failure to register as an organi­
     zation which advocates the overthrow or control by force of the Government
     of the United States, affecting the Armed Forces of the United States dur­
     ing war, recruiting for service against the United States, and enlistments to
     serve against the United States.
       Items Nos. 22 and 23.-No special instructions. Section 7(f) of the Inter­
     national Claims Settlement Act of 1949, as amended, which is incorporated
     by reference under section 509 is quoted as follows: "Nothing in this title
     shall be construed as the assumption of any liability by the United States
     for the payment or satisfaction, in whole or in part, of any claim on behalf
     of any national of the United States against any foreign government."
     FCSC Form 666

          FOREIGN CLAIMS SETTLEMENT COMMISSION OF THEl UNITED STATES
                             WASHINGTON, D.C. 20579


        In the Matter of the Claim of                             Claim No. CU



        Against the Government of Cuba un­
        der Title V of the International Claims
        Settlement Act of 1949, as amended by
        Public Law 88-666, approved October                        (DO NOT WRITE IN
        16, 1964.                                                     THIS SPACE)

       An original and """ copy of this form and each supporting exhibit must be filed. Each docu­
     ment in a foreign language must be accompanied by a verified English translation. Answers
     should be typed or printed. Attach additional sheets needed for any items where space on the
     form is insufficient. The information and instruction sheet attached hereto, with directions for
     each numbered item on the claim form, was prepared for the purpose of assisting you in the
     preparation of your claim. It is suggested that you read it thoroughly before completing thi~
     claim form.



        IMPORTANT-ALL QUESTIONS CONTAINED IN THIS FORM
     MUST BE ANSWERED. If claimant does not know the answer to a ques­
     tion or the (!uestion is not applicable to his claim, claimant should write "UN­
     KNOWN" or "INAPPLICABLE" in the proper space.
      1. Name of claimant ------------------------------'------------------­
                                          (Last)               (First)              (Middle>
      2. Address of claimant ---------------------------------------------­
      3. Name and address of attorney (if any) -----------------------------­
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                                  SUMMARY OF LOSSES CLAIMED
                                                                         Amount       Total
                                                                        in dollars   claimed
          4. Real estate:
             (a) Land --------------------------------~-------- $---­
             (b) Buildings --------------------------------------                    $---­
          5. Personal property, furniture, equipment, merchandise, etc.
          6. Securities (name of corporation entity ----------------------)
          7. Debts:
             (a) Owed by nationalized enterprises or Cuban Govern­
                  ment                                                  $---­
             (b) Charges upon property nationalized or taken
          8. Death, injury, or permanent disability
          9. Total amount of claim                                                   $­
                                                                                     $­

         10. If claimant is an individual, indicate how United States nationality was
             acquired (check one), and submit supporting documentary evidence.
             O Birth              Date__________ Place -------------------------­
             0 Naturalization Date__________ Place ---------- Cert. No. -----­
             0 Marriage           Date__________ Name .of spouse ________________ _
             0 Through parents Date__________ Name of parent(s) -------------­
             0 Reacquired         Date_________ _
             (This information must be followed with respect to a deceased person.
               If claim is being filed by the heir or survivor of a deceased person,
               this information must also be furnished with respect to such person.)
         11. If claimant is a corporation or other legal entity, complete following:
             (a) At all times between -------------------- and the presentation of
                  this claim, more than 50 percent of the outstanding capital stock of
                  all classes or of other beneficial interest in the claimant has been
                  owned, directly or indirectly, by persons who were then United States
                  nationals. (Indicate in blank space the date on which such continu­
                  ous ownership commenced.)
             (b) On the date of loss, the claimant has outstanding ________ shares of
                  capital stock of all classes or other evidence of beneficial interest,
                  which were then held by ------------ persons.
                                                (Number)
             (c) On the date of the presentation of this claim, the claimant had out­
                 standing ---------- shares of capital stock of all classes or other
                 evidence of beneficial interest, which were then held by -----------­
                                                                              (Number)
                  persons.
               Attach a statement by the secretary or other principal officer of the
             corporation (or other entity) certifying above.
         12. Have here been any changes in nationality status of claimant since the
             date of loss?---------- (Yes or No). If so, explain-----------------­

                                       NATURE OF CLAIM
         13. The claim arose on                             at ---------------------­
                                         (Date of loss)               (Location)
            ----------------------------------- as a result of the following action
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       14. If the claim is based upon real or personal property, please furnish de­
           scription of property, location at time of loss or damage, and nature of
           claimant's interest.

       15. If this claim is based on losses or injuries other than real or personal
           property covered under the preceding questions, please furnish description
           of such losses or injury.

       16. If this claim is based on loss of property, state when and how such prop­
           erty was acquired:
           (a) If purchased, give date of purchase ------------------------, and
                consideration paid __ --------- _________________________________ _
           (b) If inherited, give date of inheritance ------------------------• and
               from whom ----------------------------· Value at time inherited
               --------------------· What was nationality of the previous owner?

           (c) Cost of improvements, if any, made since acquisition -------------­
           (d) Do you know of any other person, firm, corporation, or other legal
               entity, now or since the date of Joss who had or who has any interest
               in the property above described or in the claim hereby asserted? (In­
               dicate the names and present addresses of all such parties.)



       17. If the claim is based on the ownership of securities in a corporation, as­
           sociation, or other entity, indicate below the name, address, place of in­
           corporation of such corporation, association or entity, and the number of
           shares outstanding.

               (Name)                (Address)              (Place of          (Number
                                                         incorporation)         shares)

               (Name)                (Address)              (Place of         (Number
                                                         incorporation)        shares)

               (Name)                (Address)              (Place of         (Number
                                                         incorporation)        shares)

                                     AMOUNT OF CLAIM

       18. This claim is asserted for the total amount of$----------· It is computed
           as follows: ------------------------------------------------------­

       19. (a) Has claimant filed or asserted any claim with respect to the subject
               matter of this claim or any related matter with or against any other
               agency of the United States Government or any other place? _____ _
               (Yes or No). If the answer is "Yes," give date of filing, agency or
               other place with which claim was filed, amount claimed, disposition
               of claim and amont of a\\"ard, if any -------------------------­
           (b) Apart from this claim, has claimant or any predecessor in interest re­
               ceived, or has he any reason to expect to receive, any benefits, pecuni­
               ary or otherwise, on account of the loss resulting from the action
               for which this claim is filed? (If so, explain.) -------------------­
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              (c) Has a tax deduction ever been asserted by claimant or any other pre­
                  decessor with respect to losses described in this claim? ______ (Yes or
                  No). If answer is "Yes," give year such claim was asserted, amount
                  of loss claimed, whether loss was allowed, and name of person claim­
                  ing such tax deduction ---------------------------------------­

        20. Set forth any additional facts pertinent to this claim.


                                            GENERAL
        21. Has the claimant or any person for whose benefit any award upon this
            claim may inure, been convicted of a violation of any provision of Chapter
            115 of Title 18 of the United States Code, or any other crime involving
            loyalty to the United States? ______ (Yes or No). If answer is "Yes,"
            specify-------------------------------~---------------------------·


        22. (In the case of an individual claimant.) The undersigned states that he is
            the claimant herein; that he has read the foregoing statement of claim
            and each statement and exhibit attached thereto and knows the contents
            thereof; that the same is true to his own knowledge, except as to matters
            therein stated to be alleged on information and belief, and that as to those
            matters he believes them to be true.
        Dated ----------------------• 196__
                                                              (Signature or mark)



        If by mark, two witnesses:                 Alddress _________________________ _
                                                   Alddress _________________________ _
        Name ---------------------------­
        Name ---------------------------­
        23. (For use in the case of a corporate or other entity claimant.) The under­
            signed states that he is the ____ (Title or Office) ____ of the claimant
            herein; that he is duly authorized to sign and file this claim on behalf of
            the claimant; that he has read the foregoing statement of claimant and
            each statement and exhibit attached thereto and knows the contents
            thereof; that the same is true to his own knowledge, except as to matters
            therein stated to be alleged on information and belief, and that as to those
            matters he believes them to be true.
        Dated ----------------------• 196__
                                                                  (Signature)
        SEAL (If any; if none, so state).
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                                    SELECTED DECISIONS
                                    CUBAN CLAIMS PROGRAM

               IN THE MATTER OF THE CLAIM OF JOHN KORENDA
                       Claim No. CU-8255-Decision No. CU-3580
     Late filed claims may be considered zwovided the dete1·mination of timely
       filed claims is not impeded thereby.

                                      PROPOSED DECISION       *
       This claim against the Government of Cuba, under Title V of the Inter­
     national Claims Settlement Act of 1949, as amended, was presented by
     JOHN KORENDA on June 25, 1968 on behalf of the survivors of Peter
     Korenda, for $100,000.00, being the amount of an admitted debt of the
     Republic of Cuba. Claimant and all members of the Korenda family have
     been nationals of the United States at all times pertinent to this claim.
       Under Title V of the International Claims Settlement Act of 1949 [78
     Stat. 1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat.
     388 ( 1965)], the Commission is given jurisdiction over claims of nationals
     of the United States against the Government of Cuba. Section 503(a) of
     the Act provides that the Commission shall receive and determine in ac­
     cordance with applicable substantive law, including international law, the
     amount and validity of claims by nationals of the United States against the
    _Government of Cuba arising since January 1, 1959 for
         losses resulting from the nationalization, expropriation, intervention
         or other taking of, or special measures directed against property in­
         cluding any rights or interests therein owned wholly or partially,
         directly or indirectly at the time by· nationals of the United States, if
         such claims are submitted to the Commission within such period speci­
         fied by the Commission by notice published in the Federal Register
          (which period shall not be more than eighteen months after such pub­
         lication) within sixty days after the enactment of this title or of legis­
         lation making appropriations to the Commission for payment of ad­
         ministrative expenses incurred in carrying out its functions under this
         title, whichever date is later.
        On November 1, 1965, the Commission filed notice with the Federal Reg­
     ister that it would receive, during the period ending at midnight, May 1,
     1967, claims against the Government of Cuba.
        Under the Cdhlmission's regulations, any initial written indication of an
     intention to file a claim received within 30 days prior to the expiration of
     the filing period thereof shall be considered as a timely filing of a claim if
     formalized \Yithin 30 days after the expiration of the filing period. (FCSC
     Reg., 45 C.F.R. § 531.1 (g) (Supp. 1967) .)
        This claim was presented to the Commission on June 25, 1968. There is
     no record of a prior communication to this Commission from claimant
     herein.
        The first question for consideration is whether the Commission may prop­
     erly consider this claim on its merits inasmuch as it was presented sub­
     sequent to the closing of the formal filing period.

      *This decision was entered as the Commission's Final Decision on April 25, 1969.


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            Claimant, JOHN KORENDA, acting on behalf of the interested members
         of the Korenda family, that is, the survivors of Peter Korenda, and of
         Anna Korenda, both now deceased, has informed the Commission that he is
         a merchant seaman, and that in the course of following this occupation
         he received no notice of the inauguration of this claims program, nor of the
         filing period.
            The declared purpose of the Congress in enacting this legislation was
         to provide a vehicle for American nationals to have the validity and amounts
         of their losses decided by the Commission and reported to the Secretary of
         State for possible use in future negotiations of a claims settlement agree­
         ment with a friendly Government in Cuba.
            In view of this purpose, the Commission holds that it will accept for
         consideration on their merits claims filed after the deadline so long as
         the consideration thereof does not impede the determination of those claims
         which were timely filed. The Commission further holds that .the losses de­
         termined in the claims filed after the deadline shall be separately certified
         to the Secretary of State.
           Section 502 ( 3) of the Act provides:
               The term 'property' means any property, right, or interest including
               any leasehold interest, and debts owed by the Government of Cuba or
               by enterprises which have been nationalized, expropriated, intervened,
               or taken by the Government of Cuba and debts which are a charge on
               property which has been nationalized, expropriated, intervened, or
               taken by the Government of Cuba.
           Evidence of record in this case discloses that one Peter Korenda, an Amer­
        ican tourist in Habana, was shot and killed on March 13, 1957, by Cuban
        authorities who were at that time suppressing an attack of insurrectionists
         upon the Presidential Palace of Habana.
           The claim was first presented to the Government of Cuba by the Amer­
        ican Embassy at Habana on behalf of Mrs. Anna Korenda, mother of
        Peter Korenda, for damages sustained as a result of the death of her son.
        The Cuban Ministry of State acknowledged the receipt of the claim on
        June 11, 1958. On September 7, 1959, discusions were held in Habana be­
        tween an Embassy official, a representative of the Cuban Government and
        JOHN KORENDA, acting for himself and other members of the Korenda
        family (Mrs. Korenda being then deceased). During these discussions the
        Cuban Government admitted its liability in the matter and offered to pay
        Mr. Korenda $100,000 in full settlement of the claim. Mr. ~orenda accepted
        the offer and agreed to be paid in two equal installments, t~~ first of which
        was to be made on October 9, 1959. He returned to Cuba on that date, with
        appropriate powers of attorney and other documentation to effect collection
        of the first installment. An appointment for October 10, 1959 was not kept
        by Cuban authorities. It has been said that the failure to make payment
        was due to a stringency in the Cuban Government's dollar exchange posi­
        tion at that time. All attempts to effect collection of the debt have been
        unsuccessful.
           The Commission has carefully considered all the evidence of record and
        finds that inasmuch as this debt of the Government of Cuba has not been
        paid claimant has succeeded to and suffered a loss within the scope of Title
        V of the Act, in the amount of $100,000 as of October 10, 1959. (See Claim
        of Clemens R. Maise, Claim No. CU-3191, 1967 FCSC Ann. Rep. 68.)
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           The Commission has decided that in certification of losses on claims deter­
        mined pursuant to Title V of the International Claims Settlement Act of
        1949, as amended, interest should be included at the rate of 6% per annum
        from the date of loss to the date of settlement (see Claim of Lisle Corpora­
        tion, Claim No. CU-0644), and in the instant case it is so ordered.

                                   CERTIFICATION OF LOSS

          The Commission certifies that JOHN KORENDA succeeded to and suf­
        fered a loss, as a result of actions of the Government of Cuba, within the
        scope of Title V of the International Claims Settlement Act of 1949, as
        amended, in the amount of One Hundred Thousand Dollars ($100,000.00)
        with interest thereon at 6% per annum from October 10, 1959 to the date
        of settlement.
          Dated at Washington, D.C., and entered as the Proposed Decision of the
        Commission March 26, 1969.

                   IN THE MATTER OF THE CLAIMS OF AOFC, INC.
                  Claim Nos. CU-3671 and 3672-Decision No. CU-5894
        The claim of a legal entity, such as a corporation, is owned by the entity
          and not its stockholders. The corporate veil may be pierced and the Amer­
          ican stockholders may claim their stock interests only if (1) the claim
          arose in favor of a non-U.S. national corporation, and (2) that corpora­
          tion continued to own that claim until the date of filing with the Com­
          mission.
                                     PROPOSED DECISION

         These claims against the Government of Cuba, under Title V of the Inter­
       national Claims Settlement Act of 1949, as amended, were presented by
       AOFC, INC. Claim No. CU-3671 in the amount of $711,044.98 is .based
       upon debts due from a Cuban corporation. Claim No. CU-3672 in the
       amount of $250,250.00 is based upon a stock interest in another Cuban
       corporation.
         Under Title V of the International Claims Settlement Act of 1949 [78
       Stat.lllO (1964), 22 U.S.C. §§1643-1643k (1964), as amended, 79 Stat. 988
       (1965)], the Commission is given jurisdiction over claims of nationals
       of the United States against the Government of Cuba. Section 503 (a) of the
       Act provides that the Commission shall receive and determine in accord­
       ance w,ith applicable substantive law, including international law, the
       amount and validity of claims by nationals of the United States against
       the Government of Cuba arising since January 1, 1959 for
            losses resulting from the nationalization, expropriation, intervention
            or other taking of, or special measures directed against, property in­
            cluding any rights or interests therein owned wholly or partially, di­
            rectly or indirectly at the time by nationals of the United States.
         Section 502 ( 3) of the Act provides:
            The term 'property' means any property, right, or interest including
            any leasehold interest, and debts owed by the Government of Cuba or
            by enterprises which have been nationalized, expropriated, intervened,
            or taken by the Government of Cuba and debts which are a charge
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            on property which has been nationalized, expropriated, intervened, or
            taken by the Government of Cuba.
           Section 502(1) (B) of the Act defines the term "national of the United
        States" as a corporation or other legal entity which is organized under the
        laws of the United States, or of any State, the District of Columbia, or
        the Commonwealth of Puerto Rico, if natural persons who are citizens
        of the United States own, directly or indirectly, 50 percentum or more
        of the outstanding capital stock or other beneficial interest of such corpora­
        tion or entity.
           An authorized officer of claimant has certified that claimant was organ­
        ized under the laws of New York on December 20, 1962, and that at all
        times from that date until the date of filing claims all of claimant's out­
        standing capital stock was owned by the International Basic Economy
        Corporation, also organized under the laws of New York. That officer, who
        is also an officer of the parent corporation, has certified that at all pertinent
        times more than 50% of the parent's (lBEC) outstandil;lg capital stock was
        owned by nationals of the United States. The Commission holds that claim­
        ant is a national of the United States within the meaning of Section
        502(1) (B) of the Act.         ·
           The facts in both of these claims are undisputed. It appears from the
        record (CU-3671) that a loan was made in 1956 by an American corpora­
        tion, AOF Corp., to a Cuban corporation, Acetafil, S.A. In 1957 the AOF
        Corp. dissolved and all its rights under the loan agreement were trans­
        ferred to AOF Co., a corporation that qualifies as a national of the United
        States under Section 502(1) (B) of the Act.
           Apparently regular payments on account of the loan were made by the
        Cuban corporation until December 1, 1959 when an amount on account of
        principal and interest became due. The Cuban corporation took appropriate
        steps to send the funds to the United States through the National Bank
        of Cu.ba. However, the Cuban authorities barred the transfer pursuant to
         the foreign exchange laws of Cuba. As a result the funds were never sent
        to AOF Co., and no further payments on account of the loan were ever
        made. The record contains a copy of a letter, dated November 26, 1959,
        from an officer of the Cuban corporation to AOF Co. indicating that the
        Cuban corporation had sufficient funds to make the payment due on Decem­
        ber 1, 1959. It further appears from claimant's statements that the Cuban
        Corporation was intervened by the Government of Cuba in October 1960.
           The record (CU-3672) 'shows that on April 5, 1957, Transoceanic Develop­
        ment Corp., Ltd., a corporation organized under the laws of Canada, ac­
        quired 2,500 Class B shares of common stock in Cia. Antillana de Acero,
        S.A., a corporation organized under the laws of Cuba. The evidence in­
        cludes a copy of Resolution No. 1, issued by the Cuban Ministry of the
        Treasury on March 25, 1960, pursuant to which Cia. Antillana de Acero,
        S.A. was intervened. The Commission so found in Claim of Independence and
        the said rights under the loan agreement, which constitute the Foundation,
        Claim No. CU-2152.
           On January 20, 1960, AOF Co. disso!Yed and merged into the Canadian
        corporation, and all its rights under the said loan agreement were trans­
        ferred to the Canadian corporation. Therefore as of January 20, 1960, the
        Canadian corporation owned 2,500 shares of stock in Cia. Antillana de Acero,
        S.A. and the said rights under the loan agreement, which constitute the
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        properties upon which both of the claims herein are based. It further ap­
        pears from claimant's statements that on December 20, 1962, IBEC acquired
        all the outstanding shares of stock of the Canadian corporation, and caused
        its wholly-owned subsidiary, AOFC, Inc., claimant to be organized. On
        December 31, 1962, IBEC caused the Canadian corporation to transfer all
        of its assets, including the subject matters of these claims to the claimant.
           With respect to Claim No. CU-3671, the Commission has held that the
        Cuban Government's implementation of Law 568 of September 29, 1959,
        concerning foreign exchange, was not in reality a legitimate exercise of
        sovereign authority, but constituted an intervention by the Government
       of Cuba in the contractual rights of those who, like AOF Co., were thus
       adversely affected, and resulted in a taking of property within the mean­
       ing of Section 503 (a) of the Act. (See Claim of The Schwarzenbach Hube1'
       Company, Claim No. CU-0019, 25 FCSC Semiann. Rep. 58 [July-Dec.
       1966]; and Claim of Etna Pozzolana Corporation, Claim No. CU-0049,
       1967 FCSC Ann. Rep. 46) Accordingly, the Commission finds that on or
       about December 1, 1959 property belonging to AOF Co. was lost as a result
       of intervention by the Government of Cuba in the contract with Acetafil.
           In March 1960, a loss of property was sustained by the Canadian corpo­
       ration by intervention of Antillana. On December 31, 1962, claimant suc­
       ceeded to both losses.
           The sole issue presented by these claims involves the meanings of Sec­
       tions 504 (a) and 505 of the Act.
          Section 504 of the Act provides, as to ownership of claims, that
               (a) A claim shall not be considered under section 503(a) of this title
              unless the property on which the claim was based was owned wholly
              or partially, directly or indirectly by a national of the United States
              on the date of the loss and if considered shall be considered only to
              the extent the claim has been held by one or more nationals of the
              United States continuously thereafter until the date of filing with
             the Commission.
          In other words, a claim fil~ad under Section 503 (a) of the Act "shall"
      not be considered unless it was owned, in whole or in part, directly or
       indirectly, by a national of the United States on the date of loss, and
      unless it was so owned continuously thereafter until the date of filing
      with the Commission. The test applied in this respect is whether each
      owner of the claim from the time it arose until filing with the Commission
      qualifies as a national of the United States, as defined by Section 502
      of the Act. Accordingly, the Commission has held consistently that if there
      is any break in the chain of United States nationality at any time between
      the date of loss and the date of filing, the claim must be denied. (See Claim
      of F. L. Smidth & Co., Claim No. CU-0104, 25 FCSC Semiann. Rep. 44
      [July-Dec, 1966] and Claim of Sigridur Einarsdottir, Claim No. CU-0728,
      id. at 45.)
          Section 505 provides, as to Corporate Claims, as follows:
             (a) A claim under Section 503(a) of this title based upon an owner­
             ship interest in any corporation, association, or other entity which is
             a national of the United States shall not be considered. A claim under
             section 503 (a) of this title based upon a debt or other obligation owing
            by any corporation, association, or other entity organized under the
            laws of the United States, or of any State, the District of Columbia,
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            or the Commonwealth of Puerto Rico shall be considered, only when
            such debt or other obligation is a charge on property which has been
            nationalized, expropriated, intervened, or taken by the Government
            of Cuba, or the Chinese Communist regime.
             (b) A claim under section 503(a) of this title based upon a direct
            ownership interest in a corporation, association, or other entity for
            loss shall be considered, subject to the other provisions of this title,
            if such corporation, association or other entity on the date of the
            loss was not a national of the United States, without regard to the
            per centum of ownership vested in the claimant.
             (c) A claim under section 503(a) of this title based upon an indirect
            ownership interest in a corporation, association, or other entity for loss
            shall be considered, subject to the other provisions of this title, only
            if at least 25 per centum of the entire ownership interests thereof at
            the time of such loss was vested in nationals of the United States.
             (d) The amount of any claim covered by subsection (b) or (c) of this
            section shall be calculated on the basis of the total loss suffered by
            such corporation, association, or other entity, and shall bear the same
            proportion to such loss as the ownership interest of the claimant at
            the time of loss bears to the entire ownership interest thereof.
          As indicated by its heading, "Corporate Claims," Section 505 governs
        claims filed under Section 503 (a) based on stock interests in corporations.
        In the absence of Section 505, no valid claim based on a stock interest
        could be filed under Section 503 (a) because all property of a corporation
        belongs to the corporation, not its stockholders. Section 505, in effect, pierces
        the corporate veil and permits certain claims based on stock interests in
        corporations to be considered.
          Claimant availed itself of the provisions of Section 505 when it filed
        Claim No. CU-3672, based on a stock interest in Cia. Antillana de Acero,
        S.A., a Cuban corporation. Since the asserted stock interest in this Cuban
        corporation was owned directly by claimant's predecessor in interest, claim­
        ant has filed its claim under Section 505 (b) of the Act.
          Claimant contends, in effect, that its claims satisfy the nationality re­
        quirements of Section 504 (a) of the Act. With respect to Claim No. CU­
        3671, claimant states that on December 1, 1959 the claim arose in favor of
        AOF Co., a national of the United States within the meaning of Section
        502(1) (B). Although the claim was owned by a Canadian corporation from
        January 20, 1960 to December 31, 1962, claimant states that the claim is
        valid because more than 50% of the outstanding capital stock of the
        Canadian corporation was owned by nationals of the United States. The
        same contention is urged with respect to Claim No. CU-3672 which was
        owned by the Canadian corporation on March 25, 1960, the date of loss.
          Upon consideration of this entire matter, the Commission finds that it
        is constrained to reject claimant's contentions. Claimant has fallen into
        error by confusing the provisions of Section 504 (a) with those of Section
        505. As indicated above, Section 504(a) governs all claims under Section
        503 (a), whether or not based on stock interests in corporations.
           When the test of Section 504 (a) is applied to each owner of the claims
        herein, it is clear that there were breaks in the chains of United States
        nationality between the respective dates of loss and the date of filing. On
        January 20, 1960 when Claim No. CU-3671 was transferred to the Canadian
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      corporation, the claim was not then owned by a national of the United
      States within the meaning of Section 502(1) (B) of the Act. The Canadian
      corporation was organized under the laws of Canada, not "under the laws
      of the United States, or of any State, the District of Columbia, or the
      Commonwealth of Puerto Rico." The Commission therefore finds that the
      Canadian corporation does not qualify as a national of the United States
      within the meaning of Section 502(1) (B). (See Claim of Cia. Ganadera
      Becerra, S.A., Claim No. CU-0726, 25 FCSC Semiann. Rep. 47 [July-Dec.
      1966].) The Commission further finds that insofar as Claim No. CU-3671
      is concerned, any claim that arose on December 1, 1959 by virtue of the
      intervention in the Acetafil, S.A. contract, arose in favor of a national of
      the United States but passed into the hands of a non-United States national.
      Similarly, with respect to Claim No. CU-3672 this was owned by the
      Canadian corporation on March 25, 1960, the date of loss.
         The fact that more than 50% of the outstanding capital stock of the
      Canadian corporation was owned by nationals of the United States is im­
      material because these claims were not filed by the stockholders of the
      Canadian corporation, but by its successor in interest. Since Canadian
      corporation· had assigned its claims to claimant herein on December 31,
      1962, prior to the date of filing with the Commission, the stockholders of
      the Canadian corporation could no longer file valid claims under Section
      5.03 (a) of the Act. The Commission holds that Section 505 applies only
      when a claim is filed under Section 503(a) based on a stock interest in
      a corporation. Accordingly, the Commission finds that Section 505 is in­
      applicable to these claims.
         The Commission finds that these claims were not owned by nationals of
      the United States continuously from the dates they arose until the date of
      filing with the Commission. Accordingly, these claims are denied. The Com­
      mission deems it unnecessary to consider other elements of these claims.
         Dated at Washington, D.C., and entered as the Proposed Decision of the
      Commission October 14, 1970.

                                    FINAL DECISION

        Under date of October 14, 1970, the Commission issued its Proposed
     Decision denying these claims for the reason that the claims failed to
     meet the nationality prerequisites of Section 504 (a) of the Act.
        The undisputed facts are as follows: Claim No. CU-3671 arose in favor
     of a United States national corporation, and was thereafter transferred
     to a non-United States national corporation, a Canadian entity, while
     Claim No. CU-3672 arose in favor of that Canadian corporation. Prior to
     the date of filing with the Commission, the claims were transferred to a
     United States national corporation, the claimant in both cases.
       On the basis of these facts the Commission held that the claims were
     not owned by nationals of the United States continuously from the dates
     they arose until the date of filing, and the claims were denied pursuant to
     the express provisions of Section 504 (a) of the Act.
       Council for claimant objected to the Proposed Decision, submitted a sup­
     porting brief, and requested an oral hearing which was held on March
     17, 1971.
       At that hearing counsel submitted a supplementary brief and argued
     before the Commission on behalf of claimant. The burden of the argument
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        was that about 75 percent of the outstanding capital stock of the Canadian
        corporation was owned by United States nationals at all pertinent times,
        thereby assertedly satisfying the prerequisites of Section 504(a) of the Act.
         On that basis counsel contended that the claims are valid to that extent,
        and urged that they be allowed pro tanto. In effect, counsel argued that
        the claims were owned by the stockholders of the Canadian corporation,
        which stockholders transferred their claims to the United States national
        corporation that filed the claims with the Commission.
            Upon consideration of the entire record, the Commission finds no merit
        in counsel's contentions. The Commission has, over the years, administered
        several claims programs authorized pursuant to other titles of the same
        Act here under consideration, in which there were identical provisions
        insofar as the nationality prerequisites and claims for stock interests in
        corporations are concerned.
            In a claim directly in point filed under Title III of the Act, it appeared
        that an American individual directly suffered the loss in question, and
        his claim was later acquired by a domestically organized corporation that
        filed the claim with the Commission. The record showed that, except for
        the period between 1944 and 1949, more than 50 percent of that claim­
        ants outstanding capital stock was owned by United States nationals from
        the date of acquisition of the claim by claimant until the date of filing
        with the Commission. In that period of about five years, more than 50
        percent of the stock was owned by Mexican nationals.
            The Commission held that the claim was not owned by nationals of the
        United States continuously from the date it arose until the date of filing
        with the Commission, and the claim was denied. (See Claim of American
         Trust Company, Claim No. SOV-42,528, cited as a precedent of the Com­
        mission with respect to nationality prerequisites, at FCSC Semiann. Rep.
        21 [Jan.-June 1957].)
            The Commission has consistently adhered to that principle in determining
        claims under the Act. The Commission reaffirms its holding that the claim
        of a legal entity, such as a corporation, is owned by the corporation like
        any other of its assets and not by its stockholders. Under Title V of the
        Act, when a claim has arisen in favor of a corporation, the corporate veil
        may be pierced and its American stockholders may claim their proportionate
        direct stock interests only if (1) the claim arose in favor of a non-United
        States national corporation, and (2) that corporation continued to own
        the claim until the date of filing.
           In the instant case, Claim No. CU-3671 arose in favor of a United States
        national corporation, but subsequently was acquired by a Canadian corpora­
        tion. The Commission finds that that claim then ceased to have the requisite
        character to serve as a basis for a certification under Title V and this is
        so irrespective of whether a small percentage or all of the Canadian corpor­
        ation's outstanding capital stock was owned by nationals of the United
        States. The stockholders of the Canadian corporation owned no claim which
        they could validly assign to the American corporation that filed the claim.
        Claimant, having thus acquired from the Canadian corporation a claim
        which could not be certified under Title V, can occupy no better position
        than its predecessor in interest.
           Claim No. CU-3672 arose in favor of a non-United States national cor­
        poration but that corporation did not retain the claim until the date of
        filing, but transferred it to a United States national corporation that filed
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      the claim. Since that claim arose in favor of a nonnational of the United
      States, the claimant acquired another claim which was invalid, so far as
      Title V is concerned, on the date of loss. The claim was not retained by
      the Canadian corporation until the date of filing, and therefore its Amer­
      ican stockholders could neither file a claim based upon their proportionate
      interests as permitted by Title V, nor assign a valid claim to the American
      claimant.
         Therefore, the Commission finds no basis for altering the decision pre­
      viously entered. Accordingly, the Proposed Decision of October 14, 1970 is
      affirmed in all respects.
         Dated at Washington, D.C. and entered as the Final Decision of the
      Commission April 21, 1971.

         IN THE MATTER OF THE CLAIM OF CUBAN ELECTRIC COMPANY
                       Claim No. CU-2578-Decision No. CU-4122
      Claims for sums of money expended for resettlement of            employees and
        separation payments made to employees are not covered          by Title V of
        the Act because such losses are not the direct result of the   nationalization
        of property.
      Losses resulting indirectly from action by the Government        of Cuba other
        than the taking of property are not within the purview         of Title V of
        the Act.
                                        FINAL DECISION

         This claim against the Government of Cuba, under Title V of the Interna­
      tional Claims Settlement Act of 1949, as amended, for an amount in excess of
      $323,000,000.00 was presented by CUBAN ELECTRIC COMPANY based
      upon asserted losses resulting from the nationalization of its assets in Cuba.
         By Proposed Decision dated October 21, 1969, the Commission found that
      claimant qualified as a national of the United States, that its assets in Cuba
      were nationalized by the Government of Cuba on August 6, 1960, and that
      claimant had sustained a loss under Title V of the Act in the amount of
      $266,513,667.40. Portions of the claim for the following items were denied:
      Debt of Cuban Government_ ______________________________ _ $ 700,000.00
      Liability to Suppliers_______ -------------------------------  499,186.69
      Loss on equipment and supplies____________________________ _ 2,138,614.39
      Preservation of assets ____________________________________ _  185,297.00
      Resettlement of employees _________________________________ _  314,866.90
      Funding retirement plan__________________________________ _    599,663.00
      In addition, a deduction from the total value of claimant's Cuban assets
       ($319,367,165.95) for taxes ($2,865,397.00), liabilities under Labor Laws for
      Employees Sickness Fund ($322,142.00), debt to Financiera Nacional de Cuba
       ($37,920,000.00), and mortgage bonds ($11,745,959.55) was made to determine
      claimant's actual losses.
         Claimant filed objections to the Proposed Decision, objecting specifically to
      the denial of the items set forth above and to the deductions and set-offs
      applied to the total value of its assets. At an oral hearing on June 4, 1970,
      argument was made by counsel for claimant and further written argument
      submitted after the hearing.
         On the basis of the oral argument, the Commission now finds that claimant
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         sustained an additional loss in the amount of $1,054,746.22 for equipment and
         supplies as the result of the nationalization of its assets by the Government
         of Cuba on August 6, 1960.
           Concerning the debt of the Cuban Government which claimant had listed
        under "Investments in Cuba," claimant has not established that this debt
        was an enforceable debt on January 1, 1959 although listed as an asset on
        claimant's records. It appears that this amount had been owed since prior to
        1948 and claim therefor must be denied. As for the losses claimed for equip­
        ment unsold and not nationalized, since it was in the United States, and the
        preservation of same, the Commission is not persuaded that such items are
        within the scope of Title V of the Act and the denial of these items is af­
        firmed. As for the payments to former employees and the funding of the
        pension acount, although commendable, the Commission finds that they are
        not compensable or certifiable as a loss within the purview of Title V of the
        Act.
           Claimant also argued against the deduction from the value of its Cuban
        assets of liabilities to Cuban governmental agencies, taxes, and mortgage
        bonds certified as losses to other claimants unded Title V. It is contended
        that the Commission should restrict itself to determining only the value of the
        assets lost and leave the application of set-offs or deductions to such time as a
        fund is available for payment of claims. However, the Commission has a man­
        date to determine the losses of United States nationals as a result of the
        actions of the Government of Cuba, and since the actions of the Government
        of Cuba concerning claimant took place on August 6, 1960, the value of the
        claim against Cuba is determined as of that date. To determine the value of a
        claim, any set-offs and deductions must be applied now, not reserved for fu­
        ture consideration. Further, set-offs have been consistently deducted by this
        Commission on claims for nationalized property, when applicable, since the
        Yugoslav Claims Agreement of 1948. (See Claim of Helen Devich, Claim No.
        Y-697, Decision No. Y-800.)
           Claimant based further argument against deductions on computations
        illustrating the recovery for stockholders and creditors with and without de­
        ductions if Cuba should pay 50% or 75% of the total losses. Again, however,
        the Commission's determination concerns the amount of loss sustained as of
        August 6, 1960, the date of nationalization, which amount is definite and not
        subject to adjustment on the basis of any subsequent agreement.
           Accordingly, the Commission concludes that claimant sustained the addi­
        tional loss of $1,054,746.22 for a total loss of $267,568,413.62, on August 6,
        1960 within the meaning of Title V of the Act.
           The certification of loss as restated below, will be entered, and in all other
        respects the Proposed Decision is affirmed.
                                  CERTIFICATION OF LOSS
           The Commission certifies that Cuban ELECTRIC COMPANY sustained a
        loss, as a result of actions by the Government of Cuba, within the scope of
        Title V of the International Claims Settlement Act of 1949 as amended, in the
        amount of Two Hundred Sixty-seven Million Five Hundred Sixty-eight Thou­
        sand Four Hundred Thirteen Dollars and Sixty-two cents ($267,568,413.62)
        with interest at 6% per annum from August 6, 1960 to date of settlement.
        Dated at Washington, D.C., Aug. 19, 1970
                                      PROPOSED DECISION

          This claim against the Government of Cuba, under Title V of the Interna­
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      tiona! Claims Settlement Act of 1949, as amended, was presented by CUBAN
      ELECTRIC COMPANY for $323,570,419.38.
         Under Title V of the International Claims Settlement Act of 1949 [78 Stat.
      1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat. 988
      (1965) ], the Commission is given jurisdiction over claims of nationals of the
      United States against the Government of Cuba. Section 503 (a) of the Act
      provides that the Commission shall receive and determine in accordance with
      applicable substantive law, including international law, the amount and
      validity of claims by nationals of the United States against the Government
      of Cuba arising since January 1, 1959 for
          losses resulting from the nationalization, expropriation, intervention or
          other taking of, or special measures directed against, property including
          any rights or interests therein owned wholly or partially, directly or
          indirectly at the time by nationals of the United States.
        Section 502 (3) of the Act provides:
             The term 'property' means any property, right, or interest including
          any leasehold interest, and debts owed by the Government of Cuba or by
          enterprises which have been nationalized, expropriated, intervened, or
          taken by the Government of Cuba and debts which are a charge on
          property which has been nationalized, expropriated, intervened, or taken
          by the Government of Cuba.
         Section 502(1) (B) of the Act defines the term "national of the United
      States" as a corporation or other legal entity which is organized under the
      laws of the United States, or of any State, the District of Columbia, or the
      Commonwealth of Puerto Rico, if natural persons who are citizens of the
      United States own, directly or indirectly, 50 per centum or more of the out­
      standing capital stock or other beneficial interest of such corporation or
      entity.
         The record shows that Cuban Electric was organized under the laws of the
      State of Florida in 1927, and that in 1960 there were 3,600,011 shares of
      common stock outstanding, of which 3,158,806 were owned by American &
      Foreign Power Company Inc. and 291,261 were owned by other persons whose
      addresses were in the United States. The record further shows that Ameri­
      can & Foreign Power Company Inc. (since merged into Ebasco Industries
      Inc. and subsequently into Boise Cascade Corporation) had 7,312,526 shares
      outstanding on August 6, 1960 of which 0.17% was seld by non-residents of
      the United States and 50.3% by the Electric Bond and Share Company which
      was owned at l8ast 97% by United States nationals at all times. The Commis­
      sion holds that CUBAN ELECTRIC COMPANY qualifies as a national of the
      United States within the meaning of Section 502(1) (B) of the Act.
         Evidence establishes that claimant, beginning in 1928, acquired properties
      of small utility companies in Cuba. In 1960 it provided more than 90% of all
      electricity sold in Cuba and furnished manufactured gas in the City of Ha­
      vana. The company had expanded its services in the period from 1950 to 1959
      and spent a total amount of $189,192,603.00 during that time for construc­
      tion of additional facilities and improvements. A total of 6,619 miles of power
      lines of all voltages was in service throughout the Island at the end of 1959.
         The claimant operated two electrical systems in Cuba, the Western System
      and the Eastern System. The Western System was the larger and included
      the City of Havana. Its generating stations were:
           Consolidated Steam Electric Station on Havana Bay in Havana,
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               Regla Steam Electric Station in the Community of Regla,
               Rincon de Melones Steam-Diesel Electric Station on Havana Bay,
               Matanzas Steam Electric Station on Matanzas Bay,
               O'Bourke Steam Electric Station on Cienfuegos Bay,
               Cienfuegos Steam Electric Station in the City of Cienfuegos,
               Ciego de Avila Diesel Electric Station, sixty miles west of Camaguey,
               Vicente Steam Electric Station, six miles east of Ciego de Avila, and
               Camaguey Steam Electric Station at Camaguey.
        The Western System also had substations at Naranjito, Colon, Diezmero,
        Principe, Rincon, San Augustin, Santa Clara, and Tropical.
          The Eastern System was centered around Santiago and its generating
        stations were:
               Santiago Steam Electric Station on Santiago Bay,
               Manzanilla Diesel Electric Station, 100 miles west of Santiago, and
               Guaso Hydro Electric Station, 5.0 miles northeast of Santiago.
           On the outskirts of Havana, on Rancho Boyeros Highway, claimant owned
        the Capdevila Service Center, which contained the general offices of the
        claimant, a garage, electric meter shop, gas meter shop ,transformer, mechan­
        ical and carpentry shops, central warehouse and stores. It also owned nine
        mobile power units and approximately 425 trucks and jeeps.
           The Havana Gas System which sold manufactured gas in the City of Ha­
        vana consisted of a generating plan, storage capacity, street boosters and a
        distribution system. The distribution system had 230 miles of mains and
        served approximately 55,000 customers.
           On August 6, 1960, the Government of Cuba issued Resolution No. 1 which
        listed as nationalized the CUBAN ELECTRIC COMPANY (Compania
        Cubana de Electricidad), pursuant to Law 851 of July 6, 1960. The Commis­
        sion therefore finds that claimant's properties in Cuba were nationalized on
        August 6, 1960, as a result of which claimant sustained a loss within the
        meaning of Title V of the Act.
           Claim is made herein for losses sustained by CUBAN ELECTRIC COM­
        pANY as follows:
          1.   Utility Plant                                              $285,266,482.00
          2.   Investments in Cuba                                           1,957,756.40
          3.   Current Assets                                               30,244,140.00
          4.   Deferred Debits                                               2,364,413.00
          5.   Liability to Suppliers                                          499,186.69
          6.   Loss on Sale of Equipment & Supplies                          1,054, 746.22
          7.   Unsold Equipment                                              1,083,868.17
          8.   Preservation of Assets                                          185,297.00
          9.   Resettlement of Employees                                       314,866.90
         10.   Funding Retirement Plan                                         599,663.00
                                                                Total     $323,570,419.38
            The Act provides in Section 503 (a) that in making determinations with
         respect to the validity and amount of claims and value of properties, rights,
         or interests taken, the Commission shall take into account the basis of valu­
         ation most appropriate to the property and equitable to the claimant, includ­
         ing but not limited to fair market value, book value, going concern value, or
         cost of replacement.
            The question, in all cases, will be to determine the basis of valuation which,
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      under the particular circumstances, is "most appropriate to the property
      and equitable to the claimant." This phraseology does not differ from the
      international legal standard that would normally prevail in the evaluation
      of nationalized property. It is designed to strengthen that standard by giving
      specific bases of valuation that the Commission shall. consider.
        In support of the claim, claimant has submitted a copy of its Annual Re­
      port for the year ending December 31, 1959, a Financial Report with a balance
      sheet for February 29, 1960, copies of records concerning inventories of
      equipment purchases, sales, investments and supplies, and affidavits of former
      employees of claimant and the American & Foreign Power Company Inc.
      The record also contains copies of balance sheets for 1957 and 1958, a report
      of the Cuban Rate Investigation Commission, and claimant's memorandum
      concerning the 1959 rates and report of that Commission.
                                     1. UTILITY PLANT
         Under the heading "Utility Plant", claimant makes claim for all land,
      buildings, machinery, vehicles, equipment and construction work in progress.
      The amount claimed, $285,266,482.00, is the adjusted book value of the plant
      for August 6, 1960, the date of nationalization. According to the latest bal­
      ance sheet submitted, the value of the plant on February 29, 1960, was
      $345,687,423.00. In order to arrive at the claimed amount of $285,266,482.00,
      a depreciation reserve of $52,337,238.00 was deducted and further adjust­
      ments were made for charges incurred and credits taken in the period from
      February 29, 1960 to August 6, 1960. The Commission finds that this method
      of arriving at the total claimed is fair and equitable and is supported by a
      preponderance of the evidence in the record, even though there is included in
      the evidence a report of the Cuban Rate Investigation Commission which had
      been ·appointed by the Castro Government in Cuba to determine electric and
      gas rates for CUBAN ELECTRIC COMPANY. That body made a finding as
      to the value of claimant's property for a rate base. This, however, is not a
      determination of the market value of the company but was an attempt to
      put as low a value as possible on the assets as a basis for lowering utility
      rates.
        The Commission therefore finds that the value of the Utility Plant on Au­
      gust 6, 1960 is the adjusted book value of $285,266,482.00.
                                      2. INTANGIBLES
        Claimant asserts a loss in the amount of $1,957,756.00 for "investments in
      Cuba." This item, comprising certain debts and advances as well as invest­
      ments, is carried at book value in the balance sheet of February 29, 1960 in
      the amount of 2,173,290.70. The claim as presented is for the asserted value
      of the items, as follows:
       1.   Vedado Tennis Club Mortgage Bonds                         $    5,000.00
       2.   Country Club de Santiago Stock                                   500.00
       3.   Camaguey Country Club Bonds                                      500.00
       4.   Compania de Publicacion "El Dia" Bonds                         5,000.00
       5.   City of Matanzas-8% Gold Bonds                                 3,226.82
             "       ,         " "   "    "                                  727.73
       6.   Julio Cesar Hidalgo & Cia. Stock                                 100.00
       7.   Havana Biltmore Yacht & Country Club Series A Stock            1,000.00
                 "         "     "   "    "       "     "    "   "         1,000.00
       8.   Gremio de Obreros y Mareantes-Advances                            10.00
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         9.   Acueducto de Santa Maria-Debt                                      371.84
        10.   Autobuses Modelo, S.A.-Preferred Shares                         72,000.00
        11.   Cooperativa de Repartos Electricos-Advances                    122,094.26
        12.   Ministerio de Communicaciones-Bandes Bonds                       1,000.00
        13.   Advances to Employees                                          789,519.00
        14.   Financiera Nacional de Cuba Stock                                2,000.00
        15.   Ferrocarriles Occidentales de Cuba Stock Series B              102,400.00
        16.   Debt of Cuban Government                                     1,721,395.70
        17.   Land, "La Puntilla"                                            100,101.45
        18.   Cia. Inmobiliaria "La Torre, S.A." Stock                         4,000.00
        19.   Ministerio de Eduacion, Bonds                                   12,500.00
        20.   Veteranos, Tribunales y Obras 4% Bonds                          89,500.00
        21.   Bandes 4%, Total Bonds                                         112,500.00
        22.   Compania Financiera de Transporte-Debt                         144,000.00
                                                              Total       $3,290,446.80
        Claimant states that the Cuban Government obtained physical possession of
        all the securities and evidences of title for the above listed item. The Com­
        mission finds that claimant was the owner of these assets, and, on the basis
        of the evidence of record and other evidence available to the Commission, that
        the loss suffered by claimant in this regard is the amount set forth above with
        the following exceptions:
          (a) Havana Biltmore Yacht and Country Club Series A stock which has
              been determined to have the value of $3,500.00 per share in the Claim
              of Arman E. Becker, Jr., Claim No. CU-1094. Thus the loss for two
              shares of such stock is $7,000.00.
          (b) Ferrocarriles Occidentales de Cuba Series B stock which is determined
              to have a value of $20,479.85. This was the amount stated by claimant
              in its balance sheet of February 29, 1960 to have been the market
              value of such securities. This figure is adopted by the Commission
              rather than the $102,400.00 set forth above. This company was a
              mixed-economy corporation whose shares were owned by the Cuban
              Government as well as private interests. Certain taxes were forgiven
              its shareholders.
          (c) Debt of the Cuban Government in the amount of $1,721,395.70 which
              represents a sum due prior to 1948 is deducted. Inasmuch as this debt
              did not arise after January 1, 1959, claim for this item must be denied.
        The Commission has previously determined the values for Financiera Na­
        cional de Cuba stock, Bandes Bonds, Veteranos, Tribunales y Obras 4%
        Bonds and Cia. Inmobiliaria "La Torre, S.A." stock, to be the same as those
        claimed ht>rein. Campania Financiera de Transporte which owed $144,000.00
        to the claimant was nationalized on August 29, 1960 and that sum would
        therefore be certified as a debt of a nationalized enterprise. The remaining
        items are determined by the Commission to have the values stated above.
           Accordingly, the Commission finds that the aggregate value of the loss sus­
        tained by claimant for these intangibles on August 6, 1960 was $1,492,130.95.

                                     3. CURRENT ASSETS
           According to the February 29, 1960 Balance Sheet, Current Assets
        amounted to $31,839,173.00. Since claimant operated its business until Au­
        gust 6, 1960, the date of loss, it is necessary that the amount be adjusted to
        1·etlect the subsequent activity.
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        On the basis of the record the Commission finds the Current Assets on
       August 6, 1960 to have been as follows:
        Cash                                                      $ 1,075,757.00
        Special Deposits                                                7,348.00
        Working Funds                                                 593,914.00
        Accounts Receivable
          General                                 $ 7,425,270.00
          Municipal & Other Government             15,252,197.00
          Miscellaneous                              1,812,197.00 24,489,721.00
        Interest & Dividends Receivable                                 2,530.00
        Materials & Supplies                                        3,545,473.00
        Prepayments                                                   529,397.00
                                                              Total     $30,244,140.00

                                      4.   DEFERRED DEBITS

         Claim is made for the amount of $2,364,413.00 for deferred debits, com­
       prising unamortized expenses incurred in connection with debt and stock issues
       for the printing of indentures, engraving, notarial and registration fees in
       Cuba and Cuban revenue stamps.
         On the basis of the record, the Commission finds that claimant sustained
       a loss in the amount of $2,364,413.00 for deferred debits.

                                 5.   OTHER ASSERTED LOSSES

          Claimant has further asserted claim in the aggregate amount of $3,737,­
       627.98 for losses entitled Liability to Suppliers, Loss on Sale of Equipment and
       Supplies, Unsold Equipment, Preservation of Assets, Resettlement of Em­
       ployees, and Funding Retirement Plan. The record shows that at the time of
       the taking of its properties in Cuba, claimant had in hand in the United
       States or on order certain types of equipment built specifically for use in
       Cuba. Because of the taking, claimant cancelled many orders and continued
       to hold those items which had been completed in storage in the United States.
       Claimant has continuously tried to dispose of the new equipment but because
       of the particular design and engineering several of the pieces are still in
       claimant's possession. One sale was made as late as September, 1968 in
       claimant's endeavor to reduce its losses. In addition to the monetary loss for
       the equipment purchased, claimant incurred and continues to incur the ex­
       pense of warehousing, shipping, and insuring the equipment in its possession
       in the United States.
          Concerning the resettlement of employees and the retirement plan, claimant
       asserts that it was required to make payment to its former employees in
       1960, 1961, 1962 and 1963 in the form of severance payments and other forms
       of assistance and to make annual payments in the form of supplemental pen­
       sions to retired employees and dependents. The amount of pension was in­
       creased also because the pensioners were not paid any benefits formerly re­
       ceived from the Cuban Government for Social Security and claimant made
       up the difference. Claimant borrowed the necessary funds for these auxiliary
       payment from its parent company. There is no evidence of record that any
       of the payments to employees was for property taken or losses sustained as a
       result of actions by the Government of Cuba.
          In considering these portions of the claim, the Commission must determine
       whether such losses are certifiable under Title V of the Act.
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         Section 501 of the Act states:
           It is the purpose of this title to provide for the determination of the
           amount and validity of claims against the Government of Cuba which
           have arisen since January 1, 1959, out of nationalization, expropriation,
           intervention, or other takings of, or special measures directed against,
           property of nationals of the United States, . . .
       This Section and Section 503 (a) of the Act, supra, both refer to losses from
       the taking of property. The record is clear that claimant has sustained these
       losses for machinery and equipment ordered but not delivered to its Cuban lo­
       cations and for the treatment of its employees by the Cuban Government.
       The basis, however, of these two parts of the claim is not for property taken
       by the Government of Cuba but for losses resulting indirectly from other
       actions of the Government. The Commission, therefore, finds that these losses
       are not within the purview of Title V of the Act. Accordingly these portions
       of the claim are denied.
         The Commission consequently finds that the value of the nationalized
       assets of CUBAN ELECTRIC COMPANY on August 6, 1960 were:
         Plant                                                        $285,266,482.00
         Intangibles                                                     1,492,130.95
         Current Assets                                                 30,244,140.00
         Deferred Debits                                                 2,364,413.00
                                                            Total     $319,367,165.95
                                       6. DEDUCTIONS
          The record shows that claimant was indebted to the Cuban Government and
       its agencies for taxes in the amount of $2,865,397.00 and for liabilities under
       the Labor Laws for Employees Sickness Fund in the amount of $322,142.00.
       According to the balance sheets, claimant was also indebted to the Financiera
       Nacional de Cuba in the amount of $37,920,000.00.
          The Commission has held in the Claim of Phoenix Insurance Company,
       Claim No. CU-1913, that Financiera Nacional de Cuba was a semi-public
       entity controlled by the National Bank of Cuba, an agency of the Govern­
       ment of Cuba. Inasmuch as the debt to the Financiera N acional de Cuba is
       actually a debt to the Government of Cuba, claimant's liability for taxes and
       the above-mentionad debt in the total amount of $41,107,539.00 must be de­
       cided under the theory of set-off. (See Cla.i?n of Simmons Company. Claim No.
       CU-2303.)
          The Commission has previously certified a loss in the amount of $11,745,­
       959.55 to the Boise Cascade Corporation, formerly Ebasco Industries, Claim
       No. CU-3548, for the loss of certain bonds secured by mortgages on proper­
       ties of the CUBAN ELECTRIC COMPANY in Cuba. Consequently, $11,745,­
       959.55 must also be deducted from the asserted loss claimed herein.
          Accordingly, the Commission finds that the losses sustained by CUBAN
       ELECTRIC COMPANY as a result of the nationalization of its assets by the
       Government of Cuba on August 6, 1960 amounted to $266,513,667.40.
          The Commission has decided that in certification of losses on claims deter­
       mined pursuant to Title V of the International Claims Settlement Act of 1949,
       as amended, interest should be included at the rate of 6% per annum from
       the date of loss to the date of settlement (see Claim of Lisle Corporation,
       Claim No. CU-0644), and in the instant claim it is so ordered.
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                                        CERTIFICATION OF LOSS

         The Commission certifies that CUBAN ELECTRIC COMPANY sustained a
      loss as a result of actions by the Government of Cuba, within the scope of
      Title V of the International Claims Settlement Act of 1949, as amended, in the
      amount of Two Hundred Sixty-six Million Five Hundred Thirteen Thousand
      Six Hundred Seventy-seven Dollars and Forty Cents ($266,513,667.40) with
      interest at 6% per annum from August 6, 1960 to the date of settlement.
      Dated at Washington D.C., October 21, 1969

      IN THE MATTER OF THE CLAIM OF FREDERICK SNARE CORPORATION,
                                 ET AL.
                            Claim No. CU-2035-Decision No. CU-3602
      Losses based on improvements to leaseholds taken by Cuba, which leaseholds
        enhanced the value of the business operations in Cuba, are within the pur­
        view of Title V of the Act.
                                       PROPOSED DECISION*
         This claim against the Government of Cuba, under Title V of the Inter­
      national Claims Settlement Act of 1949, as amended, in the amount of $1,972,­
      487.26, was presented by FREDERICK SNARE CORORATION, based upon
      asserted losses in connection with its branch office in Havana, Cuba and two
      wholly-owned subsidiaries, FREDERICK SNARE OVERSEAS CORPORA­
      TION and Constructora Snare, S.A.
         Under Title V of the International Claims Settlement Act of 1949 [78 Stat.
      1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat. 988
       (1965) ], the Commision is given jurisdiction over claims of nationals of the
      United States against the Government of Cuba. Section 503 (a) of the Act
      provides that the Commission shall receive and determine in accordance with
      applicable substantive law, including international law, the amount and valid­
      ity of claims by nationals of the United States against the Government of
      Cuba arising since January 1, 1959 for
          losses resulting from the nationalization, expropriation, intervention or
          other taking of, or special measures directed against, property including
          any rights or interests therein owned wholly or partially, directly or in­
          directly at the time by nationals of the United States.
        Section 502(3) of the Act provides:
          The term 'property' means any property, right, or interest including any
          leasehold interest, and debts owed by the Government of Cuba or by en­
          terprises which have been nationalized, expropriated, intervened, or taken
          by the Government of Cuba and debts which are a charge on property
          which has been nationalized, expropriated, intervened, or taken by the
          Government of Cuba.
        Section 502(1) (B) of the Act defines the term "national of the United
      States" as a corporation or other legal entity which is organized under the
      laws of the United States, or of any State, the District of Columbia, or the
      Commonwealth of Puerto Rico, if natural persons who are citizens of the

       * This   decision was entered as the Commission's Final Decision on May 14, 1969.
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          United States own, directly or indirectly, 50 per centum or more of the out­
          standing capital stock or other beneficial interest of such corporation or
          entity.
             The record shows that FREDERICK SNARE CORPORATION, hereafter
          referred to as the parent, was organized under the laws of New York, and
          owned all of the outstanding capital stock of FREDERICK SNARE OVER­
          SEAS CORPORATION, hereafter referred to as OVERSEAS, which was or­
         ganized under the laws of Delaware, as well as all of the outstanding capital
         stock of Constructora Snare, S.A., hereafter referred to as the Cuban sub­
         sidiary, ,,·hich was organized under the laws of Cuba. An authorized officer
         of the parent has certified that more than 50% of the parent's outstanding
         capital stock was owned by nationals of the United States at all pertinent
         times, and that as of August 10, 1967, 1.68% of the parent's outstanding
         capital stock was owned by nonnationals of the United States. The Commis­
         sion holds that the parent and OVERSEAS are nationals of the United States
         within the meaning of Section 502 ( 1) (B) of the Act.
            Section 505 (a) of the Act provides, inter alia, that a claim under Section
         503(a) of the Act based upon an ownership interest in a corporation which
         is a national of the United States shall not be considered. Since the parent's
         claim is based in part upon its 100'/r ownership interest in OVERSEAS, a
         national of the_ United States, that part of its claim is denied. (See Claim of
         Mary F. Sonnenberg, Claim No. CU-0014, 25 FCSC Semiann. Rep. 48 (July­
         Dec. 1966).) OVERSEAS, however, has been added as party claimant with
         respect to that part of the original claim.
            The Commission finds on the basis of the evidence of record that the parent
        owned a branch office and a Cuban subsidiary; that OVERSEAS owned a
        branch office in Cuba; and that claimants owned at said branches and Cuban
        subsidiary various items of personal property, discussed in detail below,
        which were used in construction work in Cuba.
            The record shO\\"S and the Commission finds that the branch offices of the
        parent and OVERSEAS, as well as the Cuban subsidiary owned by the parent,
        \\"ere all intervened on October 7, 1960 by Resolution 21632 of the Cuban
        Ministry of Labor, issued pursuant to Law 647 of November 24, 1959. The
        Commission, therefore, concludes that the parent and OVERSEAS sustained
        losses of property on October 7, 1960, except as noted below, within the mean­
        ing of Title V of the Act.
           The Act provides in Section 503 (a) that in making determinations with
        respect to the validity and amount of claims and value of properties, rights,
        or interests taken, the Commission shall take into account the basis of valua­
        tion most appropriate to the property and equitable to the claimant, including
        but not limited to fair market value, book value, going concern value, or cost
       of replacement.
           The question, in all cases, will be to determine the basis of valuation which,
       under the particular circumstances, is "most.appropriate to the property and
       equitable to the claimant". The Commission has concluded that this phrase­
       ology does not differ from the international legal standard that would nor­
       mally prevail in the evaluation of nationalized property and that it is designed
       to strengthen that standard by giving specific bases of valuation that the
       Commission shall consider; i.e., fair market value, book value, going concern
       value, or cost of replacement.
           The evidence bcludes copies of the general ledger trial balance sheets for
       the branch office of the parent as of August 31, 1960, for the branch office
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        of OVERSEAS as of May 31, 1960, and a copy of the trial balance sheet of
        the Cuban subsidiary as of December 31, 1959, which were the latest state­
        ments received by the parent from Cuba; balance sheets as of December 31,
        1960 and supporting schedules for the parents and OVERSEAS, showing
        inte~· alia, their respective properties in Cuba, including the Cuban subsidiary;
        copies of invoices, evidencing the purchase of some of the machinery and
        equipment involved in the parent's claim; statements from employees and
        officials showing the dates of acquisition of some of the other items of machin­
        ery and equipment for which claim was made; copies of pertinent parts of
        the parent's consolidated Federal tax return for 1960; copies of extracts from
        the parent's books and records relating to this claim; as well as detailed
        appraisals for all of the machinery and equipment maintained at the two
        branch offices and the Cuban subsidiary, supported by detailed schedules and
        current invoices showing replacement costs for new machinery and equipment.
        The appraisals, prepared by an expert who had personal knowledge of the
        facts on the basis of his position as Manager of the parent's operations in
        Cuba, indicate that appropriate reductions were made for depreciation to
        arrive at values on the date of loss.
           On the basis of the foregoing, claimants have computed their claim as
        follows as of October 7, 1960 (it is noted that the Cuban peso was on a par
        with the United States dollar) :

                       CONSTRUCTORA SNARE, S.A. (CUBAN SUBSIDIARY)

                                             Assets
        One 180' Steel Boom                                                $      250.00
        One 40' Steel A-Frame                                                     500.00
        One 3 Drum Hoist                                                          500.00
        One 2 Drum Hoist                                                          250.00
        One 70 H.P. Boiler                                                        250.00
        One 4" Duplex Pump                                                        250.00
        One 1" Duplex Pump Boiler Feed                                             50.00
        Launch "Amelia"                                                         2,000.00
        Boat Queen Mary                                                           260.00
        Derrick Boat F.S.C. #41                                                40,000.00
                                                                 Total     $   44,322.00

                                  PARENT'S BRANCH OFFICE

                                             Assets
        Cash in Banks                                                      $ 286,359.43
        Petty Cash Fund                                                         1,000.00
        Accounts Receivable                                                   208,023.46
        Deposits                                                                2,810.39
        Securities                                                             87,360.00
        Prepaid and Deferred Charges                                            3,327.27
        Improvements to leaseholds                                             14,232.49
        Construction equipment                                              1,071,486.00
        Furniture & Fixtures                                                   47,048.22
        Materials                                                              13,613.71
        Steel Sheet Piling                                                      4,508.00
                                                         Total Assets      $1,739,768.97
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                                            Liabilities
        Accounts Payable                                                       $      2,631.96
        Compulsory Vacations Payable                                                  9,388.79
        Unclaimed Wages                                                               2,205.99
        Income Taxes Payable-Withheld from Employees                                  2,059.04
        Taxes Payable-Withheld from Subcontractors                                    1,311.42
        Social Benefits Taxes Payable                                                   584.13
                                                      Total Liabilities        $     18,181.33
               Net Worth                                                       $1,721,587.64

          Consequently, the parent's claim is in the aggregate amount of $1,765,909.64.
                                 OVERSEAS BRANCH OFFICE
            Assets
        Cash in Banks                                           $128,778.02
        Accounts Receivable                                       78,865.35
        Organization Expenses                                      1,307.97
                Total Assets                                                       $208,951.34
             Liabilities
        Accounts Payable                                              265.52
        Compulsory Vacations Payable                                  709.92
        Unclaimed Wages                                             1,398.28
              Total Liabilities                                                       2,373.72
             Net Worth                                                             $206,507.62

           The foregoing amount, $206,507.62, therefore, represents the amount claimed
        by OVERSEAS.
           Upon careful consideration of the entire record, the Commission finds that
        the valuation most appropriate to the machinery and equipment and equitable
        to the claimant is that shown in the expert appraisals with certain adjust­
        ments discussed below in detail together with the valuations for the other items
        in this claim.
           It is noted that apart from the Cuban subsidiary, the parent and OVER­
        SEAS merely carried on their construction business through branch offices.
        Thus with respcet to these two branch offices, we are not dealing with the na­
        tionalization of Cuban corporations, in which case all liabilities thereof would
        have to be considered. Accordingly, the Commission consistently has not re­
        duced the value of a corporate claimant's branch in Cuba by any liabilities in
        its determinations under Title V of the Act, except for taxes owing to the
        Republic of Cuba which the Commission concluded was appropriate on the
        theory of set-off. (See Claim of Simmons Company, Claim No. CU-2303.)
           For the foregoing reasons, the Commission finds no valid ground for re­
        ducing the values of the assets of either of the branch offices by any liabilities
        except for taxes payable to Cuba. On the other hand, the value or net worth
        of the Cuban subsidiary must include consideration of all its liabilities on the
        date of loss, because it was a Cuban corporation.

                             VALUATION OF THE CUBAN SUBSIDIARY
          A copy of the Cuban subsidiary's balance sheet as of December 31, 1959 was
        included in a statement of August 17, 1967 by an authorized officer of the
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       parent, who stated in his letter of August 9, 1968 that it was the latest state­
       ment received from Cuba. That balance sheet shows the following:
                                       Assets
       Construction Equipment                  $19,195.52
         Less depreciation                       5,017.82
             Net Construction Equipment                                      $14,177.70
       FREDERICK SNARE CORPORATION (Account Receivable)                       12,495.17
       Deferred Charges                                                            7.38
              Total Assets                                                   $26,680.25

                                   Liabilities and Capital
       Dividend Tax Payable                                                  $ 346.33
       Capital Stock-Common                                                   25,000.00
       Surplus                                                                 1,333.92
                                                                             $26,680.25

          As stated above, the Commission found that the appraisals of the machinery
       and equipment best reflected the values thereof on the date of loss. It is noted
       that the parent has eliminated from the assets of the Cuban subsidiary the
       account receivable which it owed its Cuban subsidiary in the amount of
       $12,495.17. It has also excluded deferred charges (prepaid expenses) in the
       amount of $7.38, apparently because it was deemed to have been u1..ed up as
       of the date of loss which was more than 9 months later than the date of the
       balance sheet. The Commission finds the elimination of the debt the parent
       owed its Cuban subsidiary a proper deduction and agrees that the deferred
       charges in the negligible amount of $7.38 should likewise be eliminated. On
       the other hand, however, the Commission finds that the Cuban subsidiary's
       liability in the amount of $346.33, for taxes payable to Cuba, the only liability
       of the Cuban subsidiary, should be deducted in the absence of evidence that
       it was paid to Cuba. (See Simmons claim, supra.)
          Accordingly, the Commission finds that the value or net worth of the Cuban
       subsidiary on the date of loss was as follows:

                    Assets
                    Construction Equipment                     $44,322.00
                       (appraised value)
                    Liabilities
                    Dividend Tax Payable                           346.33
                        Net Worth                              $43,975.67

                       VALUATION OF THE PARENT'S BRANCH OFFICE

         The evidence establishes that the asset, Cash in Banks, was shown in the
       bank statements of August 31, 1960 as $301,509.25. The parent's records,
       however, disclose transactions and adjustments between September 1, 1960
       and October 6, 1960, so that the cash in the bank as of October 7, 1960 was
       reduced to $286,359.43. The Commission, therefore, finds that on October 7,
       1960, the date of loss, the balance of the bank deposits in favor of the branch
       was $286,359.43.
         The Commission finds that on October 7, 1960, the date of loss, the
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       amount of cash on hand at the branch office was $1,000.00, as evidenced by the
       record.
         With respect to the schedule of accounts receivable of the branch office
       in the amount of $208,023.46, the record shows that some of the debtors were
       American nationals. Pursuant to Section 505 (a) of the Act, debts due from
       American concerns may not be allowed unless they constituted charges on
       property nationalized, expropriated, intervened, or taken by the Government
       of Cuba. (See Claim of Anaconda American Brass Company, Claim No.
       CU-0112, 1967 FCSC Ann. 60.) The Commission finds, in the absence of evi­
       dence to the contrary, that the following debts due the branch office from
       American concerns or the United States Government were not charges upon
       property within the meaning of Section 505(a) of the Act and, accordingly,
       must be deducted in determining the amount of the branch's accounts re­
       ceivable on October 7, 1960:

       Compania Cubana de Electricidad (Cuban Electric Company)              $ 8,961.67
       DuPont Interamerica Chemical Co.                                        1,120.71
       Freeport Sulphur Co.                                                    3,952.86
       General Services Administration (United States Government)                896.80
       University of Chicago                                                   2,133.26
       Merritt-Chapman & Scott Co.                                               474.09
             Total debts for Americans                                       $17,539.39

           The Commission, therefore, finds that on October 7, 1960, the date of loss,
        the aggregate amount of accounts receivable owned by the branch, which
        constituted a loss within the meaning of Title V of the Act was $190,484.07.
           With respect to the schedule of deposits of the branch office, the Commission
        finds that the amount of $60.00 constituted an unsecured debt of the Cuban
        Electric Company, which must be deducted for the reasons stated in connec­
        tion with the accounts receivable. (See Anaconda claim, supra.) Accordingly,
        the Commission finds that on October 7, 1960, the branch office owned deposits
      . in the amount of $2,750.39.
           On the basis of the evidence of record, the Commission finds that on Octo­
        ber 7, 1960, the date of loss, the aggregate values of the branch office's de­
        ferred charges, furniture and fixtures, materials, and ste~l sheet piling were
        the amounts of $3,327.27, $47,048.22, $13,613.71, and $4,508.00, respectively.
           The Commission finds that the item Improvements to Leaseholds, consti­
        tuted investments which enhanced the value of the branch's business in Cuba.
        Accordingly, the Commision finds that on October 7, 1960, the value of the
        improvements to leaseholds was $14,232.49.
           As stated above, the Commission has found that the value of the construc­
        tion equipment at the branch office should be measured by the expert ap­
        praisals. The Commission, therefore, finds that the aggregate value of such
        construction equipment on October 7, 1960 was $1,071,486.00.
           The only remaining asset of the branch office was securities for which the
        amount of $87,360.00 is being claimed. The record shows that these securities
        included $25,900.00 for 5% First Mortgage Bonds of the Cuban Electric Com­
        pany, due 1980; $2,500.00 for 5% First Mortgage Bonds of the Cuban Elec­
        tric Company, due 1987; $1,960.00 for 5% Republic of Cuba Internal Debt
        Bonds of 1905, for which the face amount was $2,000.00; $50,000.00 for
        4lh% Cuban Government Bonds of the Tunnel of Havana, due 1980; $5,000.00
        for 50 shares of stock of Financiera Nacional de Cuba with a face value of
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        $100.00 for each share; $1,000.00 for a bond of the issue known as 4% Re­
        public of Cuba Veterans, Courts and Public Works Bonds, 1953-1958; and
        $1,000.00 for the par value of one share of stock of Compania Inmobiliaria
        La Torre, a Cuban corporation.
          This is the first claim involving 5% Mortgage Bonds of the Cuban Electric
       Company. The Commission notes that other calims have been filed by other
       holders of such bonds; thus this decision may, where applicable, serve as a
       precedent in the determination of those other claims.
          Upon consideration of the entire record and in the absence of evidence to
       the contrary, the Commission finds that on October 7, 1960, the date of loss,
       the aggregate value of the 5% Mortgage Bonds of the Cuban Electric Com­
       pany was $28,400.00, the face amount of the bonds.
          With respect to the Republic of Cuba 5% Internal Debt Bonds of 1905, and
       the 4%% Cuban Government Bonds of the Tunnel of Havana, the Commis­
       sion finds, in the absence of evidence to the contrary, that on October 7, 1960,
       the Government of Cuba was indebted to the parent's branch in the amounts
       of $2,000.00 and $50,000.00, respectively.
          The Commission has found that Financiera Nacional de Cuba was a semi­
       public entity, controlled by the National Bank of Cuba, an agency of the
       Government of Cuba; and that Cuba had guaranteed the investment of stock­
       holders of this entity. The Commission further found that pursuant to Law
       865 of August 17, 1960, Financiera Nacional de Cuba was liquidated; that
       all of its liabilities were assumed by the Government of Cuba; and that a
       claim for such loss arose on August 17, 1960, the date of liquidation, within
      the meaning of Title V of the Act. (See Claim of Phoenix Insurance Com­
      pany, Claim No. CU-1913.) The Commission finds that on August 17, 1960,
      the amount of the unpaid indebtedness of the Government of Cuba with re­
      spect to the said 50 shares of stock of Financiera N acional de Cuba was
      $5,000.00.
          The Commission has found, with respect to the $1,000.00 bond of the issue
      known as 4% Republic of Cuba Veterans, Courts and Public Works Bonds,
      1953-1983, that the Government of Cuba first defaulted on the payment of
      interest on May 1, 1961, Cuba having paid the interest due as of November 1,
      1960. (See Claim of Westchester Fire Insurance Company, Claim No. CU­
      1703.) Consequently, the Commission finds that on October 7, 1960, the date
      of loss, the Government of Cuba was indebted to the parent's branch in the
      amount of $1,000.00.
         It has been noticed above that since this was a branch office and not a legal
      entity in Cuba, no deductions would be made for any of the branch's liabil­
      ities except for taxes due to Government of Cuba. The records of the parent
      disclose that as of October 7, 1960, the branch was indebted to Cuba for
      taxes in the aggregate amount of $3,954.59. Accordingly, the Commission con­
      cludes that the losses sustained at the branch office should be reduced to that
      extent.
         The losses sustained by the parent may be summarized as follows:
         Item                                           Date of loss        Amount
      Subsidiary                                      October 7, 1960   $    43,975.67
      Branch Office:
        Cash in banks                                October 7, 1960        286,359.43
        Cash on hand                                 October 7, 1960          1,000.00
       Accounts receivable                           October 7, 1960        190,484.07
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          Item                                          Date of loss         Amount
        Deposits                                     October   7,   1960       2,750.39
        Deferred charges                             October   7,   1960       3,327.27
        Furniture and fixtures                       October   7,   1960      47,048.22
        Materials                                    October   7,   1960      13,613.71
        Steel sheet piling                           October   7,   1960       4,508.00
        Improvements to leaseholds                   October   7,   1960      14,232.49
        Construction equipment                       October   7,   1960   1,071,486.00
        Mortgage bonds of Cuban
          Electric Company                           October 7, 1970          28,400.00
        Cuban Government 5% Internal
          Debt Bonds of 1905                         October 7, 1960            2,000.00
        Cuban Government 4%% Bonds
          of the Tunnel of Havana                    October 7, 1960          50,000.00
        Financiera N acional de Cuba                 August 17, 1960           5,000.00
        Cuban Government 4% Veterans,
          Courts and Put1H.: Works
             Bonds, 1953-1983                         October 7, 1960           1,000.00
        One share of stock of Compania
          Inmobiliaria La Torre                       October 7, 1960           1,000.00
             Total losses of parent                                        $1,766,185.25
           Less taxes payable to Cuba                                           3,954.59
             Net loss of the parent                                        $1,762,230.66

                      VALUATION    OF   OVERSEAS' BRANCH OFFICE
         The evidence establishes that the asset, Cash in Banks, was shown in the
       bank statements of May 31, 1960 as $153,538.07. The records of OVERSEAS,
       however, disclose transactions and adjustments between June 1, 1960 and
       October 7, 1960, so that the cash in the bank as of October 7, 1960 was
       $128,778.02. The Commission, therefore, finds that on October 7, 1960, the
       date of loss, the balance of the bank deposits in favor of the branch was
       $128,778.02.
          The record shows that all of the accounts receivable of the branch office
       of OVERSEAS were due from Moa Bay Mining Company, a national of the
       United States within the meaning of Section 502(1) (B) of the Act, as stated
       by an authorized officer of the parent in an affidavit, dated August 9, 1968.
       It does not appear from the evidence of record that this debt was a charge on
       property taken by Cuba within the meaning of Section 505 (a) of the Act.
       For the reasons stated with respect to the accounts receivable and deposits
       of the parent's branch office, this portion of the claim in the amount of
       $78,865.35 must be and hereby is denied. (See Anaconda claim, supra.)
          The Commission finds that the item, Organization Expenses, constituted
       investments which enhanced the branch's business in Cuba. Accordingly, the
       Commission finds that on October 7, 1960, the date of loss, this item was an
       asset, having a value of $1,307.97.
          Inasmuch as it does not appear from the evidence of record that the branch
       office owed any debt to Cuba, no deductions are being made for the liabilities
       of the branch, as in the case of the parent's branch office.
          The Commission, therefore, finds that the value of the branch office of
       OVERSEAS on October 7, 1960, the date of loss, was $130,085.99.
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         The Commission has decided that in certification of losses on claims deter­
       mined pursuant to Title V of the International Cl.11ims Settlement Act of
       1949 as amended, interest should be included at the rate of 6% per annum
       from the respective dates of loss to the date of settlement (see Claim of Lisle
       Corporation, Claim No. CU-0644), and in the instant case it is so ordered
       as follows:

                         FREDERICK SNARE CORPORATION
                               From                      On
                           August 17,    1960       $    5,000.00
                           October 7,    1960        1,757,230.66
                                        Total       $1,762,230.66

                  FREDERICK SNARE OVERSEAS CORPORATION
                               From                     On
                           October 7, 1960          $ 130,085.99

                                  CERTIFICATION OF LOSS

          The Commission certifies that FREDERICK SNARE CORPORATION
       suffered a loss, as a result of actions of the Government of Cuba, within the
       scope of Title V of the International Claim Settlement Act of 1949, as
       amended, in the amount of One Million Seven Hundred Sixty-Two Thousand
       Two Bundred Thirty Dollars and Sixty-six Cents ($1,762,230.66) with in­
       terest at 6% per annum from the respective dates of loss to the date of set­
       tlement; and,
          The Commission certifies that FREDERICK SNARE OVERSEAS COR­
       PORATION suffered a loss, as a result of actions of the Government of
       Cuba, within the scope of Title V of the International Claims Settlement
       Act of 1949, as amended, in the amount of One Hundred Thirty Thousand
       Eighty-five Dollars and Ninety-nine Cents ($130,085.99) with interest at 6%
       per annum from October 7, 1960 to the date of settlement.
       Dated at Washington, D.C. Apr. 16, 1969

           IN THE MATTER OF THE CLAIM OF FORD MOTOR COMPANY

                       Claim No. CU-3072-Decision No. CU-4015

       Claims based on contingent losses which were not actually sustained are
         outside the purview of Title V of the Act.
                                    PROPOSED DECISION

          This claim against the Government of Cuba, under Title V of the Interna­
       tional Claims Settlement Act of 1949, as amended, in the amended amount of
       $2,138,024.42, was presented by FORD MOTOR COMPANY, based upon the
       asserted loss of a stock interest in Creditos y Descuentos Mercantiles, S.A.,
       a Cuban corporation, unrealized profits, loss of personal property and a con­
       tingent loss under guarantees extended to banks in connection with loans
       made by such banks to the Cuban corporation mentioned.
          Under Title V of the International Claims Settlement Act of 1949 [78 Stat.
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       1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat. 988
       (1965) ], the Commission is given jurisdiction over claims of nationals of the
       United States against the Government of Cuba. Section 503 (a) of the Act
       provides that the Commission shall receive and determine in accordance with
       applicable substantive law, including international law, the amount and
       validity of claims by nationals of the United States against the Government
       of Cuba arising since January 1, 1959 for
           losses resulting from the nationalization, expropriation, intervention or
           other taking of, or special measures directed against, property including
           any rights or interests therein owned wholly or partially, directly or in­
           directly at the time by nationals of the United States.
         Section 502 (.3) of the Act provides:
           The term 'property' means any property, right, or interest, including any
           leasehold interest, and debts owed by the Government of Cuba or by
           enterprises which have been nationalized, expropriated, intervened, or
           taken by the Government of Cuba and debts which are a charge on
           property which has bene nationalized, expropriated, intervened, or taken
           by the Government of Cuba.
          Section 502(1) (B) of the Act defines the term "national of the United
       States" as a corporation or other legal entity which is organized under the
       laws of the United States, or of any State, the District of Columbia, or the
       Commonwealth of Puerto Rico, if natural persons who are citizens of the
       United States own, directly or indirectly, 50 per centum or more of the out­
       standing capital stock or other beneficial interest of such corporation or
       entity.
         An officer of the claimant corporation has certified that the claimant was
       organized in the State of Delaware. The record shows that at all times per­
       tinent to this claim, more than 50% of the outstanding capital stock of the
       claimant has been owned by United States nationals.
          Claimant states that 1 (one) percent of its stockholder interest is pre­
       sumed to be owned by non-nationals of the United States. The Commission
       holds that claimant is a national of the United States within the meaning of
       Section 502(1) (B) of the Act.
                            STOCK OF INTEREST IN CREDESCO
          The evidence establishes and the Commission finds that claimant, the
       FORD MOTOR COMPANY, owned a 100% stock interest in Creditos y Des­
       cuentos Mercantiles, S.A., hereafter referred to as CREDESCO, a corpora­
       tion organized under the laws of Cuba.
          On October 24, 1960 the Government of Cuba published in its Official Ga­
       zette Resolution .3 (pursuant to Law 851), which listed CREDESCO as na­
       tionalized, and the Commission finds that it was nationalized on that date
       within the meaning of Title V of the Act.
          Since CREDESCO was organized under the laws of Cuba, it does not qual­
       ify as a corporate "national of the United States" within the meaning of
       Section 502(1) (B) of the Act, supra. In this type of situation, it has been
       held that an American stockholder owning an interest in such a corporation
       may file a claim for the value of his ownership interest. (See Claim of Parke,
       Davis & Company, Claim No. CU-0180, 1967 FCSC Ann. Rep. 33.)
          The Act provides in Section 503 (a) that in making determinations with
       respect to the validity and amount of claims and value of properties, rights,
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      or interests taken, the Commission shall take into account the basis of valua­
      tion most appropriate to the property and equitable to the claimant, includ­
      ing but not limited to fair market value, book value, going concern value, or
      cost of replacement.
         The question, in all cases, will be to determine the basis of valuation which,
      under the particular circumstances, is "most appropriate to the property
      and equitable to the claimant'. This phraseology does not differ from the in­
      ternational legal standard that would normally prevail in the evaluation of
      nationalized property. It is designed to strengthen that standard by giving
      specific bases of valuation that the Commission shall con,sider.
         The record includes copies of a balance sheet and profit and loss state­
      ment for CREDESCO as of August 31, 1960, detailed schedules for the indi­
      vidual items included in such financial statements, and a copy of an insurance
      policy under which CREDESCO's office furniture and equipment was insured
      on September 3, 1959.
         Upon consideration of the entire record, the Commission finds that the
      valuation most appropriate to the property and equitable to the claimant is
      that shown in the balance sheet of August 31, 1960, which reflects the fol­
      lowing, the peso being on a par with the United States dollar:

                                           ASSETS
      Cash                                                                 $      13,281.41
      Notes Receivable                                                         2,378,088.06
      Accounts Receivable:
        Wholesale Interest and Insurance Charges            $177,643.49
        Other Dealer Receivable                               70,699.90
        Other Sundry                                          (3,616.43)
        Branches and Affiliated Companies                     47,287.70
         Total Accounts Receivable                          $292,014.66
         Less: Reserve for Doubtful Notes
                and Accounts                                 228,600.03
       Net Accounts Receivable                                                   63,414.63
       Inventories:
         Company Cars Less Reserve for Depreciation                              22,325.13
       Prepaid Expenses                                                           1,686.86
       Total Current Assets                                                $2,4 78.796.09
       Investments: Banco National de Cuba                                      12,500.00
           Real Estate, Plant and Equipment                 $ 29,628.88
           Less Reserves for Depreciation                    15,406.81
       Net Fixed Assets                                                          14,222.07
       Total Assets                                                        $2,505,518.16
                                   LIABILITIES
       Bank Liabilities                                                        1,850,000.00
       Total Accounts Payable                                                    233,254.50
       Accrued Liabilities:
         Vacations and Holidays                               10,214.19
         Sundry                                                  600.00
         Deferred Income, Unearned Charges (Retail)          195,115,35
                                                                                205,929.54
           Total Current Liabilities                                       $2,289,184.04
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       Capital:
         Capital Stock                                      $250,000.00
        Earnings Retained                                     15,621.36
        Loss, Current Year                                   (49,287.24)
           Total Capital                                                     216,334.12
           Total Liabilities and Capital                                   $2,505,518.16
         The balance sheet of August 31, 1960 indicates that the net worth of
       CREDESCO or the excess of its assets over its liabilities on such date was
       $216,334.12.
         The CREDESCO balance sheet of August 31, 1960, however, also reflects
       that one of the assets was an account receivable due from claimant (Ford
       International Division) in the amount of $47,287.70. Since such unpaid debt
       does not represent a loss for the claimant, the Commission finds that the
       amount of the debt or $47,287.70 should be deducted from the net worth
       of CREDESCO, resulting in an adjusted net worth of $169,046.42. Accord­
       ingly, the Commission finds that on October 24, 1960 claimant sustained a
       loss within the meaning of Title V of the Act in connection with its owner­
       ship of CREDESCO in the amount of $169,046.42.

                                       LOSS OF PROFIT
         A portion of the claim is based upon estimated lost profit of CREDESCO
       for the period from January 1, 1959 to September 30, 1960. The amount of
       $39,274.58 claimed for lost profit was calculated upon the average profits
       assertedly realized by CREDESCO for the calendar years of 1956, 1957 and
       1958.
         The authority of the Commission in these cases is limited by Section 503(a)
       Title V to claims which arose after January 1, 1959, "resulting from the
       nationalization, expropriation, intervention or other taking of, or special
       measures directed against, property . . . by the Government of Cuba".
         A claim for the loss of profits under the statute therefore must be sup­
       ported by evidence which brings it within the above-quoted provision. The
       nationalization of CREDESCO on October 24, 1960, in and of itself is not
       proof of loss of profits for the period prior to the date of nationalization. No
       other evidence to support a finding that the loss of profits was caused by any
       action by the Government of Cuba within the purview of the statute was
       submitted.
         The claim for loss of profits may be construed as a claim for the going­
       concern value of the corporation CREDESCO. However, CREDESCO was
       mainly a finance corporation closely affiliated with the financing of the sale
       of claimant's products only. For that reason it does not appear that CRED­
       ESCO had an independent going-concern value distinct and separate from the
       claimant's sales operation in Cuba. In view of the foregoing, the portion of the
       claim which is based upon the loss of profits must be and is hereby denied.

                           CONTINGENT LOSS UNDER GUARANTEE

         It is stated by claimant that it guaranteed the repayment of loans granted
       to CREDESCO in the total amount of 1,775,000 pesos by six financial insti­
       tutions, which were The First National City Bank of Ne\Y York; Banco
       Gelats (Havana); First National Bank of Boston; The Chase Manhattan
       Bank; The Royal Bank of Canada; and the Bank of Nova Scotia. A portion
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        of the claim, entitled "provisional claim", is based upon such guarantee and
        is predicated upon the assumption that in the event payment should be made
        by claimant under the guarantee, CREDESCO would become indebted to
        claimant. Claimant explicitly denies liability for any obligation under the
        guarantee in question and states that it has, as yet, sustained no loss.
           Section 501 of Title V of the Act makes it clear that the purpose of that
        title is to provide for the determination of amount and validity of claims
        which "have arisen since January 1, 1959." The Act does not provide for the
        determination of contingent losses or losses which were not sustained by the
        claimant. Moreover, in view of the nine years which elapsed since the taking
        of CREDESCO by the Government of Cuba, it appears that any action under
        the guarantee would be barred by the statute of limitations. In view of the
        foregoing, the portion of the claim which is based upon a contingent loss in
        the amount of $1,775,000.00 must be and it is, hereby denied.

                     OTHER PERSONAL PROPERTY OWNED BY CLAIMANT

           A contemporary memorandum and other official statements of claimant
        show, and the Commission finds that claimant (specifically, its Ford Inter­
        ternational Overseas Distributors and Export Supply Operations) owned
        machinery and office equipment and a 1959 Edsel passenger car. The Com­
        mission also find that such personal property was taken by the Government of
        Cuba on October 24, 1960 in connection with the nationalization of claimant's
        wholly owned subsidiary, CREDESCO. Accordingly, the Commission finds
        that claimant sustained an additional loss in this respect within the mean­
        ing of Title V of the Act in the aggregate amount of $4,897.00.
           The Commission has decided that in certification of losses on claims deter­
        mined pursuant to Title V of the International Claims Settlement Act of
        1949, as amended, interest should be included at the rate of 6% per annum
        from the date of loss to the date of settlement (see Claim of Lisle Corpora­
        tion, Claim No. CU-0644), and in the instant case, it is so ordered.
                                   CERTIFICATION OF LOSS

           The Commission certifies that the FORD MOTOR COMPANY sustained a
        loss, as a result of actions of the Government of Cuba, within the scope of
        Title V of the International Claims Settlement Act of 1949, as amended, in
        the amount of One Hundred Seventy-three Thousand Nine Hundred Forty­
        three Dollars and Forty-two Cents ($173,943.42) with interest thereon at
        6% per annum from October 24, 1960 to the date of settlement.
        Dated at Washington, D.C., Oct. 8, 1969.

                                      FINAL DECISION

           Under date of October 8, 1969, the Commission issued its Proposed Deci­
        sion certifying a loss in favor of claimant in the amount of $173,943.42, rep­
        l'esenting $169,046.42 for a wholly owned Cuban subsidiary called Credesco,
        and $4,897.00 for other personal property. Portion of the claim based upon
        the asserted loss of profit and a contingent loss were denied because the rec­
        ord did not establish that the asserted losses were within the purview of the
        Act. Claimant objected only to the denial of the claim for loss of profit, and
        submitted a memorandum in support of the objections.
           Claimant contends that during the period January 1, 1959 when Castro
        came into power to September 30, 1960 Cuba's nationalization policies caused
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       economic hardships to Credesco's customers thereby resulting in a loss of
       profit to Credesco. The asserted amount of loss is $39,274.58, computed on the
       basis of Credesco's average net earnings for the calendar years 1956, 1957
       and 1958. It is stated that the loss in this respect is evidenced by a sharp de­
       cline in Credesco's net worth after January 1, 1959, and losses from
       operations.
          Upon consideration of claimants objections in light of the entire record,
       the Commisison is constrained to reject claimant's contentions. While it may
       be that Cuba's actions adversely affected Credesco and its customers, they
       also affected other persons and concerns in Cuba.
          The Commission finds that claimant's losses, if any, in this respect were the
       indirect result of Cuba's actions directly affecting other persons and concerns.
       The Commission has consistently held. that claims for indirect or incidental
       losses are not within the purview of Title V of the Act. (See Claim of Cuban
       Electric Company, Claim No. CU-2578; and Claims of Texaco Incorporated,
       et al; Claim Nos. (jU-1.331, CU-1332 and CU-1333.)
          Accordingly, the Commission finds no valid basis for altering the decision
       previously entered. Therefore the Proposed Decision of October 8, 1969 is
       affirmed in all respects.
       Dated at Washington, D.C., Sep. 8, 1971

         IN THE MATTER OF THE CLAIM OF ROBERT L. CHEANEY, ET AL.
                          Claim No. CU-0915-Decision No. CU-4120
       In accordance with the rule of the situs governing title to property, the Com­
         munity Property Laws of Cuba were given effect under Title V of the
         Act.

                                        PROPOSED DECISION*

          This claim against the Government of Cuba, under Title V of the Inter­
       national Claims Settlement Act of 1949, as amended, was presented by
       ROBERT L. CHEANEY, for $232,467.33, based upon personal property, an
       interest in a business, experimental seed samples, a debt owed by a nation­
       alized Cuban enterprise and cash. Subsequently, MARJORIE L. CHEANEY
       petitioned to join as a co-claimant. This matter having been considered, it is
       so ordered, and MARJORIE L. CHEANEY is joined as claimant herein.
       Claimants have been nationals of the United States since birth.
          Under Title V of the International Claims Settlement Act of 1949 [78 Stat.
       1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat. 988
        (1965)], the Commission is given jurisdiction over claims of nationals of the
       United States against the Government of Cuba. Section 503(a) of the Act
       provides that the Commission shall receive and determine in accordance with
       applicable substantive law, including international law, the amount and val­
       idity of claims by nationals of the United States against the Government of
       Cuba arising since January 1, 1959 for
           losses resulting from the nationalization, expropriation, intervention or
           other taking of, or special measures directed against, property including
           any rights or interests therein owned wholly or partially, directly or
           indirectly at the time by nationals of the United States.

         • This decision was entered as the Commission's Final Decision on November 21, 1969.
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          Section 502 ( 3) of the Act provides:
            The term 'property' means any property, right, or interest including any
            leasehold interest, and debts owed by the Government of Cuba or by
            enterprises which have been nationalized, expropriated, intervened, or
            taken by the Government of Cuba and debts which are a charge on prop­
            erty which has been nationalized, expropriated, intervened, or taken by
            the Government of Cuba.

                                     PERSONAL PROPERTY
           Claimants state that they lost personal property consisting of household
        furnishings and appliances, clothes, fishing equipment, photographic equip­
        ment, tools and equipment, records, books and toys. In support of this item
        claimants submitted itemized lists and indicated that the items were pur­
        chased in 1953 and 1954 with the exception of the dining room table and
        chairs which were purchased in 1958 and an RCA record player which was
        purchased in 1959. In addition claimants also submitted receipts and bill of
        lading check lists from the Bekins Van Lines dated June 7, 1956.
           According to the Community Property Law of Cuba, those properties
        which belong in equal parts to both spouses include (1) those acquired by one
        or both spouses during the marriage with money of the marriage partner­
        ship; (2) property acquired by the industry, salary or work of either or
        both spouses, and (3) the fruits, income or interests received or accrued
        during the marriage from the common or private properties of the spouses
        or spouse.
           Based upon the entire record, the Commission finds that the claimants
        owned the above-mentioned personal property, in equal parts.
           Law 989, published in the Official Gazette on December 6, 1961, by its terms
        nationalized by confiscation all goods and chattels, rights, shares, stocks,
        bonds and other securities of persons who left the country of Cuba. Accord­
        ingly, this law applies to these claimants, who had left Cuba prior to that
        date; and the Commission finds that this property was taken by the Govern­
        ment of Cuba on December 6, 1961, pursuant to Law 989.
           In arriving at the value of the personal property consideration was
        given to claimants' itemization and approximate dates of purchase. Each
        item was depreciated 5% for each year from the approximate dates of pur­
        chase with the exception of the books which principally were technical in
        nature. The Commission finds that at the time of loss the aggregate value of
        the personal property amounted to $7,542.00 and that claimants suffered a
        loss in that amount within the meaning of Title V of the Act, as the result of
        the taking of the personal property by the Government of Cuba as of Decem­
        ber 6, 1961.

                                          BUSINESS
          Claimants also state that they lost a one-half partnership interest in a rice
        farming operation in Mayajigua, Las Villas, Cuba, which partnership claim­
        ant, ROBERT L. CHEANEY, and Rafael Capo Lemus entered into in 1959.
        Claimant, ROBERT L. CHEANEY, asserts that he financed 75% of the
        venture but that Rafael Capo Lemus was in charge of the operation since
        claimant was fully employed by the enterprise Agricola Cayamas. Claimants
        further states the partners went to considerable expense to level the land,
        build canals and install pumps and motors; and that in 1960 rice was planted
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      on 165 acres, which acreage was leased by the partners on a basis of 10% of
      the production. Claimants state that the business was nationalized on or about
      January 15, 1961.
         Based upon the entire record the Commission finds that the claimants
      jointly owned a one-half interest in this rice farming operation in Mayajigua,
      Las Villas which, in the absence of evidence to the contrary, is found to
      have been nationalized on January 15, 1961.
         In arriving at the value of the machinery and equipment purchased by the
      partnership for use in the rice farming operation, consideration was given
      to an itemized list submitted by the claimants. Each item was depreciated 5%
      for each year from the date of purchase with the exception of the 1954 Chev­
      rolet sedan which was depreciated in accordance with the National Auto­
      mobile Dealers Used Car Guide. The Commission finds that at the time of loss
      the value of the machinery and equipment including the 1954 Chevrolet sedan
      was $15,883.66, one-half of which belongs to claimants.
         The claimants assert that there were 165 acres of rice that were planted
      and ready for harvesting at the time of loss on January 15, 1961. In arriving
      at the value of the rice harvest, consideration was given to the joint affidavit
      of owners and stockholders of the enterprise Agricola Cayamas wherein they
      state that the normal production of such farm as Mayajigua, Las Villas, was
      approximately 3,000 pounds per acre and the wholesale market value of seed
      rice in Cuba was from $10.00 to $14.00 per 100 pounds depending upon cer­
      tain factors. The Commission finds, based upon such evidence, that the value
      of the rice to be harvested was $59,400.00. This value was arrived at by taking
      the total rice harvest for 165 acres which is 495,000 pounds or 4,950 bags of
      100 pounds each and multiplying the number of bags by $12.00 (the average
      between $10.00 and $14.00 as stated above by the owners and stockholders of
      Agricola Cayamas, S.A.). Ten percent of the $59,400.00 is deducted for the
      use of the land or $5,940.00 and another ten percent is deducted for the
      estimated cost of harvesting, leaving a balance of $47,520.00, one-half of
      which belongs to claimants. The Commission therefore finds that claimants
      suffered a loss in the amount of $31,701.83 (which includes their interest in
      the machinery and equipment and the rice) within the meaning of Title V
      of the Act, as the result of the taking of the machinery, equipment, and rice
      by the Government of Cuba as of January 15, 1961.

                              EXPERIMENTAL RICE SAMPLES

         Claimant, ROBERT L. CHEANEY, contends that he lost three sets of ex­
      perimental rice samples, representative of his time, effort, and expertise in
      the value of $150,000.00. In support of this item claimant submitted his own
      statement dated August 25, 1967, a joint affidavit from owners and stock­
      holders of Agricola Cayamas, S.A. dated September 15, 1967, and a formula
      for arriving at the amount of loss. Claimant states that he was an expert
      in the maintenance of seed quality rice and in the development of new seed
      stocks through selective processes. This is substantiated by the statement of
      G. M. Watkins, Program Director, Dominican Republic Program, of the Texas
      A & M University System and the joint affidavit of stockholders and owners
      of Agricola Cayamas, S.A., a Cuban enterprise which operated a large rice
      farm at Cayamas, Oriente, Cuba. The evidence is that Agricola Cayamas, S.A.
      had hired claimant, ROBERT L. CHEANEY, in 1957, at a salary of $24,­
      000.00 per year plus a 15% interest in any profits from seed sales to outside
      growers. It further appears that he had personally developed for the company
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       strains of rice of established great marketable value which were ideal from a
       planting, cuitivating and harvesting standpoint; and that his duties with
       Agricola Cayamas, S.A. were to give over-all technical assistance in the whole
       operation; maintain the seed quality; and develop new seed stocks through se­
       lective processes. In 1956 there were two rice diseases prevalent in Cuba called
       "Hoja Blanca" and "Blast," which were chiefly responsible for heavy losses in
       production. All Cuban rice varieties were susceptible to these two diseases ex­
       cept one which had considerable resistance to the two-mentioned diseases but
       which also had many undesirable characteristics. On a trip to Surinam in
       1947, the claimant noticed a seed variety known as Paquita which possessed
       good table quality and produced good field and mill yields. In 1956 a rice
       breeding program was initiated and crosses were made between the "Alba"
       and "Paquita" varieties and the Surinam variety "Dima." This material was
       selected and replanted twice each year. By the end of 1960 several of the many
       selections were ready to put into a multiplication program prior to making
       sales to farmers. These selections had not yet been given a name when con­
       fiscated. They represented, however, 5 years of intensive work in the devel­
       opment of highly productive types of rice which had resistance to serious
       diseases, processed good milling and table quality and could be harvested by
       mechanical harvesters. It is these samples which he developed that the claim­
       ant values at $150,000.00.
          Based upon the entire record, the Commission finds that Agricola Cayamas,
       S.A. owned three sets of experimental rice samples developed by ROBERT L.
       CHEANEY which samples were nationalized on December 6, 1961, pursuant
       to Law 989. The Commission finds that Mr. CHEANEY did not own said
       ~amples personally and that any value of same to him would arise only from
       his 15% interest in profits made from seed sales to outside growers. No such
       sales appearing in this record no allowance can be made to him on account of
       the nationalization of such property. The Commission expressly rejects this
       claimant's contention that he is entitled to claim a loss of $150,000.00 on
       projected future sales. His losses, in this regard, if any, would arise out of a
       breach of this contract of employment and not out of any property right and
       is not one of the types of losses covered by the Act.

                                            DEBT
         Claimant, ROBERT L. CHEANEY, further states that he was employed
       by the enterprise Agricola Cayamas at $24,000.00 per annum; that in January
       1960 while he was on vacation, Agricola was intervened by the Government
       of Cuba; and that although the company maintained some control, the Gov­
       ernment of Cuba would not continue to pay his salary of $24,000.00 per
       annum. The company then asked Mr. CHEANEY to continue for one more
       year at $15,000.00 per annum in the hope that its problems could be worked
       out. This he did. The claimant though thereafter left Cuba in December 1960
       without collecting his December salary. He thus contends he is entitled to the
       difference in salary from $24,000.00 to $15,000.00 per annum for the year 1960
       and for the loss of his salary for the month of December 1960.
          With respect to the portion of the claim that is based upon the loss of the
       difference in salary between $24,000.00 and $15,000.00 for the year 1960, the
       claimant has submitted no evidence to establish any taking by the Govern­
       ment of Cuba. His acceptance of the reduced salary was a voluntary act on
       his part and is the opposite of a taking. Accordingly, the Commission denies
       that portion of the claim.
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         The record, however, shows, and the Commission finds, that Agricola
       Cayamas owed claimant $1,250.00 as salary for the month of December 1960
       and that Agricola Cayamas was nationalized on April 17, 1961 while owing
       this sum. The Commission has held that debts of nationalized Cuban enter·
       prises are within the purview of Title V of the Act. (See Claim of Kramer,
       Marx, Greenlee and Backus, Claim No. CU-0105, 25 FCSC Semiann. Rep. 62
       [July-Dec. 1966].) The Commission therefore finds that claimant, ROBERT
       L. CHEANEY, suffered a loss of $1,250.00 for loss of salary within the
       meaning of Title V of the Act.

                                           CASH

         Claimant, ROBERT L. CHEANEY, states that $305.00 was confiscated
       from his person at the airport of Camaguey on November 22, 1959 prior to
       his leaving Cuba on a trip. Although the Cuban Government asserted it would
       return the money, it did not do so. In support of this claim, the claimant sub­
       mitted a receipt from the Minister of Texas for the $305.00.
         The Commision finds on the basis of the evidence of record that the claim­
       ants jointly owned cash that was taken on November 22, 1959, and that the
       amount taken at the time of loss was $305.00, within the meaning of Title V
       of the Act.
         Claimants' losses may be summarized as follows:
              Item of Property                      Date of Loss            Amount
             Personal Property                    December 6, 1961         $ 7,542.00
             Business                              January 15, 1961         31,701.83
             Debt owed to claimants                   April 17, 1961         1,250.00
             Cash                                 November 22, 1959            305.00
                                                               Total        $40,798.8:3
          The Commission has decided that in certification of losses on claims deter­
       mined pursuant to Title V of the International Claims Settlement Act of
       1949, as amended, interest should be included at the rate of 6% per annum
       from the date of loss to the date of settlement (see Claim of Lisle Corpora­
       tion, Claim No. CU-0644), and in the instant case it is so ordered.

                                  CERTIFICATION OF LOSS

          The Commission certifies that ROBERT L. CHEANEY suffered a loss, as a
       result of actions of the Government of Cuba, within the scope of Title V of
       the International Claims Settlement Act of 1949, as amended, in the amount
       of Twenty Thousand Three Hundred Ninety-nine Dollars and Forty-one
       Cents ($20,399.41) with interest thereon at 6% per annum from the respec­
       tive dates of loss to the date of settlement; and
          The Commission cerifies that MARJORIE L. CHEANEY suffered a loss,
       as a result of actions of the Government of Cuba, within the scope of Title V
       of the International Claims Settlement Act of 1949, as amended, in the
       amount of Twenty Thousand Three Hundred Ninety-nine Dollars and Forty.
       two Cents ($20,399.42) with interest thereon at 6% per annum from the
       respective dates of loss to the date of settlement.
          Dated at Washington, D.C., Oct. 21, 1969.
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                IN THE MATTER OF THE CLAIM OF THE BROTHERS OF
                  THE ORDER OF HERMITS OF ST. AUGUSTINE (INC.)

                          Claim No. CU-3503-Decision No. CU-6812

       Nonstock co?·poration organized in the United States, the members of trustees
        of which are citizens of the United States, qualify as nationals of the
         United States within the meaning of Title V of the Act.

                                         PROPOSED DECISION*

          This claim against the Government of Cuba, under Title V of the Interna­
       tional Claims Settlement Act of 1949, as amended, is asserted by the BROTH­
       ERS OF THE ORDER OF HERMITS OF ST. AUGUSTINE (INC.) in the
       amended amount of $7,976,728.68 based upon the ownership and loss of real
       and personal property in Cuba.
          Under Title V of the International Claims Settlement Act of 1949 [78
       Stat. 1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat. 988
        (1965) ], the Commission is given jurisdiction over claims of nationals of the
       United States against the Government of Cuba. Section 503 (a) of the Act
       provides that the Commission shall receive and determine in accordance
       with applicable substantive Jaw, including international law, the amount and
       validity of claims by nationals of the United States against the Government
       of Cuba arising since January 1, Hi59 for
            losses resulting from the nationalization, expropriation, intervention or
            other taking of, or special measures directed against, property including
            any rights or interests therein owned wholly or partialliy, directly or
            indirectly at the time by nationals of the United States.
         Section 502 ( 3) of the Act provides:
            The term 'property' means any property, right, or interest including any
            leasehold interest, and debts owed by the Government of Cuba or by en­
            terprises which have been nationalized, expropriated, intervened, or taken
            by the Government of Cuba and debts which are a charge on property
            which has been nationalized, expropriated,_ intervened, or taken by the
            Government of Cuba.
         Section 502(1) (B) of the Act defines the term "national of the United
       States" as a corporation or other legal entity which is organized under the
       laws of the United States, or of any State, the District of Columbia, or the
       Commonwealth of Puerto Rico, if natural persons who are citizens of the
       United States own, directly or indirectly, 50 per centum or more of the out­
       standing capital stock or other beneficial interest of such corporation or
       entity.
         An officer of the claimant corporation has certified that the claimant was
       organized as a non-profit organization under the Jaws of the State of Pennsyl­
       vania for educational, religious and charitable purposes and no shares of
       stock were issued. The Commission holds that claimant is a national of the
       United States within the meaning of Section 502(1) (B) of the Act. (See
       Claim of Independence Foundation, Claim No. CU-2152.)

         • This decision was entered as the Commission's Final Decision on October 8, 1971.
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          Claim has been asserted for the following losses:
              University of St. Thomas of Villanueva
                Land                                    $2,240,360.00
                Buildings                                1,753,113.17
                Furnishings, equipment et al             1,110,117.25      $5,103,590.42
              El Cristo Property
                El Cristo Church                         $ 598,811.25
                Colegio San Agustin                        138,259.68
                Parochial School                           194,577.73
                Dispensary                                   8,000.00
                Ricla Street, land & building               25,000.00        964,648.66
              St. Augustine Propm·ty
                Land use                                 $     53,680.00
                Monastery & Church                            185,759.60
                Furnishings & Equipment                       142,083.00
                Youth Center                                   61,000.00     442,522.60
              St. Rita's Property
                Land                                     $     57,375.00
                Buildings                                     280,000.00
                 Furnishings & Equipment                      158,249.00     495,624.00
              St. Helen Property
                Land                                     $    15,000.00
                 Buildings                                    40,000.00
                Furnishings & Equipment                       15,383.00       70,383.00
              San Lorenzo Property
                 Land                                    $ 200,000.00
                Buildings                                  495,000.00
                Furnishings & Equipment                     30,760.00        725,760.00
              Santa Monica Property
                Land                                     $     33,500.00
                 Buildings                                     45,100.00
                 Trees                                         75,000.00
                 Furnishings & Equipment                       20,600.00     174,200.00
                    Total                                                  $7,976,728.68

          The Commission finds, on the basis of the record which will be discussed
        further with the particular properties, that claimant owned directly and in­
        directly through wholly owned Cuban entities, certain real and personal prop­
        erty in Cuba such as land, churches, university, clinic, school dispensaries
        and related furnishings and equipment.
          The Commission further finds that these properties were intervened by the
        Government of Cuba on May 3, 1961 (see Claim of Gustavus Basch, Claim No.
        CU-0972). According to the record, all members of the claimant's Order in
        Cuba were expelled with one exception. That priest was permitted to remain
        but left in 1968 for reasons of health and has been unable to return. Since
        May 3, 1961, claimant has had no control or use of any of its Cuban prop­
        erties. The Commission holds that claimant suffered losses within the meaning
        of Title V of the Act as a result of the intervention of all of its Cuban prop­
        erties by the Government of Cuba on May 3, 1961. (See Claim of Parke, Davib
        & Company, Claim No. CU-0180, 1967 FCSC Ann. Rep. 33.)
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         The Act provides in Section 503 (a) that in making determinations with
      respect to the validity and amount of claims and value of properties, rights,
      or interests taken, the Commission shall take into account the basis of valua­
      tion most appropriate to the property and equitable to the claimant, including
      but not limited to fair market value, book value, going concern value, or cost
      of replacement.
         The question, in all cases, will be to determine the basis of valuation which,
      under the particular circumstances, is "most appropriate to the property and
      equitable to the claimant." This phraseology does not differ from the inter­
      national legal standard that would normally prevail in the evaluation of na­
      tionalized property. It is designed to strengthen that standard by giving spe­
      cific bases of valuation that the Commission shall consider.

                       UNIVERSITY OF ST. THOMAS OF VILLANUEVA
         In 1944, claimant purchased land on which to build the University. Con­
      struction of buildings was commenced and, in 1946, a Cuban corporation known
      as the "Society of Brothers of the Order of Hermits of St. Augustine" was
      established to operate the University. The authorized capital was $100,000.00
      consisting of 1,000 shares with a par value of $100.00 per share of which only
      10 shares were issued. After the formation of the Cuban corporation, a lease
      was entered into between claimant and the Cuban subsidiary wherein the
      subsidiary leased the land and buildings owned by claimant and the tenant
      was permitted to erect buildings on the leased land. Additional land was sub­
      sequently purchased by the Cuban corporation.
         The record includes a balance sheet for the Cuban corporation as of July 31,
      1960. However, this balance sheet does not appear to be appropriate to the
      property claimed and is not the basis for values determined herein by the
      Commission. Other evidence of record consists of appraisals by a real estate
      broker, an architect and engineer, the former librarian of the University now
      employed by the Pan American Union in Washington, D.C., a contractor
      whose firm constructed one of the University's buildings, and affidavits by
      former University officials as well as photos, deeds, copies of Cuban Govern­
      ment decrees and maps.
         On the basis of the appraisals and affidavits, the Commission finds that the
      values of the properties owned by calimant or its subsidiary and occupied by
      the University on May 3, 1961 were:
               Land (112,018 square meters)                     $2,240,360.00
               Buildings, Chapel                                   150,000.00
                          Hickey                                   300,000.00
                          Library                                  210,000.00
                          Monastery                                250,000.00
                          Talleres                                 2..37,000.00
                          Tarafa & Revilla                         591,050.91
               Athletic Field                                       15,062.26
               Furnishings & Equipment                             521,942.71
               Library                                             161,000.00
               Automobiles                                            8,474.54
               Bank Account                                         67,000.00
               Book Store                                             7,700.00
               Cuban bond with interest to May 3, 1961             312,000.00
                        Total                                   $5,071,590.42
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           Accordingly, the Commission concludes that claimant suffered a loss in the
        amount of $5,071,590.42 for the taking of the University of St. Thomas of
        Villanueva.
          A loss had been asserted in the amount of $26,000.00 for accounts receivable
        as shown on the July 31, 1960 balance sheet. However there is no exact rec­
        ord of the accounts receivable and the accounts payable on May 3, 1961.
        Inasmuch as the accounts payable, including local taxes and deposits due
        students, on the 1960 balance sheet are approximately equal, the Commis­
        sion finds that the accounts payable on May 3 1961 would offset any accounts
        receivable of that date and no loss is determined therefor.

                                   2. EL CRISTO PROPERTY
           The El Cristo property consisted of a church, parochial school, preparatory
       •school, dispensary and the land located at Villegas and Lamparilla Streets
        and the rental property at 76 Ricla Street, Havana. The original plot was
        awarded claimant by decision in 1902 which divided church property seized
        by the Spanish Governor in 1842. The property was located three blocks from
        the Capitol of the Cuban Government. Additional purchases of land were
        made until the El Cristo complex covered almost the entire city block bounded
        by Villegas, Lamparilla, Amagura and Bernaza Streets and contained
        2,869.42 square meters. The church was built in about 1640 but was enlarged
        in 1926, the original walls being moved to the outside and the church widened
        18 feet on each side. Other structural improvements were made at an esti­
        mated cost of over $200,000.00.
           The parochial school was established about 1948. The old buildings used for
        the school were replaced in 1950 by a new building. The school was founded
        by a separate entity, an association known as "Escuela Gratuita de Nifiqs de
        la Iglesia del Cristo." However, the school was operated by claimant which
        controlled the association. Therefore the Commission finds that claimant was
        the owner and suffered a loss by the taking of the El Cristo properties on
        May 3, 1961.
           Colegio San Agustin was the preparatory school established by claimant in
        1912. It was operated by Corporacion San Agustin, a Cuban corporation or­
        ganized by claimant. Title to the school property was later transferred to the
        Asociacion de la Iglesia del Cristo y Colegio de la Orden de San Agustin,
        through which claimant operated the school until July 1, 1953. After that date
        the school was operated directly by the Order of St. Augustine. Thus the Com­
        mission finds that claimant was the owner of the Colegio property taken by
        the Government of Cuba on May 3, 1961.
           The remaining property owned by claimant through the El Cristo church
        consisted of a dispensary built on Villegas Street between the parochial school
        and the church in 1957, and rental property at 76 Murallo Street (formerly
        Ricla Street). According to the record, the dispensary was built at a cost of
        about $8,000.00. There is no information of record of the cost of the rental
        property but it is described as a two-story building of brick construction and
        about 25 feet by 100 feet having a monthly rental of at least $70.00. Claim is
        also made for the loss of bank accounts and accounts receivable for the Colegio
        and the parochial school in the total amount of $6,500.00 which appears fair
        and reasonable, and securities issued by the Cuban Telephone Company in
        the amount of $50,000.00.
           The records of the Cuban Telephone establish that the El Cristo Parochial
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      School was the owner of 500 shares of Cuban Telephone Company preferred
      stock. The Commission has held that a claim based upon a stock of that com­
      pany is within the purview of Title V of the Act because, although Cuban
      Telephone Company was a national of the United States at all pertinent
      times, it is now defunct. (See Claim of International Telephone and Tele­
      graph Company, Claim No. CU-2615.) In that claim, the Commission found
      that the assets of the company were taken by the Government of Cuba on
      August 6, 1960 and that the value per share of preferred stock was $104.50
      including accrued dividends. Therefore, the Commission finds that claimant
      suffered a loss with respect to the preferred stock in the amount of $52,250.00
      on August 6, 1960.
         On the basis of all the evidence of record including the photographs, finan­
      cial records, deeds, and affidavits the Commission finds that the values of the
      El Cristo properties were:
          Land                                                        $358,677.50
          El Cristo Church, buildings & furnishings                    389,095.00
          Parochial School, buildings & furnishings                     82,077.73
          Cuban Telephone Securities                                    52,250.00
          Colegio San Austin building & equipment                       45,298.43
          Dispensary                                                     8,000.00
          76 Ricla                                                      16,800.00
          Cash & Accounts Receivable                                     6,500.00
               Total                                                  $958,698.66
         The Commission concludes that claimant suffered a loss in the amount of
      $52,250.00 on August 6, 1960 when the Cuban Telephone Company's assets
      were nationalized and $906,448.66 on May 3, 1961 when the El Cristo prop­
      erties were taken.

                                3. ST. AUGUSTINE PROPERTY
         Claimant asserts a loss in the amount of $442,522.60 for the taking of its
      property in St. Augustine parish in La Sierra, Havana. In 1926, the first
      building was erected on land belonging to the Diocese of Havana. No claim
      is made for the taking of the land but for the loss of the use of the land, such
      loss being valued by claimant at $53,680.00. The original building was a mon­
      astery which was also used as the parish chapel until the church was built
      between 1937 and 1941. Additional property including land and two buildings
      was purchased about 1953 for a Youth Center. The lot was approximately 100
      feet by 120 feet. One building was a three-story house of brick containing 14
      rooms the other being a garage with living quarters for the caretaker and his
      family. In support of the values claimed for the lost property, claimant has
      submitted complete descriptions of the buildings with pictures of the church
      and an itemized listing of the equipment and furnishing of the church and
      monastery.
         On the basis of the evidence of record, the Commission finds that the values
      of the St. Augustine properties were:
               Monastery                                         $ 40,000.00
               Church                                             145,759.60
               Furnishings & Equipment                            142,083.00
               Youth Center                                        61,000.00
                        Total                                    $388,842.60
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         The Commission concludes that claimant suffered a loss in the amount of
       $388,842.60 for the taking of the St. Augustine properties on·May 3, 1961.
         No determination of loss is made for the land on which the monastery and
       church were located inasmuch as it did not belong to claimant.

                                    4. ST. RITA PROPERTY

         The property claimed for St. Rita's parish consisted of land, chapel, church
       and monastery. The land was purchased in 1941 and 1942 and contained 3,825
       square meters, and was located at 5th Avenue and 26th Street, Reparto Mira­
       mar, Marianao. Initially the chapel was built and then, in 1942, construction
       commenced on the church which was completed in 1954. The adjacent mon­
       astery was built gradually during the years after 1942, having two separate
       sections joined by a long covered outside corridor. In support of the claimed
       values, claimant has submitted a statement by the architect, an affidavit list­
       ing the equipment and furnishings of the chapel, church and monastery and
       pictures of the church.
         The Commission finds the values of St. Rita's property on May 3, 1961 to
       have been
                Land                                             $ 57,375.00
                Chapel & Church                                   250,000.00
                Monastery                                          30,000.00
                Furnishings & Equipment                           158,249.00
                          Total                                    $495,624.00
        The Commission concludes that claimant suffered a loss in the amount of
        $495,624.00 for the taking of St. Rita's property on May 3, 1961.

                                   5.   ST. HELEN PROPERTY

           In 1946, claimant purchased 3,618 square meters of land in Tarara, Guana­
        bacoa, Cuba with the condition that a church be built upon that land within
        five years. The church was built the following year at a cost of $40,000.00
        according to an affidavit of an architect whose firm designed and inspected
        the construction of the building. Evidence in support of the values asserted
        include the aforesaid affidavit, an affidavit listing the equipment and furnish­
        ings of the church and attached living quarters and a photocopy of the orig­
        inal deed.
           On the basis of all the evidence of record, the Commission finds that the
        values of St. Helen's parish property on May 3, 1961 were:
                 Land                                               $15;000.00
                 Church building                                     40,000.00
                 Equipment & furnishings                             15,383.00
                          Total                                     $70,383.00
        The Commission concludes that claimant sustained a loss in the amount of
        $70,383.00 by taking of the St. Helen's parish property on May 3, 1961.

                                  6. SAN LORENZO PROPERTY
          The property belonging to the San Lorenzo complex consisted of a church,
        convent, school, dispensary and a day nursery located on Galbis Street, Re­
        parto Buenavista Marianao, Cuba. To provide an income for the operation of
        the dispensary and nursery, two apartment buildings were built on land pur­
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       c:hased by claimant in the block bounded by Avenida Novena, Calle Quinta,
       Solar 24 and Solareo 2-11 in Marianao. Construction of the church, convent,
       school and dispensary was started in 1947. The building housing the school
       and convent originally contained a clinic but it proved to be too small and
       another wing was added to become the dispensary. The day nursery was built
       in 1956 as were the two apartment buildings.
          Claimant asserts a value of $725,760.00 for the loss of these properties and
       in support thereof has submitted photos of the dispensary and day nursery,
       newspaper accounts of the day nursery,. affidavits of the former principal of
       the school and former Administrator of the dispensary and nursery which list
       the equipment and furnishings of the buildings, a statement of the rental
       income from the apartment houses, and an affidavit appraising the values for
       the items claimed.
          Based upon the record, the Commission finds that the value of the San
       Lorenzo properties taken by the Government of Cuba on May 3, 1961 were:
           Land
             Dispensary complex                            $ 80,000.00
             Apartment lot                                  120,000.00     $200,000.00
           Buildings
             Church, convent, school dispensary
               & day nursery                                255,000.00
             Apartment houses                               240,000.00      495,000.00
           Furnishings & Equipment
             Church, school & convent                        27,408.00
             Day nursery                                      3,352.00           go,76o.oo
                    Total                                                  $725,760.00
       The Commission concludes that claimant suffered a loss in the amount of
       $725,760.00 for the taking of the San Lorenzo properties on May 3, 1961.

                                 7. SANTA MONICA PROPERTY

          In 1958, claimant purchased property located near Sa~ Antonio de los
       Banos, Province of Havana for construction of a seminary. The property
       consisted of approximately 33% acres of land most of it cultivated as an
       orchard with more than 1,500 trees of a variety of fruits, the main house, a
       garage with large living quarters attached, a caretaker's house, storehouse,
       stable equipment shed, pump house, and a small fuel storage building. The
       farm had a complete irrigation system electric cables, 1,500 feet of t\\'o-inch
       pipe for its water service, and a macadam road about 500 meters in length.
          In support of the amount claimed for the loss of this property, claimant has
       submitted photos of the main building, an inventory of the property and an
       affidavit setting forth the values for the land and personal property as well as
       the buildings.
          Based on the complete record, the Commission finds that the value of the
       Santa Monica property taken by the Government of Cuba on May g, 1961 was:
                Land                                              $ 33,500.00
                Buildings                                           45,100.00
                Trees                                               75,000.00
                Road, furnishings & equipment                       20,600.00
                         Total                                    $17 4,200.00
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       The Commission concludes that claimant suffered a loss in the amount of
       $174,200.00 as a result of the actions of the Government of Cuba on May 3,
       1961.

                                          RECAPITULATION

         Claimant's losses within the scope of Title V of the International Claims
       Settlement Act of 1949, as amended, are summarized as follows:
                 University of St. Thomas                                 $5,071,590.42
                 El Cristo                                                   958,698.66
                 St. Augustine                                               388,842.60
                 St. Rita                                                    495,624.00
                 St. Helen                                                    70,383.00
                 San Lorenzo                                                 725,760.00
                 Santa Monica                                                174,200.00
                           Total                                          $7,885,098.68
          The Commission has decided that in certifications of loss on claims deter­
       mined pursuant to Title V of the International Claims Settlement Act of
       1949, as amended, interest should be included at the rate of 6% per annum
       from the date of loss to the date of settlement (see Clairn of Lisle Corpora­
       tion, Claim No. CU-0644) and in the instant claim it is so ordered as follows:
                              FROM                                    ON
                           August 6, 1960                     $      52,250.00
                           May 3, 1961                            7,832,848.68

                                       CERTIFICATION OF LOSS

          The Commission certifies that BROTHERS OF THE ORDER OF HER­
        MITS OF ST. AUGUSTINE (INC.) suffered a loss, as a result of actions of
        the Government of Cuba, within the scope of Title V of the International
        Claims Settlement Act of 1949, as amended, in the amount of Seven Million
        Eight Hundred Eighty-five Thousand Ninety-eight Dollars and Sixty-eight
        Cents ($7,885,098.68) with interest at 6% per annum from the aforesaid dates
        of loss to the date of settlement.
          Dated at Washington, D.C., Sep. 8, 1971.

             IN THE MATTER OF THE CLAIM OF OCCIDENTAL INSURANCE
                         COMPANY OF NORTH CAROLINA
                          Claim No. CU-2353-Decision No. CU-3794
        Clairns based on loans to insureds of an Arnerican insurance cornpany secured
          by the cash surrender values of the policies, which were in the possession of
          the insurance company, do not constitute losses under Title V of the Act.
                                        PROPOSED DECISION      *
           This claim against the Government of Cuba, under Title V of the Interna­
        tional Claims Settlement Act of 1949, as amended, in the amount of $835,­
        902.09, was presented by OCCIDENTAL LIFE INSURANCE COMPANY
        OF NORTH CAROLINA, based upon the nationalization of its assets in
        Cuba.
         • This decision was entered as the Commission's Final Decision on September 2, 1969.
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         Under Title V of the International Claims Settlement Act of 1949 [78 Stat.
       1110 (1964), 22 U.S.C. §§1643-1643k (1964), as amended, 79 Stat. 988
       (1965)], the Commission is given jurisdiction over claims of nationals of the
       United States against the Government of Cuba. Section 503 (a) of the Act
       provides that the Commission shall receive and determine in accordance with
       applicable substantive law, including international law, the amount and
       validity of claims by nationals of the United States against the Government
       of Cuba arising since January 1, 1959 for
           losses resulting from the nationalization, expropriation, intervention or
           other taking of, or special measures directed against, property including
           any rights or interests therein owned wholly or partially, directly or in­
           directly at the time by nationals of the United States.
         Section 502 ( 3) of the Act provides:
           The term 'property' means any property, right, or interest including any
           leasehold interest, and debts owed by the Government of Cuba or by en­
           terprises which have been nationalized, expropriated, intervened, or taken
           by the Government of Cuba and debts which are a charge on property
           which has been nationalized, expropriated, intervened, or taken by the
           Government of Cuba.
          Section 502(1) (B) of the Act defines the term "national of the United
       States" as a corporation or other legal entity which is organized under the
       laws of the United States, or of any State, the District of Columbia, or the
       Commonwealth of Puerto Rico, if natural persons who are citizens of the
       United States own, directly or indirectly, 50 per centum or more of the out­
       standing capital stock or other beneficial interest of such corporation or entity.
          The record shows that claimant was organized under the laws of North
       Carolina. An authorized officer of claimant has certified that at all pertinent
       times 100% of claimant's outstanding capital stock was owned by nationals
       of the United States. The Commission holds that claimant is a national of the
       United States within the meaning of Section 502(1) (B) of the Act.
         It appears from the evidence of record that claimant had been authorized
       to conduct an insurance business in Cuba since 1947. In connection with these
       operations, claimant owned certain assets in Cuba; namely, bank deposits,
       stock interests, certain bonds, and mortgages against properties owned by
       Cubans held as security for loans made to said Cubans. The record contains
       extracts from claimant's books and records, certified to be accurate by claim­
       ant's Assistant Treasurer who has custody and control over claimant's finan­
       cial books and records; receipts from The National City Bank of New York,
       Havana Branch, and from authorities of Cuba indicating the deposit of se­
       curities by claimant; copies of stock certificates; as well as bank statements
       and statements from officials of claimant concerning this claim.
          On October 24, 1960, the Government of Cuba published in its official Ga­
       zette Resolution 3, pursuant to Law 851, which listed as nationalized the
       OCCIDENTAL LIFE INSURANCE COMPANY. The Commission finds that
       claimant's property in Cuba was nationalized on October 24, 1960, within the
       meaning of Title V of the Act, except as noted below.
          Claimant has computed its claim as follows:
                Bank Deposits                                       $302,501.63
                Stock interests                                       12,300.00
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                Bonds                                               209,055.42
                Mortgages                                           184,401.86
                Policy Loans                                        127,643.18
                                                                   $835,902.09

                                       BANK DEPOSITS

         Claimant's Assistant Treasurer has certified under date of August 17, 1967
       that claimant's books and records at Raleigh, North Carolina show the follow­
       bank balances in Cuban banks as of October 24, 1960 the date of loss (with the
       peso being on a par with the United States dollar):
                National City Bank of New York                     $292,552.13
                Banco Agricola E. Mercantil                           1,449.50
                Banco Agricola E. Industrial                          8,500.00
                                                     Total         $302,501.63

         On the basis of the foregoing evidence, the Commission finds that on Octo­
       ber 24, 1960, the date of loss, claimant owned bank deposits maintained in
       banks in Cuba with balances in claimant's favor aggregating the amount of
       $302,501.63

                                      STOCK INTERESTS

          The record establishes and the Commission finds that claimant ovmed 23
       shares of stock in Financiera N acional de Cuba with a par value of 100 pesos
       per share, equivalent to $100.00 per share. These shares had been purchase(\
       by claimant at par, and were carried on its books at that value.
          The Commission has found that Financiera Nacional de Cuba was a semi­
       public entity, controlled by the National Bank of Cuba, an agency of the
       Government of Cuba, and that Cuba had guaranteed the investments of stock­
       holders of this entity. The Commission held that pursuant to Law 865 o:f
       August 17, 1960, Financera N acional de Cuba was liquidated and all its assets
       were assumed by Cuba, and that a claim for the loss of a debt of the Govern­
       ment of Cuba arose under Title V of the Act on August 17, 1960, the date of
       liquidation. (See Claim of Phoenix Insurance Company, Claim No. CU-1913.)
       The Commission finds that the unpaid debt of Cuba to claimant on August
       17, 1960 on account of claimant's interests in Finarl'ciera N acional de Cuba
       was $2,300.00, representing the face amount of these securities.
          The record further shows that claimant owned 1,000 shares of preferred
       stock in the Anglo-American Insurance Company, S.A., with a par value of
       $10.00 per share. These shares, likewise, had been purchased by claimant, and
       were carried on its books, at par value i.e. at $10.00 per share. Evidence avail­
       able to the Commission indicates that this corporation was nationalized by the
       Government of Cuba on April28, 1964 pursuant to Resolution 1032 under Law
       890. The Commission, however, finds that claimant sustained a loss with re­
       spect to these shares of stock on October 24, 1960 when all of its assets in
       Cuba were nationalized. In the absence of evidence to the contrary, the Com­
       mission finds that the value of these shares of stock on October 24, 1960 was
       $10,000.00, the face amount of these securities, as indicated by claimant's
       books and records.
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          Accordingly, the Commission holds that the aggregate loss sustained by
        claimant with respect to its stock interests was $12,3tJO.OO.

                                           BONDS
          The evidence establishes that claimant had on deposit with the First Na­
       tional City Bank of New York, Havana Branch, the following bonds:
          1. Bonds in the face amount of $19,000.00, of the issue known as 4% Re­
       public of Cuba Veterans, Courts and Public Work Bonds, 1953-1983;
          2. Bonds in the face amount of $64,000,00, of the issue known as 4% Bonds
       of the Public Debt of Cuba, 1950-1980. It further appears that claimant had
       on deposit with Cuban authorities bonds of the same issue in the face amount
       of $25,000.00; and,
         .3. Bonds in the face amount of $100,000.00, of the issue known as 514%
       Bonds of Fondo de Inversiones, F.H.A., due June 30, 1965.
          The evidence establishes that the Government of Cuba defaulted on the
       payment of interest on the 4% Veterans, Court and Public Works bonds of
       1953-1983 on May 1, 1961, the last payment of interest having been made for
       the period ending November 1, 1960. (See Claim of Westchester FiTc lnsu?·­
       ance Company, Claim No. CU-1703.) The Commission, therefore, finds that on
       October 24, 1960, the date loss, Cuba owed claimant $19,000.00 with respect to
       these 4% bonds.
          Evidence available to the Commission establishes that the 4'/c bonds of the
       Public Debt of Cuba 1950-1980 had attached interest coupons in the amount of
       $20.00 each, payable semiannually on June 30 and December 81, with respect
       to each $1,000.00 bond, until maturity on June 30, 1980. (See Claim of Hart­
       ford Fi1·e Insurance Company, Claim No. CU-0021.) Extracts from claimant's
       records show that interest on these bonds was last paid for the semiannual
       period ending June 30, 1960. Accordingly, the Commission finds that on
       October 24, 1960, the date of loss, Cuba owed claimant $90,124.96, represent­
       ing $89,000.00 in principal and interest in the amount of 1,124.96.
          Evidence available to the Commission shows that the 514% Fondo de In­
       versiones bonds due June 30, 1965 had been issued by a Cuban Government
       agency, equivalent to our Federal Housing Administration. [Lanzas, A State­
       ment of the Laws of Cuba in Matters Affecting Bu8iness 322-323 (2d ed.
       1958) .] Extracts from claimant's records show that interest on these bonds
       was last paid for the period ending June 30, 1960. Accordingly, the Commis­
       sion finds that on October 24, 1960, the date of loss, Cuba owed claimant
       $101,662.42, representing $100,000.00 in principal and interest in the amount
       of $1,662.42.
          Therefore, the aggregate loss sustained by claimant with respect to the
       foregoing bonds was $210,787.38.

                                         MORTGAGES

          The Commission finds on the basis of the evidence of record, including
        applications for mortgage loans and extracts from claimant's records that
        claimant had granted 15 loans to certain Cubans secured by mortgagPs on
        the real properties of the debtors. The Commission has held that all Cuban
        mortgages were cancelled on October 14, 1960 pursuant to thP "Crban R.Pform
        Law. (See Claim of tile E8tate of Marita Dearin.17 de Lattrc, Deceased. Claim
        No. CU-0116.) The following, obtained from the evidencP of record, shows
        with respect to each mortgage as of October 14, 1960, the date of loss, the
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       unpaid principal amount, the rate of interest set forth in the mortgage agree­
       ment, the period of time for which interest was last paid and the amount of
       unpaid interest due:
              Unpaid               Rate of          Period Last               Interest
             Principal             Interest            Paid                     Due
        1. $ 14,698.98               5%             July 1, 1960             $ 211.86
        2.   12,446.06               6%             July 1, 1960               216.31
        3.    1,893.95               4%             Sept. 1, 1960                9.25
        4.   16,784.27               6%             Nov. 1, 1959               960.70
        5.   11,371.16               6%             Oct. 1, 1960                27.06
        6.   11,653.79               6%             July 1, 1960               202.54
        7.    4,689.69               6%             Feb. 1, 1959               480.13
        8.   19,662.85               6%             Dec. 25, 1959              951.68
        9.   29,446.96               4%             Jan. 26, 1960              942.29
       10.   13,792.72               5%             July 1, 1960               199.29
       11.   16,766.53               4%             Nov. 1, 1959               640.83
       12.    2,911.61               6%             Nov. 1, 1960
       13.   16,876.24               5%             Sept. 1, 1960               103.08
       14.    6,592.94               6%             Oct. 1, 1960                 15.69
       15.    4,794.11               6%             June 1, 1960                107.29
           $184,401.86                                                       $5,068.00

         The Commission holds that the aggregate loss sustained by claimant on
       October 14, 1960 with respect to its mortgages was $189,469.86.

                                        POLICY LOANS

         Claimant has asserted a loss in the amount of $127,643.18, representing ap­
       proximately 200 loans made to Cubans "secured by the cash surrender value
       of policies."
         Inasmuch as these loans were secured by funds in the hands of claimant,
       the Commission suggested under date of February 18, 1969 the submission of
       evidence establishing that this portion of the claim is based upon a nationali­
       zation, expropriation, intervention or other taking of claimant's property by
       Cuba within the purview of Title V of the Act, and for which asserted loss
       claimant had not already been compensated from the collateral funds in its
       possession. No reply was received from counsel or claimant either to this
       inquiry or to a "follow-up" letter of the Commission, dated April 17, 1969.
          Upon consideration of this matter, the Commission finds that claimant has
       failed to sustain the burden of proof with respect to this portion of its claim.
       Accordingly, this portion of the claim is denied.
          Claimant's losses may be summarized as follows:
          P1·operty                       Date of Loss                       Amount
       Bank deposits                    October 24, 1960                   $302,501.6:3
       28 shares of Financiera
         Nacional de Cuba               August 17, 1960                        2,300.00
       1,000 shares of Anglo-
          American Insurance
          Company, S.A.                 October 24, 1960                      10,000.00
       4% Bonds (1953-1983)             October 24, 1960                      19,000.00
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             Property                          Date of Loss                             Amount
        4~   Bonds (1950-1980)               October 24, 1960                           90,124.96
        5:14 ~ Bonds due June .30,           October 24, 1960                         101,662.42
           1965
        Mortgages                            October 14, 1960                         189,469.86
                          Total                                                      $715,058.87

          The Commission has decided that in certification of losses on claims deter­
        mined pursuant to Title V of the International Claims Settlement Act of
        1949, as amended, interest should be included at the rate of 6% per annum
        from the respective dates of loss to the date of settlement (see Claim of Lisle
        Corporation, Claim No. CU-0644), and in the instant case it is so ordered
        as follows:
                                  FROM                                ON
                            August 17, 1960                     $     2,300.00
                            October 14, 1960                        189,469.86
                            October 24, 1960                        523,289.01
                                  Total                         $715,058.87

                                       CERTIFICATION OF LOSS

          The Commission certifies that OCCIDENTAL LIFE INSURANCE C0::\1­
        PANY OF NORTH CAROLINA suffered a loss, as a result of actions of the
        Government of Cuba within the scope of Title V of the International Claims
        Settlement Act of 1949, as amended, in the amount of Seven Hundred Fifteen
        Thousand Fifty-eight Dollars and Eighty-seven Cents ($715,058.87) with
        interest at 6~ per annum from the respective dates of loss to the date of
        settlement.
          Dated at Washington, D.C., July 30, 1969.

             IN THE MATTER OF THE CLAIM OF EBASCO INDUSTRIES INC.
                        Claim No. CU-3548-Decision No. CU-3866
        Claims based upon debts owing by a United States national corpo1·ation are
          not covered by Title V of the Act ttnless such debts are a charge against
          property which has been nationalized or otherwise taken by the Govc?·n­
          ment of Cuba.
        Contractual right to 1·eceive bonds which wo11ld be secured by a mortgage
          on prope1·ty of a United States national corporation in Cuba does not
          constitute a debt which is a charge against nationalized property unless
          such right has been exercised.

                                          PROPOSED DECISION     *
          This claim against the Government of Cuba, under Title V of the Inter­
        national Claims Settlement Act of 1949, as amended, in the amended amount
        of $42,714,767.55 plus interest was orignally presented by American & For­
        eign Power Company, Inc., predecessor in interest to EBASCO INDUS­
         *A Final Decision was entered on this claim on Nov. 3, 1969, to reflect that claimant had
        merged with an into the Boise Cascade Corporation.
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      TRIES INC., based upon the asserted loss of certain real property in Cuba
      and bonds issued by the Cuban Electric Company.
        Under Title V of the International Claims Settlement Act of 1949 [78 Stat.
      1110 (1964), 22 U.S.C. §§1643-1643k (1964 as amended, 79 Stat. 988 (1965)],
      the Commission is given jurisdiction over claims of nationals of the United
      States against the Government of Cuba. Section 503 (a) of the Act provides
      that the Commission . shall receive and determine in accordance with appli­
      cable substantive law, including international law, the amount and validity
      of claims by nationals of the United States against the Government of Cuba
      a_rising since January 1, 1959 for
          losses resulting from the nationalization, expropriation, intervention or
          other taking of, or special measures directed against, property includ­
          ing any rights or interests therein owned wholly or partially, directly or
          indirectly at the time by nationals of the United States.
        Section 502 ( 3) of the Act provides:
          The term 'property' means any property, right, or interest including
          any leasehold interest, and debts owed by the Government of Cuba or by
          enterprises which have been nationalized, expropriated, intervened, or
          taken by the Government of Cuba and debts which are a charge on pro­
          perty which has been nationalized, expropriated, intervened, or taken by
          the Government of Cuba.
         Section 502(1) (B) of the Act defines the term "national of the United
      States", as a corporation or other legal entity which is organized under the
      laws of the United States, or of any State, the District of Columbia, or the
      Commonwealth of Puerto Rico, if natural persons who are citizens of tlw
      United States own, directly or indirectly, 50 per centum or more of the out­
      standing capital stock or other beneficial interest of such corporation or
      entity.
         The record shows that American & Foreign Power Company, Inc., \Yas
      merged with and into Electric Bond & Share Company on December 31, 1967,
      and the name subsequently changed to EBASCO INDUSTRIES INC., which
      is substituted as claimant herein. The American & Foreign Power Company,
      Inc., \vas organized under the laws of the State of Maine and an officer of
      that corporation has certified that at all times more than 50% of its outstand­
      ing capital stock has been owned by nationals of the United States and that
      as of May 25, 1966, holders of 0.0017% of its outstanding capital stock had
      addresses outside the United States. An officer of Electric Bond & Share Com­
      pany has certified that at all pertinent times the number of shares of its out­
      standing capital stock owned by non-residents of the United States has never
      exceeded 3%. The Commission holds that American & Foreign Power Com­
      pany Inc., Electric Bond and Share Company, and EBASCO INDUSTRIES
      INC. qualify as nationals of the United States within the meaning of Sec­
      tion 502(1) (B) of the Act.
         Claim is made herein for losses assertedly sustained by the American &
      Foreign Power Company, Inc. for the following:
            1. A 53.22362'/~ interest in real property known as "La Puntilla" lo­
          cated in Marianao, Havana Province, Cuba;
            2. First and Refunding Mortgage bonds 4 '\{% Peso Series, due 1980;
          First Mortgage bonds, 4 '\{ '!o Dollar series, due 1980; First Ylortgage
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           bonds 414% Dollar Series B, due 1980; First Mortgage bonds, 5% Peso
           Series C, due 1980; and First Mortgage bonds,. 5% Peso Series D due
           1987, issued by the Cuban Electric Company, and having a total princi­
           pal amount of $11,330,300;
              3. A contractual right to receive bonds in the amount of $26,135.00 is­
           sued by the Cuban Electric Company; and
             4. A contractual right to receive an additional amount of bonds in the
           principal amount of $3,800,000 in return for cancelling a demand note of
           the Cuban Electric Company.

       1. Real property
          Claimant asserts a loss in the amount of $113,898.55 for a 53.22362% inter­
       est in land in Marianao, Havana Province, Cuba. In support of this portion
       of the claim, a copy of the deed to Edward L. Kanter dated October 7, 1954,
       and an affidavit of Mr. Kanter have been submitted. By the terms of the deed,
       the Havana & Insular Real Estate Company conveyed a parcel of land having
       an area of 6,160.90 square meters to Edward L. Kanter for the sum of
       $214,000.00, which land was located in Marianao, Cuba. According to the af­
       fidavit of Edward L. Kanter, the land was conveyed to him for the benefit of
       Cuban Electric Company and American & Foreign Power Company, Inc.
       Cuban Electric Company has also filed its separate claim, No. CU-2578, in
       the amount of $100,101.45 for the remaining interest in the land which both
       companies valued at the purchase price of $214,000.00 The Commission finds
       that the purchase price represented the value of the property at the time it
       was confiscated.
          The record also contains the affidavit of Armando Leret, an attorney who
       formerly practiced in Cuba. This instrument shows that he was acquainted
       with the interests of the two companies in the Marianao property; that he
       frequently went past the property; and that in February 1960 it was occu­
       pied by an organization of the Cuban Government which had started some
       construction thereon.
          The Commission finds that claimant owned a 53.22362% interest in 6,160.90
       square meters of land in Marianao, Cuba, and that it was taken by the Gov­
       ernment of Cuba on February 1, 1960. As a result of the actions of the Gov­
       ernment of Cuba, the Commission concludes that claimant sustained a loss
       by the confiscation of said land in the amount of $113,898.55 within the mean­
       .ing of Title V of the Act.

       2. Mortgage bonds of the Cuban Electric Company
         Claim is made for the principal and unpaid interest due on August 6, 1960
       on the following bonds issued by the Cuban Electric Company:

                          Bonds                         Principal           Interest
           First and Refunding Mortgage bonds:
                414% Peso Series, 1980 _____ _         $615,500.00        $24,923.00
                414% Dollar Series, 1980 _____ _      8,500,000.00        216,750.00
           First Mortgage bonds, 4%, % Dollar
             Series B, 1980 -----------------­        1,965,000.00          50,108.00
           First Mortgage bonds, 5% Peso Se­
             ries C, 1980 -------------------­           35,800.00           1,045.00
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                       Bonds                              Principal            Interest
           First Mortgage bonds 5% Peso Se­
             ries D, 1987 ----------------­               214,000.00           8,935.00
                     Total -----------------­         $11,330,300.00        $301,761.00
          On the basis of evidence of record, the Commission finds that claimant is
       and since prior to August 6, 1960, has been the owner of the above described
       bonds issued pursuant to a Mortgage and Deed of Trust dated as of January
       1, 1950, as supplemented, with the First National City Bank of New York as
       trustee. By that indenture and the supplements thereto, the bonds issued
       thereunder were secured by the property in Cuba of the Cuban Electric Com­
       pany, a corporation organized under the laws of the State of Florida which
       qualifies as a national of the United States. The properties of the Cuban Elec­
       tric Company were listed as nationalized by Resolution No. 1 (pursuant
       to Law 851 of July 6, 1960) of the Government of Cuba effective August 6,
       1960. Claimant's bonds therefore represented a debt which was a charge up­
       on na tionlized property as defined in Section 502 ( 3) of the Act. The Com­
       mission concludes that as a result of the nationalization of the properties of
       the Cuban Electric Company in Cuba, claimant suffered a loss in connection
       with its bonds within the meaning of Title V of the Act.
          The Commission finds that the total amount of the unpaid indebtedness
       on claimant's bonds including the principal amounts and interest due to Aug­
       ust 6, 1960, is as follows:
                           Bonds                           Principal           Interest
            First and Refunding Mortgage bonds:
                 4~% Peso Series, 1980 _____ _          $615,500.00         $ 24,923.00
                  41,4,% Dollar Series, 1980 _____ _     8,500,000.00        216,750.00
            First Mortgage bonds, 4 1,4,% Dollar
               Series B, 1980 -----------------­         1,965,000.00         50,108.00
            First Mortgage bonds, 5% Peso Se­
               ries C, 1980 -------------------­            35,800.00           1,045.00
            First Mortgage bonds 5% Peso Se­
               ries D, 1987 -----------------­            214,000.000           8,935.00
                       Total                          $11,330,300.00        $301,761.00
            for a total loss of $11,632,061.00.
       3. Contractual right to receive bonds of $26,1.'35,000.00 11alue
         Claimant asserts a loss in the amount of $26,135,000.00 on the basis of
       Dollar-Peso Bond Agreements with the Cuban Electric Company. During the
       period 1952-1957, it became necessary for the Cuban Electric Company to bor­
       row funds from the Export-Import Bank in Washington and Financiera
       Nacional de Cuba in Havana. To provide the required collateral for loans,
       Dollar and Peso Mortgage Bonds issued by Cuban Electric Company and
       held by claimant were borrowed from claimant by the company. Under the
       Dollar-Peso Agreements, claimant was to be repaid by bonds or in cash
       semi-annually beginning December 31, 1957. Under the terms of the agree­
       ments, claimant would receive interest on the principal at the rate of three­
       fourths or of 1% per annum, and at the maturity of the coupons attached
       to the borrowed Dollar Bonds and Peso Bonds, such coupons would become
       the property of claimant. On August 6, 1960, when Cuban Electric Company's
       assets were nationalized, the principal amount still due and owing to claim­
       ant was $26,135.000.00.
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         Section 505 (a) of the Act provides:
              . . . A claim under Section 503 (a) of this title based upon a debt or
           other obligation owing by any corporation, association, or other entity
           organized under the laws of the United States, or any State, the Dist­
           rict of Columbia, or the CommomYealth of Puerto Rico shall be consi­
           dered only when such debt or other obligation is a charge on property
           which has been nationalized, expropriated, intervened, or tak<!n by the
           Government of Cuba.
          Claimant contends that, since it was entitled to receive mortgage bonds of
       the Cuban Electric Company in payment of the borrowed bonds, the obli­
       gation was a charge on its property. The terms of the agreements, however,
       gave the debtor the option of paying the specified semiannual payment in cash
       or in mortgage bonds. Additionally, the amounts unpaid were listed in the
       1959 Annual Report of the Cuban Electric Company on page 14, Schedule of
       Long-Term Debt, as Loans Payable to American & Foreign Power Company,
       Inc. (claimant's predecessor in interest) and in Note A to that schedule ref­
       erence is made that these loans may be satisfied either by delivery of mort­
       gage bonds or payment of cash.
          Claimant, therefore, by terms of the agreements had surrendered the
       secured obligations of Cuban Electric Company in exchange for the right to
       receive similar secured obligations or cash at a future date, neither of which
       it received. Even though the obligor was the wholly owned subsidiary of claim­
       ant and the exchange was not an arms-length transaction, the failure to re­
       ceive SE'cured bonds is not a basis for determining a loss in its favor under
       the Act. It would appear that the Export-Import Bank of Washington, which
       holds the collateral, is the proper party claimant for these bonds. Unfortu­
       nately, however, that bank cannot join in this claim because it is an agency of
       the U.S. Government and is not an eligible claimant under Title V of the Act.
        (See Claims of the United States of America, Claim No. CU-2522 and Claim
       No. CU-2618, 1967 FCSC Ann. Rep. 50.) That does not mean, though, that
       at some time in the future the bank, or the American Government, will not
       have a claim for this loss under a new statute or in direct negotiations with
       Cuba.
          On basis of the evidence of record, the Commission concludes that the
       obligation to pay claimant the amount of $26,135.000.00 under the terms of
       the Dollar-Peso Agreements for the mortgage bonds borrowed and used as
       collateral for subsequent loans was not a charge upon property as specified
       in Section 505 (a) of the Act. Accordingly, this portion of the claim is denied.

       4. Contractual right to receive bonds of $3,800,000.00 value
          By agreement dated December 30, 1954, Cuban Electric Company agreed
       to authorize the issuance of mortgage bonds to claimant's predecessor in an·
       amount of not less than $3,800,000.00 in exchange for the cancellation of a
       note in the principal amount of $3,800,000.00. The bonds to be issued were to
       be secured by a mortgage on the Cuban property of the Cuban Electric
       Company. The debtor was to pay interest at the rate of 5% per annum from
       the date of the agreement to the date of issuance of the bonds. No bonds,
       however, were issued by Cuban Electric Company in performance of its ob­
       ligations under the agreement.
          In order that the amount of $3,800,000.00 plus interest be certifiable as a
       loss under the Act, it must be established that the amount was in fact, a
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       charge on property which had been nationalized, expropriated, intervened, or
       taken by the Government of Cuba (Section 505 (a), supra).
          The only evidence of record here, however, establishes that claimant had
       an unsecured demand note for the amount of $3,800,000.00 which it agreed
       to cancel in exchange for secured bonds of the Cuban Electric Company.
        Cuban Electric Company entered into the agreement with claimant in 1954
       but did not perform its part of the agreement since the bonds were never
       issued. Inasmuch as claimant did not receive the secured bonds but merely
       has a contract which has not been specifically performed, the Commission
       concludes that the debt is not a charge on property which has been taken
       by the Government of Cuba. Accordingly, this portion of the claim is denied.
          The Commission has decided that in certification of losses on claims de­
       termined pursuant to Title V of the International Claims Settlement Act of
       1949, as amended, interest should be included at the rate of 6% per annum
       from the respective dates of loss to the date of settlement (see Clairn of Lisle
        Corporation, Claim No. CU-0644), and in the instant case it is so ordered
       as follows:
             Frorn                                                      On
           Feb. 1, 1960 ---------------------------------------­ $    113,985.55
           Plug. 6, 1960 ---------------------------------------­ 11,632,061.00
                                                                  $11,745,959.55
                                      CERTIFICATIO!\" OF LOSS

         The Commission certifies that EBASCO INDUSTRIES INC. suffered a
       loss, as a result of actions of the Government of Cuba, within the scope of
       Title V of the International Claims Settlement Act 0f 1949 as amended, in
       the amount of Eleven Million Seven Hundred Forty-Five Thousand Nine
       Hundred Fifty-Nine Dollars and Fifty-Five Cents ($11,745,959.55) with in­
       terest thereon at 6% per annum from the respective dates of loss to the date
       of settlement.
        . Dated at Washington, D.C., Sep. 11, 1969.

       IN THE MATTER OF THE CLAIM OF ESTATE OF GRENVILLE M. DODGE,
                                  DECEASED
                         Claim No. CU-1290-Decision No. CU-1143
       Farrns and rural properties were expropriated pursuant to tile Agrm·ian Rc­
         forrn Law of May 17, 1959, irnplernented by regulations of Octobc1· 7, 1959.

                                       PROPOSED DECISION      *
          This claim against the Government of Cuba, under Title V of the Inter­
       national Claims Settlement Act of 1949, as amended, was presented by the
       COUNCIL BLUFFS SAVINGS BANK, as TRUSTEE, for the ESTATE OF
       GRENVILLE M. DODGE, DECEASED, in the amount of $40,000.00, based
       upon the asserted loss of 38 caballerias of land situated in the Barrio J api­
       bonico, Province of Camaguey, Cuba. The beneficiaries of the state of Gren­
       ville M. Dodge, Deceased, have all been nationals of the United States since
       birth.

         *This decision was entered as the Commission's Final Decision on March 13, 1968.
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          Under Title V of the International Claims Settlement Act of 1949 [78 Stat.
       1110 (1964), 22 U.S.C. §§1643-1643k (1964), as amended, 79 Stat. 988
        (1965) ], the Commission is given jurisdiction over claims of nationals of the
       United States against the Government of Cuba. Section 503 (a) of the Act
       provides that the Commission shall receive and determine in accordance with
       applicable substantive law, including international law, the amount and valid­
       ity of claims by nationals of the United States against the Government of
       Cuba arising since January 1, 1959 for
           losses resulting from the nationalization, expropriation, intervention or
           other taking of, or special measures directed against, property including
           any rights or interests therein owned wholly or partially, directly or
           indirectly at the time by nationals of the United States.
         Section 502 (3) of the Act provides:
           The term 'property' means any property, right, or interest including any
           leasehold interest, and debts owed by the Government of Cuba or by en­
           terprises which have been nationalized, expropriated, intervened, or taken
           by the Govern!llent of Cuba and debts which are a charge on property
           which has been nationalized, expropriated, intervened, or taken by the
           Government of Cuba.
          Based upon a copy of a decree of the Court of Constitutional and Social
       Rights, entered November 24, 1960, on appeal from a decree issued on June
       21, 1960, by the Justice of the Court of First Instance of Ciego de Avila, the
       Commission finds that the heirs of Grenville M. Dodge, Deceased, owned cer­
       tain land in the province of Camaguey, Cuba. Other evidence of record es­
       tablishes that this consisted of thirty-eight caballerias of land in the Barrio
       Jatibonico, and was known as "Finca Rollete." The aforesaid decree of June
       21, 1960 decreed expropriation of the estate by right of eminent domain, to
       become the property of the National Institute of Agrarian Reform, for dis­
       posal by the said Institute under the Act of Agrarian Reform; and further
       provided for indemnity to be paid in cash in Agrarian Reform Bonds or by a
       certificate thereof by the Institute to the heirs.
          The Agrarian Reform Law of May 17, 1959, published in the Cuban Of­
       ficial Gazette on June 3, 1959, established the National Agrarian Reform
       Institute and provided for the expropriation of rural properties and distribu­
       tion among peasants and agricultural workers. The Fifth Transitory Pro­
       vision provided that until regulations for the Law were promulgated, it should
       be applied through resolutions of the National Agrarian Reform Institute.
       The regulations for carrying out the expropriation of such rural property
       were contained in Law 588, published in the Official Gazeztte (No. 191) on
       October 7, 1959.
          Article 31 of the Agrarian Reform Law provided that indemnity should
       be paid in redeemable bonds; and set out that to that end an issue of Republic
       of Cuba bonds should be floated in such amount, and under such terms and
       conditions, as might be fixed in due time, the bonds to be called "Agrarian
       Reform Bonds" and to be considered public securities. Claimant avers that
       no compensation of any kind has been received in respect to the expropriation
       of said real estate and that there are no credits or off-sets to this claim. The
       Commission finds that the thirty-eight caballerias of land belonging to the
       Estate of Grenville M. Dodge, Deceased, were taken by the Government of
       Cuba on June 21, 1960, pursuant to the provisions of the Agrarian Reform
       Law.
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         ThP. record contains an affidavit of Laverne Tollinger setting out his
       lengthy association with the Trustee, his familiarity with the property of the
       Estate, and stating that it was under the active management of Compania
       Cubana, a sugar mill operation; and two affidavits of H. J. Schreiber,
       former Manager of the Ingenio Jatibonico of Compania Cubana, in Jati­
       bonico, in which he states that the Compania Cubana leased the land to vari­
       ous tenants on behalf of the Grenville M. Dodge Trust Estate, and purchased
       the sugar cane grown thereon, remitting the net proceeds to the Trustees.
       Further, Mr. Schreiber states that the asserted value of $40,000 is based on
       an approximate net annual income derived from the rent after taxes, and
       represents a return of 5 per cent, and that while the rental varied from year
       to year, it would not be less than $2·,000.00. On the basis of the entire record,
       including these affidavits, the Commission finds that at the time of loss, the
       aggregate value of the 38 caballerias of land was $40,000.00, and concludes
       that the claimant suffered a loss in that amount, within the meaning of Title
       V of the Act.
          The Commission has decided that in certification of losses on claims deter­
       mined pursuant to Title V of the International Claims Settlement Act of
       1949, as amended, interest should be included at the rate of 6% per annum
       from the date of loss to the date of settlement.
          Accordingly, the Commission concludes that the amount of the loss sus­
       tained by claimant as trustee shall be increased by interest thereon at the rate
       of 6% per annum from the date on which the loss occurred, to the date on
       which provisions are made for the settlement thereof.

                                       CERTIFICATION OF LOSS

          The Commission certifies that the COUNCIL BLUFFS SAVINGS BANK,
        as TRUSTEE of the ESTATE OF GRENVILLE M. DODGE, DECEASED,
        suffered a loss, as a result of actions of the Government of Cuba, within the
        scope of Title V of the International Claims Settlement Act of 1949, as
        amended, in the amount of Forty Thousand Dollars ($40,000.00) with interest
       .thereon at the rate of 6% per annum from June 21, 1960, to the date of
        settlement.
          Dated at Washington, D.C., Feb. 7, 1968.

         IN THE MATTER OF THE CLAIM OF PLACIDO NAVAS COSTA, ET AL.
                          Claim No. CU-3344-Decision No. CU-6016
        Upon finding that the claim of an American, who is still in Cuba, is valid
         under the Act, the Commission may ente~· a Certification of Loss in his
         favor.

                                        PROPOSED DECISION       *
          This claim against the Government of Cuba, under Title V of                   the Inter­
       national Claims Settlement Act of 1949, as amended, was presented                on May 2,
       J 967 after due notice on behalf of Placido Navas Marquez (now                   deceased)
       for $406,500 based upon the asserted ownership and loss of certain               real prop­
       erties and a business in Cuba.
          Placido Navas Marquez was last married to Francisca Costa                     Garcia, a

         • This decision was entered as the Commission's Final Decision on February 19, 1971.
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       United States national from birth who died intestate on May 27, 1966. Placido
       Navas Marquez, also a United States national from birth, died intestate on
       March 22, 1969, survived by six children who are substituted as claimants
       herein. Two of these heirs are outside the United States and need not be
       identified in this decision.
          Under Title V of the International Claims Settlement Act of 1949 [78 Stat.
       1110 (1964), 22 U.S.C. §§1643-1643k (1964), as amended, 79 Stat. 988
        (1965)], the Commission is given jurisdiction over claims of nationals of the
       United States against the Government of Cuba. Section 503 (a) of the Act
       provides that the Commission shall receive and determine in accordance with
       applicable substantive law, including international law, the amount and va­
       lidity of claims by nationals of the United States against the Government of
       Cuba arising since January 1, 1959 for
           losses resulting from the nationalization, expropriation, intervention or
           other taking of, or special measures directed against, property including
           any rights or interests therein owned wholly or partially, directly or
           indirectly at the time by nationals of the United States.
         Section 502 ( 3) of the Act provides:
           The term 'property' means any property, right, or interest including
           any leasehold interest, and debts owed by the Government of Cuba or
           by enterprises which have been nationalized, expropriated, intervened,
           or taken by the Government of Cuba and debts which are a charge on
           property which has been nationalized, expropriated, intervened, or taken
           by the Government of Cuba.
         The aggregate losses, subject of this claim, were described as follows:
            1)   563 Goicuria, Havana                                       $ 17,1?00
            2)   561 Goicuria                                                 17,500
            3)   565 Goicuria                                                 60,000
            4)   Freyre de Andrade, No. 114                                    9,000
            5)   Freyre de Andrade, No. 112                                    9,000
            6)   4th between C and D, Playa Hermosa                           22,500
            7)   C and 4th, Playa Hermosa                                     20,000
            8)   Lot (related to item (5))                                    10,000
            9)   Patrocinio 412                                               20,000
           10)   Trocadero 75                                                 16,000
           11)   72.72% of P. Navas & Co.                                     80,000
           12)   Inventory of P. Navas & Co.                                 125,000
                                                                            $406,500

                                      REAL PROPERTY
         Based upon the entire record, including an adjudication of the estate of
       claimants' uncle, a widower, as well as a listing of deeds, and reports from
       abroad, the Commission finds that Placido Navas Marquez (now deceased)
       owned fractional interests in certain realties in Cuba, further discussed
       below, and upon his death, on March 22, 1969, his six children succeeded to
       his interests.
         On October 14, 1960, the Government of Cuba published in its Official
       Gazzette, Special Eddition, its Urban Reform Law. Under this law the rent­
       ing of urban properties, and all other transactions or contracts involving
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       transfer of the total or partial use of urban properties were outlawed
        (Article 2). The law covered residential, commercial, industrial and business
       office properties (Article 15).
          On the basis of the foregoing, the Commission finds that the real property
       interests of Placido Navas Marquez in Cuba were taken by the Government
       of Cuba pursuant to the provisions of the Urban Reform Law; and, in
       the absence of evidence to the contrary, that the taking occurred on
        October 14, 1960, the date on which the law was published in the Cuban
       Gazette. (See Claim of Henry Lewis Slade, Claim No. CU-0183, 1967 FCSC
       Ann. Rep. 39.)
         The Commission finds that Placido Navas Marquez owned the following
       real property interests:
              (2)   All of the improved realty at 561 Goicuria
              (3)   % of the improved realty at 565 Goicuria
              (4)   % of Freyre de Andrade 114, improved
              (5)   % of Freyre de Andrade 112, improved
              (6)   % of property on 4th Street, between C and D, Playa Hermosa
              (7)   % of property at C and 4th, Playa Hermosa
              (8)   % of the lot in Deed 202 (related to item (5))
              (9)   All of Patrocinio 412
             (10)   All of Trocadero 75
          With respect to the property at 563 Goicuria (Item 1), the Commission
       finds that this house and lot belonged to Carmen Navas Franquiz and
       Monserrate Navas Franquiz (Claim No. CU-3013) , cousins of claimants, and
       that claimants herein had no interest therein. Accordingly, this part of the
       claim is denied.
          ';['he Act provides in Section 503 (a) that in making determinations with
       respect to the validity and amount of claims and value of properties, rights,
       or interests taken, the Commission shall take into account the basis of
       valuation most appropriate to the property and equitable to the claimant,
       including but not limited to fair market value, book value, going concern
       value or cost of replacement.
          The record includes, in addition to asserted values, those values recited
       in the Document of Adjudication of the Estate of Francisco Navas y Mar­
       quez, uncle of claimants; descriptions of the properties; rental figures, said
       to be depressed by Cuban legislation "freezing" rentals, and values in re­
       ports obtained from abroad. On the basis of this record, the Commission
       finds that the interests of Placido Navas Marquez (now deceased) in the
       real properties had the following values:
              Item                                                            Value
              (2) Goicuria                                                 $ 8,000.00
              (3) 565 Goicuria                                              15,000.00
              (4) 114 Freyre de Andrade                                      1,300.00
              (5) 112 Freyre de Andrade                                      1,800.00
              (6) 4th between C and D                                        2,500.00
              (7) C and 4th                                                  3,700.00
              (8) Lot (related to (5))                                         110.00
              (9) Patrocino 412 (equity)                                     9,500.00
             (10) Trocadero 75 (equity)                                      3,620.00
                                                                           $45,530.00
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         Accordingly, the Commission concludes that these six claimants succeeded
       to and suffered a loss in the aggregate amount of $45.530.00 within the
       meaning of Title V of the Act, as the result of the taking of these real
       properties by the Government of Cuba on October 14, 1960.

                                     P. NAVAS & Co.
          According to the record this entity, engaged in the import-wholesale busi­
       ness, particularly bicycles and parts, since at least the early 1950s when
       one Francisco Navas Marquez (brother of the deceaent in this matter)
       owned an interest in it, and when it was known as F. Navas & Co. Upon
       the death of said Francisco Navas Marquez on December 2, 1952 his
       interest was devised to his daughters (claimants in CU-3013) and in the
       settlement of this estate it was valued at $58,795.49.
          Thereafter in about 1952 or 1953, Placido Navas Marquez (now deceased)
       and his son PLACIDO NAVAS COST A, (one of the claimants herein) pur­
       chased the interest of the sisters. A notarial document, No. 213, of May
       29, 1959 sets out that the father and son were partners, the name of the
       entity having been changed, that the capital had been increased to $110,000
       in which the interest of the father was $80,000 and the interest of his son
       was $30,000, and that profits and losses were to be divided equally. Claim
       is made here only for the interest of Placido Navas Marquez (now deceased)
       specifically his capital of $80,000 and one-half of an asserted inventory of
       $125,000.
          The Commission finds that in fact Placido Navas Marquez (now deceased)
       was the owner of P. Navas & Co. to the extent of 72.727 per cent.
          The data accumulated by the Commission does not disclose a date of
       nationalization of this entity by the Government of Cuba. The record in
       this case variously asserts taking on January 1, 1959, when the communist
       regime took over the country of Cuba; that it was taken over in 1965; and
       that it was seized during the period 1961 to 1965. On the basis of this record,
       and in the absence of evidence to the contrary, the Commission finds that
       the entity P. Navas & Co. was nationalized by the Government of Cuba on
       June 30, 1965.
          In addition to the capital investment, it is said that there was a warehouse
       inventory of $125,000 and that yearly sales amounted to $650,000. In support
       there has been submitted various excerpts from the records of companies
       who shipped materials to the company in Cuba, in 1958 and 1959, reflecting
       shipments of $78,060.47, $92,012.90, $24,221, $43,397.80 and the like. It is
       said that no balance sheets are available. Also, the record includes an affi­
        davit from a former commercial loan officer with title of Assistant Manager
       of the First National Bank of Boston in Havana from 1940 to 1960, who
        states that to his recollection the company had a credit line with that bank
       of $100,000 and their inventory was in the neighborhood of $200/250,000.
        Further, the record includes the affidavit of a former accountant in Cuba
       who numbered the company among his clients, and who states that Placido
        Navas Marquez (now deceased) was a partner with an investment of $80,00
        of the total $110,000 invested; that the book value of his investment at 1959­
        1960 was more than $90,000 approximately; and that the partnership was
       taken in 1965.
          The Commission has considered this record and finds that the asset value
        of P. Navas & Co., on the date of loss, was $110,000 from which must be
        deducted a debt of $68,301.15 (which has been certified as a loss to another
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        claimant in Claim No. CU-0126). Accordingly, the net value of P. Navas
        & Co. is found to have been $41,698.85, and the interest therein of Placido
        Navas Marquez (now deceased) was $30,326.32, to which these six claimants
        have succeeded in equal parts.

                                      RECAPITULATION

          The losses within the scope of Title V of the Act to which these claimants
        have succeeded are summarized below:
                                                              Realty        Business
            PLACIDO NAVAS COSTA                             $7,588.33       $5,054.39
            MERCEDES ARBONA                                   7,588.33       5,054.39
            DOLORES GAUDIER                                   7,588.33       5,054.38
            MYLES T. NAVAS                                    7,588.33       5,054.38
            FIFTH SIBLING                                     7,588.34       5,054.38
            SIXTH SIBLING                                     7,588.34       5,054.38
          The Commission 1•aS decided that in certifications of loss on claims deter­
       mined pursuant to Title V of the International Claims Settlement Act of
       1949, as amended, interest should be included at the rate of 6% per annum
       from the date of loss to the date of settlment (see Claim of Lisle Corpora­
       tion, Claim No. CU-0644), and in the instant case it is so ordered, as follows:

                                                             From               On
            PLACIDO NAVAS COSTA                          Oct. 14, 1960       $7,588.33
                                                         June 30, 1965        5,054.39
            MERCEDES ARBONA                              Oct. 14, 1960        7,588.33
                                                         June 30, 1965        5,054.39
            DOLORES GAUDIER                              Oct. 14, 1960        7,588.33
                                                         June 30, 1965        5,054.38
            MYLES T. NAVAS                               Oct. 14, 1960        7,588.33
                                                         June 30, 1965        5,054.38
            FIFTH SIBLING                                Oct. 14, 1960        7,588.34
                                                         June 30, 1965        5,054.38
            SIXTH SIBLING                                Oct. 14, 1960        7,588.34
                                                         June 30, 1965        5,054.38

                                  CERTIFICATION OF LOSS

         The Commission certifies that PLACIDO NAVAS COSTA suffered a lbss,
       as a result of actions of the Government of Cuba, within the scope of Title
       V of the International Claims Settlement Act of 1949, as amended, in the
       amount of Twelve Thousand Six Hundred Forty-two Dollars and Seventy-two
       Cents ($12,642.72) with interest thereon at 6% per annum from the re­
       spective dates of loss to the date of settlement;
         The Commission certifies that MERCEDES ARBONA suffered a loss, as
       a result of actions of the Government of Cuba, within the scope of Title V
       of the International Claims Settlement Act of 1949, as amended, in the
       amount of Twelve Thousand Six Hundred Forty-Two Dollars and Seventy­
       two Cents ($12,642.72) with interest thereon at 6% per annum from the
       respective dates of loss to the date of settlement;
         The Commission certifies that DOLORES GAUDIER suffered a loss, as a
       result of actions of the Government of Cuba, within the scope of Title V of
       the International Claims Settlement Act of 1949, as amended, in the amount
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      of Twelve Thousand Six Hundred Forty-two Dollars and Seventy-one Cents
      ($12,642.71) with interest thereon at 6% per annum from the respective
      dates of loss to the date of settlement;
        The Commission certifies that MYLES T. NAVAS suffered a loss, as a
      result of actions of the Government of Cuba, within the scope of Title V
      of the International Claims Settlement Act of 1949, as amended, in the
      amount of Twelve Thousand Six Hundred Forty-two Dollars and Seventy­
      one Cents ($12,642.71) with interest thereon at 6% per annum from the re­
      spective dates of loss to the date of settlement.
        The Commission certifies that A Fifth Sibling suffered a loss, as a result
      of actions of the Government of Cuba, within the scope of Title V of the
      International Claims Settlement Act of 1949, as amended, in the amount of
      Twelve Thousand Six Hundred Forty-two Dollars and Seventy-two Cents
      ($12,642.72) with interest thereon at 6% per annum from the respective
      dates of loss to the date of settlement; and
        The Commission certifies that A Sixth Sibling suffered a loss, as a result
      of actions of the Government of Cuba, within the scope of Title V of the
      International Claims Settlement Act of 1949, as amended, in the amount of
      Twelve Thousand Six Hundred Forty-two Dollars and Seventy-two Cents
      ($12,642.72.) with interest thereon at 6% per annum from the respective
      dates of loss to the date of settlement.
        Dated at Washington, D.C., and entered as the Proposed Decision of
      the Commission January 6, 1971.

          IN THE MATTER OF THE CLAIMS OF EFIM GOLODETZ, ET AL.
           Claim Nos. CU-1816, 1818, 1819 and 1820-Decision No. CU-6763
      The beneficial owner of a claim and not a trustee or nominal holder is the
        real party in interest who must meet the U.S. nationality prerequisites
        of Title V of the Act.

                                        PROPOSED DECISION       *
         These claims against the Government of Cuba were filed under Title V of
      .the International Claims Settlement Act of 1949, as amended, in the
      amended amounts of $12,868.58 (EFIM GOLODETZ, Claim No. CU-1816),
      $192,584.90 (LEO ELIASH, Claim No. CU-1818), $604,379.33 (Interconti­
      nental Affiliates, Claim No. CU-1819), and $887,488.00 (M. GOLODETZ &
       CO., Claim No. CU-1820), are based upon asserted losses of certain personal
      property in Cuba, including stock interests in West Indies Trading Company,
       a Cuban corporation hereafter called Wintrade.
         Under Title V of the International Claims Settlement Act of 1959 [78
       Stat. 1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat. 988
       (1965) ], the Commission is given jurisdiction over claims of nationals of
      the United States against the Government of Cuba. Section 503 (a) of the
      Act provides that the Commission shall receive and determine in accordance
      with applicable substantive law, including international law, the amount and
      validity of claims by nationals of the United States against the Government
       of Cuba arising since January 1, 1959 for
           losses resulting from the nationalization, expropriation, intervention
           or other taking of, or special measures directed against, property in­

        • This decision wa.s entered as the Commission's Final Decision on September 15. 1971.
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            eluding any rights or interests therein owned wholly or partially, di­
            rectly or indirectly at the time by nationals of the United States.
          Section 502 ( 3) of the Act provides :
            The term 'property' means any property, right, or interest including any
            leasehold interest, and debts owed by the Government of Cuba or by
            enterprises which have been nationalized, expropriated, intervened, or
            taken by the Government of Cuba and debts which are a charge on
            property 'which has been nationalized, expropriated, intervened or taken
            by the Government of Cuba.
          Section 504 of the Act provides, as to ownership of claims, that
            (a) A claim shall not be considered under section 503 (a) of this title
            unless the property on which the claim was based was owned wholly or
            partially, directly or indirectly by a national of the United States on
            the date of the loss and if considered shall be considered only to the
            extent the claim has been held by one or more nationals of the United
            States continuously thereafter until the date of filing with the Com­
            mission.
          With respect to the nationality of claimants, the record shows the follow­
        ing:
          EFIM GOLODETZ (Claim No. CU-1816) has been a national of the
        United States since January 28, 1946.
           Claim No. CU-1818 was filed by Trust #1 (claimants' designation) which
        was created as an irrevocable trust pursuant to an agreement of October
        3, 1950 with Simon Golodetz, a copy of which is of record. The agreement
        named four beneficiaries, two of whom were British nationals and two
        American nationals. By indenture of March 7, 1966, the trustees duly trans­
        ferred title to 900 shares of stock in Wintrade to LEO ELIASH, one of the
        beneficiaries, who has been a national of the United States since February
        3, 1943. (See Claim of Namarib Company, Claim No. CU-1817.) Those 900
        shares of stock constitute the sole basis of Claim No. CU-1818. Pursuant
        to paragraph "THIRD" of the trust agreement, that transfer of March 7,
        1966 effectively terminated the trust insofar as the 900 shares of stock are
        concerned. Accordingly, LEO ELIASH has been substituted as claimant in
        place of Trust # 1. This claim presents an issue involving the provisions of
        Section 504 (a) of the Act, which issue is discussed in detail below.
           INTERCONTINENTAL AFFILIATES (Claim No. CU-1819) is a part­
        nership organized under the laws of New York. In addition to LEO ELIASH
        and EFIM GOLODETZ its partners are: JOACHIM GINZBERG, MARC
        L. GINZBERG, OSCAR GOLODETZ, DAVID GINZBERG and ISAAC
        SUDER, nationals of the United States since April 4, 1927, September 9,
        1929, January 28, 1946, April 13, 1934 and August 12, 1924, respectively.
        On the date of loss in 1960, as indicated hereafter, the partners of INTER­
        CONTINENTAL AFFILIATES were LEO ELIASH, JOACHIM GINZ­
        BERG, EFIM GOLODETZ, and Simon Golodetz, the last named person hav­
        ing been a national of the United States from June 19, 1944 until his death
        on October 19, 1963.
           In 1963, MARC L. GINZBERG, OSCAR GOLODETZ, DAVID GINZ­
        BERG and ISAAC SUDER were admitted as new partners of INTERCON­
        TINENTAL AFFILIATES. The estate of Simon Golodetz, deceased, was
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      reimbursed by the partnership for the deceased's interest in the partner­
      ship. Simon Golodetz's sole heirs were his nephews, Oscar Golodetz and
      Arnold Golodetz, the sons of EFIM GOLODETZ, and nationals of the United
      States since January 28, 1946. The transfers of interests in the partnership
      and ownership of interests in the 2,820 shares of stock in Wintrade, the sole
      basis of Claim No. CU-1819, were at all pertinent times among nationals
      of the United States. The Commission holds that INTERCONTINENTAL
      AFFILIATES is a national of the United States within the meaning of
      Title V of the Act. (See Claim of The Cuban Plantation Company, Claim
      No. CU-0093.)
        The status of the partnership, M. GOLODETZ & CO. (Claim No. CU­
      1820), is discussed hereafter.
        Claimants assert the following losses:
                      Claim No. CU-1816-EFIM GOLODETZ
          60 shares of stock in Wintrade --------------------       $12,868.58

                         Claim No. CU-1818-LEO ELIASH
          900 shares of stock in Wintrade -------------------- $192,584.90

             Claim No. CU-1819-INTERCONTINENTAL AFFILIATES
          2,820 shares of stock in Wintrade ------------------ $604,379.33

        The above three claimants have computed their claims on the basis of
      one asset of Wintrade, certain raw sugar as follows:

          377,943 bags of sugar (250 lbs. each bag) at $0.0325
            per pound ------------------------------------­ $3,070,787.00
          Less a bank loan for which the sugar was security __ _ 2,183,299.00
              Net equity ---------------------------------- $ 887,488.00

        These claimants then determined the amounts of their claims on the basis
      of their proportionate interests in Wintrade which had 4,140 shares of out­
      standing capital stock on the date of loss. The fourth claimant, M. GOLO­
      DETZ & CO., bases its claim on the asserted ownership of the 377,943 bags
      of sugar, and therefore claims the total equity therein, $887,488.00.

                              OWNERSHIP OF THE SUGAR

        The first issue presented by these claims is whether the 377,943 bags of
      sugar were owned by Wintrade or by M. GOLODETZ & CO. Obviously, if
      Wintrade owned the sugar on the date of loss, it follows that the Claim of
      M. GOLODETZ & CO. must be denied and if the reverse is true, the other
      three claims must be denied. Counsel for claimants agrees with the fore­
      going but offers no assistance in resolving the issue beyond stating that
      the claimants will abide by any decision of the Commission in this respect.
      However, it is noted that the record contains correspondence from counsel
      and claimants from which it is clear that Wintrade was at all times re­
      garded as the owner of the sugar.
        This issue can be better understood in the light of certain background in­
      formation. Customarily Wintrade would purchase sugar from various mills
      in Cuba. The sugar would be stored in warehouses and would be pledged as
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        security for loans obtained generally from the Chase Manhattan Bank,
        Cuban Branch. The amounts thus borrowed by Wintrade would be used to
        pay for the sugar. Subsequently the sugar would be sold to M. GOLODETZ
        & CO. After delivery of the sugar toM. GOLODETZ & CO. payment would
        be made to Wintrade which, in turn, would pay the creditor bank and
        liquidate its debt.
           In the instant case, Wintrade acquired title to 377,943 bags of sugar in
        Cuba. As stated by counsel in his letter of May 11, 1971, Wintrade borrowed
        $2,350,000.00 on April 6, 1960 from Chase Manhattan Bank, Cuban Branch,
        and pledged the sugar as security for the loan. It appears from JOACHIM
        GINZBERG's affidavit of November 24, 1965, that early in 1960 Cuba com­
        menced interfering with Wintrade's sugar operations. As a result, Wintrade
        was unable either to sell the sugar to M. GOLODETZ & CO. or otherwise
        dispose of it.
           On September 17, 1960, the Government of Cuba nationalized the Cuban
        Branch of the Chase Manhattan Bank by the issuance of Resolution No. 2
        pursuant to Law 851. The record shows that on October 14, 1960 Wintrade
        was required by Cuban authorities and actually did pay $2,350,000.00 to the
        National Bank of Cuba, an agency of the Government of Cuba, to liquidate
        the loan of April 6, 1960, from the Chase Manhattan Bank. On the same
        date, October 14, 1960, Wintrade secured a loan from the National Bank of
        Cuba in the amount of $2.,183,299.25 and pledged the 377,943 bags of sugar
        as security.
           The record includes an unsigned copy of a loan and pledge agreement
        to that effect. The agreement with the National Bank of Cuba, which was
        actually executed and contained identical provisions as in the proposed agree­
        ments, is not available. However, the record contains a copy of a letter of
        January 17, 1962 from the National Bank of Cuba to Wintrade advising it
        of the following: As of January 11, 1962 the balance of the October 14, 1960
        loan secured by the sugar was reduced to $349,731.00; and on January 12,
        1962 the Cuban Ministry of Industry Consolidated Sugar Enterprise paid
        that balance to the National Bank of Cuba as final liquidation of the loan.
           Upon consideration of the entire record, the Commission finds that the
        377,943 bags of sugar belonged to Wintrade on the date of loss, and that
        M. GOLODETZ & CO. had no interest therein. Accordingly, the claim of M.
        GOLODETZ & CO., Claim No. CU-1820, based upon the asserted ownership
         and loss of the 377,943 bags of sugar is denied in its entirety.

                                      NATIONALizATION

          As already noted, Cuba commenced interfering with Wintrade's sugar
        operations early in 1960. On October 14, 1960 the Cuban Government com­
        pelled Wintrade to liquidate its debt to Chase Manhattan Bank and to secure
        a loan from the National Bank of Cuba, pledging the sugar as security. From
        that date until 1962, Cuba sold the sugar. The said letter of January 17, 1962,
        from the National Bank of Cuba, indicates not only that the debt secured by
        the sugar had been reduced to $349,731.00, but also that only 77,718 bags of
        sugar remained as security for that reduced balance of the loan. It is clear
        that the rest of the original 377,943 bags of sugar had been sold by Cuba,
        and by January 12, 1962 all of the sugar had been sold. Claimants state that
        Cuba took the sugar between October 14, 1960 and January 12, 1962.
           On the basis of the entire record and in the absence of evidence to the
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      contrary, the Commission finds that Wintrade's 377,943 bags of sugar were
      taken by the Government of Cuba on October 14, 1960.
        Since Wintrade was organized under the laws of Cuba, it does not qualify
      as a corporate "national of the United States" defined under Section
      502(1) (B) of the Act as a corporation or other legal entity organized under
      the laws of the United States, or any State, the District of Columbia, or the
      Commonwealth of Puerto Rico, whose ownership is vested to the extent of
      50 per centum or more in natural persons who are citizens of the United
      States. In this type of situation it has been held than an American stock­
      holder is entitled to file a claim for the value of his ownership interest. (See
      Claim of Parke, Davis & Company, Claim No. CU-0180, 1967 FCSC Ann.
      Rep. 33.)

                             STOCK INTERESTS IN WINTRADE

        The evidence establishes and the Commission finds that Claimants owned
      the following stock interests in Wintrade:
          EFIM GOLODETZ (Claim No. CU-1816)-60 shares of stock at
             all pertinent times.
          LEO ELIASH (Claim No. CU-1818)-900 shares of stock since
             March 7, 1966.
           INTERCONTINENTAL AFFILIATES (Claim No. CU-1819)­
             2,820 shares of stock at all pertinent times.
         It appears from the record that all stock certificates remained in Cuba and
      are unavailable.
         As quoted above, the express provisions of Section 504 (a) of the Act
      limits the allowance of any claim against Cuba to the extent only that the
      claim has been owned by a national or nationals of the United States from
      the date it arose until the date of filing with the Commission.
         The foregoing provisions of Section 504(a) of the Act present an issue
      with respect to Claim No. CU-1818, Claim of LEO ELIASH.
         Pursuant to an agreement of October 3, 1950, an irrevocable trust was
      created by the late Simon Golodetz. Insofar as Claim No. CU-1818 is con­
      cerned, the trust res consisted of 900 shares of stock in Wintrade. Four bene­
      ficiaries were named by the grantor, two of whom being American nationals
      and two being British nationals.
         Paragraph "THIRD" of the agreement conferred upon the Trustees
      authority to pay the net profit and income from the trust property "for the
      benefit of such of the Beneficiaries and in such proportions as the Trustees
      in their absolute discretion shall determine, in at least annual installments."
      The trust was to terminate on the death of the survivor of DAVID GINZ­
      BERG and OSCAR GOLODETZ. However, if all of the beneficiaries pre­
      deceased said survivor, the trust was to terminate, and the balance of all
      income and principal was to be paid "in equal shares per stirpes to the
      issue of the Beneficiaries named herein surviving the Survivor."
         On the other hand, if the survivor predeceased any surviving beneficiary,
      the trust was to terminate and the balance of all income and principal was to
      be paid by the Trustees "to and among such of the Beneficiaries and in such
      proportions as the Trustees in their absolute discretion shall duly nominate,
      direct and appoint by deed." The agreement further provided that if the
      Trustees failed to make such payment within 120 days after the death of
      the survivor, the Trustees were to pay the balance "in equal shares per
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        stirpes to such of the Beneficiaries as shall survive the Survivor and to the
        issue surviving the Survivor of such of the Beneficiaries as shall not survive
        the Survivor."
           The Trustees were further authorized "to pay to or use and apply for the
        benefit of any Beneficiary such portion or portions of the principal as the
        Trustees in their absolute discretion may deem proper." Upon doing so, the
        trust was to terminate pro tanto, but was to apply only to the remaining
        principal and income. Provision was also made for the replacement of any
        Trustee due to death, resignation or incapacity.
           The record shows that no part of the trust principal (900 shares of stock
        in Wintrade) was ever distributed prior to March 7, 1966 when all of the
        900 shares were duly transferred to LEO ELIASH, a national of the United
        States. The question thus presented is the identity of the owner or owners of
        the 900 shares of stock from October 14, 1960, the date of loss, to March 7,
        1966, so that it is clear whether the 900 shares of stock or any part thereof
        were owned by nationals of the United States at all pertinent times in con­
        formity with the prerequisites of Section 504(a) of the Act.
           This issue was discussed with counsel for claimants who contended that
        the trust property at all times was owned by nationals of the United States.
        Accordingly, the Commission suggested the submission of evidence in support
        of counsel's contention. Counsel's response was in the form of a detailed
        Jetter of May 11, 1971.
           Counsel proceeds with his argument by reciting that the Trustees-EFIM
        GOLODETZ, JOACHIM GINZBERG and Alexander Golodetz-have been
        United States nationals at all pertinent times. He states that pursuant to the
        trust agreement the Trustees had "absolute and unfettered discretion" to
        distribute the income and the corpus to any one or more of the four bene­
        ficiaries. Counsel adds that the only beneficiary to whom the income was ever
        distributed is LEO ELIASH, an American, and that as of March 7, 1966
        LEO ELIASH became the owner of the 900 shares of stock in Wintrade.
           Based upon the foregoing, counsel contends that the two British bene­
        ficiaries never owned either a legal or equitable interest in the 900 shares of
        stock at any time. In effect, counsel contends that from October 14, 1960 until
        March 7, 1966 the 900 shares were owned by the Trustees.
           In support of his contentions, counsel states that paragraph "Tenth" of the
        trust provides that the trust shall be construed according to the Jaw of New
        York and cites a New York case as controlling in resolving the issue, namely,
        Hamilton v, Drogo, 241 N.Y. 401,404, 150 N.E. 496 (1926).
           According to counsel, the trust involved in that New York case conferred
        upon the trustees absolute discretion to pay income from the trust to any
        one of several named beneficiaries to the exclusion of any other. The case
        thus involved the question "whether the Court could interfer with the
        trustees' discretion and compel them to allot income to a 'beneficiary' to whom
        they had decided not to make such an allotment." Counsel states that the
        court held unequivocally that the decision of the trustees was final and could
        not be changed by the courts. Counsel construes the decision to mean that
        the "beneficiary" in question had no legal or equitable interest in the income
        unless and until the trustees made an allotment to him.
           On the basis of that decision, counsel contends that the 900 shares of stock
        in Wintrade were owned by nationals of the United States at all pertinent
        times. He states that the Trustees herein in their discretion had alloted
        income from the trust only to LEO ELIASH, an American, and that prior
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      to the date of filing with the Commission the Trustees had distributed the
      900 shares to LEO ELIASH. Accordingly, counsel concludes that the two
      British beneficiaries never owned any legal or equitable interest in the shares
      of stock. He therefore urges the Commission to find that the 900 shares were
      at all pertinent times owned by nationals of the United States.
         Upon consideration of the entire record, the Commission is constrained to
      reject counsel's contentions. The Commission finds that the Hamilton v.
      Drago case stands for the proposition that a court may not substitute its
      discretion for that of trustees in whom absolute discretion is vested; nor may
      the court compel such trustees to exercise their discretion in a certain man­
      ner. However, that case does not support counsel's contention that the two
      British beneficiaries had no legal or equitable interest in the 900 shares of
      stock.
        As noted above, the agreement of October 3, 1950 provided that the
      Trustees in their sole discretion could distribute the income and corpus to
      any one or more of the beneficiaries. There is nothing in that agreement to
      authorize the Trustees to distribute any part of the income or the corpus to
      themselves under any conditions. It is therefore clear beyond peradventure
      of doubt that none of the Trustees owned any interest, legal or equitable, in
      any income or principal of the trust property, and the Commission so finds.
      The Trustees merely held the bare legal title to the 900 shares of stock, and
      their sole interest therein was to distribute the income and the principal of
      the trust property :to one or more of the beneficiaries pursuant to the
      provisions of the agreement.
         The Commission notes the statements of claimants and counsel that the
      only person to whom income from the trust was ever allotted is LEO
      ELIASH. The record in Claim No. CU-1818 includes copies of accounting
      reports concerning the trust for the fiscal period October 1, 1959 to Sep­
      tember 30, 1960.
         However, and in any event, the status of the income from the trust has
      no bearing on ownership of the corpus of the trust. The Commission has held
      consistently that the beneficial owner of the claim, and not the ostensible or
      nominal holder, is the proper party claimant in a proceeding under the
      International Claims Settlement Act of 1949, as amended. (See the Claim of
      Florida National Bank and Trust Co. at Miami, Adm. c.t.a. of the Estate of
      Francisco Hidalgo Gato, Deceased. Claim No. CU-0587; and see also Settle­
      ment of Claims by FCSC 45 (September 14, 1949 to March 31, 1955); FCSC
      Dec. & Ann. 312, 389, 589-593 (1968) .)
         Upon full consideration of this matter, the Commission finds that on
      October 14, 1960, the date of loss, and from that date until March 7, 1966,
      the equitable interest in the 900 shares of stock in Wintrade was owned by
      the beneficiaries in equal shares. Since there were four beneficiaries, includ­
      ing two British nationals-Michael Golodetz and Lionel Golodetz-the Com­
      mission finds that a 50% interest in the trust property was beneficially owned
      by nonnationals of the United States.
         Accordingly, the Commission finds that 450 of the 900 shares of stock in
      Wintrade, upon which LEO ELIASH's claim is based, were beneficially
      owned by nonnationals of the United States on October 14, 1960, the date of
      loss. Pursuant to the express provisions of Section 504(a) of the Act, the
      portion of LEO ELIASH's claim based upon said 450 shares of stock in
      Wintrade cannot be considered. Therefore, this portion of his claim is denied.
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       (See Claim of Sigridur Einarsdottir, Claim No. CU-0728, 25 FCSC Semiann.
       Rep. 45 [July-Dec. 1966].)

                                        VALUATION

          The Act provides in Section 503 (a) that in making determinations with
       respect to the validity and amount of claims and value of properties, rights,
       or interests taken, the Commission shall take into account the basis of
       valuation most appropriate to the property and equitable to the claimant,
       including but not limited to fair market value, book value, going concern
       value, or cost of replacement.
          The question, in all cases, will be to determine the basis of a valuation
       which, under the particular circumstances, is "most appropriate to the
       property and equitable to the claimant". This phraseology does not differ
       from the international legal standard that would normally prevail in the
       evaluation of nationalized property. It is designed to strengthen that stan­
       dard by giving specific bases of valuation that the Commission shall consider.
          It is noted that no claim is being made for any other asset of Wintrade,
       except the 377,943 bags of sugar. Counsel's memorandum accompanying his
       letter of May 12, 1971, and statements from the claimants, indicate that
       Wintrade owned other assets in Cuba. It appears, however, that claimants
       have no evidence to establish either the precise nature of such property or
       its value, and therefore have made no claim for such other assets of Win­
       trade. The record shows that Wintrade owned certain assets in the United
       States, which could not have been taken by the Government of Cuba. In con­
       nection with such assets, the record indicates that application was made by
       claimants to the Foreign Assets Control, United States Treasury Depart­
       ment, to unblock such assets which was granted in part.
          It further appears from the evidence of record that Wintrade owned a
       100% stock interest in Atlantic Warehouse & Transportation Co., a Cuban
       corporation; and that INTERCONTINENTAL AFFILIATES (Claim No.
       CU-1819) owned a 100% stock interest in West Indies Commercial Co., S.A.,
       also a Cuban corporation, both of which corporations were assertedly taken
       by the Government of Cuba. However, no claims are being made for these
       stock interests due to the lack of evidence.
          Accordingly, the only asset of Wintrade to be considered in reaching its
       net worth is the sugar.
          The record shows that each of the 377,943 bags of sugar contained 250
       pounds. The evidence also establishes that the Cuban authorities had fixed
       the price of sugar intended for foreign consumption at $0.0325 per pound
       which is the amount being claimed.
          On the basis of the evidence of record, the Commission finds that each
       bag of sugar had a value of $8.125 and that the aggregate value of the
       377,943 bags on October 14, 1960 was $3,070,786.88. However, as already
       indicated, Wintrade owed a debt of $2,183,299.25 in connection with the
       sugar. Therefore, Wintrade's equity in the sugar amounted to $887,487.63.
       Since Wintrade had 4,140 shares of outstanding capital stock on the date
       of loss, each share had a value of $214.369. Accordingly, claimants sustained
       the following losses:
             EFIM GOLODETZ-Claim No. CU-1816
             60 shares -------------------------------------------$12,862.14
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           LEO ELIASH-Claim No. CU-1818
           450 shares ------------------------------------------$96,466.05

           INTERCONTINENTAL AFFILIATES-Claim No. CU-1819
           2,820 shares ----------------------------------------$604,520.58

         The Commission has decided that in certification of losses on claims deter­
      mined pursuant to Title V of the International Claims Settlement Act of
      1949, as amended, interest should be included at the rate of 6% per annum
      from the date of loss to the date of settlement (see Claim of Lisle Corpora­
      tion, Claim No. CU-0644), and in the instant case, it is so ordered.

                                     CERTIFICATION OF LOSS

         The Commission certifies that EFIM GOLODETZ suffered a loss, as a re­
      sult of actions of the Government of Cuba, within the scope of Title V of the
      International Claims Settlement Act of 1949, as amended, in the amount of
      Twelve Thousand Eight Hundred Sixty-two Dollars and Fourteen Cents
      ($12,862.14) with interest thereon at 6% per annum from October 14, 1960
      to the date of settlement.
         The Commission certifies that LEO ELIASH suffered a loss, as a result of
      actions of the Government of Cuba, within the scope of Title V of the Inter­
      national Claims Settlement Act of 1949, as amended, in the amount of
      Ninety-six Thousand Four Hundred Sixty-six Dollars and Five Cents
       ($96,466.05) with interest thereon at 6% per annum from October 14, 1960
      to the date of settlement; and
         The Commission, certifies that LEO ELIASH, JOACHIM GINZBERG,
      EFIM GOLODETZ, MARC L. GINZBERG, OSCAR GINZBERG, DAVID
      GINZBERG, and ISAAC SUDER d.b.a. INTERCONTINENTAL AFFIL­
      IATES suffered a loss, as a result of actions of the Government of Cuba,
      within the scope of Title V of the International Claims Settlement Act of
      1949, as amended, in the amount of Six Hundred Four Thousand Five
      Hundred Twenty Dollars and Fifty-eight Cents ($604,520.58) with interest
      thereon at 6% per annum from October 14, 1960 to the date of settlement.
         Dated at Washington, D.C., and entered as the Proposed Decision of the
      Commission August 11, 1971.

         IN THE MATTER OF THE CLAIM OF INTERNATIONAL TELEPHONE
        AND TELEGRAPH CORPORATION, INDIVIDUALLY AND AS TRUSTEE
                         Claim No. CU-2615-Decision No. CU-5013
       Losses sustained by a United States corporation which became defunct afte?'
         the loss, may be certified to a majority stockholder as trustee for the benefit
         of non-claimant stockholders and creditors.

                                       PROPOSED DECISION*

         This claim against the Government of Cuba, under Title V of the Inter­
       national Claims Settlement Act of 1949, as amended, in the amount of
       $61,089,234.00, was presented by INTERNATIONAL TELEPHONE AND
       TELEGRAPH CORPORATION, based upon asserted losses resulting from
       the nationalization of the Cuban Telephone Company and properties of its
        • This decision was entered as the Commission's Final Decision on July 27, 1970.
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        subsidiaries as well as debts of nationalized enterprises. Subsequently sep­
        arate claims were opened for five United States subsidiaries of the INTER­
        NATIONAL TELEPHONE AND TELEGRAPH CORPORATION for their
        losses which originally had been included in this claim. The remainder now
        represented by this claim amounts to $57,306,561.00.
           Under Title V of the International Claims Settlement Act of 1949 [78 Stat.
        1110 (1964), 22 U.S.C. §§1643-1643k (1964), as amended, 79 Stat. 988
        (1965)], the Commission is given jurisdiction over claims of nationals of
        the United States against the Government of Cuba. Section 503 (a) of the
        Act provides that the Commission shall receive and determine in accordance
        with applicable substantive law, including international law, the amount and
        validity of claims by nationals of the United States against the Government
        of Cuba arising since January 1, 1959 for
            losses resulting from the nationalization, expropriation, intervention or
            other taking of, or special measures directed against, property including
            any rights or interests therein owned wholly or partially, directly or
            indirectly at the time by nationals of the United States.
          Section 502 ( 3) of the Act provides:
            The term 'property' means any property, right, or interest including any
            leasehold interest, and debts owed by the Government of Cuba or by
            enterprises which have been nationalized, expropriated, intervened, or
            taken by the Government of Cuba and debts which are a charge on prop­
            erty which has been nationalized, expropriated, intervened, or taken by
            the Government of Cuba.
           Section 502(1) (B) of the Act defines the term "national of the United
        States" as a corporation or other legal entity which is organized under the
        laws of the United States, or of any State, the District of Columbia, or the
        Commonwealth of Puerto Rico, if natural persons who are citizens of the
        United States own, directly or indirectly, 50 per centum or more of the out­
        standing capital stock or other beneficial interest of such corporation or
        entity.
          The record shows that INTERNATIONAL TELEPHONE AND TELE­
        GRAPH CORPORATION, hereafter referred to as ITT, was organized
        under the laws of the State of Maryland. An officer of claimant corporation
        has certified that at all pertinent times more than 50% of claimant's out­
        standing capital stock was owned by nationals of the United States and on
        August 6, 1970, 7.319% of the shares of ITT stock outstanding was held by
        or for the account of aliens. The Commission holds that claimant is a national
        of the United States within the meaning of Section 502(1) (B) of the Act.
          The claim as originally filed was for $61,089,234.00 as follows:
            Nationalization of Cuban Telephone Company
            (hereinafter called "Cutelco")                     $53,309,525.00
            Nationalization of Equipos Telefonicos
            Standard de Cuba                                     1,042,000.00
            Expropriation of Havana and Santiago Properties of
            All American Cables & Radio, Inc.                      254,235.00
            Loss of Obligations Owed to ITT and Subsidiaries     6,475,960.00
            Loss of Cuban Patents                                    7,514,00
                                                                   $61,089,234.00
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          Inasmuch as Section 505(a) of the Act provides, inter alia, that a claim
       under Section 503 (a) of the Act based upon an ownership interest in a cor­
       poration which is a national of the United States shall not be considered, five
       of the ITT subsidiaries which are nationals of the United States subsequently
       filed separate claims for their losses, Claim Nos. CU-8290 through CU-8294.
       Consequently, this claim is for the following losses:
           A. Nationalization of Cutelco                             $53,309,525.00
           B. Obligations owed by Cutelco                              3,34 7 ,022..00
           C. Obligations owed to the Kellogg
              Division of ITT by Equipos                                 642,500.00
           D. Loss of Patent Rights                                        7,514.00
                                                      Total         $57,306,561.00

                               NATIONALIZATION OF CUTELCO

          Claimant, which as above noted is a United States corporation, owned on
       August 6, 1960, the date of its nationalization, 258,685 shares of the common
       stock out of 482,805 shares of the total outstanding capital stock of Cutelco.
       Claimant's asserted losses in this connection now total somewhat less than
       the above figure computed by the Commission of $57,306,561.00, i.e.,
       $56,656,547.00.
          The record establishes that Cuban Telephone Company (Cutelco) was or­
       ganized under the laws of the State of Delaware in 1908 and that it is no
       longer in good standing, having been declared inoperative and void by the
       Secretary of State for the State of Delaware. Accordingly, the Commission
       holds that claimant may file a claim based upon its ownership interest in the
       enterprise.
          Evidence presented to the Commission reveals that Cutelco was granted a
       concession to establish a telephone system in Cuba which concession was later
       incorporated into a contract between Cutelco and the Cuban Government for
       providing telephone service throughout the Republic of Cuba. On March 14,
       1957 a new concession agreement was entered into which required a large
       expansion of telephone facilities and an increased investment of nearly $66,
       000,000.00. By March 1, 1959 Cutelco had 171,434 telephones installed and
       operating with 4,929 employees and $17,298,000.00 worth of construction
       work in progress and materials on hand. Telephone service was conducted
       from 162 central offices interconnected by a distribution system having ap­
       proximately 326,463 miles of wire in underground cable, 159,109 miles in
       aerial cable, 31,900 miles of open wire and 3,795 miles of pole lines.
          On August 6, 1960, the Government of Cuba announced its Resolution No.
       1, pursuant to Law 851 of July 6, 1960, which listed as nationalized the Cuban
       Telephone Company and its affiliated enterprises. Accordingly, the Commis­
       sion finds that its property in Cuba was nationalized on August 6, 1960 by the
       Government of Cuba.
          The Act provides in Section 503 (a) that in making determinations with
       respect to the validity and amount of claims and value of properties, rights
       or interests taken, the Comission shall take into account the basis of valuation
       most appropriate to the property and equitable to the claimant, including but
       not limited to fair market value, book value, going concern value or cost of
       placement.
          The question, in all cases, will be to determine the basis of valuation which,
       under the particular circumstances, is "most appropriate to the property and
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       equitable to the claimant." This phraseology does not differ from the inter­
       national legal standard that would normally prevail in the evaluation of
       nationalized property. It is designed to strengthen that standard by giving
       specific bases of valuation that the Commission shall consider.
         Evidence available to the Commission includes an appraisal of the tangible
       property of Cutelco, balance sheets as of December 31, 1957, 1958 and 1959,
       and a balance sheet as of May 31, 1960 using adjusted values for assets on
       the basis of the appraisal.
         The appraisal gives the following values for Cutelco's tangible assets as of
       May 31, 1960:
                         Property                          Replacement Cost
                Land and Land Improvements                  $ 3,327,227.00
                Buildings                                       9,532,547.00
                Central Office Equipment                      49,607,446.00.
                Station Telephone Apparatus                     7,886,615.00
                Station Installation                            6,171,542.00.
                Special Station Equipment                         394,886.00
                Private Branch Exchanges                        3,983,128.00
                Booths and Special Fittings                       121,683.00
                Exchange Pole Lines                             4,623,501.00
                Exchange Aerial Cable                           8,406,356.00
                Exchange Aerial Wire                            1,125,007.00
                Exchange Conduit                               10,070,888.00
                Exchange Underground Cable                    17,924,710.00
                Exchange Submarine Cable                            3,932.00
                Exchange Right of Way                             137,402.00
                Toll Pole Lines                               13,201,854.00
                Toll Aerial Cable                                 118,207.00
                Toll Aerial Wire                                9,451,958.00
                Toll Conduit                                      301,982.00
                Toll Underground Cable                          1,005,482.00
                Toll Submarine Cable                               22,125.00
                Toll Right of Way                                 457,395.00
                Furniture & Office Equipment                    1,150,373.00
                Shop Equipment                                     46,02-7.00
                Storeroom Equipment                                65,802.00
                Transportation Equipment                          994,717.00
                General Tools                                     663,275.00
                Construction Work in Progress                   8,010,097.00
                        Total Plant                         $158,716,164.00
                Depreciation to be deducted                       34,347,466.00
                Total Replacement Cost Less Depreciation    $124,368,698.00
          The May 31, 1960 balance sheet, including the appraised valuations and
        certain other adjustments explained below, is as follows:
                                         ASSETS
        Plant, Property & Equipment             $158,716,164.00
          Reserve for Depreciation                34,347,467.00         $124,368,697.00
        Construction Materials                                             2,214,185.00
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       Current Assets
        Cash                                   $     230,580.00
        Accounts Receivable                        3,346,747.00
        Material & Supplies                        3,051,201.00           6,628,528.00
       Receivables from Cuban Federal,
         Provincial and Municipal
         Governments                                                      1,117,026.00
       Deferred Charges                                                   1,095,938.00
                                Total                                $135,424,374.00

                           CAPITAL AND LIABILITIES
       Preferred Stock-6% cuml. par value $100
         Issued and outstanding-87,805 shares                        $    8,780,500.00
       Common Stock-par value $100 per share
         Issued and outstanding-395,000 shares                           39,500,000.00
       Earned Surplus                                                     2,293,274.00
       Appraisal Surplus                                                 31,284,099.00
                                                                     $ 81,857,873.00
       Long   Term Debt
         4%   Debentures, Series A, due 1965                         $  6,000,000.00
         4%   Debentures, Series B, due 1973                            9,000,000.00
         6%   Notes                                                    17,058,200.00
                                                                     $ 32,058,200.00
       Current Liabilities
        6% Notes                                                     $    8,836,700.00
        Notes Payable                                                     4,225,100.00
        Accounts and Wages Payable                                        1,411,187.00
        Accrued Taxes, interest, unpaid
           dividends on preferred stock                                   3,331,559.00
        Amounts owing to ITT and subsidiaries                             3,215,198.00
       Advance Billings                                                    488,557.00
                                                       Total         $135,424,37 4.00

         The Commission finds that the valuation most appropriate to the property
       and equitable to the claimant is that shown in Cutelco's May 31, 1960 balance
       sheet, subject to the adjustments noted below. This claimant, in listing cer­
       tain of its current assets and current liabilities, had converted pesos into
       dollars at the rate of 3:1. The Commission, however, has consistently held
       that the peso was on a par with the dollar on January 1, 1959, when the
       Castro regime came into power, and this conversion factor has been retained
       throughout the Cuban claims program, irrespective of day-to-day currency
       fluctuations. Consequently, appropriate adjustments have been made in the
       dollar amounts set forth above for "Current Assets" and "Current Liabili­
       ties" and an offsetting entry called "Revaluation Surplus $8,323,643.00" has
       been deleted. On that basis, the net worth of Cutelco on August 6, 1960 is
       determined to have been $81,857,873.00.
          In addition, to arrive at a proper value for the common stock it is neces­
       sary to deduct the fair value of the outstanding preferred stock which the
       Commission finds had a value of $9,175,622.50, consisting of the par value
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       plus $395,122.50 for unpaid dividends. Thus, the loss sustained by the com­
       mon stockholders for their equity in the net worth amounted to $72,682,250.50
       and the loss per share for each of the 395,000 shares of common stock out­
       standing on August 6, 1960 was $184.0057.
          The Commission concludes that claimant, as a holder of 258,685 shares of
       common stock of Cutelco, sustained a loss as a result of the taking of the
       assets of that Company by the Government of Cuba on August 6, 1960 in the
       amount of $47,599,514.50 with1 the meaning of Title V of the Act.

                                 DEBTS OWED BY CUTELCO
          Claimant asserts a claim herein also for the amount of $3,347,022.00 for
       obligations owed it by Cutelco.
          The statute precludes the assertion of unsecured claims against a United
       States corporation. However, Cutelco, being defunct, is no longer in that
       category. It would obviously be inequitable to deprive creditors of their
       remedy where the debtor is a corporation organized in the United States but
       is no longer in existence. Inasmuch as Cutelco's assets have been nationalized
       and are being used by the Government of Cuba, creditors should be entitled
       to file claims herein and the Commission so holds.
         The obligations claimed are as follows:
             Billed Receivables                                     $ 583,077.00
             Amounts Due, Unbilled                                    640,498.00
             Underbilling due to clerical errors                      234,545.00
             Engineering Charges Unbilled                              69,316.00
             Obsolete & Excess Inventory Scrapped
               Existing orders                       $ 69,686.00
               Inventories stocked                    610,000.00
               Canceled orders for Parts              112,067.00      791,753.00
             1959 Management Service Contract                         900,000.00
             Payment of Salaries, Expenses, etc.
               for Cutelco Employees                                  102,833.00
             Compensation to Former Cutelco
               Employees for Loss of Personal Effects                  25,000.00
                                                     Total         $3,347,022.00
         Claimant has submitted copies of its accounting records, inter-office memo­
       randa and copies of agreements with Cutelco regarding management services.
       On the basis of the evidence of record, the Commission holds that claimant
       sustained a loss in the amount of $2,427,436.00 for debts owed by Cutelco on
       August 6, 1960 for materials, engineering charges and management services
       as a result of the nationalization of the assets of Cutelco.
         A finding of loss for the obsolete and excess inventory as a result of the
       nationalization of Cutelco's assets is not warranted by evidence of record.
       A portion of the inventory resulted from the cancellation of a contract by
       Cutelco because of nondelivery of the contracted items due to a strike at the
       factory; some inventory was added because of expected orders from the com­
       pany in Cuba; and an indeterminate amount was sold as scrap by claimant.
       Accordingly, this portion of the claim is denied.
         Claimant also asserts the loss of a total amount of $127,833.00 for payment
       of salaries, expenses and compensation for personal losses of Cutelco em­
       ployees. No documentation has been submitted of the nationality or assign­
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       ment of claim of the Cutelco employees to whom compensation was assertedly
       made. Therefore, this part of the claim must also be denied.
         The Commission concludes that claimant sustained an additional loss in
       the amount of $2,427,436.00 for debts owed as a result of the nationalization
       of the assets of Cutelco on August 6, 1960 within the meaning of Title V of
       the Act.

                   DEBTS OF EQUIPOS TELEFONICOS STANDARD DE CUBA

         A portion of the claim in the amount of $624,500.00 is based upon certain
       debts owed to the Kellogg Division of claimant for electrical equipment
       shipped and services rendered to Equipos Telefonicos Standard de Cuba, a
       Cuban enterprise in Havana, Cuba. The record shows that Equipos Tele­
       fonicos Standard de Cuba was nationalized by the Government of Cuba on
       August 6, 1960 by Resolution 1, pursuant to Law 851 of July 6, 1960.
         The record contains a balance sheet of Equipos as of December 31, 1960,
       copies of the accounting records of the Kellogg Division of ITT, and affi­
       davits of officials of ITT which reflect a debt owed to claimant by Equipos on
       August 6, 1960 of $642,499.38 for electrical equipment and. engineering
       services.
          Based upon all the evidence of record, the Commission finds that ITT sus­
       tained a loss in the amount of $642,499.38 within the meaning of Title V of
       the Act as a result of the nationalization of Equipos Telefonicos Standard de
       Cuba by the Government of Cuba on August 6, 1960.

                                         PATENTS

         Claim is also asserted for the loss of 34 patents valued at $7,514.00. The
       record contains an affidavit by the Director of Licensing of ITT stating that
       there were 34 patents active in Cuba relating to telephone switching appa­
       ratus and equipment which cost an average of $221.00 each for filing and
       other expenses. Claimant contends that the right to exploit these patents in
       Cuba through its subsidiaries has been lost through the actions of the Cuban
       Government in its nationalization of the Cuban Telephone Company and its
       associated companies on August 6, 1960. It has submitted no evidence, how­
       ever, concerning the value of the said patents, or the right to exploit the
       same, and has confined its claim solely to its filing costs.
         The Commission finds that ITT sustained a loss in the amount of $7,514.00,
       the fair value of the above-mentioned patents, within the meaning of Title V
       of the. International Claims Settlement Act of 1949, as amended, as a result
       of the said nationalization on August 6, 1960.

                          CERTIFICATION FOR UNCLAIMED ASSETS

          As previously set forth, the total assets of Cutelco amounted to $135,424,
       374.00 at the time they were nationalized by the Cuban Government. From
       the record, it is determined that claims, other than the instant claim, have
       been filed which involve the interests of other creditors, preferred stock­
       holders and common stockholders in the amount of $5,394,629.36. This amount
       with the total amount herein certified as lost by ITT through the nationaliza­
       tion of Cutelco's assets totals $55,421,579.86, leaving a balance of the assets
       not claimed before this Commission in the amount of $80,002.,794.14.
          Accordingly, a certification of loss in the amount of $80,002,794.14 is made
       to ITT, in trust for the benefit of non-claimant shareholders and creditors of
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       Cutelco. The distribution of such a trust is to be made in accordance with
       the laws of the State of Delaware and Title V of the International Claims
       Settlement Act of 1949, as amended, preference to be given to creditors,
       preferred stockholders and common stockholders in that order, and the
       qualifications as to nationality to be observed. The distribution is to be made
       on the same pro rata basis as employed in determining any payment made to
       successful claimants against the Government of Cuba.

                                               INTEREST

           The Commission has decided that in certification of losses on claims deter­
        mined pursuant to Title V of the International Claims Settlement Act of
        1949, as amended, interest should be included at the rate of 6% per annum
        from the date of loss to the date of settlement (see Claim of Lisle Corpora­
        tion, Claim No. CU-0644), and in the instant case it is so ordered.

                                      CERTIFICATION OF      Loss
          The Commission certifies that INTERNATIONAL TELEPHONE AND
       TELEGRAPH CORPORATION suffered a loss, as a result of actions of the
       Government of Cuba, within the scope of Title V of the Internaticnal Claims
       Settlement Act of 1949, as amended, in the amount of Fifty Million Six
       Hundred Seventy-six Thousand Nine Hundred Sixty-three Dollars and
       Eighty-eight Cents ($50,676,963.88) with interest thereon at 6% per annum
       from August 6. 1960 to the date of settlement; and
          The Commission certifies that INTERNATIONAL TELEPHONE AND
       TELEGRAPH CORPORATION AS TRUSTEE for the benefit of non­
       claimant shareholders and creditors of Cutelco suffered a loss, as a result of
       actions of the Government of Cuba, within the scope of Title V of the Inter­
       national Claims Settlement Act of 1949, as amended, in the amount of Eighty
       Million Two Thousand Seven Hundred Ninety-four Dollars and Fourteen
       Cents ($80,002,794.14) with interest thereon at 6% per annum from August
       6, 1960 to the date of settlement.
          Dated at Washington, D.C., June 17, 1970.

         IN THE MATTER OF THE CLAIM OF AETNA INSURANCE COMPANY
                           Claim No. CU-2363-Decision No. CU-6804
        Under international law, decrees of Cuba may not be given extraterritorial
         effect.

                                        PROPOSED DECISION       *
          This claim against the Government of Cuba, filed under Title V of the In­
       ternational Claims Settlement Act of 1949, as amended, in the amended
       amount of $173,040.27, was presented by AETNA INSURANCE COMPANY
       based upon the asserted loss of certain personal property in Cuba.
          Under Title V of the international Claims Settlement Act of 1949 [78 State.
       1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat. 988
        (1965)], the Commission is given jurisdiction over claims of nationals of the
       United States against the Government of Cuba. Section 503 (a) of the Act
       provides that the Commission shall receive and determine in accordance with
         • This decision was entered as the Commission's Final Decision on September 30, 1971.
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      applicable substantive law, including international law, the amount and
      validity of claims by nationals of the United States against the Government
      of Cuba arising since January 1, 1959 for
           losses resulting from the nationalization, expropriation, intervention or
           other taking of, or special measures directed against, property including
           any rights or interests therein owned wholly or partially, directly or in­
           directly at the time by nationals of the United States.
         Section 503 ( 3) of the Act provides:
           The term 'property' means any property, right, or interest including any
           leasehold interest, and debts owed by the Government of Cuba or by en­
           terprises which have been nationalized, expropriated, intervened, or taken
           by the Government of Cuba and debts which are a charge on property
           which has been nationalized, expropriated, intervened, or taken by the
           Government of Cuba.
          Section 502(1) (B) of the Act defines the term "national of the United
       States" as a corporation or other legal entity which is organized under the
       laws of the United States, or of any States, the District of Columbia, or the
       Commonwealth of Puerto Rico, if natural persons who are citizens of the
       United States own, directly or indirectly, 50 per centum or more of the out­
       standing capital stock or other beneficial interest of such corporation or
       entity.
          The record shows that claimant was organized under the laws of Connec­
       ticut and that at all pertinent times more than 50% of its outstanding capital
       stock was owned by nationals of the United States. An officer of claimant
       has certified that on or about April 25, 1967, 90 shares of its outstanding
       capital stock of one million shares, or .009%, were owned by nonresidents
       of the United States and that 99.991% was owned by United States residents
        (Exhibit P). The Commission holds that claimant is a national of the United
       States within the meaning of Section 502(1) (B) of the Act.
         Claimant asserts the following losses:
           4% bonds of the Republic of Cuba, 1953-1983 ------------        $95,000.00
           4% bonds of the Republic of Cuba, Bank Consolidation,
             1960-1990 ------------------------------------------­       5,100.00
           Cash deposited with Cuban Treasury Department ($13,­
             182.55 plus $4,592.10) -------------------------------··   17,774.65
           Bank account -----------------------------------------­      55,165.62
               Total                                                  $173,040.27

          The record shows that claimant conducted an insurance business in Cuba
       through a Cuban entity which acted as its agent. In order to qualify for a
       license to do business in Cuba, claimant was required to deposit with the
       Cuban authorities collateral as a guarantee that it would meet its obliga­
       tions. Claimant made the following deposits in 1959 for which it was given
       official receipts by the Cuban Ministry of the Treasury:
          1. 19 bonds of the issue known as 4% Republic of Cuba Veterans, Courts
       and Public Works, 1953-1983, each in the amount of $1,000.00; 50 shares of
       stock in Financiera Nacional of Cuba in the amount of $100.00 each; and
       $1,000.00 in cash, for an aggregate deposit of $25,000.00-Receipt No. 233'117
        (Exhibit F).
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          2. 56 bonds of the same issue as above, each in the amount of $100.00; and
       $19,000.00 in cash, for an aggregate deposit of $75,000.00-Receipt No. 23348
        (Exhibit G) .
          3. 20 bonds of the same issue as above, each in the amount of $1,000.00;
       and cash in the amount of $5,000.00, for an aggregate deposit of $25,000.00­
       Receipt No. 23349 (Exhibit H).
          Pursuant to Law No. 685 of August 17, 1960, Financiera Nacional de
       Cuba was liquidated and all obligations thereof were assumed by the Govern­
       ment of Cuba. (See Claim of Phoenix Insurance Company, Claim No. CU­
       1913.) Subsequently, the stockholders of the liquidated entity were offered
       the opportunity to exchange their shares of stock for 4% bonds of an issue
       known as Republic of Cuba Consolidated and Guaranteed Debt of the Bandes,
       1960-1990 (Exhibit L). Claimant accepted the offer and received Certificate
       No. M-564, dated February 21, 1961, representing a bond of that issue in the
       face amount of $5,000.00 as well as Certificate No. C-342, dated February 21,
       1961, representing a bond of the same new issue in the face amount of
       $100.00 (Exhibits M and N), the latter apparently on account of dividends
       due on the 50 shares of stock that were exchanged.
          Claimant's Cuban agent deposited the new $5,000.00 bond with the Cuban
       Treasury Department, and in lieu of Receipt No. 23347, he was given Receipt
       No. 89 of March 10, 1961 (Exhibit I) which was identical with the earlier
       one except that it showed $5,000.00 of bonds of the new issue instead of 50
       shares of stock. The new bond for $100.00 was retained by the Cuban agent.
          As a result of these transactions, claimant had on deposit bonds of the
       1953-1983 issue aggregating $95,000.00; cash in the amount of $25,000.00;
       and a bond of the 1960-1990 issue in the amount of $5,000.00. In addition,
       claimant's Cuban agent held a bond of $100.00 of the 1960-1990 issue; and
       further claimant owned a bank account at the Trust Company of Cuba which
       was later transferred to the National Bank of Cuba, discussed below.
          It appears from the evidence of record that claimant had issued two in­
       surance policies covering property of Pedro Menendez, a Cuban national, in
       Cuba. Menendez suffered certain losses in 1958 and 1959 apparently within
       the scope of the insurance policies. Subsequently, Menendez came to the
       United States and sued claimant for his losses, which suit is discussed here­
       after.
          On April 7, 1959, the Cuban Government published in its Official Gazette
       an announcement that Menendez's properties had been confiscated and now
       belong to Cuba (Exhibit D). The record includes a copy of part of claimant's
       answer to the Menendez suit, showing claimant's principal grounds of de­
       fense (Exhibit C). By letter of October 14, 1959, the Cuban Government
       served notice on claimant's Cuban agent of said confiscation and demanded
       payment for the losses of Menendez under the insurance policies (Exhibit C,
       p. 18). On January 8, 1960, the Cuban Government notified claimant's Cuban
       agent that in view of claimant's failure to pay Cuba for the said losses of
        Menendez in the amount of $65,420.90, it had ordered the seizure of $75,000.00
       of claimant's bonds; and had suspended claimant's license to do business in
        Cuban until claimant restored its deposits to status quo (Exhibit C, pp.
       19-22).
          Claimant states that on March 30, 1960 Cuba seized the bonds, sold them
       and kept the proceeds (Exhibit B). The record shows, however, that the
        Cuban Treasury Department issued Receipt No. 23742 on February 2, 1960
       indicating a deposit of $7,182.55 in favor of claimant (Exhibit 0). In analyz­
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      ing these circumstances, claimant states under date of October 20, 1967, that
      Cuba took the 56 bonds and the $19,000.00, represented by Receipt No. 23348,
      and returned $7,182.55 thereof. On the basis of that assumption by claimant,
      it asserts in part, a loss of cash in the amount of $13,182.55, representing
      $1,000.00 (Receipt No. 89), 5,000.00 (Receipt No. 23349), and $7,182.55 (Re­
      ceipt No. 23742). Another amount of cash assertedly on deposit with Cuban
      authorities in the amount of $4,592.10 is discussed below.
         The record shows that Menendez, the insured, instituted suit in the Federal
      courts against claimant, seeking to recover for his losses pursuant to the in­
      surance policies issued by claimant. The principal defenses pleaded by claim­
      ant are: that Cuba owns the insurance claim as a result of the confiscation
      of Menendez's properties (Exhibit D); and that Cuba's claim in this respect
      has been fully satisfied and discharged as evidenced by a release executed by
      the Cuban Government (Exhibit C, pp. 13-17).
        It appears from Exhibit Q that Menedez suffered two losses, one on Novem­
      ber 20, 1958 in the amount of $60,592.10, and the other on January 20, 1959
      in the amount of $4,828.80, aggregating $65,420.90, the amount taken by Cuba
      from the proceeds of claimant's seized bonds. It further appem·s that while
      both losses were covered by policies issued by claimant, Menendez is suing
      only for the loss of $60,592.10. On the basis of the foregoing, claimant has
      augmented its claim by that amount. Claimant states that Cuba took 56 bonds
      with a value of $56,000.00, plus $4,592.10 in cash, aggregating $60,592.10.
      Since the $56,000.00, in bonds is already included in its claim for 95 bonds of
      $1,000.00 each, claimant asserts the loss of $4,592.10 in cash. Claimant states
      that if it is successful in defending the suit by Menendez, its claim will be
      reduced by $60,592.10 (Exhibit B).
         It appears to be undisputed that Menendez suffered losses in the aggregate
      amount of $65,420.90. This fact is confirmed by claimant's Exhibit Q. Therein
      claimant lists the two policies issued in favor of Menendez, the dates when the
      insured sustained the losses, and the amounts thereof attributable to each
      policy. Claimant adds: "Mr. Menendez is suing us only for the first listed
      loss, and that is all we are claiming ($60,592.10) ."
         The record shows that Menendez's suit against claimant was first dismissed
      and upon ultimate appeal to the United States Supreme Court, the case was
      remanded to the United States Court of Appeals (Aetna Insurance Co. v.
      Menendez, 376 U.S. 781 (1964) .) In turn, the United States Court of Appeals
      remanded the case to the District Court. (Menendez v. Aetna Insurance Co.,
      340 F. 2d 708 (1965).) The Commission is advised that generally the courts
      of the United States have held in favor of the Cuban insureds in similar
      circumstances. (Blanco v. Pan-American Life Ins. Co., et al., 221 F. Supp.
      219 (S.D. Fla. 1963) .) Under date of June 2, 1971, claimant informed the
      Commission that a decision had been entered in favor of Menendez and that
      claimant's attorneys were proceeding with an appeal.
         A copy of of the decision in favor of Menendez was forwarded to the Com­
      mission under date of July 19, 1971. The decision recites that the situs of the
      insurance claim against claimant was not Cuba; that the court could not give
      to Cuba's expropriation decree against Menendez's property because that
      would be tantamount to giving extraterritorial effect to Cuba's decrees; that
      the "Act of State" doctrine, therefore, did not apply in this ase; and that
      Menendez was entitled to judgment. It further appears that Pedro :;\1enendez
      died on September 27, 1969 and that the Administrator, C.T.A. of his estate
      was substituted as party plaintiff.
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           A communication of July 13, 1971, from claimant's counsel states that on
        June 22, 1971 the United States Court of Appeals for the Fifth Circuit af­
        firmed the judgment in favor of Menendez. Counsel further advised that on
        July 6, 1971 a petition for rehearing was filed with the Appellate Court,
        which has not yet acted upon it.
           Upon consideration of the foregoing in light of the entire record, the Com­
        mission finds that on March 30, 1960 the Government of Cuba took claimant's
        property aggregating $75,000.00 in value. While the earlier deposit by Cuba
        of $7,182.55 in favor of claimant is not explained, it nevertheless served to
        reduct claimant's loss of March 30, 1960 pro tanto. Therefore, the Commis­
        sion finds that claimant sustained a loss of $67,817.45 on March 30, 1960.

                               BONDS OF THE 1953-1983 ISSUE
          On the basis of the evidence of record, the Commission finds that claimant
        originally owned 95 bonds of the 1953-1983 issue in the aggregate face
        amount of $95,000.00. Records available to the Commission disclose that the
        Cuban Government first defaulted in the payment of interest on these bonds
        on May 1, 1961. (See Claim of Weschester Fire Insurance Company, Claim
        No. CU-1703.) The Commission has held that such a default gave rise to
        a claim under Title V of the Act. (See Claim of Clemens R. Maise, Claim No.
        CU-3191, 1967 FCSC Ann. Rep. 68.)
          Based upon the entire record and in the absence of evidence to the con­
        trary, the Commission finds that the bonds in question had a value of
        $1,000.00 each of May 1, 1961, the date of loss.
          The Commission finds that on March 30, 1960 Cuba seized $75,000.00 in
        bonds, represented by Receipt No. 23348 (56 bonds) and Receipt No. 89 (19
        bonds), as noted above. The Commission further finds that on May 1, 1961,
        the date of loss, claimant owned 20 bonds of the 1953-1983 issue having an
        aggregate value of $20,000.00.

                              BONDS OF THE 1960-1990 ISSUE
          The evidence establishes and the Commission finds that claimant owned
        Republic of Cuba bonds of the 1960-1990 issue in the face amount of
        $5,100.00. As already noted, claimant acquired these bonds in 1961 as a result
        of an exchange involving 50 shares of stock in Financiera Nacional de Cuba
        formerly owned by claimant.
          Law 989, published in the Cuban Official Gazette on December 6, 1961 by its
        terms effected the confiscation of all bonds, rights and other property of per­
        sons who left Cuba or American firms no longer doing business in Cuba. The
        Commission finds that this law applied to claimant, and that its rights with
        respect to the bonds were taken by Cuba on December 6, 1961 pursuant to
        Law 989. (See Claim of Wallace Tabor, et al., infm, and Claim of Boga1· &
        Crawfo?·d, infra.) Accordingly, the Commission finds that claimant sustained
        a loss of $5,100.00 on December 6, 1961.

                   CASH DEPOSITED WITH CUBAN TREASURY DEPARTMENT
          Based upon the evidence of record, the Commission finds that claimant had
        no deposit with the Cuban Treasury Department cash in the amount of
        $25,000.00 (Receipt Nos. 23348, 23349 and 89). The $7,182.55, as shown by
        Receipt No. 23742, issued by the Cuban authorities without claimant's knowl­
        edge or consent has been accounted for above. The Commission therefore
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       finds that the Government of Cuba held $25,000.00 in funds belonging to
       claimant.
          In the absence of evidence to the contrary, the Commission finds that
       claimant's funds were taken by the Government of Cuba on December 6, 1961
       pursuant to Law 989 (supra; see Claim of Floyd W. Auld, Claim No.
       CU-0020, 25 FCSC Semiann. Rep. 55 [July-Dec. 1966]; Claim of Wallace
       Tabor and Catherine Tabor, Claim No. CU-0109, id. at 53; and Claim of
       Boger & Crawford, Claim No. CU-0037). Accordingly, the Commission finds
       that claimant sustained a loss of cash on December 6, 1961 in the amount of
       $25,000.00.

                                      BANK ACCOUNT

          The evidence establishes that claimant owned a bank account at The Trust
       Company of Cuba which had been transferred to the National Bank of Cuba.
       Claimant asserts a loss of $55,165.62 as shown in a copy of a bank statement
       as being the.balance in its favor as of August 20, 1963 (Exhibit E). The rec­
       ord includes claimant's letter of January 22, 1962 to the State Department, in
       which claimant complained that it was unable to obtain any information con­
       cerning its bonds and cash on deposit with the Cuban Government and its ac­
       count at a Cuban bank.
          On the basis of the entire record, the Commission finds that claimant's bank
       account was taken by the Government of Cuba on December 6, 1961 pursuant
       to Law 989. (See Auld and Boger & Crawford, supra.)
         The copy of the bank statement indicates that the account is inactive. The
       amount of $55,167.37 as of June 17, 1963 appears as the previous balance, and
       the statement shows two subsequent entries-a bank service charge of $3.00
       on June 25, 1963, and a credit of $1.25 as of August 19, 1963. Inasmuch as
       these two transactions occurred after December 6, 1961, they cannot affect the
       balance in claimant's favor on the date of loss.
          On the basis of the entire record and considering the fact that the account
       had been inactive for some time, the Commission finds that the valuation most
       appropriate to the bank account and equitable to the claimant is that shown
       in the bank statement as the "previous balance" as of June 17, 1963. Accord­
       ingly, the Commission finds that the value of claimant's bank account on
       December 6, 1961 was $55,167.37.

                                      RECAPITULATION

         Claimant's losses are summarized as follows:
           Item of P1·operty                      Date of Loss              Amount
           Proceeds of Bonds, 1953-1983           March 30, 1960            $67,817.45
           Bonds, 1953-1983                       May 1, 1961                20,000.00
           Bonds, 1960-1990                       December 6, 1961            5,100.00
           Cash with Cuban Government             December 6, 1961           25,000.00
           Bank Account                           December 6, 1961           55,167.37
                                                       Total              $173,084.82

          The Commission has decided that in certification of loss on claims deter­
       mined pursuant to Title V of the International Claims Settlement Act of
       1949, as amended, interest should be included at the rate of 6% per annum
       from the date of loss to the date of settlement (see Claim of Lisle CO?·pora­
       tion, Claim No. CU-0644), and in the instant case it is so ordered as follows:
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                                              March 30, 1960                           $67,817.45
                                              May 1, 1961                               20,000.00
                                              December 6, 1961                          85,267.37
                                                    Total                            $173,084.82

                                       CERTIFICATION OF LOSS

         The Commission certifies that AETNA INSURANCE COMPANY suffered'
       a loss, as a result of action of the Government of Cuba, within the scope of
       Title V of the International Claims Settlement Act of 1949, as amended, in
       the amount of One Hundred Seventy-three Thousand Eighty-four Dollars and
       Eighty-two Cents ($173,084.82) with interest at 6% per annum from the
       respective dates of loss to the date of settlement.
          Dated at Washington, D.C., and entered as the Proposed Decision of the
       Commission September 1, 1971.

         IN THE MATTER OF THE CLAIM OF JENNIE M. FULLER, ET AL.

                          Claim No. CU-2803-Decision No. CU-6199
       Discriminatory action by Cuba against an American gave rise to a claim
         unde1· international law and Title V of the Act. The value of a death claim
         is measm·ed by the amount of contributions the deceased would have made
         to his dependents.

                                        PROPOSED DECISION      *
         This claim against the Government of Cuba, under Title V of the Inter­
       national Claims Settlement Act of 1949, as amended, in the amended amount
       of $408,982.00, was presented originally by William Otis Fuller and JENNIE
       M. FULLER, nationals of the United States since birth, based on the loss
       of certain real and personal property in Cuba. In addition, claim is made
       for the death of their son. William Otis Fuller died intestate in Florida on
       December 1, 1969. Upon his death, his property interests were inherited in
       equal shares by his wife and six children and by his granddaughter, the
       daughter of his deceased son, Robert Otis Fuller, who died on October 16,
       1960. Accordingly, the six children and granddaughter have been substituted
       as party claimants in the place of the late William Otis Fuller.
         Under Title V of the International Claims Settlement Act of 1949 [78
       Stat. 1110 (1964), 22 U.S.C. §§1643-1643k (1964), as amended, 79 Stat.
       988 (1965)], the Commission is given jurisdiction over claims of nationals
       of the United States against the Government of Cuba. Section 503(a) of the
       Act provides that the Commission shall receive and determine in accordance
       with applicable substantive law, including international law, the amount and
       validity of claims by nationals of the United States against the Government
       of Cuba arising since January 1, 1959 for
            losses resulting from the nationalization, expropriation, intervention or
            other taking of, or special measures directed against, property including
            any rights or interests therein owned wholly or partially, directly or
            indirectly at the time by nationals of the Untied States.

         *This decision was entered as the Commission's Final Decision on June 24, 1971.
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         Section 502 ( 3) of the Act provides:
           The term 'property' means any property, right, or interest including
           any leasehold interest, and debts owed by the Government of Cuba or
           by enterprises which have been nationalized, expropriated, intervened,
           or taken by the Government of Cuba and debts which are a charge on
           property which has been nationalized, expropriated, intervened, or taken
           by the Government of Cuba.
         The following losses are asserted:
           Plantation at Holguin, Cuba, consisting of 68.994 cabal­
             lerias of land and improvements ---------------------­ $358,982.00
           Equipment, livestock and other items of personal property__ 50,000.00
             Total                                                       $408,982.00

          Claim is also made in an unstated amount for the death of Robert Otis
       Fuller, son of JENNIE M. FULLER and her late husband, William Otis
       Fuller.
          The record shows that for a number of years prior to World War II
       JENNIE M. FULLER, her late husband, and other members of her family
       owned certain land in Holguin, Cuba. The claim of said relatives, Mr. and
       Mrs. Miles Chester Jewett, Claim No. CU-2804, will be decided on its own
       merits. The family operated a saw mill, raised cattle and crops and ultimately
       grew sugar cane.
         On July 21, 1940, the family assets in Holguin, Cuba were transferred to
       a Cuban corporation, Cia. Agricola de Lewiston, S.A., expressly created for
       the purpose of carrying on the family business in Cuba. Originally, the total
       outstanding capital stock of the Cuban corporation was 355 shares but this
       was subsequently reduced to 235, distributed as follows: Mr. and Mrs. William
       Otis Fuller, 127 shares; and Mr. and Mrs. Miles Chester Jewett, 108 shares.
          The Cuban corporation conducted its business until August 1959, when the
       Cuban National Institute of Agrarian Reform (I.N.R.A.) ordered the dis­
       solution of the corporation. As of September 3, 1959, the Cuban corporation
       was formally dissolved, and its assets were distributed to its stockholders as
       follows: Mr. and Mrs. William Otis Fuller, 68.994 caballerias of land (1 ca­
       balleria equalling 33.162 acres); and Mr. and Mrs. Miles Chester Jewett,
       58.730 caballerias of land. These land areas included improvements as
       indicated further below.
         In December 1959, the late William Otis Fuller left Cuba, Mrs. Fuller
       remaining behind in Cuba. In February 1960 the I.N.R.A. authorities ordered
       Mrs. Fuller to exercise no further acts of ownership over the real property.
       She was permitted to remain at home, but could neither sell nor use any of
       the livestock without permission from the intervenor. Moreover, Mrs. Fuller
       was permitted to collect amounts due on behalf of the plantation, but was
       required to turn over the proceeds to agents of I.N.R.A. In June 1960, Mrs.
       Fuller could no longer perform even those ministerial acts.
          On the basis of the entire record, the Commission finds that the entire
       plantation, including all of its improvements, as well as the livestock, per­
       sonal belongings and other items of personal property situated on the
       'Plantation, were intervened or taken by the Government of Cuba in February
       1960. In the absence of evidence to the contrary, the Commission finds that
       the taking ocurred on February 15, 1960.
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         The Act provides in Section 503 (a) that in making determinations with
       respect to the validity and amount of claims and value of properties, rights,
       or interests taken, the Commission shall take into account the •basis of
       valuation most appropriate to the property and equitable to the claimant,
       including but not limited to fair market value, book value, going concern
       value, or cost of replacement.
         The question, in all cases, will be te determine the basis of valuation which,
       under the particular circumstances, is "most appropriate to the property
       and equitable to the claimant." This phraseology does not differ from the
       international legal standard that would normally prevail in the evaluation of
       nationalized property. It is designed to strengthen that standard by giving
       specific bases of valuation that the Commission shall consider.
                                          PLANTATION

          As noted above, the original claimants, William Otis Fuller and JENNI~
       M. FULLER, each owned a 1h interest in 68.994 caballerias of land and
       improvements in Holguin, Cuba. Upon his death on December 1, 1969, the
       late Mr. Fuller's 1h interest was inherited by the eight claimants herein
       in equal shares. Therefore, on February 15, 1960, the date of loss, Mrs.
       Fuller owned a 9/16 interest, and each of the other seven claimants owned
       a 1/16 interest.
          Document No. 70, pursuant to which the Cuban corporation was dissolved,
       sets forth the assessed valuation for the several parcels of land and im­
       provements that were distributed to the original two claimants as 'follows:
                                            Area of Land
       Parcel No.                           ( caballerias)             Assessed Value
           D                                    23.909                   $53,795.25
           E                                     5.336                    12,006.00
           F                                    33.786                    76,018.50
           G                                     5.000                    11,250.00
           H                                     0.963                     2,166.75
                                 Totals        68.994                   $155,236.50

          The Commission notes that assessed valuations invariably are much lower
       than fair market values. The evidence in this case includes an inventory filed
       with I.N.R.A. authorities on September 3, 1959, when the Cuban corporation
       was dissolved. That inventory sets forth the fair market values of the prop­
       erties in question. Those valuations are relied upon by claimants.
         It further appears that said valuations are supported by affidavits from:
       Silvestre Pina, former President of the National Executive Committee of
       the Association of Sugar Cane Owners of Cuba; Benjamin H. Leon, former
       bookkeeper for the Cuban corporation during the entire period of its exist­
       ence; Juan Fernando Alvarez, former employee of the Cuban Treasury
       Department at the branch office at Holguin, Cuba; and Benjamin Santi-.
       esteban, former manager of the Holguin, Cuba branch of the Bank of Nunez.
       Further support for the valuations appearing in the inventory is found in
       the letter of April 6, 1966 from the late William Otis Fuller to the Internal
       Revenue Service. The record shows that tax deductions were allowed for the
       Cuban losses sustained by the deceased and JENNIE M. FULLER.
         Based upon the entire record, the Commission finds that the valuations
       most appropriate to the properties and equitable to the claimants are those
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       set forth in the inventory that was presented to the I.N.R.A. authorities.
         Accordingly, the Commission finds that claimants' valuations are fair
       and reasonable. The Commission therefore finds that the values of the real
       properties on February 15, 1960, the date of loss, were as follows:
            68.994 caballerias of land ------------------------------ $311,495.00
            Improvement on the land -------------------------------     47,487.00
              Total   ---------------------------------------------- $358,982.00
                 EQUIPMENT, LIVESTOCK AND OTHER PERSONAL PROPERTY

          On the basis of the entire record, including the inventory filed with
       I.N.R.A. authorities and detailed lists of the equipment, livestock and other
       items of personal property, the Commission finds that claimants' valuations
       are fair and reasonable. The Commission therefore finds that the aggregate
       value of the equipment, livestock and other items of personal property on
       February 15, 1960, the date of loss, was $50,000.00.
          The losses herein sustained on February 15, 1960 are summarized as
       follows:
            Item of Property                                                Amount
            Plantation ----------~--------------------------------­ $358,982.00
            Personal property ------------------------------------­         50,000.00
               Total                                                      $408,982.00

          Since JENNIE M. FULLER owned an 8/16 interest in the properties
       herein and succeeded to a 1/16 interest, aggregating 9/16, she sustained a
       loss in the amount of $230,052.37. The other seven claimants succeeded to
       losses aggregating $178,929.63, as follows:
           IRENE JEWETT (FULLER) MOSS ------------------ $ 25,561.38
           FRANCES RUTH FULLER -------------------------­     25,561.38
           JEANETTE OTIS (FULLER) HAUSLER -----------­        25,561.38
           ANGELA GRACE (FULLER) LUTES ---------------­       25,561.:38
           JEROME CAVERNO FULLER ----------------------­      25,561.37
           FREDERICK JEWETT FULLER ---------------------­     25,561.37
           LYNITA GAY FULLER ------------------------------   25,561.37
             Total                                          $178,929.63

                                      DEATH CLAIM

          Claim is made for the death of Robert Otis Fuller, son of the late William
        Otis Fuller and of. JENNIE M. FULLER, as a result of his execution on
        October 16, 1960, by the Government of Cuba. Robert Otis Fuller was also
        survived by his daughter, LYNITA GAY FULLER. In a detailed narrative
        accompanying the official claim form, the original claimants stated in
        pertinent part as follows:
            ... On October 15, 1960, the son of the undersigned, Robert Otis Fuller,
            ex-U.S. Marine, was placed on trial in Santiago de Cuba for counter­
            revolutionary activities, Harvey Summ, State Department Officer being
            present. He was executed on the following day. Jennie M. Fuller left
            Cuba on the 17th of October 1960.
          The record includes in support of this part of the claim, copy of a Report
        of the Death of an American citizen dated at Santiago de Cuba, Cuba,
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       October 19, 1960, and signed by G. H. Summ, American Consul. This docu­
       ment recites that Robert Otis Fuller was executed by a firing squad on
       October 16, 1960.
         Section 503 (b) of the Act provides as follows:
           The Commission shall receive and determine in accordance with ap­
           plicable substantive law, including international law, the amount and
           validity of claims of nationals of the United States against the Govern­
           ment of Cuba . . . arising since January 1, 1959 . . . for disability or
           death resulting from actions taken by or under the authority of the
           Government of Cuba ...
          The Commission has held that in a disability claim under Section 503 (b) of
       the Act, it must be established, inter alia, that the disability was the proxi­
       mate result of actions by the Government of Cuba in violation of interna­
       tional law. (See Claim of Julio Lopez, Claim No. CU-3259.) The same
       considerations apply to a claim for death.
          Information available to the Commission shows that Robert Otis Fuller
       and another American were arrested on October 15, 1960 in Santiago, Cuba.
       They and two Cuban nationals also captured were charged with promoting
       an uprising of armed individuals against the powers of State. It further
       appears that at a trial held at 4:00 P.M. on October 15, 1960 at which the
       American Consul was present and at which Robert Otis Fuller had legal
       counsel who is said to have done the best he could, the defendants admitted
       their guilt. The trial before a Revolutionary Tribunal, which has also been
       referred to as a court-martial, resulted in findings of guilty.
          Thereafter the two Cuban nationals were sentenced to thirty years im­
       prisonment each while both Americans were sentenced to death, although
       one of the Cubans had reportedly been pointed out as being the group leader.
       After appeals which were heard immediately after the trial and lasted about
       five minutes the sentences were upheld. It further appears that the defense
       counsel both at the trial and during the appeal strongly argued that it was
       unjust to ask for or mete out greater punishment for the Americans than for
       the Cubans. The executions of the two Americans were carried out on Octo­
       ber 16, 1960.
          It is universally recognized that a State has inherent authority to punish
       persons within its jurisdiction who are convicted of violating its criminal
       laws. Moreover, it is not unusual for a State to decree death upon conviction
        of counter-revolutionary activities.
          However, it clearly appears, and this is substantiated by the argument of
       the defense counsel, that the Americans were executed because of their
        nationality and in the face of evidence that two Cubans were at least equally
        guilty. The Commission therefore must consider whether the sentence inflicted
        upon Robert Otis Fuller was in violation of international law.
          It is pointed out (V Hackworth, Digest of International Law (1943) 606)
        that "The rule of international law is well settled that an alien who has been
        taken into custody by the authorities of a state is entitled to receive from
        those authorities just and humane treatment, regardless of the offense with
        which he is charged, and that failure to accord such treatment renders the
        state liable in damages. The Research in International Law, Harvard Law
        School, in connection with the D~·aft Convention on Jurisdiction With Respect
        to Crime, stated in Article 12:
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            In exercising jurisdiction under this Convention, no State shall prose­
            cute an alien who has not been taken into custody by its authorities,
            prevent communication between an alien held for prosecution or punish­
            ment and the diplomatic or consular officers of the State of which he is
            a national, subject an alien held for prosecution or punishment to other
            than just and humane treatment, prosecute an alien otherwise than by
            fair trial before an impartial tribunal and without unreasonable delay,
            inflict upon an alien any excessive or cruel and unusual punishment, or
            subject an alien to unfair discrimination. (29 A.J.I.L. Supp. (1935)
            596-597.)"
           Moreover, Mr. Edwin M. Borchard has discussed this matter in his treatise
        "Diplomatic Protection of Citizens Abroad." In Section 142 in discussing
        the civil rights of an alien he states that whereas an alien must submit to
        proceedings brought in accordance with law on a charge that an offense has
        been committed, the proceedings must be regular and conducted in good faith
        and in accordance with law and forms of civilized justice, and "must not be
        arbitrary or unnecessarily harsh or discriminate against the alien on account
        of his nationality."
           Further, he points out that on various occasions claims have been success­
        fully prosecuted by the Department of State or allowed by international com­
        missions on grounds including "punishment disproportionate in severity to
        the offense charged."
           Mr Borchard continues, in Section 44 of his treatise (f.2), to point out that
        "Any discrimination against the alien, e.g., a graver punishment than that
        inflicted upon nationals, prejudicial irregularity in judical proceedngs, viola­
        tion of treaties or international law, constitutes a denial of justice and opens
        the right to diplomatic interposition."
           It is noted moreover that the United States protested the trial and sen­
        ence in a note to the Cuban Foreign Ministry on November 11, 1960 (see
        Whiteman, Digest of International Law, Volume 8 at p. 719). In the note,
        a protest was made to the conduct of the Fuller trial with the assertion that
        basic humanitarian standards were not observed and discrimination was
        clearly evident in the sentences passed. The protest further asserted that
        defendants in a criminal case are entitled to certain fundamental, humani­
        tarian rights in connection with a trial, particularly when the ultimate
        penalty, death, may be imposed. In the Fuller trial, there was stated to have
        been wholly inadequate time to prepare an appeal since the Appeals took
        place less than one hour after the verdict. Protest was also made to the
        general manner in which the trial was conducted with long political ha­
        rangues and a "Roman Circus atmosphere" surrounding the trial.
           The Commission has considered this matter in depth and concludes that
        the imposition of the punishment of death upon the two American nationals,
        including Robert Otis Fuller, for the same crime for which two Cuban
        nationals were sentenced to thirty years imprisonment, was clearly a dis­
        crimination directed to persons alien to the Republic of Cuba, being dis­
        proportionate to the punishment meted out to the Cuban nationals, and
        constituted a denial of justice and thus a violation of international law for
        which the Government of Cuba may be held accountable within the scope of
        Title V of the International Claims Settlement Act of 1949, as amended.
           The Commission must now determine to whom the Government of Cuba is
        accountable in this matter. Miss Marjorie M. Whiteman in her work on
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       "Damages in International Law" (Vol. I, at p. 640) states that a claim for
       death by wrongful act is made not for the benefit of the estate, but for the
       benefit of the surviving dependents. As Miss Whiteman also points out
       (supra, 639), it must be shown not only that the respondent State has com­
       mitted a wrong, but that the individual claimant has suffered pecuniary loss
       or injury. The record discloses that whereas Robert Otis Fuller was divorced,
       he was survived by a daughter, LYNITA GAY FULLER, then almost six
       years old, to whom the decedent owed the parental obligations of support and
       education during her minority (and see supra, 649). The Commission there­
       fore finds that on October 16, 1960, the said LYNITA GAY FULLER, a na­
       tional of the United States since birth, suffered a loss within the meaning of
       Title V of the Act.
          Accordingly, so much of the claim of JENNIE M. FULLER, and the heirs
       of William Otis Fuller, Deceased, as is based on the death of Robert Otis
       Fuller, is denied.
          There remains for determination the extent of the indemnity which
       LYNITA GAY FULLER is entitled to have certified in her favor.
          In recent times, Miss Whiteman states (supra, 660), foreign offices and
       arbitral tribunals have generally estimated the indemnity in death cases on
       the basis of the worth to the claimant of the expected contributions of the
       person for whose death an indemnity is claimed. The Commission has con­
       sidered the prior income of Robert Fuller and his age and finds that the
       expected contributions for his daughter from the time of his death to the
       date of her majority would amount to the fair and reasonable amount of
       $20,000.00. Accordingly, the Commission concludes that LYNITA GAY
       FULLER suffered a loss in this amount on October 16, 1960, within the
       meaning of Title V of the Act.
          The Commission has decided that in certifications of loss on claims detel·­
       mined pursuant to Title V of the International Claims Settlement Act of
       1949, as amended, interest should be included at the rate of 6% per annum
       from the date of loss to the date of settlement (see Claim of Lisle Corpora­
       tion, Claim No. CU-0644), and in the instant case it is so ordered.

                                 CERTIFICATIONS OF LOSS

         The Commission certifies that JENNIE M. FULLER succeeded to and
       suffered a loss, as a result of actions of the Government of Cuba, within the
       scope of Title V of the International Claims Settlement Act of 1949, as
       amended, in the amount of Two Hundred Thirty Thousand Fifty-two Dollars
       and Thirty-seven Cents ($230,052.37) with interest at 6% per annum from
       February 15, 1960 to the date of settlement;
          The Commission certifies that IRENE JEWETT (FULLER) MOSS suc­
       ceeded to and suffered a loss, as a result of actions of the Government of
       Cuba, within the scope of Title V of the International Claims Settlement Act
       of 1949, as amended, in the amount of Twenty-five Thousand Five Hundred
       Sixty-one Dollars and Thirty-eight Cents ($25,561.38) with interest at 6%
       per annum from February 15, 1960 to the date of settlement;
          The Commission certifies that FRANCES RUTH FULLER succeeded to
       and suffered a loss as a result of actions of the Government of Cuba, within
       the scope of Title V of the International Claims Settlement Act of 1949, as
       amended, in the amount of Twenty-five Thousand Five Hundred Sixty-one
       Dollars and Thirty-eight Cents ($25,561.38) with interest at 6% per annum
       from February 15, 1960 to the date of settlement;
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         The Commission certifies that JEANNETTE OTIS (FULLER) HAUS­
       LER succeeded to and suffered a loss, as a result of actions of the Govern­
       ment of Cuba, within the scope of Title V of the International Claims Settle­
       ment Act of 1949, as amended, in the amount of Twenty-five Thousand Five
       Hundred Sixty-one Dollars and Thirty-eight Cents ($25,561.38) with interest
       at 6% per annum from February 15, 1960 to the date of settlement;
         The Commission certifies that ANGELA GRACE (FULLER) LUTES
       succeeded to and suffered a loss, as a result of actions of the Government
       of Cuba, within the scope of Title V of the International Claims Settlement
       Act of 1949, as amended, in the amount of Twenty-five Thousand Five
       Hundred Sixty-one Dollars and Thirty-eight Cents ($25,561.38) with interest
       at 6% per annum from February 15, 1960 to the date of settlement;
         The Commission certifies that JEROME CAVERNO FULLER succeeded
       to and suffered a loss, as a result of actions of the Government of Cuba,
       within the scope of Title V of the International Claims Settlement Act of
       1949, as amended, in the amount of Twenty-five Thousand Five Hundred
       Sixty-one Dollars and Thirty-seven Cents ($25,561.37) with interest at 6%
       per annum from February 15, 1960 to the date of settlement;
         The Commission certifies that FREDERICK JEWETT FULLER suc­
       ceeded to and suffered a loss, as a result of actions of the Government of
       Cuba, within the scope of Title V of the International Claims Settlement Act
       of 1949, as amended, in the amount of Twenty-five Thousand Five Hundred
       Sixty-one Dollars and Thirty-seven Cents ($25,561.37) with interest at 6%
       per annum from February 15, 1960 to the date of settlement; and
         The Commission certifies that LYNITA GAY FULLER succeeded to and
       suffered a loss, as a result of actions of the Government of Cuba, within
       the scope of Title V of the International Claims Settlement Act of 1949,
       as amended, in the amount of Forty-five Thousand Five Hundred Sixty-one
       Dollars and Thirty-seven Cents ($45,561.37) with interest at 6% per annum
       on $25,561.37 from February 15, 1960 and on $20,000 from October 16, 1960,
       to the date of settlement.
          Dated at Washington, D.C., and entered as the Proposed Decision of the
       Commission May 19, 1971.

            IN MATTER OF THE CLAIMS OF BERLANTI CONSTRUCTION
                           COMPANY, INC., ET AL.
                   Claim Nos. CU-0871 and 0657-Decision No. CU-5880
       Asserted losses based on the difference between a "cost-plus" contract and
         a "cost-plus" subcontract to build a housing project in Cuba that was
         halted shortly after construction commenced are speculative and not allow­
         able under Title V of the Act.

                                          PROPOSED DECISION*

         These claims against the Government of Cuba, filed under Title V of the
       International Claims Settlement Act of 1949, as amended, in the aggregate
       amount of $2,696,817.43, were presented by BERLANTI CONSTRUCTION
       COMPANY, INC. and ILONA GERO RIEGER based upon asserted losses
       arising out of the asserted breach of a contract by Cuba. It appears that
       BERLANTI CONSTRUCTION COMPANY, INC., organized under the laws
         * This decision was entered as the Commission's Final Decision on November 10, 1970.
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       of Delaware, is a national of the United States. ILONA GERO RIEGER
       has been a national of the United States since January 28, 1957.
         Under Title V of the International Claims Settlement Act of 1949 [78
       Stat. 1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat.
       988 (1965) ], the Commission is given jurisdiction over claims of nationals
       of the United States against the Government of Cuba. Section 503 (a) of
       the Act provides that the Commission shall receive and determine in accord­
       ance with applicable substantive law, including international law, the amount
       and validity of claims by nationals of the United States against the Gov­
       ernment of Cuba arising since January 1, 1959 for
           losses resulting from the nationalization, expropriation, intervention or
            other taking of, or special measures directed against, property includ­
           ing any rights or interests therein owned wholly or partially, directly or
            indirectly at the time by nationals of the United States.
         Section 502(3) of the Act provides:
            The term 'property' means any property, right, or interest including
           any leasehold ir.~.:::rest, and debts owed by the Government of Cuba or by
            enterprises which have been nationalized, expropriated, intervened, or
            taken by the Government of Cuba and debts which are a charge on prop­
           erty which has been nationalized, expropriated, intervened, or taken by
            the Government of Cuba.
         Claimants assert the following losses:
         Claim No. CU-0871
           Loss of profit ---------------------------------------- $1,500,000.00
            Premiums for bonds ----------------------------------            17,416.13
            Loss of collateral -------------------------------------         67,414.38
           Disbursements after breach ----------------------------           79,486.92
           Legal fees ------------------------------------------            200,000.00
                Total ____ ---------------------------------------- $1,864,317.43
          Claim No. CU-0657
            Loss of profit (37.5 interest) -------------------------- $ 825,000.00
            Shares of stock in Cuban corporation ------------------               7,500.00
                Total ___ ______ _____ ___ ____ __ __ ____ _____ ____ ____ __ - - ---
                                                                                832,500.00

           The record shows that Angel Pagliuca, a stockholder of BERLANTI
        CONSTRUCTION COMPANY, INC. (hereafter called claimant), who has
        filed a claim on his behalf (CU-0632), had been negotiating with the Na­
        tional Housing Commission of Cuba (NHC) concerning a contract to build
        a low-cost housing development in Cuba. By letter dated November 8, 1958
         (Exhibit A), NHC advised Mr. Pagliuca that it would agree to have claim­
        ant, which had not yet been organized, construct the development in Cuba.
           Pursuant to that arrangement, an agreement was concluded on November
        11, 1958 (Exhibit B) between Mr. Pagliuca, ILONA GERO RIEGER, the
        other claimant herein, and Louis Berlanti to form the claimant corporation.
        Claimant was duly organized under the laws of Delaware on November 18,
        1958 (Exhibit C), and the stock interests therein were distributed as fol­
        lows: Mr. Berlanti-25%, Mr. Pagliuca and Mrs. Rieger-37.5% each (Ex­
        hibit D).
           It further appears that NHC had agreed to enter into a contract for an
        amount not in excess of $10 million as the cost of the housing development
        and to pay interest and finance charges in an amount not to exceed 7.5%
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       of the basic contract cost (letters from NHC of November 10, 1958 and
       November 18, 1958 to Mr. Berlanti). The understanding with NHC was that
       the three stockholders of claimant, particularly Mr. Berlanti and Mr.
       Pagliuca, were to :find a concern that was willing to loan $10 million to Cuba
       on account of the development; that the funds were to be deposited in the
       Bank of Nova Scotia, New York Branch; that the funds were to be loaned
       to BANDES, a banking agency of the Government of Cuba, for a five-year
       period at 5% interest per year; and that BANDES was to make the funds
       available to NHC (letter of November 18, 1958 from NHC). Subsequently,
       NHC authorized claimant to subcontract any or all of the basic contract
       (letter of November 28, 1958).
         Accordingly, claimant's stockholders agreed to pay a finder's fee of
       $100,000.00 to a firm which ultimately procured the loan of $10 million (Ex­
       hibits E and F) . Claimant signed promissory notes covering the finder's fee
       of $100,000.00, payments to begin on February 18, 1959 and continue for five
       consecutive months thereafter (Exhibits H and L).
          On November 20, 1958, a contract was concluded between NHC and
       claimant for the construction of a housing development in Cuba (Exhibit A
       attached to original claim). It was agreed that claimant would construct
       the development for an amount not in excess of $10 million with the proviso
       that the specific details as to the units involved would be "fixed in successive
       contracts according to unit groups and by provinces." The agreement was
       made on a "cost-plus contract" basis (Exhibit B attached to original claim).
          On or about November 27, 1958, BANDES received the $10 million (Ex­
       hibit D attached to original claim). Surety bonds were obtained in connection
       with the loan (Exhibit GG), and claimant was obligated to pay the premiums.
          A day after the basic contract was concluded, the claimant executed a sub­
       contract with Constructora Guanahani, S.A. (Guanahani), which was as­
       sertedly wholly-owned by Mr. Pagliuca. (See Claim CU-0632.) According to
       that subcontraCt, dated January 21, 1958, Guanahani agreed to construct the
       housing development for $8% million (Exhibit SS).
          On November 28, 1958, the three stockholders of claimant caused Com­
       pania Constructora Berlanti, S.A. (Berlanti, S.A.) to be organized as a
       corporation under the laws of Cuba (Exhibit II). The stockholders' interests
       therein were the same as their interests in claimant (CU-0871); namely,
       Mr. Berlanti-25%, Mr. Pagliuca and Mrs. Rieger-37.5% each.
          NHC ordered construction to begin about December 1, 1958. The record
       shows that construction had actually begun by Guanahani as indicated by a
       letter of December 24, 1958 from NHC to claimant. It further appears from
       the minutes of a stockholders' meeting of Berlanti, S.A., that claimant (CU­
       0871) assigned all its rights and interests in the construction agreement
       to Berlanti, S.A. on December 26, 1958 (Exhibit J J).
          On January 27, 1959, Cuban authorities ordered a halt to the construction
       of the development, and no further work was performed thereafter (Exhibit
       I attached to original claim). It is asserted by claimants that this action on
       the part of the Government of Cuba gave rise to the losses asserted herein.
          Claimant notified the finder, to whom it was indebted in the amount of
       $100,000.00, under date of February 13, 1959 that it would be unable to pay
       the first note due on February 18, 1959 (Exhibit HH). The evidence includes
       a copy of a judgment entered in a court of New York on January 3, 1961
       against claimant in favor of the finder in the amount of $90,904.46. It does
       not appear from the record that claimant made any payment on account
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       of the judgment. Moreover, it does not appear that any such payment could
       be compelled by legal action since claimant apparently owned only one asset,
       the contract with NHC which it had assigned to Berlanti, S.A.
          Claimant instituted an action against the Government of Cuba in the
       courts of Florida and obtained a default judgment on July 26, 1961 in the
       amount of $6,190,382.16 (Exhibit J attached to original claim). Pertinent
       files of the Department of State disclose that upon action by the Czechoslo·
       vak Socialist Republic on behalf of the Government of Cuba pleading sover­
       eign immunity, the judgment was vacated on December 27, 1961.
                                     LOSS OF PROFIT
          Claimant asserts a loss of profit of $1.5 million, representing the differ­
       ence between the underlying basic contract and the subcontract. Mrs. Rieger
       asserts a loss of profit of $825,000.00, representing her 37.5% share of
       $6,190,382.16, the amount of the judgment that was vacated. In effect, Mrs.
       Rieger is claiming a loss as a stockholder of claimant, a national of the
       United States.
          Section 505 (a) of the Act provides as follows:
            A claim under section 503 (a) of this title based upon an ownership
            interest in any corporation, association, or other entity which is a na­
             tional of the United States shall not be considered....
          Inasmuch as Mrs. Rieger's claim (CU-0657) in this respect is barred by
       the express provisions of Section 505 (a) of the Act, it must be and hereby
       is denied. (See Claim of Mary F. Sonnenberg, Claim No. CU-0014, 25 FCSC
       Semiann. Rep. 48 [July-Dec. 1966] .)
          With respect to claimant, the record clearly shows that claimant had as­
       signed to Berlanti, S.A. all its rights and interests under the construction
       contract on December 26, 1958, prior to January 27, 1959 the asserted date
       of loss when Cuban authorities halted all construction then in progress. In
       view of the foregoing the Commission inquired as to the basis of the claim
       filed by claimant, the assignor before the date of loss. Counsel's response
       of May 1, 1970 was as follows:
            The individual stockholders comprising the claimant are the same
            stockholders comprising the Cuban corporation, and was organized for
            the purpose of complying with Cuban law that only Cuban corporations
            could conduct and transact business in Cuba. However all transactions
            for the construction contract were had with the Delaware corporation
            claimant. As far as the claimant corporation is concerned it furnished
            everything necessary to the Cuban corporation to function, and actually
            the Cuban corporation was the alter ego of the Delaware corporation
            for all purposes. All contracts were entered into by and with the Dela­
            ware corporation, and the Cuban corporation never acted.
          Upon consideration of this matter, the Commission finds that as of Decem­
       ber 26, 1958 claimant no longer owned any interest in the construction con­
       tract or in any profits that could be derived thereunder despite the fact that
       claimant asserted Cuban losses as a deduction in its Federal tax returns for
       the fiscal year, November 1, 1963 to October 31, 1964. A copy of claimant's
       tax returns submitted in support of this portion of its claim indicates that
       claimant asserted a tax deduction of $202,716.88 based upon "Preliminary
       costs and expenses on construction job-project abandoned." However, that
       ta.x return shows that claimant earned no profit during that fiscal year. Ac­
       cordingly, there was no necessity for the Internal Revenue Service to audit
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       the returns. The Commission therefore concludes that the record does not
       establish that claimant owned the claim on January 27, 1959 when it arose.
       For the foregoing reasons, the portion of claimant's claim for the asserted
       loss of profit of $1.5 million is denied.
          When this portion of the claim is considered on behalf of the stockholders
       of Berlanti, S.A., the same result is reached.
          Since Berlanti, S.A. was organized under the laws of Cuba, it does not
       qualify as a corporate "national of the United States" defined under Sec­
       tion 502(1) (B) of the Act as a corporation or other legal entity organized
       under the laws of the United States, or any State, the District of Columbia,
       or the Commonwealth of Puerto Rico, whose ownership is vested to the ex­
       tent of 50 per centum or more in natural persons who are citizens of the
       United States. In this type of situation, it has been held that an American
       stockholder is entitled to file a claim for the value of his ownership in­
       terest. (See Claim of Parke, Davis & Company, Claim No CU-0180, 1967
       FCSC Ann. Rep. 33.)
          The record indicates that Berlanti, S.A. owned only one asset-the assigned
       construction contract. According to counsel's letter of May 1, 1970, this
       Cuban corporation "never acted." It further appears from a copy of a letter
       of January 19, 1959 from Guanahani, the subcontracting Cuban corporation,
       that it had expended $256,000.00 in initial construction work with respect to
       eleven buildings. Since Mr. Pagliuca's claim (CU-0632) is based, in part,
       on his asserted 100% stock interest in Guanahani, these expenditures by
       Guanahani will be considered in the course of determining Claim No. CU­
       0632.
          Moreover, the Commission finds no valid basis for concluding that. had the
       "cost-plus" contracts been fully executed Berlanti, S.A. would have earned
       a profit of $1.5 million. As already noted, it was a "cost-plus" contract in an
       amount not to exceed $10 million. It could not therefore be concluded with
       any degree of certainty what the final cost would be. By the same token, the
       subcontract was likewise subject to the same conditions, and was not to ex­
       ceed $8.5 million. Inasmuch as construction was halted shortly after it com­
       menced, any conclusion that an amount certain would be earned as profit
       would be purely speculative and without foundation. (See Claim of Robert L.
       Cheaney and Marjorie L. Cheaney, Claim No. CU-0915, involving the denial
       of a claim for estimated future profits; Claim of Ford Motor Company, Claim
        No. CU-3072, in which claim for loss of profits and contingent losses was
       denied; Claim of Cuban Electric Company, Claim No CU-2578, in which claim
       for indirect losses was denied.)
          The Commission finds that the evidence of record does not establish that
       Berlanti, S.A. sustained any loss within the meaning of Title V of the Act
       as a result of the termination of the construction contract. Considering
       claimant's assertions in this respect to be on behalf of its stockholders, this
       portion of the claim is denied. Mrs. Rieger, having based a portion of her
       claim on her stock interest in Berlanti, S.A., this portion of her claim is
       denied. Mr. Pagliuca's claim in this respect will be considered on its own
       merits in CU-0632.
          Accordingly, as indicated above, Claim No. CU-0657 is denied in its
       entirety.
                             BALANCE   OF   CLAIM No. CU-0871
         The balance of this claim of claimant is based upon certain disbursements
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       and obligations it assertedly incurred on account of the construction contract.
       The following losses are claimed:
           1. Insurance premiums for surety and appeal bonds ------- $ 17,416.13
           2. Miscellaneous expenses -------------------------------         96,395.90
           3. Collateral pledged as security for the issuance of the bonds   67,414.38
           4. Payments made by the surety company in connection with
                the surety bonds ---------------------------------- 143,715.33
           5. Disbursements by Mrs. Rieger ------------------------ 147,972.88
           6. Attorney's fees -------------------------------------- 200,000.00
                Total --------------------------------------------- $672,914.62
          It is noted from the record that items (1), (2) and (3) above represent
       expenses incurred by the Berlanti Construction Company, Inc. of New York,
       assertedly on behalf of claimant. The Commission inquired about these
       asserted losses since they appeared to have been sustained by a New York
       corporation on behalf of claimant, a Delaware corporation with a similar
       name. The Commission called attention to the fact that claims based on debts
       of American corporations are not allowable pursuant to Section 505 (a) of
       the Act unless the debts were charges on property taken by the Government
       of Cuba. (See Claim of Anaconda American B1·ass Co., Claim No. CU-0112,
       1967 FCSC Ann. Rep. 60.) It does not appear from the evidence of record
       that any of these asserted debts due from claimant were charges on prop­
       erty taken by Cuba and no claim for these losses has been filed by or on
       behalf of the Berlanti Construction Company, Inc. of New York. Under
       these circumstances if such a claim had been filed, it would have to be denied.
          Counsel's response of February 17, 1970 was that the claim for profit
       of $1.5 million included the asserted losses under item ( 4) above. He added
       that Berlanti of New York and Louis Berlanti had contracted to advance
       certain moneys for the use and benefit of claimant in furthering the con­
       struction contract; and that Berlanti of New York and claimant were neither
       owned by the same stockholders, nor was either a wholly-owend subsidiary of
       the other.
          On the basis of the entire record, the Commission finds that the losses
       asserted under items (1), (2) and (3) above assertedly were sustained by
       a New York corporation on behalf of claimant. Inasmuch as the record does
       not establish that these debts due from claimant, an American corporation,
       were charges on property taken by Cuba, the portion of the claim based on
       such asserted losses is denied.
          Inasmuch as item ( 4) is essentially a part of the portion of the claim for
       profit of $1.5 million which has already been denied, that portion of the claim
       is also denied.
          The portion of the claim for disbursements in the aggregate amount of
       $79,486.92 apparently is included in part under items (2) and ( 5) above.
       Since item (2) has already been denied, the applicable part of the claim in
       this respect is also denied. Item (5) above relates to expenses incurred by
        Mrs. Rieger assertedly in furtherance of the contract between claimant and
       NRC. An examination of the list indicates that it includes hotel, travel
        and related expenses assertedly paid by Mrs. Rieger in 1957, 1958 and 1959,
       both before the contract with NRC was concluded and after the assignment
       of the contract by claimant to Berlanti, S.A. The Commission finds no valid
       basis for concluding that these expenses constitute losses within the meaning
       of Title V of the Act. If it were established that these expenses were made
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       on behalf of claimant, this portion of the claim would have to be denied be­
       cause the construction contract which assertedly gave rise to these claims
       was assigned to a Cuban corporation before the date of loss. If it were estab­
       lished that these expenses were made by Mrs. Rieger on behalf of Berlanti,
       S.A., in which she owned a stock interest, so that it constituted a debt of the
       Cuban corporation, this portion of the claim would have to be denied because
       the Cuban corporation, Berlanti, S.A., owned no assets with which to pay
       such a debt. The loss in such event would not be attributable to any action on
       the part of the Government of Cuba. (See Claim of Pepsi Co., Inc., Claim No.
       CU-3596.)
          The final portion of the claim of claimant is based on attorneys' fees in
       the aggregate amount of $200,000.00. The first part thereof in the amount
       of $100,000.00 represents services rendered in negotiating the original con­
       tracts, setting up the corporate structures in Delaware and Cuba, and
       in vain attempts to reinstate the contracts and defend the actions assertedly
       resulting from the breach of the contracts by the Government of Cuba. The
       second part thereof, also in the amount of $100,000.00, involved expenses in­
       curred in actions against the Government of Cuba to recover for the taking
       of property, in which the judgment in favor of claimant was vacated.
          The Commission has held that claims for attorneys' fees and expenses in­
       curred in appealing from an order of Cuba taking that claimant's property
       does not constitute a claim for a loss of property within the purview of Title
       V of the Act. (See Claim of E. R. Squibb & Sons Inter-American Corporation,
       Claim No. CU-2469; Claim of Mathieson Pan-AmM·ican Chemical Corpora­
       tion, Claim No. CU-2470.)
          The Commission finds no valid basis for distinguishing the two portions of
       the claim for attorneys' fees aggregating $200,000.00. Accordingly, these two
       portions of the claim are denied.
          Therefore, as indicated above, Claim No. CU-0871 is denied in its entirety.
          Dated -at Washington, D.C., and entered as the Proposed Decision of the
       Commission October 7, 1970.

              IN THE MATTER OF THE CLAIM OF ANGEL PAGLIUCA
                         Claim No. CU-0632-Decision No. CU-5879
       Claims of nationals of the United States for actual losses sustained as a
         result of Cuba's nationalization actions are allowable under Title V of the
         Act.
                                       PROPOSED DECISION       *
          This claim against the Government of Cuba, under Title V of the Inter­
       national Claims Settlement Act of 1949, as amended, in the amount of
       $6,660,130.01, was presented by ANGEL PAGLIUCA based upon the asserted
       loss of certain personal property in Cuba. Claimant has been a national of
       the United States since February 4, 1957.
          Under Title V of the International Claims Settlement Act of 1949 [78 Stat.
       1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat. 988
        (1965) ], the Commission is given jurisdiction over claims of nationals of the
       United States against the Government of Cuba. Section 503 (a) of the Act
       provides that the Commission shall receive and determine in accordance with
       applicable substantive law, including international law, the amount and
         • This decision was entered as the Commission's Final Decision on November 16, 1970.
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       validity of claims by nationals of the United States against the Government
       of Cuba arising since January 1, 1959 for
            losses resulting from the nationalization, expropriation, intervention or
            other taking of, or special measures directed against, property including
            any rights or interests therein owned wholly or partially, directly or
           indirectly at the time by nationals of the United States.
         Section 502 ( 3) of the Act provides:
            The term 'property' means any property, right, or interest including any
            leasehold interest, and debts owed by the Government of Cuba or by
           enterprises which have been nationalized, expropriated, intervened, or
           taken by the Government of Cuba and debts which are a charge on
            property which has been nationalized, expropriated, intervened, or taken
           by the Government of Cuba.
         Claimant asserts the following losses:
            Personal belongings            $ 84,261.60
            6% interest from
              March 1961 to
               October 1961                     3,372.46            $ 87,634.06
             Debt of Cuban Government
               (Commissions and
              expenses)                    $ 567,550.00
             6% interest from
               December 1958 to
              August 1961                        93,645.75            661,195.75
             Constructora Guanahani, S.A.
               Stock interest, construction
              materials and equipment       $ 612,086.50
             6% interest from
               January 1959 to
              August 1962                     136,659.03              748,745.53
             Stock interest in Berlanti
                Construction Co., S.A.     $       7,500.00
             .375 equity in Berlanti­
                Delaware's estimated
               profits on contract            825,000.00
             Construction equipment         1,953,996.60
                                               2,786,496.60
             6% interest for 1959,
              1960 and 1961                     361,719.38           3,148,215.98
             Stock interest in Copetrol
               Oil Refining Co., S.A.      $1,100,000.00
             Loan                             230,292.26
                                               1,330,292.26
             6% interest from
               January 1959 to
               August 1961                      212,846.86          1,543,139.12
             Fomento Excelsior Inter­
               nacional, S.A. Assets       $ 432,292.85
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           6% interest from
             March 1960 to
             August 1961                      38,906.72               471,199.57
                              Total                                $6,660.130.01

         It is noted at the outset that claim is being made for interest with respect
       to each item of property herein. Claimant has computed interest for specific
       periods of time. As indicated hereafter, interest is being allowed at 6% per
       annum from the respective dates of loss of certifiable items to the date of
       settlement.
                                  PERSONAL BELONGINGS

          Based upon the evidence of record, including affidavits and invoices cover­
       ing some of the items of jewelry, the Commission finds that claimant owned
       certain items of furniture, furnishings and other personal belongings main­
       tained at his rented apartment at 58-0 Street, Havana, Cuba. Affidavits
       from individuals having personal knowledge of the facts indicate that on
       March 10, 1961 Cuban officials took said personal property. Accordingly, the
       Commission finds that claimant's furniture, furnishings and other personal
       belongings were taken by the Government of Cuba on March 10, 1961.
           Claimant asserts that the personal property in his Havana apartment had
       a value of $84,261.60. He relies on an itemized list of said property which he
       states in his letter of March 9, 1970 was prepared by former Cuban officials
       and others. The Commission had suggested the submission of evidence to
       show the approximate dates of acquisition of each item of property and the
       approximate costs thereof. However, no such evidence has been filed.
           The Commission notes from claimant's letter of March 9, 1970 that his
       first trip to Cuba was in March 1947 and that he left Cuba on December 17,
       1959. An examination of the list of personal property indicates that many
       of the items are subject to depreciation at the rate of 5% per year, and that
       clothing in the amount of $3,500.00 is subject to depreciation at the rate of
       20% per year. Other items, however, such as silver, oil paintings, jewelry,
       cash, liquors and food generally are not subject to depreciation. The items
       subject to depreciation aggregate $46,930.00, and the other items aggregate
       $37,331.60.
           On the basis of the entire record and in the absence of evidence to the
        contrary, the Commission finds that the first said group of items should be
        depreciated by 50%. The Commission therefore finds that the value of such
        items of property on March 10, 1961, the date of loss, was $23,465.00 Accord­
       ingly, the aggregate value of claimant's personal belongings on the date of
       loss was $60,796.60.
                              DEBT OF CUBAN GOVERNMENT

          Claimant asserts a loss of $567,550.00 for expenses incurred and commis­
       sions due from the Government of Cuba on account of a certain housing con­
       tract with Cuba, representing $67,550.00 for expenses and $500,000.00 for
       commissions. This portion of the claim is closely related to and actually
       forms part of the claim for a stock interest in Berlanti Construction Co.,
       S.A. and in Berlanti Construction Co., Inc. of Delaware. Accordingly, this
       portion of the claim will be discussed below in conjunction with the related
       part hereof.
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                            CONSTRUCTORA GUANAHANI,       S.A.
         Based upon the evidence of record, including stock certificates and affi­
      davits, the Commission finds that claimant owned a 100% stock interest in
      Constructora Guanahani, S.A. (Guanahani), a Cuban corporation.
         Since Guanahani was organized under the laws of Cuba, it does not qualify
      as a corporate "national of the United States" defined under Section
      502(1) (B) of the Act as a corporation or other legal entity organized under
      the laws of the United States, or any State, the District of Columbia, or the
      Commonwealth of Puerto Rico, whose ownership is vested to the extent of
      50 per centum or more in natural persons who are citizens of the United
      States. In this type of situation, it has been held that an American stock­
      holder is entitled to file a claim for the value of his ownership interest. (See
      Claim of Parke, Davis & Company, Claim No. CU-0180, 1967 FCSC Ann.
      Rep. 33.)
         It appears from the record and the related Claim of Berlanti Construction
      Company, Inc. (Berlanti of Delaware), Claim No. CU-0871, in which claim­
      ant owned a stock interest, that Guanahani was authorized by contract dated
      November 21, 1958 with Berlanti of Delaware to construct a certain housinp:
      development in Cuba as subcontractor. This matter is discussed in detail
      below under another portion of this claim. In connection with that sub­
      contract, Guanahani purchased certain materials and equipment and com­
      menced construction early in December 1958. The evidence in Claim No.
      CU-0871 shows that Cuban officials halted all construction on January 27,
      1959. Claimant states that Guanahani's assets were taken by Cuba at the
      same time. On the basis of the entire record and in the absence of evidence
      to the contrary, the Commission finds that Guanahani's assets were taken by
      the Government of Cuba on January 27, 1959.
         Claimant asserts the loss of $612,086.50 for materials and equipment at
      the site where construction was in progress. The Commission suggested the
      submission of balance sheets and other appropriate documentary evidence to
      establish the nature and value of Guanahani's assets and its liabilities so
      that its net worth could be determined. Claimant's response of March 9, 1970
      was that all such records had remained in Cuba and were unavailable.
         The record, however, contains the following pertinent evidence:
          (a) A copy of an inventory made on December 30, 1958 of Guanahani's
      material and equipment at the construction site, aggregating $612,086.50.
          (b) A copy of an affidavit, dated November 2·8, 1966, indicating that
      Guanahani owned office furniture having a value of $5,646.50.
          (c) A copy of a letter, dated January 19, 1959, from the President of
      Guanahani to Berlanti of Delaware, indicating that Guanahani had com­
      menced construction of the housing development, and that as of that date
      the value of the construction partially completed aggregated $256,000.00.
          (d) Affidavits from suppliers of material indicating that they had deliv­
      ered to the construction site property aggregating $410,873.00 with respect
       to which $216,723.00 was still due one of the suppliers and $194,150.00 was
       due another supplier.
          (e) A copy of a statement, dated January 2, 1959, from claimant's
       account, stating that upon examination of claimant's books and records in
       Cuba, claimant's assets and liabilities as of December 30, 1958 were as fol­
       lows, the Cuban peso being on a par with the United States dollar:
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                                         ASSETS
         Bank account                                                 $      1,246.96
         Cash with private depository                                      210,237.00
         Accounts receivable                                               276,500.00
         Copetrol Oil Refining Co., S.A.
           Receivable                                                      230,292.26
         Copetrol Oil Refining Co., S.A.
           Shares of stock                                                1,100,000.00
         Berlanti Construction Co., S.A.
           Shares of stock                                                1,953,996.00
         Personal property in Havana
          residence                                                         84,311.60
         Constructora Guanahani, S.A.
           Shares of stock                                                1,317,086.50
         Fomento Excelsior Internacional, S.A.
           Shares of stock                                                 250,050.00
         Commissions receivable                                            500,000.00
                  Total Assets                                        $5,923,720.32

                             LIABILITIES AND CAPITAL
         Fomento Excelsior Internacional, S.A.                        $   20,010.00
         Copetrol Oil Refining Co., S.A.                                  25,000.00
         Berlanti Construction Co., S.A.                               1,450,000.00
         Constructora Guanahani, S.A.                                    711,216.00
         Various creditors                                               380,256.00
         Commissions payable                                             355,000.00
         Reserve for taxes                                               186,000.00
         Other reserves                                                   70,000.00
         Interest payable on loans                                        32,350.00
         Angel Pagliuca, capital account                               2,693,888.32
                  Total Liabilities and Capital                       $5,923,720.32

         Since all of the pertinent books and records relating to claimant's Cuban
       operations were left in Cuba, the foregoing statement of assets and liabilities
       cannot be considered conclusive on the issue of valuation. Moreover, the
       record fails to establish that Guanahani owned assets other than those at
       the construction site. Upon consideration of the entire record, and in the
       absence of more compelling evidence, the Commission finds that the values
       of Guanahani's assets at the construction site on January 27, 1959, the date
       of loss, were as follows:
         Inventory of material and supplies
             (This is deemed to include in part the
            supplies indicated under item (d) above.)                $ 612,086.50
         Office furniture                                                 5,646.50
         Partially completed construction
             (This is deemed to include in part the
            supplies indicated under item (d) above.)                   256,000.00
         Debt due from claimant                                         711,216.00
                                                                      $1,584,949.00
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         The Commission finds that the debt due from claimant did' not constitute
       an asset of Guanahani that was taken by the Government of Cuba. It is
       therefore concluded that the aggregate value of Guanahani's assets on the
       date of loss was $873,733.00.
         As indicated under item (d) above, the record shows that Guanahani was
       indebted to suppliers in the amounts of $216,723.00 and $194,150.00, aggre­
       gating $410,873.00. Accordingly, the Commission finds that the net worth of
       Guanahani or the excess of its assets over its liabilities on January 2.7, 1959
       was $462,860.00. It is concluded that claimant sustained a loss in that amount
       with respect to his stock interest in Guanahani.
                    BERLANTI CONSTRUCTION CO.,     S.A.   AND BERLANTI
                       CONSTRUCTION COMPANY, INC. OF DELAWARE
          Claimant, in effect, asserts two losses closely related to one another;
       namely, debts of the Cuban Government in the amount of $567,550.00, and
       losses in the amount of $2,786,496.60 on account of his stock interests in
       Berlanti Construction Co., S.A. a Cuban corporation, and in Berlanti Con­
       struction Company, Inc. of Delaware, an American corporation.
          Section 505 (a) of the Act provides as follows:
            A claim under section 503(a) of this title based upon an ownership
            interest in any corporation, association, or other entity which is a
            national of the United States shall not be considered ...
          The record shows that Ber!anti Construction Company, Inc. is a national
       of the United States within the meaning of Section 502(1) (B) of the Act.
        (See Claim of Be1·lanti Construction Company, Inc., Claim No. CU-0871.)
       The Commission finds that the portion of the claim based on a stock interest
       in Berlanti Construction Company, Inc. is barred by the express provisions
       of Section 505 (a) of the Act. Accordingly, so much of this claim as is based
       on an interest in Berlanti of Delaware is denied.
          In this connection, it further appears that claimant is requesting $500,­
       000.00 as commissions due with respect to a contract to construct a housing
       development in Cuba entered into on November 20, 1958 between Berlanti
       of Delaware and the National Housing Commission (NHC) of Cuba, an
       agency of the Government of Cuba. In addition, claimant is requesting
       $67,550.00 for expenses incurred in connection with that contract.
          The record, including the evidence submitted in support of Claim No.
       CU-0871, discloses that claimant had been negotiating with NHC concerning
       a contract to build a low-cost housing development in Cuba. In the course of
       these negotiations, the Berlanti Construction Company, Inc. was organized
        on November 18, 1958 under the laws of Delaware, claimant's interest therein
       being 37.5%. NHC agreed to enter into a construction contract with Berlanti
       of Delaware and to pay certain finance and interest charges in an amount
        not to exceed 7.5% of the basic construction contract.
          The construction contract between NHC and Berlanti of Delaware was
        concluded on November 20, 1958 and provided for a cost not to exceed $10
       million. The loan of $10 million to finance the development was obtained
       through efforts of claimant and as indicated above, construction of the
       housing project commenced. The record includes a copy of a letter, dated
        July 11, 1958, from NHC to claimant indicating that claimant is entitled to
        a commission of 5% on account of arranging for financing the loan to Cuba,
       as well as compensation for expenses. By letter dated December 3, 1958,
        NHC stated that claimant was entitled to 5% of $10 million as his fee. It
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      further appears from an affidavit, dated November 25, 1966, from the former
      director of NHC that claimant had been authorized to expend funds in the
      course of obtaining the loan on behalf of the Government of Cuba. The record
      also includes copies of bills claimant sent to the Government of Cuba in
      1959, requesting payment of $567,550.00 for services rendered and expenses
      incurred in connection therewith. Claimant's requests were ignored by Cuba,
      and to date claimant has never recovered any amount on account of that debt.
         On the basis of the entire record, the Commission finds that the Govern­
      ment of Cuba owed claimant a debt in the aggregate amount of $567,550.00.
      The Commission further finds in the absence of evidence to the contrary that
      claimant's loss in this respect occurred on January 27, 1959 when construc­
      tion was halted by Cuban officials.
         Claimant also seeks to recover $825,000.00, representing his 37.5% share
      of $6,190,382.16, the amount of a default judgment entered in a court of
      Florida on July 26, 1961 in favor of Berlanti of Delaware against the Gov­
      ernment of Cuba (see Claim No. CU-0871). Inasmuch as this portion of the
      claim is based on a stock interest in an American corporation, it is denied
      pursuant to the express provisions of Section 505 (a), supra. Moreover, the
      record in Claim No. CU-0871 shows that the judgment was vacated on
      December 27, 1961.           ·
         Another portion of the claim is based upon the asserted value of claimant's
      stock interest in Berlanti Construction Co., S.A. (Berlanti, S.A.) in the
      amount of $1,953,996.60. Claimant relies upon the said statement of his
      assets and liabilities as of December 30, 1958, in which his interest in Ber­
      lanti, S.A. is shown as $1,953,996.00, and upon another statement, dated
      January 2·, 1959, showing the following as assets of Berlanti, S.A.:
          Equipment                                                $1,360,000.00
          Furniture and office equipment                              125,000.00
          Remodeling of building and air co nditioning system         116,650.00
          Building materials                                          352,346.60
                                                Total              $1,953,996.60

        As noted above, no records are available to support the foregoing state­
      ment. Moreover, it is noted from the statement of assets and liabilities of
      claimant as of December 30, 1958, apparently prepared by the same ac­
      countant who set forth the foregoing assets of Berlanti, S.A., that claimant
      owed debts to Berlanti, S.A. in the amount of $1,450,000.00. Other debts also
      appear in that statement, but a number of them in the amounts of $380,­
      256.00, $355,000.00, $186,000.00, $70,000.00, and $32,350.00, respectively, are
      not identified, and it is therefore unknown whether they were debts owing
      to Berlanti, S.A. or one of the other Cuban corporations involved in this
      claim. Additionally, it appears from the record in CU-0871 that the only
      asset owned by Berlanti, S.A. was the contract with NHC which Berlanti of
      Delaware had assigned to Berlanti, S.A. The record in CU-0871 also indi­
      cates that Berlanti, S.A. never acted, which also indicates that it owned no
      assets other than the assigned contract.
         Furthermore, claimant states in his official claim form that the value of
      his stock interest in Berlanti, S.A. was $7,500.00. Another stockholder of
      Berlanti, S.A., Ilona Gero Rieger, who also filed a claim against Cuba
       (CU-0657), likewise asserted a loss of $7,500.00 for her stock interest in
      Berlanti, S.A. which was equivalent to the interest owned by claimant herein.
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          Upon consideration of the entire record, the Commission finds that claim­
       ant has failed to sustain the burden of proof with respect to the portion of
       his claim for a stock interest in Berlanti, S.A. It may be noted in this respect
       that there is no evidence of record in Claim No. CU-0871 or in Claim No.
       CU-0632 to establish that Berlanti, S.A. sustained any loss as a result of the
       cancellation of the contract that had been assigned to Berlanti, S.A. from
       Berlanti of Delaware. Moreover, the record in this claim is found insufficient
       to support this portion of the claim. Accordingly, this portion of the claim is
       denied.
                              COPETROL OIL REFINING Co., S.A.
          Claimant asserts a loss of $1,330,292.26, representing $1,100,000.00 for his
       stock interest in Copetrol Oil Refining Co., S.A. ( Copetrol), a Cuban corpora­
       tion, and $230,292.26 for a debt due from Copetrol. Claimant relies on the
       statement of assets and liabilities as of December 30, 1958 which sets forth
       these amounts as part of his assets.
          Based upon a copy of a stock certificate and other evidence of record,
       the Commission finds that claimant owned 44,000 shares of stock in Copetrol
       with a par value of $25.00 per share. It further appears from a statement
       by an officer of Copetrol, dated December 30, 1958, that Copetrol had 57,600
       shares of outstanding capital stock.
          The record includes a statement, dated January 21, 1959, from the gen­
       eral manager of Copetrol indicating that between January 3 and 7 of 1959
       the warehouse of Copetrol was "completely plundered by Fidel Castro's
       Rebel Army." On the basis of the foregoing, the Commission finds that
       Copetrol's assets were taken by Cuba on January 5, 1959.
          It appears that no balance sheets for Copetrol are available. However,
       claimant has submitted other evidence concerning the assets and liabilities
       of Copetrol.
          The asserted loss of $1,100,000.00 for claimant's stock interest in Copetrol
       was computed on the basis of its par value, $25.00 per share for 44,000
        shares.
          It appears from the evidence of record that Copetrol was organized in
       Havana, Cuba on June 18, 1958. Its purpose was to refine crude oil into
       gasoline and other related products.
          With respect to Copetrol's assets, the following evidence is included in
        the record:
          1. A statement, dated January 10, 1959, from the warehouse manager of
        Copetrol, indicating that the value of materials taken from Copetrol's ware­
        house was $879,066.45. This statement is supported by one, dated January 21,
        1959, from the general manager of Copetrol in which he listed the items of
        property thus taken by Cuba as follows:
             2 Motorlevels Caterpillar A-12                             $ 26,000.00
             1 Ferguson Petroleum                                          3,650.00
             1 Generator Plant                                           125,000.00
            2 Tornapoul                                                  211,366.45
             500 tons deformed bars 3/8                                   23,750.00
             1 Block Johnson Plant                                        25,000.00
             3 Bulldozers TD18 International                              91,800.00
             5,000 tons portland cement                                  225,000.00
             Assorted material of steel                                   60,000.00
             Ingots, etc.                                                 87,500.00
                                                    Total              $879,066.45
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       2. A statement, dated January 23, 1959, from the general manager of
      Copetrol listing the following items as losses:
          Legal expenses to form the company               $ 163,246.00
          Legal fees                                           33,000.00
          Advertising, etc.                                    22,460.00
          Blue prints and engineering costs                    95,976.50
          Commission to real estate broker                    132,237.00
          Salaries, rent and other expenses                    42,740.00
          Advances to executive                                25,000.00
          Furniture                                             6,750.00
          Land on Isle of Pines, Cuba                       1,322,370.00
          Engineering work and preliminary studies            170,265.60
          Projects on civil work, hydraulics, etc.             85,976.50
          Equipment and material                              879,066.45
          Promotional work                                    150,000.00
          Cash                                                 16,550.00
                                                Total             $3,145,638.05
         3. A statement, dated January 23, 1959, from the general manager of
      Copetrol indicating that out of the $3,145,638.05, the amount of $1,670,292.26
      is "presumed unpaid," leaving a net amount of $1,670,292.26. However, the
      statement fails to indicate which of the items remain unpaid and to what
      extent.
         4. A statement, dated October 9, 1958, from the President of a Cuban
      corporation which sold the land on the Isle of Pines to Copetrol, indicating
      that the land has been sold for $1,322,370.00, and that $132,327.00 had been
      paid by Copetrol on account.
         An examination of the list set forth under (2) above indicates that all
      of the items therein except advances to executives, furniture, land, and cash
      constitute organization expenses that normally would be amortized over a
      period of time. The Commission has had occasion to consider whether organi­
      zation expenses should be deemed to be an asset of a nationalized entity for
      the purposes of Title V of the Act. The Commission has held that if the
      earnings of the entity were sufficiently large in relation to the amount of
      organization expenses, it could be concluded that the organization expenses
      enhanced the entity's value and therefore constituted a valuable asset of
      the entity. (See Claim of Albert J. Parreno, Claim No. CU-1231.)
         The record shows that Copetrol was organized on June 18, 1958, and that
      it existed only for a few months until January 5, 1959 when it was taken by
      the Government of Cuba. It does not appear from the evidence of record
      that Copetrol had any earnings during its existence. Under these circum­
      stances there is no valid basis for considering organization expenses in the
      amount of $763,664.60, as shown by the record or in any amount, as an asset
      of Copetrol and the Commission so finds.
         Upon consideration of the entire record, the Commission finds that the
       aggregate value of the assets of Copetrol on January 5, 1959, the date of
      loss, was as follows:
            Land on Isle of Pines
                (The Commission finds that Copetrol's equity
                consisted of the payment of $132,327.00 on
                account of the purchase of the land plus the
                commissions of $132,237.00 paid to the real
                estate broker.)                                        $ 264,564.00
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            Furniture                                                         6,750.00
            Equipment and material                                          879,066.45
            Cash                                                             16,550.00
            Advances to executive
                (The Commission finds that claimant is the
                executive in question on the basis of his state­
                ment of assets and liabilities which shows that
                he owed $2·5,000.00 to Copetrol.)                             25,000.00
                         Total                                            $1,191,930.45

          The Commission finds that the item, advances to executive, did not consti­
        tute an asset of Copetrol that was taken by Cuba. Accordingly, the aggregate
        value of Copetrol's assets that were taken by Cuba was $1,166,930.45. It
        further appears from the evidence of record that in addition to the debts
        Copetrol owed on account of the land, which has already been taken into
        consideration, Copetrol owed claimant a debt in the amount of $230,292.26.
        The Commission therefore finds that the net worth of Copetrol or the excess
        of its assets over its liabilities on January 5, 1959, the date of loss, was
        $936,638.19.
          Since Copetrol had 57,600 shares of capital stock outstanding on the date
        of loss, the Commission finds that each share of stock had a value of
        $16.261079. Therefore, the value of claimant's 44,000 shares was $713,274.76.
          The Commission has held that debts of a nationalized Cuban corporation
        owed to an American claimant constitute losses occurring on the date of
        nationalization within the meaning of Title V of the Act. (See Claim of
        Kramer, Marx, Greenlee and Backus, Claim No. CU-0105, 25 FCSC Semiann.
        Rep. 62 [July-Dec. 1966].)
          As noted above, Copetrol owed claimant a debt in the amount of $230,292.26.
        The Commission therefore finds that claimant's loss in that amount occurred
        on January 5, 1959 when Copetrol was taken by Cuba.

                         FOMENTO EXCELSIOR INTERNACIONAL,          S.A.
           Based upon affidavits and a stock certificate, the Commission finds that
        claimant owned 99 shares of stock in Fomento Excelsior Internacional, S.A.
        (Fomento). This Cuban corporation was organized in Cuba on October 25,
        1956 and was engaged in importing, exporting and selling merchandise, pri­
        marily tri-dimesional pictures. On the basis of a statement of February 26,
        1960 from an officer of Fomento who has personal knowledge of the facts, the
        Commission finds that Fomento's assets were taken by the Government of
        Cuba on February 26, 1960. The evidence establishes that Fomento had 100
        shares of capital stock outstanding on the date of loss. The remaining share
        of stock belonged to a nonnational of the United States.
           It appears that no balance sheets or other financial statements concerning
        Fomento are available, all such records having been left in Cuba.
           Claimant asserts a loss of $432·,292.85 on account of his stock interest in
        Fomento. It is noted, however, that in claimant's statement of assets and
        liabilities, his interest in Fomento is shown as having a value of $250,050.00.
           With respect to the value of Fomento, the record includes the following
        evidence:
           (A) A statement, dated December 3, 1958, from an officer of Fomento,
        indicating that Fomento's inventory of merchandise in stock amounted to
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       $432,292.85, the amount being claimed herein; and that the total assets of
       Fomento aggregated $627,256.25.
          (B) A detailed inventory of said stock, dated February 27, 1960, showing
       various items of property aggregating $432,292.85. The inventory includes,
       inter alia, furniture valued at $2,450.00, cash in the amount of $6,464.00, and
       other items of inventory valued at $46,450.00.
          (C) Copies of invoices evidencing the purchase of a number of items that
       are included in the inventory. Those invoices show purchases of 1,170 watch
       bands on November 21, 1958 costing $11,115.00; 1,280 gross of items of cos­
       tume jewelry on November 20, 1958 costing $71,744.00; 14,375 optical frames
       on July 11, 1958 costing $38,237.50; 35,000 screens for tri-dimensional pictures
       on April 25, 1957 costing $70,925.00; and 62,000 unused films on April 25,1957
       costing $117,800.00. The record shows that all of these purchases were paid
       for in full by Fomento.
          It further appears from claimant's statement of assets and liabilities that
       he owed Fomento a debt in the amount of $20,010.00. The Commission finds,
       however, that this account receivable did not constitute an asset of Fomento
       that was taken by Cuba. On the basis of the entire record and in the absence
       of evidence to the contrary, the Commission finds that Fomento had no
       liabilities.
          Accordingly, the Commission finds that the net worth of Fomento or the
       excess of its assets over its liabilities on February 26, 1960, the date of loss,
       was $627,256.25. Therefore, each of the 100 shares of outstanding capital
       stock had a value of $6,272.5625, and claimant's 99 shares had a value of
       $620,983.69.
          Claimant's losses are summarized as follows:
         Item of Property                        Date of Loss                  Amount
       Personal belongings                     March 10, 1961              $    60,796.60
       Guanahani-stock intere st               January 27, 1959                462,860.00
       Debt of Cuban Governm ent               January 2.7, 1959               567,550.00
       Copetrol-stock interest                 January 5, 1959                 713,274.76
       Debt due from Copetrol                  January 5, 1959                 230,292.26
       Fomento-stock interest                  February 26, 1960               620,983.69
                                 Total                                     $2,655,757.31

          The Commission has decided that in certifications of loss on claims deter­
       mined pursuant to Title V of the International Claims Settlement Act of
       1949, as amended, interest should be included at the rate of 6% per annum
       from the date of loss to the date of settlement (see Claim of Lisle Corpora­
       tion, Claim No. CU-0644), and in this case it is so ordered as follows:
                              FROM                            ON
                         January 5, 1959               $      943,567.02
                         January 27, 1959                   1,030,410.00
                         February 26, 1960                    620,983.69
                         March 10, 1961                        60,796.60
                                    Total                  $2,655,757.31

                                   CERTIFICATION OF LOSS

         The Commission certifies that ANGEL PAGLIUCA suffered a loss, as a
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       result of actions of the Government of Cuba, within the scope of Title V of
       the International Claims Settlement Act of 1949, as amended, in the amount
       of Two Million Six Hundred Fifty-five Thousand Seven Hundred Fifty-seven
       Dollars and Thirty-one Cents ($2,655,757.31) with interest at 6% per annum
       from the respective dates of loss to the date of settlement.
         Dated at Washington, D.C., Oct. 14, 1970.

               IN THE MATTER OF THE CLAIM OF ISABELLA SHAMMA
                           Claim No. CU-2593-Decision No. CU-3845
        In a claim based on personal injury or disability under section 503(b) of the
          Act, it must be established that the injury or disability was the proximate
          result of action by the Government of Cuba in violation of international
          law.
        Confiscation of property as a part of a penalty imposed in criminal proceed­
         ings under Cuban law does not constitute a valid claim under Title V of
          the Act, in the absence of a denial of justice within the contemplation of
         internatonal law.
                                         PROPOSED DECISION ''
           This claim against the Government of Cuba, under Title V of the Interna­
        tional Claims Settlement Act of 1949, as amended, in the amount of
        $492,306.62, was presented by GERALDINE ISABELLA SHAMMA, a/k/a
        GERALDINE I. SUAREZ, based upon the asserted ownership and loss of
        certain real and personal property in Cuba, and upon personal injuries.
        Claimant has been a national of the United States since birth.
           Under Title V of the International Claims Settlement Act of 1949 [78
        Stat. 1110 (1964), 22 U.S.C. §§1643-1643k (1964), as amended, 79 Stat. 988
         (1965) ], the Commission is given jurisdiction over claims of nationals of the
        United States against the Government of Cuba. Section 503 (a) of the Act
        provides that the Commission shall receive and determine in accordance with
        applicable substantive law, including international law, the amount and valid­
        ity of claims by nationals of the United States against the Government of
        Cuba arising since January 1, 1959 for
             losses resulting from the nationalization, expropriation, intervention or
             other taking of, or special measures directed against, property including
             any rights or interests therein owned wholly or partially, directly or in­
             directly at the time by nationals of the United States.
           Seeton 502(3) of the Act provides:
             The term "property" means any property, right, or interest including
             any leasehold interest, and debts owed by the Government of Cuba or by
             enterprises which have been nationalized, expropriated, intervened, or
             taken by the Government of Cuba and debts which are a charge on
             property which has been nationalized, expropriated, intervened, or taken
             by the Government of Cuba.
                                    REAL AND PERSONAL PROPERTY
          Claimant asserts a loss of certain improved real property at Miramar and
        at Marianao, Havana, Cuba, in the aggregate amount of $138,500.00; as well
          • The denial of this claim was affirmed by a Final Decision of September 8, 1971.
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       as furniture, furnishings and various household effects maintained at the
       Miramar residence, in the amount of $129,141.00; automobiles, luggage and
       sundry personalty in the amount of $29,700.00; various items of jewelry in
       the amount of $98,850.00; fur coats and other items of clothing in the amount
       of $35,800.00; and a two-thirds interest in certain Cuban bonds in the amount
       of $10,315.62. The aggregate amount claimed for this portion of the claim is
       $442,306.62.
          Claimant also states that she "was sentenced to Guanajay Prison in Cuba
       after being convicted of counter-revolutionary activities (for) acting as a
       liaison for x x x [a United States Government agency] situated in Cuba and
       (for) counter-revolutionary forces." The assertion that claimant was con­
       victed of counter-revolutionary activities in violation of the laws of Cuba is
       corroborated by a substantial amount of evidence in the record, such as
       claimant's affidavit of April 27, 1967, a copy of an article written by claimant
       and published in the Saturday Evening Post issue of May 18, 1963, a number
       of recent newspaper articles, and a certified translation of the court decree,
       dated at Havana, Cuba, December 16, 1960, pursuant to which claimant was
       sentenced for allegedly violating the laws of Cuba.
           The judgment of the court recites that claimant and a number of other
       persons, who appear to be Cuban nationals, were found guilty of counter­
       revolutionary activities for attempting to "overthrow the Powers of the State
       through violent means." Following trials, various sentences were imposed
       upon the several defendants, except for three who were acquitted; claimant's
       sentence was ten years in prison, and "confiscation of all ... properties."
          It is undisputed that claimant's properties in Cuba were confiscated by the
       Government of Cuba on December 16, 1960 as a result of her conviction for
       violating the criminal laws of Cuba. The only issue presented in this respect
       is whether the confiscation is within the purview of Title V of the Act.
          It is universally recognized and needs no citations to support the proposi­
       tion that a State has inherent authority to punish persons convicted of violat­
       ing its criminal laws by fines, imprisonment and confiscation of their property,
       or by any one or more of said penalties. The Commission consistently has ad­
       hered to this principle in its determinations under the various titles of the
       International Claims Settlement Act of 1949, as amended. Thus, the Commis­
       sion has held that it is a sine qua non for a claimant to receive favorable ac­
       tion that a violation of international law must be established in a claim for
       the nationalization or other taking of property. (FCSC Dec. & Ann. 394, 399,
       548 (1968) .) And, generally speaking, punishment for the internal violation
        of a country's laws is not such a violation. The last citation ( id. at 548) in­
        volves facts that are similar to those in the claim under consideration. In
       that case, claimant was convicted of violating the laws of Poland by attempt­
        ing to smuggle, by means of his yacht, 60,000 zlotys out of Poland. He was
       sentenced to imprisonment and fine, and his yacht and the 60,000 zlotys were
       confiscated by Poland. The Commission denied the claim, stating that there
        had been neither a lack of due process nor unusual or excessive punishment;
        that Poland had the sovereign right to impose penalties for the violation of
        its laws, and that in doing so under the circumstances in this case, it in­
        curred no liability under international law and was not required to compen­
        sate claimant for its actions. (For the full text of that decision, see Claim of
        Walter Peter Milewski, Claim No. P0-5890, Dec. No. P0-1921, 19 FCSC
        Semiann. Rep. 42 (July-Dec. 1963) .)
           There is nothing in this record that establishes or even suggests that claim­
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       ant was denied due process of law at her trial in Cuba or that there was a
       denial of justice, as that term is understood under international law, such as
       an unfair trial. Moreover, it does not appear that the sentence of confiscation
       of claimant's properties was unusual or excessive punishment. Copies of com­
       munications from the United States Department of State to claimant's coun­
       sel indicate that claimant was accorded the rights at her trial to which she
       was entitled under international law. A communication, dated December 5,
       1960, informed counsel that a prominent Cuban attorney who "had a great
       deal of experience in handling counter-revolutionary cases" had been en­
       gaged to represent claimant. It appears from another communication that a.
       representative from the United States Embassy was not present at claimant's
       trial because "she did not want anyone there."
          Upon consideration of the entire record, the Commission finds that the
       Government of Cuba violated no rule of international law by confiscating
       claimant's properties, and it concludes that the portion of the claim for the
       loss of the real and personal property confiscated pursuant to the Cuban
       court judgment of December 16, 1960 is not within the purview of Title V
       of the Act. Accordingly, this portion of the claim is denied.
          The facts involving the loss of claimant's two-thirds interest in certain
       Cuban bonds warrant further discussion. The record shows that bonds in the
       face amount of $23,000.00 of the issue known as 6% mortgage bonds of The
       Centro Asturiano de !a Habana, Series A, had been on deposit with the First
       National City Bank of New York, Havana Branch, since 1947 in favor of
       claimant's late husband, Carmen V. Suarez, who died on April 19, 1950. In
       accordance with the duly probated will of Carmen V. Suarez, claimant was
       bequeathed his entire estate, and by assignment, dated December 2, 1952, she
       transferred a one-third interest in the bonds to her attorney, Harold C.
       Apisdorf, Esq. For the record it can be noted that his claim (CU-0626),
       based upon said one-third interest, inter alia, will be decided on its own
       merits. Accordingly, the Commission finds that claimant owned a two-thirds
       interest in 23 bonds of the said issue, each bond in the amount of $1,000.00.
           On September 17, 1960, the Cuban Government published in its Official
        Gazette Resolution 2 pursuant to Law 851, which listed as nationalized on
       that date the First National City Bank of New York. The Commission finds
        that upon the nationalization of the assets of the First National City Bank
        of New York, Havana Branch, the bonds in which claimant owned a two­
        thirds interest, on deposit with that bank, were taken by the Government of
        Cuba. This gave rise to a claim against the Government of Cuba for the
       value of the bonds. The Commission holds, however, that the confiscation
        order of December 16, 1960 against the claimant also effected a confiscation
        of her claim against Cuba, a chose in action constituting personal property,
        that had arisen on September 17, 1960. For the reasons stated above with
        respect to claimant's other personal property and her real property, the por­
        tion of the claim for these bonds is also denied ..

                                     PERSONAL INJURIES

          Claimant has asserted a claim in the amount of $50,000.00 for personal in­
        juries allegedly sustained while imprisoned in Cuba. She states that prior to
        her trial in Cuba she was subjected to intensive questioning for three weeks
        which caused her to experience a heart attack; that women prisoners were
        beaten with gun butts and during one such occasion she was struck by a gun
        butt at the side of her head, causing severe injury to her left ear, which will
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      require surgery to repair the damage and restore her hearing; and that she
      subsequently suffered a second heart attack while imprisoned in Cuba.
         The record includes a statement from Dr. Jose C. Gros, dated January 19,
      1968, in which he states that he had examined claimant in a Cuban prison in
      December 1960, that claimant complained of an earache "after being hit on
      the left ear by a soldier during a prison riot." The doctor stated that he had
      examined claimant again in January 1961 and found "bilateral ear infection
      with pus in both external ear canals, and the tympanic membranes were per­
      forated." The doctor concluded that claimant had suffered a hearing "loss of
      75-80% in the left ear, and 38-43% in the right ear."
         Section 503 (b) of the Act provides as follows:
           The Commission shall receive and determine in accordance with applica­
           ble substantive law, including international law, the amount and validity
           of claims of nationals of the United States against the Government of
           Cuba ... arising since January 1, 1959 ... for disability or death result­
           ing from actions taken by or under the authority of the Government of
           Cuba .•.
         The Commission has held that in a claim under Section 503 (b) of the Act,
      it must be established, inter alia, that the claimant suffered a disability and
      that the disability was the proximate result of actions of the Government of
      Cuba in violation of international law. (See Claim of Julio Lopez Lopez,
      Claim No. CU-3259.)
         The evidence of record does not support claimant's assertions that her in­
      juries and present disability resulted from violations of international law by
      the Government of Cuba within the purview of Section 503 (b) of the Act. A
       copy of a letter to counsel from the Department of State, dated March 16,
      1961, states in part: "I can only report that she·was recently visited and
      that she was found to be well treated and in good health." In another letter
      to counsel from the Department of State, dated July 24, 1961, it was stated
      in part: "We have now received a report from the American Embassy at
      Bern informing us that a representative of the Swiss embassy in Habana
      visited Mrs. Geraldine Shamma De Carrera at the Guanajay prison on June
      15 and that Mrs. Shamma appeared to be in better health. She also confirmed
      that she was well treated, but complained that the prison food was insuffi­
      cient."
         Another letter to counsel from the Department of State, dated June 1,
      1962, stated in part: "Mrs. Shamma declared (at an interview with a Swiss
      representative on May 2, 1962) she was not subjected to cruelty since she
      was an American. . . . Mrs. Shamma had no complaint against the prison
      authorities. . . . During her 18 months imprisonment, Mrs Shamma has
      never been subjected to propaganda or indoctrination in favor of the present
      regime." Although claimant did not appear to be as well on the occasion of
      the visit of May 2·, 1962 nor subsequently, according to other Department of
      State correspondence, it does not appear from such correspondence or any
       other evidence of record that her deterioration in health was the result of
      any Cuban action in violation of international law. The record shows that
      claimant was hospitalized while in prison and given medical attention. The
      correspondence of record indicates claimant had recovered from her illness,
       was released from the prison hospital and returned to her cell in August
      1962. Swiss representatives spoke with claimant personally after her release
      from the hospital and "were assured of her well-being."
         Additionally, there is nothing to support claimant's contentions that she
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         sustained a disability from Cuban action in violation of internatonal law
         from newspaper articles or the article claimant wrote for the Saturday
         Evening Post. The newspaper articles report that claimant was released
         from prison in 1963 and that she was working to free other prisoners held
         by Cuban authorities, but there was not a word about any injuries or dis­
         ability suffered by claimant. Claimant's article, published in the Saturday
         Evening Post, discusses a riot at the prison. Claimant wrote: "We started
         to riot. We broke up furniture and used table legs for clubs. I was right in
         the thick of it, shouting encouragement to the other women. We chased the
         guards out of our dormitory and barricaded the door with cots and mat­
         tresses. Then we kept them at bay by turning a tremendous fire hose on
         them. We were only 45 women, and they were several hundred milicianos,
         but we fought like demons. Finally, they turned off the water, and over­
         whelmed us. They dragged us out-wet, beaten and still screaming-and
         threw us on a bus. One woman had a broken arm. Another had her head split
         open. We were all cold and shivering."
            Although claimant described her experiences immediately after arrest and
          after her trial, she made no mention in that article of being beaten with a
        _gun butt or suffering a heart attack from severe intensive questioning.
         Describing her experiences while under arrest and during questioning by
         "G-2," claimant stated in that article: "I spent 16 days with G-2. I didn't
          sleep well, and I didn't eat very much, but they never laid a hand on me
         except to search me." Claimant described other women as being treated
         inhumanely, but not herself. At one point claimant did state that she sus­
         tained pain from "angina pectoris" but she stated she had refused transfer
         to the prison hospital.
             Upon careful conside:tation of the portion of the claim for personal in­
         juries, the Commission finds the record insufficient to warrant favorable
         action. Claimant was arrested and convicted for violating the criminal laws
         of Cuba. Claimant refused to have an American representative from the
          United States Embassy present at her trial. The record fails to corroborate
         claimant's present version as to how her disabilities arose. Although she
         may have suffered a heart attack and may have been disabled, it does not
         appear that this was the proximate result of Cuban Government actions in
         violation of international law.
             The Commission· finds that claimant has failed to sustain the burden of
         proof with respect to the portion of her claim for a disability under Section.
         503 (b) of the Act. Accordingly, this portion of the claim is also denied.
             Dated at Washington, D.C., Sep. 3, 1969.

                IN THE MATTER OF THE CLAIM OF PILGRIM PLASTICS
                                 CORPORATION
                         Claim No. CU-1979-Decision No. CU-3870
        Purchase by the Government of Cuba of machines consigned to a Cuban
          Corporation by American corporation under a contract 1·equiring payment
          by the consignee of certain royalties for the use thereof, constituted an
          assumption by the Government of the obligation of the consignee unde1·
          the contract.
        Failure by the Government of Cuba to permit Cuban consignee to honor its
          obligation to American corporation constituted an intervention in the con­
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         tractual rights of the American corporation and gave rise to a valid claim
         under Title V of the Act.
                                           PROPOSED DECISION       *
         This claim against the Government of Cuba, under Title V of the Inter­
      national Claims Settlement Act of 1949, as amended, in the amount of $57(),­
      505.29, was presented by PILGRIM PLASTICS CORPORATION based upon
      the asserted loss of payment for merchandise shipped to a consignee in Cuba
      and royalties due from said consignee.
         Under Title V of the International Claims Settlement Act of 1949 [78 Stat.
      1110 (1964), 22 U.S.C. §§1643-1643k (1964), as amended, 79 Stat. 988
       (1965) ], the Commission is given jurisdiction over claims of nationals of the
      United States against the Government of Cuba. Section 503(a) of the Act
      provides that the Commission shall receive and determine in accordance with
      applicable substantive law, including international law, the amount and va­
      lidity of claims by nationals of the United States against the Government of
      Cuba arising since January 1, 1959 for
           losses resulting from the nationalization, expropriation, intervention or
           other taking of, or special measures directed against, property including
           any rights or interests therein owned wholly or partially, directly or in­
           directly at the time by nationals of the United States.
         Section 502 (3) of the Act provides:
              The term "property" means any property, right, or interest including
           any leasehold interest, and debts owed by the Government of Cuba or by
           enterprises which have been nationalized, expropriated, intervened, or
           taken by the Government of Cuba and debts which are a charge on prop­
           erty which has been nationalized, expropriated, intervened, or taken by
           the Government of Cuba.
         Section 502(1) (B) of the Act defines the term "national of the United
      States" as a corporation or other legal entity which is organized under the
      laws of the United States, or of any State, the District of Columbia, or the
      Commonwealth of Puerto Rico, if natural persons who are citizens of the
      United States own, directly or indirectly, 50 per centum or more of the out­
      standing capital stock or other beneficial interest of such corporation or
      entity.                         '
         An authorized officer of claimant has certified that claimant was organized
      under the laws of New York, and that at all pertinent times all of the out­
      standing capital stock of claimant was owned by three persons in equal
      shares. The record shows that two of these three stockholders were nationals
      of the United States at all pertinent times. The Commission holds that claim­
      ant is a national of the United States within the meaning of Section
      502(1) (B) of the Act.

       Merchandise shipped to Cuba
         The record shows that claimant concluded certain agreements with a Cuban
       corporation, Industria Sinesio Rojo, S.A., hereafter called the consignee, dis­
       cussed below in connection with the portion of the claim for royalties. As a
       result of that relationship, claimant shipped to the consignee in Cuba a "com­
       plete mold for machinery to manufacture plastic heels" on August 6, 1959,
       three "Cavities for the manufacture of plastic heels," each on two occasions,
         * This   decision was entered as the Commission ·s Final Decision on October 8, 1969.
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        October 28, 1959, and December 16, 1959, and another "Cavity" on February
        26 1960. The record contains copies of invoices, bills of lading and air way­
        bills, as well as extracts from claimant's records and statements from officials
        of claimant concerning said shipments. The following indicates the shipment
        dates, and the amounts thereof, on the basis of the evidence of record:
            Shipment date                                                                    Amount
            Aug. 6,    1959                                                                   $ 9,750.00
            Oct. 28,   1959                                                                     1,650.00
            Dec. 16,   1959                                                                     1,650.00
            Feb. 26,   1960                                                                       550.00
              Total    _ __ _ _ ____ ___ ___ _ _ ___ ___ _ _ _ _ _ _ ___ _ ___ ____ __ ___ __ $13,600.00

           Extracts from claimant's records show that the consignee made a number
        of payments on account of the foregoing debt in 1959 and 1960, which pay­
        ments aggregated the amount of $8,100.00. Accordingly, the Commission finds
        that the net amount due from the consignee was $5,500.00.
           The Government of Cuba, on September 29, 1959, published its Law 568,
        concerning foreign exchange. Thereafter, the Cuban Government effectively
        precluded not only transfers of funds to creditors abroad, but also payment
        to creditors within Cuba, by numerous, unreasonable and costly demands upon
        the consignees, who were thus deterred from complying with the demands of
        the Cuban Government. The Commission holds that Cuban Law 568 and the
        Cuban Government's implementation thereof, with respect to the rights of the
        claimant herein, was not in reality a legitimate exercise of sovereign authori­
        ty to regulate foreign exchange, but constituted an intervention by the Gov­
        ernment of Cuba in the contractual rights of the claimant, which resulted in
        the taking of American-owned property within the meaning of Section 503 (a)
        of the Act. (See Claim of The Schwarzenbach Huber Company, Claim No.
        CU-0019, 25 FCSC Semiann. Rep. 58 [July-December 1966]; and Claim of
        Etna Pazzolana Corporation, Claim No. CU-0049, 1967 FCSC Ann. Rep. 46.)
           Accordingly, the Commission finds that claimants property was lost as a
        result of intervention by the Government of Cuba. While it is not clear from
        the record, it appears on the basis of normal business practices that the pay­
        ments made by the consignee in the amount of $8,100.00 should be credited on
        account of the first shipment in the amount of $9,750.00, thereby reducing
        that amount to $1,650.00. In the absence of evidence to the contrary, the Com­
        mission finds that claimant's losses occurred 30 days after the shipment dates,
        E:xcept that with respect to losses that would otherwise be found to have oc­
        curred prior to September 29, 1959, the effective date of Law 568, the Com­
        mission finds that such losses occurred on September 29, 1959. Accordingly,
        c-laimant's losses with respect to the shipments to the consignee may be sum­
        marized as follows:
              Date of loss                                                                    Amount
            Sept. 29, 1959 ---------------------------·----------------                      $1,650.00
            Nov. 28, 1959 -------------------------------------------                         1,650.00
            Jan. 16, 1960 --------------------------------------------                        1,650.00
            Mar. 26, 1960 -------------------------------------------                           550.00
                                                                                         -----
               Total ------------------------------------------------                        $5,500.00
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      Royalties
         Claimant has computed its claim for royalties due from the consignee in the
      amount of $565,005.29 on the basis of contracts entered into with the con­
      signee. The basic contract was concluded in Cuba on April 16, 1959, and con­
      tained, inter alia, the following provisions (copies of the contracts having
      been submitted by claimant):
            1. Claimant agreed to furnish the consignee with certain necessary
          equipment to be used by the consignee in manufacturing and producing
          plastic heels, and to give the consignee all technical knowledge, advice
          and supervision as aids to such production.
            2. The consignee agreed to pay claimant 7lh cents for each pair of
          heels made with the molds, accessories and equipment furnished by
          claimant, and guaranteed a minimum payment for the duration of the
          contract based upon a production of at least 375,000 pairs of heels per
          year at 7lh cents per pair for each machine furnished by claimant.
            3. The contract was to remain in force for 10 years.
            4. The consignee agreed to submit to claimant monthly reports of pro­
          duction, indicating amounts due claimant.
             5. Claimant agreed not to furnish equipment to any other manufac­
          turer in Cuba so long as the consignee satisfied all of its contract obliga­
          tions.
        Another contract between claimant and the consignee was executed on Jan­
      uary 28, 1960, for the purpose of clarifying the orignal contract and pro­
      vided, in pertinent part, as follows:
            a. The consignee was obliged to pay claimant royalties only for heels
          made with claimant's equipment and not on the basis of the number of
          pairs of heels sold by the consignee.
            b. The consignee was required to make monthly payments to claimant
          for royalties due for the previous month, and to make such payments to
          a bank designated by claimant.
            c. The consignee was authorized to enter into agreements with a sub­
          contractor in Cuba for the manufacture of said plastic heels, but the con­
          signee was to remain bound by the terms of the agreements with
          claimant.
            d. The consignee was authorized to purchase any equipment from
          claimant and if it did, the royalties due with respect to production from
          such purchased equipment was to be computed at the rate of 5 cents per
          pair of heels while production from claimant's equipment was to remain
          at the 7lh cents per pair rate.
        The record contains copies of monthly reports furnished to claimant by the
      consignee for the period May 11, 1959, to September 17, 1960, showing that
      the consignee produced 1,130,730 pairs of heels during that period.
        Claimant asserts that its claim for royalties amounts to $565,005.29 on the
      basis of two machines at the guaranteed minimum rates for the duration of
      the contract according to its express provisions. Acordingly, claimant's com­
      putations are as follows:
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            April 1959 to Mar. 31, 1960-847,326 pairs of heels
              were produced-at 7% cents --------------------------         $ 63,549.45
            Less: Amounts paid by the consignee in 1959 -------------         4,794.16
                                                                         ------·
                                                                       58,755.29
            Contract minimum of 375,000 pairs per year
              for two machines:
                Apr. 1, 1960 to Mar. 31, 1961 _________ 750,000 pairs
                Less: Amount above produced during
                this period ------------------------- 283,404 pairs
                                                        466,596 pairs
            Consequently, minimum charge applies 750,000 pairs at
              7% cents ------------------------------------------      56,250.00
            Minimum charge for 8 more years from Apr. 1, 1961, to
              Mar. 31, 1969 ---------------------------------------   450,000.00
                   Total _________________________________________ _ $565,005.29

           The record indicates that the consignee stopped production on September
        17, 1960, and the record failed to indicate the reason for the termination of'
        production on that date. The Commission, therefore, communicated with coun­
        sel for claimant under date of November 6, 1968, and suggested appropriate
        explanations as well as evidence to establish that the claim for royalties coY­
        ering the period ending March 31, 1969, fell ·within the purview of Title V
        of the Act. When no response was received either to that letter or a followup
        letter of January 2, 1969, the Commission communicated with claimant di­
        rectly to afford it another opportunity to support its claim for royalties.
        Claimant's response of March 20, 1969, related to the issue of nationality,
        which was also mentioned in the Commission's letters, although by its terms
        it purported to include all matters referred to in the Commission's communi­
        cation of November 6, 1968. No response was made to the Commission's in­
        quiry as to the major portion of the claim based upon royalties.
           The Commission holds that the implementation of Law 568 constituted an
        intervention by the Government of Cuba in the contractual rights of claim­
        ant with respect to the royalties. (See Claim of Jantzen, Inc., Claim No. CU­
        1531.) The record indicates the consignee-company was not actually nation­
        alized but that it sold the equipment furnished to it by claimant to the Cuban
        Government sometime after the adoption of Law 568. The written contract
        and its later amendment between the claimant and the consignee, as above
        mentioned, not only required the payment of one of two different types of ro­
        yalties depending on whether the machines had been purchased by the Cuban
        company, but also required the original consignee to remain liable for royal­
        ties and other payments when permission was granted it to transfer these
        assets to a new company. Obviously the consignee could not alter claimant's
        rights to royalties either by stopping production or by disposing of the equip­
        ment in question. The Commission finds that by virtue of the purchase of the
        equipment, Cuba succeeded to the obligations of the consignee pursuant to the
        written, contract, as amended, with claimant.
           The record shows, as indicated above, that the equipment thus acquired by
        Cuba included appropriate machinery, etc., for manufacturing plastic heels.
        In the absence of evidence establishing precisely how many pairs of plastic
        heels were made with claimant's machinery and how many with the consignee
        machinery, the Commission finds that claimant is entitled to an allowance
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      based upon cents per pair of heels on the minimum basis provided in the
      contract for the period from April 1, 1969, to March 31, 1969.
         Based upon the terms of the contracts and in the absence of evidence to
      the contrary, the Commission finds that claimant's losses for each month of
      production occurred on the 15th day of the following month when payment
      became due, except that with respect to losses that would otherwise be found
      to have occurred prior to September 29, 1959, the effective date of Law 568,
      the Commission finds that such losses occurred on September 29, 1959.
         The record includes statements made by an officer of claimant to the De­
      partment of State under date of May 3, 1962, in which claimant's asserted
      losses as of March 31, 1962, were set forth. It appears from those statements
      that the consignee paid claimant on account of royalties due the amounts of
      $2,675.78 and $2,118.38 in August 1959 and December 1959, respectively. In
      the absence of evidence to the contrary, the Commission finds that the pay­
      ment made in August 1959 should be credited against losses found to have
      occurred on September 29, 1959, and October 15, 1959, respectively. (See
      Claim of Richard G. Milk and Juliet C. Milk, Claim No. CU-0923 1967
      F'CSC Ann. Rep. 63) Acordingly, claimant's losses of royalties aggregated
      $396,255.29 which together with the balance due on the purchase of equip­
      ment of $5,500.00 total $401,255.29.
         The Commission has decided that in certification of losses on claims deter­
      mined pursuant to Title V of the International Claims Settlement Act of
      1949, as amended, interest should be included at the rate of 6% per annum
      from the respective dates of loss to the date of settlement (see Claim of Lisle
      Corporation, Claim No. CU-0644), and in the instant case it is so ordered, as
      follows:
               From                                                           On
           Sep. 29, 1959 ----------------------------------------- $ 28,870.79
           Oct. 15, 1959 ------------------------------------------    4,824.37
           Nov. 15, 1959 -----------------------------------------     8,457.30
           Nov. 28, 1959 ----------------------------------------      1,650.00
           Dec. 15, 1959 ------------------------------------------   11,081.63
           Jan. 15, 1960 ------------------------------------------    1,755.00
           Jan. 16, 1960 ------------------------------------------    1,650.00
           Mar. 26, 1960 ------------------------------------------      550.00
           Apr. 15, 1960 ----------------------------------------      5,416.20
                                                                    -----
                                                                      64,255.29
               and from May 15, 1960, through Apr. 15, 1969, at
               $3,125.00 for each of the 108 months in this period        337,500.00
                 Total -----------------------------------------­        $401,755.29

                                   CERTIFICATE OF LOSS

         The Commission certifies that PILGRIM PLASTICS CORPORATION suf­
       fered a loss, as a result of actions of the Government of Cuba, within the.
       scope of Title V of the International Claims Settlement Act of 1949, as
       amended, in the amount of Four Hundred One Thousand Seven Hundred
       Fifty-five Dollars and Twenty-nine Cents ($401,755.29) with interest thereon
       at 6% per annum from the respective dates of loss to the date of settlement.
         Date at Washington, D.C., Sept. 3, 1969.
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                IN THE MATTER OF THE CLAIM OF WILLIAM A. POWE
                          Claim No. CU-0502-Decision No. CU-4511
        The values of each item of a claim must be determined separately on its
          own merits.
                                        PROPOSED DECISION       *
          This claim against the Government of Cuba under Title V of the Inter­
        national Claims Settlement Act of 1949, as amended, was presented by
        WILLIAM A. POWE, in the amended amount of $9,924,315.30 based upon
        asserted losses in connection with ownership of stock in several nationalized
        Cuban corporations, liability as guarantor for unpaid debts of nationalized
        Cuban corporations, a debt of the Cuban Government, and a yacht. Claimant
        has been a national of the United States since birth.
          Under Title V of the International Claims Settlement Act of 1949 [78
        Stat. 1110 (1964), 22 U.S.C. §§1643-1643k (1964), as amended, 79 Stat. 988
        (1965)], the Commission is given jurisdiction over claims of nationals of the
        United States against the Government of Cuba. Section 503 (a) of the Act
        provides that the Commission shall receive and determine in accordance
        with applicable substantive law, including international law, the amount
        and validity of claims by nationals of the United States against the Govern­
        ment of Cuba arising since January 1, 1959 for
            losses resulting from the nationalization, expropriation, intervention
            or other taking of, or special measures directed against, property
            including any rights or interests therein owned wholly or partially,
            directly or indirectly at the time by nationals of the United States.
          Section 502 ( 3) of the Act provides:
            The term 'property' means any property, right, or interest including·
            any leasehold interest, and debts owed by the Government of Cuba
            or by enterprises which have been nationalized, expropriated, inter­
            vened, or taken by the Government of Cuba and debts which are a
            charge on property which has been nationalized, expropriated, inter­
            vened, or taken by the Government of Cuba.
           Claimant has submitted evidence in the form of stock certificates, financial
        statements, lists of stockholders, inventories, maps, affidavits, correspond­
        ence, excerpts from the Cuban Official Gazette, and documents regarding
        the nationalization of enterprises and the appointment of administrators
        therefor. On the basis of such evidence the Commission makes its findings
        of fact regarding the various items of this claim under separate headings,
        as set forth further below.
           The Act provides in Section 503 (a) that in making determinations with
        respect to the validity and amount of claims and value of properties, rights,
        or interests taken, the Commissi~n shall take into account the basis of valua­
        tion most appropriate to the property and equitable to the claimant, includ­
        ing but not limited to fair market value, book value, going concern value,
        or cost of replacement.
           The question, in all cases will be to determine the basis of valuation which,
        under the particular circumstances, is "most appropriate to the property and
        equitable to the claimant." This phraseology does not differ from the inter­
          *This decision was entered as the Commission's Final Decision on March 16, 1970.
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      national legal standard that would normally prevail in the evaluation of
      nationalized property. It is designed to strengthen that standard by giving
      specific bases of valuation that the Commission shall consider.
      1. Willys Distributors, S.A.
         Claimant asserts a loss of $611,457.69 as the owner of a stock interest in
      this enterprise, which was incorporated in Cuba on July 18, 1945 and held
      the Cuban franchise for the sale of Jeeps and other vehicles manufactured
      by Willys Overland Motor Company of Ohio. The Commission finds that
      claimant was the owner of 4,963 shares of stock in the corporation, of a
      total of 8,532 shares outstanding, on October 24, 1960 when the enterprise
      was nationalized by the Government of Cuba under Resolution No. 3 issued
      pursuant to Law No. 851.
        Claimant has submitted, as the most recent available financial statement
      of the corporation, a balance sheet as of June 30, 1959, which reflects the
      following:
                                         Assets
        Cash on hand and in banks                  $ 55,780.64
        Notes Receivable        $ 55,031.53
        Less: Discounts            2,857.14           52,174.39
        Accounts Receivable
          Clients                 $434,782.54
          Agencies                  12,238.04
          Others                    32,579.41        479,599.99
        Inventory                                   348,879.66
        Merchandise in Transit                      472,053.95        $1,408,488.63
        Piezas y Accesorios, K-W, Inc.             $225,320.41
        Sociedad Inmobiliaria Raritan                11,051.70
        Kaiser Willys Motors of Cuba, Inc.            1,008.87
        Importers of Jeeps, Inc.                      2,056.53
        Vehicle Assembly Co. ACEA, Inc.               4,809.42
        Anglo-Cuban Distributors Co. ACO, Inc.       41,062.68           285,309.61
        Properties                                 $200,614.40
        Less: Reserve for Depreciation               68,578.40           132,036.00
        Investments                                                       23,908.65
        Items in Suspense                                                     58.38
        Deferred Assets                                                   10,510.53
                                                                      $1,860,311.80

                            Liabilities, Capital and Profits
        Current Liabilities
         The First National City Bank
            of New York                            $190,339.89
         Accounts Payable                           141,784.33
         Willys Overland Export Corp.               267,186.08
         Vacation Tax Payable                         4,749.66
         Taxes Payable                               24,037.23        $ 628,097.19
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          Talleres y Servicio, S.A.                                           15,455.51
          Service Guaranteed Deposits                                         16.680.44
          Mortgages Payable                                                   10,000.00
          Dividends Declared but not paid                                     85,320.00
          Reserve for Contingencies                                          130,000.00
          Provision for Profits Tax and
            Excess Profits Tax                                                 8,908.60
                                                                          $ 894,461.74
          Capital:
           Authorized 20,000 shares of $100 each
           Issued 8,537 shares                         $853,700.00
           In Treasury 5 shares                             500.00        $ 853,200.00
          Surplus:
            Balance, July 1, 1958                      $183,097.83
            Less Dividends Declared but not paid
            Acta No. 67 of September 29, 1958            85,320.00
                                                         97,777.83
            Plus Net Profit, July 1, 1.958­
            June 30, 1959                                14,872.23           112,650.06
                                                                          $1,860,311.80
          Deducting the liabilities from the assets as shown in the above balance
        sheet would indicate a net worth or book value of $965,850.06. However,
        among the liabilities is an item designated as "Reserve for Contingencies"
        in the amount of $130,000.00 Since this appears to be a cash reserve which
        would have been available for distribution among stockholders in the event
        of liquidation, it will be treated in the calculation of net worth as a part of
        the surplus. Therefore, the net worth or book value of the corporation is
        found to have been $1,095,850.06.
           The Commission finds that the book value as calculated is the most ap­
        propriate measure of the value of the corporation at the time of loss. With
        8,532 shares of stock outstanding, the value of each share was $128.44, and
        the value of claimant's 4,963 shares was $637,447.72. The Commission con­
        cludes that by reason of his ownership interest in Willys Distributors, S.A.,
        claimant suffered a loss in that amount on October 24, 1960 when the
        corporation was nationalized by the Government of Cuba, within the mean­
        ing of Title V of the Act.
          Claimant suffered an additional loss for his share of the unpaid dividends
        of $85,320.00 which had been declared, as set forth in the balance sheet.
        Claimant's share, in the amount of $49,630.00, constituted a debt owed to
        claimant by a nationalized enterprise and represents an additional loss
        suffered by claimant on October 24, 1960 within the meaning of Title V of
        the Act, making a total loss for claimant of $687,077.72.
        2. Piezas y Accesorios, K-W, S.A.
           The claimed loss with respect to the enterprise Piezas y Accesorios, K-W,
        S.A., which sold parts and accessories for vehicles sold by Willys Distributors,
        Inc., is $176,260.01. The Commission finds that this corporation was national­
        ized by the Government of Cuba on October 24, 1960 under Resolution No. 3
        issued pursuant to Law No. 851, at which time it had 2,205 shares of stock
        outstanding and claimant owned 1,281 shares. Claimant has submitted
        corporation's balance sheet as of June 30, 1959, the most recent available,
        reproduced below:
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                                           Assets
         Cash on hand and in banks                    $ 48,656.23
         Merchandise sold but not
           collected for                                 5,419.22
         Accounts Receivable
           Clients in Havana          $64,834.64
           Clients in Camaguey          9,283.21
          Agents                       42,254.31
           Others                      15,484.87       131,857.03
        Inventory                                      331,326.13
        Merchandise in Transit                          2.5,588.84   $542,847.45
        Talleres y Servicio, S.A.                     $ 26,878.56
        Motores Kaiser Willys de
          Cuba, S.A.                                     2,000.00
        Cia. Distribuidora Anglo­
          Cubana Aco., S.A.                                157.50      29,036.06
         Real Estate                                  $ 12,158.95
         Less: Reserve for Depreciation                  4,208.91       7,950.04
        Investments                                                       100.00
        Organization Expense                                            1,907.90
        Deferred Assets                                                   315.73
        Time Payments                                                     196.95
                                                                     $582,354.13


                            Liabilities, Capital and Surplus
         Current Liabilities
          Willys Overland Export Corp.                $ 19,884.43
          Accounts Payable                              13,508.58
          Vacation Tax                                   1,701.25
          Other Taxes Payable                            6,792.13
          Commissions Payable                              214.47    $ 42,100.86
         Willys Distributors, S.A.                    $225,320.41
         Sociedad Inmobiliaria Raritan                   6,354.34     231,674.75
         Dividends Declared but not paid                               22,050.00
         Provision for Profits Tax                                      5,180.14
                                                                     $301,005.75
         Capital: 2,205 shares of $100 par
           value issued                                              $220,500.00
         Surplus:
           Balance July 1, 1957                       $ 59,552.40
           Less Dividends Declared                      22,050.00
                                                        37,502.40
           Plus Net Profit July 1, 1958
             to June 30, 1959                           23,345.98      60,848.38
                                                                     $582,354.13
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          The balance sheet reflects a net worth of $281,348.38. However, the assets
       include an item of $1,907.90 for "Organization Expense." This corporation
       was organized shortly after the organization of Willys Distributors, Inc. on
       July 18, 1945. In view of the amount of declared dividends, the surplus
       carried over from prior years, and the profit made in the year ending June
       30, 1950, it would appear that the expenses of organization should have been
       written off completely by October, 1960. Accordingly, the amount of $1,907.90
       will be considered an item of expense rather than an asset, reducing the net
       worth of the enterprise to $279,440.48.
          From the evidence of record, the Commission finds the book value as thus
       calculated to be the most appropriate measure of the value of the corporation
       at the time of loss. Therefore, the value at the time of loss for each of the
       2,205 shares of outstanding capital stock was $126.73 and the value of claim­
       ant's interest based upon his ownership of 1,281 shares was $162,341.13. The
       Commission concludes that claimant suffered a loss in that amount on
       October 24, 1960 when the corporation was nationalized by the Government
       of Cuba, within the meaning of Title V of the Act.
          As in the previous instance, claimant suffered an additional Joss for
       dividends declared but not paid. The amount of dividends declared was $10.00
       per share an as the owner of 1,281 shares, claimant was owed $12,810.00.
       This represents a debt of a nationalized enterprise and an additional loss
        suffered by claimant on October 24, 1960 within the meaning of Title V of
       the Act, and making a total loss for this enterprise in the amount of
       $175,151.13.
       3. Sociedad Inmobiliaria Raritan
         Claimant asserts a loss in the amount of $431,213.19 for his ownership
       interest in Sociedad Inmobiliaria Raritan, a Cuban corporation organized
       in 1945. The Commission finds that claimant owned 1,023 of the 1,310 shares
       of stock outstanding of this corporation on September 13, 1961 when it was
       nationalized by the Government of Cuba under Law 890. Claimant has sub­
       mitted a balance sheet as of December 31, 1959, the most recent available,
       which reflects the following:

                                          Assets
         Current Assets
          Cash in Banks                                $       585.18
          Rents Receivable                                  21,140.00
          Other Accounts Receivable                            871.34
          Guaranty Deposits                                    450.00    $ 23,046.52
         Fixed Assets
           Land Properties                             $132,623.38
           Buildings less accrued
             reserve of $56,587.58                         133,518.63
           Furniture and Fixtures
             less reserve of $1,974.34                           1.00     266,143.01
         Deferred Charges
          Insurance paid in advance                    $      844.92
          Taxes paid in advance                               310.51        1,155.43
                                                                         $290,344.96
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                                         Liabilities
          Current Liabilities
           Accounts Payable                             $    4,796.26
           Accrued Taxes Payable                            10,910.39    $ 15,706.65
          Capital:
            Authorized Capital $500,000.00
            Capital Issued                              $149,800.00
            Less: Shares held on hand
              which have not been paid                      18,800.00     131,000.00
          Surplus:
            Net Surplus as of December 31, 1959                           143,638.31
                                                                         $290,344.96

           The net worth of the enterprise as calculated from this balance sheet
        would be $274,638.31. Claimant contends, however, that the fixed assets,
        reported at cost less depreciation, are greatly undervalued in the balance
        sheet. The principal assets of the corporation were two commercial buildings,
        one located at 23rd and 0 Streets in the Vedado section of Havana, and the
        other near the Cabaret Sans Souci in the suburban section of Marianao.
        The area of the land at 23rd and 0 Streets is 2,964.75 square meters. In an
        affidavit, claimant states that on the basis of his knowledge of the value of
        real estate in the vicinity, this land was worth $100.00 per square meter
        in 1959. Claimant's legal counsel in Cuba states in an affidavit that he was
        familiar with the property and has direct knowledge of other real estate
        transactions in that neighborhood, and values the land at $100.00 per square
        meter. In view of this evidence and considering the location of the property
         (less than one block from the Hotel Nacional), the Commission finds that
        the value of the land at 23rd and 0 Streets was $296,475.00. In their affi­
        davits, claimant and his Cuban counsel value the other land in Marianao,
        which measured 7,500 square meters, at $15.00 per square meter. This
        amount appearing reasonable in view of the location and other evidence
        available to the Commission concerning land values in the vicinity, the Com­
        mission finds that the land in Marianao was worth $112,500.00, for a total
        value for the land properties of $408,975.00.
           Claimant also includes a value of $1,500.00 for furniture and fixtures in
        his calculation of the value of the corporation, but submits no evidence in
        support thereof. The data submitted by claimant supporting the balance
        sheet of December 31, 1959 includes Exhibit 31A7, which contains the state­
        ment - "At present the Company does not have any furniture." Accordingly,
        no change is made in the balance sheet figure in this respect. No claim is
        made for a valuation for the buildings higher than that shown on the balance
        sheet.
           Having found that the land owned by the corporation was worth a total
        of $408,975.00, an increase of $276,351.62 over the balance sheet figure, the
        Commission finds that the value of this corporation at the time of taking
        was $550,989.93, or $420.603 per share of the 1,310 shares of stock outstand­
        ing, and that the value of claimant's 1,023 shares was $430,276.87. The Com­
        mission concludes that claimant suffered a loss in that amount on September
        13, 1961 within the meaning of Title V of the Act.
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       4. Powe Machinery Company, S.A.
          The Commission finds that claimant was the owner of 2,432 shares of
       2,500 outstanding shares of stock in this corporation which represented
       Caterpillar Tractor Company, Deere & Company, and other American manu­
       facturers in the western half of Cuba. The enterprise was organized in Cuba
       and was nationalized by the Government of Cuba under Resolution No. 3
       issued pursuant to Law No. 851 on October 24, 1960. A loss in the amount
       of $3,544,323.84 is asserted and in support thereof, a certified balance sheet
       as of June 30, 1960 was submitted which reflects the following:

                                          Assets
         Current Assets
          ca'sh (including bank deposit
             to guarantee Letters of
             Credit $83,265.00)                       $ 378,895.20
          Notes and Accounts Receivable
             Customers (less allowance of
             $50,000.00 for doubtful
            accounts)                                     1,283,632.64
          Commissions Receivable on
            direct sales                                    30,327.82
          Officers and Employees                            26,157.64
          Other                                             16,112..25
          Due from Powe Equipment Co., S.A.                 12,240.40
          Inventories, at Cost or Less, not
             in excess of market
               General Merchandise                         332,267.12
               Spare Parts                                 361,525.78
               In Transit                                    5,612.27    $2,446,771.12
         Loans Receivable from Contratos
           Mobiliarios Cremo, S.A.-7%
           Unsecured-Due 2/20/65                                           173,000.00
         Capital Assets, at Cost
           Land and Buildings                         $ 581,533.93
           Furniture & Fixtures &
             Other Equipment                               235,482.07
                                                           871,016.00
           Less Accumulated Depreciation                    82,196.60      734,819.40
         Other Assets & Deferred Charges
           Receivable from Sociedad de
             Inversiones La Lorna                     $     80,692.71
          Prepaid Insurance                                  7,898.11
          Advances to Employees for Expenses                 2,734.46
          Miscellaneous                                     12,845.45      104,170.73
                                                                         $3,458,761.25
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                                   Liabilities and Capital
          Current Liabilities
           Accounts Payable                            $     16,647.86
           Officers & Employees                              21,023.91
           Customers' Credit Balances                        17,609.27
           Other                                             59,664.04    $ 114,945.08
          Accrued Liabilities                                                62,782.28
          Accrued Taxes                                                       9,904.77
          Long Term Debt, Installments
            due within one year                                              36,000.00
          Long Term Debt-6% First Mortgage             $ 250,000.00
          Less Installments due within
            one year                                         36,000.00      214,000.00
          Deferred Gross Profit on
           Installment Accounts                                               54,498.06
                                                                          $ 492,130.19
          Capital Stock and Surplus
           Authorized, 4,500 shares of
              $1,000 par value each;
              Issued and Outstanding,
             2,500 shares                              $2·,500,000.00
           Earned Surplus                                 466,631.06       2,966,631.06
                                                                          $3,458,761.25

           Claimant urges an upward adjustment of the Earned Surplus figure on
        the ground that during the year ending June 30, 1960 the accounts receivable
        total had been reduced by $560,086.25 which was written off as bad debts.
        In an affidavit, claimant explains that this charge-off would not normally
        have been made, but was done to reduce exorbitant taxes imposed by the
        Cuban Government, and because the debtors were enterprises which recently
        had been nationalized; and the company did not wish to pay taxes on money
        which was owed to it by the Government of Cuba. From a detailed profit
        and loss statement for the year ending June 30, 1960, it is apparent that the
        surplus balance at the beginning of that period was $694,217.60; that opera­
        tions for the year resulted in a net loss of $227,586.54, which reduced the
        surplus to the $466,631.06 shown on the balance sheet; and that the reason
        for the net loss was the writing off of $560,086.55 as bad debts, without
        which the year's operations would have shown a net profit of $332,500.01,
        increasing the surplus account to $1,026,717.61.
           In addition, the record includes an unaudited balance sheet as of August
        31, 1960, which was delivered by an officer of the company to the American
        Embassy in Havana when nationalization appeared imminent. The only
        significant difference in the two balance sheets is the addition of $116,704.68
        to the July 1, 1960 earned surplus balance of $466,631.06, increasing the
        surplus to $583,335.74. This increase represented profits earned during
        the months of July and August 1960, and is supported by a detailed profit
        and loss statement for that period.
           The Commission is of the opinion that the surplus account should be in­
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       creased to $1,143,422.29, in view of the debt write-off and the profits for
       July and August of 1960. On the other hand, a downward adjustment will
       be made in one of the asset items. The June 30, 1960 balance sheet shows the
       sum of $12,240.40 due from the Powe Equipment Company, S.A. A balance
       sheet of the same date for Powe Equipment Company (discussed below)
       shows as a liability the sum of $10,719.05 owed to Powe Machinery Com­
       pany, S.A. Claimant being unable to reconcile the difference, the Commission
       will substitute the smaller figure in the balance sheet of Powe Machinery
       Company for June 30, 1960, reducing. the asset total by $1,521.35. This re­
       duces the surplus account to $1,141,900.94 and provides a total net worth
       of $3,641,900.94, which the Commission determines to have been the value
       of the corporation at the time of loss. The value for each share of the 2·,500
       shares outstanding was therefore $1,456.76, and the value of claimant's
       2,432 shares was $3,542,840.32. The Commission concludes that claimants
       suffered a loss in that amount as a result of the nationalization of the
       corporation by the Government of Cuba on October 24, 1960, within the
       meaning of Title V nf the Act.
       5. Powe Equipment Company, S.A.
          This company was the counterpart of the Powe Machinery Company, S.A.
       and represented Caterpillar Tractor Company, Deere & Company and other
       American manufacturers in the eastern half of Cuba. The Commission finds
       that this corporation was nationalized by the Government of Cuba on Octo­
       ber 24, 1960 under Resolution No. 3 pursuant to Law No. 851. Claimant
       asserts a loss in the amount of $2,658,036.69 based upon his ownership of
       1,394 of the 1,450 shares of stock outstanding.
          Claimant has submitted a certified balance sheet for the corporation as
       of June 30, 1960 which shows an asset total (including $6,863.64 for Un­
       amortized Organization Expense) of $2,854,274.56, a liability total of $276,
       892.76, and a net worth of $2,577,381.80 (capital stock $1,450,000.00, and
       surplus $1,127,381.80, including $200,000.00 designated as Reserve for Con­
       tingencies). In his evaluation of the corporation, claimant relies upon a doc­
       ument dated November 2, 1960, executed when the administrator designated
       by the Cuban Government took control of the enterprise. According to this
       document, the firm had an authorized capital of $4,500,000.00 (with $3,050,­
       000.00 not issued), current assets of $2·,406,698.40, fixed assets of $497,774.86,
       other assets of $205,528.54, total assets of $3,110,002.00, liabilities of $345,­
       186.39, a surplus of $1,314,815.81 and a liquid capital of $2,764,815.81. The
       document further reveals that the outgoing administrator declared the latest
       balance sheet to be dated September 30, 1960 and to reflect the situation as
       of October 25, 1960 when the records and files were sealed and the doors of
       the building sealed to await the appointment of a new administrator.
          Material made available to the Commission from the files of the Depart­
       ment of State includes a balance sheet for Powe Equipment Company, S.A.
       as of September 30, 1960, as follows:
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                                           Assets
       Current Assets:
        Cash                                                $369,695.72
        Accounts Receivable,
           Customers                          $356,356.70
        Less: Reserve for
           doubtful accounts                    50,000.00       306,356.70
         Notes Receivable                                    231,274.44
         Other Receivable:
           Commissions Receivable             $180,959.23
           Others                               15,696.64       196,655.97
         Foreign Suppliers Debit
           Balance                                                   92.93
         Officers and Employees'
           Debit Balances                                        67,843.91
         Inventories:
           Machinery                          $434,805.11
           Parts                               535,391.56   $970,196.67
         Merchandise in Transit                                8,643.74
         Foreign Suppliers
           Purchase Agreement                                    36,690.82
         Merchandise Purchase
           Orders Guarantees                                    100,810.81
         Banks Guaranty Deposits                                100,661.63
         Work in Process                                          1,709.47
         Advanced Custom Duties                                     985.02
         Miscellaneous Prepaid                                   15,080.67   $2,406,698.40

                                Original   Depreciation    Book
       Fixed Assets:             Value      Accrued       Value
         Land                  $ 77,202.30 $            $ 77,202.30
         Buildings              288,231.20       2,161.71       286,069.49
         Furniture and
           Fixtures             108,2·33.11     40,514.53        67,718.58
         Automobile and
           Trucks                27,932.22      20,013.45         7,918.77
         Shop Equipment          54,662.07      13,216.71        41,445.36
         Tools                    3,342.64                        3,342.64
                               $559,603.54    $ 75,906.40   $483,697.14
          Patents                20,000.00       5,922.28     14,077.72        497,774.86
        Other Assets:
          Guaranty Deposits                                 $     1,050.00
          Cash Surrender Value of
            Life Insurance                                     2,420.00
          Contratos Mobiliarios Cremo, S.A.                  195,000.00        198,470.00
        Deferred Charges:
          Organization Expenses                             $     6,618.51
          Traveling Expense Advances                                440.43        7,058.94
                                                                             $3,110,002.20
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                                        Liabilities
       Current Liabilities :
         Accounts Payable:
           Foreign Suppliers                $ 23,667.17
           Local Suppliers                      2,154.33 $ 25,821.50
         Notes Payable:
           Promissory Notes                 $ 36,690.82
           Credit Letters                     100,810.81    137,501.63
         Other Payable:
           Powe Machinery Co., S.A.
              Current Account               $ 15,657.95
           Others                               6,166.23     21,824.18
         Customers' Credit Balances                          20,886.52
         Officers and Employees'
           Credit Balances                                    9,200.12
         Accrued Taxes, Insurance,
           Commissions and others                            43,743.63
         Profit Tax                                          39,903.03 $ 298,880.61
       Deferred Credits:
         Gross Profits Deferred on Installment Sales                   $ 46,305.78
       Capital Stock and Surplus:
         Capital Stock:
           Authorized 4,500 shares
              of $1,000 par value          $4,500,000.00
         Less: Not Issued                   3,050,000.00 $1,450,000.00
         Surplus:
           Reserve for Contingencies                        200,000.00
           Earned Surplus Balance
              July 1, 1960                 $ 927,381.80
           Profit up to
              September 1, 1960               187,434.0: 1,114,815.81   2,764,815.81
                                                                        $3,110,002.20

          It will be noted that the balance sheet of September 30, 1960 is in agree­
       ment with the document of November 2, 1960 submitted by claimant except
       for an apparent typographical error in the latter for "other assets" ($205,
       528.54 instead of $205,528.94), and an arithmetical error in the November
       document's totalling of assets. With corrections for these items, both docu­
       ments indicate a net worth for the corporation of $2,764,815.81. The sum of
       $6,618.51 for Organization Expenses, however, is included among the assets
       in the balance sheet of September 30, 1960. The corporation was organized on
        December 12, 1951 and the Commission is of the opinion that the expenses
       of organization should have been written off by September 30, 1960, in view
       of the profit, earned surplus, and reserve for contingencies items in the bal­
       ance sheets. Accordingly, the amount of $6,618.51 will be considered as an
       item of expense rather than an asset, reducing the net worth to $2,758,197.30.
          The Commission finds that the value of the corporation at the time of loss
       was $2,758,197.30 or $1,902..205 for each of the 1,450 shares of stock out­
       standing. The Commission concludes that claimant, as the owner of 1,394
       shares of this stock suffered a loss in the amount of $2,651,673.77 on October
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       24, 1960 as a result of the taking of the corporation by the Government of
       Cuba, within the meaning of the Act.

       6. Pioneer Trading, S.A.
         The Commission finds that this corporation was organized on October 31,
       1958 for the purpose of acquiring from Powe Equipment Company, S.A. used
       equipment, which had been traded in for new equipment, and repairing and
       reselling such equipment. The authorized capital was $1,000,000.00 in 10,000
       shares of $100.00 each, but only 1,000 shares were issued. Claimant was the
       owner of 985 shares which he purchased for $98,500.00. The sum of $100,000.00
       received from the sale of the stock was deposited in Banco Continental
       Cubana to the account of Pioneer Trading, S.A.
         Because of the political climate, the enterprise did not commence operations
       and no part of the bank deposit was used or withdrawn. On February 23,
       1961, the enterprise was intervened by Resolution No. 61-262 of the National
       Institute of Agrarian Reform, and the appointed Intervenor notified Banco
       Continental Cubana and took over the $100,000.00 deposit.
         The Commission finds that the value of claimant's interest in the cor­
       poration was $98,500.00 and concludes that he suffered a loss in that amount
       upon the intervention of the firm by the Government of Cuba on February
       23, 1961, within the meaning of Title V of the Act.

       7. Cuban American Metals Distributors, Inc.
         The Commission finds that this corporation, organized on March 24, 1950
       for the purpose of selling the products of the Aluminum Company of America
       in Cuba, was intervened by the Government of Cuba on August 16, 1960.
       Claimant asserts a loss in the amount of $55,943.16 based upon his ownership
       of 188 shares of the 1,881 outstanding shares of that enterprise.
         The record for this enterprise contains material submitted by claimant
       and files made available to the Commission by the Department of State. The
       amount of loss asserted by claimant herein is based upon statements by the
       Chairman of the Board and the Vice-President of the firm who base their
       assessments upon the total assets including an amount for good will and for
       profit which the future sale of the inventory would have produced. Balance
       sheets for the corporation as of December 31, 1959, June 30, 1960 and July 30,
       1960 do not contain any entry for good will or prospective profits.
         Included in the material from the Department of State files in addition
       to the balance sheets for June 30, 1960 and July 30, 1960 are a physical
       inventory of the company's assets made at the time of intervention and a
       statement of the contents of the company's safe deposit box when opened by
       the Intervenor. The inventory showed total assets of $309,915.61, compared
       to $381,571.91 and $304,773.95, the total assets in the June 30, 1960 and
       July 30, 1960 balance sheets, respectively.
          Upon consideration of the entire record, the Commission finds that the
       most appropriate measure of the value of the corporation at the time of in­
       tervention is the asset total of $309,915.61 taken from the inventory made
       at the time of intervention, minus the liabilities of $82,961.45 shown on the
       latest balance sheet. Thus the net worth is $226,954.16 or $120.656 for each
       of the 1,881 outstanding shares of stock. The Commission concludes that
       claimant, as the owner of 188 shares of such stock, suffered a loss in the
       amount of $22,683.33 on August 16, 1960 as a result of the intervention of
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      the enterprise by the Government of Cuba, within the meaning of Title V of
      the Act.
         The Commission further finds that the company was indebted to claimant
      in the amount of $4,504.36 for dividends declared but unpaid since the uncan­
      celled check for this amount was among the contents of the safe deposit box
      taken by the Intervenor. The Commission concludes that claimant suffered
      an additional loss in the amount of $4,504.36 on August 16, 1960, making a
      total loss of $27,187.69 resulting from the intervention of this enterprise.

      8. Contratos Mobiliarios Cremo, S.A.
          The Commission finds that this corporation, which was solely owned by
       claimant, was organized in December, 1959 to purchase the accounts receiv­
       able of another firm and to collect said accounts. Although no evidence
       has been submitted of action taken by the Government of Cuba with re­
       spect to this corporation on a specific date or under a specific law, the
       record indicates that it was taken about the end of the year 1962. In the
       absence of evidence to the contrary, the Commission finds that the corpora­
       tion was taken by the Government of Cuba on December 15, 1962.
          As evidence of the value of the enterprise, claimant has submitted a fi­
       nancial statement showing that as of September 30, 1962, the assets of the
       firm consisted of $12,176.11 in a bank account and $455,624.30 in accounts
       receivable, for a total of $467,800.41. No liabilities are shown. However, to
       finance the purchase of the accounts receivable, Contratos Mobiliarios Cremo,
       S.A. had borrowed money from other enterprises in which claimant had an
       interest. The balance sheet for Powe Equipment Company, S.A. as of Septem­
       ber 30, 1960 reveals that it was owed $195,000.00 by the subject corporation
       on that date. The balance sheet of June 30, 1960 for the Powe Machinery
       Company,· S.A. also includes an indebtedness of $173,000.00 owed by this
       company, and there is no evidence of any subsequent reduction of the amounts
       owed.
          On the basis of all the evidence of record, the Commission finds that the
       value of Contratos Mobiliarios Cremo, S.A. on the date of loss was $99,800.41
        ($467,800.41 minus $195,000.00 and $173,000.00); and concludes that claimant
       suffered a loss in that amount on December 15, 1962 within the meaning of
       Title V of the Act.

       9. Sociedad de Inversiones La Lama, S.A.
          The Commission finds that claimant was the sole owner of this corporation
       which was organized in Cuba on October 8, 1950 for the purpose of acquiring
       title to lands owned by claimant. No evidence has been submitted to establish
       specific action by the Government of Cuba concerning this corporation, but
       the record indicates that certain properties owned by the corporation were
       nationalized with the properties of Powe Equipment Company, S.A. and Powe
       Machinery Company, S.A. on October 24, 1960. In the absence of evidence to
       the contrary, the Commission finds that the corporation was taken by the
       Government of Cuba on October 24, 1960.
          Claimant asserts a loss in the amount of $1,291,118.47 and in support
       thereof has submitted a financial statement as of September 30, 1960 and
       supplementing affidavits by the president of Powe Machinery Company, S.A.
       and three Cuban attorneys. The financial statement lists only assets of the
       corporation asserting that no liabilities existed since it operated as a land
       holding company. The statement did not include, however, the value of a
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       stock interest in another real estate corporation which interest was valued
       by the Cuban secretary of that corporation at $375,000.00. Futhermore, the
       balance sheet of June 30, 1960 for the Powe Machinery Company, S.A. has an
       asset entry for a loan due from Sociedad de Inversiones La Lorna, S.A. in the
       amount of $80,692.71.
          Accordingly, the Commission determines the assets and liabilities of Socie­
       dad de Inversiones La Lorna, S.A. as of October 24, 1960 to be the following:
                                         Assets
         Cash
           On Hand                                      $300,066.00
           In First National City Bank
             of New York                                     71,577.21   $ 371,643.21
         Properties
           Lots, estancia La Lorna, Havana              $ 43,225.18
           Lots, estancia San Martin, Havana             142,020.99
           Alamar and Alturas del Olimpo lots             66,021.34
           Lot, City of Santa Clara                       24,068.45          275,335.96
         Investments
           5 Shares Inversiones Mouruso, S.A.           $     5,000.00
           4,375 Shares Territorial Alturas
              del Olimpo, S.A.                              375,000.00       380,000.00
         Mortgages to be Collected
           Powe Machinery Company, S.A.                 $144,000.00
           Inversiones Mouruso, S.A.                     105,139.30          249,139.30
         Loans to be Collected                                                15,000.00
                                                   Total Assets          $1,291,118.47

                                         Liabilities
         Loan from Powe Machinery
           Company, S.A.                                                 $    80,692.71

         The net worth of the corporation, therefore, is $1,210,425.76. The Com­
       mission concludes that claimant suffered a loss in that amount on October
       24, 1960 within the meaning of Title V of the Act.
       10. Compania Immobiliaria El Mamey, S.A.
          The Commission finds that claimant was the sole owner of all the shares
       of Compania Inmobiliaria El Marney, S.A. which was organized in Cuba on
       July 19, 1957 for the purpose of holding title to farm property previously
       held by claimant. The only asset of this company was a tract of land of
       100,607 square meters located near the intersection of Via Blanca and Carre­
       tera Central Highways in Cojimar, Guanabacoa, Province of Havana, Cuba,
       in an area where subdivisions were being built. No evidence has been sub­
       mitted of specific action taken by the Government of Cuba concerning this
       corporation and claimant has filed an affidavit by a Cuban attorney that its
       property was nationalized about the years 1960 and 1961. In the absence of
       evidence to the contrary, the Commission finds that the corporation was
       llationalized by the Government of Cuba on October 24, 1960 when claimant's
       major corporate interests were nationalized.
          Although claimant states the land was worth more, the amount claimed is
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      the purchase price in 1957 of $300,000.00. This value is also the value stated
      in documents deposited with the American Embassy in Havana in 1960. The
      Commission therefore determines the value of this corporation at the time
      of loss as $300,000.00 and concludes that claimant suffered a loss in that
      amount on October 24, 1960 within the meaning of Title V of the Act.
      11. Campania Petrolera Arabia, S.A.
         The Commission finds that claimant was the owner of 10 shares of the
      600 shares outstanding of Compania Petrolera Arabia, S.A., a Cuban corpora­
      tion organized on October 26, 1948. The company was the owner of an oil
      concession known as Tirana, covering 2,200 hectares of land located in Ma­
      tanzas Province, Cuba which was leased jointly to Compania Petrolera
      Norita, S.A. and Esso Standard (Cuba) Inc. By terms of the lease Com­
      pania Petrolera Arabia, S.A. was to share in an annual rent of $25,000.00,
      its share approximating $1,000.00, and to receive a royalty of 5% of produc­
      tion. There is no evidence to establish that explorations were made or oil
      extracted in the leased area.
         The rights of the corporation in the property which it controlled were
      substantially curtailed by the Cuban Government under Law No. 635 of No­
      vember 23, 1959. This law effectively cancelled all applications for explora­
      tion and exploitation of concessions, regardless of the status thereof. (See
      Claim of Felix Heyman, Claim No. CU-0412, 1968 FCSC Ann. Rep. 51) Thus
      the Commission finds that the property of the corporation was taken by the
      Government of Cuba on November 23, 1959.
         Claimant asserts a loss in the amount of $833.30 for his 10 shares and
      in support of this has submitted the affidavit of the corporation's president.
      On the basis of the affidavit and other evidence available to the Commission,
      it is determined that the company had a value of $50,000.00 on November 23,
      1959 and the Commission concludes that claimant suffered a loss in the
      amount of $833.30 for his ownership interest on that date as a result of the
      actions of the Government of Cuba, within the meaning of Title V of the Act.
       12. Payments to Caterpillar Americas Company
         Powe Machinery Company, S.A. and Powe Equipment Company, S.A. were
       the Cuban representatives for Caterpillar Americas Company although the
       franchise for Cuba was in claimant's name. Payment for merchandise shipped
       to Cuba was guranteed by claimant. As a result, when two sight drafts in
       the amount of $45,807.15 and $44,960.82 due December 1, 1959 and December
       7, 1959, respectively, were paid to the collecting bank, the Royal Bank of
       Canada, by the consignee but no amount was forwarded to the consignor, pay­
       ment of the past due sums was made to the consignor by the claimant on
       March 13, 1961. Claimant, therefore, asserts claim herein for the amount of
       $90,767.97 which he acquired by subrogation.
          The Government of Cuba,_ on September 29, 1959, published its Law 568,
       concerning foreign exchange. Thereafter the Cuban Government effectively
       precluded transfers of funds to creditors abroad by numerous, unreasonable
       and costly demands upon the consignees. The Commission holds that Cuban
       Law 568 and the Cuban Government's implementation thereof, with respect to
       the rights of the claimant herein and the subrogor, was not in reality a
       legitimate exercise of sovereign authority to regulate foreign exchange, but
       constituted an intervention by the Government of Cuba in the contractual
       rights of claimant and the subrogor, which resulted in the taking of Ameri­
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       can-owned property within the meaning of Section 503 (a) of the Act. (See
       Claim of The Schwarzenbach Huber Company, Claim No. CU-0019, 25 FCSC
       Semiann. Rep. 58 [July-Dec. 1966].)
         Accordingly, the Commission finds that claimant, as subrogee, succeeded to
       and suffered a loss in the amount of $90,767.97 on March 13, 1961 within
       the meaning of Title V of the Act. The Commission has held that with respect
       to an assignment of a claim the date of assignment shall be used for the
       purpose of computing interest. (See Claim of Executors of the Estate of
       Julius S. Wikler, Deceased, Claim No. CU-2571, 1968 FCSC Ann. Rep. 47.)
       13. Payments to Deere & Company and John Deere Intercontinental, S.A.
          Claimant asserts a loss of $55,180.53 for payments made to Deere & Com­
       pany and its subsidiary John Deere Intercontinental, S.A. on behalf of Cuban
       corporations for merchandise shipped to Cuba. Cuban corporations controlled
       by claimant held Cuban franchises for products of Deere & Company, and
       payment for shipments of merchandise to these corporations was guaranteed
       by claimant. It is asserted that shipments were made to Cuba and payment
       made on drafts for the shipments to Cuban collecting banks but no funds
       were remitted to the consignor.
          There is no evidence of drafts issued or paid for Deere equipment in the
       record. However, an affidavit of the Credit Manager of John Deere Intercon­
       tinental, S.A. established that claimant as guarantor made payments for the
       Cuban enterprises to John Deere Intercontinental, S.A. of $46,737.14, to
       Deere & Company of $3,633.61, and to the Export-Import Bank of Washington
       of $4,809.78. The payments to the Export-Import Bank, however, were for
       notes which were paid by claimant on March 19, 1962 and which will be
       discussed below with other payments to that bank.
          The Commission finds that claimant acquired a claim in the amount of
       $50,370.75 by subrogation as a result of his payment of the debts of nation­
       alized Cuban enterprises which payments were determined to have been made
       by him on March 19, 1962 in the absence of evidence to the contrary.
          Accordingly, the Commission finds that claimant, as subrogee, succeeded
       to and suffered a loss in the amount of $50,370.75 on March 19, 1962 within
       the meaning of Title V of the Act. Again interest will be computed from the
       date of the assignment of this claim to claimant.
       14. Payments to Export-Import Bank of W asking ton
          Claim is made for the sum of $8,460.42 paid by claimant to the Export­
       Import Bank of Washington for the account of Powe Machinery Company,
       S.A. on notes held by that bank. The record reflects and the Commission finds
       that claimant made payment on March 19, 1962 of $4,809.78 and on July 5,
       1962 of $3,650.64 on notes due and owing by the Powe Machinery Company,
       S.A. which had been nationalized by the Government of Cuba on October 24,
       1960. The notes were originally payable to John Deere Intercontinental, S.A.
       and Caterpillar Americas Company and subsequently endorsed over to the
       bank. Thus the Commission finds that the amount of $8,460.42 was a debt of
       a nationalized enterprise to which claimant became subrogated by his pay­
       ments of March 19, 1962 and July 5, 1962.
         Accordingly, the Commission finds that claimant succeeded to and suf­
       fered losses in the amounts of $4,809.78 and $3,650.64 on March 19, 1962 and
       July 5, 1962, respectively, within the meaning of Title V of the Act.
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       15. Commission on Sale for John Deere Intercontinental, S.A.
         Claim is made for the amount of $122,419.62 due from the Government of
       Cuba for a sales commission on equipment sold to the Cuban Government for
       which a promissory note signed by Fidel Castro was given. The Commission
       has previously determined the Claim of Deere & Company, Claim No. CU­
       2392 wherein a certification of loss was made to the company based upon the
       note dated May 1, 1960 which matured May 1, 1961. The note was in the face
       amount of $389,591.12 and the share of loss for Deere & Company was held to
       be $267,171.50, the balance representing the sales commission due claimant
       herein.
         Thus the Commission reaffirms its previous decision holding the failure
       of the Government of Cuba to pay the promissory note on its maturity date,
       May 1, 1961, constituted a taking of claimant's property. Accordingly, the
       Commission concludes that claimant suffered a loss in the amount of $122,
       419.92 within the meaning of Title V of the Act on May 1, 1961.
       16. Chriscraft Yacht
         The Commission finds that claimant was the owner of a 75% interest in a
       Chriscraft yacht for which claim is made in the amount of $12,000.00. The
       record contains an affidavit of Mr. Waller Barrett affirming his sale to
       claimant of a 75% interest in a thirty-nine foot Chriscraft Cabin Cruiser
       for $12,000.00 during the year 1957, and the cruiser was subsequently taken
       to Cuba where it was based at the Havana Biltmore Yacht and Country
       Club. Claimant's income tax records in the file establish the taking of a
       loss by claimant of $12,000.00 for the seizure of the cruiser early in 1960.
       In the absence of evidence to the contrary, the Commission finds that the
       cruiser was taken by the Government of Cuba on March 1, 1960.
          On the basis of all the evidence of record, the Commission concludes that
       claimant suffered a loss in the amount of $12,000.00 on March 1, 1960 within
       the meaning of Title V of the Act.
          The Commission has decided that in certification of losses on claims de­
       termined pursuant to Title V of the International Claims Settlement Act of
       1949, as amended, interest should be included at the rate of 6% per annum
       from the date of loss to the date of settlement (see Claim of Lisle Corporation,
       Claim No. CU-0644), and in the instant case it is so ordered as follows:

                   FROM                                               ON
                November 23, 1959                               $         833.30
                March 1, 1960                                          12,000.00
                August 16, 1960                                        27,187.69
                October 24, 1960                                    8,567,168.70
                February 23, 1961                                      98,500.00
                March 13, 1961                                         90,767.97
                May 1, 1961                                           122,419.62
                September 13, 1961                                    430,276.87
                March 19, 1962                                         55,180.53
                July 5, 1962                                            3,650.64
                December 15, 1962                                      99,800.41

                                                                $9,507' 785.73
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                                  CERTIFICATE OF LOSS

        The Commission certifies that WILLIAM A. POWE suffered a loss, as a
      results of actions of the Government of Cuba, within the scope of Title V of
      the International Claims Settlement Act of 1949, as amended, in the amount
      of Nine Million Five Hundred Seven Thousand Seven Hundred Eighty-five
      Dollars and Seventy-three Cents ($9,507,785.73) with interest thereon at 6%
      per annum from the respective dates of loss to the date of settlement.
        Dated at Washington, D.C., Februrary 12, 1970.

      IN THE MATTER OF THE CLAIM OF FREEPORT SULPHUR COMPANY
                      Claim No. CU-2625-Decision No. CU-6162
      Under Title V of the Act, the value of a mining concession, like any other
       property, must be determined as of the date of loss. No amount. can be
       allowed on the basis that in the future improved processes and conditions
       may render the concession suitable for commercial development and
       therefore valuable.
                                  PROPOSED DECISION

        This claim against the Government of Cuba, filed under Title V of the
      International Claims Settlement Act of 1949, as amended, in the amount of
      $387,000.00, was presented by FREEPORT SULPHUR COMPANY based
      upon the asserted loss of certain mining concessions in Cuba owned by
      claimant's Cuban subsidiary.
        Under Title V of the International Claims Settlement Act of 1949 [78
      Stat. 1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat.
      988 (1965) ], the Commission is given jurisdiction over claims of nationals
      of the United States against the Government of Cuba. Section 503 (a) of
      the Act provides that the Commission shall receive and determine in accord­
      ance with applicable substantive law, including international law, the
      amount and validity of claims by nationals of the United States against
      the Government of Cuba arising since January 1, 1959 for
          losses resulting from the nationalization, expropriation, intervention or
          other taking of, or special measures directed against, property includ­
          ing any rights or interests therein owned wholly or partially, directly
          or indirectly at the time by nationals of the United States.
        Section 502 (3) of the Act provides:
          The term 'property' means any property, right, or interest including
          any leasehold interest, and debts owed by the Government of Cuba or by
          enterprises which have been nationalized, expropriated, intervened, or
          taken by the Government of Cuba and debts which are a charge on
          property which has been nationalized, expropriated, intervened, or
          taken by the Government of Cuba.
        Section 502 (1) (B) of the Act defines the term "national of the United
      States" as a corporation or other legal entity which is organized under the
      laws of the United States, or of any State, the District of Columbia, or the
      Commonwealth of Puerto Rico, if natural persons who are citizens of the
      United States own, directly or indirectly, 50 per centum or more of the
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       outstanding capital stock or other beneficial interest of such corporation or
       entity.
          The record shows that claimant was organized under the laws of Dela­
       ware and that at all pertinent times more than 50 per cent of its outstanding
       capital stock was owned by nationals of the United States. An authorized
       officer of claimant has certified that for the period NoYember 16, 1959
       through February 15, 1967, over 98.5 per cent of claimant's outstanding
       capital stock was held by individuals having addresses in the United States.
       The Commission holds that claimant is a national of the United States
       within the meaning of Section 502(1) (B) of the Act.
          The evidence esablishes and the Commission finds that at all pertinent
       times claimant owned 100 per cent of the outstanding capital stock of Cia.
       Exploradora de la Isla, S.A. (Islexco), a Cuban corporation.
          Since Islexco was organized under the laws of Cuba, it does not qualify
       as a corporate "national of the United States" within the meaning of Sec­
       tion 502(1) (B) of the Act, supra. In this type of situation, it has been held
       that a stockholder is entitled to file a claim for the value of his ownership
       interest. (See Claim of Parke, Davis & Company, Claim No. CU-0180, 1967
       FCSC Ann. Rep. 33.)
          It is asserted that Islexco's assets consisted of a large number of mining
       concessions located in Las Villa, Pinar del Rio, and Oriente Province, Cuba.
       The record include copies of deeds which support claimant's assertions in
       these respects. It further appears from the evidence of record that the GoY­
       ernment of Cuba intervened Islexco's mining concessions pursuant to Reso­
       lution 4382, issued by the Ministry of Agriculture, on July 27, 1960, under
       Law No. 617 of October 27, 1959.
          Claimant asserts the following losses:
           San Isidro Properties, Las Villas Province .............................. $ 38,564.24
           Carlota Properties, Las Villas Province .................................... 103,495.49
           Pinar del Rio Properties, Pinar del Rio Province ................             42,436.25
           Taco Bay Nickel Properties, Oriente Province ........................ 188,792.71
           Cristo Manganese Properties, Oriente Province ...................... 13,711.31
             Total ................................................................................................ $387,000.00
                                                                                                            ----~--




         The following mining reports have been submitted by claimant:
         1. A copy of a report of July 31, 1950 by Richard V. Colligan, president
       of Islexco, concerning the San Isidro Properties. This report covers an
       examination of two major areas during the period July 13, 1949 to Sep­
       tember 17, 1949, and indicates the presence of manganese in those areas.
       Commercial exploitation of the ore deposits is recommended in the report
       only "should a satisfactory method of treating the ores be developed." More­
       over, the report suggests the need for an engineering study to determine
       the adequacy of water for mining and washing plant purposes; it indicates
       that dock and storage facilities are inadequate; and it suggests that certain
       "surface rights" would have to be obtained from several large landowners
       in the area.
         2. A copy of an extract from a report of February 1917 by Yeatman &
       Berry concerning the Carlota Properties. That extract indicates the pres­
       ence of sulphur, iron and copper in the mines, and recommends "that the
       required expenditures be made to build the railway, to equip the mine, and
       to build a sintering or nodu!izing plant. . . ."
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          3. A copy of a report of December 12, 1951 by B. F. Darnell also cover­
       ing the Carlota Properties, which indicates negative results confirming
       statements in Mr. Colligan's affidavit of February 19, 1971.
          4. A copy of a report of January 1944 by Richard V. Colligan, concern­
       ing the Pinar del Rio Properties. In this report, Mr. Colligan "recommended
       that this property be dropped from consideration" because the reserve is
       believed to be too small to warrant the large capital expenditure necessary
       for plant and mine installations."
          5. A copy of a report of March 27, 1951 by Richard V. Colligan, con­
       cerning the Taco Bay Nickel Properties, in which Mr. Colligan "made a
       rough calculation of tonnages of nickel ore developed at Taco Bay during
       our examination in 1945."
          6. A copy of a report of October 7, 1956 by H. G. Kristjansen also cover­
       ing the Taco Bay properties. This report indicates the results of certain
       drilling operations during the latter part of September and the fhst half
       of October 1955, and includes estimates based primarily upon the 1945
       project.
          The record includes no such reports concerning the Cristo Manganese
       Properties.
          It appears from Mr. Colligan's affidavit of April 24, 1967, that this claim
       is based on the "capitalized cost of such mining concessions" as shown by
       Islexco's books and records. With respect to property loss claims, the Com­
       mission's functions include determination of the values of properties taken
       by Cuba on the dates of loss. Therefore, this claim was construed to be
       based upon the value of any ores in the mines in question on July 27, 1960,
       the date of loss. Accordingly, the Commission suggested the submission of
       evidence to establish the value of Islexco's ores and the extent of any
       mining operations performed by Islexco or claimant.
          Mr. Colligan recites in his affidavit of February 19, 1971 that "In each
       case, the reserves were not considered ripe for commercial development",
       but claimant awaited "the day when higher metal prices and improved
       treatment processes would render these deposits suitable for commercial
       development." Under these circumstances, "No mining was performed" by
       Islexco or Freeport on any of the properties discussed herein.
          The Commission made further inquiries concerning the value of the ores
       in question. It called claimant's attention to the fact that the Cuban Iron
       Ore Company, which had leased the Pinar del Rio Properties to Islexco,
       had asserted a claim for the loss of those mines and royalties under the
       lease w:ith Islexco (Claim No. CU-3337), and that the claim had been denied
       for failure to establish that its property had any value.
          In an affidavit of March 19, 1971, Mr. Colligan stated as follows: "With
       respect to the value of the ore reserves which are the subject of this claim,
       since the deposits were never exploited no definitive estimates of capital
       and operating costs were made. Hence no profit estimates are available. . . .
       I am, however, in a position to make a quantative evaluation of the gross
       value of the ore in the ground." Appended to the affidavit are two schedules.
       One schedule indicates the gross value of the ore reserves, and the other
       schedule shows the bases for the calculations. The first schedule sets forth
       that in 1960 the aggregate gross value of the ore reserves in the ground
       where the San Isidro, Carlota, Pinar del Rio, and Taco Bay mines were
       situated was $1,113,093,516.00. Nothing is included in that amount on ac­
       count of the Cristo mines because "No reserve data are available," as indi­
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       cated in the second schedule. That schedule also shows that the calculations
       therein were based upon the reports discussed above.
         This entire matter has been carefully considered. It is deemed unneces­
       sary to dwell upon Mr. Colligan's computations indicating a gross value of
       over $1 billion for the ores in the ground since that fact, in and of itself,
       is insufficent to establish what value, if any, the ores would have after
       considering mining and related costs. As already noted, the mines were
       never operated because "In each case, the reserves were not considered ripe
       for commercial development"; and the record contains no evidence to show
       the costs of mining and processing the ores. Moreover, the Pinar del Rio
       mines are indicated as having a gross value of $437,005,520.00, while Mr.
       Colligan's recommendation in January 1944 was that "this property be
       dropped from consideration" and the claim of Islexco's lessor based upon
       the Pinar del Rio mines was denied for lack of proof.
         The Regulations of the Commission provide:
            The claimant shall be the moving party and shall have the burden of
            proof on all issues involved in the determination of his claim. (FCSC
            Reg., 45 C.F.R. § 531.6(d) (1970).)
           The Commission finds that claimant has failed to sustai11 the burden of
        proof. While claimant's investment in the mines has some probative value,
        it is insufficient to establish the value of the mines on the date of loss.
        (See Claim of Wan·en and Arthur Smadbeck, Inc., et al., Claim No. CU­
        2465.) The Commission finds that claimant has failed to prove that its
        mining concessions had any value on the date of loss.
           Accordingly, this claim i"s denied in its entirety. The Commission deems
        it unnecessary to make determinations with respect to other elements of the
        claim.
           Dated at Washington, D.C., and entered as the Proposed Decision of the
        Commission April 14, 1971.
                                     FINAL DECISION

          Under date of April 14, 1971, the Commission issued its Proposed Decision
       denying this claim based upon certain mining concessions in Cuba because
       the record failed to establish that the concessions had any value on June 27,
       1960, the date of loss. The claim had been filed by Freeport Sulphur Com­
       pany which changed its name to FREEPORT MINERALS COMPANY as
       of April 26, 1971. Claimant's name of record has been changed accordingly.
          Claimant filed objections in the form of an affidavit of June 4, 1971 from
       :Mr. Richard V. Colligan, Vice President of claimant. It asserted that the
       minerals in the mining concessions had great value, but that the value
       could not be ascertained because the mines were not yet in operation. Claim­
       ant therefore urges the Commission to recognize that fact and allow the
       amount invested in the concessions in lieu of precise information concern­
       ing value thereof.
          The Commission notes that while minerals in the ground may be valuable
       intrinsically, the costs of extracting and refining the minerals may render
       it economically prohibitive to operate the mines in which the minerals exist.
       Thus, for practical purposes the mining concessions would have no real
       value.
          Upon consideration of the entire record, the Commission finds no basis for
       altering the Proposed Decision of April 14, 1971. The Commission reaffirms
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      its finding that the record fails to establish that the mining concessions
      in question had any value on the date of loss. Accordingly, the Proposed
      Decision is affirmed in all respects.
         Dated at Washnigton, D.C., and entered as the Final Decision of the
      Commission September 8, 1971.

                IN THE MATTER OF THE CLAIM OF JOHN EL KOURY
                         Claim No. CU-0384-Decision No. CU-3796
      Where the evidence justifies a finding of value, but it does not fully support
       claimant's assertions, the value may be determined by the application of
       sound reasoning based on the evidence of record.
                                        PROPOSED DECISION*

         This claim against the Government of Cuba, under Title V of the Inter­
      national Claims Settlement Act of 1949, as amended, in the amended amount
      of $2,966,630.67, was presented by JOHN EL KOURY based upon the as­
      serted loss of a 50% interest in a Cuban corporation which owned four mines
      in Oriente Province, Cuba, and a 100% interest in another mine also situated
      in Oriente Province, Cuba. Claimant has been a national of the United States
      since birth.
         Under Title V of the International Claims Settlement Act of 1949 [79
      Stat. 1110 (1964), 22 U.S.C. §§1643-1643k (1964), as amended, 79 Stat. 988
       (1965)], the Commission is given jurisdiction over claims of nationals of the
      United States against the Government of Cuba. Section 503 (a) of the Act
      provides that the Commission shall receive and determine in accordance with
      applicable substantive law, including international law, the amount and
      validity of claims by nationals of the United States against the Government
      of Cuba arising since January 1, 1959 for
          losses resulting from the nationalization, expropriation, intervention or
          other taking of, or special measures directed against, property including
          any rights or interests therein owned wholly or partially, directed or in­
          directly at the time by national of the United States.
        Section 502 ( 3) of the Act provides:
          The term 'property' means any property, right, or interest including any
          leasehold interest, and debts owed by the Government of Cuba or by
          enterprises which have been nationalized, expropriated, intervened, or
          taken by the Government of Cuba and debts which are a charge on prop­
          erty which has been nationalized, expropriated, intervened, or taken by
          the Government of Cuba.
        The record discloses that El Koury-Cobty Mining Corporation, S.A., in
      which claimant asserts a 50% interest, was organized under the laws of Cuba
      and does not qualify as a corporate "national of the United States" defined
      by Section 502(1) (B) of the Act as a corporation or other legal entity or­
      ganized under the laws of the United States, or of any State, the District of
      Columbia, or the Commonwealth of Puerto Rico, whose ownership is vested
      to the extent of 50 per centum or more in natural persons who are citizens
      of the United States. In this type of situation, it has been held previously
        • This decision was entered as the Commission's Final Decision on September 2, 1969.
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        that a stockholder in such a corporation is entitled to file a claim based upon
        his ownership interest therein. (See Claim of Parke, Davis & Company, Claim
        No. CU-0180, 1967 FCSC Ann. Rep. 33.)
           The Commission finds on the basis of the evidence of record, including a
        stock certificate and original deeds, that claimant owned a 50% interest in
        El Koury-Cobty Mining Corporation, S.A., hereafter referred to as the Cuban
        corporation, which was incorporated in Cuba in 1948; and that claimant was
        the sole owner of the undeveloped property known as the Isabel Mine, ac­
        quired in 1948 for $5,000.00. As to the latter the Commission finds the price
        paid for that property to be its fair value at the time of nationalization. It
        further appears from the evidence of record that the Cuban corporation
        owned four mines in Oriente Province, Cuba; namely, the San Miguel Mine,
        the St. Joseph Mine, the San Basilio Mine and the Daher Mine; and that the
        Isabel Mine was also located in Oriente Province, Cuba.
           On October 27, 1959, the Cuban Government enacted Law No. 617, which
        authorized the Minister of Agriculture to order the commercial exploitation
        of mineral resources in Cuba. Claimant has stated that the mines in question
        were nationalized by Cuba in 1960. The record shows that under date of
        February 9, 1960, the Department of State replied to claimant's inquiry of
        January 25, 1960 concerning said mines and referred to Law No. 617 of
        October 27, 1959, published November 17, 1959. In the absence of evidence
        to the contrary, the Commission finds that the four mines owned by the
        Cuban corporation and the Isabel Mine owned by the claimant were taken
        by the Government of Cuba on February 15, 1960, as a result of which
        claimant sustained a loss within the meaning of Title V of the Act.
          It should be noted that initially claimant asserted a loss $989,000.00 instead
        of the $2,966,630.67 now claimed. The former amount was computed as fol­
        lows:
                 (1) Four mines (above named)                               $270,000.00
                 (2) 50% stock interest in El Koury-Cobty Mining
                        Corp., S.A.                                          500,000.00
                 ( 3) Loss of lease income                                   219,000.00

                                                                            $989,000.00
           Following considerable correspondance asking for a clarification of claim­
        ant's figures, it appeared that the four mines had been purchased by the El
        Koury-Cobty Mining Corporation and so were parts of its assets-thus they
        were not the subject of a separate claim. Further, it appeared that those
        mining properties, in fact, had never been tested or surveyed to determine
        the quantity and quality of purported minerals therein. Claimant in his letter
        of July 16, 1969 to the Commission has now withdrawn "my claim for those
        mines" so they will not be considered further herein. As to the asserted loss
        of lease income, the record shows that the principal asset of the mining
        company was the St. Miguel Mine which was leased on December 14, 1950 by
        the Company to the Emily S.A. Mining Corporation for a 10% gross royalty
        for a 30 year term. It therefore follows that the value of the claimant's in­
        terest for the loss in question for both lease value and residual value, if any,
        is a corporate asset and would be affected by the following factors, viz.:
        (1) The type, quantity and quality of the proven ore reserve in the San
            Miguel Mine;
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       (2) The time it would take to develop the property and to mine the ore or,
           phrased another way, the number of days projected operation during
           the lease term and the amount of ore processed during each of those
           days;
       (3) The prices at which the ore would be sold during the actual operation of
           the lease, which period, allowing for starting-up operations, would be
           shorter than the lease term;
       (4) The amount of minerable commercial ore, if any, left at the end of the
           lease term.
         Claimant's substantially increased amended claimed amount is based upon
      various computations he has made primarily as to the asserted ore reserve
      and his projected production figures now based on a 500 ton a day mill rather
      than 100 tons per day first used in his claim. Although some evidence has been
      presented, it does not justify the total now claimed nor the method used by
      claimant in arriving at it, because the mine has evidently not been in produc­
      tion since the days of its early exploitation by the Spaniards who discovered
      it shortly after the discovery of Cuba and, because the evidence is inconclusive
      as to the true value of the total ore reserve. The Commission, therefore, finds
      that the valuation most equitable to the claimant is one hereinafter described.
         Evidence submitted includes a price list of metals, certain assay reports
      dated August 25 and 26, 1948, and claimant's description as to the measure­
      ments made of five mineralized veins. All this gives some idea as to the values
      of the copper, gold, silver, zinc and the quantities of ore. The primary diffi­
      culty, however, is twofold, first (as above mentioned) apparently no pro­
      duction occurred after the execution of the lease in 1950, and secondly, the
      number of assays for the length of the veins is too small to be taken as fully
      applying to the large ore bodies claimed. Nevertheless, this evidence does
      justify some finding of value, for the property would have had a commercial
      worth in the market place if it had not been expropriated.
         As to the reason why the lessee had not yet started actual production, the
      claimant asserted in his letter of July 17, 1967 to the Commission that this
      occurred because the lessee ". . . was starting operations at San Miguel
      Mine when Castro entered Cuba in Oriente Province and made his revolu­
      tionary coup on San Miguel Mine, which is located in the Sierra Maestra
      Mountains in Oriente Province, therefore the one hundred ton mill could not
      be completed by Emily S.A. Mining Co., and operation ceased." Claimant
      though asserts that there were six million tons of ore "on site" in that
      letter, i.e., meaning proven, and a potential of fifty million additional tons­
      the latter with an estimated value of "one million dollars plus." This does
      not accord with another one of his statements in his letter of July 16, 1969,
      that " ... we had a proven tonnage of 723,330 tons...."
         Further difficulty with claimant's position as to the larger claim now as­
      serted is that the lease was entered into in 1950 and Castro, according to
      historical accounts, did not operate from the Sierra Maestra Mountains until
      sometimes in 1956. No explanation is made by claimant as to why such al­
      legedly valuable properties were not mined between 1950 and 1956. We can
      only surmise that it was because for some reason it was not then profitable
      to do so. But that does not mean that there was no value to the property.
      Claimant himself states that he invested $250,000 in his one-half interest in
      the enterprise, and the assays in part show some good values on certain sam­
      ples. However, as stated earlier, we deem the assays as too few in number
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        to justify the kind of averaging claimant has projected even if we accept his
        figure of 723,330 tons of possible commercial ore.
           Considering all the evidence, the Commission finds that the most equitable
        valuation of the claimant's company's 10% gross lease interest is a gross
        worth of $1,084,995, with claimant's one-half interest being $542,497.50. The
        latter sum, plus $5,000.00 heretofore found as the value of claimant's interest
        in the Isabel Mine makes a total loss to claimant of $547,497.50. In holding
        that claimant suffered a loss of $547,497.50, the Commission has considered
        the value of claimant's stock in the El Koury-Cobty Mining Corporation,
        S.A., based on value of the lease itself and the possible residual value at
        the expiration of the lease in the event the full tonnage were not mined
        during the lease term.
           The Commission has decided that in the certification of losses on claims
        determined pursuant to Title V of the International Claims Settlement Act
        of 1949, as amended, interest should be included at the rate of 6% per annum
        from the date of loss to the date of settlement (See Claim of Lisle Corpora­
        tion, Claim No. CU-0644), and in the instant case it is so ordered.
                                     CERTIFICATION OF LOSS

           The Commission certifies that JOHN EL KOURY suffered a loss, as a re­
         sult of actions of the Government of Cuba, within the scope of Title V of
         the International Claims Settlement Act of 1949, as amended, in the amount
         of Five Hundred Forty-Seven Thousand Four Hundred Ninety-Seven Dollars
         and Fifty Cents ($547,497.50) with interest thereon at 6% per annum from
         February 15, 1960 to date of settlement.
           Dated at Washington, D.C., July 30, 1969.

              IN THE MATTER OF THE CLAIM OF ARCHIBALD S. ABBEY
                         Claim No. CU-0352-Decision No. CU-6784
         For the purpose of Title V of the Act, the value of the property in question
           must be established by competent and convincing evidence.
                                        FINAL DECISION

           This claim was filed by ARCHIBALD S. ABBEY, as the representative
         of the Estate of his deceased father, CHESTER E. ABBEY. The claim was
         submitted on August 16, 1965, prior to the opening of the filing period, and
         such filing was considered validated as of November 1, 1965, the commence­
         ment of the period for filing claims against the Government of Cuba. As it
         was not shown that any legal representative had been appointed, the claim
         was considered as that of the Estate of CHESTER E. ABBEY, Deceased.
           The efforts of the Commission to assist in the development of this claim
         are outlined in the Proposed Decision. The claim was d~,mied for failure to
         establish the identity of persons assertedly having any interest in this claim,
         that they were United States nationals at all pertinent times, that they
         owned interests in any of the claimed mining concessions in Cuba, or if they
         did that the concessions had any value on the asserted date of loss, and
         that the claim was owned by nationals of the United States continuously
         from the date of loss to the date of filing the claim.
           Objections were filed in this matter by Chester E. Abbey, grandson of
         Chester E. Abbey, deceased, and nephew of ARCHIBALD S. ABBEY, and
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       an oral hearing was held in the Offices of the Commission on June 22, 1972,
       at which time Chester E. Abbey presented argument on behalf of the Es­
       tate. No additional documentary evidence was presented at the hearing.
          It has been contended that Chester Eli Abbey and Alice Soutar Abbey
       (both now deceased) had five children, one of whom died in infancy, and
       that four survived to adulthood. These four have been identified as Frank­
       lin G. Abbey, now deceased, Henry C. Abbey, now deceased, Wellington F.
       Abbey, now deceased, and ARCHIBALD S. ABBEY. The Commission finds
       that ARCHIBALD S. ABBEY, a national of the United States at all times
       pertinent to this claim, inherited a one-fourth part of any interest his
       grandfather, Chester E. Abbey, Deceased, held in the mining concessions
       subject of this claim and which were not sold by Alice S. Abbey, on behalf
       of the Estate. Accordingly, ARCHIBALD S. ABBEY is substituted as
       claimant, in his individual capacity as a successor in interest to a part of
       the Estate of Chester E. Abbey, Deceased.
          The record does not establish with certainty the successors in interest to
       the remaining part of the Estate of Chester E. Abbey, Deceased, whether
       they were United States nationals, and their continued ownership (if any)
       from the date of loss to November 1, 1965.
          On November 17, 1959 the Government of Cuba published its Law 617,
       which authorized the Minister of Agriculture to order the commercial ex­
       ploitation of mineral resources in Cuba. Accordingly, the Commission finds
       that any mining concessions held by the Estate of Chester E. Abbey, De­
       ceased, or his heirs, which had not been sold, were taken by the Government
       of Cuba on November 17, 1959. (See the Claim of John El Koury, Claim
       No. CU-0384.)
          As set out in the Proposed Decision, claim was originally made for the
       mining concessions Providencia, La Union, Minnesota and El Cupey. There­
       after, in letters of February 18, 1968, and September 25, 1971, subsequent
       to issuance of the Proposed Decision, ARCHIBALD S. ABBEY clarified
       that only the El Cupey group is claimed. The Commission found in its Pro­
       posed Decision that the first three named mining concessions had been sold
       and were not owned by any of the heirs of Chester E. Abbey, deceased,
       when they were taken from the purchaser on August 19, 1960. (See Claims
       of Mao Bay Mining Company, et al., Claim Nos. CU-2619 and CU-2573.)
          The record, including a "Memorandum of All property Owned by C. E.
       Abbey, Deceased" reflects that the interest of the Estate in the El Cupey
       group was 12 per cent. This is affirmed in a letter of June 27, 1967 of
       ARCHIBALD S. ABBEY. Chester E. Abbey has contended that he filed
       claim with the Internal Revenue Department for losses as a result of the
       Castro regime takeOver, that he got 8.5 years income tax returned based on
       a large evaluation of the total loss insofar as he suffered a loss as a grand­
       son. This is not of record. Chester E. Abbey has never clarified whether the
       claim, after he commenced addressing the Commission, is intended to cover
       more than the El Cupey group, although this information was requested.
       However, he stated at the oral hearing that $200,000 was allowed him by the
       Internal Revenue as 1,4 of 12 per cent, although his interest might be Ys of
       12 per cent. It is noted that $200,000 is the amount originally asserted by
       ARCHIBALD S. ABBEY as the value of the 12% interest of the Estate.
          Chester E. Abbey has submitted a copy of a Deposition of June 8, 1966,
       of William A. J. Pitt, in the Matter of Chester E. Abbey, et al, in the
       United States Court of Claims, Number 367-65. Mr. Pitt, a mining engineer,
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        was formerly with the Department of Mines, Oriente Province. In his depo­
        sition Mr. Pitt set out his recognition of the abovementioned Memorandum
        of Properties. He also affirmed that part of the properties including Provi­
        dencia, La Union and Minnesota had been sold to the Moa Bay Company,
        and Freeport Sulphur (as then known).
           The Commission affirms its holding that the Providencia, La Union and
        Minnesota mining concessions were not owned by any of the heirs of Ches­
        ter E. Abbey, Deceased, on the date of any taking by the Government of
        Cuba. Moreover, it is to be noted that even if the Internal Revenue Service
        made a return to Chester E. Abbey of taxes paid, on the ground that the
        properties belonged to the Government of Cuba, this does not establish that
        prior to such taking, the properties had belonged to the heirs of Chester E.
        Abbey, deceased. The Collector of Taxes historically accepts taxes proffered
        and his no obligation to research the title of the one making the payment.
           Accordingly, the Commission finds that ARCHIBALD S. ABBEY suf­
        fered a loss of his inherited interest of three per cent of the El Cupey
        group, on November 17, 1959, the date of taking by the Government of
        Cuba.
           There remains for determination the value of the loss suffered by ARCH­
        IBALD S. ABBEY. In this connection the Commission has carefully exam­
        ined the several sketches and maps submitted by ARCHIBALD S. ABBEY,
        and his various assertions that the Moa and El Cupey properties consisted
        of 2,365 acres with 84 million tons of ore-manganese, iron, nickel and co­
        balt. The abovementioned Memorandum of Properties shows that the El
        Cupey concessions consisted of 957.40 hectares, equivalent to 2,364.78 acres.
        By letter of June 27, 1967 ARCHIBALD S. ABBEY stated that the El
        Cupey group held 58 million tons. Thereafter his calculations of value in­
        crease while the method remains unclear.
           Chester E. Abbey had submitted certain Internal Revenue Service sched­
        ules indicating an original loss of $100,000 in 1960 and subsequent carry­
        overs for unused portions, but the papers submitted do not indicate the na­
        ture of the loss. Clarification was requested of this point, but was not
        forthcoming. As shown above, the Commission has also considered the
        assertion of a tax return to Chester E. Abbey.
           ARCHIBALD S. ABBEY stated in his letter of September 25, 1971 that
        the silver content had a value of from 24 to 26 cents an ounce, lead had a
        value of 5 cents a pound, and zinc had no value. He continued that the ore
        in these properties was 28 per cent zinc, that the smelter liquidations of
        the value metals was almost absorbed by the zinc penalties, so they closed
        the property in 1935. He continued that it would take many years to exploit
        and process the property, and that the Russians were using the crude ore
        for ballast in their ships.
           The record includes an accounting for the proceeds of the sale of Provi­
        dencia, La Union and Minnesota on April 7, 1943 for $21,072. This covered
        a surface area of 558 hectares, and represented a value of $37.76 per
        hectare.
           The Commission has also examined the aboYedescribed deposition of Wil­
        liam A. J. Pitt. It is noted that he stated that the El Cupey property had
        not been mined for iron or nickel. He gave it as his opinion that El Cupey
        had twenty to forty million tons of ore-a wide allowance which is not
        shown to be proved. He also indicated that certain properties in the vicinity
        could be sold for $125 a hectare, and $1.00 royalty per dry ton, but that
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      El Cupey would be lower, inasmuch as it would take ten years to exploit
      the Moa properties (sold) but would take about twenty years for El Cupey.
         The evidence of record justifies some finding of value inasmuch as the
      property would have had a commercial worth in the market place, if it had
      not been taken by the Government of Cuba.
         On the basis of the 1943 sale and Mr. Pitt's various statements, the Com­
      mission finds that the 957.40 hectares of El Cupey had a surface value
      averaging $50 per hectare, aggregating $47,870.00. Further the Commission
      finds that the El Cupey property probably contained 5,000,000 tons of ore
      and after considering a discount rate of 12 per cent appropriate to the area,
      over a 15 year period, finds that the value of the El Cupey ores was $950,000
      on the date of loss.
         Accordingly, the Commission finds that ARCHIBALD S. ABBEY suf­
      fered a loss of $29,936.10 when his 3 per cent interest was taken on Novem­
      ber 17, 1959.
         The Commission has decided that in certifications of loss on claims de­
      termined pursuant to Title V of the International Claims Settlement Act of
      1949, as amended, interest should be included at the rate of 6% per annum
      from the date of loss to the date of settlement (see Claim of Lisle Corpora­
      tion, Claim No. CU-0644), and in the instant case it is so ordered.
         Accordingly the following Certification of Loss will be entered and in all
      other respects the Proposed Decision is affirmed.
                                      CERTIFICATION OF LOSS

        The Commission certifies that ARCHIBALD S. ABBEY, individually,
      suffered a loss, as a result of actions of the Government of Cuba, within
      the scope of Title V of the International Claims Settlement Act of 1949, as
      amended, in the amount of Twenty-Nine Thousand Nine Hundred Thirty­
      Six Dollars and Ten Cents ($29,936.10) with interest thereon at 6% per
      annum from November 17, 1959 to the date of settlement.
        Dated at Washington, D.C., June 23, 1972.

      IN THE MATTER OF THE CLAIM OF MOA BAY MINING COMPANY,
                              ET AL.
              Claim Nos. CU-2619 and CU-2573-Decision No. CU-6049
      Valuation of mining concessions may be determined by application of ap­
        propriate discount rates. Other items of property may be evaluated by
        competent and persuasive evidence.
                                       PROPOSED DECISION       *
        These claims against the Government of Cuba, under Title V of the In­
      ternational Claims Settlement Act of 1949, as amended, in the amounts of
      $98,005,000.00 and $68,071,000.00, respecth·ely, were presented by MOA
      BAY MINING COMPANY AND CUBAN AMERICAN NICKEL COM­
      pANY based upon the asserted losses of certain real and personal property
      in Cuba.
        Under :J'itle V of the International Claims Settlement Act of 1949 [78
      Stat. 1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat.
       *This decision was entered as the Commission's Final Decision on March 15. 1971.
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        988 (1965) ], the Commission is given jurisdiction over claims of nationals
        of the United States against the Government of Cuba. Section 503 (a) of the
        Act provides that the Commission shall receive and determine in accordance
        with applicable substantive law, including international law, the amount
        and validity of claims by nationals of the United States against the Govern­
        ment of Cuba arising since January 1, 1959 for
            losses resulting from the nationalization, expropriation, intervention or
            other taking of, or special measures directed against, property includ­
            ing any rights or interests therein owned wholly or partially, directly
            or indirectly at the time by nationals of the United States.
           Section 502 ( 3) of the Act provides :
            The term 'property' means any property, right, or interest including
            any leasehold interest, and debts owed by the Government of Cuba or
            by enterprises which have been nationalized, expropriated, intervened,
            or taken by the Government of Cuba and debts which are a charge on
            property which has been nationalized, expropriated, intervened, or taKen
            by the Government of Cuba.
           Section 502(1) (B) of the Act defines the term "national of the United
        States" as a corporation or other legal entity which is organized under the
        laws of the United States, or of any State, the District of Columbia, or
        the Commonwealth of Puerto Rico, if natural persons who are citizens of
        the United States own, directly or indirectly, 50 per centum or more of the
        outstanding capital stock or other beneficial interest of such corporation or
        entity.
           The record shows that MOA BAY MINING COMPANY (MOA) and
        CUBAN AMERICAN NICKEL COMPANY (CUBAN AMERICAN) were
        organized under the laws of Delaware (Exhibits B and D), and that at all
        pertinent times more than 50'/c of the outstanding capital stock of MOA
        and CUBAN AMERICAN were owned by nationals of the United States.
        It further appears that at all times from November 23, 1955, when MOA
        was incorporated, to the date of filing all of MOA's outstanding capital
        stock was owned by CUBAN AMERICAN (Exhibit C). In turn, all of
        CUBAN AMERICAN's outstanding capital stock was owned from August
        11, 1955, when CUBAN AMERICAN then known as Freeport Nickel Com­
        pany was incorporated, to November 8, 1963, by Freeport Sulphur Com­
        pany (Freeport), a corporation organized under the laws of Delaware
         (Exhibit E).
           Ever since NoYember 8, 1963, all of CUBAN AMERICAN's outstanding
        capital stock has been owned by the First National City Bank, Bankers
        Trust Company, Mellon National Bank and Trust Company, Chemical Bank
        New York Trust Company and The Bank of New York, all of which banks
        qualify as nationals of the United States within the meaning of Section
        502(1) (B) of the Act (Exhibits G and H). An authorized officer of Free­
        port has certified that from November 16, 1959 to February 15, 1967, over
        98.5'/o of Freeport's outstanding capital stock was owned by persons having
        addresses in the United States (Exhibit F; also see Claim of Freeport
        Sulphur Company, Claim No. CU-2625). The Commission holds that MOA
        and CUBAN AMERICAN are nationals of the United States within the
        meaning of Section 502(1) (B) of the Act.
           Claimants assert the following losses:
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        MOA (CU-2619)
         Loss of earnings, plant and equipment -------------------------------- $88,349,000.00
         Loss of earnings from reinvestment of excess cash ________               9,656,000.00

               Total -------------------------------------------------------------------------------------- $98,005,000.00

        CUBAN AMERICAN (CU-2573)
         Loss of earnings, plant and equipment -----------------------------­ $60,809,000.00
         Loss of earnings from reinvestment of excess cash --------             7,262,000.00

               Total                                                                                $68,071,000.00

                                 STOCKHOLDER AND CREDITOR CLAIMS

        MOA and CUBAN AMERICAN state that they filed their claims on
      their own behalf; on behalf of CUBAN AMERICAN as stockholder and
      creditor of MOA; on behalf of other creditors of MOA; on behalf of the
      said five banks in their respective capacities as stockholders and creditors
      of CUBAN AMERICAN: and on behalf of other creditors of CUBAN
      AMERICAN.
        Section 505 (a) of the Act provides that a claim under section 503 (a) of
      the Act, based upon an ownership interest in any corporation, association,
      or other entity which is a national of the United States shall not be
      considered.
        The Commission finds that the claim of CUBAN AMERICAN as a stock­
      holder of MOA and the claims of the banks as stockholders of CUBAN
      AMERICAN are barred by the express provisions of Section 505 (a) of the
      Act because MOA and CUBAN AMERICAN qualify as nationals of the
      United States. Accordingly, those claims are denied. (See Claim of Mary F.
      Sonnenberg, Claim No. CU-0014, 25 FCSC Semiann. Rep. 48 [July-Dec.
      1966].)
        The record indicates that the following concerns have joined the claims
      herein as creditors of CUBAN AMERICAN:
               First National City Bank
               Bankers Trust Company
               Mellon National Bank and Trust Company
                Chemical Bank New York Trust Company
                The Bank of New York
                Republic Steel Corporation
               United States Steel Corporation
               McLouth Steel Corporation
               Jones & Laughlin Steel Corporation
                General Motors Corporation
                Ford Motor Company
        Section 505 (a) of the Act further provides that a claim under Section
      503 (a) based upon a debt or other obligation owing by any corporation,
      association, or other entity organized under the laws of the United States,
      or of any State, the District of Columbia, or the Commonwealth of Puerto
      Rico shall be considered only when such debt or other obligation is a charge
      on property which has been nationalized, expropriated, intervened, or taken
      by the Government of Cuba.
        The Commission has previously held that a claim based upon a debt of
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        an entity qualifying as a United States national may not be considered
        unless the debt was a charge on property taken by the Government of Cuba.
         (See Claim of Anaconda American Brass Co., Claim No. CU-0112, 1967
        FCSC Ann. Rep. 60.)
           It is neither alleged nor does the record show that any of the debts upon
        which the aforesaid creditors base their claims were charges on any prop­
        erties taken by the Government of Cuba. The Commission is therefore pre­
        cluded from considering their claims.
           However, it is contended by MOA and CUBAN AMERICAN that the
        legislative history of the Act indicates that it was not intended that Section
        505 (a) should exclude claims of banks, insurance companies, financial insti­
        tutions or other entities based upon debts or other obligations.
           This issue was considered by the Commission in the course of determining
        the debt claim of a bank under Title V of the Act. The Commission held as
        follows:
             Finally, we find no merit in the claimant's contention that the legisla­
             th"e history of the Act exempts banks from the operation of Section
             505 (a) . This was considered previously by the Commission and rejected
             in the Proposed Decision [1968 FCSC Ann. Rep. at 64] wherein the
             Commission found that the language of the section itself is quite clear
             and contains no exception in favor of banks. (See Claim of The First
             National Bank of Boston, Claim No. CU-2268, Final Decision entered
             February 26, 1969, 1969 FCSC Ann. Rep. 33.)
           For all of the foregoing reasons, the claim of CUBAN AMERICAN and
        the claims of the creditors based upon debts due either from CUBAN
        AMERICAN or MOA are denied.
                       CLAIM No. CU-2573 (CUBAN AMERICAN)
           CUBAN AMERICAN asserts a loss of $68,071,000.00 by virtue of a con­
        tract dated January 19, 1959 between MOA and CUBAN AMERICAN
         (Exhibit M) relating to certain mining concessions in Cuba owned by MOA.
           The agreement of January 19, 1959 provides for the sale of MOA's ores
         (nickel-cobalt concentrates) to CUBAN AMERICAN pursuant to certain
        conditions. The contract was to continue for a period of five years, and MOA
        was to receive 60o/o of the net income derived from the sale of MOA's ores
        after being refined by CUBAN AMERICAN. It appears that CUBAN
        AMERICAN financed its project by loans from the five banks which, since
        November 8, 1963, have been CUBAN AMERICAN's sole stockholders.
           Upon consideration of the entire record, the Commission finds that CU­
        BAN AMERICAN owned no proprietaary interest in any of MOA's mining
        concessions or related properties in Cuba. Insofar as those concessions and
        properties are concerned, the only rights that CUBAN AMERICAN pos­
        sessed stemmed from the contract of January 19, 1959, and that contract
        merely provided for the sale of extracted ores to CUBAN AMERICAN.
        Loss of Earnings, Plant and Equipment:
           CUBAN AMERICAN asserts a loss in the aggregate amount of $60,809,­
        000.00, representing the loss of earnings based on the contract of January
        19, 1959, and the discounted depreciated value of its plant and equipment in
        the United States.                                                    1
           It appears that in anticipation of that contract, CUBAN AMERICAN
        acquired in 1957 from Freeport certain real property in Louisiana (Exhibit
        L). During 1957, 1958, 1959 and 1960, CUBAN AMERICAN caused to be
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       constructed on the property in Louisiana certain facilities for refining
       nickel-cobalt concentrates.
          Inasmuch as CUBAN AMERICAN owned no interest in MOA's proper­
       ties in Cuba, no property belonging to CUBAN AMERICAN was taken by
       Cuba. Moreover, since CUBAN AMERICAN's plant and equipment were in
       the United States, the Commission finds that being outside the jurisdiction
       of Cuba, these assets could not have been taken by Cuba. Accordingly, the
       portion of CUBAN AMERICAN's claim for the asserted loss of earnings,
       plant and equipment is denied.
       Loss of Earnings from Reinvestment of Excess Cash:
          CUBAN AMERICAN asserts a loss of $7,262,000.00, representing the
       estimated earnings it would have derived from the investment of cash
       available as a result of its operations in the United States pursuant to the
       contract of January 19, 1959. The Commission finds that this portion of the
       claim also is not covered by the Act. Moreover, it appears that this portion
       of the claim is entirely speculative, covering estimated earnings from rein­
       vestments over a 22-year period. (See Claim of Metro-Goldwyn-Mayer, Inc.,
       Claim No. CU-2225.) Accordingly, this portion of the claim is denied.
                              CLAIM No. CU-2619 (MOA)
          The evidence establishes and the Commission finds that pursuant to cer­
       tain agreements and other instruments executed in 1957 and 1959, MOA
       acquired certain mining concessions situated in the vicinity of Baracoa,
       Oriente Province, Cuba, in the northeastern part of Cuba known as Moa
       Bay (Exhibit I). These concessions were duly recorded with Cuban
       authorities.
          The Commission further finds that MOA caused to be constructed in that
       area an extensive plant and appurtenant facilities to support its mining
       operations in Moa Bay. The record includes copies of audited balance sheets
       and other financial statements for MOA as of various dates in 1959, 1960
       and 1961 (Exhibits J and K), which indicate the extent of MOA's invest­
       ments in such facilities in Cuba.
          On the basis of the entire record, the Commission finds that MOA sus­
       tained a loss within the meaning of Title V of the Act when its facilities
       were intervened by the Government of Cuba on August 19, 1960 pursuant
       to Resolution No. 4579 issued by the Ministry of Labor under Law 647 of
       November 24, 1959.
       Loss of Earnings, Plant and Equipment:
         The aggregate amount asserted by MOA on account of loss of earnings,
       plant and equipment is $88,349,000.00. The Commission holds this portion
       of the claim to be based upon the value of MOA's mining concessions and
       properties that were intervened by the Government of Cuba on August 19,
       1960. (See Claim of Howard E. Holtzman et al., Claim No. CU-2168.)
         The evidence includes a detailed, technical report of MOA's mining con­
       cessions in Cuba, prepared in May 1956 by Eugene P. Pfleider, Consulting
       Mining Engineer, on the basis of drilling and exploration, the sampling of
       extracted ores, and analyses of the samples (Exhibit 0). Thereafter another
       study of the concessions was made by Sanderson & Porter, independent
       engineers. Their detailed report, dated March 6, 1957 (Exhibit P), con­
       cludes with the statement, inter alia, that "measured currently economic
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       ore reserves . . . are sufficient to support an annual production of 50,000,­
       000 pounds of nickel and 4,400,000 pounds of cobalt for about 22 years."
       Appended to that report is a letter of February 20, 1957 from Eugene P.
       Pfleider, revising his May 1956 Ore Reserve Report (Exhibit 0) upward
       on the basis of sampling more ores extracted from 150 new holes.
          On the basis of the foregoing evidence, the Commission finds that MOA's
       proven ore reserves were sufficient to produce 50,000,000 pounds of nickel
       and 4,400,000 pounds of cobalt annually for 22 years.
          The said agreement of January 19, 1959 between MOA and CUBAN
       AMERICAN (Exhibit M) provided for the sale to CUBAN AMERICAN
       of all the ores extracted from MOA's mining concessions. CUBAN AMERI­
       CAN agreed to refine the ores and sell them to its customers. In considera­
       tion thereof, MOA was to receive 60% of the net profits derived from the
       sale of the refined ores. That contract was to terminate on June 30, 1965.
       It further appears that MOA had made certain arrangements with the
       Cuban Treasury Department, pursuant to which its income for Cuban tax
       purposes was to be 60% of such net profits until June 30, 1965 and 65%
       of such net profits thereafter.
          On the basis of the evidence of record (Exhibits N and R), the Commis­
       sion finds that the net amounts to be deriYed from the sale of the refined
       ores were $0.726 per pound for nickel after sales adjustments, and $2.00
       per pound for cobalt until June 30, 1965. Thereafter, the prices would be
       $0.726 per pound of nickel and $1.50 per pound of cobalt until the end of
       the 22-year term, June 30, 1982, when the ores would be exhausted.
          The Commission therefore finds that the gross value of the refined ores
       was $45,100,000.00 per year for the period ending June 30, 1965, and there­
       after at the rate of $42,900,000.00 for the remaining period. MOA's compu­
       tations also include the liquidated value of its plant and equipment as of
       the end of the 22-year term in the amount of $11,600,000.00, which is found
       to be fair and reasonable. The evidence (Exhibit J) includes copies of
       audited balance sheets and other financial statements covering MOA's Cuban
       operations. The balance sheet as of September 30, 1960, closest to the date
       of loss, shows that MOA owned land in Cuba valued at $5,041,021.38, and
       plant, equipment and related facilities valued at $59,395,791.97 after depre­
       ciation of $1,051,016.72.
          MOA had applied to the Internal Revenue Service for a Necessity Certi­
       ficate to permit it to rapidly depreciate its Cuban assets pursuant to the
       Internal Revenue Code. A detailed report (Exhibit K) submitted in support
       of MOA's application to the Internal Revenue Service shows that its actual
       expenditures for facilities in Cuba aggregated $55,527,455.18.
          The record (Exhibit R) shows that the aggregate income to be derived
       from the sales of the refined ores over the 22-year period plus the liquidated
       value of MOA's plant and equipment was $622,485,000.00. The Sanderson
       & Porter report (Exhibit P) shows that the aggregate cost of extracting
       and refining the ores was $19,700,000.00 per year. Of that amount, MOA's
       operating costs were $11,857,000.00 per year until 1965 and $12,055,000.00
       thereafter, aggregating $264,418,000.00 for the entire 22-year period. Thus
       MOA's gross income after operating costs aggregated $358,067,000.00.
          It further appears that interest on loans to finance MOA's operations
       would aggregate $9,816,000.00, and that the aggregate amount of Cuban
       taxes would be $104,012,000.00 for the 22-year period. Accordingly, the net
       amount MOA would have derived for the entire period would be $244,239,­
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      000.00. MOA's computations (Exhibit R) also provide for discounting the
      resulting aggregate net income and the liquidated value of its plant and
      equipment to arrive at the net worth of its Cuban operations on the date
      of loss. On this basis, MOA's losses were computed to be $88,349,000.00.
        Upon consideration of the entire record, the Commission finds that MOA's
      valuations are fair and reasonable. The Commission therefore finds that the
      aggregate value of MOA as an operating company on August 19, 1960, the
      date of loss, was $88,349,000.00.
      Loss of Earnings from Reinvestment of Excess Cash:
         MOA asserts the loss of $9,656,000.00 for earnings it would have accumu­
      lated as a result of investing excess cash derived after payment of all
      charges and obligations appurtenant to its Cuban operations. In making
      this computation, MOA estimated the amounts that would become available
      at the end of each of the 22 years, after payment of all expenses and repay­
      ment of the principal amounts of anticipated loans. The results thus ob­
      tained were then considered by MOA to be capable of earning 3% per year
      compounded, and that amount was discounted at a 12% rate to arrive at
      the amount claimed.
         As stated with respect to CUBAN AMERICAN's claim for a similar loss,
      this item of claim appears to be entirely speculative. The Commission finds
      no valid basis for estimating over a 22-year period how much, if any, capital
      would become available for reinvestment. Moreover, there is no sound basis
      for supposing that such capital would be reinvested and would earn the
      amount estimated by MOA.
         Upon consideration of this portion of MOA's claim, the Commission finds
      that it is speculative and is not supported by the evidence of record. Ac­
      cordingly, this portion of the claim is denied.
         The Commission has decided that in certifications of loss on claims deter­
      mined pursuant to Title V of the International Claims Settlement Act of
      1949, as amended, interest should be included at the rate of 6% per annum
      from the date of loss to the date of settlement (see Claim of Lisle Corpora­
      tion, Claim No. CU-0644), and in the instant case it is so ordered.
                                 CERTIFICATION OF   Loss
        The Commission certifies that MOA BAY MINING COMPANY suffered
      a loss, as a result of actions of the Government of Cuba, within the scope
      of Title V of the International Claims Settlement Act of 1949, as amended,
      in the amount of Eighty-eight Million Three Hundred Forty-Nine Thousand
      Dollars ($88,349,000.00) with interest at 6% per annum from August 19,
      1960 to the date of settlement.
        Dated at Washington, D.C., Feb. 3, 1971.


        IN THE MATTER OF THE CLAIM OF NICARO NICKEL COMPANY

                      Claim No. CU-2624-Decision No. CU-6247

      Where the evidence is clear and convincing, the probable and possible ores
       in a mine, as well as the proven ores, may justify Certifications of Loss
       provided appropriate annual discount rates are applied to each category
       of ore.
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                                         FINAL DECISION

           Under date of June 30, 1971, the Commission issued its Proposed Decision
        certifying a loss in favor of claimant in the amount of $22,494,708.62 plus
        interest. The Certification of Loss covered certain mining concessions in
        Cuba in the amount of $22,297,708.62, and other appurtenant property in
        the amount of $197,000.00. In determining the value of claimant's mining
        concessions, the Commission allowed only the established amount of proven
        ore, and portions of the claim for probable ore and possible ore were denied.
        The value of the proven ore was determined by the application of a 12o/o
        annual discount rate to the yearly valuations of the ore for the period 1961
        to 1979 to arrive at the aggregate value of the proven ore on October 24,
        1960, the date of loss.
           Claimant objected to the denial of the claim for probable ore and possible
        ore, and to the use of a 12% annual discount rate. In support of the objec­
        tions, claimant submitted a report of August 1971 from Behre Dolbear &
        Company, Inc., a firm of mining, geological and metallurgical consultants,
        which contains the conclusion that an 8% annual discount rate should be
        applied to determine the Yalues of the proven ore, probable ore and possible
        ore. An oral hearing was requested which was held on September 16, 1971.
           At the oral hearing, Richard V. Colligan, Vice President of claimant,
        testified as an expert geologist with many years of experience in Cuban
        mining operations. Counsel offered in evidence an affidavit of September 16,
        1971 from William R. Thurston, geologist, concerning the value of claim­
        ant's ore in Cuba, and presented oral argument on behalf of claimant. Mr.
        Colligan testified that actual experience in exploiting claimant's mining
        concessions in Cuba showed that earlier estimates of proven ore were sub­
        stantially less than actually found; that it developed that much of what
        was considered probable ore was found to be proven; and that much of
        what was considered possible ore was found to be probable.
           Upon consideration of the evidence presented at the oral hearing in light
        of the entire record, the Commission now finds that claimant's proven ore,
        probable ore and possible ore, as shown by the evidence, should be allowed,
        and that the values thereof on the date of loss should be determined by the
        application of annual discount rates of 8o/o, 12o/o and 15o/o, respectively,
        Accordingly, the Commission finds that the aggregate values of claimant's
        ores in Cuba on October 24, 1960 were as follows:
            Year          Gross Value             . Discount Factor     Net .Value
                                          Proven Ore
            1961         $2,317,900.00              .925926           $2,146,204.00
            1962          2,385,500.00              .857339            2,045,182.00
            1963          2,358,200.00              .793832            1,872,015.00
            1964          2,358,200.00              .735030            1,733,348.00
            1965          2,358,200.00              .680583            1,604,951.00
            1966          2,394,600.00              .630170            1,509,005.00
            1967          2,576,600.00              .583490            1,503,420.00
            1968          4,162,200.00              .540269            2,248,708.00
            1969          4,162,200.00              .500249            2,082,136.00
            1970          4,162,200.00              .463193            1,927,902.00
            1971          4,162,200.00              .428883            1,785,097.00
            1972          4,162,200.00              .397114            1,652,868.00
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           Year          Gross Value             Discount Factor      Net Value
           1973          4,162,200.00               .367698          1,530,433.00
           1974          4,162,200.00                .340461         1,417,067.00
           1975          4,162,200.00                .315242         1,312,100.00
           1976          4,162,200.00               .291890          1,214,905.00
           1977          4,162,2.00.00              .270269          1,124,914.00
           1978          4,162,200.00               .250249          1,041,586.00
           1979          2,180,200.00               .231712            505,179.00
           Totals       $64,713,600.00                             $30,257,020.00

                                         Probable Ore
           1979         $2,071,000.00               .116107          $240,457.60
           1980          4,039,100.00               .103667           418,721.38
           1981          4,039,100.00               .092560           373,859.10
           1982          4,039,100.00               .082643           333,803.34
           1983          4,039,100.00               .073788           298,037.11
           1984          4,039,100.00               .065882           266,103.99
           Totals      $23,816,500.00                               $1,930,982.52

                                         Possible Ore
           1985         $4,055,100.00               .030378          $123,185.83
           1986          4,055,100.00               .026415           107,115.47
           1987          4,055,100.00               .022970            93,145.65
           1988          4,055,100.00               .019974            80,996.57
           1989          4,055,100.00               .017369            70,443.03
           1990          4,055,100.00               .015103            61,244.18
           1991          4,055,100.00               .013133            53,255.63
           1992          3,475,800.00               .011420            39,693.64
           Totals      $31,816,500.00                                $629,080.00

         Therefore, the aggregate value of claimant's ore was $32,817,082.52, and
       the total losses sustained by claimant amounted to $33,014,082.52.
         Accordingly, the Certification of Loss in the Proposed Decision of June
       30, 1971 is set aside and the following Certification of Loss will be entered,
       and in all other respects the Proposed Decision as amended herein is
       affirmed.
                                  CERTIFICATION OF LOSS

         The Commission certifies that NICARO NICKEL COMPANY suffered a
       loss, as a result of actions of the Government of Cuba, within the scope of
       Title V of the International Claims Settlement Act of 1949, as amended, in
       the amount of Thirty-Three Million Fourteen Thousand Eighty-Two Dollars
       and Fifty-Two Cents ($33,014,082.52) with interest at 6% per annum from
       October 24, 1960 to the date of settlement.
          Dated at Washington, D.C., September 28, 1971.
                                    PROPOSED DECISION

         This claim against the Government of Cuba, filed under Title V of the
       International Claims Settlement Act of 1949, as amended, in the amount of
       $42,600,000.00, was presented by NICARO NICKEL COMPANY based upon
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       the asserted loss of certain mining concessions and other assets in Cuba.
         Under Title V of the International Claims Settlement Act of 1949 [78
       Stat. 1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat.
       988 (1965)], the Commission is given jurisdiction over claims of nationals
       of the United States against the Government of Cuba. Section 503(a) of the
       Act provides that the Commission shall receive and determine in accordance
       with applicable substantive law, including international law, the amount
       and validity of claims by nationals of the United States against the Govern­
       ment of Cuba arising since January 1, 1959 for
           losses resulting from the nationalization, expropriation, intervention or
           other taking of, or special measures directed against, property including
           any rights or interests therein owned wholly or partially, directly or
           indirectly at the time by nationals of the United States.
         Section 502 ( 3) of the Act provides:
           The term 'property' means any property, right, or interest including
           any leasehold interest, and debts owed by the Government of Cuba or
           by enterprises which have been nationalized, expropriated, intervened,
           or taken by the Government of Cuba and debts which are a charge on
           property which has been nationalized, expropriated, intervened, or taken
           by the Government of Cuba.
          Section 502 (1) (B) of the Act defines the term "national of the United
       States" as a corporation or other legal entity which is organized under the
       laws of the United States, or of any State, the District of Columbia, or the
       Commonwealth of Puerto Rico, if natural persons who are citizens of the
       United States own, directly or indirectly, 50 per centum or more of the
       outstanding capital stock or other beneficial interest of such corporation or
       entity.
          The record shows that claimant was organized under the laws of Dela­
       ware and that at all pertinent times another Delaware corporation, the
       Freeport Sulphur Company, now known as Freeport Minerals Company,
       owned all of claimant's outstanding capital stock. Claimant's Secretary has
       certified under date of April 24, 1967 that for the period November 16, 1959
       to February 15, 1967 over 98.5% of Freeport's outstanding capital stock
       was owned by residents of the United States and its possessions. The Com­
       mission holds that claimant is a national of the United States within the
       meaning of Section 502(1) (B) of the Act. (See Claim of Freeport Sulphur
       Company, Claim No. CU-2625.)
          Claimant has submitted the affidavit of April 24, 1967 from Richard V.
       Colligan, its Vice President, in which some pertinent background informa­
       tion is included. As a result of a two-year research program, claimant devel­
       oped an improved process for the commercial exploitation of nickeliferous
       ores in Cuba. The United States Government became interested in claimant's
       activities. Pursuant to agreements in 1942, the United States Government
       invested in preferred stock issued by claimant, which was redeemed in full
       in 1954 leaving Freeport as the sole owner of all of claimant's outstanding
       capital stock. The United States Government had acquired certain nickel
       deposits in Moa Bay, Cuba through ownership of Cuban Nickel Company,
       S.A., a Cuban corporation, which deposits are not the subject of this claim.
       (See Claims of United States of America, Claim Nos. CU-2522 and CU­
       2618, 1967 FCSC Ann. Rep. 50.)
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                                  MINING CONCESSIONS

          The evidence establishes and the Commission finds that pursuant to deeds
       executed in 1940 and other instruments dated 1954 and 1958, claimant ac­
       quired mining concessions in Oriente Province, Cuba (Appendices E, F, G,
       H, I, J and K). Under an agreement of July 2, 1948, which incorporates an
       earlier one of March 12, 1942, between the United States Government and
       claimant (Appendix A), the United States Government acquired the right
       to take ore from claimant's ore properties for a period of twenty years
       commencing on March 11, 1948 in exchange for a certain expressed con­
       sideration. The United States Government purchased ore from claimant
       from 1952 to 1960.
        , On October 24, 1960, the Cuban Government published in its Official Ga­
       zette Resolution No. 3 pursuant to Law 851, which listed as nationalized
       NICARO NICKEL COMPANY (Appendix B). The Commission therefore
       finds that claimant's mining concessions were nationalized by the Govern­
       ment of Cuba on October 24, 1960.
          The Act provides in Section 503 (a) that in making determinations with
       respect to the validity and amount of claims and value of properties, rights,
       or interests taken, the Commission shall take into account the basis of valu­
       ation most appropriate to the property and equitable to the claimant, in­
       cluding but not limited to fair market value, book value, going concern
       value, or cost of replacement.
          The question, in all cases, will be to determine the basis of valuation
       which, under the particular circumstances, is "most appropriate to the prop­
       erty and equitable to the claimant". This phraseology does not differ from
       the international legal standard that would normally prevail in the evalua­
       tion of nationalized property. It is designed to strengthen that standard by
       giving specific bases of valuation that the Commission shall consider.
          Claimant asserts that the minimum value of its mining concessions on
       the date of loss was 42,082,362.00 (Appendix D). In its initial submission,
       claimant relied upon the affidavit of April 24, 1967 from its Vice President,
       Richard V. Colligan, a professional geologist who had participated in drill­
       ing programs and evaluation studies of claimant's mining concessions. Pur~
       suant to his calculations, claimant's reserves included the following as of
       June 1960:
       Type of Reserve                  Short Dry Tons                %Nickel
           Proven                            33,336,500                   1.402
           Probable                          11,500,000                   1.465
           Possible                          16,500,000                   1.366
          Mr. Colligan states that the Nicaro plant in Cuba had an annual capacity
       of 2,100,000 tons of ore; and that the United States Government's ore re­
       serves in Cuba were sufficient to supply only 800,000 tons per year. There­
       fore, affiant computed this portion of the claim based upon annual sales of
       1,300,000 tons of ore to the United States Government from 1961 to 1968
       pursuant to the said agreements (Appendix A), and annual sales of 2,100,­
       000 tons thereafter until 1992 when claimant's reserves of all types as­
       sertedly would be exhausted (Appendix D) .
          In response to Commission suggestions; claimant made a further submis­
       sion under date of May 27, 1971. That submission includes another affidavit
       from Mr. Colligan; a copy of a memorandum of June 21, 1960 to Mr. Colli­
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       gan together with attached copies of schedules showing the amounts of
       proven and probable reserves on the basis of a 1955 report; a copy of an
       unsigned statement of October 31, 1955 showing the proven, probable and
       possible reserves; and copies of excerpts from two publications. Mr. Colli­
       gan states that the October 31, 1955 report was prepared by Forbes Wilson,
       now a Vice President of Freeport.
         Concerning the distinctions between proven, probable and possible re­
       serves, claimant submitted copy of an excerpt from "Examination and Eval­
       uation of Mineral Property" by Baxter and Parks, pages 115-116 (4th ed.
       1957) as follows:
         C: K. Leith,' in preparing estimates of iron ore reserves, has defined
       terms used to designate respective classes of ore as follows:
            " 'Assured' ore is defined to cover principally the ore blocked out in
            three dimensions by actual underground mining operations and drill
            holes, where the geological factors which limit the orebody are definitely
            known and where the chance of failure of the ore to reach these limits
            is so remote as not to be a factor in the practical planning of mine
            operations.
            " 'Prospective' ore covers further extensions near at hand, where the
            conditions are such that ore will almost certainly be found but where
            the extent and limiting conditions cannot be so precisely defined.
            "Ore is classed as 'possible' where the relation of the land to adjacent
            orebodies and to geological structures warrants the presumption that
            ore will be found but where the lack of expioration and development
            data precludes anything like certainty of its actual location or extent."
         The U.S. Bureau of Mines and the U.S. Geological Survey, in recent esti­
       mates of mineral reserves, have agreed upon and defined • the following
       terms to signify relative dependability of information:
            " 'Measured ore' is ore for which tonnage is computed from dimensions
            revealed in outcrops, trenches, workings, and drill holes and for which
            the grade is computed from the results of detailed sampling. The sites
            for inspection, sampling, and measurement are so closely spaced and
            the geological character is so well defined that the size, shape, and min­
            eral content are well established. The computed tonnage and grade are
            judged to be accurate within limits which are stated, and no such limit
            is judged to differ from the computed tonnage or grade by more than
            20 per cent.
            " 'Indicated ore' is ore for which tonnage and grade are computed
            partly from specific measurements, samples, or production data and
            partly from projection for a reasonable distance on geologic evidence.
            The sites available for inspection, measurement, and sampling are too
            widely or otherwise inappropriately spaced to outline the ore com­
            pletely or to establish its grade throughout.                        .
            " 'Inferred ore' is ore for which quantitative estimates are based largely
            on broad knowledge of the geologic character of the deposit and for
         1
           Prospectus, The Cleveland-Cliffs Iron Co., Dec. 10, 1935, Lehman Bros., Field, Glore & Co.,
       Hayden, Stone & Co., p, 9.
         2 "Investigation of National Resources," Subcommittee Hearings, U.S. Senate Committe«:

       on Public Lands, May 15-20, 1947; pp. 119-20.
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           which there are few, if any, samples or measurements. The estimates
           are based on an assumed continuity or repetition for which there is
           geologic evidence; this evidence may include comparison with deposits
           of similar type. Bodies that are completely concealed may be included
           if there is specific geologic evidence of their presence. Estimates of in­
           ferred ore should include a statement of the special limits within which
           the inferred ore may lie."
          The record includes a copy of .a report of October 21, 1952 made to the
       United States Government by a firm of Metallurgists and Chemical Engi­
       neers concerning the amount and grade of nickeliferous reserves in Nicaro
       mines and the neighboring area of Moa Bay, Cuba, in which the United
       States Government was interested. In discussing the proven, probable and
       inferred or possible reserves, the report states: "The figures for probable
       and inferred reserves are little more than educated guesses. Similarly the
       grade of the reserves is mostly unknown."
          The Commission has had occasion to consider other claims based on min­
       ing concessions in Moe Bay, Cuba. In those cases, the Commission allowed
       only the "measured" or "proven ore" reserves. (See Claims of Moa Bay
       Mining Company and Cuban American Nickel Company, Claim Nos. CU­
       2619 and CU-2573.)
          Upon consideration of the entire record, the Commission finds no valid
       reason for allowing any amount on account of the asserted probable and
       possible ore reserves. Accordingly, the portion of the claim based upon
       probable and possible ore reserves is denied.
          The Commission finds that on October 24, 1960, the date of loss, claimant's
       proven ore aggregated 33,300,000 tons. The value thereof must therefore
       be determined.
          The record shows that pursuant to express provisions in contracts to
       which the United States Government was a party, the United States Gov­
       ernment was to bear the expenses of mining, refining and related opera­
       tions, as well as capital expenses for the term of the contracts, ending on
       March 10, 1969 (Appendix A). In addition, the contracts set forth the
       amounts the United States Government was required to pay claimant for
       the ore, which were the market prices of refined nickel F.O.B Pittsburgh,
       Pennsylvania, as determined by the United States Government.
          Accordingly, claimant has computed its loss with respect to the proven
       ore reserves on the basis of the contracts. As already noted, claimant's
       computations cover 1,300,000 tons of ore for the years 1961 through 1967,
       when the United States Government's supply would have been exhausted,
       and 2,100,000 tons per year thereafter, representing the annual capacity of
       claimant's plant. Applying the market prices in effect during the years in
       question, claimant's computations show the following (Appendix D):

                             Tons of                                   Per Ton
           Year             Proven Ore           Value                 Amount
           1961              1,300,000           $1.783           $ 2,317,900.00
           1962              1,300,000            1.835             2,385,500.00
           1963              1,300,000            1,814             2,358,200.00
           1964              1,300,000            1.814             2,358,200.00
           1965              1,300,000            1.814             2,358,200.00
           1966              1,300,000            1.842             2,394,600.00
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             1967             1,300,000            1.982              2,576,600.00
             1968             2,100,000            1.982              4,162,200.00
             1969             2,100,000            1.982              4,162,200.00
             1970             2,100,000            1.982              4,162,200.00
             1971             2,100,000            1.982              4,162,200.00
             1972             2,100,000            1.982              4,162,200.00
             1973             2,100,000            1.982              4,162,200.00
             1974             2,100,000            1.982              4,162,200.00
             1975             2,100,000            1.982              4,162,200.00
             1976             2,100,000            1.982              4,162,200.00
             1977             2,100,000            1.982              4,162,200.00
             1978             2,100,000            1.982              4,162,200.00
             1979             1,100,000            1.982              2,180,200.00
             Total           33,300,000                             $64,713,600.00

          The Commission noted that for the entire period of claimant's computa­
       tions ending in 1979, no amounts were deducted for mining, refining and
       related expenses, although the contracts with the United States Government
       were to end early in 1968. Therefore, the Commission inquired concerning
       the period following the termination of the contracts. Claimant's response
       was in the form of an affidavit from its Vice President, Richard V.
       Colligan.
          That affiant states that in view of the increased value of nickel, the likely
       result was "that claimant would sell its ore for use in the Nicaro plant on
       at least as favorable a basis as provided in the Ore Contract." On this basis,
       claimant states that it is justified in computing the value of its ore with­
       out deducting any amounts for mining, refining and related expenses.
          It is noted that the contracts with the United States Government pro­
       vided that the price of the refined nickel was to be $0.025 per pound, plus
       $.0008 for each $0.01 increase in market price, as determined by the
       United States Government, over $.30 per pound delivered in Pittsburgh,
       Pennsylvania, or minus that amount if there were a decrease in the market
       price. Claimant has submitted evidence tending to show that the market
       prices for refined nickel at Pittsburgh, Pennsylvania were approximately
       as follows: $0.74 per pound from January 1, 1961 to June 30, 1961; $0.82
       per pound from July 1, 1961 to May 23, 1962; $0.79 per pound from May
       24, 1962 to October 31, 1966; and $0.87 per pound as of November 1, 1966.
       It further appears that the market price of refined nickel rose after No­
       vember 1, 1966. Claimant has computed its claim for the period 1968 to
       1979 on the basis of the prices in effect as of November 1, 1966.
          The said report of October 21, 1952 to the United States Government
       also sets forth estimated operating costs as of 1952 for the Nicaro plant.
       Upon consideration thereof in the light of the entire record, the Commis­
       sion finds that the prices per pound of refined nickel, as computed by
       claimant, are fair and reasonable. The sole remaining question insofar as
       the value of claimant's proven ore reserve is concerned is the discount rate
       applied by claimant to arrive at the value of its ore on the date of loss.
          Claimant's Appendix D indicates that it has applied a 6% per annum
       discount rate for proven ore, a 10% rate for probable ore and a 15% rate
       for possible ore. The results of claimant's computations are not shown
       separately for each type of ore but are lumped together. In response to the
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       Commission's inquiries concerning the discount rate, an affidavit of May
       27, 1971 was submitted from claimant's Vice President. Therein he states
       that he applied the said discount rates on the basis of the risks involved.
       Therefore, the proven ore valuation was subjected to the lowest discount
       rate and the possible ore valuation was subjected to the highest rate.
          The affidavit was supported by a copy of another excerpt from "Exami­
       nation and Valuation of Mineral Property", supra at 447-465. That publi­
       cation discusses the valuations of mines in Michigan and states that the
       "generally accepted figure for interest on capital in a nonspeculative in­
       dustry is six per cent . . . The Tax Commission adopted the six per~ cent
       rate for both the interest on the investment and the return of the capital."
       Referring to the suggested six per cent rate, the authors state: "This is
       the procedure under ideal conditions; but in nearly every valuation one or
       more factors have to be adjusted in view of such expected future conditions
       as probably will differ from the past five-year record."
          There can be no doubt that conditions in the mining industry in Cuba
       were not ideal. It is equally true that they cannot be compared with those
       prevailing in the state of Michigan for the purpose of this decision. The
       Commission therefore holds that claimant's suggested discount rate of 6%
       per annum is inappropriate. In the Claims of Moa Bay Mining Company,
       et al., supra, the Commission held that the proper discount rate to apply
       to mining concessions in Cuba in order to arrive at the value of future
       amounts on the date of loss was 12% per annum.
          Accordingly, the Commission finds that the valuation most appropriate
       in this case and equitable to the claimant is the result obtained from apply­
       ing a discount rate of 12% per annum to the yearly valuations of the ore
       for the period 1961 to 1979, as shown in Appendix D and set forth above.
       Upon applying that discount rate to the foregoing valuations, the Commis­
       sion finds that claimant's proven ore had the following aggregate valuation
       on October 24, 1960, the date of loss:
                Year               Gross Value                  Net Value
                1961               $2,317,900.00             $ 2,069,553.24
                1962                2,385,500.00               1,901,706.29
                1963                2,358,200.00               1,678,519.60
                1964                2,358,200.00               1,498,678.55
                1965                2,358,200.00               1,338,106.35
                1966                2,394,600.00               1,213,178.59
                1967                2,576,600.00               1,165,522.43
                1968                4,162,200.00               1,681,041.82
                1969                4,162,200.00               1,500,930.94
                1970                4,162,200.00               1,340,116.02
                1971                4,162,200.00               1,196,532.61
                1972                4,162,200.00               1,068,332.69
                1973                4,162,200.00                 953,868.02
                1974                4,162,200.00                 851,669.36
                1975                4,162,200.00                 760,417.29
                1976                4,162,200.00                 678,946.39
                1977                4,162,200.00                 606,199.46
                1978                4,162,200.00                 541,252.49
                1979                2,180,200.00                 253,136.48
       Totals                     $64,713,600.00             $22,297,708.62
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                                      OTHER ASSETS
         On the basis of the evidence of record, the Commission finds that claim­
       ant owned property, discussed further below, which was appurtenant to its
       mining operations in Cuba. The Commission further finds that all such
       property was taken by the Government of Cuba on October 24, 1960 when
       claimant's mining concessions were taken.
         In the opinion of claimant's Vice President, the overall value of claim­
       ant's mining concessions and other assets in Cuba were in excess of $42,­
       600,000.00, of which $42,082,362.00 represents the asserted value of the
       mining concessions, and $518,000, generally represented the other assets.
         Claimant asserts that the value of $518,000.00 included surface rights and
       timber which claimant had purchased in 1940 and 1956 at a cost of $321,­
       000.00; and furniture and fixtures, drilling and other equipment and vehicles
       at the Nicaro plant and in Santiago and Havana, Cuba, as well as a resi­
       dence, warehouse and office buildings at the Nicaro plant, valued at $197,000.
       Claimant states that in addition to its investment the values of all these
       properties must be measured in terms of research and efforts to develop
       the mining properties.
         As indicated above, the record shows that claimant had developed an im­
       proved process for the commercial exploitation of nickeliferous ores in
       Cuba. In that program alone, claimant expended two years in research,
       which undoubtedly required a substantial investment of money. Claimant's
       program was successful, and the new process inured to the benefit of the
       United States Government. The Nicaro plant continued to function until
       nationalization by Cuba on October 24, 1960.
          On that date, claimant's organization in Cuba included appropriate real
       and personal property in order to extract and process the ores. Claimant
       states that it is unable to supply a complete inventory of each item because
       many of its records were left in Cuba. However, claimant's books and
       records disclose that its investments in tangible real and personal property
       at the Nicaro plant aggregated $197,000.00.
          On the basis of the evidence of record, the Commission finds that claimant
       owned certain items of real and personal property at its Nicaro plant in
       Cuba which had a value of $197,000.00 on October 24, 1960, the date of loss.
          Claimant also asserts the loss of its investment in obtaining the con­
       cessions and surface rights, including timber. While it appears from the
       evidence of record (Appendix J) that claimant had acquired hardwood trees
       in 1940, there is no evidence to establish that any such trees existed twenty
       years later on the date of loss, or the value thereof if such trees did exist.
       No amounts are being allowed for claimant's investments in the mining
       concessions or surface rights valued by claimant at $321,000 because it is
       considered that they are not established beyond being covered by the allow­
       ance herein for the value of the ore and other investments.
          Upon consideration of the entire record, the Commission finds that claim­
       ant's valuation of its other physical assets in Cuba is fair and reasonable.
       Accordingly, the Commission finds that the aggregate Yalue of claimant's
       physical plant at Nicaro on October 24, 1960, the date of loss, was
       $197,000.00 as aforesaid.
          Claimanfflas stated that the extent of its investment in the properties
       herein must not be measured in terms of acquisition costs, but "in terms
       of the years of research and effort of an experienced and competent orga­
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       nization to develop an extremely valuable mining property." While the
       Commission recognizes that claimant did engage in research with respect to
       the mines in Cuba, the record contains insufficient evidence and informa­
       tion which could be used to determine the value thereof.
          The Commission finds that claimant has failed to sustain the burden of
       proof with respect to this portion of the claim. Accordingly, this portion
       of the claim is denied.
          Claimant's losses on October 24, 1960 are summarized as follows:
                 Item of Property                                                        Amount
              Mining Concessions -------------------------------------------------- $22,297,708.62
              Other Assets ----------------------------------------------------------------     197,000.00
                        Total                                                               $22,494,708.62

          The Commission has decided that in certification of loss on claims de­
       termined pursuant to Title V of the International Claims Settlement Act of
       1949, as amended, interest should be included at the rate of 6% per annum
       from the date of loss to the date of settlement (see Claim of Lisle Corpora­
       tion, Claim No. CU-0644), and in the instant case it is so ordered.
                                           CERTIFICATION OF LOSS

         The Commission certifies that NICARO NICKEL COMPANY suffered a
       loss, as a result of actions of the Government of Cuba, within the scope
       of Title V of the International Claims Settlement Act of 1949, as amended,
       in the amount of Twenty-Two Million Four Hundred Ninety-Four Thousand
       Seven Hundred Eight Dollars and Sixty-Two Cents ($22,494,708.62) with
       interest at 6% per annum from October 24, 1960 to the date of settlement.
       Dated at Washington, D.C., June 30, 1971.

       IN THE MATTER OF THE CLAIM OF THE FIRST NATIONAL BANK
                             OF BOSTON
                           Claim No. CU-2268-Decision No. CU-3071
       Book value rejected as method of valuation where additional evidence in­
         dicates that it is not equitable to claimant.
       Fair market value is proper method of evaluation where available evidence
         is sufficient to make application thereof.
                                               FINAL DECISION         *
         This claim against the Government of Cuba, under Title V of the Inter­
       national Claims Settlement Act of 1949, as amended, for $12,496,000.00, was
       presented by THE FIRST NATIONAL BANK OF BOSTON based upon
       asserted losses resulting from the nationalization of claimant's six branches
       in Cuba and upon the nonpayment of certain debts.
         By Proposed Decision dated September 11, 1968, the Commission found
       that claimant qualified as a national of the United States, that its six
       branches in Cuba were nationalized by the Government of Cuba on Septem­
       ber 17, 1960, and that the most appropriate measures of the value of the six
        • Book value had been applied in the Commission's Proposed Decision. This Final Decision
       was issued after objections were filed and an oral hearing was held on Dec. 9, 1968.
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       branches at the time of loss was their book value of $5,651.384.36, from
       which was deducted the sum of $4,069,114.69 recovered by claimant subse­
       quent to the nationalization, leaving a net loss for the six branches of
       $1,582,269.67. The Commission further found that claimant had suffered an
       additional loss of $1,666,845.57 within the meaning of Title V of the Act in
       connection with certain letters of credit issued by the Cuban branches prior
       to their nationalization; and certified that claimant had suffered a total
       loss in the amount of $3,249,115.24. A portion of the claim based upon
       debts owed to claimant by Cuban Telephone Company and Mid-Century
       Service, Inc., was denied on the grou_nd that Section 505 (a) of the Act
       precludes consideration of claims based upon debts owed by entities which
       qualify as United States nationals unless the debts were charges on pro­
       perty which was nationalized, expropriated, intervened, or taken by the
       Government of Cuba.
          Claimant filed objections to the Proposed Decision, objecting specifically
       to the value placed upon its six Cuban branches, and to the denial of the
       portion of the claim based upon the debt owed by Cuban Telephone Company.
       A brief amicus curiae was filed by counsel for International Telephone
       and Telegraph Corporation (Claim No. CU-2615). At an oral hearing on
       December 9, 1968, the testimony of witnesses was presented and argument
       was made by counsel for claimant and amicus curiae. A subsequent brief
       a,micus curiae was filed by counsel for Colgate-Palmolive Company (Claim
       No. CU-0730).
       Value of Cuban Branches at time of loss
         In its objections, claimant urges that its six branches be valued at
       $12,200,000.00 at the time of loss, as going concerns. Pointing out that
       Section 503 (a) of the Act requires the Commission to "take into account the
       basis of valuation most appropriate to the property and equitable to the
       claimant," it argued strongly for the adoption of either the "direct earnings
       method" of the "rate of return/net worth method" that it had suggested
       previously as routes to the going concern value of the six branches.
         In the "direct earnings method," yearly earnings are multiplied by a
       multiple determined by various indices of performance (deposit growth,
       net worth increase, and return on investment equity). Claimant multiplied
       the 1959 earnings of its branches by 12.7 (obtained from the performance
       of 46 American banks), by 13.9 (from four American "growth" banks),
       and by 9.9 (from three Latin-American banks), and multiplied the average
       earnings for the 5 years of 1955 through 1959 by 12.7 (from the 46 Ameri­
       can banks) and 15.9 (from the four "growth" banks). It then took the
       average of the five results, and arrived at $12,603,096.00 for the value of
       the six Cuban branches.
         In the "rate of return/net worth method," 1959 book value was multiplied
       by a multiple derived from analysis of the rate of return on invested equity
       in five groups of banks, and their market value of a percentage of net
       worth. The Cuban branches earned a 20.6% return on equity in 1959, and a
       24.5% return for the 5 years from 1955 through 1959, yielding, by com­
       parison with other banks, multiples of 2.34 and 2.72, respectiYely, to be
       applied to 1959 book value. The results of these two averaged $12,222,126.00.
         The admitted weaknesses of the suggested methods are the difficulty in
       determining the proper multiple to be used, and the inability to make
       a comparison of claimant's Cuban branches with other Cuban banks due
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       to the unavailability of data concerning such banks. In its Proposed Deci­
       sion, the Commission resorted to book value, after stating that it was not
       convinced that the claimant's basis for evaluation, resting on a comparison
       of the six branches with a number of banks operating in the United States
       and three other non-Cuban banks, was valid.
          In the course of the oral hearing, an expert witness, favoring the capitali­
       zation of earnings as a method of valuation, testified that in his opinion a
       lower multiple should be applied to earnings of the Cuban branches in
       order to determine their going concern value, than to the earnings of the
       claimant enterprise as a whole, in view of the inherent risk in conducting
       a business of this nature in a foreign country, subject to close govern­
       mental regulation, currency control, and possible fluctuation in the value
       of the foreign currency. Even offsetting this by the fact that claimant's
       Cuban branches yielded a greater return on investment than did claimant
       bank as a whole, he suggested a multiple of 10 times earnings. This, if
       applied to the branches' 1959 earnings, would yield a going concern value
       of $9,948,550.00, or $9,336,810.00 if applied to the average annual earnings
       for the 5-year period from 1955 through 1959. However, the witness ad­
       mitted that his reduction of the multiple to 10 represented a crude and
       arbitrary adjustment, and was entirely a matter of judgment.
          As an alternative method of calculating the value of its Cuban branches,
       claimant suggested in its brief that the fair market Yalue of the branches be
       determined from the fair market value of the whole enterprise on the share
       of stock in the corporation for the year of 1959 by the total number of
       shares outstanding on December 31, 1959, claimant arrived at a market
       value for the whole enterprise of $249,200,000.00. The 1959 net income of the
       six branches was $994,855.00 after Cuban taxes, representing 4.62% of the
       net income of claimant bank as a whole. Applying this percentage to $249,­
       200,000.00 yielded a value of $11,513,049.00 for the branches. Recognizing
       that this calculation failed to reflect the effect of 1959 United States income
       taxes on the net income of the branches, claimant submitted a recalculation
       in an addendum to its brief, showing a net income of $676,740.00 for the
       Cuban branches after Cuban and United States taxes. This represented
       3.21% of the similarly adjusted net income of the whole enterprise, indicat­
       ing a fair market value for the six branches of $7,999,320.00.
          The Commission has recognized, and indeed Section 503 (a) of the Act
       makes abundantly clear, that book value is not always the most appropriate
       basis for valuation of nationalized property. Determinations of the Commis­
       sion must be made on the basis of evidence available to it, however, and at
       times the available evidence permits only the use of book value. In the
       instant case, the nature of the business conducted is such that earnings
       potential reflected in the market price of the stock is of greater significance
       than asset value in the determination of true value of the enterprise at
       any given time. The Commission is persuaded that at the time of loss the
       claimant's six Cuban branches had a value exceeding their book value;
       and the quantity and quality of evidence submitted places the Commission
       in a position to determine that the "basis of Yaluation most appropriate
       to the property and equitable to the claimant" is that of allotting to the
       branches the portion of the fair market value of the whole enterprise
       which the net income of the branches bore to the net income of the whole.
       Accordingly, the Commission finds that the value of the six branches on
       September 17, 1960, was, $7,999,320.00 and that, after deduction of the re­
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       covered $4,069,114.69, claimant suffered a loss in the amount of $3,930,205.31
       as a result of the nationalization of the six branches by the Government
       of Cuba.
         In addition, the finding of loss of $1,666,845.57 for payments in connection
       with letters of credit is affirmed.
                   DEBT OF CUBAN TELEPHONE COMPANY        a/k/a   CUTELCO

          The pertinent history of this matter is that Cutelco was organized in the
       United States but all or nearly all of its assets were located in Cuba. By
       Cuban Government Resolution No. 1 published August 6, 1960, pursuant
       to Law No. 851, its assets were nationalized. At that time it owed claimant
       bank $290,000. This amount was asserted to be compensable in this case
       but was disallowed by our Proposed Decision because, under Section 505 (a)
       of the Act, it was held to be an unsecured debt of a United States national.
       The Commission previously determined the nationality issue based on infor­
       mation furnished the State Department in 1960 by the International Tele­
       phone and Telegraph Corporation. The United States interest was then
       found to be 60.75%, whereas anything over 50% would place Cutelso in the
       category of claimants covered by Section 505 (a).
          It is now asserted by a new affidavit that in fact Cutelco had slightly
       less than 50% American ownership on the date of the taking. We, however,
       find and hold that this evidence does not overcome that previously adduced
       and already ruled upon by our Commission. Also, Amicus Curiae urge that
       Cutelco was dormant or defunct after its properties were taken, but we
       fail to see how that could alter the statutory boundaries.
          Also, the claimant urges that the Cuban Nationalization Decree should
       be interpreted as an assumption by the Cuban Government of the debts of
       Cutelco, including its debts to the claimant. It is not necessary for the
       Commission to determine whether the claimant's interpretation of the Cuban
       Decree is correct, for even if the Cuban Government specifically assumed
       the liability of Cutelco to the claimant, this would not support a certifi­
       cation in its favor.
          The statutory function of the Commission is to determine the rights of
       persons whose property has been nationalized or otherwise taken. When
       the Cuban Government nationalized the property of Cutelco it did not
       thereby nationalize any property of the First National Bank of Boston.
       Therefore, the bank cannot prevail on this issue.
          That does not mean, however, that the Bank is without a remedy. Cutelco,
       as a United States national, has a claim filed on its behalf with the Com­
       mission by one of its stockholders (viz. CU-3682) for the nationalization
       of its assets. The bank can in fact protect itself by obtaining a judgment
       against' Cutelco and levying on any assets it may then have, including any
       recovery on its claim against the Cuban Government. A Federal court
       recently reached a similar conclusion as to injurance contracts in the case
       of Blanco v. Pan-American Life Insurance Company, et al., 221 F. Supp.
       219.
          Finally, we find no merit to the claimant's contention that the legislative
       history of the Act exempts banks from the operation of Section 505(a).
       This was considered previously by the Commission and rejected in the Pro­
       posed Decision wherein the Commission found that the language of the
       section itself is quite clear and contains no exception in favor of banks.
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          For the reasons set forth above, the denial of the portion of the claim
       based upon a debt owed to claimant by Cuban Telephone Company is
       affirrned.
       Debt of Mid-Century Service, Inc.
          In its Proposed Decision, the Commission denied a portion of the claim
       based upon a debt owed to claimant by Mid-Century Service, Inc., on the
       same grounds as applied to the indebtedness of Cuban Telephone Company.
       Although no objeetion was made to this portion of the Proposed Decision,
       upon reexamination of the record the Commission is moved to reconsider
       its holding in this respect.
          It appears from the record that Mid-Century Service, Inc., was organized
       in 1950 under the laws of the State of New York, to operate principally
       as buying agent for Grabiel Sisto y Cia, S.A., a Cuban corporation which
       operated a large department store in Havana, and which was nationalized
       by the Government of Cuba on October 13, 1960 pursuant to Law No. 890.
       The Commission finds that claimant extended a loan to Mid-Century Service,
       Inc., in the amount of $30,000.00 on September 11, 1959, that it was in­
       creased to $40,000.00 on September 18, 1959, that subsequent payments
       reduced the balance due to $6,000.00 after which Mid-Century Service, Inc.
       became insolvent, its only asset being an account receivable from Grabiel
       Sisto y Cia, S.A. The Commission further finds that by an instrument
       dated September 16, 1959, Grabiel Sisto y Cia, S.A. had guaranteed to
       claimant the fulfillment of all obligations of Mid-Century Service, Inc., to
       a maximum of $50,000.00, waiving presentation, protest, and all demands
       and notices, and assenting to "the addition or release of any other person
       primarily or secondarily liable."
          In Yiew of this guaranty, the Commission finds that the unpaid balance
       of $6,000.00, as the debt of a nationalized enterprise (Grabiel Sisto y Cia,
       S.A.), constituted "property" as defined in Section 502(3) of the Act, and
       that its loss as a result of the nationalization of Grabiel Sisto y Cia, S.A.
       on October 13, 1960 gives rise to a compensable claim under the Act.
      Conclusion
        The Commission concludes that claimant suffered a total loss within the
       meaning of Title V of the Act in the amount of $5,603,050.88.
                                       CERTIFICATION OF LOSS        *
        The Commission certifies that THE FIRST NATIONAL BANK OF
      BOSTON suffered a loss, as a result of actions of the Government of Cuba,
      within the scope of Title V of the International Claims Settlement Act of
      1949, as amended, in the amount of Five Million Six Hundred Three Thou­
      sand Fifty Dollars and Eighty-eight Cents ($5,603,050.88), with interest
      thereon at 6% per annum on $5,597,050.88 from September 17, 1960, to
      the date of settlement, and on $6,000.00 from October 13, 1960, to the date
      of settlement.
        Dated at Washington, D.C., Feb. 26, 1969.
          • By an Amended Final Decision of August 19, 19i0, the Commission increased the Certifica­
       tion of Loss to $.5,904,940.88 on the basis that a portion of this claim for debts due from the
       Cuban Telephone Company were allowable under the Act, following the holding in the Claim
       of International Telephone and Telegraph Corporation, Claim No. CU-2615, reported herein,
       which decision was entered as the Commission's Final Decision on JulY 27, 1970.
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                                     PROPOSED DECISION

          This claim against the Government of Cuba, under Title V of the Inter­
        national Claims Settlement Act of 1949, as amended, for $12,496,000.00 was
        presented by THE FIRST NATIONAL BANK OF BOSTON based upon
        asserted losses resulting from the nationalization of claimant's six branches
        in Cuba and upon the non-payment of certain debts.
          Under Title V of the International Claims Settlement Act of 1949 [78.
        Stat. 1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat. 988
        (1965)], the Commission is given jurisdiction over claims of nationals of
        the United States against the Government of Cuba. Section 503(a) of the
        Act provides that the Commission shall receive and determine in accordance
        with applicable substantive law, including international law, the amount and
        validity of claims by nationals of the United States against the Govern­
        ment of Cuba arising since January 1, 1959 for
            losses resulting from the nationalization, expropriation, intervention or
            taking of, or special measures directed against, property including any
            rights or interests therein owned wholly or partially, directly or in­
            directly at the time by nationals of the United States.
          Section 502 ( 3) of the Act provides:
            The term 'property' means any property, right, or interest including any
            leasehold interest, and debts owed by the Government of Cuba or by
            enterprises which have been nationalized, expropriated, intervened, or
            taken by the Government of Cuba and debts which are a charge on
            property which has been nationalized, expropriated, intervened, or
            taken by the Government of Cuba.
          Section 502(1) (B) of the Act defines the term "national of the United
       States" as a corporation or other legal entity which is organized under the
       laws of the United States, or of any State, the District of Columbia, or the
       Commonwealth of Puerto Rico, if natural persons who are citizens of the
       United States own, directly or indirectly, 50 per centum or more of the out­
       standing capital stock or other beneficial interest of such corporation or
       entity.
          An officer of the Bank has certified that claimant is a national banking
       association organized under the laws of the United States and that at all
       times between 1903 and April 27, 1967, more than 50 per centum of the out­
       standing capital stock of the claimant has been owned by United States
       nationals. An officer of claimant Bank states further than on December 1,
       1967, 5,959,830 shares of stock were held by 21,098 shareholders who were
       residents of the United States and presumed to be nationals of the United
       States and 40,170 shares were held by 91 non-residents presumed to be
       nationals of other countries. The Commission holds that claimant is a na­
       tional of the United States within the meaning of Section 502 (1) (B) of
       the Act.
          The record reflects that claimant Bank maintained six branches in Cuba,
       including three located in Harana, and one each in Sancti-Spiritus, Santiago
       de Cuba and Cienfuegos.
          On September 17, 1960, the Government of Cuba published in its Official
       Gazette Resolution No. 2 (pursuant to Law 851 of July 6, 1960). Resolu­
       tion No. 2 listed as nationalized the branches and agencies in Cuba of THE
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       FIRST NATIONAL BANK OF BOSTON, substituting the Government of
       Cuba in place of the Bank with respect to both the assets and liabilities
       thereof. Accordingly, the Commission finds that the property in Cuba of
       THE FIRST NATIONAL BANK OF BOSTON was nationalized on Sep­
       tember 17, 1960 by the Government of Cuba, which also assumed the liabili­
       ties of the branches in Cuba of said Bank.
          Claimant has asserted its loss in the amount of $12,496,000.00 as follows:
            $12,200,000 incurred by reason of taking of the branches
              $296,000 losses incurred by the Boston Office activities unrelated to
                       the branches
          Claimant has stated its initial book loss as $6,703,300.26, composed of
       three parts:
             Net worth of 6 branches:
                 Capital and reserves ---------------------------­                       $3,7 45,000.00
                 Unremitted earnings:
                     1959 ----------------------------------------------------             1,196,690.32
                     1960 --------------------------------------------········               700,705.38
                 Reserve for loan losses ......................... .                           8,988.66
                                                                                                                  $5,651,384.36
             Letter of credit payments by Boston
               office --------------------------------------------------------------       1,697,386.40
             Havana branch credit ............ $768,631.97
             Other receipts ........................              172,838.53
                                                                                              941,470.50
                                                                                                                    755,915.90
             Loan to Cuban Telephone Co .................................................                           290,000.00
             Balance of Loan to Mid-Century, Inc. .............................. ..                                   6,000.00

                    Total ................................................................................ 6, 703,300.26
          In 1961, it is stated, the Bank received duplicate United States Treasury
       bonds with a face amount of $3,000,000 to replace bonds seized by the Cuban
       Government. The bonds were entered on the Bank's books at $2,966,250, the
       market value on date of reissuance. Net recoveries from 1961 through 1966
       from various unspecified sources amounted to $191,705.77. Thus the net book
       loss was reduced to $3,545,344.49:
            Initial book loss ........................................................................ $6,703,300.26
                 Bonds ........................................................ $2,966,250.00
                 Recoveries ................................................            191,705.77
                                                                                                           3,157,955.77

                         Total ................................................................................   3,545,344.49
          The Act provides in Section 503 (a) that in making determinations with
       respect to the validity and amount of claims and value of properties, rights,
       or interests taken, the Commission shall take into account the basis of valu­
       ation most appropriate to the property and equitable to the claimant, in­
       cluding but not limited to fair market value, book value, going concern
       value or cost of replacement.
          The question, in all cases, will be to determine the basis of valuation
       which, under the particular circumstances, is "most appropriate to the
       property and equitable to the claimant." The Commission has concluded
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       that this phraseology does not differ from the international legal standard
       that would normally prevail in the evaluation of nationalized property and
       that it is designed to strengthen that standard by giving specific bases of
       valuation that the Commission shall consider: i.e., fair market value, book
       value, going concern value, or cost of replacement.
         In amplification of the initial asserted loss of the branches, claimant has
       submitted a Statement of Condition of the branches as of September 16,
       1960, as follows:

                                                               ASSETS
           Cash and due from banks                                                                               $29,488,518.44
           U.S. Government obligations ............................................... .                           3,001,885.22
           Other securities ..................................................................... .               16,626,675.00
           Loans and discounts ..............................................................                     21,291,950.21
           Customers' liability for acceptances ....................................                                  11,338.85
           Furniture and fixtures ..........................................................                         654,140.70
           Other assets including accounts receivable, interest re­
             ceivable, and prepaid expenses ........................................                                437,315.91

                      Total assets                                                                                71,511,824.33

                                                          LIABILITIES
           Capital ......................................................................................... .     1,000,000.00
           Reserve for contingencies ................................................... .                         2,7 45,000.00
           Reserve for loans ....................................................................                       8,988.66
           Unremitted earnings-1959 ................................................. .                            1,196,690.32
           Unremitted earnings-1960 ................................................. .                              700,705.38

                  Total                                                                                            5,651,384.36
           Demand deposits         ................................... .            $44,281,678.24
           Time deposits ..............................................              12,563,523.97
           Deposits of banks ..................................... .                    527,938.74
           Other deposits ............................................                8,038,706.35
           Acceptances executed ............................... .                        11,338.85
           Other liabilities ..........................................                 437,253.82
                                                                                                                 65,860,439.97

                      Total                                                                                      71,511,824.33

          In support of the above, claimant submitted certified statements of condi­
       tion of the six branches, with a consolidated statement reflecting certain
       adjusting entries, as shown below:


                                                          RESOURCES
           Bills     discounted                                                      $1,698,213.04
           Time       loans ..................................................        4,265,586.44
           Time      loans secured ....................................               5,035,379.10
           Time      loans matured secured ................. .                        2,974,947.20
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          Demand and short-term loans ............... .                                 6,855,261.48
          Overdrafts in current accounts ............. .                                    5,284.83
          Advances against merchandise ............. .                                      6,000.00
          Foreign bills purchased ........................... .                           172,224.00
          Past due obligations ................................. .                          1,160.43
          Customers' liability acceptance a/c
            matured ................................................... .                  277,893.69

                    Total loans and investments ....................................                            $21,291,950.21
          Bonds and securities owned (after debit
            adjustment of $15,375.00) ................... .                           16,463,375.00
          U.S. Government bonds owned (after
            credit adjustment of $3,739.78) ....... .                                  3,001,885.22
          Stock Banco Nacional de Cuba ............. .                                   163,300.00
          Due from head office ............................... .                         606,838.71
          Due from foreign banks ........................... .                           270,728.99
          Banco Nacional de Cuba special account                                          50,000.00
          Cash tellers ............................................... .                 710,456.24
          Cash reserve in vault ............................... .                      2,288,570.00
          Cash reserve in Banco N acional de Cuba                                     23,406,269.91
                                                                                                                26,405,296.15
         Cash items local ....................................... .                          11,588.68
         Cash items in transit (after debit ad­
           ment of $461,780.47) ........................... .                             504,722.35
         Clearing items ........................................... .                   1,572,186.89
         Returned checks pending liquidation..... .                                        57,233.03
         Revenue and postage stamps ................. .                                     9,782.32
         Sight and short-time bills purchased ... .                                            11.97
         Postal money orders ................................. .                              129.35
                                                                                                                  2,355,654.59
         Accounts receivable ................................... .                           25,784.47
         Collection department revenue stamps                                                 3,356.20
                                                                                                                    29,140.67
         Furniture and fixtures (after credit ad­
           justment of $5,269.72) ......................... .                              135,685.83
         Repairs and alterations (after credit
          adjustment of $7,990.29) ..................... .                                 518,454.87
                                                                                                                   654,140.70
         Interest receivable ..................................... .                       393,948.80
         Commissions receivable ........................... .                                  751.96
         Foreign exchange income receivable ..... .                                          2,289.53
         Service charges receivable ....................... .                                  165.00
         Prepaid insurance and expenses ........... .                                       10,941.36
         Miscellaneous ............................................. .                          78.59

                    Total other assets ......................................................                      408,175.24
          Customers' liability a/c acceptances ..................................                                   11,338.85

                   Total       ..............................................................................   71,511,824.33
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                                                          LIABILITIES
             Current accounts                                        $40,066,277.11
             Current accounts inactive ....................... .         645,580.02
             Special deposit accounts ......................... .        677,318.38
             U.S. Savings deposits ............................... .      38,852.74
                                                                                                   $41,429,028.25
             Certified checks ......................................... .          2,158,432.69
             Managers checks ....................................... .             2,790,849.99
             Managers checks-Exchange depart­
               ment ......................................................... .       2,659.17
             Branch checks ........................................... .                258.15
             Inter-bank transfers ................................. .               180,288.95
             Legal deposits (embargoes, etc.) ........... .                          68,066.18
             Drafts and payments advised unpaid ... .                                   931.31
             Suspense accounts ..................................... .              212,795.32
             Collection suspense account ..................... .                      9,604.20
               Bco. N ac. de Cuba-Surcharge Law
                  566 ··························································          27.00
             Coli. effected pending cover of exchange                              2,534,630.47
             Government taxes ..................................... .                 27,526.82
             Anticipated payments letters of credit... .                           2,906,217.42
             Time deposits matured ........................... .                     352,914.72
             Savings bonds matured ........................... .                      10,500.00
             Time deposits matured and frozen ....... .                               19,285.00
                                                                                                    11,274,987.37
             Due to foreign banks-their accounts....                                  1,855.86
             Due to local banks-their accounts                                      526,082.88
                                                                                                      527,938.74
             Savings deposits.                                                     2,287,442.24
             Savings deposits-Staff ........................... .                     85,935.04
             Savings deposits-Inactive ..................... .                        91,757.27
                                                                                                     2,465.134.55
             Savings bonds ........................................... .             113,500.00
             Time deposits ............................................. .         9,602,189.70
                                                                                                     9,715,689.70
             Due to foreign banks our Ales. O.D ................................ .                       9,974.34
             Other liabilities (after adjustments of record) ............... .                         426,348.17
             Acceptances by bank ............................................................. .        11,338.85

                       Total                                                                        65,860,439.17
             Reserve for loans ....................................... .               8,988.66
             Due to head office reserve contingencies                              2,745,000.00
             Due to head office capital account ....... .                          1,000,000.00
             Unremitted earnings-1959 ................... .                        1,085,880.29
             Unremitted earnings-1960 ................... .                          491,305.59
                                                                                                     5,651,384.36

                       Total                                                                        71,511,824.33
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         Claimant submits that its claim is not based on book loss but on the loss
      of the branches as valuable going concerns and as integral parts of the
      Bank, while recognizing the difficulty of making a precise measurement of
      such value, but contending nevertheless that there can be no doubt the
      branches had a value far in excess of the book figures.
         In support of its contention claimant asserts several methods are available
      to determing going concern valuation for a particular banking operation:
      The direct earning method, reaching a valuation figure by multiplying the
      yearly earnings of the bank by a multiple determined by various indices of
      bank performance; and the rate of return/net worth method, -analyzing the
      relation between the bank's rate of return on its invested capital and the
      price of its stock in relation to its net worth.
         It is said that both of these methods require a comparison between the
      bank being evaluated and a representative sampling of other banks and that
      the best approach would be to make comparisons with other Cuban banks.
      Claimant states, however, that information concerning stock in Cuban banks
      in the period under consideration was not available since no stock was pub­
      licly traded and it has therefore utilized the statistical relationship existing
      in the United States and other Latin and South American countries between
      bank stock prices and other operational data in reaching valuation figures.
      Claimant has concluded that the application of these two techniques gives
      a going concern value to the branches of $12,200,000.00.
         Claimant has submitted figures to reflect that the direct earnings of the
      Cuban branches averaged $933,681 for the five-year period 1955 through
      1959, and indicates that this amounts to a 24.5% return on the Cuban in­
      vestment. To select an earnings multiple, claimant considers deposit growth,
      net worth increase and return on im·estment equity, and has submitted
      schedules comparing data in these areas as applied to certain United States
      banks. In each of the schedules set out by claimant, the results appear
      higher than for the United States banks with which comparison is made.
         The appropriate earnings multiple, according to claimant, may be taken
      as the price/earnings ratio of the stock of the bank groups with which the
      Cuban branches are being compared. Claimant then finds that for the period
      1956 through 1960, this is 12.7 for a composite of 46 United States banks;
      it is 15.9 for four so-called "growth" banks in the United States; and ap­
      pears to be 9.9 for three Latin and South American banks. Claimant then
      proceeds to average these results, arriving at $12,603,096 as the average
      value based on price-earnings ratios.
         The last three banks appear to be the only ones in which a stock price has
      in fact been utilized in the computations of claimant.
         Proceeding to the rate of return/net worth method of valuation, claimant
      points out that the greater the return on invested equity capital, that is, net
      worth, the higher the stock will generally sell in relation to net worth.
      Tabulations and graphs set out by claimant, based on the same comparison
      banks, result in value multiples of 234% and 272%, arriving at $12,222,126
      as the average computed value.
         The Commission has considered all of the evidence and contentions of the
      claimant with respect to its asserted value of the six branches in Cuba. The
      Commission is not convinced, however, that the basis for evaluation, resting
      on a comparison of the six branches with a number of banks operating in
      the United States, and three non-Cuban banks, affords a valid and equitable
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        evaluation. Consequently, the Commission rejects the asserted valuation and
        finds, in the absence of other substantive evidence, that the book value is
        the most appropriate value.
           The net worth of the banks, collectively, may be found in the excess of
        assets over the contractual liabilities, or by adding the capital investment,
        appropriate surplus reserves (not including reserves for depreciation, taxes
        and the like), and any undivided profit, as appropriate, and subtracting any
        outstanding deficit. Accordingly, in this case the calculation of net worth
        is seen as follows:
            Original capital and reserves -----------------------------------------­ $3,7 45,000.00
            Unremitted earnings, 1959 -----------------------------------------------­ 1,196,690.32
            Unremitted earnings, 1960 -----------------------------------------------­   700,705.38
            Additional loan loss reserve --------··------------·-··--·-----------------    8,988.66

                 Net worth -------------·--·--·---------·-·----·-----------·-····--------·------­   5,651,384.36

           With regard to the loss of the six branch banks, the Commission concludes
        that claimant sustained a loss in the amount of $5,651,384.36 within the
        meaning of Title V of the Act as a result of the nationalization of said
        branch banks by the Government of Cuba on September 17, 1960.
           Section 506 of the Act provides:
             In determining the amount of any claim, the Commission shall deduct
             all amounts the claimant has received from any source on account of
             the same loss or losses.
           The record reflects that the loss sustained has been partially offset by
        credits and recoveries. In 1960, the Head Office maintained a branch credit
        balance in the amount of $768,631.97 and it obtained certain recoveries in
        the amount of $172,838.53. In addition, in 1961, claimant received duplicate
        United States Treasury bonds with a face amount of $3,000,000.00 to replace
        the bonds which were taken by the Government of Cuba at the time the
        branch banks were expropriated. The market value of the bonds on the date
        of reissuance was $2,966,250.00. Claimant also obtained other recoveries
        during the years 1961-66 amounting to $161,394.19. Accordingly, the total
        amount of the offset, $4,069,114.69, must be deducted from the amount of
        the loss. The Commission therefore finds the net loss sustained for this
        portion of the claim as $1,582,269.67.
           The second portion of the claim is based upon the asserted loss of $1,697,­
        386.40 for payments made by the Head Office of claimant under irrevocable
        letters of credit issued by the Bank's branches in Cuba prior to their na­
        tionalization. The record contains copies of the 332 Letters of Credit totaling
        $1,697,157.15, an affidavit of a Vice President of claimant concerning the
        procedure involved in Letters of Credit transactions and a schedule pertain­
        ing to the transactions. The branch banks of claimant, because of their na­
        tionalization on September 17, 1960 by the Government of Cuba, were un­
        able to remit to the Head Office the monies set aside for the Letter of Credit
        transactions. The Commission concludes that with regard to this portion of
        the claim, claimant sustained a loss within the meaning of Title V of the
        Act on September 17, 1960.
           The record reflects, however, that E. I. Du Pont de Nemours & Co., the
        parent company of Du Pont Inter-America Chemical Co., Inc., the consignee
        on several Letter of Credit transactions, remitted $30,311.58 to claimant as
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      payment for the :Letters of Credit obi,gation owed by Du Pont Inter-America
      Chemical Co., Inc.
         Section 506 of the Act, supra, provides that monies received on account
      of the same loss must be deducted. Accordingly, the sum of $30,311.58 is
      deducted from the total amount due claimant on the Letters of Credit. The
      Commission concludes, therefore, that claimant also sustained a loss in the
      amount of $1,666,845.57 within the meaning of Title V of the Act, as a
      result of nationalization of its branches in Cuba on September 17, 1960.
         The third ·and remaining portion of the claim is based upon two loans
      made by the Head Office of claimant Bank to the Cuban Telephone Company
      and Mid-Century Service, Inc. The record reflects that both of these com­
      panies were organized under the laws of the United States. In addition, the
      record discloses that Cuban Telephone Company is 60.7550 percent owned
      by United States nationals and therefore qualifies as a United States cor­
      poration. Additionally, it appears that Mid-Century, Inc., was a small closely
      held New York Corporation.
         Claimant has submitted a copy of a letter dated May 27, 1958 from the
      Export-Import Bank to claimant which recites an agreement between the
      two parties whereby claimant agreed to participate in a $17,500,000.00 loan
      to the Cuban Telephone Company to the extent of $290,000.00. The record
      contains copies of seventeen Participation Agreements dated between June
      23, 1958 and December 31, 1959, issued by the Export-Import Bank certify­
      ing the purchase of beneficial interests in the indebtedness owing by the
      Cuban Telephone Company, totaling $290,000.00. A copy of the ledger sheet
      of claimant reflects that a balance of $200,000.00 was owing claimant on
      December 19, 1960.
         The Government of Cuba published Resolution No. 1 dated August 6, 1960
       (pursuant to Law No. 851 of July 6, 1960), which listed as nationalized the
      Cuban Telephone Company. It therefore appears that the Cuban Telephone
      Company sustained the loss of its assets in Cuba, on August 6, 1960.
         Claimant contends (1) that this $290,000.00 is compensable as the debt of
      a nationalized enterprise under Section 502(3) of the Act; (2) that it is
      compensable under Section 505(a); and (3) that under the terms of Reso­
      lution 1, the Government of Cuba assumed the liabilities of the Cuban Tele­
      phone Company.
         Inasmuch as the Cuban Telephone Company qualifies as a United States
      national, its listing in Resolution 1 had the effect of taking of its assets by
      the Cuban Government. The company remained liable for its debts under
      the terms of Resolution 1.
         There remains for determination the question whether a bank may recover
      for the non-payment of a debt owed by an entity qualifying as a United
      States national under Title V of the Act, if the debt owed is not a charge
      on property which has been nationalized, expropriated, intervened or taken
      by the Government of Cuba.
         Section 505 (a) of the Act provides:
           A claim under Section 503 (a) of this title based upon an ownership
           interest in any corporation, association, or other entity which is a na­
           tional of the United States shall not be considered. A claim under Sec­
           tion 503 (a) of this title based upon a debt or other obligation owing by
           any corporation, association, or other entity organized under the laws
           of the United States, or of any State, the District of Columbia, or the
           Commonwealth of Puerto Rico shall be considered, only when such debt
           or obligation is a charge on property which has been nationalized, ex­
           propriated, intervened, or taken by the Government of Cuba.
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           Claimant contends that Section 505 (a) limits recognition of claims for
        debts owed by United States corporations which were nationalized, but
        further asserts that the legislative history of Section 505 (a) makes it clear
        that this Section was not intended to apply to the claims of banks for debts
        arising out of loan activities.
           The legislative history reflects the following with respect to Section
        503(a):
             The purpose of this provision is to make clear that the Foreign Claims
             Settlement Commission does not have jurisdiction to consider claims
             over American nationals arising out of debts or other obligations for
             merchandise sold or services rendered to any corporation, association,
             or other entity organized under the laws of the United States or of any
             State, District of Columbia, or the Commonwealth of Puerto Rico pro­
             vided, however, that the debt or obligation is not a charge on property
             taken by the Government of Cuba. It is not intended to exclude claims
             of banks, insurance companies, financial institutions, or other corpora­
             tions, associations, or legal entities based upon the taking of assets in
             Cuba including assets in the form of debts or other obligations. Nor is it
             the purpose to exclude claims of those whose accounts in Cuban banks
             were nationalized, expropriated, intervened, or otherwise taken by the
             Government of Cuba. (Senate Report No. 701, 89th Congress, 1st Ses­
             sion, at page 4.)
           Section 503 (a) of the Act provides for recognition of claims against the
        Government of Cuba by United States nationals (such as THE FIRST
        NATIONAL BANK OF BOSTON) for losses resulting from the taking of
        property (or rights or interests therein); and Section 502(3) clarifies that
        such property may include debts of nationalized enterprises. Where there is
        an unsecured debt and the debtor qualifies as a claimant against Cuba, such
        claimant, as the Cuba Telephone Co., is entitled to maintain its own claim
        before this Commission. Whether it recovered, it would be expected to meet
        its obligations, and, as a United States national, would be answerable in an
        action brought against it in the appropriate United States Court. Under
        Section 503(a) a claimant such as THE FIRST NATIONAL BANK may
        maintain its claim before this Commission for a debt owed by a United
        States national, such as the Cuban Telephone Co., only if such a debt is a
        charge upon property which has been taken.
           The cited portion of the legislative history confirms that legal entities
        may recover for the taking of their assets in Cuba, including debts, such as
        accounts receivable. Section 503 (a) is quite clear and contains no exception
        in favor of banks, as contended. The legislative history was not intended to
        create any latent exceptions to the express language of the statute in this
        regard.
           The other loan made by claimant was that to Mid-Century Service, Inc.
        The record reflects that Mid-Century Senice, Inc. was the buying agent in
        the United States for Gabriel Sisto y Cia. S.A. and that it obtained a loan
        from claimant in the amount of $40,000.00. Gabriel executed a Guaranty in
        the amount of $50,000.00. The principal assets of Mid-Century Service, Inc.
        were the accounts receivable of Gabriel Sisto y Cia. S.A. and when Gabriel
        was nationalized by the Government of Cuba on October 13, 1960 (Law
        890), Mid-Century was unable to make further payments to claimant. Claim­
        ant states it was unable to proceed against the Guaranty executed by Gab­
        riel Sisto y Cia. S.A. because of its nationalization.
           The record contains a copy of the bank's ledger sheet which reflects that
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       a balance of $6,000.00 on said loan as of November 15, 1961 was owing to
       claimant.
          The Commission holds that claim may not be maintained under Title V of
       the Act for debts of $290,000.00 and $6,000.00, due from entities qualifying
       as United States nationals, as the debts owed were not charges on property
       which was nationalized, expropriated, intervened or taken by the Govern­
       ment of Cuba. (See Claim of Anaconda American Brass Company, Claim
       No. CU-0112, 1967 FCSC Ann. Rep. 60.)
          Accordingly, those portions of the claim are denied.
          The Commission has decided that in certification of losses on claims deter­
       mined pursuant to Title V of the International Claims Settlement Act of
       1949, as amended, interest should be included at the rate of 6o/o per annum
       from the date of loss to the date of settlement. (See Claim of Lisle Corpora­
       tion, Claim No. CU-0644.)
          Accordingly, the Commission concludes that the amount of the loss sus­
       tained by claimant shall be increased by interest thereon at the rate of 6o/o
       per annum on $3,249,115.24 from September 17, 1960 to the date on which
       provisions are made for the settlement thereof.
                                  CERTIFICATION OF LOSS
         The Commission certifies that THE FIRST NATIONAL BANK OF BOS­
       TON suffered a loss, as a result of actions of the Government of Cuba,
       within the scope of Title V of the International Claims Settlement Act of
       1949, as amended, in the amount of Three Million Two Hundred Forty-Nine
       Thousand One Hundred Fifteen Dollars and Twenty-Four Cents ($3,249,­
       115.24) with interest thereon at 6o/o per annum from September 17, 1960 to
       the date of settlement.
         Dated at Washington, D.C., September 11, 1968.

       IN THE MATTER OF THE CLAIM OF FIRST NATIONAL CITY BANK
                        Claim No. CU-2628-Decision No. CU-3835
       Capitalization of net profits to determine the going concern value of a cor­
         poration is an appropriate method of determining the loss attribu!table to
         the nationalization or other taking of property by the Government of
         Cuba.
                                    PROPOSED DECISION
          This claim against the Government of Cuba, under Title V of the Interna­
       tional Claims Settlement Act of 1949, as amended, in the amount of $7,513,­
       028.81 plus interest, representing the gross amount of $12,899,132.30 less off­
       sets of $5,386,103.49, was presented by FIRST NATIONAL CITY BANK
       based upon asserted losses of certain real and personal property at its branch
       offices in various areas of Cuba, and other asserted losses of personal
       property.
          Under Title V of the International Claims Settlement Act of 1949 [79 Stat.
       1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat. 988
       (1965)], the Commission is given jurisdiction over claims of nationals of the
       United States against the Government of Cuba. Section 503 (a) of the Act
       provides that the Commission shall receive and determine in accordance with
       applicable substantive law, including international law, the amount and valid­
       ity of claims by nationals of the United States against the Government of
       Cuba arising since January 1, 1959 for
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            losses resulting from the nationalization, expropriation, intervention or
            other taking of, or special measures directed against, property including
            any rights or interests therein owned wholly or partially, directly or in­
            directly at the time by nationals of the United States.
          Section 502 ( 3) of the Act provides :
            The term "property" means any property, right, or interest including
            any leasehold interest, and debts owed by the Government of Cuba or by
            enterprises which have been nationalized, expropriated, intervened, or
            taken by the Government of Cuba and debts which are a charge on prop­
            erty which has been nationalized, expropriated, intervened, or taken by
            the Government of Cuba.
          Section 502(1) (B) of the Act defines the term "national of the United
       States" as a corporation or other legal entity which is organized under the
       laws of the United States, or of any State, the District of Columbia, or the
       Commonwealth of Puerto Rico, if natural persons who are citizens of the
       United States own, directly or indirectly, 50 per centum or more of the out­
       standing capital stock or other beneficial interest of such corporation or
       entity.
          The evidence of record, including documentation filed by claimant in its
       claim against the Chinese Communist regime under Title V of the Act, as
       amended (Claim No. CN-0440), establishes that claimant was organized under
       the laws of the United States, and that at all pertinent times more than 50%
       of claimant's outstanding capital stock was owned by nationals of the United
       States. An authorized officer of claimant has certified that at all times during
       the period April 9, 1950 to July 2, 1969 (date of said certification), more
       than 95% of claimant's outstanding capital stock was owned by persons with
       addresses in the United States. The Commission holds that claimant is a na­
       tional of the United States within the meaning of Section 502(1) (B) of the
       Act.

                                     CUBAN BRANCHES
         The record shows that claimant maintained eleven branches in Cuba, in­
       cluding six in Havana, four of which were leased premises, and one each in
       Santiago de Cuba, Manzanillo, Caibarien, Cardenas and Matanzas. The
       Commission finds on the basis of the evidence of record that in connection
       with these operations, claimant owned certain real and personal property
       at seven of the locations, and owned certain personal property at four of
       the premises where it had also made substantial improvements to its lease­
       holds.
         On September 17, 1960, the Government of Cuba published in its Official
       Gazette Resolution No. 2, pursuant to Law 851, which listed as nationalized
       the First National City Bank of New York, claimant's former name. The
       Commission, therefore, finds that claimant's real and personal property was
       nationalized by the Government of Cuba on September 17, 1960, as a result
       of which claimant sustained a loss within the meaning of Title V of the Act.
         The Act provides in Section 503 (a) that in making determinations with
       respect to the validity and amount of claims and Yalue of properties, rights,
       or interests taken, the Commission shall take into account the basis of valu­
       ation most appropriate to the property and equitable to the claimant, in­
       cluding but not limited to fair market value, book value, going concern value,
       or cost of replacement.
          The question, in all cases, will be to determine the basis of valuation
       which, under the particular circumstances, is "most appropriate to the prop­
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       erty and equitable to the claimant." The Commission has concluded that this
       phraseology does not differ from the international legal standard that would
       normally prevail in the evaluation of nationalized property and that it is
       designed to strengthen that standard by giving specific bases of valuation
       that the Commission shall consider; i.e., fair market value, book value, going
       concern value, or cost of replacement.
         Claimant has computed its claim as follows:
           Net Worth of Cuban branches including
              unremittted profits, as of August 23,
              1960 ............................................................ $5,961,037.41
              Less net balance due Cuban branches
              from claimant ....................................... .            1,491,735.34

            Net investment-book value ................... .                                   $4,469,302.07
            Excess of appraised value of real prop­
              erty, furniture, fixtures, etc. over
             book value ............................................... .                      1, 718,418.83

            Net investment adjusted ......................... .                               $6,187,720.90
            Expenses incurred after August 23,
              1960 as result of nationalization:
              Payments to Administrator ................. .                   $809,641.21
              Legal fees (estimatad) ....................... .                  50,000.00
              Assignments from employees ............. .                        39,491.09        899,132.30

                                                                                             $ 7,086,853.20
           Goodwill and Going Concern value ....... .                       $12,000,000.00
             Less net investment adjusted ............. .                     6,187,720.90     5,812,279.10

                   Total ................................................. . $12,899,132.30
          In effect, claimant is asserting the loss of goodwill and going concern
       value in the amount of $12,000,000.00, plus $899,132.30 for expenses incurred
       after August 23, 1960 as a result of the nationalization by Cuba.
          The essence of claimant's contentions is that the Commission should apply
       the going concern value method in determining its losses in Cuba. Claimant
       states that it has been operating some of its Cuban branches since the 1920's
       and has built up the intangible asset, goodwill, which under normal account­
       ing procedures and pursuant to bank regulations could not be recorded in
       its books and records. It adds that the book values for such items as real
       property, furniture and fixtures, and equipment, etc., reflect only the net
       cost values after depreciation, whereas expert appraisals indicate much
       higher values for these items of property on the date of loss. For these
       reasons, claimant asserts, in effect, that the use of book value would neither
       be appropriate nor equitable.
          The evidence of record sustains claimant's contentions regarding book
       value. Using 1959 as the typical and representative year because it was the
       last full year of its Cuban branches' operations, claimant has submitted a
       substantial amount of supporting documentation. Copies of balance sheets,
       profit and loss statements, and schedules, as well as analysis sheets prepared
       on the basis of claimant's books and records for its Cuban branches, estab­
       lish that claimant's cost of land at seven locations was $496,716.51, and re­
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       mains recorded at that amount although nearly all of it was purchased in
       1923 and 1924, approximately 36 years prior to the date of loss, during
       which time property values had risen substantially. It further appears that
       the original aggregate cost of the buildings owned by claimant on these sites
       was $1,277,871.02, which is recorded in claimant's books at $148,930.44, after
       depreciation, while the foundations and structures were currently insured in
       the aggregate amount of $1,314,437.80.
         The record includes appraisals (Exhibit 4) by an expert engineer and
       architect whose appraisals have been found reliable in other claims deter­
       mined by the Commission under Title V of the Act. This expert has indi­
       cated that all of the premises were maintained in good condition, were mod­
       ernized, and most of the structures, including those rented by claimant, had
       been improved by the addition of air conditioning systems installed at claim­
       ant's expense. The aggregate appraisal of the real property owned by claim­
       ant, including the furniture, fixtures and equipment installed by claimant, as
       well as the improvements made to claimant's leaseholds, is set forth as
       $2,740,000.00 on the date of loss. We note that this amount is slightly higher
       than the appraisals of these items of property made by claimant's employees
       at the eleven sites.
         Claimant has suggested several methods for arriving at the going concern
       value of its eleven Cuban branches. In order to illustrate each method,
       claimant has submitted the following information concerning its Cuban
       operations:
          (a) The net earnings for the years ending December 23, 1955 through
       December 23, 1959, and for the period ending August 23, 1960, which show
       such net earnings (rounded off) as $699,000.00, $1,074,000.00, $950,000.00,
       $1,021,000.00, $1,011,000.00, and $303,000.00, respectively (Exhibit 2).
          (b) The aggregate net worth of the eleven Cuban branches for the same
       period of time as under (a) above, adjusted to include claimant's internal
       appraisals of its land, buildings, furniture, fixtures, and equipment, which
       show such net worth (rounded off) as $5,637,000.00, $5,904,000.00, $6,073,­
       000.00, $6,221,000.00, $7,196,000.00, and $7,679,000.00, respectively (Exhibit
       3).
          (c) A schedule indicating the results of a study made by claimant, which
       show the cost of acquisitions in 1959 and 1960 of Cuban branches by five
       American banks, from which claimant computed the percentage of book val­
       ues which such acquisition costs represent, and averaged them to be 179.48%
       of the book values (Exhibit 5). With information available only as to three
       of those five American banks, claimant also derived the averaged multiple
        (14.2) of earnings of those three banks to the costs of the acquisitions (also
       in Exhibit 5).
          (d) A tablt prepared by claimant which shows, with respect to five other
       American banks including claimant's, the ratio obtained by averaging the
       high and low market prices for the stock of these five banks in 1959 and
       dividing the result by the net earnings per share in 1959, indicating claim­
       ant as having the highest ratio, 15.1, and the aYerage ratio as 13.3 (Exhibit
       6).
          (e) A schedule which shows four suggested methods of arriving at the
       going concern value of claimant's eleven Cuban branches (Exhibit 7), each
       one of which results in amounts in excess of the $12,000,000.00 asserted by
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       claimant as the going concern value of its Cuban branches.
          Claimant's Exhibit 7 shows the following methods of valuations:
          1. Applying the average percentage of acquisition cost of Cuban branches
       compared to book value, 179.48 (Exhibit 5), to claimant's adjusted net worth
       as of August 23, 1960 of $7,679,000.00 (Exhibit 3), the result is $13,782,­
       000.00.
          2. Applying the average multiple (14.2) of earnings of acquired banks to
       costs of acquisition (Exhibit 5), the results are $14,356,000.00 when using
       claimant's net earnings in 1959, i.e. $1,011,000.00 (Exhibit 2); and $14,867,­
       000.00 when using its adjusted net earnings in 1959, asserted to be $1,047,­
       000.00, including additional earnings attributable to the Cuban operations,
       which additional earnings are not supported by the evidence of record.
          3. Applying the price/earnings ratio of 15.1, asserted to be the appropri­
       ate one for claimant (Exhibit 6), to the net earnings and the asserted ad­
       justed net earnings, as in paragraph 2 above, the results are $15,266,000.00
       and $15,809,000.00, respectively.
          4. Applying the average price/ earnings multiple of 13.3 (Exhibit 6), to
       the same net earnings and asserted adjusted net earnings of claimant, the
       results are $13,446,000.00 and $13,925,000.00, respectively.
          Claimant's suggestions have been carefully considered in the light of the
       entire record. The Commission finds methods 1 and 2 inappropriate inas­
       much as it is clear (see paragraph 14 of affidavit of William T. Loveland,
       claimant's Vice President, dated May 26, 1967) that the acquisition of Cu­
       ban branches by the five American banks were unique and involved factors
       that are not established as comparable to claimant's Cuban branches. Ac­
       cordingly, any conclusions drawn from such information would be specula­
       tive. In view of this and because here we do not have available percentages
       of profit of the Cuban branches as compared to the total profit of the entire
       organization of claimant the rationale of our decision in The Claim of The
       First National Bank of Boston, Claim No. CU-2268, also would not apply
       to this situation.
          The Commission finds that the valuation most appropriate to the prop­
       erty and equitable to the claimant in this case is the going concern value,
       derived by capitalizing the average net earnings after Cuban taxes of claim­
       ant's Cuban branches during the years 1955 through 1959, prior to 1960
       when Cuba's nationalization decrees had caused reductions in normal earn­
       ings. It is concluded, however, that the capitalization multiples suggested
       by claimant, 15.1 for claimant or the average, 13.3 (employed in methods 3
       and 4), are inappropriate because they were computed from certain statis­
       tics relating to the operations of five American banks, whereas this claim
       involves bank branches in Cuba. From other information available to the
       Commission, it appears that the average multiple for three Latin-American
       banks was 9.9 in 1960, there being no data available for Cuban banks. (See
       Claim of Julius J. Shepard, Claim No. CU-0407, Amended Proposed Deci­
       sion issued on April 30, 1969; reaffirmed in Claim of General Dynamics,
       Claim No. CU-2476.)
          Having fully considered this entire matter, the Commission holds that
       the value of claimant's eleven Cuban branches should be computed on the
       basis of the branche's average net earnings after Cuban taxes for the period
       1955 through 1959, capitalized at 10o/c.
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          As indicated above, the net earnings of claimant's eleven Cuban branches
       were $699,000.00, $1,07 4,000.00, $950,000.00, $1,021,000.00 and $1,011,000.00,
       for the years 1955 through 1959, or an average annual net profit after de­
       ductions for Cuban taxes· of $951,000.00. Accordingly, the Commission finds
       that the aggregate value of claimant's eleven Cuban branches on September
       17, 1960, the date of loss, was $9,510,000.00.
          Section 506 of the Act provides:
            In determining the amount of any claim, the Commission shall deduct
            all amounts the claimant has received from any source on account of
            the same loss or losses.
          The record shows that claimant's loss has been offset partially by recov­
       eries and credits. United States Treasury bonds in the amount of $3,000,­
       000.00 had been held by claimant's branches in Cuba and were included
       among claimant's assets that were taken by Cuba on September 17, 1960.
       These bonds were due to mature on September 15, 1961 and bore interest at
       2%,'/c. It appears from the record that subsequent to the maturity date of
       the bonds, claimant received duplicate bonds in the face amount of $3,000,­
       000.00 plus accrued interest in the amount of $38,111.41, which had been
       included in the financial statements for claimant's Cuban branches.
         The evidence also establishes that Banco National de. Cuba, an agency of
       the Government of Cuba, had on deposit with claimant a credit balance in
       the amount of $2,293,367.65, and that claimant had recovered other funds in
       the amount of $54,624.43 which it stated should be applied to offset its claim
       against Cuba.
          Accordingly, the aggregate amount of the offset, $5,386,103.49, must be
       deducted from the amount of loss. The Commission therefore finds that the
       net loss sustained on September 17, 1960 with respect to this portion of the
       claim was $4,123,896.51.
                                  OTHER LOSSES ASSERTED

       1. Commercial Credits
          The record establishes and the Commission finds that claimant's Cuban
       branches had authorized with the approval of claimant certain commercial
       credits, covered by certain funds in Cuba in the amount of $809,641.21. It
       further appears from the record that the Cuban authorities took these spe­
       cial funds upon nationalization of the Cuban branches. Subsequently, docu­
       ments evidencing these credits were presented to claimant in New York and
       claimant was obliged to and did honor them. The Commission, therefore,
       finds that claimant sustained a loss on September 17, 1960 within the mean­
       ing of Title V of the Act in the amount of $809,641.21 on account of the
       said commercial credits.
       2. Legal Fees
          Claimant states that it suffered a loss of $50,000.00 (estimated) for legal
       fees, resulting from the nationalization of claimant's Cuban branches.
          The Commission has held that claims for attorney's fees and expenses in­
       volved in contesting Cuba's taking of American-owned property are not
       within the purview of Title V of the Act. (See Claim of E. R. Squibb &
       Sons Inter-American Corp01·ation, Claim No. CU-2469, and Claim of Mathie­
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       son Pan-American Chemical Corporation, Claim No. CU-2470.) Accordingly,
       the portion of the claim based upon legal fees is denied.
       3. Assignments From Employees
          The record shows that six of claimant's United States national employees
       who had been stationed at claimant's Cuban branches, owned certain per­
       sonal effects, automobiles and other personalty, having an aggregate value
       of $39,491.09.
          Law 989, published in the Cuban Official Gazette on December 6, 1961, by
       its terms effected a confiscation of all goods, chattels, rights, shares, bonds
       and other securities of persons who fled from Cuba. The Commission finds
       that this law applied to claimant's said six employees who had left Cuba
       before that date, and concludes that all of the properties owned by these
       employees in Cuba were taken by the Government of Cuba on December 6,
       1961 pursuant to Law 989. (See Claim of Floyd W. Auld, Claim No. CU­
       0020, 25 FCSC Semiann. Rep. 55 (July-Dec. 1966) .)
          The Commission finds on the basis of the evidence of record that claimant
       compensated these six employees for the full values of their properties, $39,­
       491.09, and received assignments from them in consideration of such pay­
       ments. The record shows that assignments to claimant in the amount of
       $27,301.10 were executed prior to December 6, 1961, the date of loss, and
       that assignments in the aggregate amount of $12,189.99 were executed by
       three of these employees, after December 6, 1961, the date of loss, as follows:
                              Date                          Amount
                        December 19, 1961                  $2,624.40
                        December 22, 1961                   3,255.50
                        February 14, 1962                   6,310.09

                                             Total        $12,189.99
          Accordingly, the Commission finds that claimant succeeded to and sus­
       tained losses within the meaning of Title V of the Act in the aggregate
       amount of $39,491.09 with respect to this portion of the claim.
                                      RECAPITULATION

         The Commission concludes that claimant sustained losses as follows:
                        Item of Property                    Amount
                        11 Cuban branches              $4,123,896.51
                        Commercial credits                809,641.21
                        Assignments                        39,491.09

                                           Total       $4,973,028.81
         The Commission has decided that in the certification of losses on claims
       determined pursuant to Title V of the International Claims Settlement Act
       of 1949, as amended, interest should be included at the rate of 6o/o per an­
       num from the date of loss to the date of settlement (see Claim of Lisle
       Corporation, Claim No. CU-0644), and in the instant case it is so ordered.
         The Commission concludes, howeYer, that with respect to the assignments
       executed after the date of loss, interest should be allowed only from the
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       respective dates of the assignments when claimant acquired those interests.
       (See Claim of Estate of Julius S. Wikler, Deceased, Claim No. CU-2571.)
         Accordingly, interest will be included as follows:
                                From                          On
                         September 17, 1960             $4,933,537.72
                         December 6, 1961                   27,301.10
                         December 19, 1961                   2,624.40
                         December 22, 1961                   3,255.50
                         February 14, 1962                   6,310.09

                                            Total       $4,973,028.81

                                   CERTIFICATION OF LOSS

         The Commission certifies that the FIRST NATIONAL CITY BANK suc­
       ceeded to and suffered a loss, as a result of actions of the Government of
       Cuba, within the scope of Title V of the International Claims Settlement
       Act of 1949, as amended, in the amount of Four Million Nine Hundred Sev­
       enty-three Thousand Twenty-eight Dollars and Eighty-one Cents ($4,973,­
       028.81) with interest thereon at 6% per annum from the respective dates
       of loss to the date of settlement.
         Dated at Washington, D.C., September 3, 1969.

                                       FINAL DECISION

          Under date of September 3, 1969, the Commission entered its Proposed
       Decision certifying a loss in favor of claimant in the amount of $4,973,­
       028.81 plus interest. Subsequently claimant advised the Commission that it
       had recovered a further amount of $109,297.77 on account of said loss over
       and above the recoveries already deducted, as set forth in the Proposed De­
       cision. Claimant also indicated that it had no objections to file in this matter.
          Upon consideration of the foregoing, it is
          ORDERED that a Final Decision be entered as follows:
          The Commission now finds that the aggregate amount of claimant's recov­
       eries was $5,495,401.26, which must be deducted f:r:om claimant's loss in the
       amount of $9,510,000.00. Accordingly, the Commission finds that the net loss
       sustained by claimant on September 17, 1960 with respect to its Cuban
       branches was $4,014,598.74.
          It is further
          ORDERED that the certification of loss, as restated below, be entered
       and that the Proposed Decision be affirmed in all other respects.

                                   CERTIFICATION OF LOSS

         The Commission certifies that the FIRST NATIONAL CITY BANK suf­
       fered a loss, as a result of actions of the Government of Cuba, within the
       scope of Title V of the International Claims Settlement Act of 1949, as
       amended, in the amount of Four Million Eight Hundred Sixty-three Thous­
       and Seven Hundred Thirty-one Dollars and Four Cents ($4,863,731.04)
       with interest at 6% per annum from the respective dates of loss to the date
       of settlement.
         Dated at Washington, D.C., November 14, 1969.
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        IN THE MATTER OF THE CLAIM OF INTERCONTINENTAL HOTELS
                             CORPORATION
                          Claim No. CU-2521-Decision No. CU-4545
       Value of Cuban corporation may be established by capitalizing its average
         annual net earnings for a three year period at 10o/o, supplemented by the
         value of s1ibsequent improvements to physical properties. The per,~od where
         losses resulted in consequence of actions of the Government of Cuba, may
         be disregarded in ascertaining the ralue of Cuban enterprises.
                                         PROPOSED DECISION      *
          This claim against the Government of Cuba, under Title V of the Inter­
       national Claims Settlement Act of 1949, as amended, in the amount of $8,­
       934,370.50, was presented by INTERCONTINENTAL HOTELS CORPOR­
       ATION, based upon the loss of a stock interest in a Cuban corporation and
       a debt due from that corporation. The Cuban entity, Intercontinental Hotels
       Corporation of Cuba, S.A., is hereafter referred to as IHC of Cuba.
          Under Title V of the International Claims Settlement Act of 1949 [78
       Stat. 1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat.
       988 (1965)], the Commission is given jurisdiction over claims of nationals
       of the United States against the Government of Cuba. Section 503 (a) of the
       Act provides that the Commission shall receive and determine in accordance
       with applicable substantive law, including international law, the amount and
       validity of claims by nationals of the United States against the Government
       of Cuba arising since January 1, 1959 for
            losses resulting from the nationalization, expropriation, intervention or
            other taking of, or special measures directed against, property including
            any rights or interests therein owned wholly or partially directly or in­
            directly at the time by nationals of the United States.
         Section 502 ( 3) of the Act provides:
            The term 'property' means any property, right, or interest including
            any leasehold interest, and debts owed by the Government of Cuba or
            by enterprises which have been nationalized, expropriated, intervened,
            or taken by the Government of Cuba and debts which are a charge on
            property which has been nationalized, expropriated, intervened, or taken
            by the Government of Cuba.
         Section 502(1) (B) of the Act defines the term "national of the United
       States" as a corporation or other legal entity which is organized under the
       laws of the United States, or of any State, the District of Columbia, or the
       Commonwealth of Puerto Rico, if natural persons who are citizens of the
       United States own, directly or indirectly, 50 per centum or more of the out­
       standing capital stock or other beneficial interest of such corporation or
       entity.
         The record shows that claimant was organized under the laws of Delaware
       and that at all pertinent times all of claimant's outstanding capital stock
       was owned by Pan American World Airways, Inc., a corporation organized
       under the laws of New York. An authorized officer of claimant and parent
         • This decision \vas entered as the Commission's Final Decision on April 13, 1970. Subse­
       quently, the Commission found in a related case involving a stock interest in the same
       Cuban entity that the entity had a greater value than determine in this case. Accordingly,
       the Commission reopened this claim on its own motion, and increased claimant•s Certification
       of Loss accordingly. The Amended Final Decision is included herein.
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       has certified that at all pertinent times more than 50o/o of the parent's out­
       standing capital stock was owned by nationals of the United States; and that
       as of April 15,1960, 57,376 shares out of the parent's outstanding capital
       stock of more than 6,000,000 were owned by nonnationals of the United
       States. The Commission holds that claimant is a national of the United
       States within the meaning of Section 502(1) (B) of the Act.
                                      STOCK INTEREST

          The record establishes and the Commission finds that claimant owned
       47,167 shares of common stock out of 100,000 shares, and 8,018.33 shares of
       preferred stock out of 17,000 shares, constituting a 47.167% stock interest
       in IHC of Cuba. The record further shows that by Resolution No. 4231,
       issued on June 10, 1960, IHC of Cuba was declared intervened by the Cuban
       Minister of Labor pursuant to Law 647 of November 24, 1959. The Com­
       mission finds that IHC of Cuba was intervened by the Government of Cuba
       on June 10, 1960.
          Since IHC of Cuba was organized under the laws of Cuba, it does not
       qualify as a "national of the United States" within the meaning of Section
       502 (1) (B) of the Act, supra. In this type of situation, it has been held that
       an American stockholder is entitled to file a claim for the value of his own­
       ership interest. (See Clairn of Parke, Davis & Cornpany, Claim No. CU-0180,
       1967 FCSC Ann. Rep. 33.)
          The Act provides in Section 503 (a) that in making determinations with
       respect to the validity and amount of claims and value of properties, rights
       or interests taken, the Commission shall take into account the basis of valu­
       ation most appropriate to the property and equitable to the claimant, includ­
       ing but not limited to fair market value, book value, going concern value, or
       cost of replacement.
          The question, in all cases, will be to determine the basis of valuation
       which, under the particular circumstances, is "most appropriate to the prop­
       erty and equitable to the claimant". This phraseology does not differ from
       the international legal standard that would normally prevail in the evalua­
       tion of nationalized property. It is designed to strengthen that standard by
       giving specific bases of valuation that the Commission shall consider.
          The sole business of IHC of Cuba was the operation of the Hotel Nacio­
       nal. IHC of Cuba commenced operations in Cuba on August 1, 1955 when it
       acquired by purchase from National Cuba Hotel Corporation an assignment
       of a lease of the National Hotel of Cuba, Havana, which had over 500
       rooms. On the same date, IHC of Cuba also acquired by purchase title to all
       of the personal property constituting the contents of the hotel, including the
       furniture, fixtures, equipment, linens, drapes, cutlery, china, silverware,
       generator, air-conditioning appliances, food, supplies, etc. Pursuant to the
       express terms of the lease, IHC of Cuba acquired the right to operate the
       entire hotel and all its facilities, rent free, for a period ending November
       21, 1989. Thus, on the date of loss, June 10, 1960, the lease had almost 29%
       years to run. A copy of the original lease, dated August 16, 1929, and copies
       of the assignments thereof as well as of sales documents of the various
       items of personal property situated on the premises of the hotel are included
       in the record.
          Extracts from the books and records of IHC of Cuba disclose that it paid
       $3,600,000.00 for the hotel lease and the contents of the hotel, the Cuban
       peso being on a par with the United States dollar. In addition IHC, of
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       Cuba made substantial improvements to the premises, nearly all of which
       were completed between 1958 and 1960 as follows:
                         Building improvements          $294,217.00
                         Furniture and fixtures          585,022.00
                         Air-Conditioning                485,975.00
                         Decoration                       28,930.00
                         Miscellaneous improvements       60,683.00

                                           Total       $1,454,827.00
          Accordingly, the total investment made by IHC of Cuba was $5,054,827.00.
       IHC of Cuba enhanced its business operations by subleasing a part of the
       hotel premises for gambling and entertainment. Not only did the sublessee
       physically improve the sublet premises, but the casino and night club brought
       increased trade to IHC of Cuba and augmented the earnings of IHC of
       Cuba by its annual rent of $300,000.00.
          The evidence establishes that the operations of IHC of Cuba were very
       profitable. Copies of profit and loss statements, included in the record, show
       that during the first two full -years, 1956 and 1957, IHC of Cuba earned
       net incomes of $780,209.64 and $880,468.82, respectively. The net worth of
       IHC of Cuba as shown by balance sheets, rose from $2,601,017.25. in 1956 to
       $3,157,636.08 in 1957.
          In 1958 Castro's revolutionary activities spread to Northern Cuba includ­
       ing the City of Havana. As a result, the business of IHC of Cuba declined
       sharply. IHC of Cuba showed net losses of $456,488.26 in 1958, $825,367.78 in
       1959, and $390,527.00 for the four-months period of January through April
       1960.
          In view of the foregiong, claimant urges that the value of its stock inter­
       est in IHC of Cuba be determined as follows: Compute the going concern
       value of IHC of Cuba by multiplying its average annual earnings by 8 using
       the two normal years, 1956 and 1957.
          Claimant's computation results in a going concern value of $6,850,000.00,
       which equals $3,230,939.50 for claimant's 47.167% stock interest.
          Upon consideration of the entire record, the Commission concludes that
       the circumstances herein render it inequitable to determine the value of
       IHC of Cuba on the basis of its book value, shown in its balance sheets. The
       Commission finds that the valuation most appropriate to the property and
       equitable to the claimant is the amount resulting from capitalizing the aver­
       erage annual net earnings of IHC of Cuba at 10%. (See Claim of Julius J.
       Shepard, Claim No. CU-0407, Amended Proposed Decision.)
          As noted above, Castro's revolutionary activities in 1958 caused a sharp
       decline in the business operations of IHC of Cuba. After Castro assumed
       power on January 1, 1959, his regime commenced an extensive program of
       nationalization, expropriation, confiscation and intervention of property in
       Cuba. As a result of Castro's actions, IHC of Cuba experienced substantial
       losses in 1959 and thereafter. What had been a very profitable operation
       prior to Castro's activities became a business in which losses mounted
       progressively.
          In view of these circumstances, it would be inequitable to compute the aver­
       age annual net earnings of IHC of Cuba by including the entire period of
       its operations. On the other hand the elimination of all periods of time sub­
       sequent to 1957 merely because they were unprofitable would hardly consti­
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       tute a sound basis for determining the value of IHC of Cuba under Title V
       of the Act.
          The Commission finds that the fair and reasonable value of IHC of Cuba
       as a going concern should be based upon the capitalization of its average
       annual net earnings for the three-year period, 1956 through 1958. The rec­
       ord shows that IHC of Cuba earned net profits of $780,209.64 and $880,468.­
       82 in 1956 and 1957, respectively, and suffered a loss of $456,488.26 in 1958.
       Therefore, its total earnings for that period were $1,204,190.20, and its aver­
       age annual net earnings were $401,396.73. Accordingly, the Commission finds
       that the value of IHC of Cuba as a going concern on June 10, 1960, the
       date of loss, was $4,013,967.30.
          The facts in this case present a further element that warrants considera­
       tion. As indicated above, the record shows that IHC of Cuba had expended
       $1,454,827.00 in improving the hotel premises, practically all of which had
       occurred shortly before intervention. Under the circumstances in this case,
       IHC of Cuba was unable to recoup any benefit from that recent investment.
       The Commission therefore finds it appropriate in this instance and equitable
       to the claimant to include thoat investment in determining the overall Yalue
       of IHC of Cuba on the date of loss. Accordingly, the Commission finds that
       the overall value of IHC of Cuba on June 10, 1960, the date of loss, was
       $5,468,794.30. Therefore, claimant's 47.167% stock interest in IHC of Cuba
       had a value of $2,579,466.21.
                               MANAGEMENT COMPENSATION

          Claimant asserts a further loss of $3,138,192.00, representing the amount
       attributable to deprivation of its "management compensation." It is stated
       that claimant had entered into an agreement with IHC of Cuba, pursuant
       to which claimant was to receive an annual fixed fee of $25,000.00 plus 25%
       of the net operating income of the hotel, after certain deductions, in con­
       sideration of management and operating services to be performed by claim­
       ant. This agreement was terminaed on January 15, 1960 due to losses sus­
       tained by IHC of Cuba in 1958 and 1959. Claimant has computed its average
       annual income for such services, using 1956 and 1957, and has capitalized
       that amount at 12.5% to arrive at an asserted loss of $3,138,192.00.
          The Commission finds no valid basis for allowing this portion of the claim
       under Title V of the Act. Clearly this portion of the claim is based upon
       projected future earnings of the hotel, and the record shows that there
       were no such earnings after 1957. Moreover, the asserted contract was ter­
       minated prior to the intervention of IHC of Cuba. The Commission finds
       that any loss which claimant may have sustained in this respect is not one
       of the types covered by Title V of the Act. (See Claim of Robert L. Cheaney
       and Marjorie L. Cheaney, Claim No. CU-0915; Claim of Ford Motor Com­
       pany, Claim No. CU-3072.) Accordingly, this portion of the claim is denied.
                                           DEBT

       The balance sheet for IHC of Cuba as of April 30, 1960 shows that it owed
       claimant a debt of $39,410.01. Extracts from claimant's records, however,
       disclose that as a result of subsequent adjustments, the amount due claimant
       from IHC of Cuba was $35,239.00. The Commission, therefore, finds that
       claimant also sustained a loss of a debt due from an intervened Cuban en­
       tity in the amount of $35,239.00. (See Claim of Kramer, Marx, Greenlee and
       Backus, Claim No. CU-0105, 25 FCSC Semiann. Rep. [July-Dec. 1966].)
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                                     CONTINGENT CLAIM

          Claimant has also asserted a contingent or "protective" claim in the
       amount of $2,000,000.00 plus accrued interest. The record shows that IHC
       of Cuba borrowed $2,000,000.00 on December 20, 1957 from Banco de Fo­
       mento Agricola a Industrial de Cuba, an instrumentality of the Government
       of Cuba. The loan was secured by a mortgage on the hotel premises, and
       was evidenced by 200 mortgage bonds, each in the amount of $10,000.00,
       payable annually over a period of 15 years. It further appears that claim­
       ant made an agreement with the mortgagee bank on December 20, 1957, pur­
       suant to which claimant agreed to purchase the mortgage bonds in the event
       of a default under the mortgage indenture. Subsequently, IHC of Cuba en­
       tered into agreements by which the time for paying the initial two install­
       ments was extended to December 20, 1973 and December 20, 1974, respec­
       tively.
          It is undisputed that claimant has, as yet, sustained no loss in this respect.
       Clearly, its contingent claim is intended to guard against any loss in the
       future should a claim be made against claimant and prove to be successful.
       The Commission notes that Title V of the Act provides for certain claims
       against Cuba which "have arisen since January 1, 1959". The statute does
       not provide for the determination of contingent losses or losses which were
       not sustained by claimant. (See Claim of Ford Motor Company, Claim No.
       CU-3072.) Moreover, it would appear that any claim by the mortgagee bank
       or Cuba pursuant to the contract with claimant would not be successful in
       view of the fact that any default under the mortgage indenture would nec­
       essarily be attributable to action by Cuba, and additionally because the se­
       eurity for the loan was taken by Cuba. For the foregoing reasons, the con­
       tingent or "protective" claim is denied.
          Accordingly, claimant sustained the following losses within the meaning
       of Title V of the Act:
           ITEM OF PROPERTY                        DATE OF LOSS             AMOUNT
           Stock interest in IHC of Cuba            June 10, 1960         $2,579,466.21
           Debt due from IHC of Cuba                June 10, 1960             35,239.00

                                                              Total       $2,614,705.21
          The Commission has decided that in certification of losses on claims deter­
       mined pursuant to Title V of the International Claims Settlement Act of
       1949, as amended, interest should be included at the rate of 6o/o per annum
       from the date of loss to the date of settlement (see Claim of Lisle Corpora­
       tion, Claim No. CU-0644), and in the instant case it is so ordered.
                                   CERTIFICATION OF LOSS

         The Commission certifies that INTERCONTINENTAL HOTELS COR­
       PORATION suffered a loss, as a result of actions of the Government of
       Cuba, within the scope of Title V of the International Claims Settlement
       Act of 1949, as amended, in the amount of Two Million Six Hundred Four­
       teen Thousand Seven Hundred Five Dollars and Twenty-One Cents ($2,614,­
       705.21) with interest thereon at 6o/o per annum from June 10, 1960 to the
       date of settlement.
         Dated at Washington, D.C., March 4, 1970.
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                                       AMENDED FINAL DECISION

          Under date of April 13, 1970, the Commission entered its Final Decision
       on this claim without objections from claimant, certifying a loss in favor of
       claimant in the amount of $2,614,705.21 plus interest. That certification
       represented the loss of a 47.167% stock interest in a Cuban corporation,
       Intercontinental Hotels Corporation of Cuba, S.A. (IHC of Cuba) in the
       amount of $2,579,466.21 and a debt due from IHC of Cuba in the amount
       of $35,239.00.
          In the Claim of American Securities Corporation, Claim No. CU-3335,
       objections were filed with respect to the Commission's valuation of that
       claimant's 1/3 stock interest in IHC of Cuba. Upon consideration of those
       objections in the light of the entire record, the Commission found that the
       total value of all of the outstanding capital stock of IHC of Cuba on June
       10, 1960, the date of loss, was $9,758,219.30, and the value of that claimant's
       stock interest was increased accordingly.
         The Commission, therefore, has reopened this claim on its own motion,
       and now finds that the value of this claimant's 47.167% stock interest in
       IHC of Cuba on June 10, 1960 was $4,602,659.30.
         Accordingly, the Certification of Loss in the Final Decision of April 13,
       1970 is set aside and the following Certification of Loss will be entered, and
       the Final Decision is affirmed in all other respects.
                                         CERTIFICATION OF LOSS

          The Commission certifies that INTERCONTINENTAL HOTELS COR­
       PORATION suffered a loss, as a result of actions of the GoYernment of
       Cuba, within the scope of Title V of the International Claims Settlement
       Act of 1949, as amended, in the amount of Four Million· Six Hundred Thirty­
       Seven Thousand Eight Hundred Ninety-Eight Dollars and Thirty Cents
        ($4,637,898.30) with interest thereon at 6o/o per annum from June 10, 1960
       to the date of settlement.
         Dated at Washington, D.C., April 14, 1971.


       IN THE MATTER OF THE CLAIM OF COLGATE-PALMOLIVE COMPANY
                           Claim No. CU-0730-Decision No. CU-4547
       Where warranted, the going concern value of a Cuban enterprise may be
        determined by applying a multiple of 15 to the enterprise's average annual
        net earnings.
                                             FINAL DECISION

         Under date of March 4, 1970, the Commission issued its Proposed Decision
       certifying a loss in favor of claimant in the amount of $5,427,581.84 plus
       interest. The certification of loss represented losses sustained by claimant
       in connection with its interest in
             Crusellas y Cia., S.A. (Crusellas) ---------------------------------- $3,529,603.62
             Detergentes Cubanos, S.A. (Detergentes) -------------------- 1,781,572.82
             Debt owed by Detergentes ------------------------------------------------ 116,405.40

                                                                  Total          $5,427,581.84
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          Claimant's objections were based on two grounds; namely: (1) that the
       evidence established that claimant owned 35,858 shares of stock in Crusellas
       and 94,636 shares of stock in Detergentes; and (2) that the Commission
       erred in evaluating said stock interests by capitalizing the average annual
       net earnings of the two Cuban corporations for the years 1957 through 1959
       at 10%, and should have given more weight to an opinion from Dillon, Reed
       & Company that the aggregate value of both corporations was $40,000,000.00.
          At the oral hearing held on January 12, 1971, testimony was presented by
        Mr. James Henry Carpenter, an officer of claimant, by Mr. Mortimer Collins
       who had prepared the opinion for Dillon, Reed & Company; and by Mr.
        Norman M. Mintz, 11n economist; and counsel argued on behalf of claimant.
          Mr. Carpenter testified that claimant had commenced a vigorous sales
       campaign in Cuba in 1953, promoting its detergents which were sold to the
        Cuban public through the two Cuban corporations. He had remained in Cuba
       until 1957, at which time the results of these efforts were being evidenced
       by increased earnings of the two corporations.
          Mr. Collins testified that his study of the operations of a number of Amer­
       ican concerns as compared with claimant's operations led him to the conclu­
       sion that the aggregate value of the two corporations should be determined
       by applying a multiple within the range between 18 and 43 to the average
       net earnings of the two corporations for the year 1959.
          Mr. Mintz testified that he had made an independent study of a number
       of American concerns, including claimant, which led him to conclude that
       the two Cuban corporation,s were showing a high growth potential as shown
       by progressively increasing earnings, thereby justifying a valuation of 20
       times the net earnings for 1959. His testimony was supported by his written
       opinion introduced in evidence at the oral hearing.
          Counsel for claimant urged an increase in the multiple used by the Com­
       mission in its Proposed Decision and a resultant increase in the Certifica­
       tion of Loss based on the established extent of claimant's stock interests in
       the two Cuban corporations.
          Upon consideration of the oral testimony and the evidence and arguments
       presented at the hearing in the light of the entire record, the Commission
       now finds that claimant owned 35,858 shares of stock in Crusellas and 94,636
       shares of stock in Detergentes on October 13, 1960, when both corporations
       were nationalized by the Government of Cuba.
          The evidence shows that the two corporations each had a good growth
       potential on the date of loss judging from the steady rise in net earnings in
       the years immediately prior to 1960. Accordingly, it is concluded that the
       application of a higher multiple than was employed in the Proposed Decision
       is warranted.
          It would appear from the evidence presented that the growth potential of
       the two corporations would normally level off at or about the rate prevailing
       in 1959. The Commission therefore finds that the net earnings of the two
       corporations for 1959 represent, in effect, their average annual net earnings.
          Considering the .entire record, the Commission finds that the valuations
       most appropriate in this case and equitable to the claimant are the results
       obtained from applying a multiple of 15 to the net earnings of the two cor­
       porations for 1959 to arrive at the going concern values of the corporations.
          Since the record shows that the net earnings of Crusellas and Detergentes
       in 1959 were $1,105,002.36 and $257,871.36, respectively, the Commission
       finds that their going concern values were $16,575,035.40 and $3,868,070.40.
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       Considering the fact that the excess of cash plus current accounts receivable
       over current accounts payable of the two corporations were $4,475,773.77
       for Crusellas and $270,625.73 for Detergentes, the Commission finds that
       the overall values of the two corporations were $21,050,809.17 and $4,138,­
       696.13, respectively.
          Inasmuch as Crusellas and Detergentes had 63,023 and 162,228 shares of
       outstanding capital stock, respectively, on the date of loss, the Commission
       finds that the values of each share of such stock were $334.0179 and $25.­
       5116, respectively. Therefore, the values of claimant's stock interests were
       $11,977,213.86 and $2,414,315.78, respectively.
          The finding in the Proposed Decision as to the debt of $116,405.40 owed
       claimant by Detergentes is affirmed.
          Accordingly, the Certification of Loss in the Proposed Decision is set aside
       and the following Certification of Loss will be entered, and the Proposed
       Decision is affirmed in all other respects.
                                  CERTIFICATION OF   Loss
         The Commission certifies that COLGATE-PALMOLIVE COMPANY suf­
       fered a loss, as a result of actions of the Government of Cuba, within the
       scope of Title V of the International Claims Settlement Act of 1949, as
       amended, in the amount of Fourteen Million Five Hundred Seven Thousand
       Nine Hundred Thirty-Five Dollars and Four Cents ($14,507,935.04) with
       interest at 6% per annum from October 13, 1960 to the date of settlement.
         Dated at Washington, D.C., February 3, 1971.
                                    PROPOSED DECISION

          This claim against the Government of Cuba, under Title V of the Interna­
       tional Claims Settlement Act of 1949, as amended, in the amount of $29,293,­
       109.78, was presented by the COLGATE PALMOLIVE COMPANY, based
       upon the asserted loss of its stockholder interest in the Cuban companies
       Crusellas y Cia., S.A., and Detergentes Cubanos, S.A. because of the nation­
       alization of these companies by the Goveriment of Cuba.
          Under Title V of the International Claims Settlement Act of 1949 [78
       Stat. 1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat.
       988 (1965) ], the Commission is given jurisdiction over claims of nationals
       of the United States against the Government of Cuba. Section 503 (a) of the
       Act provides that the Commission shall receive and determine in accordance
       with applicable substantive law, including international law, the amount
       and validity of claims by nationals of the United States against the Govern­
       ment of Cuba arising since January 1, 1959 for
           losses resulting from the nationalization, expropriation, intervention or
           other taking of, or special measures directed against, property including
           any rights or interests therein owned wholly or partially, directly or
           indirectly at the time by nationals of the United States.
         Section 502 (3) of the Act provides:
           The term 'property' means any property, right, or interest including
           any leasehold interest, and debts owed by the Government of Cuba or
           by enterprises which have been nationalized, expropriated, intervened,
           or takn by the Government of Cuba and debts which are a charge on
           property which has been nationalized, expropriated, intervened, or taken
           by the Government of Cuba.
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         Section 502 (1) (B) of the Act defines the term "national of the United
      States" as a corporation or other legal entity which is organized under the
      laws of the United States, or of any State, the District of Columbia, or the
      Commonwealth of Puerto Rico, if natural persons who are citizens of the
      United States own, directly or indirectly, 50 per centum or more of the out­
      standing capital stock or other beneficial interest of such corporation of
      entity.
         The record shows that claimant was organized under the laws of the State
      of Delaware. Further, the record discloses that at all pertinent times more
      than 50% of claimant's outstanding capital stock was owned by nationals of
      the United States. An authorized officer of claimant stated that on January
      24, 1966 there were outstanding 15,218,588 shares of claimant's stock, 1.4%
      of which were registered in the names of stockholders who are presumed to
      be nonnationals of the United States. The Commission holds that claimant
      is a national of the United States within the meaning of Section 502 (1) (B)
      of the Act.
         The evidence establishes and the Commission finds that claimant herein
      owned a 100% interest in Norwood International, Inc., which in turn owned
      16,355 shares of Crusellas y Cia., S.A. stock, and 114,139 shares of Deter­
      gentes Cubanos, S.A. stock, both latter corporations organized under the
      laws of Cuba. The evidence of record further shows and the Commission
      finds that Crusellas y Cia., S.A., and Detergentes Cubanos, S.A., were na­
      tionalized by the Government of Cuba on October 13, 1960, by virtue of Law
      No. 890, published in the Cuban Official Gazette on that date. Since the
      Cuban firms were organized under the laws of Cuba, they do not qualify as
      corporate "nationals of the United States" within the meaning of Section
      502(1) (B) of the Act, supra. In this type of situation, it has been held that
      an American stockholder is entitled to file a claim for the value of his own­
      ership interest. (See Claim of Parke Davis & Company, Claim No. CU-0180,
      1967 FCSC Ann. Rep. 33.)
         The Act provides in Section 503(a) that in making determinations with
      respect to the validity and amount of claims and value of properties, rights,
      or interests taken, the Commission shall take into account the basis of
      valuation most appropriate to the property and equitable to the claimant,
      including but not limited to fair market value, book value, going concern
      value, or cost of replacement.
         The question, in all cases, will be to determine the basis of valuation
      which, under the particular circumstances, is "most appropriate to the
      property and equitable to the claimant". This phraseology does not differ
      from the international legal standard that would normally prevail in the
      evaluation of nationalized property. It is designed to strengthen that
      standard by giving specific bases of valuation that the Commission shall
      consider.
         The claimant has submitted balance sheets, profit and loss statements for
      the years 1955-1959, and other information pertaining to the value of the
      two Cuban corporations in question. In addition, the Commission has taken
      into consideration the August 31, 1960, balance sheets of the two Cuban
      corporations submitted by Frank J. Carbon, Executive Vice President of
      Crusellas y Cia., S.A. at the time of its nationalization, in connection with
      his claim (Claim No. CU-0172) which, in part, is based upon stockholder
      interests in the two Cuban corporations now in· question. These two balance
      sheets are included in the record by reference.
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                                                CRUSELLAS Y CIA.,                S.A.
          The balance sheet of August 31, 1960, for Crusellas y Cia., S.A., reflects
        the following in Cuban pesos, which were on a par with the United States
        dollar:
                                                            Assets
        Current Assets
            Cash ........................................................................................... . $ 2,343,183.29
            Accounts Receivable (less Reserve $549,141.00) ............                                          2,561,482.79
            Inventories ............................................................................... .        3,277,426.11

                   Total Current Assets .............................................. ..                  8,182,092.19
            Prepaid Expenses ................................................................... .           148,584.08
            Miscellaneous Investments (less Reserve ...... $37,597.00)                                         2,003.00
            Property, Plant & Equipment
              Gross .............................................................. $4,387,541.00
              Less Reserve .............................................. 2,444,552.00                     1,942,989.00

            Goodwill                                                                                       1,260,000.00
            Inter-Company Accounts-Net .......................................... ..                         396,010.73

                      Total Assets                                                                      $11,931,679.00

                                                  Liabilities & Capital
        Current Liabilities
            Accounts Payable ..........................................            $ 428,892.31
            Misc. Accruals & Reserves ....................... .                      966,033.78

             Total Current Liabilities .................................................. $ 1,394,926.09
            Deferred Liabilities & Reserves ..........................................        145,388.84

                                                                                                           1,540,314.93
        Capital Stock & Surplus
            Capital Stock (63,023 shares at $100.00)                               $6,302,300.00
            Surplus ..........................................................      3,931,727.90         10,234,027.90

            Inter-Company Account
              Detergentes Cubanos, S.A. ................................................                     157,336.17

                      Total Liabilities & Capital ........................................             $11,931,679.00

           Additional evidence, submitted by claimant, shows and the Commission
        finds that the asset "Goodwill" was purchased by Crusellas y Cia., S.A., in
        the amount stated in the balance sheet above.
           The claimant argues that Crusellas y Cia., S.A. had a going concern value
        in the amount of 40 times the company's earnings in 1959 after Cuban
        taxes, or $41,560,000.00.
           In support of its argument, claimant submitted an opinion dated October
        7, 1968, by Dillon, Reed & Co., Inc., in which Crusellas y Cia., S.A. is valued
        at $40,000,000.00 on the basis of its asserted going concern value.
           The record shows that Crusellas y Cia., S.A. had annual earnings after
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      Cuban taxes in the amounts of 737,500.00, 895,100.00 and 1,105,002.36 pesos
      for the years ending December 31, 1957, through December 31, 1959,
      amounting to an annual average of 912,534.12 pesos. Thus the company's
      profits had been increasing progressively, indicating that the value of the
      business in Cuba had risen. However, the Commission does not share the
      view that a prudent buyer would have paid $40,000,000.00 for Crusellas y
      Cia., S.A. in 1960, when the previous years' profits indicated a return of
      $1,105,002.36 only. In the Commission's opinion the going concern value
      of Crusellas y Cia., S.A. in 1960 may be arrived at by capitalizing the
      average net earnings after Cuban taxes at 10o/o, instead of 2.25% as sug­
      gested by claimant. Inasmuch as the average annual earnings of Crusellas
      y Cia., S.A. was 912,534.12 pesos, its going concern value would be 10
      times that amount, or 9,125,341.20 pesos.
         It is noted that Crusellas y Cia., S.A., owned cash and accounts receiv­
      able in the amounts of $2,343,183.29 and $2,561,482. 79, respectively. Cash
      and accounts receivable are corporate assets which increase the share­
      holder's equity but are not the type of assets which create the going con­
      cern value or, for such a reason, would be sold to and paid for by a
      purchaser of the enterprise. Accordingly, the assets of cash and accounts
      receivable, diminished by the accounts payable, should be added to the going
      concern value in order to arrive at the amount of loss which the stock­
      holders of Crusellas y Cia., S.A. sustained by the nationalization of the
      corporation by the Government of Cuba.
         The balance sheet of August 31, 1960, includes in its assets an item en­
      titled "Inter-Company Accounts-Net" in the amount of 396,010.73 pesos.
      A comparison with previous balance sheets shows and the Commission
      finds that the 396,010.73 pesos in question were due from the parent COL­
      GATE-PALMOLIVE COMPANY, the claimant herein. Inasmuch as it is
      obvious that no amount due from the claimant corporation was taken by
      the Government of Cuba in connection with the nationalization of Crusellas
      y Cia., S.A., this sum should be disregarded in arriving at the amount of
      loss.
         Accordingly, the loss may be calculated as follows:
          Going concern value -----------------------------­                                9,125,341.20 pesos
          Cash -----------------------------------------------------------­ 2,343,183.29                 pesos
          Accounts receivable -----------------------------­ 2,561,482. 79

                                                                      4,904,666.08
          Less: Accounts Payable -----------------------­               428,892.31          4,475,773.77

                                                                                           13,601,114.97 pesos
         Inasmuch as Crusellas y Cia., S.A. had 63,023 shares of its stock out­
      standing on the date of its nationalization, a date when the Cuban peso
      was on par with the United States dollar, the Commission finds that the
      amount of loss sustained with respect to the ownership of one share of
      Crusellas y Cia., S.A. stock amounted to $215.8119. Accordingly, the
      Commission holds that claimant's 16,355 shares of Crusellas y Cia., S.A.,
      had a value of $3,529,603.62 at the time of loss.
         In view of the foregoing, the Commission concludes that claimant sus­
      tained a loss within the purview of Title V of the Act in connection with
      its shares of stock in Crusellas y Cia., S.A., in the amount of $3,529,603.62.
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                                               DETERGENTES CUBANOS,                 S.A.
          The balance sheet of August 31, 1960, reflects the following in Cuban
        pesos, which were on a par with the United States dollar:
                                                                 Assets
        Current Assets
              Cash -------------------------------------------------------------­                     $ 270,469.78
              Accounts Receivable ---------------------------------­                                     19,014.09
              Inventories ---------------------------------------------------­                          378,403.49

                     Total Current Assets -------------------­                                        $ 667,887.36
              Prepaid Expenses -------------------------------------­                                    99,945.00
              Miscellaneous Investments ---------------------­                      $      5,400.00
                    Less Reserve -----------------------------------­                      5,399.00           1.00

              Property, Plant & Equipment
                Gross -------------------------------------------------------­      $2,094,893.40
                Less Reserve ---------------------------------------------­          1,295,876.56       799,016.84

              Inter-Company Account
                Crusellas y Cia., S.A.                                                                  157,336.17

                         Total Assets                                                                 $1,724,186.37

                                                     Liabilities & Capital
        Current Liabilities
              Accounts Payable -------------------------------------­ $ 176,194.31
              Miscellaneous Accruals & Reserves -------­                145,409.93
                    Total Current Liabilities -----------------------------------------­              $ 321,604.24
              Deferred Liabilities & Reserves -----------------------------------------­                 28,588.27

                                                                                                        350,192.51
        Capital Stock & Surplus
              Capital Stock (162,228 shares at $5.00)                                   811,140.00
              Surplus ---------------------------------------------------------­        446,448.46     1,257,588.46
                                                                                                         116,405.40

              Inter-Company Accounts -----------------------------------------------------­           $1,724,186.37

                                Total Liabilities & Capital -------------------------------­          $1,724,186.37

          The record shows that Detergentes Cubanos, S.A., had annual earnings
        after Cuban taxes in the amounts of 193,785.27, 226,813.95 and 257,871.36
        pesos for the years ending December 31, 1957, through December 31, 1959,
        amounting to an annual average of 226,156.86 pesos. The steadily increas­
        ing profits show that it was a growth operation.
          The Commission has considered the contents of the document entitled
        "Cuban Plant Evaluation" prepared by the claima,nt's Central Engineering
        Department on March 7, 1963. In this appraisal the values of the real
        property, plant, and equipment, owned by the two corporations in question
        and taken by the Government of Cuba, is calculated on the basis of the
        estimated cost of replacement as reduced by depreciation. The properties
        of the two companies have not been separated in this appraisal. The prop­
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      erty, plant, and equipment of the two corporations is estimated at $11,­
      717,493.00, about 80.7% more than the original cost of $6,482,434.40, as
      shown by the balance sheets above. Even the depreciated value of $8,382,­
      170.00 is about 29.3% more than the original cost. The Commission is not
      convinced that use of the appraisal values is appropriate and finds that
      the value of the property taken by the Government of Cuba may be more
      correctly and equitably computed by the method stated above than by
      relying upon the valuation indicated in the document entitled "Cuban
      Plant Evaluation".
        Accordingly, the Commission finds that Detergentes Cubanos, S.A., had
      a going concern value amounting to 10 times its annual average earnings
      of 226,156,156.86 pesos or 2,261,568.60. Adding to that amount the cash
      and accounts receivable, and diminishing it by the accounts payable, the
      amount of loss sustained by the stockholders of Detergentes Cubanos, S.A.,
      may be calculated as follows:

          Going concern value -------------------------------------------------­       2,261,568.60 pesos
          Cash ---------------------------------------------------------­ 270,469.78
            Accounts receivable -------------------------­                 19,014.09
          Inter-Company account
            Crusellas y Cia., S.A. -----------------------­ 157,336.17

                                                                     446,820.o4
          Less: Accounts payable -----------------------­            176,194.31         270,625.73

                                                                                       2,532,194.33 pesos
        Inasmuch as Detergentes Cubanos, S.A., had 162,228 shares of stock out­
      standing on the date of its nationalization, a date when the Cuban peso was
      on par with the United States dollar, the Commission finds that the amount
      of loss sustained with respect to the ownership of one share of Detergentes
      Cubanos, S.A., stock amounted to $15.6088.
        Accordingly, the value of claimant's 114,139 shares of Detergentes Cu­
      banos, S.A. stock amounted to $1,781,572.82.
        It is noted by the Commission that one of the liabilities, identified as
      "Inter-Company Accounts" in the sum of 116,405.40 pesos was an amount
      due to the parent COLGATE-PALMOLIVE COMPANY, the claimant
      herein. Since Section 502 (3) defines "property", among other things, as
      "debts owed by the Government of Cuba or enterprises which have been
      nationalized, . . . by the Government of Cuba", the Commission finds that
      claimant is entitled to a certification of loss on such account in the sum
      of $116,405.40.

                                                  SUMMARY
          16,355 Shares of Crusellas y Cia., S.A.
            stock at $215.8119 per share --------------------------------------        $3,529,603.62
          114,139 shares of Detergentes Cubanos, S.A.
            stock at $15.6088 per share ---------------------------------------­        1,781,572.82
          Debt owed by Detergentes Cubanos, S.A. --------------------                     116,405.40

                                                                                       $5,427,581.84
        The Commission concludes that the aggregate amount of claimant's losses,
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        sustained within the purview of Title V of the Act, amounted to
        $5,427 ,581.84.
          The Commission has decided that in certification of losses on claims
        determined pursuant to Title V of the International Claims Settlement Act
        of 1949, as amended, interest should be included at the rate of 6o/o per
        annum from the date of loss to the date of settlement (see Claim of Lisle
        Corporation, Claim No. CU-0644), and in the instant case it is so ordered.
                                        CERTIFICATION OF LOSS

          The Commission certifies that COLGATE-PALMOLIVE COMPANY
        sustained a loss, as a result of actions of the Government of Cuba, within
        the scope of Title V of the International Claims Settlement Act of 1949,
        as amended, in the amount of Five Million Four Hundred Twenty-seven
        Thousand Five Hundred Eighty-one Dollars and Eighty-four Cents
        ($5,427,581.84) with interest thereon at 6o/o per annum from October 13,
        1960, to the date of settlement.
          Dated at Washington, D.C., March 4, 1970.

        IN THE MATTER OF THE CLAIM OF UNION LIGHT AND POWER
                          COMPANY OF CUBA
                           Claim No. CU-0330-Decision No. CU-0286
        Items, such as intangibles, franchises, and licenses, may not be allowed as
           assets unless the evidence establishes the nature thereof and the fact that
           these items had values on the date of loss.
                                   AMENDED PROPOSED DECISION           *
           Under date of September 20, 1967, the Commission issued a Proposed
        Decision denying this claim on the ground that claimant had failed to sus­
        tain the burden of proof. Subsequently, claimant submitted a substantial
        amount of supporting evidence.
           Upon consideration of the entire record, it is
           ORDERED that the Proposed Decision be amended to read as follows:
           This claim against the Government of Cuba, under Title V of the Inter­
        national Claims Settlement Act of 1949, as amended, was presented by
        UNION LIGHT AND POWER COMPANY OF CUBA, in the amount of
        $1,500,000.00, based upon the asserted loss of certain personal property in
        Cuba.
           Under Title V of the International Claims Settlement Act of 1949 [78
        Stat. 1110 (1964), 22 U.S.C. §§1643-1643k (1964), as amended, 79 Stat. 988
         (1965) ], the Commission is given jurisdiction over claims of nationals of
        the United States against the Government of Cuba. Section 503 (a) of the
        Act provides that the Commission shall receive and determine in accordance
        with applicable substantive law, including international law, the amount
        and validity of claims by nationals of the United States against the Gov­
        ernment of Cuba arising since January 1, 1959 for
             losses resulting from the nationalization, expropriation, intervention or
             other taking of, or special measures directed against, property includ­
             ing any rights or interests therein owned wholly or partially, directly
             or indirectly at the time by nationals of the United States.
         • This decision was entered as the Commission's Final Decision on March 19, 1969.
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         Section 502 (3) of the Act provides:
           The term 'property' means any property, right, or interest including
           any leasehold interest, and debts owed by the Government of Cuba or
           by enterprises which have been nationalized, expropriated, intervened,
           or taken by the Government of Cuba and debts which are a charge on
           property which has been nationalized, expropriated, intervened, or taken
           by the Government of Cuba.
         Section 502 ( 1) (B) of the Act defines the term "national of the United
      States" as a corporation or other legal entity which is organized under the
      laws of the United States, or of any State, the District of Columbia, or the
      Commonwealth of Puerto Rico, if natural persons who are citizens of the
      United States own, directly or indirectly, 50 per centum or more of the
      outstanding capital stock or other beneficial interest of such corporation
      or entity.
         The record shows that claimant was organized under the laws of the
      State of Delaware. It appears that claimant had borrowed large sums of
      money in 1929 and had used all of its outstanding stock as collateral. Upon
      default and foreclosure, the creditor, also a Delaware corporation, acquired
      title to said stock. In turn, this creditor corporation had pledged the stock
      of claimant as collateral for its own promissory notes to a certain group
      of noteholders, referred to as the Committee. In 1933, this Committee
      acquired title to all of claimant's stock upon default with respect to the
      said notes, and entries were made in the stock transfer records of claimant
      to show such ownership by the Committee. The former noteholders who
      were members of the Committee thus acquired stock interests in claimant
      in direct proportion to the percentages their creditor interests bore to the
      total indebtedness of claimant, the principal amount of which was $1,355,
      000.00 in 1933.
         The largest single member of the Committee, the Continental Illinois
      National Bank and Trust Company of Chicago, owning in excess of 70o/o
      of claimant's stock, has certified, through one of its officers, that it was
      organized under the laws of the United States and that over 75o/o of its
      outstanding capital stock was owned by nationals of the United States.
      Other eYidence of record establishes that all of the members of the Com­
      mittee have been nationals of the United States at all pertinent times. The
      Commission holds that claimant is a national of the United States within
      the meaning of Section 502(1) (B) of the Act.
         The evidence of record indicates that claimant operated an electric utility
      company, not organized as a legal entity, which furnished electric power
      in Oriente Province, Cuba. In connection with these operations, claimant
      owned electric generating plants, power transmission lines, meters, materials
      and supplies, and other necessary equipment, as well as bank accounts, and
      accounts receivable from Cuban customers and the Government of Cuba
      who used claimant's electricity.
         On October 24, 1960, the Government of Cuba published in its Official
      Gazette Resolution 3 pursuant to Law 851, which listed as nationalized the
      UNION LIGHT AND POWER COMPANY OF CUBA. The Commission
      finds that all of claimant's properties in Cuba were nationalized on October
      24, 1960, as a result of which claimant sustained a loss within the meaning
      of Title V of the Act.
         The Act provides in Section 503 (a) that in making determinations with
      respect to the validity and amount of claims and value of properties, rights,
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        or interests taken, the Commission shall take into account the basis of
        valuation most appropriate to the property and equitable to the claimant,
        including but not limited to fair market value, book value, going concern
        val.ue or cost of replacement.
           The question, in all cases, will be to determine the basis of valuation
        which, under the particular circumstances, is "most appropriate to the
        property and equitable to the claimant". The Commission has concluded
        that this phraseology does not differ from the international legal standard
        that would normally prevail in the evaluation of nationalized property and
        that it is designed to strengthen that standard by giving specific bases of
        valuation that the Commission shall consider; i.e., fair market value, book
        value, going concern Yalue, or cost of replacement.
           Claimant asserts that its assets in Cuba had an aggregate value of
        $1,500,000.00, and submits the following in support of its assertion:
           1. Certain written reports in 1954 and 1956 to the effect that offers
        had been made to purchase claimant's assets in Cuba for approximately
        $500,000.00;
           2. A written report in January 1960 that claimant's representative in
        Cuba had offered to sell claimant's assets for approximately $1,000,000.00;
           3. An affidavit, dated March 4, 1968, from claimant's former general
        manager of its business in Cuba, stating that in September 1960, when the
        nationalization of claimant was being proposed by Cuba, a Cuban Govern­
        ment official offered to compensate claimant for its properties in Cuba in
        the amount of $1,010,000.00 in the form of 4% per cent bonds.
           The record, however, contains no written offer of a definite amount
        from any prospective purchaser, and it appears that in 1954 the Committee
        passed a resolution authorizing the sale of the assets for $500,000.00 "or
        better".
           Included in the record are interim statements of income and balance
        sheet figures for each of the months from July 1959 through February
        1960; audited balance sheets for the periods ending June 30, 1957, June
        30, 1958, and June 30, 1959, as well as related profit and loss statements.
        A balance sheet as of February 29, 1960, prepared from these interim
        figures discloses the value of claimant's assets as follows, which has been
        certified by an officer of claimant as fairly representing claimant's financial
        condition at that time:
        Cash .............................................................................. $ 41,431.97
           Less amount maintained in a
           bank in the United States ................................. .                              300.43
        Net cash in Cuba ............................................................................... . $ 41,131.54
        Accounts receivable (from Cuban nationals) ............................... .                                75,504.90
        Materials and supplies ..................................................................... .              20,965.73
        Debts owed by Cuban Government and Municipalities
          for electricity supplied ................................................................. .              78,603.25
        Deferred Charges ............................................................................... .          25,321.74
        Other assets ........................................................................................... .  69,126.19
        Investments ........................................................................................... .        1.00
        Properties, plants and equipment .......................... $1,050,081.55
          Less reserve for depreciation ............................                           529,609.59
        Net properties, plants and equipment ......................................... .                           520,471.96
                                          Total Assets ................................................. .   $831,126.31
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          In an affidavit, dated January 16, 1969, an officer of claimant has stated
       that the amount claimed includes all "intangibles," and that the assets
       shown in the interim balance sheet of February 29, 1960 did not include
       any amounts for "franchises and licenses." The record, however, contains
       nothing that would either indicate the nature of these intangibles, franchises
       and licenses, or establish their value on the date of loss. Moreover, no such
       items are included in the audited balance sheets of June 30, 1957, June 30,
       1958, or June 30, 1959.
          Said three balance sheets were accompanied by explanatory statements,
       one of which was repeated on each occasion. The auditors stated that they
       were unable to express an opinion concerning the values appearing in the
       three balance sheets for the properties, plants and equipment inasmuch as
       no depreciation had been taken for the transmission lines and certain fully­
       depreciated items were included. Claimant's explanation with respect to
       the transmission lines was that depreciation for such property was not
       allowed as a deductible expense for Cuban income tax purposes, which fact
       was corroborated by the auditors. It does not appear that the financial
       picture of claimant as of February 29, 1960 is distorted by the inclusion
       of fully-depreciated items because such depreciation apparently was part
       of the reserve for depreciation, which reduced these assets by more than
       50% as of February 29, 1960.
          Having fully considered all the evidence of record, the Commission finds
       that the Yaluation most appropriate to the property and equitable to the
       claimant is that reflected in the interim balance sheet as of February 29,
       1960. Although that financial statement was not audited, it appears upon
       comparison with the three audited balance sheets, and particularly the
       latest one as of June 30, 1959, that the values set forth in the balance sheet
       as of February 29, 1960 fairly represent the financial condition of claimant,
       as stated by an officer of claimant. With respect to claimant's transmission
       lines located in Cuba, the Commission finds no valid basis for reducing the
       value thereof on account of depreciation because the laws of Cuba pro­
       hibited depreciation of such property for income tax purposes. Inasmuch
       as the Commission's statutory duty is to determine, inter alia, the value
       of property in Cuba on the date of loss, the Commission holds that any re­
       duction for depreciation of claimant's transmission lines under the cir­
       cumstances would not be appropriate to the property or equitable to the
       claimant. Accordingly, no reduction in the value of said property on account
       of depreciation is made.
          There being no evidence to establish the nature of the intangibles,
       franchises and licenses, or to establish their value on the date of loss, that
       portion of the claim is denied.
          The Commission finds that the aggregate value of claimant's assets in
       Cuba on October 24, 1960, the date of loss, was $831,126.31. It appears
       from the balance sheet of February 29, 1960 that claimant was indebted
       to Cuba for taxes in the amount of $10,155.82. The Commission has held
       that in a claim against Cuba under Title V of the Act, an amount due the
       Republic of Cuba for taxes should be applied in reducing the amount of
       loss sustained, on the theory of set-off. (See Claim of Simmons Company,
       Claim No. CU-2303.)
          Accordingly, the Commission finds that the net loss sustained by claimant
       within the meaning of Title V of the Act was the amount of $820,970.49.
          The Commission has decided that in certification of losses on claims
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       pursuant to Title V of the International Claims Settlement Act of 1949, as
       amended, interest should be included at the rate of 6o/o per annum from
       the date of loss -to the date of settlement (see. Claim of Lisle Corporation,
       Claim No. CU-0644), and in the instant case it is so ordered.
                                  CERTIF~CATION OF LoSS

         The Commission certifies that UNION LIGHT AND POWER COMPANY
       OF CUBA suffered a loss, as a result of actions of the Government of Cuba,
       within the scope of Title V of the International Claims Settlement Act of
       1949, as amended, in the amount of Eight Hundred Twenty Thousand Nine
       Hundred Seventy Dollars and Forty-nine Cents ($820,970.49), with interest
       thereon at 6% per annum from October 24, 1960 to the date of settlement.
       Dated at Washington, D.C., February 19, 1969.

             IN THE MATTER OF THE CLAIM OF PAN-AMERICAN LIFE
                           INSURANCE COMPANY
                       Claim No. CU-3651-Decision No. CU-4212
       On the basis of competent evidence, the value of an insurance company's
        issued policies may be determined by finding its gross equity therein and
        reducing it by appropriate discount ?"ates.
                                     FINAL DECISION

         Under date of November 26, 1969, the Commission issued its Proposed
       Decision on this claim, certifying a loss in the amount of $7,821,638.51 plus
       interest in favor of claimant, and denying portions of the claim based on
       bonds of the Cuban Telephone Company, on debts due from claimant's in­
       sureds secured by the cash surrender of their policies, and on good will or
       going concern value. Subsequently, claimant objected, submitted new evi­
       dence and requested an oral hearing which was held on June 9, 1971.
          At the hearing an actuary, A. Anthony Autin, Jr., testified on behalf
       of claimant, and counsel presented oral argument.
          Upon consideration of the new evidence, including the testimony and
       arguments offered at the oral hearing, in light of the entire record, the
       Commission finds as follows:
          1. Bank Accounts
             The Commission finds that on October 24, 1960, the date of loss,
       claimant owned ban"k; accounts in Cuba having an aggregate value of
       $406,551.98, rather than $107,248.80 as set out in the Proposed Decision.
          2. Cuban Telephone Company Bonds
             The Commission finds that claimant owned bonds of the Cuban Tele­
       phone Company in the fact amount of $500,000.00.
          The Commission has held that a claim based upon debts of the Cuban
       Telephone Company is within the purview of Title V of the Act because,
       although the Cuban Telephone Company was a national of the United
       States at all pertinent times, it is now defunct. In the Claim of Interna­
       tional Telephone and Telegraph Company, (Claim No. CU-2615), the Com­
       mission found that the assets of the Cuban Telephone Company had been
       taken by the GoYernment of Cuba on August 6, 1960. Accordingly, the
       Commission finds that on August 6, 1960, claimant sustained a loss in the
       amount of $500,000.00.
          3. Taxes Owed to Cuba
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            The Commission finds that on October 24, 1960, the date of loss,
      claimant was indebted to Cuba in the amount of $6,059.55, which must be
      deducted in determining claimant's losses under Title V of the Act, rather
      than $16,850.34, as set out in the Proposed Decision.
         4. Goodwill or Going Concern Value
            The record shows that over the years cl:;timant had built up a viable
      organization in Cuba through which claimant conducted its insurance busi­
      ness in that country. Claimant had expended time, effort and funds in
      creating an organization which was producing profits on the date of loss
      and which would continue to do so in the future.
         The Commission therefore finds that on the date of loss claimant owned
      two assets that were not shown on its books and records. One such asset is
      claimant's equity in the insurance contracts ·it had issued; the other such
      asset is not goodwill or going concern value, but rather, is the value of
      its business organization in Cuba, its "going business" value.
      Equity in Insurance Contracts
         Claimant has submitted a detailed memorandum and supporting schedules
      prepared following a thorough analysis of its Cuban operations. Employing
      projections beginning January 1, 1960, the analysis projects profits for the
      years 1960 through 1975 based on claimant's issued insurance contracts.
      The resulting amounts each year are then discounted at the rate of 4'/r per
      annum to arrive at the values on October 24, 1960, the date of loss, which
      aggregate $1,498,847.00. These are in effect, reserves.
         Upon consideration of the entire record, the Commission finds that claim­
      ant's projections are fair and reasonable, except as to the year 1960, for
      which the Commission cannot agree as to the asserted discount rate. Inas­
      much as the date of loss was October 24, 1960, the Commission finds no
      valid basis for including 1960 in this computation. With respect to the
      discount rate, the Commission has held in other claims against Cuba in
      which projected amounts for future years were concerned that a 12o/o
      per annum discount rate is appropriate. (See Claims of Moa Bay Mining
      Company, et al., Claim Nos. CU-2619 and CU-2573.) The Commission finds
      that a discount rate of 12% per annum should be applied in this case. The
      Commission therefore finds that claimant's equity in the insurance contracts
      had the following aggregate value on October 24, 1960:
             Year                  Gross Equity                  Net Equity
             1961                  $ 211,075.00                  $188,459.79
              1962                    189,697.00                  151,225.31
              1963                    170,971.00                  121,693.74
              1964                    153,874.00                   97,789.70
             1965                     138,486.00                   78,580.70
             1966                     124,638.00                   63,145.47
             1967                     112,174.00                   50,741.80
             1968                     100,956.00                   40,774.41
              1969                     90,861.00                   32,765.39
             1970                      81,775.00                   26,329.34
             1971                      73,597.00                   21,157.37
              1972                     66,238.00                   17,001.64
              1973                     59,614.00                   13,661.98
             1974                      53,652.00                   10,978.27
              1975                     48,287.00                    8,821.84

                                  $1,675,895.00                 $923,126.75
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         Accordingly, the Commission finds that the aggregate value of claimant's
       contracts on October 24, 1960 was $923,126.75.
       Going Business Value
         Considering the fact that claimant had 30 trained agents in Cuba operat­
       ing through a well-developed business organization, the Commission finds
       that claimant's valuation of its "going business" value is fair and reason­
       able, particularly since the record shows that its investment in each of the
       agents was $10,875.00. The Commission therefore finds that claimant's
       organization in Cuba had a "going business" value of $187,941.00 on Octo­
       ber 24, 1960.
         Claimant's losses are summarized as follows:
             Item of Property                                  Date      of Loss                    Amount
       4'-h o/o Bonds, 1937-1977                             October     24, 1960                   14,200.34
       4% Bonds, 1953-1983                                   October     24, 1960               $1,457,000.00
       4% Bonds, 1950-1980                                   October     24, 1960                  182,280.00
       2'-h% U.S. Treasury Bonds                             October     24, 1960                    7,135.00
       Cuban Telephone Company Bonds                         August       6, 1960                  500,000.00
       Cuban Electric Company
          Mortgage Bonds                                     August       6,   1960                 508,472.22
       Financiera Nacional de Cuba                           August      17,   1960                  62,500.00
       Mortgages                                             October     14,   1960               5,471,399.16
       Bank Accounts                                         October     24,   1960                 406,551.98
       Agents' Balances                                      October     24,   1960                  10,251.98
       Receivables                                           October     24,   1960                   9,279.79
       Furniture and Fixtures                                October     24,   1960                   8,571.60
       Petty Cash                                            October     24,   1960                     150.00
       Equity in Insurance Contracts                         October     24,   1960                 923,126.75
       "Going Business"                                      October     24,   1960                 187,941.00

                                                                          Total                 $9,7 48,859.82
         The Commission reaffirms its conclusion that the taxes claimant owed to
       Cuba in the amount of $6,059.55 should be deducted from the losses that
       occurred· on October 24, 1960. Therefore, claimant's losses on October 24,
       1960 amounted to $3,200,428.89 ($3,206,488.44 minus $6,059.55).
         Claimant is also entitled to interest at the rate of 6% per annum from
       the respective dates of loss to the date of settlement, as follows:
                       FROM
             August    6, 1960 ............................................................ $1,008,472.22
             August    17, 1960 ..........................................................      62,500.00
             October   14, 1960 .......................................................... 5,471,399.16
             October   24, 1960 .......................................................... 3,200,428.89

                                  Total .................................................. $9,742,800.27
         Accordingly, the Certification of Loss in the Proposed Decision is set
       aside, the following Certification of Loss will be entered, and the remainder
       of the Proposed Decision as amended herein, is affirmed.

                                        CERTIFICATION OF LOSS
        The Commission certifies that PAN-AMERICAN LIFE INSURANCE
       COMPANY suffered a loss, as a result of actions of the Government of
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       Cuba within the scope of Title V of the International Claims Settlement
       Act of 1949, as amended, in the amount of Nine Million Seven Hundred
       Forty-Two Thousand Eight Hundred Dollars and Twenty-Seven Cents
       ($9,742,800.27) with interest at 6o/o per annum from the respective dates
       of loss to the date of settlement.
       Dated at Washington, D.C., July 6, 1971.


          IN THE MATTER OF THE CLAIM OF WARREN AND ARTHUR
                         SMADBECK, INC., ET AL.
                          Claim No. CU-2465-Decision No. CU-967
       Values of stock interests in nationalized Cuban corporations must be estab­
         lished as of the dates of loss. Evidence indicating values thereof several
         years prior to such dates of loss is inufficient to justify a Certification
         of Loss.
                                 AMENDED PROPOSED DECISION*

          Under date of January 17, 1968, the Commission issued a Proposed De­
       cision denying this claim for lack of proof. The claim had been filed
       originally by WARREN AND ARTHUR SMADBECK, INC. Subsequently,
       the original claimant submitted evidence in support of this claim, which
       establishes, inter alia, that its wholly-owned Florida subsidiary, ST. AU­
       GUSTINE SOUTH, INC., owned an interest in the property in question.
          Upon consideration of the new evidence in light of the entire record, it is
          ORDERED that ST. AUGUSTINE SOUTH, INC., hereafter referred
       to as ST. AUGUSTINE, be added as party claimant; and be it further
          ORDERED that the Proposed Decision be and it is herein amended.
          The record shows that WARREN AND ARTHUR SMADBECK, INC.,
       hereafter referred to as SMADBECK, was organized under the laws of
       New York, and that at all pertinent times more than 50o/o of SMADBECK'S
       outstanding capital stock was owned by nationals of the United States. An
       authorized officers of SMADBECK has certified under date of July 10,
       1969 that lOOo/o of SMADBECK'S outstanding capital stock was owned by
       nationals of the United States. The record further shows that ST. AUGUS­
       TINE was organized under the laws of Florida, and that at all pertinent
       times 100o/o of its outstanding capital stock was owned by SMADBECK.
       The Commission holds that SMADBECK and ST. AUGUSTINE are na­
       tionals of the United States within the meaning of Section 502(1) (B) of
       the Act, which defines the term "national of the United States" as a cor­
       poration or other legal entity which is organized under the laws of the
       United States, or of any State, the District of Columbia, or the Common­
       wealth of Puerto Rico, if natural persons who are citizens of the United
       States own, directly or indirectly, 50 per centum or more of the outstanding
       capital stock or other beneficial interest of such corporation or entity.
                                    PRESIDENTE CORPORATION

         SMADBECK asserts that it owned a 100o/o stock interest in Presidente
       Corporation, a Cuban corporation hereafter referred to as Presidente. In
         • This decision was entered as the Commission's Final Decision on April 14, 1971 after
       consideration of claimant's objections.
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       support thereof, SMADBECK has submitted copies of stock certificates and
       other evidence establishing that it owned 220 shares of preferred stock
       and 2,000 shares of common stock in Presidente. It is asserted that SMAD­
       BECK also owned 60 more shares of preferred stock in Presidente, but that
       the certificates for these additional 60 shares are not available. According
       to SMADBECK, Presidente's total outstanding capital stock consisted of
       280 shares of preferred stock and 2,000 shares of common stock.
          The record includes copies of a comparative balance sheet for Presidente
       as of March 31, 1957 and March 31, 1958 and supporting schedules (Exhibit
       MMM). SMADBECK states that no other financial statements or other
       ~vidence concerning the value of Presidente is available, all such records
       having been maintained in Cuba. With respect to President's outstanding
       capital stock, the comparative balance sheet shows only 2,000 shares of
       common stock. There is nothing in the record to indicate why the preferred
       stock does not appear in that balance sheet.
          The Commission finds it unnecessary to determine whether SMADBECK
       owned a 100% stock interest in Presidente since other factors are dispositive
       of this portion of the claim.
          On October 24, 1960, Cuba published in its Official Gazette Resolution 3
       pursuant to Law 851, which listed as nationalized the Presidente Corpora­
       tion. Since Presidente was organized under the laws of Cuba, it does not
       qualify as a corporate "national of the United States" within the meaning
       of Section 502(1) (B) of the Act, supra. In this type of situation, it has
       been held that an American stockholder is entitled to file a claim for the
       value of his ownership interest. (See Claim of Parke, Davis & Company,
       Claim No. CU-0180, 1967 FCSC Ann. Rep. 33.)
          The Act provides in Section 503 (a) that in making determinations with
       respect to the validity and amount of claims and value of properties, rights,
       or interests taken, the Commission shall take into account the basis of
       valuation most appropriate to the property and equitable to the claimant,
       including but not limited to fair market value, book value, going concern
       value, or cost of replacement.
          The question, in all cases, will be to determine the basis of valuation
       which, under the particular circumstances, is "most appropriate to the
       property and equitable to the claimant". This phraseology does not differ
       from the international legal standard that would normally prevail in the
       evaluation of nationalized property. It is designed to strengthen that
       standard by giving specific bases of valuation that the Commission shall
       consider.
         .As indica ted above, the only available evidence concerning the value of
       Presidente is its comparative balance sheet as of March 31, 1957 and
       March 31, 1958. That balance sheet shows that the net worth of Presidente,
       or the excess of its assets over its liabilities, as of March 31, 1957 was
       $36,015.25 and as of March 31, 1958 was $14,369.33, the Cuban peso being
       on a par with the United States dollar. If further appears from the sup­
       porting schedules accompanying the balance sheet that Presidente had a
       deficit as of April 1, 1956 in the amount of $62,082.41; that it earned a
       profit of $10,097.66 for the year ending March 31, 1957, leaving a net
       deficit of $51,984.75; and that it had a loss for the year ending March 31,
       1958 in the amount of $21,645.92, resulting in a deficit of $73,630.67 as of
       March 31, 1958. Inasmuch as its capital is shown as $88,000.00 in the
       comparative balance sheet, the net worth of Presidente as of March 31, 1958
       was $14,369.33.
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          SMADBECK asserts a claim in the amount of $14,000.00 for its stock
       interest in Presidente. It has submitted a copy of an extract from its
       records (Exhibit SSS) which indicates that SMADBECK's investment in
       preferred stock of Presidente was $11,000.00 as of December 31, 1959.
       SMADBECK has stated that its investment in Presidente was $14,000.00,
       including $3,000.00 "allotted to the common stock" of Presidente held by
       stockholders of SMADBECK and later assigned to SMADBECK.
          The Regulations of the Commission provide:
            The claimant shall be the moving party and shall have the burden of
            proof on all issues involved in the determination of his claim. (FCSC
            Reg., 45 C.F.R. §531.6(d) (Supp. 1967).)
          The Commission finds that while the amount of SMADBECK's investment
       in Presidente has some probative value, it is insufficient to establish the
       value of Presidente on October 24, 1960, the date of loss. The Commission
       finds that the comparative balance sheet for Presidente, indicating its value
       as of March 31, 1958, over 2% years prior to the date of loss, in likewise
       an insufficient basis for determining the value of a stock interest in Presi­
       dente on the date of loss.
          Accordingly, it is concluded that SMADBECK has failed to meet the
       burden of proof with respect to the portion of its claim for a stock interest
       in Presidente. This portion of its claim is, therefore, denied.
                                  GULFVIEW HOTEL,    S.A.
         SMADBECK asserts that it owned a 100% stock interest in Gulfview
       Hotel, S.A., a Cuban corporation also known as Hotel Vista del Golfo, S.A.,
       hereafter referred to as Gulfview. It has submitted copies of stock certifi­
       cates and other evidence establishing ownership of 490 shares out of a
       total of 670 shares of outstanding capital stock of Gulfview. SMADBECK
       states that it is unable to locate the other 180 shares of stock.
         Here again, the Commission finds it unnecessary to determine the extent
       of SMADBECK's stock interest in Gulfview.
         On the basis of the evidence of record, which indicates that Gulfview
       was affiliated with Presidente, the Commission finds that Gulfview was
       nationalized by the Government of Cuba on October 24, 1960.
         SMADBECK claims $19,333.34 as the value of its stock interest in Gulf­
       view on the basis of its investment in acquiring assignments of the shares
       of stock on December 31, 1959. The only evidence which SMADBECK has
       submitted in support of its asserted value of said stock interest is a copy
       of a balance sheet for Gulfview as of December 31, 1957 (Exhibit 000).
       That balance sheet shows that the net worth of Gulfview as of December
       31, 1957 was $33,747.91. It further appears that as of January 1, 1957,
       Gulfview had a deficit of $1,829.10 and earned a profit of $2,077.01 for
       1957, resulting in a surplus of $247.91 as of December 31, 1957.
         For the reasons stated with respect to the stock interest in Presidents,
       mutatis mutandis, the portion of SMADBECK's claim for a stock interest
       in Gulfview is denied.
                        NORTH SHORE REAL ESTATE CORPORATION

         SMADBECK asserts that it owned a 100% stock interest in North Shore
       Real Estate Corporation, a Cuban corporation hereafter referred as to
       North Shore. It has submitted copies of stock certificates and other evidence
       establishing ownership of 30 shares out of an asserted total of 40 shares
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       of outstanding capital stock of North Shore. SMADBECK states that it is
       unable to locate the stock certificates for the other 10 shares.
         For the reasons stated with respect to Presidente and Gulfview, no de­
       termination is being made as to the extent of SMADBECK's stock interest
       in North Shore.
         The Commission finds that North Shore, which was also associated with
       Presidente, was nationalized by the Government of Cuba on October 24, 1960.
          SMADBECK claims $42,400.00 ·as the value of its stock interest in North
       Shore based upon its investment in acquiring assignments of the Shares
       of stock on December 31, 1959.
         Inasmuch as the record contained neither a balance sheet for North Shore
       nor any other evidence upon which to determine the value of a stock in­
       terest in North Shore on the date of loss, the Commission suggested the
       submission of evidence in this respect. SMADBECK's response was that
       no evidence was available to establish the nature or value of North Shore's
       assets and liabilities. It submitted a copy of an extract from its books and
       records (Exhibit SSS), showing that its im·estment in North Shore as of
       December 31, 1959 was $42,400.00. SMADBECK further stated that all
       records were left in Cuba, and that individuals with personal knowledge of
       the facts are now deceased or unavailable.
         For the reasons stated with respect to Presidente and Gulfview, the
       portion of SMADBECK's claim for a stock interest in North Shore is
       denied.
                              DEBT DUE FROM PRESIDENTE

          The Commission has held that debts of nationalized Cuban corporations
       are within the purview of Title V of the Act. (See Claim of Kramer, Marx,
       Greenlee and Backus, Claim No. CU-0105, 25 FCSC Semiann. Rep. 62
       [July-Dec. 1966].)
          SMADBECK asserts that it was owed a debt from Presidente in the
       amount of $13,760.00. The record includes a cancelled check in the amount of
       $3,000.00, drawn December 9, 1959, by ST. AUGUSTINE in favor of
       Presidente, and a bank statement establishing that ST. AUGUSTINE's
       bank account with a Cuban bank had been reduced by $3,000.00 (Exhibit
       SS).                                                                   .
          It is stated by SMADBECK that ST. AUGUSTINE was its agent for
       this purpose; that the balance of the amount claimed, $10,760.00, was repre­
       sented by funds in Cuba belonging to ST. AUGUSTINE; and that docu­
       ments corroborating these statements were left in Cuba. Subsequently,
       SMADBECK submitted a copy of an abstract from its books and records
        (Exhibit SSS). That extract shows that as of December 31, 1959 Presi­
       dente was indebted to SMADBECK in the amount of $8,000.00.
          On the basis of the entire record and in the absence of evidence to the
       contrary, the Commission finds that on October 24, 1960, the date of loss,
       Presidente was indebted to ST. AUGUSTINE in the amount of $3,000.00,
       and to SMADBECK in the amount of $8,000.00. The Commission concludes
       that claimants sustained losses in those amounts within the meaning of
       Title V of the Act.
                               DEBT DUE FROM GULFVIEW

         SMADBECK claims that Gulfview owed it $30,300.00. It states that the
       debt had been $13,000.00; had been reduced to $12,300.00, and that a
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      further loan of $18,000.00 to Gulfview had been made by its agent, ST.
      AUGUSTINE, on February 18, 1960. The record includes a cancelled check
      for $18,000.00, dated February 18, 1960, drawn by ST. AUGUSTINE in
      favor of Gulfview, and a bank statement establishing that ST. AUGUS­
      TINE's bank account with a Cuban bank had been reduced by $18,000.00
       (Exhibit TT). A copy of an extract from SMADBECK's books and records
       (Exhibit SSS) shows that as of December 31, 1959 Gulfview owed SMAD­
      BECK $12,300.00.
         Based upon the entire record and in the absence of evidence to the con­
      trary, the Commission finds that on October 24, 1960, the date of loss,
      Gulfview was indebted to ST. AUGUSTINE in the amount of $18,000.00,
      and to SMADBECK in the amount of $12,300.00. It is concluded that
      claimants sustained losses in those amounts.
                            DEBT DUE FROM NORTH SHORE

        SMADBECK claims that North Shore owed it $15,500.00. The record
      includes a copy of a note in Spanish and a translation thereof (Exhibits
      VV and WW), showing a debt due SMADBECK by North Shore in the
      amount of $15,500.00; several letters corroborating this debt (Exhibits
      YY, ZZ, AAA and BBB) ; and a copy of an extract from SMADBECK's
      books and records (Exhibit SSS) as further proof of the debt due from
      North Shore.
        On the basis of the foregoing evidence, the Commission finds that on
      October 24, 1960, the date of loss, North Shore was indebted to SMAD­
      BECK in the amount of $15,500.00. It is concluded that SMADBECK
      sustained a loss in that amount.
                                    REAL PROPERTY

        SMADBECK claims the loss of real property consisting of an apartment
      house in Havana, Cuba, which it values at $31,000.00 and certain other
      improved and unimproved property in Varadero Beach and Havana, Cuba,
      which it values at $70,600.00.
        The record includes an undated original memorandum prepared in
      Havana (Exhibit JJJ) and a letter, dated January 11, 1968 to a stock­
      holder of SMADBECK indicating that an officer of SMADBECK had
      loaned $31,000.00 to North Shore, apparently in April 1960, to enable
      North Shore to purchase certain real property in Cuba. It further appears
      that the $31,000.00, which was used to make that loan, belonged to ST.
      AUGUSTINE.
        On the basis of the entire record, the Commission finds that on Octo­
      ber 24, 1960, the date of loss, North Shore was indebted to ST. AUGUS­
      TINE in the amount of $31,000.00. It is concluded that ST. AUGUSTINE
      sustained a loss in that amount.
        With respect to the other claimed real property, SMADBECK states
      that it has been advised that it owned the following items of real property
      which cost $70,600.00:
          1. A swimming pool lot and house adjacent to the Presidente Hotel
             Hotel in Havana;
          2. An apartment house on Presidente Avenue diagonally across the
             street from the Presidente Hotel;
          3. A lot adjacent to the Havana Yacht Club;
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             4. A square block in Varadero Beach; and
             5. A parcel of land with 1,200 feet of frontage on the road which
                separates it from the Hotel International in Varadero Beach.
          However, there is no evidence in the record to corroborate ownership of
        the above real properties. SMADBECK states that all records concerning
        said properties were maintained in Cuba and are unavailable. Counsel's
        statement of January 22, 1970 indicates that the claimed real properties
        were held by Cuban subsidiaries, and that a former Cuban Ambassador
        to the United States, presently in Cuba, could attest to the acquisition
        thereof if he were available. It is noted that the extract from SMADBECK's
        books and records (Exhibit SSS), which shows its investments in Cuba as
        of December 31, 1959, fails to refer to said properties either as belonging
        to SMADBECK or in the form of a debt due from any Cuban corporation.
          Upon consideration of the entire record, the Commission finds that
        SMADBECK has failed to sustain the burden of proof which respect to
        the portion of the claim for the asserted loss of $70,600.00 based upon
        the above-described real properties. Accordingly, this portion of SMAD­
        BECK's claim is denied.
                                            CASH
          SMADBECK asserts the loss of cash in the aggregate amended amount
        of $46,007.26, representing a bank account with the Trust Company of
        Cuba in the amount of $22,650.61, and other funds in Cuba in the amount
        of $23,356.65.
          The record includes a bank book and a translation thereof (Exhibits CCC
        and DDD), establishing that ST. AUGUSTINE had a savings account with
        the Trust Company of Cuba with a balance in its favor of $15,148.32 as of
        December 9, 1959. It appears that the original deposit was $15,000.00, and
        that interest in the aggregate amount of $148.32 was added. SMADBECK
        has added interest at the rate of 5o/o compounded annually for the period
        December 1959 through March 31, 1968 to arrive at its claimed amount,
        $22,650.61. In counsel's statement of July 17, 1959, it is admitted that the
        claimed interest has been projected, and that there is no available evidence
        to establish that such interest had been added to the account.
          On the basis of the evidence of record, the Commission finds that all
        bank accounts belonging to either claimant, as found hereafter, were taken
        by the Government of Cuba on October 24, 1960.
          The Commission finds that the savings account at the Trust Company of
        Cuba belonged to ST. AUGUSTINE. The Commission further finds that ST.
        AUGUSTINE's savings account earned no interest after October 24, 1960,
        the date of loss, since the account then belonged to Cuba. Moreover, on the
        basis of the evidence presented, the Commission finds no basis for conclud­
        ing that the value of the savings account was increased by interest between
        December 9, 1959, the date of the last bank book entry, and the date of loss.
        A translation of the bank rules applicable to this account (Exhibit DDD)
        indicates that the bank reserved the right to pay or not pay any interest
        on this account. Accordingly, the Commission finds that the value of ST.
        AUGUSTINE's savings account on October 24, 1960 was $15,148.32.
          With respect to the claim for other funds in the amount of $23,356.65,
        SMADBECK states that one of its agents in Cuba had collected $13,009.32
        in monies belonging to ST. AUGUSTINE and had not deposited the funds
        in any bank. In addition, claim is made for two checking accounts at the
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       Trust Company of Cuba in amounts of $5,530.89 and $4,816.44, respectively.
          The evidence establishes and the Commission finds that ST. AUGUS­
       TINE owned a bank account with the Trust Company of Cuba, having
       a value of $5,530.89 as of August 31, 1960 (Exhibit EEE), and that
       SMADBECK owned a bank account with that bank, having a value of
       $4,816.44 (Exhibit FFF). The Commission finds that claimants sustained
       losses in those amounts on October 24, 1960.
         The record shows (Exhibit QQQ) that ST. AUGUSTINE's agent did
       collect monies in the amount of $13,009.32, which ST. AUGUSTINE re­
       corded on its records as an account receivable. It appears that the agent
      was unable to transfer the funds to ST. AUGUSTINE in the United States
       due to restrictions imposed by the Government of Cuba.
         The Government of Cuba, on September 29, 1959, published its Law 568,
      concerning foreign exchange. Thereafter the Cuban Government effectively
       precluded not only transfers of funds to creditors abroad, but also pay­
      ment to creditors within Cuba, by numerous, unreasonable and costly de­
      mands upon the consignees, who were thus deterred from complying with
      the demands of the Cuban Government. The Commission holds that Cuban
      Law 568 and the Cuban Government's implementation thereof, with respect
      to the rights of ST. AUGUSTINE, was not in reality a legitimate exercise
      of sovereign authority to regulate foreign exchange, but constituted an
      intervention by the Government of Cuba in the contractual rights of this
      claimant, which resulted in the taking of American-owned property within
      the meaning of Section 503 (a) of the Act. (See Claim of The Schwarzen­
      bach Huber Company, Claim No. CU-0019, 25 FCSC Semiann. Rep. 58
      [July-Dec. 1966], and Claim of Etna Pozzolana Corporation, Claim No.
      CU-0049, 1967 FCSC Ann. Rep. 46.)
         Accordingly, the Commission finds that ST. AUGUSTINE sustained a
      loss in the amount of $13,009.32 as a result of intervention by the Govern­
      ment of Cuba. In the absence of evidence to the contrary, the Commission
      finds that the loss occurred on November 30, 1961, 30 days after the last
      collections were made by ST. AUGUSTINE's agent as shown by cor­
      respondence from the agent (Exhibit QQQ).
                                    RECAPITULATION

        Claimants' losses within the meaning of Title V of the Act are sum­
      marized as follows:
          Item of Property               Date of Loss                  Amount
                                     SMADBECK
      Debt due   from Presidente       October   24,   1960           $ 8,000.00
      Debt due   from Gulfview         October   24,   1960            12,300.00
      Debt due   from North Shore      October   24,   1960            15,500.00
      Checking   account               October   24,   1960             4,816.44

                                                 Total                $40,616.44
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                                               ST. AUGUSTINE
        Debt due from Presidente                       October        24,    1.960                       $ 3,000.00
        Debt due from Gulfview                         October        24,    1960                         18,000.00
        Debt due from North Shore                      October        24,    1960                         31,000.00
        Savings account                                October        24,    1960                         15,148.32
        Checking account                               October        24,    1960                          5,530.89
        Debt due from Cuban agent                    November         30,    1961                         13,009.32
                                                                    Total                                $85,688.53

           The Commission has decided that in certification of losses on claims de­
        termined pursuant to Title V of the International Claims Settlement Act of
        1949, as amended, interest should be included at the rate of 6o/o per annum
        from the date of loss to the date of settlement (see Claim of Lisle Corpora­
        tion, Claim No. CU-0644), and in this case it is so ordered as follows:
                    FROM                                                                            ON
                                                    SMADBECK
              October 24, 1960                                                                    $40,616.44

                                                ST. AUGUSTINE
              October 24, 1960 ........................................................... .      $72,679.21
              November 30, 1961 ....................................................... .          13,009.32
                                                      Total ................................. .   $85,688.53


                                             CERTIFICATION OF LOSS

          The Commission certifies that WARREN AND ARTHUR SMADBECK,
        INC. suffered a loss, as a result of actions of the Government of Cuba,
        within the scope of Title V of the International Claims Settlement Act of
        1949, as amended in the amount of Forty Thousand Six Hundred Sixteen
        Dollars and Forty-four Cents ($40,616.44) with interest at 6% per annum
        from October 24, 1960 to the date of settlement; and
          The Commission certifies that ST. AUGUSTINE SOUTH, INC. suffered
        a loss, as a result of actions of the Government of Cuba, within the scope
        of Title V of the International Claims Settlement Act of 1949, as amended,
        in the amount of Eighty-five Thousand Six Hundred Eighty-eight Dollars
        and Fifty-three Cents (85,688.53) with interest at 6% per annum on
        $72,679.21 from October 24, 1960, and on $13,009.32 from November 30,
        1961, to the date of settlement.
        Dated at Washington, D.C., April 22, 1970.

          IN THE MATTER OF THE CLAIM OF THE COCA-COLA COMPANY
                            Claim No. CU-1743-Decision No. CU-6818
        The value of an enterprise ma.nufacturing a unique product which produced
          substantial profits may be determined by augmenting the value of its
          physical assets by an amount resulting from capitalizing its average
          annual net earnings.
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                                  FINAL DECISION

        The Commission issued its Proposed Decision in this matter on Septem­
      ber 22, 1971 certifying a loss to the claimant in the total amount of
      $17,597,295.16, as follows:

          On October 24, 1960          Land                          $ 2,265,881.00
                                       Buildings                       5,351,681.00
                                       Machinery & Equipment           2,148,774.24
                                       Automotive Vehicles               302,313.82
                                       Coolers & Dispensers              186,557.20
                                       Containers                      2,005,000.00
                                       Furniture & Fixtures              131,696.37
                                       Inventories                       428,753.55
                                       Accounts Receivable               731,083.58
                                       Bank Accounts & Cash              981,912.84
                                       Added Value                     3,500,000.00

                                                                     $18,033,653.60
                                                Less Taxes               485,911.96

                                       Total                         $17,547,741.64

          On Janua ry 30, 1961         Thomas Assignment                  30,815.05
          On Febru ary 13, 1961        Berenguer Assignment               18,738.47

                                                Total Loss           $17,597,295.16

        Claimant objected to several of the findings of the Commission and sub­
      mitted further supporting evidence with respect thereto. Upon consideration
      of the entire record, the Commission now makes the following findings.
                                  AUTOMOTIVE VEHICLES

        In arriving at the value of this equipment, the Commission had considered
      the contention that the vehicles listed with values aggregating $592,700.93
      comprised approximately one-half the value of the equipment lost. However,
      the Commission relied on purchases for years 1956, 1957, 1958 and 1959, as
      shown by financial statements submitted, depreciated these at the customary
      rate of 15'/<: a year and added the 1960 purchases. Claimant contends, how­
      ever, that this method is not suitable for the type of vehicles under consid­
      eration, for evaluating the loss as of 1960.
         As claimant points out, by 1960, the Cuban Government had imposed re­
      strictions prohibiting the importation of vehicles, and as a result its then
      subsidiary Cia. Embotelladora Coca Cola, S.A., could not purchase, at any
      price, the needed vehicles, other than several route trucks acquired locally.
      Moreover, trucks such as those built for the purpose of transporting cases
      of Coca Cola are seen to have a useful life of many more years than ordinary
      vehicles.
         The Commission now finds that in fact claimant possessed in Cuba more
      vehicles than those specifically listed in its available records, and further
      that the value of these on the date of loss was $1,197,809, as contended by
      the claimant's officers and as supported by the record.
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                                        CONTAINERS

          Claimant had originally asserted claim for 2,000,000 containers (one
       wooden case and 24 bottles) at a value of $4.01 each for a total of $8,020,000.
       In its Proposed Decision the Commission found that claimant had in Cuba
       500,000 containers and valued these at $2,005,000.
          Claimant refers to statements of Mr. David E. Berenguer, former general
       manager at Camaguey and Havana, who concludes that the figure found is
       erroneous and adheres to his original estimate of 2,000,000 containers; and
       to the statement of Mr. Miguel B. Macias, an expert on bottling require­
       ments, now manager of the engineering department of The Coca-Cola Export
       Corporation, and former manager of the engineering department of Embo­
       telladora in 1960, who after careful analysis has concluded that the minimum
       requirements for Cuba in 1960 were 1,806,000 containers. Claimant points
       out that the cost of $4.01 for containers represents $3.41 as a current oper­
       ating expense, and $0.60 as a capital expense. Using the balance sheet (for
       September 30, 1960) figure of $478,015.11 for containers, the claimant finds
       this may represent 796,691 containers.
          Claimant points out, however, that considering the containers owned by
       Embotelladora on the date of loss were scattered in the hands of whole­
       salers, retailers, customers and in trucks, bottling plants, warehouses, and
       so forth, over an area of 44,218 square miles, Embotelladora could not as­
       certain exactly how many containers it owned. Accordingly, claimant now
       contends that it would be appropriate to use the average of the above three
       figures, finding 1,534,230 containers, of a value of $4.01 each.
          The Commission finds this method fair and reasonable and finds that
       claimant suffered a Joss of $6,152,262 with respect to the containers.
                                BANK AccouNTS AND CASH

          In this connection the Commission found that a total of $981,912.84 had
       been lost to the claimant in bank accounts and cash. This did not include a
       Royal Bank account entitled "West Indies Region" in the amount of $6,529.82,
       as the record did not establish that this was taken by the Government of
       Cuba. However, claimant has now established that the latter sum was in
       fact on deposit in Cuba in the Royal Bank of Canada, and was taken by the
       Government of Cuba. Accordingly, the Commission now finds that claimant's
       total loss in this connection was $988,442.66.
                                  GOING BUSINESS VALUE

         The claimant originally asserted a loss in the amount of $17,807,042 for
       the value of its business over and above the value of its tangible assets.
       This has been discussed in the Proposed Decision. The Commission found
       the going concern value, on the basis of demonstrated earnings to investment
       to be minimal, and concluded that claimant suffered a loss in the amount
       of $3,500,000 over and above the value of its physical assets.
         Claimant contends that the figure is wholly inequitable, pointing to the
       uniqueness of the drink "Coca-Cola" which is based on a secret formula, with
       a trademark registered worldwide. Claimant also points out that advertising
       expenses for the years 1956 through 1960 (projected) averaged $3,906,319
       -exceeding the value added by the Commission for its going business.
         Further, it appears that sales of Coca-Cola in Cuba, from the outset of
       operations, were highly profitable. The sales for 1956 through 1960 (pro­
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       jected) amounted to an annual average of $7,336,889 and represented an
       annual increase of almost 20 per cent.
          Claimant has also submitted figures for June 15, 1972, reflecting that
       stock market prices versus 1971 earnings showed price earnings for other
       soft-drink industries (Dr. Pepper, Coca-Cola, 7-Up, Royal Crown Cola, and
       Pepsi Cola) as averaging 42.6; and asserts that if this average were mul­
       tiplied by Embotelladora profits for 1959, the last full year of normal
       operation, of $1,026,394, the market value would amount to $43,724,384.
          The Commission is not persuaded that the above methods appropriately
       evaluate the going business above the physical assets. However, upon re­
       examination of the entire record in this respect and considering the net
       profits for 1958 (the last year before the Castro take-over) of $607,405;
       for 1959 (the last year of full operation) of $1,026,394; and for 1960 (an­
       nualized) of $840,994.66, which average $824,931.22, holds that multiplying
       this figure by 10 to $8,249,312.20 is an app1·opriate reflection of the value
       of the business over and above the physical assets. This is slightly more
       than one-third the value of the tangible asset figure (as revised) and the
       Commission holds that this is fair and reasonable.
                                      UNPAID TAXES

         In its Proposed Decision, the Commission held that taxes due the Cuban
      Government must be deducted from the certifiable amount, under the prin­
      ciple of set-off, and found this amount to be $485,911.96. However, the
      claimant has since submitted evidence establishing that of this amount
      $130,344.68 was set up on the books of the Cuban branch as "Income Tax
      Accruals Due the United States" and the balance of $355,567.29 represented
      taxes due the Cuban Government. Accordingly, the Commission now holds
      that only the amount of $355,567.29 should be deducted from the amount
      certifiable to the claimant.
                                        SuMMARY

         The claimant's losses are restated as follows:
           On October 24, 1960          Land                           $2,265,881.00
                                        Buildings                       5,351,681.00
                                        Machinery & Equipment           2,148,774.24
                                        Automotive Vehicles             1,197,809.00
                                        Coolers & Dispensers              186,557.20
                                        Containers                      6,152,262.00
                                        Furniture & Fixtures              131,696.37
                                        Inventories                       428,753.55
                                        Accounts Receivable               731,083.58
                                        Bank Accounts & Cash              988,442.66
                                        Going Business Value            8,249,312.20

                                                                     $27,832,252.80
                                             Less Cuban Taxes            355,5.67.29

                                        Total                        $27,4 76,685.51
           On January 30, 1961          Thomas Assignment                  30,815.05
           On February 13, 1961         Berenguer Assignment               18,738.47

                                            Total Loss               $27,526,239.03
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          The Commission affirms its holding that interest shall be included in the
        Certification of Loss from the dates of loss to the date of settlement, as
        follows:
                      FROM                                                                   ON
                October 24, 1960 ..................................................... . $27,4 76,685.51
                January 30, 1961 ..................................................... .       30,815.05
                February 13, 1961 ................................................... .        18,738.47

                                                                                     $27,526,239.03
           Accordingly, the Certification of Loss in the Proposed Decision is set
        aside, the following Certification of Loss will be entered, and the Proposed
        Decision is affirmed in all other respects.
                                            CERTIFICATION OF LOSS

           The Commission certifies that THE COCA-COLA COMPANY suffered a
        loss, and succeeded to losses as a result of actions of the Government of
        Cuba, within the scope of Title V of the International Claims Settlement
        Act of 1949, as amended, in the amount of Twenty-Seven Million Five Hun­
        dred Twenty-Six Thousand Two Hundred Thirty-Nine Dollars and Three
        Cents ($27,526,239.03) with interest at 6% per annum from the respective
        dates of loss to the date of settlement.
        Dated at Washington, D.C., .June 30, 1972.
                                               PROPOSED DECISION

          This claim against the Government of Cuba, under Title V of ,the Inter­
        national Claims Settlement Act of 1949, as amended, in the amended amount
        of $41,037,460.00, was presented by THE COCA-COLA COMPANY based
        upon asserted losses of its assets in Cuba, going concern value, and assign­
        ments of claims of certain employees.
          Under Title V of the International Claims Settlement Act of 1949 [78
        Stat. 1110 (1964), 22 U.S.C. §§ 1643-1643k), as amended, 79 Stat. 988
        (1965)], the Commission is given jurisdiction over claims of nationals of the
        United States against the Government of Cuba. Section 503 (a) of the Act
        provides that the Commission shall receive and determine inaccordance with
        applicable substantive law, including international law, the amount and
        validity of claims by nationals of the United States against the Govern­
        ment of Cuba arising since January 1, 1959 for
              losses resulting from the nationalization, expropriation, intervention or
              other taking of, or special measures directed against, property including
              any rights or interests therein owned wholly or partially, directly or
              indirectly at the time by nationals of the United States.
          Section 502 ( 3) of the Act provides:
              The term 'property' means ny property, right, or interest including any
              leasehold interest, and debts owed by the Government of Cuba or by
              enterprises which have been nationalized, expropriated, intervened, or
              taken by the Government of Cuba and debts which are a charge on
              property which has been nationalized, expropriated, intervened, or taken
              by the Government of Cuba.
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          Section 502(1) (B) of the Act defines the term "national of the United
        States" as a corporation or other legal entity which is organized under the
        laws of the United States, or of any State, the District of Columbia, or the
        Commonwealth of Puerto Rico, if natural persons who are citizens of the
        United States own, directly or indirectly, 50 per centum or more of the
       outstanding capital stock or other beneficial interest of such corporation or
       entity.
          The record shows that claimant was organized under the laws of Delaware
       and that at all pertinent times more than 50% of its outstanding capital
       stock was owned by nationals of the United States. An officer of claimant
       has stated that as of September 14, 1960 .2647% of claimant's outstanding
       capital stock was held by non-residents of the United States; and on April
       18, 1967 .327'7c of its stock was held by non-residents of the United States.
       The Commission holds that claimant is a national of the United States within
       the meaning of Section 502 ( 1) (B) of the Act.
          The Commission finds on the basis of the evidence of record that claimant
       had owned a 100'7c stock interest in Cia. Embotelladora Coca Cola, S.A., a
       Delaware corporation, doing business in Cuba, hereafter referred to as
       Embotelladora. On August 19, 1960 a plan of liquidation of Embotelladora
       was adopted which transferred all properties of Embotelladora to the parent,
       which assumed all liabilities of the subsidiary. Embotelladora was dissolved
       August 22, 1960.
          The record includes a report of Embotelladora to the United States Em­
       bassy as of June 29, 1960; schedules describing real property; a document
       transferring realty from Embotelladora to claimant; reports from sources
       abroad, photographs and drawings; schedules of personality; affidavits of
       officers and professional employees of claimant and the former subsidiary.
       On the basis of the entire record, the Commission finds that on October 24,
       1960, claimant owned in Cuba certain real and personal property further
       described below.
          On October 24, 1960 the Cuban Government published its Resolution 3
       (pursuant to Law 851) listing Embotelladora as nationalized. Accordingly,
       the Commission finds that the properties of the claimant in Cuba were
       effectively nationalized or otherwise taken by the Government of Cuba on
       that date.
          The record reflects that on June 29, 1960, Embotelladora reported the
       value of its assets to the American Embassy as follows:
           Land -----------------·-·······--·--·····-------·-······················----------···---­   $      515,915.29
           Buildings ······························--····----··········----------·-·············-          2,030,240.44
           Machinery & Equipment -----······························-············                          1, 763,642.79
           Motor Vehicles -·-··------·-························-···········-················                  598,906.61
           Coolers --·-------·-·······-··--·-·-·---------··········································           186,054.48
           Building under Construction in Holguin ................... .                                        37,460.00
           Containers ·---·-------------·-----··········-·····················--··········------             459,305.92
           Furniture & Fixtures ··································-····-····--------                         214,937.04

                                                                                                       $5,806,462.57
           Inventories (including cooling equipment) ··-----·--------                                   1,000,000.00
           Bank accounts ................................................................. .              350,000.00

                                                                                                       $7,156,462.57
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         The above values were stated to be as of May 31, 1960. Subsequent to
       the expropriation of October 24, 1960, Mr. Robert J. Thompson, former
       Vice President of Embotelladora, addressed a letter of protest to the Presi­
       dent of the Republic, which letter set forth the values in Cuban pesos (which
       are on a par with the United States dollar) of certain items which, as Mr.
       Thompson states in his affidavit of October 10, 1968, are as remembered by
       him. The letter, a copy of which is of record, states, in pertinent part, that
       as of that day the assets which the Company had throughout the Republic
       were as follows:
                                                                                                         Pesos
           Bank deposits -------------------------------------------------------------------- $ 992,847.93
           Accounts receivable --------------------------------------------------------                 731,083.58
           Sugar ---------------------------------------------------------------------------------­      34,640.69
           Ingredients ------------------------------------------------------------------------          79,112.63
           Syrup, concentrate and bottled product ----------------------                                 26,302.64
           Coolers --------------------------------------------------------------------------------      91,335.33
           Miscellaneous (including all kinds of spare parts) ___ _                                     288,697.59
           Prepaid expenses _________ ----------------------------------------------------               19,757.64
           Miscellaneous accounts receivable --------------------------------                            87,897.78
           Land --------------------------------------------:·--------------------------------------­   515,915.29
           Buildings ----------------------------------------------------------------------------     2,088,082.42
           Machinery & equipment --------------------------------------------------                   2,635,752.42
           Coolel·s on loan __ ------------------------------------------------------------­            186,557.20
           Containers -------------------------------------------··------·---------------------­        478,015.11

                                                                                          $8,255,998.25
         The claim as filed by claimant's letter of April 18, 1967 was for $38,860,­
       972.86. By letter of November 20, 1968, claimant reduced its claim for realty
       by $100,000 for 10,000 square meters of land in Holguin as to which title
       had not been perfected, and increased the claim by $2,239,027.14 stating it
       had been ascertained by study and analysis of books and records that the
       property was worth more in October, 1960, than originally claimed.
         By letter of December 24, 1968 claimant increased its claim by $37,460.00
       for expenses in connection with a proposed purchase of land in Holguin.
         Claimant now describes its losses in a statement of November 11, 1968
       as follows:
             1. Real Property --------·-------------------------·----------------------- $ 2,265,881.00
             2. Buildings and other improvements ----------------------                       5,351,681.00
             3. Machinery & _Equipment ----------------------------------------               2,230,000.00
             4. Automotive Vehicles ----------------------------------------------            1,197,809.00
             5. Coolers and Dispensing Equipment --------------------                         1,197,000.00
             6. Containers ----------------------------------------------------------------   8,020,000.00
             7. Furniture & Fixtures -----------------·--------------------------               326,604.00
             8. Inventories --------·-------------------------------------------------------    720,098.00
             9. Accounts Receivable -----------------------------------------·----              827,280.00
            10. Bank accounts and cash. on hand ------------------------                        988,442.00
            11. Assignment of Claims of three employees _______ _                                68,163.00
            12. Extraordinary Expense (Holguin) ----·--------------­                             37,460.00
            13. Value of Business as a Going Concern, Good
                   Will, Trademarks, Formulas, etc. --------------------                     17,807,042.00

                                                                                        $41,037,460.00
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          The Act provides in Section 503 (a) that in making determinations with
       respect to the validity and amount of claims and value of properties, rights,
       or interests taken, the Commission shall take into account the basis of
       valuation most appropriate to the property and equitable to the claimant,
       including but not limited to fair market value, book value, going concern
       value, or cost of replacement.
          The question, in all cases, will be to determine the basis of valuation
       which, under the particular circumstances, is "most appropriate to the
       property and equitable to the claimant." This phraseology does not differ
       from the international legal standard that would normally prevail in the
       evaluation of nationalized property. It is designed to strengthen that
       standard by giving specific bases of valuation that the Commission shall
       consider.
          The items of claim, evidence submitted in support, and the Commission's
       findings in respect thereto, are set out below.
                                                  1. Real Estate
       1. Land at Alejandro Ramirez 66, City of Havana,
               3,755 square meters --------···--···········-------·····-········------·······   $ 342,870.00
       2. Land at Santa Catalina 930, City of Havana,
               19,615 square meters ··········-··-·····-----·-··-·············--············     1,078,825.00
       3. Land at 6-8 Paseo de Marti, City of Santiago de Cuba,
               Oriente, 1,275 square meters .................................. :.......           146,940.00
       4. Land at Carretera a! Acueducto, Avenida Marta,
               City of Santa Clara, 6,705 square meters ..................                        146,300.00
       5. Land at Carretera Central, City of Artemisa,
               Pinar del Rio, 12,000 square meters ..............................                 330,000.00
       6. Land at Carretera Central Este y Ave. B,
               City of Camaguey, 10,043 square meters ......................                      220,946.00

                                                                                                $2,265,881.00
         The land in 1 above is in three parts. Two parts were acquired by claimant
       in 1920 for $82,000.00 including improvements and were transferred to
       Embotelladora in 1943; the third part was acquired by Embotelladora in
       1950 at a price of $24,500.00 including improvements.
         Item 2 above was acquired on June 12, 1956 at a purchase price of
       $374,262.00, Cuban currency, from the estate known as Calzada de Palatino.
         Item 3 above was acquired by claimant in 1921 for $48,000.00 and trans­
       ferred to Embotelladora in 1943.
         Item 4 above was acquired by Embotelladora in 1947 for $20,955.37, and
       was part of a larger property named "Progreso", formerly known as
       "Esperanza."
         Item 5 above was acquired by Embotelladora in 1948 for $9,505.16 and was
       originally part of a former coffee plantation "Esperanza."
         Item 6 above was acquired by Embotelladora in 1955, having been origi­
       nally part of a property know as "Santa Mariana de Jayama" and later
       "La Perla de J ayama." It appears to have been acquired for the sum of
       $29,017.43.
         Claimant has submitted a 1960 affidavit by officers of the now dissolved
       Cia. Embotelladora Cpca Cola, S.A., concerning the transfer of the land to
       claimant and describing it in detail. Additionally claimant has submitted an
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       affidavit executed on September 3, 1968 by Amadeo Lopez Castro, an engineer
       and surveyor who taught for over 30 years at the University of Havana
       the art and science of real estate appraisal and evaluation. He was also a
       former Cabinet Minister having held, inter alia, the positions of President
       of the National Industrial Commission, and Minister of Agriculture. The
       affidavit discusses each item of real property and the affiant ascribes the
       aforesaid fair market values to them, on the basis of his experience.
          The Commission is aware of the appreciation in value of land, such as
       described, subsequent to these purchase dates and on the basis of the record
       and other information available as to values of property in Cuba, finds that
       the aforesaid real properties had the asserted values, aggregating $2,265,­
       881.00, at the time of loss.
                                   2.   Building.~    and Other Improvements
       1.   Office and warehouse building at Alejandro Ramirez 66,
               Havana, and resident building adjacent, known as
               San Francisco 39 ............................................................... .   $     314,312.00
       2.   Bottling plant and general office building at
               Santa Catalina 930, Havana ..............................................                 2,327,030.00
       3.   Bottling plant and office building at
            6-8 Paseo de Marti, S;mtiago de Cuba ..............................                           157,211.00
       4.   Bottling plant building at Carretera at
               Acueducto, A venida Marta, Santa Clara ........................                           1,241,234.00
       5.   Bottling plant building at Carretera Central, Artemisa.. ..                                    638,129.00
       6.   Bottling plant building at Carretera Central
               Este y Ave. B, Camaguey ..................................................                 673,765.00

                                                                                                        $5,351,681.00
          In support of the asserted evaluations of the improvements claimant has
       submitted affidavits of Miguel B. Macias, a mechanical engineer and former
       Manager of the Engineering Department of Embotelladora, and of claimant
       in Havana, whose duties included construction, erection, maintenance and
       supervision of buildings, plants, warehouses, bottling machinery, and auxil­
       iary and automotive equipment of all kinds. These affidavits, in detail, were
       based on his knowledge, old drawings and photographs, and are supported
       by copies of construction plans and photographs. These affidavits are sup­
       ported by those of Mr. Lopez Castro, David E. Berenguer, former Manager
       of claimant's Camaguey and Havana plants, and Robert J. Thompson, chief
       financial officer of Embotelladora, who concur in the opinions of Mr. Macias.
          The buildings are generally described as follows:
       Item 1 ( a)-Alejandro Ramirez 66, Havana
         A 2-story building on two lots, the ground floor used as a bottling room
       with auxiliary facilities such as washrooms, carpentry shops, machine shop
       and superintendent's office; the second floor having been devoted originally
       in one-half part to general office space and one-half was used for a soft
       drink syrup manufacturing plant and sugar warehouse.
         Item 1 (b) a one-story steel warehouse fronting on Calle San Francisco,
       built in 1953 and used as a soft drink bottling plant.
         Mr. Macias points out that an old drawing of 1922 shows a plant building
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       and auxiliary buildings, but that at the time of seizure two buildings
       covered the entire property. He further states that after construction in
       1958 of the plant at Santa Catalina 930 (Item 2), machinery and equipment
       were removed from the Alejandro Ramirez building and it was thereafter
       used for warehousing. Mr. Macias further states as of January 14, 1970
       that their improvements were appraised at a fair market value in October
       1960 of $314,312.
       Item 2-Santa Catalina 930, Havana
         An office building, a syrup manufacturing and bottling facility and
       garages, constructed in 1957 consisting of ( 1) a 2-story concrete office
       building, with a basement for industrial purposes and an underground
       storage tank of 1,050 cubic meters; (2) a concrete structure with ventilated
       roof having ground floor used as a bottling facility and related activities, a
       mezzanine used for a syrup manufacturing plant and similar activities, and
       a basement used as a garage machine shop; (3) a one-story concrete struc­
       ture used as a paint shop; ( 4) two buildings of shed-type construction
       used for parking trucks under cover; ( 5) fencing around entire tract of
       cyclone-type heavy wire mesh.
       Item 3-6-8   Pa.~eo   de Ma1·ti, Santiago de Cuba
          A two-story reinforced concrete building, of irregular shape apparently
       built about 1947: Ground floor utilized for bottling room, superintendent's
       office, refrigeration compressor area, spare parts department, C02 gas area,
       stockroom; first floor utilized for concentrate manufacture, sugar storage,
       advertising material storage, general storage and conference room; mez­
       zanine floor where offices were situated.
          Two shed-type annex buildings of reinforced concrete used for truck load­
       ing, boiler room, machine shop and carpentry shop.
       Item 4-Santa Clam plant
         Two joined buildings constructed in 1948 as a facility for manufacturing
       soft drink syrups and beverages: One concrete building of three floors
       housing bottling facilities, offices, storage areas, manufacturing area, trans­
       former room; one-story steel structure housing warehousing facilities, com­
       pressor room, boiler room, checker's office, loading area.
       Item 5-A 1·temisn Plnnt
         Two separate steel Quonset type buildings erected in 1953 for manufac­
       turing soft drink syrups and beverages and housing offices, manufacturing
       process, storage, and loading facilities.
       Item 6-Camaguey Plant
         Two buildings erected in 1955 for use as a soft drink bottling plant: Each
       a one-story, tile covered, steel structure, housing offices, manufacturing proc­
       ess, storage, and loading areas.
         Further in support of the asserted values for buildings and related im­
       provements claimant has submitted Affidavit No. 2 of Sr. Amadeo Lopez
       Castro, whose qualifications are set out above. In this affidavit, affiant states
       that he has examined the Macias affidavits and exhibits (being sketches or
       drawings) and gives his opinion that the buildings and related improve­
       ments (air conditioning, electrical installations and the like) had the fair
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       market values on the date of loss, as asserted by claimant; and further,
       that except for the improvements at Alejandro Ramirez 66, which was an
       older type of construction, the building and bottling plants, located on
       highly desirable first class industrial property, were of new and modern
       type construction of excellent quality. Moreover, the photographs submitted
       reflect the type of modern construction used.
         The computations by which claimant reached the exact and uneven figures
       asserted for each plant are not of record. Although requested by the Com­
       mission, they have not been adduced. Mr. Macias, in his affidavit of January
       14, 1970 reaffirms the appraisals of Mr. Amadeo Lopez Castro, as to the
       other improvements. Moreover, Mr. Lopez Castro, in his affidavit of January
       15, 1970, has reaffirmed his conclusion on the values of the improvements.
       The Commission finds that the entire record substantiates the asserted values
       and finds that the improvements had the values asserted, in an aggregate
       amount of $5,351,681, on the date of loss.
                                        3. Machinery and Equipment
          Claimant has asserted a value of $2,230,000.00 for machinery and equip­
       ment at all the locations of its operations in Cuba.
          The item in support of this valuation is an affidavit by Rafael C. Laredo,
       a chemical engineer, engaged in engineering, selling and servicing heavy
       equipment of all kinds used in connection with the preparing and packaging
       of carbonated soft drinks; and employed as a Sales Engineer. However,
       from 1953 to 1960 he was Vice President and General Manager of Liquid
       Carbonic Corporation of Cuba. During this time his employer supplied
       much of the equipment used by Embotelladora. His responsibilities included
       thorough familiarity with equipment used by claimant, regardless of origin.
         In his appraisal of the equipment, Mr. Laredo explains that the equip­
       ment necessary to properly prepare and bottle a carbonated beverage is
       known as a "bottling line.'; He gives his opinion as to the fair market value
       in October, 1960 of the equipment or bottling lines as follows:
             1.   Havana ................................................................. .   $1,200,000.00
             2.   Santiago ............................................................... .      240,000.00
             3.   Santa Clara ......................................................... .         325,000.00
             4.   Artemisa ............................................................... .      225,000.00
             5.   Camaguey ............................................................. .        240,000.00

                                                                                               $2,230,000.00
         Also submitted with respect to the value of claimant's machinery and
       equipment in Cuba is an affidavit of :\Iiguel B. :\facias, former :\Tanager of
       claimant's Engineering Department in Havana, previously mentioned.
         Mr. Macias has appended to his affidavit approximately 69 pages listing
       about 1,107 categories of items, with their accessories, each reciting the
       value he ascribes as the fair market value in October, 1960. These lists were
       compiled from records of Emhotelladora, transferred to claimant and neces­
       sarily incomplete. These values are summarized as follows:
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       1. (a). In General Offices, Havana ...................... .          $ 22,281.92
                 Cost of Installation ................................. .      4,456.38
          (b). Three bottling lines, Havana ................... .            910,890.13
                 Cost of Installation ................................. .    182,198.02   $1,119,826.45

       2. Two bottling lines, Santiago de Cuba ........... .                 201,663.24
               Cost of Installation ................................. .       40,332.64      241,995.88

       3. Two bottling lines, Santa Clara ..................... .            263,498.45
               Cost of Installation ................................. .       52,699.69      316,198.14

       4. Two bottling lines, Artemisa ........................... .         188,871.19
               Cost of Installation ................................. .       37,774.22      226,645.41

       5. Two bottline lines, Camaguey ......................... .           203,423.64
               Cost of Installation ................................. .       40,684.72      244,108.36

                                                                                          $2,148,77 4.24
          The Commission has considered all of the evidence of record and finds that
       the machinery and equipment had a value of $2,148,774.24 on the date of
       loss.
                                          4. Automotive Equipment
          In support of the asserted value of $1,197,809.00 for this item, claimant
       has submitted several affidavits. The affidavit of Mr. Macias, specifically,
       includes lists of vehicles at each plant, aggregating $592,700.93, which he
       declares as approximately one-half the value of the seized equipment. He
       gives it as his opinion that claimant lost in excess of 250 vehicles. The
       lists were compiled from original records of the claimant and may be sum­
       marized as follows:
                                                                       Vehicles
         1 (a). Havana General Office .......................... 15                       $ 43,325.83
           (b). Havana plant .......................................... 151                350,454.47
         2. Santiago plant .............................................. 27                72,360.97
         3. Santa Clara plant ........................................ 12                   29,203.67
         4. Artemisa plans .............................................. 21                66,707.78
         5. Camaguey plant ............................................ 10                  31,549.21

                                                                       236                $592,601.93
          The lists include vehicle models of the years 1941, 1946, 1948 and later
       with the values stated apparently being the original purchase prices. The
       balance sheet dated September 30, 1960 for Embotelladora lists the original
       cost of the autos and trucks, without depreciation, as $599,206.61. The rate
       of depreciation employed by claimant was 25% per annum, with the depre­
       ciated book value on December 31, 1959 appearing as $156,113.46 in the
       audited financial statement for 1959 listing of asset accounts (Annex 11E,
       Exhibit D). The unaudited September 30, 1960 statement does not list the
       assets with depreciation separately, only the total cost of the assets not
       previously written off. The ·undepreciated value shown in September, 1960
       of $599,206.61 included $94,295.61 added in the period between December 31,
       1959 and September 30, 1960. In his affidavit of January 16, 1970, Mr.
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       Thompson, the chief financial officer, stated that the amount of $599,206.61
       was after deduction of depreciation of 25% per annum. However a close
       examination of all the financial records reveals that the high figure is before
       depreciation. He also stated that new trucks costing more than $230,000.00
       were acquired during the year 1960 but were not included in the unaudited
       statement. Such an expenditure is not evident from the Profit and Loss
       Statement for the period ending on September 30, 1960 nor is this amount
       included in the sum which Mr. Thompson demanded from the Cuban Gov­
       ernment on October 26, 1960 as c~mpensation for the property seized (Ex­
       hibit 9, Annex llA).
         The Commission finds that a fair value for the automotive equipment may
       be determined by depreciating the purchases for the years 1956, 1957, 1958
       and 1959 at the rate of 15% per annum and adding such values to the
       amount paid out in 1960 and to the depreciated value of the equipment
       owned on December 31, 1955, as reflected in the financial statements for the
       years 1956-1960. The Commission concludes that the fair value of the
       auto and truck equipment as of October 24, 1960 was $302,313.82.
                           5. Coolers and Dispensing Equipment
         Claimant asserts a loss of $1,197,000.00 for coolers and dispensing. equip­
       ment at all of its plant locations in Cuba. In support thereof it has sub­
       mitted the affidavits of Andres Gomez, former manager of its Cooler
       Department in Cuba; Louis R. Rossell-Castelnau, the purchasing agent of
       Embotelladora; David E. Berenguer and Juan M. Diaz, formerly chief
       internal auditor of Embotelladora.
         This type of equipment was not manufactured in Cuba, being imported
       from the United States, and included the following:
                Coin controlled coolers
                Cup vending pre-mix machines
                Beverage tanks
                Fountain dispensers
                Open top refrigerator coolers, and spare parts.
        Mr. Gomez listed some of the equipment with their locations, for which he
       specified a value of $255,574.47, including 40% added for freight, insurance,
       duty, storage and handling charges. He set forth the specific equipment
       used in the Havana area having a value of $617,500.00 and asserted that
       additional equipment valued at 40% of this amount was necessary to serve
        the remainder of Cuba. Lastly, he stated a value of $332,500.00 for such
       equipment in storage. The other affidavits supported the statements of Mr.
       Gomez.
          The equipment does not include similar equipment which claimant or its
       Cuban predecessor sold on conditional sales agreements. Any balances due
       on such contracts are included in the Accounts Receivable discussed below.
          The financial statement for the period from December 31, 1955 to Septem­
       ber 30, 1960 do not reflect the purchases asserted. On December 31, 1955,
       the records indicate coolers having a book value of $8,112.64 on hand. In
       subsequent years the following additions were made: in 1956-$31,660.76,
       in 1957-$14,446.72, in 1958-$16,619.53, in 1959-$86,180.38, and in 1960
       -$12,062.91, for a total on hand of $169,082.94 without deduction for de­
       preciation for those items added after 1955. Because of the broad dis­
       crepancy between the affidavits and the financial statements, the Commission
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       holds that the balance sheet of September 30, 1960 is the most appropriate
       measure of the value of the Coolers and Dispensing Equipment.
         The Commission therefore finds that the value of this equipment on
       October 24, 1960 amounted to $186,557.20.
                                      6. Containers
          Claim is made in the amount of $8,020,000 for containers at all locations.
       Affidavits concerning this item of claim have been submitted from David
       E. Berenguer, Louis R. Rossell-Castelnau, Juan M. Diaz, all previously
       mentioned, as well as Jose Joaquin Mestre, a former self-employed Dis­
       tributor Agent of Embottelladora.
          Mr. Berenguer points out that claimant operated its soft drink business
       in Cuba on the "returnable bottle system" under which it did not sell and
       convey title to containers such as bottles and cases, but maintained owner­
       ship throughout transactions involving sale of contents. Purchasers were
       required to make a cash deposit against return of bottles and cases. As
       General Manager he observed that the Havana facility did approximately
       50% and Camaguey approximately 13% of the business and he was in­
       timately familiar with the details of that 63% of claimant's business; and
       knew that similar conditions prevailed in Artemisa, Santa Clara and
       Santiago, which plants contributed 37% of the claimant's business. The
       system of distribution in Havana, Artemisa and Santiago was by means
       of Company-owned route trucks operated by Company employees; and the
       system of distribution used at Santa Clara and Camaguey and rural commun­
       ities served by all plants was by means of independent distributors. Each
       such distributor maintained his own warehouse, route trucks and like equip­
       ment, and purchased beverages and made deposits on bottles and cases,
       delivering them from his warehouse to the retail dealers. Claimant sold
       goods to 137 such distributors who maintained 137 different warehouses
       with a stock of full and empty goods. It was not unusual for a distributor
       to have on hand several thousand cases each containing 24 bottles, either
       full, or empties to be returned against the deposit. The rural population
       purchased approximately 40% of claimant's good and it was accordingly
       necessary for the distributors to maintain an inventory of bottles and cases
       in excess of the requirements of the urban community served by the other
       system.
          According to Mr. Berenguer, in the year 1959, the Camaguey plant
       purchased 200,000 new cases to maintain an annual sale of 1,200,000 cases
       whereas Havana required only 200,000 to maintain annual sales of approxi­
       mately 6,000,000 cases. Mr. Berenguer is of the opinion that the claimant
       owned 2,000,000 cases of 24 bottles each on the date of expropriation,
       values at $4.01 per case.
           Mr. Rossell-Costelnau, former purchasing agent, familiar with the me­
       thods of distribution, points out that sales and delivery in Havana and
       other urban cities were generally made three times a week, and in rural
       interior cities once a week, and in most sparsely populated territories once
       in about every two or three weeks. This system required a considerable
       number of bottles and cases. It was his experience that the average case
       and 24 bottles disappeared after approximately twelve trips. In 1959, he
       states, claimant sold approximately 12.5 million cases in the Island and
       that an average 8.5% container loss was not excessive and was customarily
       expected.
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          Mr. Rossell-Castelnau has clarified the make-up of the unit price of
       $4.01 used by claimant as follows: Bottles were purchased from Owens­
       Illinois Glass Co., f.o.b. its plant at Havana, at a contract price of $2.33
       per unit of 24 bottles, stating that this price was an artificial one fixed
       at about equal to the United States f.o.b. price of similar unit bottles, plus
       a sum representing freight and related charges, from the United States
       to Havana; and was calculated to protect the Cuban glass industry.
       Wooden cases with 24 compartments were purchased under similar con­
       ditions from Parada, Hnos, f.o.b. Havana, at 1.17 each. Further, packag­
       ing, freight, handling and storage costs were approximately $.51 per case.
       He recites his opinion that the bottles and cases owned by claimant at
       date of seizure had a far market value of $4.01 each.
          Further, Mr. Rossell-Castelnau opines that claimant had title to more
       than 2,000,000 cases on October 25-26, 1960, some in its possession in new
       inventory, more in the "float" between dealers and bottling plants, and
       even more in the hands (under the deposit system) of its dealers and
       ultimate consumers.
          Under the claimant's accounting system, the initial cost of a case of
       bottles was written down when it was put into use, from $4.01 to 60 cents,
       representing a deposit of two cents for each bottle and twelve cents for
       the case. The difference of $3.41 was charged to expense of sale. The
       sixty-cent deposit was shown on the asset side of the balance sheet (under
       Property, Plant and Equipment--Containers) and the 60 cents owed the
       customer was shown on the liabiity side of the balance sheet (under the
       item Deposits on Containers).
          Juan M. Diaz, former Chief Internal Auditor for Cuban operations, in
       his affidavit also discusses the accounting practices of the claimants and
       concludes with his opinion that claimant owned 2,000,000 cases of bottles,
       worth not less than $4.01 per unit, which were expropriated.
          The affidavit of Jose Joaquin Mestre concerns his experiences as a dis­
       tributor of claimant's products. He engaged in his business at Moron,
       Camaguey, where he had an office and warehouse; and maintained sub­
       warehouses at Forencia and Chambas where he employed sub-agents, and
       warehouses in the commercial departments of Central Patria and Central
       Moron, which latter was the largest raw sugar mill in the world. He states
       that he sold an average of 110,000 cases of 24 bottles per year, estimating
       that all times he had on hand in his and the sub-agent's warehouses, and
       on trucks 25,550 cases full or empty. In addition he estimates that his
       dealers had an equal number of cases on hand or in the hands of customers.
       In his opinion the cases and bottles did not deteriorate or become less
       valuable with use. Bottles and cases were stated to disappear and- must
       be replaced periodically because of breakage and failure of the customer
       to return them.
          The financial statements, however, indicate that claimant had on hand
       in December 1955 containers valued at $547,192.81. Additional purchases
       of containers for the succeeding years were: for 1956-$381,455.53, 1957
       -$453,126.13, for 1958-$430,324.99, for 1959-$939,313.62, and for 1960
       -$102,778.94 for a total of $2,791,192.02. During the same period a total
       of $2,313,176.91 was written off, presumably when the containers were
       taken from storage and put in circulation and deposits of $.60 per case
       were received from customers.
          On the basis of the evidence of record, considering claimant's estimate
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       of the useful life of containers and the replacement purchases, the Com­
       mission finds that claimant had approximately 500,000 containers on hand
       for which a loss of $2,005,000.00 was suffered.
                                         7. Furniture and Fixtures
          Claimant has asserted a loss of $326,604.06 for the furniture, office
       fixtures and equipment at the following locations:
             Havana Home Office -------------------------------------------------­            $118,157.20
             Havana Bottling Plant ---------------------------------------------­              123,927.01
             Warehouse and Office -------------------------------------------------­            20,000.00
             Santiago de Cuba --------------------------------------------------------          23,629.73
             Santa Clara ------------------------------------------------------------------     18,609.70
             Artemisa                                                                           11,813.95
             Camaguey                                                                           10,466.47
                                                                                              $326,604.06
       The evidence in support of the claimed values consists of an affidavit of
       Juan M. Diaz and record cards listing each item, its cost and freight and
       tariffs paid if applicable. The affidavit of Mr. Diaz was accompanied by
       separate lists evaluating items of the equipment for the general offices and
       each bottling plant for which a separate record card had been filed. Mr.
       Diaz totalled the values for the items and added an additional 40% to
       cover the costs of freight, insurance, handling charges, duty and storage.
       The values listed for each item, however, are the same amounts as entered
       on the inventory cards for the total cost. The inventory cards indicate the
       source of the item, freight and duty paid, when applicable, and date of
       purchase or manufacture. A thorough review of the inventory cards reveals
       that most of the items were supplied by local dealers, and that freight and
       duty costs were included in the total costs. Mr. Diaz therefore has dupli­
       cated freight and duty costs in his extra allowance of 40% and the 40%
       includes freight and duty costs for those items purchased in Cuba for
       which such charges were not necessary. His appraisal is based also upon
       the original cost of the items and not on depreciated values although some
       items were ten, twenty and thirty years old. Accordingly, the Commission
       finds that the value as set forth in the asset listing for the financial state­
       ment of December 31, 1959 ($114,259.18) plus the added purchase for
       1960 ($17,437.19) are most equitable for the Furniture and Fixtures.
          On the basis of the entire record, the Commission finds that the value
       of the Furniture and Fixtures lost by claimant in Cuba on October 24,
       1960 was $131,696.37.
                                                       8. Inventories
         Claimant asserts a loss of $720,098.00 for its inventories of spare parts
       for machinery and other equipment, crowns, carbon dioxide, fuel, syrup
       and beverage ingredients, and other items necessary for the operation of a
       bottling business. The category does not include bottles, cases, coolers and
       other types of vending machines which were included in the headings
       "Coolers and Dispensing Equipment" and "Containers". Supporting the
       valuation are affidavits of Mr. Berenguer and Mr. Diaz which recite the
       fair market valuation as being $720,098.00 but no records have been sub­
       mitted in support thereof. Mr. Berenguer states "that the actual market
       value was considerably in excess of said amount for the reason that many
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      of the items carried in the inventory were of a class or kind not manu­
      factured in the Republic of Cuba and for which importation permits had
      been denied for more than one year prior to the seizure and that therefore
      it is difficult for him to estimate the fair market value of items of which
      he had an inventory and which were readily saleable to others needing
      such item but which he was unwilling to sell and thus deprive his Com­
      pany of the use of same."
         The financial statements for the years 1958, 1959 and up to September
      30 for the year 1960 record inventories as $435,768.25, $523,284.07 and
      $320,088.88. These inventories include cooler, dispensers and vending ma­
      chines for resale which are not included in Mr. Berenguer's calculation.
      In his demand on the Government of Cuba on October 26, 1960, Mr. Thomp­
      son included values for sugar, ingredients, syrup, concentrate and bottled
      product, and miscellaneous (including all kinds of spare parts) which
      totalled $428,753.55.
         On the basis of the entire record, the Commission finds that the most
      appropriate value for the inventories on October 24, 1960 is $428,753.55.
                                                9. Accounts Receivable
        Claimant now asserts $827,280.00 as its accounts receivable at the time
      of loss. In this connection it has submitted an affidavit of Juan M. Diaz,
      previously mentioned, who sets out that the enterprise's cash business
      represented about 60o/o of the approximate 14,000,000 case annual value of
      business, and credit for goods and container deposits about 40%.
        Attached to Mr. Diaz's affidavit are detailed lists of Accounts Receivable
      as of August 31, 1960 which were the last accounts receivable reports
      made prior to expropriation. These lists were made by the managers of the
      Artemisa, Santa Clara, Camaguey and Santiago de Cuba plants, and the
      Matanzas sub-warehouse. Claimant has not located any similar reports
      for the Havana plant and General Office in Havana. Mr. Diaz, however,
      avers that he knows the last consolidated sum of accounts receivable re­
      ported by the Havana General Office on September 30, 1960, which in­
      cluded the Havana accounts receivable, so that he believes he can estimate
      with reasonable accuracy the aggregate of accounts receivable owed to
      claimant on about September 30.
         The figures supplied by Mr. Diaz are as follows:
              Accounts Receivable at                                                                     Total
        Artemisa Plant
          Distributor Agents -----------·---·--·-------··---·---····-···-··              $ 17,351.79
          Local Trade Accounts -···-------·--·--··--··------------··-··                     4,500.84
          Schools --·---·-----··-·-·············---·--·-------------·----------------·        217.90
          Sampling ·----------·---······-··-----··-·······-·----------------··---··             2.40
          Compliments --·--··-·····--·---··················-·------------·----·-               72.96
          Coolers and Dispensing Equipment ····----·-··----                              $ 54,151.10

                                                                                         $ 76,296.99
             Adjustment-Add Salesman Debit ·-··-·········----                                 234.12   $ 76,531.11

        Matanzas (Sub-warehouse under Havana Plant)
         Coolers and Dispensing Equipment ··-···-···----·­                               $119,230.35
         Adjustment-Deduct Dealer Credit -·····---·-·----                                      41.58    119,188.77
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          Santa Clara Plant
            Distributor Agents ............................................. .           $ 72,232.72
            Local Trade Accounts ....................................... .                  1,234.46
            Sampling ............................................................... .        288.84
            Coolers and Dispensing Equipment ................. .                           46,864.67

                                                                                         $120,620.69
             Adjustment-Deduct Dealer Credit ............... .                                322.28   $120,298.41

          Camaguey Plant
            Distributor Agents ............................................. .           $ 64,728.06
            Local Trade Accounts ....................................... .                     18.00
            Sampling ............................................................... .        114.12
            Coolers and Dispensing Equipment ................. .                           98,832.74    163,692.92

          Santiago de Cuba Plant.
            Distributor Agents ···········'·································· $ 49,951.43
            Local Trade Accounts ....................................... .       2,297.18
            Coolers and Dispensing Equipment ................. .                24,024.14                76,272.75

                                                                                         Sub-total     $555,983.96
          Total Havana estimated from Management re­
            ports at September 30, 1960 ........................... .                                   175,099.62
          General Office Havana, estimated
            Miscellaneous Accounts Receivable at Sep­
              tember 30, 1960 ............................................... .                          96,196.76

                                                                                          Total        $827,280.34
           In his letter of October 26, 1960 to the Cuban Government, Mr. Thompson
        listed the assets of claimant in Cuba and the amount set out for Accounts
        Receivable was $731,083.58. The same figure was entered in the unaudited
        financial statement of September 30, 1960 for these accounts.
           The Commission finds that the most appropriate value of the Accounts
        Receivable is that in the September 30, 1960 financial statement and
        Mr. Thompson's letter and that claimant suffered a loss of $731,083.58 on
        October 24, 1960 for the Accounts Receivable.
                                           10. Cash and Bank Accounts
           Claimant asserts $988,442 as its loss in connection with cash and de­
        posits in banks in Cuba. Mr. Diaz has submitted an affidavit in this con­
        nection setting out the fact of his audit of claimant's books of accounts
        compiled by accountants under Mr. Noel Perez, the Controller. These in­
        cluded Mr. Juan Mir, now deceased, who made a daily cash report. His
        report for October 24, 1960 has been submitted. The bank deposits listed
        thereon and taken by the Government of Cuba on October 24, 1960 are as
        follows:
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       Acct. No.                         Bank                        Location                Amount
       101-1P-2035       The First National City                      Havana                $ 43,321.29
                             Bank (New York)
       101-1             The First National City                      Santiago                 5,858.20
                             Bank (New York)
       101-2             The Royal Bank of Canada                     Santa Clara                903.88
       101-3             The Bank of Nova Scotia                      Camaguey                 6,328.27
       102-1             The First National City                      Havana                  49,000.00
                             Bank (New York)
       102-1             The First National City                      Santiago                14,800.00
                             Bank (New York)
       102-2             The Royal Bank of Canada                     General Office         826,101.20
       102-2             The Royal Bank of Canada                     Santa Clara             14,750.00
       102-3             The Bank of Nova Scotia                      Camaguey                 9,900.00
       102-4             Banco Continental Cubano                     Artemisa                 5,750.00
       102-10            (Petty Cash)                                 Cuba                     5,200.00

                                                                                            $981,912.84
         The above bank accounts are supported by bank statements which are in
       somewhat different amounts but tend to show the relative consistency and
       stability of the accounts in comparison with Mr. Mir's statement. One item
       in the Mir report is slightly higher due to denial of foreign exchange.
         On the basis of the entire record, the Commission finds that the claim­
       ant's bank accounts, taken by the GoYernment of Cuba on October 24, 1960
       were in the aggregate amount of $981,912.84.
          No allowance is made for a Royal Bank account entitled "West Indies
       Region" in the amount of $6,529.82 nor for an account of $2,584.58 in
       Barclay's Bank D.C.O., Barbados, as it is not shown that these were taken
       by the Government of Cuba. The latter account in fact was not here claimed.
                11. and 12. Extraordinary Expenses Including Assignments
         Claimant seeks reimbursement in the amount of $105,623 for expenses
       described by it as extraordinary. These are in two categories:
         Assignment of claims for taking of property from:
           R. M. Thomas (now deceased) -----------------------­                $30,815.05
           Robert J. Thompson -------------------------------------------­      18,610.00
           David E. Berenguer ----------------------------------------------    18,738.47   $ 68,163.52

         Proposed purchase of land -------------­             $35,000.00
         Preparation of building plans --------                 2,460.00                      37,460.00

                                                                                            $105,623.52
          In connection with the assignment of claims, claimant sets out that in
       1960 it entered into agreement with Messrs. Thomas and Berenguer, United
       States citizens, and Robert J. Thompson, a Canadian citizen, to protect them
       from. any financial loss with respect to their personal property.
          On October 25, 1960 Mr. and Mrs. Thomas were absent from Cuba and
       Mr. Berenguer left on October 29, 1960, taking only hand luggage.
          On January 30, 1961 Mr. Thomas made an assignment to claimant of his
       interest in personalty left in Cuba valued at $30,815.05; and on February 13,
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       1961 Mr. Berenguer executed a similar assignment as to personalty in Cuba
       valued at $18,738.47. Each assignment is accompanied by an itemized list
       of personalty. In an affidavit of November 1, 1968, Charles W. Adams, Vice
       President of claimant, avers that payment was made to Messrs. Thomas
       and Berenguer in the specified amounts.
          The Commission finds that the personal property of Messrs. Thomas and
       Berenguer, officers of the claimant, was also taken by the Government of
       Cuba on October 24, 1960, and the Commission concludes that they suffered
       losses within the meaning of Title V of the Act as a result of the taking
       of their property by the Government of Cuba.
          Thereafter, and prior to filing of this claim, Messrs. Thomas and
       Berenguer assigned their claims against the Government of Cuba to claim­
       ant. The Commission finds that $30,815.05 and $18,738.47 represents the fair
       value of the property taken in each instance. Accordingly the Commission
       finds that claimant succeeded to losses in the aggregate amount of $49,553.52
       within the meaning of Title V of the Act.
          With respect to claim based on an assignment by Robert J. Thompson in
       the amount of $18,610.00 the claimant and Mr. Thompson affirm that he is
       not a national of the United States. Title V provides for determination of
       claims that have been continuously United States owned from the date such
       claims arose. Accordingly, the Commission is constrained to and hereby does
       deny this item of claim.
          Regarding the second category of extraordinary expenses, added to the
       claim on December 24, 1968, claimant states that Embotelladora, apparently
       in 1959, decided to build a plant in Holguin. A property was selected and
       an oral agreement was made with the owner, whose exact name is not
       recollected, to purchase the land for $35,000.00. Thereafter it appears that
       the Government of Cuba proposed to expropriate the land and deed it to
       claimant, whereupon claimant states it secretly paid $35,000.00 to the
       owner who was to deed it to claimant or through the Cuban Government
       assist Embotelladora to acquire the land.
          Thereafter claimant states it expended $2,460.00 for the preparation of
       preliminary plans for a new plant. It is said that the Cuban Government
       then precluded further acquisition of realty by American companies. This
       item was reported as an asset, Building under Construction, by Embotella­
       dora on June 29, 1960, to the United States Embassy.
          Nevertheless, the uncertainty surrounding this element of claim, includ­
       ing name of owner, as well as uncertainty as to record title, compels the
       Commission to conclude that claimant has not established that it suffered a
       loss in this connection as a result of actions of the Government of Cuba.
       Accordingly, this item of claim is denied.
                            13. Going Concern, Good Will, etc.
         Claimant has asserted a loss in the amount of $17,807,042.00 for the
       Yalue of its business over and above the value of its tangible assets. The
       asserted value is the difference between the claimed value of the assets
       ($23,830,418.00) and $41,000,000.00 (at one time the total amount claimed).
         Claimant has submitted an appraisal of the Cuban enterprise by Charles
       N. Battle & Associates which determined the value of the Cuban business
       by comparison with a Coca-Cola bottling company sold in Miami, Florida
       in 1963. Although no value is stated for the tangible assets of the Florida
       company, it appears that $11,500,000.00 was paid for that company which
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       had several bottling plants in that area. On the basis of the average net
       income for the Miami company, the purchase price was approximately 60
       times its average net income. The purchase price was also approximately
       $7.00 per person residing in the Miami company's territory, and about
       $2.00 per case sold in the year prior to the transfer of the company. The
       values for the Cuban business using the above measures would be-
         l. 60 times average annual income ($772,432.00) -------------- $46,345,920.00
         2. $7.00 per person for 7,000,000 population __________________ _-_____ $49,000,000.00
         3. $2.00 per case, 13,742,000 expected to be sold in 1960              $27,484,0000.00
       The appraiser averaged the three sums which were rounded to an average
       value of $41,000,000.00 for the value of the Cuban business. Mr. Battle
       stated therefore that $41,000,000.00 was a fair and accurate estim:;tte of
       the Cuban business and affidavits of Coca-Cola company officials state that
       the business would not have been sold for less.
          The use of such methods of determining the value of a Cuban enterprise
       does not appear a valid one inasmuch as the comparison is between the
       Miami market, with a per capita income of over $1,900.00 and a predomi­
       nantly urban population and the Cuban market with a per capita income
       of approximately $300.00 and a large rural population. Moreover there is
       no information giYen as to the assets of the Miami corporation to afford
       a proper basis for comparison when different localities are considered.
       Nor does an average annual income of $772,430.00 justify an investment
       of $41,000,000.00.
          The Commission has determined in many cases that the value of a going
       concern was 10 times the average annual net earnings. (See Claim of
       General Dynamics Corporation, Claim No. CU-2476.) However, in the
       instant claim, this amount would be $7,724,320.00, using the average annual
       income computed by claimant, and less than the value of claimant's assets
       as determined herein. The going concern value on the basis of demonstrated
       earnings to investment is therefore minimal. Furthermore, without claim­
       ant's syrup formulas, the Cuban plants become ordinary bottling plants.
          However, the Commission recognizes that claimant had suffered a loss
       over and above the value of its physical assets since the Cuban branch had
       been operating over forty years and had organized a Coca-Cola distribu­
       tion system covering the island of Cuba. Based upon the complete record,
       the Commission finds that claimant suffered an additional loss therefor in
       the amount of $3,500,000.00.
          Claimant's Cuban losses, other than those to which it succeeded by reason
       of the assignments from its employees total $18,033,653.60. The Commission
       has determined, however, that taxes due the Cuban Government in the
       amount of $485,911.96, as reflected in the September 30, 1960 balance sheet
       must be deducted (see Claim of Simmons Company, Claim No. CU-2303,
       1968 FCSC Ann. Rep. 77). The asset loss is reduced therefore to
       $17,547,741.64.
                                         Summary
         Claimant's losses within the meaning of Title V of the Act are found
       to be as follows:
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           On October 24, 1960                    Land                                         $ 2,265,881.00
                                                  Buildings                                      5,351,681.00
                                                  Machinery & Equipment                          2,148,774.24
                                                  Automotive Vehicles                              302,313.82
                                                  Coolers & Dispensers                             186,557.20
                                                  Containers                                     2,005,000.00
                                                  Furniture & Fixtures                             131,696.37
                                                  Inventories                                      428,753.55
                                                  Accounts Receivable                              731,083.58
                                                  Bank Accounts & Cash                             981,912.84
                                                  Added Value                                    3,500,000.00

                                                                                              $18,033,653.60
                                                             Less Taxes                           485,911.96

                                                  Total Loss                                  $17,547,741.64
           On January 30, 1961                    Thomas Assignment                                30,815.05
           On February 13, 1961                   Berenguer Assignment                             18,738.47

                                                             Total Losses                     $17,597,295.16
         The Commission has decided that in certifications of loss on claims de­
      termined pursuant to Title V of the International Claims Settlement Act
      of 1949, as amended, interest should be included at the rate of 6o/o per
      annum from the date of loss to the date of settlement (see Claim of Lisle
      Corporation, Claim No. CU-0644), and in the instant claim it is so ordered
      as follows:
                  FROM                                                                     ON
             October 24, 1960 ...................................................... $17,547,741.64
             January 30, 1961 ....................................................        30,815.05
             February 13, 1961 ..................................................         18,738.47

                                 Total ..............................................   $17,597,295.16
                                        CERTIFICATION OF LOSS
         The Commission certifies that THE COCA-COLA COMPANY suffered a
      loss, and succeeded to losses as a result of actions of the Government of
      Cuba, within the Scope of Title V of the International Claims Settlement
      Act of 1949, as amended, in the amount Seventeen Million Five Hundred
      Ninety-seven Thousand Two Hundred Ninety-five Dollars and Sixteen Cents
       ($17,597,295.16) with interest at 6o/o per annum from the respective dates
      of loss to the date of settlement.
      Dated at Washington, D.C., September 22, 1971.

            IN THE MATTER OF THE CLAIM OF M & M DREDGING &
                       CONSTRUCTION CO., ET AL.
                         Claim No. CU-0219-Decision No. CU-3536
      Cost of ?'eplacement as a method of valuation means replacement in kind,
        taking into consideration the age and condition of properties on the date
        of loss, it does not mean the cost of replacing properties in question
       with new properties.
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                                         PROPOSED DECISION      *
           This claim against the Government of Cuba, under Title V of the Inter­
        national Claims Settlement Act of 1949, as amended, in the aggregate
        amount of $1,186,201.00 was presented by M & M DREDGING & CON­
        STRUCTION CO. and C L 0 CORPORATION based upon the asserted
        loss of a dredge, tug, barge, crane, bulldozers, air compressor and related
        pile driving equipment, supplies and accessories.
           Under Title V of the International Claims Settlement Act of 1949 [78
        Stat. 1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat.
        988 (1965)], the Commission is given jurisdiction over claims of nationals
        of the United States against the Government of Cuba. Section 503 (a) of
        the Act provides that the Commission shall receive and determine in ac­
        cordance with applicable substantive law, including international law,'' the
        amount and validity of claims by nationals of the United States against
        the Government of Cuba arising since January 1, 1959 for
            losses resulting from the nationalization, expropriation, intervention
            or other taking of, or special measures directed against, property in­
            cluding any rights or interests therein owned wholly or partially,
            directly or indirectly at the time by nationals of the United States.
          Section 502 (3) of the Act provides:
            The term 'property' means any property, right, or interest including
            any leasehold interest, and debts owed by the Government of Cuba or
            by enterprises which have been nationalized, expropriated, interYened,
            or taken by the Government of Cuba and debts which are a charge on
            property which has been nationalized, expropriated, intervened ,or
            taken by the Government of Cuba.
                                             NATIONALITY
          Section 502(1) (B) of the Act defines the term "national of the United
        States" as a corporation or other legal entity which is organized under
        the laws of the United States, or of any State, the District of Columbia,
        or the Commonwealth of Puerto Rico, if natural persons who are citizens
        of the United States own, directly or indirectly, 50 per centum or more
        of the outstanding capital stock or other beneficial interest of such cor­
        poration of entity.
          The record shows that both claimants were organized under the laws of
        Florida and that at all pertinent times all of both claimants' outstanding
        capital stock was owned by nationals of the United States. The Commission
        holds that both claimants are nationals of the United States within the
        meaning of Section 502 ( 1) (B) of the Act.
                                              OWNERSHIP
          It appears from the evidence of record that M & M DREDGING &
        CONSTRUCTION CO., hereafter referred to as M & M, was engaged in
        land reclamation operations in the vicinity of Varadero, Cuba, prior to
        the advent of the Castro Government in Cuba in January 1959. In con­
        nection with these activities, M & M employed the various items of per­
        sonal property for which claim is made. The evidence includes: (a) two

         *This decision was entered. as the Commission's Final Decision on March 26, 1969.
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       certificates from the U.S. Bureau of Customs, dated August 9, 1961, show­
       ing that M & M had been duly registered as the sole owner of a dredge,
       called the "Cuba," built in 1915, with a gross tonnage of 302, and an "oil
       screw," called the "Thomas" (identified by claimants as a tug), built in
       1942, with a gross tonnage of 16, and that these two vessels were not
       subject to any mortgages, liens or other encumbrances; (b) a bill of sale
       registered with the Bureau of Customs showing that C L 0 CORPORA­
       TION, hereafter referred to as C L 0, purchased on October 20, 1949 a
       barge, called the "Atlantis," together with all of its accompanying equip­
       ment, being of steel construction and having a length of 230 feet. Neither
       the age of the vessel nor the consideration paid therefor appear in this
       document, and it does not appear whether there were any outstanding liens
       or mortgages against the vessel; (c) a certificate from the U.S. Coast
       Guard, dated August 9, 1961, showing that the U. S. Dredging Company,
       of Miami, Florida, had been duly registered as the sole owner of a dredge
       tender, called the "Ram" (identified by claimants as a steel workboat),
       built in 1954 of steel construction with a length of 28 feet 2 inches, a diesel
       rig and a 165 horse power engine. The cost of construction is not shown.
          On the basis of the foregoing evidence, the Commission finds that M &
       M was the sole owner of the dredge "Cuba" and the tug "Thomas," that
       C L 0 was the sole owner of the barge "Atlantis," and that the U. S.
       Dredging Company was the sole owner of the steel workboat "Ram." The
       record establishes that the U. S. Dredging Company was organized under
       the laws of Florida and that at all pertinent times all of its outstanding
       capital stock was owned by nationals of the United States. The Commis­
       sion therefore holds that the U. S. Dredging Company was a national of
       the United States within the meaning of Section 502(1) (B) of the Act. It
       further appears from the record that on August 30, 1963, the U. S. Dredg­
       ing Company merged with M & M under the name of M & M DREDGING
       & CONSTRUCTION CO. Accordingly, M & M succeeded to all rights of
       the U. S. Dredging Company with respect to the steel workboat "Ram."
          On the basis of other evidence of record including bills of sale, certified
       statements from drydock, machinery and engineering companies, a bill of
       sale dated November 30, 1948, balance sheets, affidavits and statements
       from officials of claimants, the Commission finds that M & M also owned
       a plant, supplies and equipment appurtenant to its dredge "Cuba," a steel
       crane barge with an Osgood crane, a Lima crane acquired in 1948, a D-6
       Caterpillar Bulldozer, a D-4 Caterpillar Bulldozer, a diesel air compressor,
       and miscellaneous pile driving equipment and accessories.
                                            Loss
         All of the foregoing property was being used by M & M in its land
       reclamation operation in Cuba, the barge "Atlantis" and the steel work­
       boat "Ram" being under lease to M & M. The record includes affidaYits
       dated August 15, 1961 and October 28, 1967, from Gregorio Argelio Medina,
       a Cuban lawyer who had acted on behalf of M & M in Cuba and was
       present in Varadero, Cuba in November 1959. According to his testimony,
       Cuban authorities seized all of the property for which claim is made herein
       and precluded him from boarding the dredge "Cuba". Upon his protest
       to Cuban authorities on behalf of M & M, he was jailed and subsequently
       compelled to leave Cuba. These facts are confirmed by an affidavit dated
       September 18, 1961 by Mr. C. Osment Moody, the then president of M & M
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        and the U.S. Dredging Company, and secretary-treasurer of C L 0, sum­
        mitted to the Department of State.
           In the absence of evidence to the contrary, the Commission finds that
        all of the property for which claim is made herein, described above, was
        taken by the Government of Cuba without compensation on November 7,
        1959, as stated by claimants. Accordingly, the Commission further finds
        that claimants sustained losses within the meaning of Title V of the Act
        as a result of actions of the Government of Cuba.
                                         VALUATION

           The Act provides in Section 503 (a) that in making determinations with
        respect to the validity and amount of claims and value of properties, rights,
        or interests taken, the .Commission shall take into account the basis of
        valuation most appropriate to the property and equitable to the claimant,
        including but not limited to fair market value, book value, going concern
        value, or cost of replacement.
           The question, in all cases, will be to determine the basis of valuation
        which, under the particular circumstances, is "most appropriate to the
        property and equitable to the claimant". The Commission has concluded
        that this phraseology does not differ from the international legal standard
        that would normally prevail in the evaluation of nationalized property and
        that it is designed to strengthen that standard by giving specific bases of
        valuation that the Commission shall consider; i.e., fair market Yalue, book
        value, going concern value, or cost of replacement.
           Claimants haYe computed the amounts of their respective losses on the
        basis of the costs of replacing their properties with new properties, sup­
        ported by estimates from various shipbuilding, machinery and equipment
        concerns, dated in Octol:Jer 1962. Accordingly, the claim of M & M was filed
        in the amount of $1,186,201.00 and the claim of C L 0 in the amount of
        $250,000.00. However, the claim filed with the Department of State in
        October 1961 asserted the aggregate amount of $511,950.00 on account of
        all losses sustained by M & M, C L 0 and the U. S. Dredging Company.
           As noted above, the Commission consistently has construed the language
        of Section 503 (a) relating to the evaluation of loss to be no different from
        the international legal standard normally prevailing, which the Commission
        has applied in claims under the Act. The Commission finds no basis for
        concluding that the statutory reference to "cost of replacemept" means the
        cost of replacing the properties in question with new properties. Upon
        careful consideration of this matter, the Commission holds that the term
        "cost of replacement" means replacement in kind, taking into consideration
        the age and condition of the properties on the date of loss, and that all of
        the specific bases mentioned in Section 503 (a) are merely standards for
        determining the value of property on the date of loss.
           In the instant case, the Commission has carefully considered the entire
        record bearing on the question of valuation including balance sheets for
        the U. S. Dredging Company, M & M and C L 0, as of January 31, 1956,
        February 28, 1957, and June 30, 1956, respectively, as well as affidavits
        from Harold B. Wells and Charles Schultz, dated September 13, 1968, and
        a statement from a Cuban insurance concern. Mr. Wells testified that he
        was General Superintendent of Operations in the Republic of Haiti on
        construction operations involving the dredge "Cuba" and that in 1953-1954
        this dredge was converted from steam power to diesel electric power at a
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      cost in excess of $250,000.00. Similar statements are contained in the affi­
      davit of Mr. Schultz who was Captain and Master Mechanic on the dredge
      "Cuba". However, Mr. Schultz stated that he did not have access to cost
      records but appraised the value of the improvements as being in excess of
      $250,000.00 on the basis of his experience. Mr. Wells who was an official
      of the Government of Haiti does not indicate the basis for his statements.
      The Cuban insurance concern stated in a letter dated October 16, 1968 that
      the total insurance carried for the property in question was in excess of
      $500,000.00.
        The Commission notes that the balance sheet for M & M, certified to be
      a true copy and correct by an officer of M & M, is dated February 28,
      1957, subsequent to 1953-1954 when the asserted improvements to the
      dredge "Cuba" were made. That balance sheet shows the fixed assets as
      follows:
              Autos and trucks ---------------------------------------------------------­               $ 6,891.78
              Key Largo Property ----------------------------------------------------                    15,267.29
              Machinery & Equipment................................................                      22,083.00
              Office Equipment -----------------------------------------------------------­               2,277.67
              Tugs, Barges & Dredges --------------------------------------------                        25,410.02
              Warehouse ------------------------------------------------------------------------         11,789.29

                            Total ------------------------------------------------------                $83,719.05
              Less Reserve for Depreciation ----------------------------------                           37,772.82

                     Net Value of Fixed Assets --------------------------------                         $45,996.23

         The balance sheet of the U. S. Dredging Company of January 31, 1956
       shows the following capital assets:
             Dredges & Equipment -------------------------------------------------- $149,443.68
             Less Reserve for Depreciation ----------------------------------         84,983.77

                     Total Capital Assets ----------------------------------------------                 64,459.91
        In neither of the foregoing balance sheets are any of the items identified
      so that they can be related to the various pieces of personal property in­
      volved in this claim. Claimants have stated that they have no other financial
      statements, and it is clear from claimants' last letter, dated November 21,
      1968, that no further evidence is available.
        The balance sheet of C L 0 as of June 30, 1956 shows the following under
      the heading, "Fixed Assets":
              Barge ''Atlantis" ------------------------------------------------------------            $17,088.52
              Buildings -------------------------------------------------------------------------­       31,562.82
              Fence --------------------------------------------------------------------------------      1,521.50

                             Total ------------------------------------------------------               $50,172.84
              Less Reserve for Depreciation ------------------------------------                         16,727.41

                                                                                                        $33,445.43
              Land ----------------------------------------------------------------------------------    51,027.40

                     Net Value of Fixed Assets --------------------------------                         $84,472.83
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           The record also includes copies of two checks, drawn by M & M in
        December 1950 in the aggregate amount of $14,000.00 with notations that
        the checks were in payment for the purchase of the steel crane barge. A
        bill of sale, dated November 30, 1948, shows that M & M purchased a Lima
        Crane in consideration of $12,000.00 and a used Lorain Crane "traded in".
        Other evidence indicating other purchases by M & M of property involved
        in this claim do not show the costs.
           Claimants assert that the values of the various items of personal prop­
        erty claimed herein were as follows on the basis of replacement costs for
        new properties:
              Dredge "Cuba" ..........................................................              $ 600,000.00
              Attendant plant to dredge -------------------------------------­                         53,000.00
              Barge "Atlantis" -----------------------------------------------------­                 250,000.00
              Steel Crane Barge ................................................... .                  25,000.00
              Steel Workboat "Ram" ........................................... .                       25,000.00
              Tug "Thomas" ......................................................... .                110,000.00
              Lima Crane ............................................................. .               37,578.00
              D-6 Caterpillar Bulldozer ..................................... .                        22,510.00
              D-4 Caterpillar Bulldozer ..................................... .                        15,298.00
              Diesel Air Compressor ........................................... .                      20,465.00
              Miscellaneous Pile Driving Equipment ............... .                                   27,350.00

                 Total claim for both claimants ..........................                          $1,186,201.00
           Having carefully considered all the evidence of record, the Commission
        finds that the valuations most appropriate to the properties herein and
        equitable to the claimants are those set forth in detail in the said affidavit,
        dated September 18, 1961, of Mr. C. Osment Moody, which was submitted
        to the Department of State along with supporting documents.
           Accordingly, the Commission finds that the values of the properties taken
        from M & M and from the U. S. Dredging Company, to which M & M
        succeeded, and the value of the property taken from C L 0 were as follows
        on November 7, 1959, the date of loss:
                          M & M DREDGING & CONSTRUCTION CO.
              Dredge "Cuba'' ........................................................... .           $225,000.00
              Attendant plant and equipment ............................... .                          45,000.00
              Tug "Thomas'' ............................................................. .            40,000.00
              Steel crane barge ....................................................... .              30,000.00
              Lima crane ................................................................... .         10,450.00
              Steel workboat "Ram" ------------------------------------------------                    10,000.00
              D-6 Caterpillar Bulldozer ......................................... .                     8,000.00
              D-4 Caterpillar Bulldozer ......................................... .                     6,500.00
              Diesel Air Compressor ............................................... .                   9,650.00
              Miscellaneous pile driving equipment
                and accessories ......................................................... .            27,350.00

                                       Total ----------------------------------------------------    $411,950.00

                                             C L 0 CORPORATION
              Barge "Atlantis"                                                                       $100,000.00
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         Accordingly, the Commission concludes that the M & M DREDGING &
       CONSTRUCTION CO. suffered a loss in the aggregate amount of
       $411,950.00 (including the loss suffered by the U. S. Dredging Company,
       to which this claimant succeeded), and that the C L 0 CORPORATION
       suffered a loss in the amount of $100,000.00.
         The Commission has decided that in certification of losses on claims de­
       t~.rmined pursuant to Title V qf the International Claims Settlement Act
       of 1949, as amended, interest should be included at the rate of 6% per
       annum from the date of loss to the date of settlement (see Claim of Lisle
       Corpcwaticm, Claim No. CU-0644), and in the instant case it is so ordered.
                                       CERTIFICATION OF LOSS
         The Commission certifies that M & M DREDGING & CONSTRUCTION
       CO. suffered a loss, as a result of actions of the Government of Cuba,
       within the scope of Title V of the International Claims Settlement Act of
       1949, as amended, in the amount of Four Hundred Eleven Thousand Nine
       Hundred Fifty Dollars ($411,950.00) (including the loss suffered by the
       U. S. Dredging Company, to which this claimant succeeded), with interest
       at 6% per annum from November 7, 1959 to the date of settlement; and
         The Commission certifies that C L 0 CORPORATION suffered a loss,
       as a result of actions of the Government of Cuba, within the scope of Title
       V of the International Claims Settlement Act of 1949, as amended, in the
       amount of One Hundred Thousand Dollars ($100,000.00) with interest at
       6% per annum from November 7, 1959 to the date of settlement.
       Dated at Washington, D.C., February 26, 1969.

                 IN THE MATTER OF THE CLAIM OF OLGA LENGYEL
                      Claim No. CU-8669-Decision No. CU-6827
       Value of paintings may be determined by appraisal of an art expert who
         acted as agent in pu?·chasing them.
                                         PROPOSED DECISION       *
         This claim against the Government of Cuba, filed under Title ·v of the
       International Claims Settlement Aet of 1949, as amended, in the amended
       amount of $5,274,663.00,. was presented by OLGA LENGYEL, based upon
       the asserted Jess of certain real and personal property in Cuba, and stock
       interests in Cuban enterprises. Claimant has ~n a national of the United
       States since naturalization in 1951.
         Under Title V of the International Claims Settlement Act of 1949 [78
       Stat. 1110 (1964), 22 U.S.C. §§1643-1643k (1964), as amended, 79 Stat.
       988 (1965) ], the Commission is gh·en ju?isdiction over claims of nationals
       of the United States against the Government of Cuba. Section 503 (a) of
       the Act provides that the Commission shall receive and determine in ac­
       cordance with applicable substantive law, including international law, the
       amount and validity of claims by nationals of the United States against
       the Government of Cuba arising sinee January 1, 1959 for
            losses resulting from the nationalization, expropriation, intervention
           or other taking of , or special measures directed against, property in­
            cluding any rights or interests therein owned wholly or partially, di­
            rectly or indirectly at the time by nationals of the United States.
        • This dcdslon was entered as the Comml.uion"s Final Decision on J une 30. 1912.
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          Section 502 ( 3) of the Act provides:
            The term 'property' means any property, right, or interest including
            any leasehold interest, and debts owed by the Government of Cuba or
            by enterprises which have been nationalized, expropriated, intervened,
            or taken by the Government of Cuba and debts which are a charge on
            property which has been nationalized, expropriated, intervened, or
            taken by the Government of Cuba.
          The Regulations of the Commission provide:
            The claimant shall be the moving party and shall have the burden of
            proof on all issues involved in the determination of his claim. (FCSC
            Reg., 45 C.F.R. §531.6 (d) (1970) .)
          Claimant asserts the following losses:
           1.   Two penthouse apartments in Vedado ------------------------ $ 108,170.00
           2.   Household furnishings, including objects of art _____ _ 2,353,318.00
           3.   Automobile, golf car and furs ----------------------------------------                    19,000.00
           4.   Paintings ---------------------------------------------------------------------------- 2,214,000.00
           5.   Jewelry and platinum box taken from
                    attorney's office ----------------------------------------------------------         375,000.00
           6.   Cash also taken from attorney's office ------------------------                           60,000.00
           7.   Cash in safe in apartment ----------------------------------------------                  21,325.00
           8.   Cuban currency ----------------------------------------------------------------           11,750.00
           9.   Stock interests in Cuban corporations ------------------------                           112,100.00

                                     Total ------------------------------------------------------   $5,27 4,663.00

           On the basis of the evidence of record the Commission finds that claimant
        owned certain items subject of this claim as further discussed below.
           The Act provides in Section 503 (a) that in making determinations with
        respect to the validity and amount of claims and value of properties, rights
        or interests taken, the Commission shall take into account the basis of
        valuation most appropriate to the property and equitable to the claimant,
       j_ncluding but not limited to fair market value, book value, going concern
        value, or cost of replacement.
           The question, in all cases, will be to determine the basis of valuation
        which, under the particular circumstances, is "most appropriate to the
        property and equitable to the claimant". This phraseology does not differ
        from the international legal standard that would normally prevail in the
        evaluation of nationalized property. It is designed to strengthen that
        standard by giving specific bases of valuation that the Commission shall
        consider.
                                           PENTHOUSE APARTMENTS

         Based upon the evidence of record including copies of the deeds to the
       two apartments, affidavits of claimant, a pre-nuptial agreement and other
       documents, the Commission finds that claimant was the sole owner of the
       two apartments, known as Apartments 15-B and 15-D located at 201
       Primera Avenida in Vedado, Havana.
         Claimant's Cuban attorney states that claimant and her husband fled
       Cuba in September 1960.
         On October 14, 1960, the Government of Cuba published in its Official
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       Gazette, Special Edition, its Urban Reform Law. Under this law the renting
       of urban properties, and all other transactions or contracts involving trans­
       fer of the total or partial use of urban properties was outlawed (Article
       2). The law covered residential, commercial, industrial and business office
       properties (Article 15).
          Based on the foregoing and the evidence of record, the Commission finds
       that claimant's apartments in Vedado were taken by the Government of
       Cuba pursuant to the provisions of the Urban Reform Law; and, in the
       absence of evidence to the contrary, that the taking occurred on October
       14, 1960, the date on which the law was published in the Cuban Gazette.
       (See Claim of Henry Lewis Slade, Claim No. CU-0183, 1967 FCSC Ann.
       Rep. 39) The Commission further finds that the contents of the two apart­
       ments were taken at the same time.
          The aforementioned deeds reflect that claimant purchased Apartment
       15-B on March 4, 1958 for $38,000 subject to a $16,000 mortgage, and
       Apartment 15-D on December 18, 1958 for $25,000. The record also reflects
       that after their purchase claimant made extensive alterations and improve­
       ments to both apartments with the result that the total cost of Apartments
       15-B and 15-D including legal fees and taxes was $66,870 and $41,800,
       respectively.
          Based on the entire record the Commission finds that the value of Apart­
       ments 15-B and 15-D including improvements on the date of loss was
       $66,870 and $41,800 and that claimant had reduced the mortgage on
       Apartment 15-B to $13,500. After deduction of the mortgage, the Commis­
       sion finds that claimant suffered a total loss of $75,170 as the result of
       the taking by the Government of Cuba of these two apartments.

                   Household Furnishings, Appliances, Objects of Art,
                          Automobile and Miscellaneous Items

          The record includes detailed listings of the furniture, furnishings,
       appliances, as well as a 1958 Chrysler Saratoga, golf .car, cameras, objects
       of art, and other miscellaneous items in the two apartments, with their
       estimated values. There are also affidavits of two officials of the British
       Commonwealth Insurance Company who had appraised the personalty in
       Apartment 15-B in 1958; a statement by the president of the American
       International Insurance Company who stated that he had appraised the
       personalty in both Apartment 15-B and 15-D, a letter from a former occu­
       pant of both apartments, subsequent to claimant's departure, and claimant's
       affidavit.
          Under date of November 28, 1971, claimant submitted an appraisal of
       the above items of personal property, which are considered art objects,
       made by Mr. Louis Zara and prepared on the basis of information sup­
       plied by claimant. Mr. Zara states that he researched the sales prices of
       similar art objects, which he listed under the column "Gallery Price Real­
       ized", and set forth his opinion under the column "Appraiser's Estimate
       For 1960". The asserted sales prices are shown as aggregating $4,342,­
       976.00 and Mr. Zara's estimate is $2,190,200.00.
          Based on the entire record, the Commission finds that ciaimant owned
       the said items of personal property situated in the two apartments, as well
       as the automobile, golf equipment, and furs; and that the values on Octo­
       ber 14, 1960, the date of loss, were as follows:
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           Furnishings of Apartment 15-D, including items
             not individually evaluated ........................................... .                   $ 22,609.00
           Furnishings of Apartment 15-B, including items
             not individually evaluated ........................................... .                    140,409.00
           Automobile and golf equipment, depreciated ............... .                                    5,720.00
           Furs, depreciated ............................................................... .            11,000.00

                                      Total ....................................................... .   $179,738.00


                                                         Paintings
          The portion of the claim for paintings is set forth in claimant's affidavit
       of May 29, 1967 which accompanied her official claim form. Therein she
       stated that the paintings had cost $240,000.00 in 1938, but that their aggre­
       gate value in 1960 was about 60% higher. In support thereof, claimant
       submitted a copy of an appraisal of February 15, 1964 from Joseph
       Schaefer, an official art curator for the French GoYernment. Mr. Schaefer
       states that claimant's father, Ferdinand Bernard, had commissioned him
       to find some exceptional rare paintings; and that in 1938 he acquired for
       Mr. Bernard about 22-23 paintings each within the price range of 38,000
       to 65,000 French francs. His best recollection is that the aggregate amount
       Mr. Bernard paid for all of the paintings was between 900,000 and 1,000,000
       French francs. Mr. Schaefer was able to recall the details of only 14
       of the paintings which he described as follows:
                 1. Fragonard-Landscape with Staffage
                 2. G. Bellini-The Holy Family
                 3. Gerard Terborch-Portrait of a Lady
                 4. Salomon Van Ruysdael-River Landscape
                 5. Adriaen Brouwer-Peasant-Interior
                 6. H. Avercamp-Snow-Landscape
                 7. Meindert Hobbema-Paysage with Mill
                 8. Jan Van Goyen-Sea Landscape
                 9. Jan Gossaert-Madonna with Angels
                10. Quentyn Massys-Portrait of a Senator
                11. Joachim Patinir-Paysage
                11. Hans Memling-Angel in Paysage
                13. Ed. Manet-Portrait of a Painter
                14. Maurice Utrillo--View of Montmartre
       In the opinion of this very respectable art expert, the 22-23 paintings
       "today" (i.e., February 15, 1964) had a value of $240,000.00.
         At this point it is noted that in 1938 the average value of a French
       franc was $0.028781 (International Financial Statistics, International Mone­
       tery Fund). Therefore, the aggregate price paid for all of the paintings in
       1938 was approximately $26,000.00 to $28,750.00. On the basis of Mr.
       Schaefer's appraisal, the aggregate value of all the paintings had in­
       creased about 9 times their original cost between 1938 and 1954.
         The record· includes a detailed inventory of claimant's personal properties
       in Cuba, including the paintings. It is asserted that this inventory was
       prepared by an insurance appraiser in Cuba for the purpose of an in­
       surance policy; and that the valuations were made low in order to induce
       claimant to apply for insurance coverage for her personal properties.
       Under date of August 30, 1971, claimant submitted her detailed affidavit
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        of August 28, 1971 by which she amended her claim for the paintings by
        increasing the amount to $2,214,000.00. As a preface to that amendment,
        claimant states that her new valuations are based upon information she
        obtained from experts. Claimant's list now includes 30 paintings asserted
        to have been taken by the Government of Cuba.
           The evidence also includes a letter of August 31, 1971 from Mr. Louis
        Zara, setting forth, inter alia, his appraisal of the paintings. It appears
        that Mr. Zara was Editor-in-Chief of a publication known as "Master­
        pieces" from 1950 to 1951, and a copy of Volume I, published in 1950, has
        been submitted by claimant. In that publication Louis Zara is shown as
        Editor-in-Chief, and Herman R. Bollin is indicated as Art Director. Beyond
        this, no further information is included in the record concerning Mr. Zara's
        qualifications as an art expert or appraiser. Moreover, it is noted that
        Mr. Zara's appraisal was not based upon a physical inspection of the paint­
        ings, but rather upon a list furnished by claimant.
           Mr. Zara begins by attempting to explain away Mr. Schaefer's appraisal,
        to whom he refers as "the renowned French expert", and it does not appear
        that he ever spoke with Mr. Schaefer. He states in part as follows:
                It would be presumptuous to attempt to revise the estimate Dr.
             Schaefer gaYe except for the fact that on the aforementioned date he
             was a public official, no longer engaged personally in the art market,
             and was merely, in giving his statement, carrying out a feeling of
             obligation to his long deceased client. Furthermore . . . he was, with
             all good will, providing a perfunctory service . . . .
          After citing examples of certain purchases of paintings made by the
        Mellon Trust, Mr. Zara then estimates the values of 27 paintings as follows:
         1.   DEGAS                     "Dancing Figure"                  $ 100,000
         2.   DEGAS                     "Bending Dancer"                     40,000
         3.   VANDYCK                   "Portrait of the Marchesa"          200,000
         4.   DAUMIER                   unnamed                              75,000
         5.   TOULOUSE-LAUTREC          unnamed                             150,000
         6.   FRANS HALS                "Portrait of a Girl"                180,000
         7.   DUFY                      "At the Horse Races"                 75,000
         8.   PICASSO                   "Fruits in Bowl"                    150,000
         9.   VAN GOGH                  "Man in Garden"                     200,000
        10.   DAUMIER                   "Parisien Scene"                     50,000
        11.   BRAQUE                    "Still Life"                        125,000
        12.   CEZANNE                   "Still Life"                        150,000
        13.   GOYA                      "Three Noblemen"                    250,000
        14.   FRAGONARD                 "Landscape with Staffage"           200,000
        1$.   BELLINI                   "Holy Family"                       100,000
        16.   TERBORCH                  "Portrait of a Lady"                100,000
        17.   RUYSDAEL                  "River Landscape"                    65,000
        18.   BROUWER                   "Peasant Interior"                   40,000
        19.   VAN AVERCAMP              I have no opinion here and
                                          leave estimate at                  45,000
        20. HOBBEMA                     "Paysage With Mill"                 150,000
        21. VAN GOYEN                   No special opinion here and
                                          leave estimate at                  50,000
        22. MASSYS                      "Portrait of a Senator"              80,000
        23. PATINIR                     No opinion; leave estimate at        36,000
        24. MEMLING                     "Angel in Paysage"                  100,000
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       25. GOSSAERT                                  "Madonna with Angels"                                  35,000
       26. MANET                                     "Portrait of a Painter"­
                                                       leave estimate at                                  200,000
       27. UTRILLO                                   "View of Montmartre"­
                                                       leave estimate at                                    85,000

                                                     Estimate total value of above                    $3,031,000


         The following listing includes claimant's amended valuations, using num­
       bers keyed to those employed by Mr. Zara, shown above, except where
       otherwise indicated, along with appropriate remarks in parenthesis:
          1.   (The insurance inventory value for this one is $800.00) $ 80,000.00
          2.   (The insurance inventory lists this one as "Painting",
                 artist not shown, valued at $120.00) ----------------------------                          25,000.00
          3.   (The insurance inventory lists this one as "Antique
                 Painting: woman figure" by Anthony Van Dyck,
                 valued at $7,000.00) --------------------------------------------------------             150,000.00
          4.   (The insurance inventory lists this one as "Long
                 Painting modern", artist not shown, valued at
                 $100.00) --------------------------------------------------------------------------------  50,000.00
               (These two are not included in Mr. Zara's list. The
                 insurance inventory lists them at "2 Paintings:
                 Hunter" valued at $500.00) ---------------------------------------------                   20,000.00
          5.   (The insurance inventory lists this one as "Woman's
                figure with lamp above" by Henri de Toulouse, valued
                 at $3,000.00) ......................... --------- ..................... ------ ........ . 125,000.00
          6.   (Claimant states that this one was placed in a space
                 made especially for it between the shelves of the
                 floor-to-ceiling, wall-to-wall bookshelves. In her affi­
                 davit of November 30, 1971, claimant states that
                 this is one of the "3 Pictures" appearing in the in­
                 surance inventory at $120.00. Artist is not shown)                                        120,000.00
          7.   (The insurance inventory lists this one as "Painting:
                Horse race by Raul Dufey Epsom", valued at
                 $6,000.00) ----------------------------------------------------------------------------    60,000.00
          8.   (The insurance inventory lists this one as "Painting"
                 by Picasso, valued at $6,000.00) ------------------------------------                     130,000.00
          9.   (In her affidavit of November 30, 1971, claimant states
                 this is one of "3 Pictures" appearing in the insur­
                 ance inventory as $120.00, artist not shown) ___________ _                                100,000.00
         10.   (The insurance inventory lists this one as "Parisian
                 scene", valued at $250.00, artist not shown) ........... .                                 30,000.00
         11.   (The insurance inventory lists this one as "Large
                 painting, ultra modern", valued at $230.00, artist
                 not shown) ------------------------------------------------------------------------        80,000.00
         12.   (The insurance inventory lists this one as "Large
                 painting, still life", valued at $260.00, artist not
                 shown) ---------------------------------------------------------------------------------- 100,000.00
         13.   (The insurance inventory lists this one as "Painting­
                 three figures with lamp above", valued at $5,000.00)                                      150,000.00
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                (The following 14 paintings are those
                 appraised by Mr. Schaefer.)
          14.                                                                                        120,000.00
          15.                                                                                         70,000.00
          16.                                                                                         75,000.00
                (The above items-14, 15 and 16-are not included
                 in the insurance inventory)
          17.   (The insurance inventory lists this one as "Painting,
                  Sea scene", valued at $120.00) --------------------------------------               45,000.00
          18.   (In her affidavit of November 30, 1971, claimant states
                  this is one of "3 Pictures" appearing in the insur­
                  ance inventory as $120.00. Artist is not shown) ------                              30,000.00
          19.   (This one is not included in the insurance inventory)                                 45,000.00
          20.   (The insurance inventory lists this one as "Large
                  painting", valued at $280.00, artist not shown) --------                          100,000.00
          21.                                                                                        50,000.00
          22.                                                                                        50,000.00
          23.                                                                                        36,000.00
          24.                                                                                        85,000.00
          25.                                                                                         3,000.00
                  (The above items-21 through 25-are not included
                 in the insurance inventory)
          26.   (The insurance inventory lists this one as "Modern
                 painting", valued at $150.00, artist not shown) _______ _                          200,000.00
          27.   (The insurance inventory lists this one as "Painting
                 by Damon", value not indicated. In her affidavit of
                 November 30, 1971, claimant states that "It is actu­
                 ally a painting by Daumier. The insurance appraiser
                 made an error") --------------------------------------------------------------       85,000.00

                                                                                                  $2,214,000.00
           On the basis of the entire record, the Commission finds the evidence in­
        sufficient to support claimant's assertions either as to the number and
        identities of the paintings or as to the values thereof on the date of loss.
        The Commission finds that the valuation most appropriate to the property
        and equitable to the claimant is the appraisal made by Mr. Schaefer, an
        art expert who had selected them for purchase by claimant's father, and
        whose opinion was given ante litam motam. Accordingly, the Commission
        finds that the aggregate value of the paintings on October 14, 1960, the
        date of loss, was $240,000.00.
                                                      JEWELRY

           The record includes an affidavit by claimant's Cuban attorney who
        states that he represented her from 1955 until he left Cuba on October 25,
        1960. He states that the jewels which claimant's father had owned were
        receiYed from France toward the end of 1956 and he at that time checked
        them against the inventory and then arranged to place them in a safe
        deposit box of claimant. At claimant's request he states that he sold about
        one-half to a manager of a jewelry store in Havana for $352,000.00. He
        also enclosed a list of the jewelry and platinum jewelry box which had
        been shipped from France, with their appraised value of noted the items
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       that were sold. The aggregate value of the original list is shown as $691,­
       000.00, and the total value of the items indicated on this. list as sold is
       $316,000.00
          The record also includes an appraisal of the jewelry made in Paris in
       January, 1951 at claimant's request, a list of what appears to be the same
       jewelry as shipped exclusive of the platinum jewelry box, and copies of
       correspondence related thereto. The appraised total is shown as 215,300
       pound sterling and in a letter to claimant dated January 27, 1964 the
       appraiser states that they are worth twice the price they were worth in
       1950.
          In addition there is in the record the aforementioned affidavits of claim­
       ant and of the French citizen who shipped the paintings and jewelry to
       Cuba. The latter affidavit includes a list of the jewelry. In claimant's
       affidavit of May 29, 1967 she states that she had left the jewelry subject
       of this claim with her Cuban attorney at the airport when she was leaving
       Cuba because she was advised that she would be physically searched and
       that these valuables would be confiscated.
          In the aforementioned affidavit of claimant's Cuban attorney he states
       that Cuban officials opened the safe in his office about 2 weeks after
       claimant left Cuba in September 1960, and seized claimant's jewels worth
       $300,000.00, her $60,000.00 in cash, and stocks, documents and cash which
       his clients left in his custody. Thereafter he says he went into hiding with
       has family and escaped by plane on October 25, 1960.
          Based on the entire record the Commission finds that claimant owned the
       jewelry subject of this claim, that it was taken by the Government of
       Cuba on September 15, 1960, and that its aggregate value including the
       platinum jewelry case was $375,000.00.
                               CASH LEFT WITH ATTORNEY

          Claimant in her affidavit states that she left $40,000.00 with her Cuban
       attorney and an additional $20,000.00 in cash to be made available to her
       old housekeeper and her husband for maintenance and taxes on the apart­
       ment. She therefore asserts a claim in the amount of $60,000.00 for this
       loss. The aforementioned affidavit of her Cuban attorney states that when
       claimant left Cuba she gave him in trust for safekeeping $40,000.00 in
       United States currency and an additional $20,000.00 to meet payments re­
       quired on her apartments and for other purposes designated by her, as
       well as the jewelry referred to above.
          Based on all the evidence of record the Commission finds that claimant
       owned $60,000.00 in cash left in custody with her Cuban attorney and that
       it was taken by the Government of Cuba on September 15, 1960 at the
       same time as the jewelry was taken.
                              CASH IN SAFE IN APARTMENT

         Claimant asserts the loss of $21,325.00 in United States currency which
       she had placed in her apartment safe. In support claimant has submitted
       a letter from an individual who states that she was in the apartment in
       the evening before claimant's departure and that among other things she
       saw claimant leave about $21,500.00 in United States currency in claimant's
       safe.
         Based on the evidence of record the Commission finds that claimant
       suffered a loss of $21,325.00 in United States currency which was taken
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        from her safe on October 14, 1960 the date on which the Government of
        Cuba took her apartments.
                                     CUBAN CURRENCY

           A portion of this claim is based on the loss of 11,750 Cuban pesos which
        claimant has submitted. Claimant left Cuba in September 1960, and the
        currency was brought to her shortly thereafter. Subsequently, on August
        4, 1961 there was published in the Cuban Official Gazette, Law 963 which
        ordered a currency exchange to be carried out on August 6 and 7, 1961.
        The law provided that after August 7, 1961, old currency was to be null
        and of no value. Article XI of Law 963 declared that all currency which,
        at the time of promulgation, was outside the territory under the jurisdiction
        of the Cuban State, was null and of no legal force. Accordingly, the Com­
        mission holds that claimant's Cuban peso notes became automatically null
        and of no legal effect on August 4, 1961, the date of the promulgation of
        Law 963 (see Claim of Betty G. Boyle, Claim No. CU-3473, 1968 FCSC
        Ann. Rep. 81).
          In view of the foregoing the Commission finds that claimant suffered a
        loss of $11,750.00 (the peso being on a par with the United States dollar)
        on August 4, 1961 based on this portion of her claim.
                         STOCK INTERESTS IN CUBAN CORPORATIONS

           Based on the entire record including stock certificates in the Cuban
        corporations concerned, the Commission finds that, pursuant to the Com­
        munity Property Law of Cuba, claimant owned a % interest in 28,560 shares
        of Minimax Super-Mercados, S.A. (Minimax) ; 37 shares of common and
        4,727 shares of preferred stock of Inversiones Guarina, S.A. (Guarina); 85
        shares of common and 2,724 shares of preferred stock of Fibraglass Dis­
        tributors, Inc. (Fibra); 8,137 shares of common and 100 shares of preferred
        stock of Cuban Independent Trading Corp. (Cuban); and 276 shares of
        common and 729 shares of preferred stock of Colon Independent Trading
        Corp. (Colon).
           In our decisions entitled Claim of Libby Holman Reynolds (Claim No.
        CU-1384); Claim of Helen Brandon and Claudia Muriel Deske (Claim No.
        CU-2175); Claim of Benjamin Kovner (Claim No. CU-1015); and Claim
        of Jack Clareman and Benet Polikoff, Executors of the Estate of Mont­
        gomery Clift, Decease-d (Claim No. CU-1385), which we incorporate herein
        by reference, we held that these companies were intervened or otherwise
        taken by the Government of Cuba on September 1, 1960; and that this type
        of claim is compensable to an American national under the facts and con­
        ditions set forth therein. We need not again detail here the reasons or the
        methods u~ed in determining the value of the Minimax stock as $1.0023
        per share; the value of Fibra common stock as $5.4913 per share and
        preferred as $1.00 per share; the value of Cuban common at $.600476 per
        share and Cuban preferred as $100.00 per share; and the value of Colon
        common as $4.0418 per share and preferred at $118.00 per share.
           On the basis of evidence of record in the instant case, it is found that
        claimant came within the terms of the Reynolds, Brandon, Kovner, and
        Clift decisions, and that she suffered a loss in the aggregate amount of
        $66,920.03 for the above-described stock interests within the meaning of
        Title V of the Act.
           With regard to the portion of this claim based on the ownership of a
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       stock interest in Guarina, the record contains no evidence regarding its
       nationalization or other taking and no balance sheet or other financial
       statements from which the value of Guarina can be ascertained. Moreover,
       counsel states claimant is unable to secure any financial statements. Ac­
       cordingly, the Commission is constrained to and does deny this portion of
       the claim for lack of proof.
          Claimant also claims the loss of a stock interest in Sedanita Textil, S.A.
       (Sedanita) and in Inversiones Lenkest S.A. (Lenkest). In regard to Se­
       danita she submitted a certificate in the name of her Cuban attorney and
       has not explained her interest therein. In regard to Lenkest the record
       discloses that it was formed to purchase real property in Cuba and to
       develop it for shopping centers. There is also of record a letter dated June
       23, 1959 to its stockholders in which it is stated that the total assets of
       the corporation consisted of a bank deposit in the Royal Bank of Canada
       in the amount of $100,000.00, that $48,970.58 of this sum had been trans­
       ferred to the bank's New York branch, that this sum was being distributed
       by check to the shareholders proportionately, and that the remaining funds
        ($51,029.42) could not be transferred from Cuba under present Cuban laws.
          Claimant states that at the time of the Cuban Government confiscation
       Lenkest owned 9 options to purchase land in areas in Havana where
       Minimax had contracted to purchase land to build stores. In the claim form
       claimant states that she owned 40 shares of Lenkest but the record con­
       tains no share certificates or evidence of the number of shares outstanding.
       In view of the foregoing the portion of the claim based on the loss of a
       stock interest in Sedanita and in Lenkest is denied for lack of proof.
                                     RECAPITULATION

         Claimant's losses are summarized as follows:
             Item                               Date of Loss               Amount
       Apartments                             October 14, 1960         $    95,170.00
       Household furnishings, etc.            October 14, 1960             179,738.00
       Paintings                              October 14, 1960             240,000.00
       Jewelry                                September 15, 1960           375,000.00
       Cash taken from attorney's office      September 15, 1960            60,000.00
       Cash in apartment safe                 October 14, 1960              21,325.00
       Cuban currency                         August 4, 1961                11,750.00
       Stock interests                        September 1, 1960             66,920.03

                                                  Total                $1,049,903.03
          The Commission has decided that in certifications of loss on claims de­
       termined pursuant to Title V of the International Claims Settlement Act of
       1949, as amended, interest should be included at the rate of 6o/o per annum
       from the date of loss to the date of settlement (see Claim of Lisle Corpora­
       tion, Claim No. CU-0644) and in the instant claim it is so ordered as
       follows:
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                    FROM                                                                           ON
              September 1, 1960 ................................................... .      $    66,920.03
              September 15, 1960 ................................................. .           435,000.00
              October 14, 1960 ....................................................... .       536,233.00
              August 4, 1961 ......................................................... .        11,750.00

                                                                                           $1,049,903.03


                                            CERTIFICATION OF LOSS

         The Commission certifies that OLGA LENGYEL suffered a loss, as a
       result of actions of the Government of Cuba, within the scope of Title V of
       the International Claims Settlement Act of 1949, as amended, in the amount
       of One Million Forty-nine Thousand Nine Hundred Three Dollars and
       Three Cents ($1,049,903.03) with interest thereon at 6'1r per annum from
       the respective dates of loss to the date of settlement.
       Dated at Washington, D.C., April 28, 1972.

         IN THE MATTER OF THE CLAIM OF THE GOODYEAR TIRE &
                          RUBBER COMPANY
                            Claim No. CU-0887-Decision No. CU-887
       The nationalization of a Cuban corporation wholly owned by an American
         entity c1oes not justify a Certification of Loss under Title V of the Act,
         if the Cuban entity was insolvent on the date of loss.
                                              PROPOSED DECISION            *
         This claim against the Government of Cuba, under Title V of the Inter­
       national Claims Settlement Act of 1949, as amended, for $6,282,053.85 was
       presented by THE GOODYEAR TIRE & RUBBER COMPANY based
       upon debts and loss resulting from the intervention of Goodyear de Cuba,
       S.A.
         Under Title V of the International Claims Settlement Act of 1949 [78
       Stat. 1110 (1964), 22 U.S.C. §§1643-1643k (1964), as amended, 79 Stat.
       988 (1965)], the Commission is given jurisdiction over claims of nationals
       of the United States against the Government of Cuba. Section 503 (a) of
       the Act provides that the Commission shall receive and determine in ac­
       cordance with applicable substantive law, including international law, the
       amount and validity of claims by nationals of the United States against
       the Government of Cuba arising since January 1, 1959 for
           losses resulting from the nationalization, expropriation, interYention
           or other taking of, or special measures directed against, property in­
           cluding any rights or interests therein owned wholly or partially,
           directly or indirectly at the time by nationals of the United States.
         Section 502 (3) of the Act provides:
           The term 'property' means any property, right, or interest including
           any leasehold interest, and debts owed by the Government of Cuba or
           by enterprises which have been nationalized, expropriated, Intervened,
        ,.,. This decision was entered as the Commission's Final Decision on February 12, 1968.
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            or taken by the Government of Cuba and debts which are a charge on
            property which has been nationalized, expropriated, intervened, or
            taken by the Government of Cuba.

           Section 502(1) of the Act defines the term "national of the United States"
        as "(B) a corporation or other legal entity which is organized under the
        laws of the United States, or of any State, the District of Columbia, or
        the Commonwealth of Puerto Rico, if natural persons who are citizens of
        the United States own, directly or indirectly, 50 per centum or more of the
        outstanding capital stock or other beneficial interest of such corporation
        or entity."
          An officer of the claimant corporation has certified that the claimant was
        organized in the State of Ohio and that at all times between August 1,
        1960 and presentation of this claim on December 1, 1966, more than 50%
        of the outstanding capital stock of the claimant has been owned by United
        States nationals. The Commission holds that claimant is a national of the
        United States within the meaning of Section 502(1) (B) of the Act.
           Claimant states that 63,575 of its 64,116 stockholders were residents of
        the United States and assumes that substantially all of them were United
        States nationals; and that 541 stockholders were residents of foreign
        countries and assumed to be citizens of those countries.
           An officer of THE GOODYEAR TIRE & RUBBER COMPANY has
        certified, and the Commission finds that claimant was the holder of 980
        shares of the 1,000 outstanding shares of Goodyear de Cuba, S.A. and
        was the beneficial owner of the remaining 20 shares of stock under a
        Declaration of Trust signed by Edwin J. Thomas on March 26, 1959, and
        that Goodyear de Cuba, S.A. was organized under the laws of the Republic
        of Cuba on January 1, 1928.
           On November 25, 1959, the Government of Cuba published in its Official
        Gazette Law No. 647 which authorized the Minister of Labor, in such cases
        as he deemed it necessary, to order the intervention of enterprises or work­
        ing centers. Law 843, published in the Official Gazette of July 6, 1960, gave
        the Labor Ministry unilateral authority to extend the period of its inter­
        vention of any establishment beyond the six months period provided in
        Law 647. Resolution 19045 of August 30, 1960, of the Ministry of Labor,
        provided for the intervention of Goodyear de Cuba, S.A. and appointed an
        intervenor who delivered the Resolution to the firm on September 1, 1960.
        Thereafter, the Company was nationalized by Resolution No. 3 of the
        President of the Republic of Cuba published in the Cuban Official Gazette
        on October 24, 1960.
           Based on the foregoing the Commission finds that claimant sustained a loss,
        within the meaning of Title V of the Act on September 1, 1960, when Good­
        year de Cuba, S.A. was intervened by the Government of Cuba.
           In making determinations with respect to the Yalidity and amount of
        claims and value of properties, rights and interests taken, the Act provides
        in Section 503(a) that the Commission shall take into account the basis of
        valuation most appropriate to the property and ·equitable to the claimant,
        including but not limited to fair market value, book value, going concern
        value or cost of replacement.
           Claimant has stated its loss in the amount of $6,282,053.85, $4,973,915.26
        representing the amount due and owing on account from Goodyear de
        Cuba, S.A., $144,413.85 the amount due on a sight draft payable by the
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       Cuban enterprise, and $1,163,724.74 being the value claimed for the stock
       of Goodyear de Cuba, S.A. as of September 1, 1960.
          In support of the valuations claimed, claimant has submitted balance
       sheets of the Cuban firm for December 31, 1959 and August 30, 1960, a
       statement of assets of Goodyear de Cuba, S. A. as of September 1, 1960
       amounting to $6,473,770.00, a schedule of liabilities as of September 1, 1960,
       the record of account between claimant and the Cuban company, a listing
       of the physical assets of the Cuban company with the purchase prices and
       book values, and a photocopy of an insurance binder on buildings, machinery,
       fixtures and equipment.
          The balance sheet for Goodyear de Cuba as of August 31, 1960 reflects
       the following:
                                                              ASSETS
      Current Assets
        Cash
        Cash in Bank                                                                   $ 834,521.00
        Cash on Hand ---------------------------------------------------­                  2,300.00       $ 836,821.00
        Receivables
        Accounts Receivable -----------------------------------------­                     1,464,233.00
        Bills Receivable -------------------------------------------------­                  225,562.00
        Suspense Account ............................................. .                     148,548.00
        Less Res. for Cash Disc. ............................... .                             4,571.00
        Less Res. for Contr Rebate ---------------------------­                               36,901.00
        Less Res. for Commissions ........................... .                               31,262.00
        Less Res. for Bad Debts -----------------­                                           364,377.00
             Net Total Receivables ............................. .                                         1,401,232.00
        Advances to Employees -----------------------------------­                            5,369.00
        Guarantee Deposits ......................................... .                        3,154.00         8,523.00
        Inventories
        Duty, Frt. and Clearance Chg. ...................... .                               24,885.00
        Merchandise on Hand -------------------------------------­                          546,368.00
        Merchandise in Transit -----------------------------------­                           1,285.00
        Prepaid Duty etc Raw Mat............................ .                                9,272.00
        Raw Materials ..................................................... .               198,973.00
        Raw Materials in Transit -------------------------------­                            63,773.00
             Total Inventories ....................................... .                                     844,556.00
             Total Current Assets ............................... .                                       $3,091,132.00
        Securities ............................................................. .                        $        4.00
      Fixed Assets
        Land and Appurtenances -------------------------------­                        $ 120,179.00
        Buildings -------------------------------------------------------------­          604,904.00
        Machinery and Equipment ............................. .                         2,347,037.00
        Furniture and Fixtures ................................... .                       59,455.00
        Motor Cars and Trucks -----------------------------------­                         52,042.00
        Less Res. for Depreciation ........................... .                        1,169,432.00
             Total Fixed Assets ................................... .                                     $2,014,185.00
        Prepaid and Deferred Chgs.
        Insurance -------------------------------------------------------------­       $        370.00
        Taxes -------------------------------------------------------------------­              385.00
        Misc. ---------------------------------------------------------------------­          1,979.00
             Total Prepaid and Def. Chgs. ............... .                                                    2,734.00
                                                                       TOTAL           ASSETS             $5,108,055.00
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                                                        LIABILITIES
       Current Liabilities
         Accounts Payable ----------------------------------------------             $   39,867.00
         Res. for Inc. and Prof. Tax ---------------------------­                         7,131.00
         Miscellaneous Reserves
        Taxes --------------------------------------------------------------------        6,638.00
         Audit and Legal -----------------------------------------------­                 2,085.00
         Overseas Travel -------------------------------------------------­              11,440.00
         Social Laws Liabilities -----------------------------------­                     2,731.00
         Other Reserves --------------------------------------------------               80,514.00
             Total Current Liabilities --------------------------                                     $ 150,406.00
       Other Liabilities
         Goodyear Tire & Rubber Co. -----------------------­                         $5,007,890.00
         Goodyear Tyre & Rubber Co. Ltd. ---------------­                                  (152.00)
         Goodyear S.A. Luxemburgo ---------------------------­                              145.00
         Goodyear de Brasil -------------------------------------------­                  2,482.00
         Goodyear T & R Co. Akron
           Draft Acct. 144,874.00
           Prov. Dep. 140,495.00 ---------------------------------­                       4,352.00
         Goodyear Export, S.A.
           Draft Acct. 38,250.00
           Prov. Dep. 40,621.00 -----------------------------------­                     (2,371.00)
             Total Liabilities ------------------------------------------                             $5,012,346.00
       CAPITAL
         Common Stock Authorized ------------------------------                      $ 100,000.00
                                                                                                      $ 100,000.00
       SURPLUS
         Balance at End of Prev. Year (106,396.00)
         Profit and Loss Year to Date ( 48,301.00)
             Net Surplus ------------------------------------------------                              (154,697.00)
                                                  TOTAL LIABILITIES                                   $5,108,055.00
         The balance sheet enumerates the assets, tangible and intangible, and
       the liabilities of the enterprise. The liabilities consist of creditors' claims,
       which are contractual in nature, and those of the owner, which are residual
       in nature. The excess of assets over contractual liabilities represents the
       owners' equity, or net worth. The same result may be reached by adding
       the capital investment, appropriate surplus reserves (not including reserves
       for depreciation, taxes and the like), and any undivided profit, as appro­
       priate, and subtracting any outstanding deficit. Accordingly, the calculation
       of net worth is as follows:
                 Total Assets --------------------------------------------------------------   $5,108,055.00
                 Less Contractual Liabilities ------------------------------------              5,162,752.00

                            Net Worth Minus- --------------------------------------            $   54,697.00
         Claimant has submitted a statement of assets for Goodyear de Cuba for
       September 1, 1960 in the amount of $6,473,770.00. This statement does not
       consider any deductions for reserves or depreciation of buildings, machinery,
       equipment, and fixtures but uses an insured value for these items as set
       forth on an undated photocopy of an insurance binder. The statement does
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       consider a depreciation of 15o/o per annum on motor vehicles, a different
       rate than used for the balance sheet. The claimant further submits an
       adjusted statement concerning the amount due from Goodyear de Cuba on
       September 1, 1960 indicating a debt of $4,973,915.26 instead of the
       $5,007,890.00 set forth on the balance sheet.
          The Commission has considered all of the evidence of record and has
       determined that the increased value for motor vehicles and the adjusted
       debt of $4,973,915.26 might be substituted in the balance sheet but such
       changes would not be sufficient to reflect a net surplus for the Cuban
       enterprise. The Commission concludes that claimant has not sustained a
       loss based upon the net worth of Goodyear de Cuba due to the intervention
       by the Government of Cuba.
          However, the Commission does find that Goodyear de Cuba was indebted
       to claimant in the amount of $4,973,915.26 plus the amount of $144,847.00
       for a draft which had not been paid to claimant although the balance
       sheet indicates a provisional payment of $140,000.00, and concludes that
       claimant sustained a loss in the total amount of $5,118,762.26 under
       Section 502 (3) of the Act.
         The Commission has decided that in certification of losses on claims
       determined pursuant to Title V of the International Claims Settlement Act
       of 1949, as amended, interest should be included at the rate of 6o/o per
       annum from the date of loss to the date of settlement. (See the Claim of
       Lisle Corporation, FCSC Claim No. CU-0644.)
         Accordingly, the Commission concludes that the amount of the loss
       sustained by claimant shall be increased by interest thereon at the rate
       of 6o/o per annum from September 1, 1960, the date on which the loss
       occurred, to the date on which provisions are made for the settlement
       thereof.
                                           CERTIFICATION OF LOSS

         The Commission certifies that THE GOODYEAR TIRE & RUBBER
       COMPANY sustained a loss, as a result of actions of the Government of
       Cuba, within the scope of Title V of the International Claims Settlement
       Act of 1949, as amended, in the amount of Five Million One Hundred
       Eighteen Thousand Seven Hundred Sixty-Two Dollars and Twenty-Six
       Cents ($5,118,762.26), with interest thereon at 6o/o per annum from Sep­
       tember 1, 1960 to the date of settlement.
       Dated at Washington, D. C. January lOth 1968.

        IN THE MATTER OF THE CLAIM OF TWENTIETH CENTURY-FOX
                      FILM CORPORATION, ET AL.
                            Claim No. CU-2114-Decision No. CU-6050
       The value of films and film products is best determin0d by considering costs
         of manufacture and shipment as well as depreciation incident to shipment,
         exhibition and storage of the films and film products in Cuba.
                                            PROPOSED DECISION*

         This claim against the Government of Cuba, filed under Title V of the
       International Claims Settlement Act of 1949, as amended, in the amount of
         * This   decision was entereq. as the Commission's Final Decision on March 15, 1971.
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       $873,001.57, was presented by TWENTIETH CENTURY-FOX FILM
       CORPORATION, TWENTIETH CENTURY-FOX INTERNATIONAL
       CORPORATION and TWENTIETH CENTURY-FOX INTER-AMERICA,
       INC., and is based upon the asserted loss of film prints, anticipated film
       rental, reimbursement for loss of property assigned by a former branch
       manager in Cuba, and the loss of the assets of a Cuban corporation known
       as Peliculas Fox de Cuba, S.A.
          Under Title V of the International Claims Settlement Act of 1949 [78
       Stat. 1110 (1964), 22 U.S.C. §§1643-143k (1964), as amended, 79 Stat. 988
        (1965)], the Commission is given jurisdiction over claims of nationals of
       th:e United States against the Government of Cuba. Section 503(a) of the
       Act provides that the Commission shall receive and determine in accordance
       with applicable substantive law, including international law, the amount and
       validity of claims by nationals of the United States against the GoYernment
       of Cuba arising since January 1, 1959 for
           losses resulting from the nationalization, expropriation, intervention or
           other taking of, or special measures directed against, property including
           any rights or interests therein owned wholly or partially, directly or
           indirectly at the time by nationals of the United States.
         Section 502 ( 3) of the Act provides:
           The term "property" means any property, right, or interest including
           any leasehold interest, and debts owed by the Government of Cuba
           or by enterprises which have been nationalized, expropriated, inter­
           vened, or taken by the Government of Cuba and debts which are a
           charge on property which has been nationalized, expropriated, inter­
           vened, or taken by the Government of Cuba.
         Section 504 of the Act provides, as to ownership of claims, that
           (a) A claim shall not be considered under section 503(a) of this title
           unless the property on which the claim was based was owned wholly
           or partially, directly or indirectly by a national of the United States
           on the date of the loss and if considered shall be considered only to the
           extent the claim has been ·held by one or more nationals of the United
           States continuously thereafter until the date of filing with the Com­
           mission.
         The Regulations of the Commission provide:
           The claimant shall be the moving party and shall have the burden of
           proof on all issues involved in the determination of his claim. (FCSC
           Re., 45 C.F.R. §531.6(d) (1970).)
          Section 502(1) (B) of the Act defines the term "national of the United
       States" as a corporation or other legal entity which is organized under
       the laws of the United States, or of any State, the District of Columbia,
       or the Commonwealth of Puerto Rico, if natural persons who are citizens of
       the United States own, directly or indirectly, 50 per centum or more of
       the outstanding capital stock or other beneficial interest of such corporation
       or entity,
          The evidence of record discloses that TWENTIETH CENTURY-FOX
       FILM CORPORATION, a Delaware corporation, referred to hereinafter as
       FOX FILMS, owned all of the outstanding stock of TWENTIETH
       CENTURY-FOX INTERNATIONAL CORPORATION, a New York corpo­
       ration, hereafter referred to as INTERNATIONAL, and of TWENTIETH
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       CENTURY-FOX INTER-AMERICA, INC., a New York corporation, here­
       after referred to as INTER-AMERICA. Further, the evidence discloses that
       INTERNATIONAL owned all of the stock of Peliculas Fox de Cuba, S.A.,
       a Cuban corporation formed in 1922, referred to hereinafter as Fox-Cuba.
          A corporate official of FOX FILMS, has certified that at all times from
       the asserted date of loss in May 1961 to the date of filing this claim in
       April 1967 more than 50% of its outstanding capital stock was owned by
       nationals of the United States. Further, the official stated that at all times
       during the aforesaid period more than 90o/o of the outstanding capital
       stock of all classes or of any beneficial interest in FOX FILMS has been
       owned directly or indirectly by nationals of the United States. The Com­
       mission finds that FOX FILMS and the other claimants herein are nationals
       of the United States within the meaning of Section 502(1) (B) of the Act.
          For many years prior to the asserted date of loss of the property subject
       of this claim, FOX FILMS produced and furnished film product to INTER­
       NATIONAL for distribution of Fox product throughout the world, and
       to INTER-AMERICA for distribution in areas near the United States.
       INTER-AMERICA utilized the services of Fox-Cuba, with whom distribu­
       tion agreements were executed. Thereafter, the film product was distributed
       throughout Cuba as the subject of contracts between Fox-Cuba and the
       Cuban theatre owners or exhibitors and the product was exhibited to the
       public in various 'Cuban theatres in that territory whereby film rentals
       were earned by the Cuban subsidiary and the claimants.
          FOX FILMS has submitted, among other things, company records show­
       ing shipment of product to Cuba and other areas and an inventory of film
       product in Cuba, assertedly taken by the Government of Cuba from Fox­
       Cuba. The inventory includes the various types of film prints which were
       the subject of distribution and exhibition contracts and included Fox
       product or other prints to which rights had been acquired by claimants
       herein. The inventory included 744 prints, such as 35mm feature presenta­
       tions and short subjects. Based on the aforesaid evidence of record, as
       well as affidavits and company records submitted by officials of the claim­
       ants, the Commission finds that FOX FILMS was at all times pertinent
       to this claim the owner of the said film product, further itemized hereafter.
          The Commission finds that Fox-Cuba was taken by the Government of
       Cuba pursuant to Resolution 2868, published by Cuban authorities in the
       Official Gazette on May 10, 1961, and the Commission further finds that
       the film inventory of FOX FILMS was taken at that time.
          The Act provides in Section 503 (a) that in making determinations with
       respect to the validity and amount of claims and value of properties, rights,
       or interests taken, the Commission shall take into account the basis of
       valuation most appropriate to the property and equitable to the claimant,
       including but not limited to fair market value, book value, going concern
       value, or cost of replacement.
          The question, in all cases, will be to determine the basis of valuation
       which, under the particular circumstances, is "most ·appropriate to the
       property and equitable to the claimant". This phraseology does not differ
       from the international legal standard that would normally prevail in the
       evaluation of nationalized property. It is designed to strengthen that stand­
       ard by giving specific bases of valuation that the Commission shall consider.
          The prints shipped to Cuba by INTER-AMERICA were made from
       negatives of various productions previously produced by FOX FILMS or
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       other producers, domestic or foreign, from whom FOX FILMS or INTER­
       AMERICA had secured rights to the prints in question. These prints,
       apparently shipped to Cuba primarily in the period from 1953 to 1960, had
       been exhibited or were to be exhibited in various areas or exhibition zones
       in Havana, other cities in Cuba, or areas throughout the smaller towns
       and hamlets. Thus, the product was in various stages of the depletion
       cycle, applicable to such product, at the time of loss, with some prints
       apparently to be released or in active use in the aforesaid exhibition zones,
       others in a re-run category, while others were to be junked as no longer
       having utility for exhibition purposes.
          Officials of the claimants have submitted their affidavits and statements,
       with cost figures from Technicolor, Pathe and other manufacturers of the
       prints, indicating the cost of manufacturing film product in the years im­
       mediately prior to loss, including cost per foot of black and white prints,
       or those in color, along with incidental charges, such as shipping or custom
       expenses. Claimants have computed a value of the prints on a replacement
       or cost when new basis, with incidental charges added thereto; and the
       total value of the product in Cuba was asserted to be in the amount of
       $345,588.00 at the time of loss.
          Based upon the entire record, including evidence available to the Com­
       mission concerning the value of similar property in Cuba, the Commission
       finds that the most appropriate basis for evaluating the film product at
       the time of loss is to consider factors relating to cost of manufacture and
       shipment, as well as depreciation incident to the shipment, exhibition and
       storage of the product in Cuba. The Commission has considered these fac­
       tors·, including those relating to depreciation of the film products, and finds
       that the reasonable value of the prints is as follows:
         35mm Features
           Black and White, 239 prints, at $150.00 per print -------------­                            $ 35,850.00
           Color, 431 prints, at $300.00 per print ---------------------------------­                   129,300.00
         Color Shorts
           Color shorts, 74 prints, at $50.00 per print ------------------------                          3,700.00

                                        Total ------------------------------------------------------   $168,850.00
         The Commission finds that FOX FILMS suffered a loss in the amount
       of $168,850.00 within the meaning of Title V of the Act when the Govern­
       ment of Cuba seized the film product on May 10, 1961.
         As indicated above, INTERNATIONAL also suffered a loss when the
       Government of Cuba seized its wholly owned subsidiary, Fox-Cuba, on May
       10, 1961. Since Fox-Cuba was organized under the laws of Cuba, it does
       not qualify as a corporate "national of the United States" within the mean­
       ing of Section 502 (1) (B) of the Act, supra. In this type of situation, it
       has been held that an American stockholder is entitled to file a claim for
       the value of its ownership interest. (See Claim of Parke, Davis & Company,
       Claim No. CU-0180, 1967 FCSC Ann. Rep. 33.)
         INTERNATIONAL has submitted evidence pertaining to the value of
       the Cuban subsidiary, including affidavits, correspondence and a certified
       balance sheet, dated April 1, 1961, which was prepared immediately before
       the date of loss; trial balances, notes thereto and profit and loss statements.
       Claimants have also submitted supplementary information with respect to
       the assets and liabilities of Fox-Cuba, including banking statements, state­
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      ments of accounts due and payable, showing not only assets but certain
      debts payable to a claimant herein by the Cuban subsidiary at the time
      of loss, as more particularly discussed hereafter.
        The balance sheet of Fox-Cuba, dated April 1, 1961, reflects the following
      (the peso being on a par with the dollar):
                                                              ASSETS
      Cash
       Cash        in Bank No. 1 -----------------------­               $197,548.69
        Cash       in Bank No. 2 -----------------------­                  9,612.15
        Cash       in Bank No. 3 -----------------------­                  8,335.17
        Petty       Cash --------··-------------------·---------·-­          200.00

                 Total Cash -·-------·-··--·············-----·-·--········---------···--------················     $215,696.01
      Accounts Receivable
        Exhibitors ·---------···············----·-············---·-················--        $107,760.03
        Others ···········------····-····························--········--············          29.55

             Total Accounts Receivable -----··········-···-······················--········                         107,789.58
      Inventories -----·····----······------·······-·····-··---······-··-·······································     11,866.24
      Fixed Assets
        Land ···--······--······-···········-·········--···············-----·······-·····        1,600.00
        Buildings --·········--···············---·--··········            39,200.00
          Less-Reserve for Depreciation..                                 - 588.00             38,612.00

          Furniture Equipment, etc. ····-·····---- 24,659.24
            Less-Reserve for Depreciation.. - 21,164.39                                            3,494.85

                 Total Fixed Assets                                                                                  43,706.85
      Prepaid Expenses
        Court Stamps ....................................... .                   10.00
        Unexpired Insurance ············--·····----·-···                        640.62
        Advances ·····---·-······························-·······                80.00
        Deposits for Rent, Light, etc.............                              530.00
        Document Stamps ............................... .                        50.00
        Postage Stamps --·-················--·-············                      80.00

                 Total Prepaid Expenses ······-········--···········----········-·-·······-·······                    1,390.62
                 Total Assets ····-·········--··················----···········-······----·······--·········       $380,449.30
                                           LIABILITIES AND CAPITAL
      Accounts Payable and Accrued Liabilities
        Accounts Payable ··················--·---············---···········-­                $       456.74
        Accrued Taxes-Local ·-·-······-----·············------········                             5,332.85
        Accrued Taxes-Inter-America ····-·····--------······--                                     3,224.27

            Total Accounts Payable and Accrued Liabilities ........... .                                              9,013.86
      Fixed Liabilities (At Long Terrn)
        Property to be Paid ···-···························----·················--·················­                 38,760.00
      Advance Payments from Exhibitors
        Credit Balances ·················--··················-············-··········-················-­               792.30
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        Financia.l Accounts
          Twentieth Century-Fox Inter-America, Inc. ........................... .                    286,843.57
        Capital Stock
          Authorized 500 Shares at $50.00
          Issued 500 Shares at $50.00 ......................................................... .     25,000.00
        Surplus or Deficit Account
          Profit or Loss Prior Years ................................... . $ 14,070.47
          Profit or Loss Current Year ................................. .         5,969.10            20,039.57

                 Total Liabilities and Capital ................................................     $380,449.30
           The Commission finds that the above balance sheet appropriately reflects
        the financial status of the Cuban firm on or about May 10, 1961, the date
        of loss. Since this is a Cuban enterprise, it is necessary to establish the
        net worth of this subsidiary and the Commission finds that Fox-Cuba had
        a net worth of $45,039.57 on May 10, 1961, the date of loss. The Commis­
        sion also finds that INTERNATIONAL suffered a loss in this amount
        within the meaning of Title V of the Act.
           According to the balance sheet, there was an intercompany indebtedness
        of the Cuban subsidiary payable to INTER-AMERICA, consisting of an
        account in the amo11nt of $286,843.57. Accordingly, the Commission finds
        that claimant INTER-AMERICA suffered a loss in the amount of $286,­
        843.57 within the scope of Title V of the Act as a result of the taking of
        the Cuban corporation by the Government of Cuba on May 10, 1961. (See
        Claim of K1·amer, Ma1·x, Greenlee and Backus, Claim No. CU-0105, 25 FCSC
        Semiann. Rep. 62 [July-Dec. 1966].)
           Claimant INTER-AMERICA has submitted an assignment dated April 1,
        1961, executed by Thomas E. Sibert, former branch manager of the claimant
        in Cuba, whereby Mr. Sibert assigned to claimant all of his property which
        he left in Cuba at or about the time that the Cuban subsidiary was taken
        by the Government of Cuba. The evidence establishes that Mr. Sibert left
        Cuba at the time of loss of the Cuban firm and the property, having a value
        of $10,000.00, was taken by the Government of Cuba after he left Cuba.
        In the absence of evidence to the contrary, the Commission finds that the
        property formerly owned by this employE)e was taken by Cuba on June 15,
        1961, and that claimant INTER-AMERICA as the assignee of the property,
        suffered the loss in the total amount of $10,000.00. (See Claim of General
        Motors Corpo1·ation and Gene1·al MotO?·g Acceptance Co?~po1·ation, Claim No.
        CU-3088.)
           Product owned by FOX FILMS or others was transferred to INTER­
        NATIONAL, INTER-AMERICA and Fox-Cuba, pursuant to agreements
        between the parties, for distribution of the product throughout the world,
        including Cuba. The agreements for exhibition of the product in Cuba were
        apparently made on "block booking" arrangements with the Cuban ex­
        hibitors whereby contracts were made for the film products several weeks
        in advance. Such agreements assertedly provide for the booking and exihibi­
        tion by the theatre owners of several feature presentations, with fillers or
        short subjects, which were to be furnished by the distributors.
           The claimants have asserted claim for loss of prospective earnings or
        film rental income which might have been realized by claimants had not the
        Government of Cuba seized their property in May 1961. FOX FILMS con­
        tends that the prints, aside from the physical attributes, as discussed above,
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      contained a series of images on the film which not only were unique in
      nature but were the primary things of value as the subject of the contracts
      between INTER-AMERICA and the subsidiary, Fox Cuba, and those con­
      tracts executed between Fox-Cuba and the exhibitors or theatre owners
      in Cuba.
         The Commission has carefully considered the claim asserted for loss of
      anticipated film rental income had not the Government of Cuba intervened.
      However, claims based on the loss of prospective earnings are generally not
      allowed under international law. Edwin M. Borchard discusses this matter
      in his recognized treatise entitled "Diplomatic Protection of Citizens
      Abroad." In Section 172 thereof, Mr. Borchard cites the historic "Alabama
      Arbitration," and goes on to say:
          "This award (in the Alabama case), including the finding that 'pros­
          pective earnings cannot properly be made the subject of compensation,
          inasmuch as they depend in their nature upon future and uncertain
          contingencies,' has been regarded as a reliable precedent by numerous
          othr arbitral tribunals, which have disallowed indirect claims based upon
          loss of anticipated profits, loss of credit, and similarly consequential
          elements of loss."
          *           *           *           *           *           *           *
          "Acts of Congress authorizing domestic commissions to distribute inter­
          national awards have followed the general rule excluding anticipated
          profits and indirect losses from consideration as elements of damage.
          * ':' * Domestic commissions have reached the same conclusion without
          specific direction from Congress."
         The Commission finds that the portion of the instant claim based on
      prospective film rentals for the period beginning May iO, 1961, is not com­
      pensable under the Act. The profits or earnings of the Cuban enterprise,
      if any, which may have been realized during the period in question did
      not belong to the claimants since their title in and to the enterprise and
      film product was extinguished when the Government of Cuba intervened.
      However, claimants are being allowed interest on the value of the property
      taken by the Cuban Government, as discussed hereafter. Accordingly, the
      portion of the claim based on film rental or profits for the period following
      intervention on May 10, 1961, is denied for the reason that the record con­
      tains no evidence to show that any profits belonging to the claimants were
      taken by the Government of Cuba. (See Claim of United Shoe Machine1·y
      Corporation, Claim No. SOV-40,353, 10 FCSC Semiann. Rep. at 238; Claim
      of Aris Gloves, Inc., Claim No. CZ-1170, 17 FCSC Semiann. Rep. 239
      [July-Dec. 1962]; and Claim of Metro-Goldwyn-Mayer, Inc., Claim No.
      CU-2225.)
         The Commission has decided that in certifications of loss on claims deter­
      mined pursuant to Title V of the International Claims Settlement Act of
      1949, as amended, interest should be included at the rate of 6% per annum
      from the date of loss to the date of settlement (see Claim of Lisle Cor­
      poration, Claim No. CU-0644), and in the instant case it is so ordered:
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                  From                                                                             On
        TWENTIETH CENTURY-FOX FILM CORPORATION
                May 10, 1961 ----------------------------------------------------------------    $168,850.00
        TWENTIETH CENTURY-FOX INTERNATIONAL
          CORPORATION
                May 10, 1961 -----------------------------'----------------------------------      45,039.57
        TWENTIETH CENTURY-FOX INTER-AMERICA, INC.
                May 10, 1961 ----------------------------------------------------------------     286,843.57
                June 15, 1961 ---------------------------------------------------------------­     10,000.00
                                            CERTIFICATIONS OF LOSS

          The Commission certifies that TWENTIETH CENTURY-FOX FILM COR­
        PORATION suffered a loss, as a result of actions of the Government of
        Cuba, within the scope of Title V of the International Claims Settlement Act
        of 1949, as amended, in the amount of One Hundred Sixty-Eight Thousand
        Eight Hundred Fifty Dollars ($168,850.00) with interest thereon at 6% per
        annum from May 10, 1961 to the date of settlement;
          The Commission certifies that TWENTIETH CENTURY-FOX INTER­
        NATIONAL CORPORATION suffered a loss, as a result of actions of the
        Government of Cuba, within the scope of Title V of the International Claims
        Settlement Act of 1949, as amended, in the amount of Forty-Five Thousand
        Thirty-Nine Dollars and Fifty-Five Cents ($45,039.55) with interest thereon
        at 6% per annum from May 10, 1961 to the date of settlement; and
          The Commission certifies that TWENTIETH CENTURY-FOX INTER­
        AMERICA, INC. suffered a loss, as a result of actions of the Government of
        Cuba, within the scope of Title V of the International Claims Settlement Act
        of 1949, as amended, in the amount of Two Hundred Ninety-Six Thousand
        Eight Hundred Forty-Three Dollars and Fifty-Seven Cents ($296,843.57)
        with interest thereon at 6% per annum from the respective dates of loss to
        the date of settlement.
        Dated at Washington, D. C., February 3, 1971


                       IN THE MATTER OF THE CLAIM OF MAC GACHE
                              Claim No. CU-0050-Decision No. CU-3908
        The Commision took administ-rative notice that land and improved real prop­
            erty values increased substantially between 1954 and 1959 when Castro
            came into power.
                                              PROPOSED DECISION'''

          This claim against the Government of Cuba, filed under Title V of the
        International Claims Settlement Act of 1949, as amended, in the amount of
        $2,925,251.16, was presented by MAC GACHE, based upon the asserted loss
        of certain real and personal property in Cuba. Claimant has been a national
        of the United States since birth.
          Under Title V of the International Claims Settlement Act of 1949 [78
        Stat. 1110 (1946), 22 U.S.C. ~§1643-1643k (1964), as amended, 79 Stat. 988
        (1965) ], the Commission is given jurisdiction over claims of nationals of the
        United States against the Government of Cuba. Section 503 (a) of the Act
          *This decision was entered as the Commission's Final Decision on October 28. 1969.
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      provides that the Commission shall receive and determine in accordance with
      applicable substantive law, including international law, the amount and
      validity of claims by nationals of the United States against the Government
      of Cuba arising since January 1, 1959 for
          losses resulting from the nationalization, expropriation, intervention or
          other taking of, or special measures directed against, property including
          any rights or interests therein owned wholly or partially, directly or
          indirectly at the time by nationals of the United States.
        Section 502 ( 3) of the Act provides:
          The term 'property' means any property, right, or interest including any
          leasehold interest, and debts owed by the Government of Cuba or by
          enterprises which have been nationalized, expropriated, intervened, or
          taken by the Government of Cuba and debts which are a charge on
          property which has been nationalized, expropriated, intervened, or taken
          by the Government of Cuba.
         The evidence includes statements and affidavits from claimant to the
      Department of State and the Commission; stock certificates; as well as a
      statement, dated August 21, 1961, from claimant's former Cuban counsel and
      Public Notary who participated in the transactions pursuant to which claim­
      ant acquired the properties in question and who caused claimant's ownership
      to be duly recorded with the appropriate Cuban authorities.
        On the basis of all the evidence of record, the Commission finds that
      claimant owned the following items of property in Cuba:
        1. A 100% interest in certain improved real and personal property, known
      as Hotel Kawama, at Varadero Beach, Cuba, including a main building, cot­
      tages and cabanas, which hotel was under lease to the Hotel Kawama Oper­
      ating Company, S.A., a Cuban corporation wholly owned by claimant.
        2. A debt due from Hotel Kawama Operating Company, S.A.
        3. A 25% stock interest in a Cuban corporation, Inmobiliaria Gustileana,
      S.A., hereafter called Gustileana, which owner, in turn, certain real property
      in Vedado, a suburb of Havana.
        4. A 100% stock interest in a Cuban corporation, Inmobiliaria Rodojo, S.A.,
      hereafter called Rodojo, which owned, in turn, certain real property in
      Havana. Claimant's interest in Rodojo was owned indirectly through a wholly­
      owned Panamanian corporation, Gache Investment Corporation.
        5. A debt due from Rodojo secured by the real property owned by Rodojo.
        Claimant's former Cuban attorney, who has personal knowledge of the
      facts, has stated in a letter to claimant, dated August 5, 1963, that the Hotel
      Kawama was intervened by the Cuban Labor Department "in the latter part
      of 1960" and that Rodojo's real property was taken by the Government of
      Cuba "during the first semester of 1960". In his affidavit of March 18, 1969,
      he added that the taking of GustilPana by Cuba is evidenced by an extraordi­
      nary edition of the Cuban Official Gazette, dated June 10, 1960, which he had
      examined.
        Based upon the foregoing evidence and in the absence of evidence to the
      contrary, the Commission finds that Hotel Kawama was intervened by the
      Cuban Minister of Labor on October 15, 1960, and that claimant's ownership
      interests in Gustileana and Rodojo were taken by Cuba on June 10, 1960 and
      March 15, 1960, respectively. Consequently, claimant sustained losses within
      the meaning of Title V of the Act.
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           Since all of the corporations, mentioned above, were organized either under
        the laws of Cuba or Panama, none qualifies as a corporate "national of the
        United States" defined under Section 502(1) (B) of the Act as a corporation
        or other legal entity organized under the laws of the United States, or any
        State, the District of Columbia or the Commonwealth of Puerto Rico, whose
        ownership is vested to the extent of 50 per centum or more in natural persons
        who are citizens of the United States. In this type of situation, it has been
        held previously that a stockholder in such a corporation is entitled to file a
        claim based upon his ownership interest therein. (See Claim of Parke, Davis
        & Company, Claim No. CU-0180, 1967 FCSC Ann. Rep. 33.)
           The Act provides in Section 503 (a) that in making determinations with
        respect to the validity and amount of claims and value of properties, rights,
        or interests taken, the Commission shall take into account the basis of valua­
        tion most appropriate to the property and equitable to the claimant, including
        but not limited to fair market value, book value, going concern value, or cost
        of replacement.
           The question, in all cases, will be to determine the basis of valuation which,
        under the particular circumstances, is "most appropriate to the property and
        equitable to the claimant." This phraseology does not differ from the interna­
        tional legal standard that would normally prevail in the evaluation of nation­
        ized property. It is designed to strengthen that standard by giving specific
        bases of valuation that the Commission shall consider.
           Upon consideration of the entire record, the Commission finds that the
        valuations most appropriate to the properties and equitable to the claimant
        are those set forth hereafter.
                                        HOTEL KAWAMA

           The record shows that claimant acquired the hotel in 1954 at a cost of
        $400,000.00 when it was subject to a mortagage of $200,000.00. Subse­
        quently, claimant improved the property by adding new cottages and im­
        proving the existing structures, at a further cost of $150,000.00. Extracts
        from claimant's books and records, certified to be accurate by claimant's
        accountant, disclose that the mortgage was fully satisfied so that claimant
        owned the hotel free of any liens or encumbrances, including all the furni­
        ture, equipment and other personalty contained in the hotel.
           Claimant states that he had received an offer of $1,500,000.00 for his
        hotel, but had rejected it as inadequate. His statement and claim based on
        that amount is supported in the record by a single nondetailed letter made
        by the former President of the Real Estate Brokers Association of Havana.
        Claimant had failed, however, to furnish balance sheets or other supporting
        data and has failed to furnish a detailed breakdown of the real and per­
        sonal property comprising the hotel. He has indicated in his reply of
        August 19, 1969 that no other evidence is available and that he would
        like the claim determined "on the basis of the material you now have in
        your file."
           The Commission is well aware of the difficulty of securing certain types
        of evidence left in Cuba when claimants fled that country. Nevertheless, it
        must have reasonable evidence upon which to base an award. In the
        instant case it takes administrative notice of the fact that land values and
        tourist hotels did rise substantially in value after 1954 and until shortly
        prior to the take over by Castro. From this record, including the offer to
        purchase and the brochures available on the hotel, and considering the
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      excellent location of the subject property and the inflationary rise of such
      hotels, it concludes and holds that the Kawama property had a net value of
      $1,500,000.00 as claimed.
                DEBT FROM HOTEL KAWAMA OPERATING COMPANY,           S.A.
         It is asserted by claimant that his wholly-owned Kawama Operating
      Company, S.A., a Cuban corporation, owed him a debt of $225,251.16.
         Claimant's statements to the Department of State contain no reference
      to any such debt, nor is this asserted debt included in any of the communi­
      cations from claimant's former Cuban attorney. In response to suggestions
      from the Commission for supporting evidence in this respect, claimant sub­
      mitted an affidavit from his accountant accompanied by certified extracts
      from claimant's books and records. An examination of the extracts dis­
      closes that claimant paid debts of his Cuban corporation, which had leased
      his Hotel Kawama, in the amounts of $70,000.00 on one occasion and
      $25,000.00 on another, for a total of $95,000.00.
         On the basis of the entire record and in the absence of more persuasive
      evidence, the Commission finds that the Hotel Kawama Operating Company,
      S.A., which apparently was formed merely to operate the hotel through a
      corporation, was intervened by Cuba on October 15, 1960 when the hotel
      itself was intervened. The Commission further finds that on October 15,
      1960, the date of loss, the Cuban corporation owed claimant a debt in the
      amount of $95,000.00, and concludes that claimant sustained a loss in that
      amount within the meaning of Title V of the Act. (See Claim of Kramer,
      Marx, Greenlee and Backus, Claim No. CU-0105, 25 FCSC Semiann. Rep.
      62 [July-Dec. 1966].)
                            IMMOBILIARIA GUSTILEANA,    S.A.
         As indicated above, claimant owned a 25% stock interest in Gustileana.
      The record shows that this Cuban corporation owned no assets other than
      certain real property in Vedado, a suburb of Havana.
         Claimant now asserts that the total value of Gustileana was $1,400,000.00
      making his 25'/r stock loss $350,000.00. The record shows that Gustileana
      purchased the real property on November 6, 1957 at a total cost of
      $879,000.00 which included an encumbrance of $439,000.00 which was still
      unpaid on June 10, 1960, the date of loss. An affidavit in the file dated
      January 28, 1969, secured from Cuban sources, shows the appraised value
      of this property was $879,000.00. Claimant's original claim of June 15, 1965
      asserts that his one-fourth interest cost him $223,500.00 and was worth
      $350,000.00 when confiscated. The property owned by Gustileana evidently
      consisted of several assembled parcels of land in the Vedado littoral and
      had a substantial value. Unfortunately, however, as in the case of the
      Kawama Hotel, there is no detailed or corroborative evidence to support
      the claimed value. Further, there is no long passage of time in which the
      Commission could find the property would have substantially increased in
      value. Here the property was acquired on November 6, 1957 and was con­
      fiscated on June 10, 1960, a period of approximately 2 years and 8 months.
      In the Kawama Hotel case the interval was approximately 7 years. Apply­
      ing the same principle here as on the hotel the Commission finds that this
      property cost of $879,000.00 increased in value approximately one-third as
      much as the Kawama property which we have held had appreciated about
      three times its original value in the 7 year period. This would place a gross
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       value of Gustileana of less than double its original cost for a total value
       of $1,172,000.00, and the Commission finds that is the fair gross value to
       be applied here.
         As noted above, the Commission finds that the value of the property
       owned by Gustileana was $1,172,000.00 on the date of loss, and that the
       property was then encumbered by a mortgage in the amount of $439,400.00.
       Accordingly, the Commission concludes that the next value of the property
       was $732,600.00 and that claimant's 25% interest in Gustileana on the date
       of loss was $183,150.00.
                                INMOBILIARIA RODOJO,   S.A.
         The record discloses that the real property owned by Rodojo, its only
       asset, was acquired on October 17, 1955 at a cost of $485,000.00, encum­
       bered by a mortgage in favor of claimant in the amount of $250,000.00.
       It further appears from the record that the mortgage in that amount
       encumbered the property on March 15, 1960, the date of loss.
         Claimant has asserted a value of $850,000.00, supported by a similar
       appraisal as in the hotel case. Based upon the foregoing reasoning and
       evidence, the Commission finds that the value of the real property was
       $850,000.00 on the date of loss, and that the property was then encumbered
       by a mortgage in the amount of $250,000.00. Accordingly, the Commission
       concludes that the net value of the property was $600,000.00, and that
       claimant sustained a loss in that amount within the meaning of Title V
       of the Act.
                         DEBT FROM INMOBILIARIA RODOJO,       S.A.
          As stated above, Rodojo was indebted to claimant in the amount of
       $250,000.00 on March 15, 1960, the date of loss. Accordingly, the Commis­
       sion concludes that claimant sustained a loss in that amount within the
       meaning of Title V of the Act. (See Claim of Kramer, Marx, Greenlee and
       Backus, supra.)
          It also appears that claimant has asserted and the United States Internal
       Revenue Service has allowed an income tax deduction for claimant's losses.

                                     RECAPITULATION

         Claimant's losses may be summarized as follows:
        Item of Property                  Date of Loss                    Amount
       Hotel Kawama                     October 15, 1960               $1,500,000.00
       Debt from Hotel Kawama
         Operating Company, S.A.        October 15, 1960                   95,000.00
       Gustileana                       June 10, 1960                     183,150.00
       Rodojo                           March 15, 1960                    600,000.00
       Debt from Rodojo                 March 15, 1960                    250,000.00

                                               Total                   $2;628,150.00

         The Commission has decided that in certification of losses on claims deter­
       mined pursuant to Title V of the International Claims Settlement Act of
       1949, as amended, interest should be included at the rate of 6% per annum
       from the date of loss to the date of settlement (see Claim of Lisle Corpora­
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      tion, Claim No. CU-0644), and in the instant cas-e it is so ordered as
      follows:
                                FROM                                                                ON
                         March 15, 1960                                                   $ 850,000.00
                         June 10, 1960                                                       183,150.00
                         October 15, 1960                                                  1,595,000.00
                             Total                                                        $2,628,150.00

                                                CERTIFICATIONS OF LOSS

         The Commission certifies that MAC GACHE suffered a loss, as a result of
      actions of the Government of Cuba, within the scope of Title V of the Inter­
      national Claims Settlement Act of 1949, as amended, in the amount of Two
      Million Six Hundred Twenty-eight Thousand One Hundred Fifty Dollars
       ($2,628,150.00) with interest at 6'/r per annum from the respective dates of
      loss to the date of settlement.
      Dated at Washington, D. C., September 24, 1969

      IN THE MATTER OF THE CLAIM OF SPERRY RAND CORPORATION
                              Claim No. CU-0278-Decision No. CU-2965
                                                     Petition to Reopen
                                              AMENDED FINAL DECISION

         Under date of October 8, 1968, the Commission entered its Final Decision
      denying this claim because the evidence failed to established that claimant's
      wholly owned Cuban subsidiary, Remington Rand de Cuba, S.A. (hereafter
      called Rand of Cuba), had any value on October 24, 1960, the date the
      Government of Cuba nationalized Rand of Cuba.
         Subsequently, claimant petitioned to reopen the claim on the basis of newly
      discovered evidence pursuant to the governing regulations of the Commis­
      sion. (FCSC Reg., 45 C.F.R. §531.5(1) (1970).) The new evidence consists
      of a copy of a valuation report of Rand of Cuba, prepared in Cuba on
      November 17, 1960 by A. E. Seymour, claimant's chief executive officer.
      Appended to the report are copies of detailed supporting schedules and
      copies of trial balances for Rand of Cuba as of September 30, 1960, appar­
      ently prepared after an examination of Rand of Cuba's books and records.
         Upon consideration of the newly discovered evidence in light of the entire
      record, the Commission amends the decision in this matter as follows:
         The Commission now finds that on October 24, 1960, the date of loss, the
      fair market values of Rand of Cuba's assets were as follows:
          Cash ..................................................................................... .   $    15,126.00
          Notes and accounts receivable ..................................... .                              490,476.00
          Inventories ......................................................................... .            519,908.00
          Rental machines ............................................................... .                  929,571.00
          Physical properties ......................................................... .                     58,944.00
          Other assets ·······································-···········-~-----·············-               29;484.00

                 Total Assets ................................................................           $2,043,509.00
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          According to claimant's letter of December 19, 1967, its records show that
       it was indebted to Rand of Cuba in the amount of $53,076.66 on the date of
       loss. Since this debt could not have been taken by the Government of Cuba,
       the Commission finds that on the date of loss the aggregate amount of Rand
       of Cuba's assets was $1,990,432.34.
          The Commission finds that Rand of Cuba's liabilities on the date of loss
       were as follows:
           Accounts payable -------·-···--·······---·-·······--·---·-·-----········--·-···       $ 254,118.00
           Other accrued liabilities ................................................. .            73,959.00
           Accrued taxes ................................................................... .       4,995.00
           Inter-company debts -·····--------··--------··---····················----·-·            803,528.56*

                 Total Liabilities                                                               $1,136,600.56
       *The Commission determined in the Claim of Remington Rand America
       CoTpomtion., Claim No. CU-301, that Rand of Cuba owed this affiliate
       $803,528.56 on October 24, 1960, the date of loss, and entered a Certification
       of Loss in that amount in favor of that claimant.
          Accordingly, the Commission finds that the net worth of Rand of Cuba on
       the date of loss was $853,831.78, and concludes that claimant sustained a
       loss in that amount within the meaning of Title V of the Act.
          The Commission has decided that in certification of loss on claims deter­
       mined pursuant to Title V of the International Claims Settlement Act of
       1959, as amended, interest should be included at the rate of 6o/o per annum
       from the respective dates of loss to the date of settlement (see Claims of
       Lisle Corporation, Claim No. CU-0644), and in the instant case it is so
       ordered.
          Accordingly, the following Certification of Loss will be entered, and in
       all other respects the Final Decision of October 8, 1968, as amended herein,
       is affirmed.
                                              CERTIFICATION OF LOSS

         The Commission certifies that SPERRY RAND CORPORATION suffered
       a loss, as a result of actions of the Government of Cuba, within the scope
       of Title V of the International Claims Settlement Act of 1949, as amended,
       in the amount of Eight Hundred Fifty-Three Thousand Eight Hundred
       Thirty-one Dollars and Seventy-Eight Cents ($853,831.78) with interest
       thereon at 6% per annum from October 24, 1960 to the date of settlement.
       Dated at Washington, D. C., June 30, 1972
                                               PROPOSED DECISION**

          This claim against the Government of Cuba, under Title V of the Inter­
       national Claims Settlement Act of 1949, as amended, for $500,000.00 was
       presented by the SPERRY RAND CORPORATION, based upon the nation­
       alization of its wholly owned subsidiary, Remington Rand de Cuba, S.A., by
       the Government of Cuba.
          Under Title V of the International Claims Settlement Act of 1949 [78
       Stat. 1110 (1964), 22 U.S.C. §§1643-1643k (1964), as amended, 79 Stat. 988
        (1965) ], the Commission is given jurisdiction over claims of nationals of
       the United States against the Government of Cuba. Section 503 (a) of the
        **This decision was entered as the Commission's Final Decision on October 8, 1968.
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       Act provides that the Commission shall receive and determine in accordance
       with applicable substantive law, including international law, the amount and
       validity of claims by nationals of the United States against the Government
       of Cuba arising since January 1, 1959 for
           losses resulting from the nationalization, expropriation, intervention or
           special measures directed against, property including any rights or
           interests therein owned wholly or partially, directly or indirectly at
           the time by nationals of the United States.
         Section 502 (3) of the Act provides:
           The term 'property' means any property, right or interest including any
           leasehold interest, and debts owed by the Government of Cuba or by
           enterprises which have been nationalized, expropriated, intervened, or
           taken by the Government of Cuba and debts which are a charge on
           property which has been nationalized exproporiated, intervened, or taken
           by the Government of Cuba.
          Section 502 (1) (B) of the Act defines the term "national of the United
       States" as a corporation or other legal entity which is organized under the
       laws of the United States, or of any State, the District of Columbia, or the
       Commonwealth of Puerto Rico, if natural persons who are citizens of the
       United States own, directly or indirectly, 50 per centum or more of the
       outstanding capital stock or other beneficial interest of such corporation or
       entity.
          Claimant corporation, by an authorized officer, has certified that the
       claimant was organized in the State of Delaware and that at all times
       between the date of loss and presentation of this claim more than 50% of
       the outstanding capital stock of the claimant has been owned by United
       States nationals. The Commission holds that claimant is a national of the
       United States within the meaning of Section 502 (1) (B) of the Act.
          The Secretary of THE SPERRY RAND CORPORATION has further
       certified that as of December 30, 1966 less than 2.5% of its issued and
       outstanding stock is held by shareholders having registered addresses out­
       side the United States. These stockholders are assumed to be nationals of
       those respective countries.
          The Commission finds on the basis of evidence of record that claimant was
       the sole shareholder of Remington Rand de Cuba, S.A. a corporation existing
       under the laws of the Republic of Cuba.
          On October 24, 1960, the Government of Cuba published in its Official
       Gazette Resolution No. 3, which listed as nationalized Remington Rand
       de Cuba, S.A. Accordingly, the Commission finds that Remington Rand de
       Cuba, S.A., was nationalized by the Government of Cuba on October 24,
       1960.
         Based on the foregoing, the Commission finds that claimant sustained a
       loss of its ownership interest within the meaning of Title V of the Act on
       October 24, 1960, when Remington Rand de Cuba, S.A. was nationalized and
       expropriated by the Government of Cuba.
         Remington Rand de Cuba, S.A. acted as the representative and distribu­
       tor for SPERRY RAND CORPORATION and for some of the subsidiaries
       and affiliates of the SPERRY RAND CORPORATION. Remington Rand de
       Cuba, S.A. mainly concerned itself with selling and leasing data processing
       equipment, office equipment, office systems, and electric shavers. Remington
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       Rand de Cuba, S.A. had outstanding and issued 5000 shares with a par value
       of $100 each (or 100 pesos).
          It is asserted that SPERRY RAND CORPORATION carried the 5000
       shares of Remington Rand de Cuba, S.A. on its books at the par value of
       ~500,000. SPERRY RAND CORPORATION has claimed the "going concern"
       value of the subsidiary corporation on the date of loss. The claimed amount
       of $446,923.34 was arrived at by deducting for the aforementioned $500,000.00
       the amount of $53,076.66, an amount owed to Remington Rand de Cuba, S.A.
       by the SPERRY RAND CORPORATION. SPERRY RAND CORPORA­
       TION additionally asserts that the going concern value of a subsidiary in­
       eludes the profits realized by the parent corporation from the sales to the
       subsidiary.
          The Act provides in Section 503 (a) that in making determinations with
       respect to the validity and amount of claims and value of properties, rights,
       or interests taken, the Commission shall take into account the basis of valu­
       ation most appropriate to the property and equitable to the claimant, includ­
       ing but not limited to fair market value, book value, going concern value, or
       cost of replacement.
          The question, in all cases, will be to determine the basis of valuation
       which, under the particular circumstances, is "most appropriate to the
       property and equitable to the claimant." The Commission has concluded that
       this phraseology does not differ from the international legal standard that
       would normally prevail in the evaluation of nationalized property and that
       it is designed to strengthen that standard by giving specific bases of valua­
       tion that the Commission shall consider; i.e., fair market value, book value,
       going concern value, or cost of replacement.
          In regard to the financial status of Remington Rand de Cuba, S.A. the
       record includes Financial Statements for the Year Ended March 31, 1960 and
       Auditors Report made by an independent firm of accountants and auditors.
       The Balance Sheet, in part summarized, appears as follows:
                                                              ASSETS
       Cm·rent Assets
         Cash ............................................................................. . $ 96,061.98
         Notes and Accounts Receivable ........................... .                           452,984.99
         Inventory of Merchandise ..................................... .                      336,576.07
         Parent and Affiliate Companies ........................... .                           54,067.80
           (including $54,052.67 due from ..................... .                                               939,690.84
           SPERRY RAND CORPORATION)
       Non-Current Notes Receivable ..................................................... .                      29,607.76
       Rental Machines ............................................................................... .        301,741.59
       Investments and Advances ........................................................... .                    32,045.16
       Fixed Assets .................................................................................... ..      64,539.75
       Deferred Charges ..............................................................................           16,208.57

                                                                                                              $1,383,833.67
                                                    LIABILITIES
       Current Liabilities
        Notes Payable to Banks ....................................... .                   489,089.12
        Accounts Payable ................................................... .              23,194.45
         Taxes Payable and Accrued ..................................                       58,037.07
        Accruals ..................................................................... .    61,669.93
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                                          COMMISSION       350 PageI
      Affiliate Companies
        Remington Rand America Corp.___ _ $810,105.48
        Others -------------------------------------------------- 46,985.26        857,090.74
      Other Current Liabilities -----------------                                   12,343.72 1,501,425.03

      Deferred Income ---------------------------------------------------------------------------------- 9,186.82
      Capital Stock
        5000 shares $100 each par value --------------------------                    500,000.00
      Deficit
        Per Profit & Loss Statement ----------- --------------------                  626,778.18 (126,778.18)

                                                                                                   $1,383,833.67

         The balance sheet of Remington Rand de Cuba, S.A. enumerates the
      assets, tangible and intangible, and the liabilities of the enterprise. The
      liabilities! consist of creditors' claims, which are contractual in nature, and
      those of the owner, which are residual in nature. The excess of assets, if
      any, oYer contractual liabilities represents the owners' equity, or net worth.
      The same result usually may be reached by adding the capital investment,
      appropriate surplus reserves (not including reserves for depreciation, taxes
      and the like), and any undivided profit, as appropriate, and subtracting any
      outstanding deficit. The balance sheet of March 31, 1960 reflects no book
      value but on the contrary, a deficit of 126,778.18.
         SPERRY RAND CORPORATION has also submitted an uncertified bal­
      ance sheet which assertedly states the financial condition of Remington Rand
      de Cuba, S.A. as of September 30, 1960. That balance sheet reflects the
      following:

           Total Assets -------------------------·---------------------------·········-·--·--- $ 984,890.00.
           Less Contractual Liabilities --------------------------··------·------- -1,162,039.00

                             Deficit ----------------····----···--·--·-------------------·-·----- ($ 177,149.00)

        It would appear therefore that the Cuban corporation was not only oper­
      ating at a deficit but that the deficit was increasing. While the claimant did
      sustain the loss of its proprietary interest it has not established that the
      interest had any value. Moreover, no evidence has been submitted to establish
      claimant's contention that the profits of the present corporation provide a
      basis for finding a value of Remington Rand de Cuba.
        Therefore the Commission concludes that claimant corporation, SPERRY
      RAND CORPORATION, has not sustained a loss based upoh net worth of
      Remington Rand de Cuba. (See the Claim of Goodyear Tire & Rubber Com­
      pany, FCSC Claim No. CU-0887).
        'fhe claim is accordingly, denied.
      Dated at Washington, D.C., August 29, 1968
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                                           COMMISSION

          IN THE MATTER OF THE CLAIMS OF HARRY SCHRAGE, ET AL.
                 Claim Nos. CU-1433 and CU-1434-Decision No. CU-09'76
                                      Petition to Reopen
                                  AMENDED FINAL DECISION

            Under date of September 28, 1971, the Commission entered its Final Deci­
         sion in this claim certifying a loss in favor of HARRY SCHRAGE for his
        .interests in certain Cuban corporations, and further certifying a loss in favor
         of the Estate of Rasa Schrage, Deceased for the one-half interests of this
         decedent in the said Cuban corporations and debts thereof. The interests of
        one Michael Schrage, deceased spouse of the said Rasa Schrage were not
        certified in the absence of qualifying information.
           Additional information and evidence has been received and the Commission
        finds that the record now establishes that Rasa Schrage and Michael Schrage
        were naturalized in 1946. Michael Schrage died intestate on June 26, 1960,
        survived by his spouse and five children, nationals of the United States at
        all pertinent times, and who inherited his estate. Rase Schrage filed Claim
         No. CU-1434 on April 12, 1967. Said Rasa Schrage died testate on March
        19, 1968. Her Estate has been administered and closed, the said five children
         receiving distribution of the residue. Accordingly, the Commission holds that
        the interests of the aforesaid Rasa Schrage and Michael Schrage in the
         subject matter of the claim filed by the late Rasa Schrage have passed to the
        five children, namely, HARRY SCHRAGE, MORRIS SCHRAGE, MARTHA
         MATILDA WIDAWER, ROBERT SCHRAGE and EVA EISENSTEIN, who
        are substituted as claimants in place of their parents, now deceased.
           The property subject of these claims is described as follows:
        In Cia. Industrial Cubana de Goma, S.A. (Goma)
            (Intervened on December 15, 1959)
            HARRY SCHRAGE, one share of stock-$361.17
            Michael Schrage and Rasa Schrage-499 shares of stock-$180,225.82
            Michael Schrage and Rasa Schrage-debt due from Goma-$42,556.92
        In Cia. Distribuidora del Calzada, S.A. (Calzado)
            (Intervened on March 15, 1959)
            HARRY SCHRAGE, 150 shares of stock-$56,317.93
            Michael Schrage and Rasa Schrage-100 shares of stock-$37,545.28
            Michael Schrage and Rasa Schrage-debt due from Calzado-$104,082.32
          The Commission having found that the interests of Micl;lael Schrage and
        Rasa Schrage passed to their children in equal shares, the .losses of claim­
        ants, including the separate interests of HARRY SCHRAGE, are restated as
        follows:

            Claimant                                   Item                  Amount
        HARRY SCHRAGE                              Goma stock               $ 36,406.33
                                                   Goma debt                   8,511.38
                                                   Calzado stock              63,826.99
                                                   Calzado debt               20,816.46

                                                                            $129,561.16
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       MORRIS SCHRAGE                              Goma stock               $ 36,045.16
                                                   Goma debt                   8,511.38
                                                   Calzado stock               7,509.06
                                                   Calzado debt               20,816.47
                                                                             $72,882.07
       MARTHA MATILDA WIDAWER                      Goma stock               $ 36,045.16
                                                   Goma debt                   8,511.38
                                                   Calzado stock               7,509.06
                                                   Calzado debt               20,816.47
                                                                            $ 72,882.07
       ROBERTA SCHRAGE                             Goma stock               $ 36,045J.7
                                                   Goma debt                   8,511.39
                                                   Calzado stock               7,509.05
                                                   Calzado debt               20,816.46
                                                                            $ 72,882.07
       EVA EISENSTEIN                              Goma stock               $ 36,045.17
                                                   Goma debt                   8,511.39
                                                   Calzado stock               7,509.05
                                                   Calzado debt               20,816.46
                                                                            $ 72,882.07
          The Commission reaffirms its holding that interest shall be allowed, and
       it is so ordered as follows:
                                                      FROM                       ON
       HARRY SCHRAGE                               March 15, 1959            $84,643.45
                                                   December 15, 1959          44,917.71
       MORRIS SCHRAGE                              March 15, 1959            $28,325.53
                                                   December 15, 1959          44,~56.54
       MARTHA MATILDA WIDAWER                      March 15, 1959            $28,3.25.53
                                                   December 15, 1959          44,556.54
       ROBERTA SCHRAGE                             March 15, 1959            $28,325.51
                                                   December 15, 1959          44,556.56
       EVA EISENSTEIN                              March 15, 1959            $28,325.51
                                                   December 15, 1959          44,556.56
         Accordingly, the Certifications of Loss in the aforesaid Final Decision are
       set aside, the following Certifications of Loss will be entered, and in all other
       respects the Final Decision is affirmed.
                                   CERTIFICATIONS OF LOSS

         The Commission certifies that HARRY SCHRAGE suffered a loss, as a
       result of actions of the Government of Cuba, within the scope of Title V.
       of the International Claims Settlement Act of 1949, as amended, in the
       amount of One Hundred Twenty-Nine Thousand Five Hundred Sixty-One
       Dollars and Sixteen Cents ($129,561.16) with interest at 6% per annum
       from the respective dates of loss to the date of settlement; and
         The Commission certifies that MORRIS SCHRAGE suffered a loss, as a
       result of actions of the Government of Cuba, within the scope of Title V of
       the International Claims Settlement Act of 1949, as amended, in the amount
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       of Seventy-Two Thousand Eight Hundred Eighty-Two Dollars and Seven
       Cents ($72,882.07) with interest at 6% per annum from the respective dates
       of loss to the date of settlement; and
         The Commission certifies that MARTHA MATILDA WIDAWER suffered
       a loss, as a result of actions of the Government of Cuba, within the scope of
       Title V of the International Claims Settlement Act of 1949, as amended,
       in the amount of Seventy-Two Thousand Eight Hundred Eighty-Two Dollars
       and Seven Cents ($72,882.07) with interest at 6% per annum from the
       respective dates of loss to the date of settlement; and
         The Commission certifies that ROBERTA SCHRAGE suffered a loss, as a
       result of actions of the Government of Cuba, within the scope of Title V of
       the International Claims Settlement Act of 1949, as amended, in the amount
       of Seventy-Two Thousand Eight Hundred Eighty-Two Dollars and Seven
       Cents ($72,882.07) with interest at 6% per annum from the respective dates
       of loss to the date of settlement; and
         The Commission certifies that EVA EISENSTEIN suffered a loss, as a
       result of action of the Government of Cuba, within the scope of Title V of
       the International Claims Settlement Act of 1949, as amended, in the amount
       of Seventy-Two Thousand Eight Hundred Eighty-Two Dollars and Seven
       Cents ($72,882.07) with interest at 6% per annum from the respective dates
       of loss to the date of settlement.
        Dated at Washington, D.C., June 30, 1972

          IN THE MATTER OF THE CLAIM OF CARTER H. OGDEN, ET AL.
                    Claim No. CU-2339-Decision No. CU-1261
                               Petition to Reopen
                                     AMENDED FINAL DECISION

          On February 14, 1968 the Commission issued a Proposed Decision denying
       the claim of CARTER H. OGDEN for lack of evidence. Subsequently satis­
       factory evidence was submitted and in the Final Decision of September 22,
       1971 the Commission added as claimant ELMA OGDEN, whose correct name
       is now shown to be Zelma, claimant's first wife, who during her marriage
       acquired a one-half interest in the property subject of this claim under the
       community property law of Cuba. The losses of CARTER H. OGDEN and
       ZELMA OGDEN, were determined as follows:
                                                                      Value of
                Item                                              Each Claimant's   Date of Loss
                                                                       Interest
       1. Partnership in Ogden & Ogden                               $202,500.00  December 6, 1961
       2. Improved real property ..................... .               30,000.00  December 6, 1961
       3. Unimproved real property ............... .                    5,000.00  December 6, 1961
       4. Personal property of residence ....... .                      5,802.50  December 6, 1961
       5. Stocks, bonds, concessions:
            (a) Petrolera Aventura ................. . 120,000.00                 November 23, 1959
            (b) Petrolera Arabia ......................                 4,458.16  November 23, 1959
            (c) Inversiones Petroleras ............                       750.00  November 23, 1959
            (d) Republic of Cuba bonds ......... .                      4,090.00  December 31, 1960
            (e) and (f) Motembo and Santo
                   Tomas concessions ................                   1,012.16  November 23, 1959
       6. Currency ............................................... .    3,400.00  August 6, 1961
                                                        $377,012.82
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          After the issuance of the Final Decision, claimant CARTER H. OGDEN
       advised the Commission that he was divorced from his first wife Zelma
       Ogden since August 22, 1957 and that he married his present wife Dorothy
       M. Moore on April 29, 1960. He also presented evidence that all properties
       acquired by him during his first marriage to Zelma Ogden remained his
       exclusive property after the divorce was granted. He submitted evidence that
       his second wife was a national of the United States since birth and peti­
       tioned the Commission to reopen the claim and to change the Certification
       of Loss from ELMA OGDEN as it then was entered, to Dorothy M. Ogden.
          Due consideration having been given to the petition, the Commission
       finds that under the community property law of Cuba upon dissolution of
       the marriage the community property comes to an end, but if both spouses
       agree that the property shall remain in the ownership of one of the spouses,
       no separation of the property takes place. On the basis of the record in
       the instant case the Commission further finds that by an agreement sub­
       mitted to the appropriate court in Cuba in 1957, ZELMA OGDEN received
       a lump sum of $25,000.00 and an alimony allowance of $500.00 per month
       during her lifetime or her remarriage, and that she asserted no further
       claim to the assets of the marriage partnership. The Commission therefore
       concludes that these assets remains the exclusive property of CARTER H.
       OGDEN.
          All the circumstances surrounding this claim indicate that on April 29,
       1960, at the time of the second marriage, certain portions of the property
       involved in this claim had already been taken by the Government of Cuba
       and that no additional property in Cuba was acquired by either CARTER
       H. OGDEN or Dorothy M. Ogden from the date of their marriage to the
       date of the loss. Consequently, the entire loss, previously determined as
       having been sustained by CARTER H. OGDEN and ZELMA OGDEN was,
       in fact, sustained by CARTER H. OGDEN alone, inasmuch as his property
       owned prior to his second marriage under the provisions of Cuban law did
       not become community property of his second marriage partnership.          .
          It is therefore concluded that CARTER H. OGDEN suffered the following
       losses:

                   Item                                            Value           Date of Loss
       1. Partnership in Ogden & Ogden ........ $405,000.00                      December 6, 1961
       2. Improved real property ......................              60,000.00   December 6, 1961
       3. Unimproved real property ................                  10,000.00   December 6, 1961
       4. Personal property at Marianao
              residence ..........................................   11,605.00   December 6, 1961
       5. Stocks, bonds and concessions:
            (a) Petrolera Adventura ............... . 240,000.00                 November     23, 1959
            (b) Petrolera Arabia ..................... .              8,916.32   November     23, 1959
            (c) Inversiones Petroleras ........... .                  1,500.00   November     23, 1959
            (d) Republic of Cuba bonds ......... .                    8,180.00   December    31, 1960
            (e) and (f) mineral concessions ... .                     2,024.32   November     23, 1959
       6. Currency ............................................... .  6,800.00   August 6,   1961

                                                               $754,025.64

          The accrued interest is to be computed as follows:
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                FROM                                                                                ON
             November    23, 1959 ..................................................... .       $252,440.64
             December    31, 1960 ....................................................... .        8,180.00
             August 6,   1961 ............................................................. .      6,800.00
             December    6, 1961 ....................................................... .       486,605.00

                                                                                                $754,025.64

         Accordingly, the claim of ZELMA OGDEN is hereby dismissed; the
       Certifications of Loss in the Final Decision of September 22, 1971 are set
       aside; the following Certification of Loss solely in favor of CARTER H.
       OGDEN will be entered; and in all other respects the Final Decision, as
       amended herein, is affirmed.
                                         CERTIFICATION OF LOSS

         The Commission certifies that CARTER H. OGDEN suffered a loss, as a·
       result of actionfl of the Government of Cuba, within the scope of Title V
       of the International Claims Settlement Act of 1949, as amended, in the
       amount of Seven Hundred Fifty-Four Thousand Twenty-Five Dollars and
       Sixty-Four Cents ($754,025.64) with interest thereon at 6% per annum
       from the respective dates of loss ~o the date of settlement.
       Dated at Washington, D.C., June 30, 1972.

                 IN THE MATTER OF THE CLAIM OF MARIA VINAS
                         Claim No. CU-3216-Decision No. CU-6229
                                             Petition to Reopen
                                       AMENDED FINAL DECISION

          The Commission issued a Proposed Decision in this claim on June 16,
       1971, certifying that claimant suffered a loss, as a result of actions of the
       Government of Cuba, within the scope of Title V of the International Claims
       Settlement Act of 1949, as amended, in the amount of $139,015.00. No
       objections to the Proposed Decision were submitted and the Proposed Deci­
       sion was entered as a Final Decision in this claim on July 19, 1971.
          The loss determined by the Proposed Decision included claimant's one­
       tenth (1/10) interest in improved real property located at General Betan­
       court Street in Matanzas, known as "Villa Maria." Such loss was determined
       in the amount of $5,000.00.
          A portion of the claim relating to claimant's interest in improved real
       property located at No. 45 San Juan Bautista Street in Matanzas was
       denied for lack of proof.
          Documentation obtained from abroad after the Proposed Decision became
       final, disclosed that, prior to her marriage in 1946, claimant acquired the
       sole ownership of the property known as "Villa Maria" and of the property
       at No. 45 San Juan Bautista Street.
          The record shows that "Villa Maria" had a value of $50,000.00, and the
       realty at No. 45 San Juan Bautista Street a value of $5,000.00.
          Accordingly, the determination of claimant's loss for "Villa Maria" pre­
       viously established in the amount ·of $5,000.00 is now increased to $50,000.00,
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        and the claim for the property at No. 45 San Juan Bautista Street, previ­
        ously denied, is now determined as having arisen on October 14, 1960, the
        date of taking, in the amount of $5,000.00. Claimant's total amount of the
        loss and the accrued interest are now restated as follows:

             Item of Property                                                  Date of Loss                          Amount
       37, 39, 41 San Juan Bautista                                        October 14, 1960                      $    1,500.00
       Villa Maria ........................................... .           October 14, 1960                          50,000.00
       Beach Property ..................................... .              October 14, 1960                           3,500.00
       45 San Juan Bautista ......................... .                    October 14, 1960                           5,000.00
       Accounts Receivable ........................... .                   January 12, 1961                           3,300.00
       Central Resulta ................................... .               October 13, 1960                          25,010.31
       Ferrocarril Resulta ............................. .                 October 13, 1960                           1,250.00
       Quemado de Guines ............................. .                   October 13, 1960                          19,600.00
       Azucarera de Sagua ........................... .                    January 12, 1961                          12,679.69
       Defensa ................................................... .       August 8, 1961                            16,000.00
       General de Seguros ............................. .                  December 6, 1961                          10,255.00
       Colonia Reyes ....................................... .             October 13, 1960                             200.00
       Zortzi Anai ........................................... .           October 14, 1960                             720.00
       Beta ......................................................... .    October 14, 1960                          23,000.00
       El Infierno ............................................. .         December 6, 1961                          17,000.00

                                                                                             Total               $189,015.00

          The Commission affirms its holding that interest will be included in the
        Certification and it will be included as follows:

                        FROM                                                                                   ON
                  October 13, 1960 ......................................................... . $             46,060.31
                  October 14, 1960 ......................................................... .               83,720.00
                  January 12, 1961 ......................................................... .               15,979.69
                  August 8, 1961 ........................................................... .               16,000.00
                  December 6, 1961 ........................................................... .             27,255.00

                                             Total ................................................... .   $189,015.00

         Accordingly, the Certification of Loss in the Proposed Decision of June 16,
       1971, which became final on July 19, 1971, is set aside, the following Certifi­
       cation will be entered, and in all other respects the Proposed Decision, as
       amended herein, is affirmed.
                                                     CERTIFICATION OF LOSS

         The Commission certifies that MARIA VINAS suffered a loss, as a result
       of actions of the Government ·of Cuba, within the scope of Title V of the
       International Claims Settlement Act of 1949, as amended, in the amount of
       One Hundred Eighty-Nine Thousand Fifteen Dollars ($189,015.00) with
       interest thereon at 6% per annum from the respective dates of taking to
       the date of settlement.
        Dated at Washington, D.C., June 30, 1972.
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       IN THE :MATTER OF THE CLAIM OF FRANK STEINHART, JR., ET AL.

                       Claim No. CU-0231-Decision No. CU-6076

                                    Petition to Reopen

                                AMENDED FINAL DECISION

         This claim, originally opened by FRANK STEINHART, JR., based on
       inherited and purchased property, was the subject of Proposed and Final
       Decisions. Thereafter claimant petitioned that his sister ALICE STEIN­
       HART DE LA LLAMA be permitted to join in the claim for her interests
       in the said inherited property, and for her other property.
         The petition having been considered, and ALICE STEINHART DE LA
       LLAMA having been a national of the United States at all times pertinent
       to this claim, it is granted.
         The Commission previously found that FRANK STEINHART inherited
       a one-fourth interest in a plot of 10,000 square meters in Cojimar, valued
       at $8.00 per square meter, and now finds that ALICE STEINHART DE LA
       LLAMA also inherited a one-fourth interest in said plot, which was taken
       on December 6, 1961, and that she thereby suffered a loss of $20,000. This
       claimant had no interest in another plot of 1,006.62 square meters owned
       in one-half part by her brother.
         Further the Commission finds that ALICE STEINHART DE LA LLAMA
       inherited a one-fourth interest in property at 120 Prado, Havana, which
       was taken on December 6, 1961, and that she thereby suffered a loss of
       $57,500.
         Additionally, based on the record, the Commission finds that pursuant to
       the community property law of Cuba, claimant ALICE STEINHART DE LA
       LLAMA owned a one-half interest in a residence at Varadero Beach, with
       certain personalty therein. The Commission finds that this property was
       also taken by the Government of Cuba on December 6, 1961.
         In arriving at the value thereof, the Commission has considered the
       claimant's figures indicating a valuation of $60,000 for the land, and $60,000
       for the house; her brother's affidavit describing the property as a 4-bedroom
       house, with usual living facilities, and beach frontage; his assertion that
       an offer of $90,000 for the property had been refused. Considering this and
       the values of similar properties in Cuba, the Commission finds that the
       improved realty had a value of $100,000 and that claimant suffered a loss
       of $50,000 in this connection.
         Further, the Commission finds that claimant's interest in furnishings
       including kitchen appliances and garden equipment had a value of $2,500,
       taken on December 6, 1961.
         Re-examination of the file discloses that in the Final Decision restating
       the losses of FRANK STEINHART, JR. there was inadvertenly omitted
       the item of land in Buena Vista having a value of $1,900 which however,
       was certified in the Proposed Decision.
          Accordingly, the claimants' losses, suffered on December 6, 1961, are re­
       stated as follows:
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          FRANK STEINHART:
            (1)   Finca Happy Hollow ..................................................... .        $200,000.00
            (2)   House at No. 120 Prado, Havana (114) ................. .                            57,500.00
            (3)   Land in San Miguel del Padron ................................. .                    2,000.00
            (4)   Land in Cojimar (1/4) ............................................... .             20,000.00
            (5)   Land in Cojimar (1/2) ............................................... .              4,026.48
            (6)   Land in Marianao ......................................................... .       173,096.10
            (7)   Land in Santa Fe ........................................................... .      23,347.92
            (8)   "La Cubana" securities ............................................... .            31,500.00
            (9)   Land in Buena Vista ..................................................... .          1,900.00

                                                                                                    $513,370.50
          ALICE STEINHART DE LA LLAMA:
            (1)   Land in Cojimar (114) --------------------------------------------------          $ 20,000.00
            (2)   House at No. 120 Prado (114) ................................... .                  57,500.00
            (3)   Varadero residence (112) ........................................... .              50,000.00
            (4)   Personalty (112) --------------------------------------------------------------      2,500.00

                                                                                                    $130,000.00
        The Commission affirms its holding that interest shall be included in the
        Certifications of Loss from the date of loss to the date of settlement.
          Accordingly, the Certification of Loss in the Final Decision is set aside
        and the following Certifications of Loss will be entered.
                                            CERTIFICATIONS OF LOSS

          The Commission certifies that FRANK STEINHART, JR. suffered a loss,
        as a result of the actions of the Government of Cuba, within the scope of
        Title V of the International Claims Settlement Act of 1949, as amended, in
        the amount of Five Hundred Thirteen Thousand Three Hundred Seventy
        Dollars and Fifty Cents ($513,370.50) with interest thereon at 6% per annum
        from December 6, 1961, to the date of settlement; and
          The Commission certifies that ALICE STEINHART DE LA LLAMA suf­
        fered a loss, as a result of actions of the Government of Cuba, within the
        scope of Title V of the International Claims Settlement Act of 1949, as
        amended, in the amount of One Hundred Thirty Thousand ($130,000.00)
        with interest thereon at 6% per annum from December 6, 1961, to the date
        of settlement.
        Dated at Washington, D.C., June 30, 1972.

            IN THE MATTER OF THE CLAIM OF SWEET PAPER SALES
                              CORPORATION
                             Claim No. CU-1874-Decision No. CU-1671
                                                Petition to Reopen
                                          AMENDED FINAL DECISION

          Under date of October 16, 1968, the Commission entered its Final Decision
        denying this claim for lack of proof. Subsequently, supporting evidence was
        submitted on behalf of claimant.
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         Upon consideration of the new evidence, the Commission amends the deci­
      sion in this matter as follows:
         Section 502(1) (B) of the Act defines the term "national of ~he United
      States" as a corporation or other legal entity which is organized under
      the laws of the United States, or of any State, the District of Columbia,
      or the Commonwealth of Puerto Rico, if natural persons who are citizens
      of the United States own, directly or indirectly, 50 per centum or more of the
      outstanding capital stock or other beneficial interest of such corporation or
      entity.
         The record shows that claimant was organized under the laws of New
      York; and that all pertinent times all of its outstanding capital stock was
      owned in equal shares by Samuel Scheck and Henrietta Scheck, husband
      and wife. The evidences establishes that Samuel Scheck was a United States
      national from birth until his death in 1971. Therefore, 50% of claimant's
      outstanding capital stock was owned by a Unitecl States national at all perti­
      nent times. The Commission holds that claimant is a national of the United
      States within the meaning of Section 502(1) (B) of the Act.
         The Commission finds on the basis of the evidence of record that claimant
      owned 2,585 shares of stock in Cia. Papalera Flamingo, S.A. (Flamingo),
      a Cuban corporation, which was nationalized by the Government of Cuba
      on October 24, 1960 pursuant to Law 851.
         Since Flamingo was organized under the laws of Cuba, it does not qualify
      as a corporate "national of the United States" within the meaning of Section
      502(1) (B) of the Act, supra. In this type of situation, it has been held that
      an American stockholder is entitled to file a claim for the value of his
      ownership interest. (See Claim of Parke, Davis & Company, Claim No.
      CU-0180, 1967 FCSC Ann. Rep. 33.)
         The Act provides in Section 503 (a) that in making determinations with
      respect to the validity and amount of claims and value of properties, rights,
      or interests taken, the Commission shall take into account the basis of
      valuation most appropriate to the property and equitable to the claimant,
      including but not limited to fair market value, book value, going concern
      value, or cost of replacement.
         The question, in all cases, will be to determine the basis of valuation
      which, under the particular circumstances, is "most appropriate to the
      property and equitable to the claimant." This phraseology does not differ
      from the international legal standard that would normally prevail in the
      evaluation of nationalized property. It is designed to strengthen that stand­
      ard by giving specific bases of valuation that the Commission shall consider.
         Upon consideration of the entire record, the Commission finds that the
      valuation most appropriate to the property and equitable to the claimant
      is the balance sheet for Flamingo as of December 31, 1959, a copy of which
      was submitted.
         That balance sheet shows that Flamingo owned assets in Cuba aggregating
      $341,278.05, after deleting goods in transit in the amount of $11,329.78
      because that asset could not have been taken by Cuba. It further appears
      that its liabilities aggregated $76,860.34. The Commission therefore finds
      that the net worth of Flamingo on October 24, 1960 was $264,417.71. Since
      Flamingo had 2,635 shares of outstanding 'capital stock, each share of stock
      had a value of $100.3483, and claimant's 2,585 shares of stock had an
      aggregate value of $259,400.36.
         The Commission has decided that in certifications of loss on claims deter­
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        mined pursuant to Title V of the International Claims Settlement Act of
        1949, as amended, interest should be included at the rate of 6% per annum
        from the date of loss to the date of settlement (see Claim of Li.~le Co1·­
        poration, Claim No. CU-0644), and in the instant case it is so ordered.
          Accordingly, the following Certification of Loss will be entered.
                                   CERTIFICATION OF LOSS

          The Commission certifies that SWEET PAPER SALES CORPORATION
        suffered a loss, as a result of actions of the Government of Cuba, within
        the scope of Title V of the International Claims Settlement Act of 1949, as
        amended, in the amount of Two Hundred Fifty-Nine Thousand Four Hun­
        dred Dollars and Thirty-Six Cents ($259,400.36) with interest at 6% per
        annum from October 24, 1960 to the date of settlement.
        Dated at Washington, D.C., June 30, 1972.


              IN THE MATTER OF THE CLAIM OF FREDERIC SAMUELS
                        Claim No. CU-0263-Decision No. CU-3761
                    Petition to Reopen on Commission's Own Motion
                                 AMENDED FINAL DECISION

          Under date of June 2, 1971, the Commission entered its Final Decision
       on this claim certifying a loss in favor of claimant in the amount of
       $62,242.08 plus interest. That certification included $61,278.08 for claimant's
       375 shares of stock in Cia. Tabacalera de Rancho Boyeros, S.A. (Rancho),
       a Cuban corporation, and $964.00 for certain tangible personal property
       in Cuba.
          A portion of the claim for 150 shares of stock in Rothschild-Samuels­
       Duignan, S.A. ( RSD), a Cuban corporation, was denied as being not certi­
       fiable pursuant to Title V of the Act. RSD's balance sheet as of September
       30, 1960 showed that its assets and liabilities aggregated $838,528.26 and
       $101,390.12, respectively, thus indicating an apparent net worth of
       $737,138.12. It further appeared that RSD's stockholders had recovered
       $757,451.09 representing certain accounts receivable of RSD.
          Section 506 of the Act provides that the Commission shall reduce the
       amount of any claim by all amounts received by the claimant on account of
       the same loss or losses. Inasmuch as the amount recovered exceeded the
       apparent net worth of RSD, the Commission concluded that no amount
       could be certified with respect to the stock interest in RSD. ·
          In the related Claim of Cecile C. Samuels, et al; Claim No. CU-0234, the
       Commission found that RSD owned an asset in the nature of goodwill
       which was not recorded on its books and records. The Commission determined
       that this asset had a value of $473,818.27, and that each share of RSD had
       a value of $111.6183 on September 15, 1960, the date of loss.
          Accordingly, the Commission has reopened this matter on its own motion
       and amends the decision on this claim as follows:
          The Commission finds that claimant's 150 shares of stock in RSD had a
       value of $16,742.75, and concludes that he sustained a loss in that amount
       on September 15, 1960.
          Claimant's losses are summarized as follows:
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        Item of Property                                              Date of Loss                            Amount
      Stock interest in Rancho ................... .                October 24, 1960                          $61,278.08
      Tangible personal property ............... .                  September 15, 1960                            964.00
      Stock interest in RSD ......................... .             September 15, 1960                         16,742.75

                                                                               Total                          $78,984.83
         The Commission reaffirms its holding that interest shall be allowed, and
      it is so ordered as follows:
                    FROM                                                                                 ON
              September 15, 1960 ..................................................... .              $17,706.75
              October 24, 1960 ........................................................... .           61,278.08

                                      Total ..................................................... .   $78,984.83
        Accordingly, the Certification of Loss in the Proposed Decision of July 23,
      1969 which was affirmed by the Final Decision of June 2, 1971 is set aside
      and the following Certification of Loss will be entered, and in all other
      respects the Final Decision, as amended herein, is affirmed.
                                              CERTIFICATION OF LOSS

        The Commission certifies that FREDERIC SAMUELS suffered a loss, as
      a result of actions of the Government of Cuba, within the scope of Title V
      of the International Claims Settlement Act of 1949, as amended, in the
      amount of Seventy-Eight Thousand Nine Hundred Eighty-Four Dollars and
      Eighty-Three Cents ($78,984.83) with interest thereon at 6% per annum
      from the respective dates of loss to the date of settlement.
      Dated at Washington, D.C., June 30, 1972.


      IN THE MATTER OF THE CLAIM OF HOWARD E. HOLTZMAN, ET AL.

                            Claim No. CU-2168-Decision No. CU-3522

      The Commission may, on its own motion, reopen a claim and make adjust­
        ments based upon its findings in a related claim.
                                        AMENDED PROPOSED DECISION*

         Under date of March 19, 1969, the Commission entered its Final Decision
      certifying losses in favor of claimants as follows:
           HOWARD E. HOLTZMAN-$303,023.72 plus interest;
           MORTON L. PERRY-$202,015.82 plus interest; and
           LOUIS SUKONIK-$303,023.72 plus interest.
         These amounts represented claimants' stock interests in Fomento Ball­
      Brothers, S.A. ( Fomento), a Cuban corporation which was operating certain
      mines in Cuba pursuant tO' a lease from the Sandy Mining Company, a Cuban
      corporation. In determining the values of claimants' 30%, 20% and 30%
      stock interests, respectively, in Fomento, the Commission deducted Fomento's
      liabilities from its assets to find the net worth of Fomento. Since the record

        • This decision was entered as the Commission's Final Decision on November 19, 1971.
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       indicated that the 10% royalty with respect to ore at the mine site, valued
       at $350,000.00, had been paid, no deductions were made in this respect.
          A claim was presented by Sandy Fryer, sole owner of the Sandy Mining
       Company, Fomento's lessor, Claim No. CU-1617. In that claim, the Com­
       mission found in the basi» of the entire record, including the record in this
       case, that on March 1, 1959, the date of loss, Fomento owed its lessor a
       royalty of $35,000.00 with respect to the ore at the mine site which had
       not been taken into consideration in determining this claim.
          The valuations of claimants' stock intersts in Fomento were based upon
       Fomento's assets and liabilities, aggregating $1,061,079.08 and $51,000.00,
       respectively. The Commission now finds that Fomento's liabilities on the
       date of loss amounted to $86,000.00. Therefore the net worth of Fomento on
       March 1, 1959 was $975,079.08, and claimants' 30%, 20% and 30% stock in­
       terests, respectively, had values of $292,523.72, $195,015.82 and $292,523.72.
          Accordingly, the Final Decision of March 19, 1969 is set aside and the
       Proposed Decision of February 19, 1969 is amended; the Certifications of
       Loss in the Proposed Decision are set aside and the following Certifications
       of Loss will be entered, and in all other respects the Proposed Decision is
       affirmed.
                                 CERTIFICATIONS OF LOSS

         The Commission certifies that HOWARD E. HOLTZMAN suffered a loss,
       as a result of actions of the Government of Cuba, within the scope of Title V
       of the International Claims Settlement Act of 1949, as amended, in the
       amount of Two Hundred Ninety-two Thousand Five Hundred Twenty-Three
       Dollars and Seventy-Two Cents ($292,523.72) with interest at 6% per annum
       from March 1, 1959 to the date of settlement;
          The Commission certifies that MORTON L. PERRY suffered a loss, as a
       result of actions of the Government of Cuba, within the scope of Title V
       of the International Claims Settlement Act of 1949, as amended, in the
       amount of One Hundred Ninety-Five Thousand Fifteen Dollars and Eighty­
       Two Cents ($195,015.82) with interest at 6% per annum from March 1,
       1959 to the date of settlement; and
         The Commission certifies that LOUIS SUKONIK suffered a loss, as a
       result of actions of the Government of Cuba, within the scope of Title V
       of the International Claims Settlement Act of 1949, as amended, in the
       amount of Two Hundred Ninety-Two Thousand Five Hundred Twenty-Three
       Dollars and Seventy-Two Cents ($292,523.72) with interest at 6% per annum
       from March 1, 1959 to the date of settlement.
       Dated at Washington, D.C., October 20, 1971.

                                    PROPOSED DECISION
         This claim against the Government of Cuba, under Title V of the Inter­
       national Claims Settlement Act of 1949, as amended, was presented origi­
       nally by Fomento Ball-Bro, S.A., based upon the asserted loss of $737,886.57,
       sustained as a result of the taking of its personal property by the Govern­
       ment of Cuba.
         Under Title V of the International Claims Settlement Act of 1949 [78
       Stat. 1110 (1964), 22 U.S.C. §§ 1643-1643k (1964), as amended, 79 Stat. 988
       (1965)], the Commission is given jurisdiction over claims of nationals of
       the United States against the Government of Cuba. Section 503(a) of the
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       Act provides that the Commission shall receive and determine in accordance
       with applicable substantive law, including international law, the amount
       and validity of claims by nationals of the United States against the Govern­
       ment of Cuba arising since January 1, 1959 for
           losses resulting from the nationalization, expropriation, intervention or
           other taking of, or special measures directed against, property including
           any rights or interests therein owned wholly or partially, directly or
           indirectly at the time by nationals of the United States.
         Section 502 ( 3) of the Act provides:
           The term "property" means any property, right, or interest including
           any leasehold interest, and debts owed by the Government of Cuba or
           by enterprises which have been nationalized, expropriated, intervened,
           or taken by the Government of Cuba and debts which are a charge on
           property which has been nationalized, expropriated, intervened, or taken
           by the Government of Cuba.
         The record discloses that the original claimant, Fomento Ball-Bro, S.A.,
       hereafter referred to as Fomento, was organized under the laws of Cuba
       and does not qualify as a corporate "national of the United States" defined
       by Section 502 ( 1) (B) of the Act as a corporation or other legal entity
       organized under the laws of the United States, or of any State, the District
       of Columbia, or the Commonwealth of Puerto Rico, whose ownership is vested
       to the extent of 50 per centum or more in natural persons who are citizens
       of the United States. In this type of situation, it has been held previously
       that a stockholder in such a corporation is entitled to file a claim based
       upon his ownership interest therein. (See Claim of Parke, Davis & Company,
       Claim No. CU-0180, 1967 FCSC Ann. Rep. 33.)
         Accordingly, HOWARD E. HOLTZMAN, MORTON L. PERRY and
       LOUIS SUKONIK, nationals of the United States since birth and stock­
       holders of Fomento, have been substituted as claimants, and as claimants
       they have increased the amount of their claim to $1,188,516.57.
         The record includes the minutes of a meeting of the stockholders of
       Fomento, affidavits and stock certificates, on the basis of which the Com­
       mission finds that HOWARD E. HOLTZMAN, MORTON L. PERRY, and
       LOUIS SUKONIK owned 30 shares, 20 shares, and 30 shares, respectively,
       of Fomento, representing 80% of the total outstanding capital stock of
       Fomento. The remaining 20 shares were owned by a nonnational of the
       United States.
         The evidence establishes that Fomento entered into an agreement on
       September 5, 1957 with the Sandy Mining Company, a Cuban corporation,
       pursuant to which Fomento leased two mining sites known as "El Ameri­
       cano" and "Demasia A Josefina" for the purpose of mining and extracting
       manganese ore deposits. The lease was for one year, and was renewable
       from year to year at the option of Fomento, the maximum period being
       30 years. Fomento was required to pay royalties to the lessor of 10% of
       the sales price for each long ton (2,240 pounds) mined less certain expenses,
       and a minimum rental was also included. Other procedural and related
       matters were set forth in a lease, which was executed between HOWARD
       E. HOLTZMAN, President of Fomento, and the President of the lessor.
       It appears that Fomento had acquired the right to exploit the "Josefina"
       mine from the predecessor in interest of Sandy Mining Company. On the
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       basis of this right and a preliminary geological report, dated June 29, 1956,
       Fomento entered into an agreement in February 1957 with a Delaware
       corporation, E. J. Lavino and Company, referred to as Lavino, providing
       for the sale of 10,000 tons of manganese dioxide to Lavino during the period
       ending April 30, 1958. The agreed price was $90.00 per dry ton for the first
       5,000 dry tons and the balance at $85.00 per dry ton, with a penalty against
       Fomento of $2.50 for each percent of manganese dioxide below 84%, and
       Lavino was authorized to reject any ore with less than 84% manganese
       dioxide. Lavino was to advance $50,000.00 to Fomento in consideration of
       which Fomento was to pledge its lease of "Josefina" to Lavino and credit
       Lavino $10.00 per dry ton on the first 5,000 tons delivered to Lavino in
       liquidation of said advance.
          The record shows that mining operations were begun by Fomento and
       shipments were made to Lavino. The record contains a copy of a docu­
       ment marked "Final Settlement Statement" from Lavino to Fomento, dated
       November 19, 1957. That statement indicates the receipt by Lavino at
       its Philadelphia, Pennsylvania office on October 29, 1957 of 103.4184 dry
       tons of ore which, upon analysis, was found to contain 81.75% manganese
       dioxide. Accordingly, the statement indicates that deductions were made
       pursuant to the penalty clause of the agreement as well as for certain
       expenses, likewise covered by that agreement.
          The evidence also includes affidavits from individuals having personal
       knowledge of the facts, attesting that on March 1, 1959 Cuban militiamen
       seized the two mines and offices of Fomento together with all of Fomento's
       machinery, equipment and other personal property related to the operation
       of the mines. These affiants also stated that Fomento's offices and employees
       had been prohibited from entering upon the premises and that they had later
       observed that the mines continued to be operated on behalf of the Cuban
       Government.
          On the basis of all the evidence of record, the Commission finds that
       Fomento owned certain personal property appurtenant to its mining opera­
       tions of the "El Americano" and "Josefina" mines and an inventory of
       mined ore on March 1, 1959 when all of said property was seized by the
       Government of Cuba. It is therefore concluded that the three claimants
       herein sustained losses within the meaning of Title V of the Act.
          In determining the value of the personal property thus taken, exclusive
       of the inventory of mined ore, the Commission considered the nature of
       Fomento's operations, affidavits from claimants and others having personal
       knowledge of the facts as well as lists of the various items of personalty
       present when Cuba seized the property.
          One of the itemized lists appears as part of the affidavit of HOWARD E.
       HOLTZMAN, dated June 13, 1958, which aggregates the sum of $612,516.57.
       This list, however, includes the amounts of $3,600.00 and $450,000.00, for
       inventory of ore discussed separately below, thereby reducing this sum to
       $158,916.57. According to this affidavit, many of the items of machinery
       and equipment were purchased in 1956, some in 1957 and others were pur­
       chased from local concerns or built on the sites, apparently during those
       dates, and the amounts set forth are the prices paid for these items of
       property. Considering the nature of the personalty and the use to which it was
       devoted, the Commission concludes that it would be fair and equitable to
       apply a depreciation factor of 15% in order to determine the reasonable
       value of the property on the date of loss. Accordingly, the Commission
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       finds that the said personal property had a value of $135,079.08 on the date
       of loss.
          A second list of items of property claimed includes the following:
           Stoping, mucking and shafting of mines ..................... .                           $ 60,000.00
           Exploration and staking or ore sites ····················-·········                        22,000.00
           Road building ············································-·····--··--··-------·······     18,000.00

                                                                                                    $100,000.00
          This list also included "Leaseholds" in the amount of $26,000.00, which
       will be discussed below.
          The Commission finds that the items appearing on the foregoing list were
       necessary appurtenances to the mining operations and enhanced the value
       of the mines. The Commission finds that the values asserted for these items
       are fair and reasonable, and that these items of property had an aggregate
       value of $100,000.00 on the date of loss.
         With respect to the inventory of ore, claimants have computed their
       claim on the basis of $90.00 per ton, asserting in effect that the ore was
       at least 84% manganese dioxide and applying the price included in Fomento's
       1957 agrement with Lavino.
         It is noted in this connection that the geologist's report of June 29,
       1956 estimated the existence of 125,000 tons which would yield 16,875 tons
       of 85% ore by the use of conventional methods, and that with special pro­
       cedures it could yield another 8,125 tons of 85% ore, or 25,000 tons. He
       stated furthermore that more exploration may yield as much as 50,000 tons,
       but that there was a "lack of openings into the ore and lack of actual
       plant tests on the ore." An affidavit of December 5, 1968 from Franz R.
       Dykstra, a geologist formerly employed by Lavino from 1949 to 1965, states
       that he recommended the agreement between Lavino and Fomento in 1957.
       The "Final Settlement Statement" of November 19, 1957 from Lavino to
       Fomento would appear to indicate an end of relations. Moreover, there is
       insufficient evidence to establish that the inventory of ore taken by Cuba
       on March 1, 1959 was 84% or more pure manganese dioxide, or that its
       market or fair value on that date was $90.00 per dry ton, as asserted by
       claimants. The Commission also takes note of statements in Mr. HOLTZ­
       MAN's affidavit of June 13, 1958 that from January 1956 through July
       1956 Fomento sold lower grade ore extracted from its leased mines at
       $40.00 per ton, and from July 1956 to April 1959, Fomento sold lower grade
       ore at $60.00 per ton.
         Additionally, certain rentals, royalties and other expenses were involved
       even if sales at $90.00 per ton were made.
         The record does not certain any balance sheets or other financial state­
       ments concerning Fomento, it appearing that all records are in Cuba and
       unavailable to claimants. Mr. HOLTZMAN has stated, however, in answer
       to the Commission's inquiries that on the date of loss the only obligations
       of Fomento were $45,000.00 to Lavino and salaries payable in the amount
       of $6,000.00. He further stated that the monthly payroll was about
       $24,000.00. Even if it could be shown that the value of the inventory were
       as asserted, other expenses would have to be taken into account as well, such
       as freight charges, loading and unloading fees, etc.
         Upon careful consideration of this matter, the Commission concludes
       that the evidence does not warrant the finding that the inventory of ore,
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       amounting to 5,040 tons according to Mr. HOLTZMAN's affidavit, had a
       value of $90.00 per ton on the date of loss. Taking all of the circumstances
       into consideration, the Commission finds that the fair and equitable value
       of the inventory of ore at the mine si.tes was $350,000.00.
            The remaining items for which claim is made are "Leaseholds" in the
       amount of $26,000.00, and the "fair market value of the company's mining
       operations as a going business." Considering the fact that the lease granted
       Fomento the right to mine the two sites for a period of 30 years, less than
       2 years of which had expired as of the date of loss, the Commission finds
       that the fair and reasonable value of the leasehold was $26,000.00, as
       stated by claimants.
          The Commission has carefully considered the claim for the value of the
       "mining operations as a going business." The geologist's report of June 29,
       1956, before operations commenced, indicates a potential of at least 25,000
       tons of high grade ore with the possibility of mining another 25,000 tons of
       high grade ore if certain special procedures were followed. On the basis of
       all the evidence of record the Commission finds that the fair and reasonable
       value of the mines as a going business was $450,000.00 on the date of loss.
          The Commission further finds that the aggregate amount of losses sustained
       by Fomento was $1,061,079.08, less liabilities of $51,000.00, as stated by
       Mr. HOLTZMAN, or a net loss of $1,010,079.08. It therefore concludes that
       claimants, HOWARD E. HOLTZMAN, MORTON L. PERRY AND LOUIS
       SUKONIK, sustained losses within the meaning of Title V of the Act in
       the amounts of $303,023.72, $202,015.82, and $303,023.72, respectively, based
       upon their stock interests in Fomento.
          The Commission has decided that in the certification of losses on claims
       determined pursuant to Title V of the International Claims Settlement Act of
       1949, as amended, interest should be included at the rate of 6% per annum
       from the date of loss to the date of settlement (see Claim of Lisle Corpora­
       tion, Claim No. CU-0644), and in the instant case it is so ordered.
                                  CERTIFICATION OF LOSS

         The Commission certifies that HOWARD E. HOLTZMAN suffered a loss,
       as a result of actions of the Government of Cuba, within the scope of
       Title V of the International Claims Settlement Act of 1949, as amended,
       in the amount of Three Hundred Three Thousand Twenty-three Dollars
       and Seventy-two Cents ($303,023.72), with interest thereon at 6% per annum
       from March 1, 1959 to the date of settlement;
         the Commission certifies that MORTON L. PERRY suffered a loss, as a
       result of actions of the Government of Cuba, within the scope of Title V
       of the International Claims Settlement Act of 1949, as amended, in the
       amount of Two Hundred Two Thousand Fifteen Dollars and Eighty-two
       Cents ($202,015.82), with interest thereon at 6% per annum from March 1,
       1959 to the date of settlement; and
         the Commission certifies that LOUIS SUKONIK suffered a loss, as a result
       of actions of the Government of Cuba, within the scope of Title V of the
       International Claims Settlement Act of 1949, as amended, in the amount
       of Three Hundred Three Thousand Twenty-three Dollars and Seventy-two
       Cents ($303,023.72), with interest thereon at 6% per annum from March 1,
       1959 to the date of settlement.
       Dated at Washington, D.C. February 19, 1969.
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              IN THE MATTER OF THE CLAIM OF MATTHEW A. FRYER
                       Claim No. CU-1617-Decision No. CU-6241
                                    Petition to Reopen
                                 AMENDED FINAL DECISION

          Under date of October 20, 1971, the Commission entered its Final Decision
       on this claim certifying a loss in favor of claimant in the amount of
       $435,000.00 plus interest. A portion of the claim based upon a mining con­
       ~ession covering the Antonio Mine was denied for lack of proof.
          Subsequently, claimant petitioned to reopen the claim, based upon newly
       discovered evidence, pursuant to the governing regulations of the Commission.
        (FCSC Reg., 45 C.F.R. §531.5 (1) (1970).) The new evidence consists of a
       detailed affidavit of January 26, 1972 from claimant; copies of contempo­
       raneous correspondence indicating that the Antonio Mine contained valuable
       ores and was in operation; and an affidavit of January 24, 1972 from an
       individual who had :::vestigated the Antonio Mine.
          Upon consideration of the new evidence in light of the entire record, the
       Commission amends the decision in this matter as follows:
          The Commission finds that since January 30, 1954 claimant was the lessee
       for an indefinite term of a mining concession covering the Antonio Mine
       at Las Villas Province, Cuba. The Commission further finds that the mine
       was taken by the Government of Cuba on October 15, 1960.
          The record shows that the Antonio Mine contained 2,857,142 tons of ore.
       Claimant's obligation to his lessors was $0.20 per ton, and pursuant to a
       sublease in 1958 with a Cuban corporation the sublessee's obligation was to
       pay claimant $1.00 per ton and $0.20 per ton to claimant's lessors. Accord­
       ingly, claimant's equity in the ores was $1.00 per ton.
          It further appears that the Antonio Mine was in operation, and that as a
       result of substantial investments by claimant's lessee the production capacity
       of the mine was 10,000 tons of ore per month. Therefore, the ores in the mine
       would be exhausted in almost 24 years.
          The Commission finds that the valuation most appropriate to the Antonio
       Mine and equitable to claimant is the result obtained by the application of a
       12% annual discount rate to the yearly valuations of claimant's equity in the
       ores during the said period of almost 24 years in order to arrive at the
       aggregate value thereof on October 15, 1960, the date of loss. Accordingly,
       the Commission finds that claimant's equity in the ores had the following
       value_ on October 15, 1960:
                                                     Discount
       Year                 Gross Value               Factor              Net Value
       1961                $ 120,000.00              .892857              $107,142.84
       1962                  120,000.00              .797194                95,663.28
       1963                  120,000.00              .711780                85,413.60
       1964                  120,000.00              .635518                76,262.16
       1965                  120,000.00              .567427                68,091.24
       1966                  120,000.00              .506631                60,795.72
       1967                  120,000.00              .452349                54,281.88
       1968                  120,000.00              .403883                48,465.96
       1969                  120,000.00              .360610                43,273.20
       1970                  120,000.00              .321973                38,636.76
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       1971                              120,000.00                            .287476                         34,497.12
       1972                              120,000.00                            .256675                         30,801.00
       1973                              120,000.00                            .229174                         27,500.88
       1974                              120,000.00                            .204620                         24,554.40
       1975                              120,000.00                            .182696                         21,923.52
       1976                              120,000.00                            .163122                         19,574.64
       1977                              120,000.00                            .145644                         17,477.28
       1978                              120,000.00                            .130040                         15,604.80
       1979                              120,000.00                            .116107                         13,932.84
       1980                              120,000.00                            .103667                         12,440.04
       1981                              120,000.00                            .092560                         11,107.20
       1982                              120,000.00                            .082643                          9,917.16
       1983                              120,000.00                            .073788                          8,854.56
       1984                              117,142.00                            .065882                          7,717.55.

                Totals              $2,857,142.00                                                            $933,929.63
          Claimant's total losses are summarized as follows:
          Item of Property                                              Date of Loss                          Amount
       Americano Mine ................................... .            March 1, 1959                     $ 435,000.00
       Antonio Mine ....................................... .          October 15, 1960                    933,929.63

                                                                              Total                      $1,368,929.63
          The Commission reaffirms its holding that interest shall be allowed, and it
       is so ordered as follows:
                      FROM                                                                              ON
                March 1, 1959 ........................................................... .        $ 435,000.00
                October 15, 1960 ....................................................... .           933,929.63

                                Total ..........................................................   $1,368,929.63
         Accordingly, the Certification of Loss in the Final Decision of October 20,
       1971 is set aside and the following Certification of Loss will be entered,
       and in all other respects the Final Decision, as amended herein, is affirmed.
                                                CERTIFICATION OF LOSS

         The Commission certifies that MATTHEW A. FRYER a/k/a SANDY
       FRYER suffered a loss, as a result of actions of the Government of Cuba,
       within the scope of Title V of the International Claims Settlement Act of
       1949, as amended, in the amount of One Million Three· Hundred Sixty-eight
       Thousand Nine Hundred Twenty-nine Dollars and Sixty-three Cents ($1,·
       368,929.63) with interest thereon at 6% per annum from the respective dates
       of loss to the date of settlement.
       Dated at Washington, D.C. June 30, 1972.
                                                      FINAL DECISION
         Under date of June 23, 1971, the Commission issued its Proposed Decision
       certifying a loss in favor of claimant in tlie amount of $400,000.00 plus
       interest. The amount allowed represented claimant's loss of royalties with
       respect to the lease of a Cuban mine, El Americano, to a Cuba corporation,
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       Fomento Bali-Bro, S.A. (Fomento). A portion of the claim based on a 10%
       royalty for the ore at the mine site in the amount of $35,000.00 was denied
       because the evidence of record, including the record in the claim of the
       lessee, Claim of Howm·d E. Holt.~man, et. al., Claim No. CU-2168, indicated
       that said royalty had been paid. Other portions of the claim were also denied.
          Claimant objected to the Proposed Decision insofar as it denied portions
       of the claim, and requested an oral hearing which was held on October 6,
       1971. At that hearing, counsel for claimant offered oral argument and in­
       troduced new documentary evidence. Testimony was heard from claimant
       and Joseph S. Sirgo, a mining engineer.
          Upon consideration of the entire record, including the evidence presented
       at the oral hearing, the Commission finds that Fomento, the lessee, did not
       pay the said royalty of $35,000.00. It is therefore concluded that claimant's
       loss in this case should be increased by that amount.
          Accordingly, the Certification of Loss in the Proposed Decision of June 23,
       1971 is set aside and the following Certification of Loss will he entered, and
       in all other respects the Proposed Decision is affirmed.
                                  CERTIFICATION OF   Loss
         The Commission certifies that MATTHEW A. FRYER a/k/a SANDY
       FRYER suffered a loss, as a result of actions of the Government of Cuba,
       within the scope of Title V of the International Claims Settlement Act of
       1949, as amended, in the amount of Four Hundred Thirty-Five Thousand
       Dollars ($435,000.00) with interest thereon at 6% per annum from March 1,
       1959 to the date of settlement.
       Dated at Washington, D.C. October 20, 1971.
                                    PROPOSED DECISION

         This claim against the Government of Cuba, filed under Title V of
       the International Claims Settlement Act of 1949, as amended, in the
       amended amount of $4,486,942.00, was presented by MATTHEW A. FRYER
       a/k/a SANDY FRYER based upon the asserted loss of mines in Cuba.
       Claimant has been a national of the United States since birth.
         Under Title V of the International Claims Settlement Act of 1949 [78 Stat.
       1110 (1964), 22 U.S.C. §§1643-1643k (1964), as amended, 79 Stat. 988
       (1965)], the Commission is given ju:&isdiction over claims of nationals of
       the United States against the Government of Cuba. Section 503 (a) of the
       Act provides that the Commission shall receive and determine in accordance
       with applicable substantive law, including international law, the amount
       and validity of claims by nationals of the United States against the Gov­
       ernment of Cuba arising since January 1, 1959 for
           losses resulting from the nationalization, expropriation, intervention or
           other taking of, or special measures directed against, property including
           any rights or interests therein owned wholly or partially, directly or
           indirectly at the time by nationals of the United States.
         Section 502 ( 3) of the Act provides:
           The term 'property' means any property, right, or interest including any
           leasehold interest, and debts owed by the Government of Cuba or by
           enterprises which have been nationalized, expropriated, intervened, or
           taken by the Government of Cuba and debts which are a charge on
           property which has been nationalized, expropriated, intervened, or taken
           by the Government of Cuba.
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        Claimant asserts the following losses:
          El Americano and Demasia a J osefina Mines -----------­                               $1,629,800.00
          Antonio Mine --------------------------------------------------------­------------­    2,857,142.00

                                                                                                $4,486,942.00
                               EL AMERICANO AND DEMASIA A JOSEFINA
        According to claimant's statements of December 8, 1969, he went to Cuba
      in 1949 and later met Mr. Joseph Alloway who owned the El Americano and
      Demasia a Josefina, two adjoining manganese mines in Bayamo, Oriente
      Province, Cuba, which mines are hereafter called Americano. Mr. Alloway
      gave the claimant a power of attorney (dated March 24, 1954) to act on
      his behalf with respect to his Cuban property (Exhibit 2). Claimant states
      that in October 1954 he purchased Americano for $5,000.00, and he claims
      ownership in fee simple. The Commission's records include the Claim of
      Howard E. Holtzman, et al., Claim No. CU-2168, involving an 80% stock
      interest in Fomento Ball-Bro, S.A. (Fomento), a Cuban corporation which
      leased Americano in 1957. That record contains a report from abroad which
      indicates that the rights with respect to Americano were acquired by the
      Sandy Mining Company for $500.00.
         It further appears that the Sandy Mining Company (Cia. Minera Sandy,
      S.A.), a Cuban corporation, was wholly owned by claimant, and that Ameri­
      cano was its sole asset. On September 5, 1957, Sandy Mining Company
      entered into a contract with Fomento pursuant to which Americano was
      leased to Fomento for one year, renewable from year to year at the option
      of the lessee, the maximum period being 30 years (Exhibit 10). That lease
      recites that Sandy Mining Company owns mining concessions with respect
      to El Americano and Demasia a Josefina in Bayamo, Oriente Province, Cuba.
      The Commission therefore finds that Sandy Mining Company owned mining
      concessions with respect to both mines (Americano).
         In Holtzman, supra, the Commission found that Americano had been
      taken by the Government of Cuba on March 1, 1959 while Fomento was in
      possession.
         Since Sandy Mining Company was organized under the laws of Cuba
      it does not qualify as a corporate "national of the United States" defined
      under Section 502(1) (B) of the Act as a corporation or other legal entity
      organized under the laws of the United States, or any State, the District of
      Columbia, or the Commonwealth of Puerto Rico, whose ownership is vested to
      the extent of 50 per centum or more in natural persons who are citizens of
      the United States. In this type of situation, it has been held that an Ameri­
      can stockholder is entitled to file a claim for the value of his ownership
      interest. (See Claim of Parke, Davis & Company, Claim No. CU-0180, 1967
      FCSC Ann. Rep. 33.)
         The Act provides in Section 503 (a) that in making determinations with
      respect to the validity and amount of claims and value of properties, rights,
      or interests taken, the Commission shall take into account the basis of
      valuation most appropriate to the property and equitable to the claimant,
      including but not limited to fair market value, book value, going concern
      value, or cost of replacement.
         The question, in all cases, will be to determine the basis of valuation
      which, under the particular circumstances, is "most appropriate to the prop­
      erty and equitable to the claimant." This phraseology does not differ from
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        the international legal standard that would nonnally prevail in the evalua­
        tion of nationalized property. It is designed to strengthen that standard by
        giving specific bases of valuation that the Commission shall consider.
           In his affidavit of March 24, 1971, claimant computes the amount of his
        claim on account of Americano as follows:
          1.   10o/o of $350,000.00, the amount found by the Com­
               mission as the value of the inventory of mined ore
               at the mine sites in Holtzman, supra .......................... $ 35,000.00
          2.   10o/o of $450,000.00, the amount found by the Com­
               mission as the value of the leased mines as ·a "going
               business" in Holtzman, supra ........................................              45,000.00
          3.   10o/o of the residual value of the ore after expiration
               of Fomento's lease ............................................................ 1,549,800.00

                                           Total ................................................   $1,629,800.00
        1 .Ore at the Mine Sites
           The Commission found in Holtzman, supra., that Fomento's interest in the
        mined ore at the mine sites had a value of $350,000.00. It was noted that
        pursuant to the lease from Sandy Mining Company to Fomento, the lessor
        was to receive lOo/o of the net sales price for each mined ton of concentrated
        ore after deduction of any freight and related expenses not to exceed $10.00
        per ton for transportation and delivery to the shipping port. Since no such
        expenses had been incurred by Fomento with respect to the ore at the mine
        sites, no deductions were made.
           Claimant asserts a loss of $35,000.00 based upon 10o/o of the value of the
        ore at the mine sites, which he states was due pursuant to the lease with
        Fomento. The record in Holtzman, supra, includes an affidavit of December
        23, 1968 from Howard E. Holtzman, in which affiant attests that all royalties
        on the mined ore at the mine sites had been paid. On that basis, the Com­
        mission found that the value of Fomento's equity in the ore at the mine sites
        was equivalent to the value of said ore.
           The Regulation of the Commission provide:
             The claimant shall be the moving party and shall have the burden of
             proof on all issues involved in the detennination of his claim. ( FCSC
             Reg., 45 C.F.R. §531.6(d) (1970).)
           Upon consideration of the entire record in this claim and that of
        Holtzman, supra, the Commission finds that claimant herein has failed to
        sustain the burden of proof with respect to the portion of the claim based
        upon lOo/o of the value of the mined ore at the mine sites. Accordingly, this
        portion of the claim is denied.
          2. 10o/o of "Going Business" Value
          In Holtzman, supra, the Commission found that the value of Fomento's
        mining operations as a "going business" was $450,000.00. The Commission
        considered a geologist's report of June 29, 1956 which indicated a potential
        of 25,000 tons of high grade ore and the possibility of mining another
        25,000 tons of such ore if certain procedures were followed.
          In finding that the "fair and reasonable value of the mines as a going
        business was $450,000.00 on the date of loss," the Commission took into
        consideration all relevant factors in this respect, such as the amount of ore
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      in the mines, the costs of mining operations, and other expenses involved in
      refining and selling the ore, as well as the royalties due the lessor. Since
      the value found by the Commission, $450,000.00, was not the value of the
      ore in the mines, claimant is not entitled to 10% of that amount. Rather,
      claimant is entitled, under the terms of the lease, as sole owner of Sandy
      Mining Company, to an allowance of 10% of the net value of the ore in the
      mines on the basis that it constituted the lessor's equity in the ore, in
      the nature of a debt of a nationalized enterprise. (See Claim of Kramer,
      Marx, Greenlee & Backus, Claim No. CU-0105, 25 FCSC Semiann. Rep.
      62 [July-Dec. 1966].)
         Upon consideration of the entire record in this claim and that of Holtz­
      man, supra, the Commission finds that the valuation most appropriate to
      the property and equitable to the claimant is the result obtained from
      concluding that Americano contained 50,000 tons of high grade ore valued
      at $90.00 per ton. The Commission therefore finds that the gross value of
      said ore on March 1, 1959, the date of loss, was $4,500,000.00. As already
      noted, the lease provided for the deduction of transportation and delivery
      expenses not to exceed $10.00 per ton. In the absence of evidence to the
      contrary, the Commission finds that a deduction of $500,000.00 should be
      made, resulting in a net value of $4,000,000.00 for the 50,000 tons of high
      grade ore in Americano. Therefore, the debt due Sandy Mining Company on
      account of said ore or its equity therein, was 10% thereof of $400,000.00.
      3. 10% of Residual Value of Ore After Expiration of Fomento's Lease
         Claimant asserts that Americano contained considerably more ore than
      the Commission found in Holtzman, supra, and claims a loss of $1,549,800.00
      as the value of the 10% royalty. Claimant relies entirely upon statements
      of one Joseph S. Sirgo, formerly employed by Fomento as manager of the
      mines (Exhibit 6). According to Mr. Sirgo's sworn statements of October
      20, 1969 (Exhibit 6) and his report of August 9, 1967 to claimant, Americano
      contained 189,000 tons of high grade ore which had a gross value of $17,­
      388,000.00. Claimant computes this portion of his claim by deducting from
      that amount $1,890,000.00 on account of transportation and delivery expenses
      and taking 10% of the result.
         In claimant's affidavits of December 19, 1969 and March 24, 1971, and
      in Mr. Sirgo's affidavit of February 10, 1970 (Exhibit 11), it is stated
      that after Fomento acquired the lease covering Americano, considerable
      drilling and exploration took place, which led to Mr. Sirgo's report. Upon
      inquiry, counsel for claimant stated on May 28, 1971 for the record that
      in 1958 Mr. Sirgo had reported his findings to Fomento. An affidavit of
      October 13, 1967 from Mr. Holtzman, President of Fomento, stated he had
      learned that Sirgo had been killed by Castro's men.
         It appeared desirable that the record reflect the reason why Mr. Holtz­
      man had never mentioned such a report from Mr. Sirgo, since it would
      have been to his advantage to do, as Fomento held a long term lease on
      Americano. The record shows that Mr. Holtzman relied on the geologist's
      report of June 29, 1956 which indicates that Americano had 50,000 tons of
      high grade ore, whereas Mr. Sirgo's report indicates the presence of 189,000
      tons of such ore. Counsel submitted an affidavit of May 31, 1971 from
      claimant. Claimant recited therein that Fomento was under-capitalized and
      was using poor equipment, according to Mr. Sirgo; that Fomento simply
      exploited the mines and was satisfied with that alone; and that Mr. Sirgo
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        had advised clai:rr:tant that he was not aware that Mr. Holtzman was con­
        nected with Fomento.
           The Commission has fully considered this entire matter. However the sole
        issue is whether there would be any ore left in Americano after the termi­
        nation of Fomento's 30-year lease in 1987. As already noted, Sandy Mining
        Company did not own Americano in fee simple, but owned only mining
        concessions covering the two mines in question.
           When this rna tter is considered in that light, the following appears.
        According to Holtzman's affidavit of December 23, 1968, Fomento was
        extracting crude ore at the rate of 6,000 tons per month, realizing about
        1,200 of high grade ore. Whether Americano contained 50,000 tons of high
        grade ore as indicated in Holtzman, supra, or 189,000 tons of concentrated
        ore as stated by :Mr. Sirgo, it is clear that all of the ore would have been
        exhausted long before the end of Fomento's lease.
           The Commission therefore finds that claimant has failed to sustain the
        burden of proof with respect to this portion of the claim. The record does
        not establish that after the termination of Fomento's lease there would be
        any ore remaining in Americano. Therefore this portion of the claim is
        denied.
                                        ANTONIO MINE

           Claimant asserts the loss of $2,857,142.00 on account of the Antonio mine
        situated in Las Villas Province, Cuba. The record includes a copy of a
        lease, dated January 30, 1954 (Exhibit 7), pursuant to which claimant
        obtained a concession to exploit the Antonio mine. The lease was to end on
        January 31, 1956, but was renewable for an indefinite number of two-year
        terms at the opton of the liessee. Clamant was obliged to pay the lessors
        a royalty of $.20 for each mined ton that was sold and shipped.
           In his affidavit of December 8, 1969, claimant states that a Cuban cor­
        poration, Compania Minera Macantonio, S.A., was formed for the purpose
        of holding the lease for the benefit of claimant. It is further stated that
        one Alberto Diaz Masvidal, formed another Cuban corporation, Compania
        Minera Masvidal, S.A., which lea~:;ed Antonio from claimant's holding corpora­
        tion. According to claimant's affidavit of March 24, 1971, the holding corpora­
        tion was to receive a royalty of $1.00 for each ton of ore removed from the
        Antonio mine.
           Claimant has informed the Commission that a copy of the lease from
        his holding corporation to the Masvidal corporation is not available. In
        lieu thereof, claimant has submitted the affidavit of November 18, 1969 from
        Clarence W. Moore, an attorney who had personal knowledge of the facts
         (Exhibit 8). This affiant states that in 1958 or early 1959 the Masvidal
        corporation was formed and that it took a lease on the Antonio mine from
        claimant's holding corporation; and that in 1958 and 1959 the Masvidal
        corporation installed certain mining equipment on the Antonio mine site
        through a loan of about $250,000.00.
           Claimant computes his asserted loss with respect to the Antonio mine
        on the basis of an affidavit of October 20, 1969 from Mr. Sirgo (Exhibit 9).
        That affiant states that the Antonio mine contained a pyrite deposit (gen­
        erally, a mineral containing ingredients from which primarily sulphuric
        acid may be manufactured); that at the request of claimant he had pre­
        pared on July 7, 1969 a report on the Antonio mine from personal notes;
        and that the report showed that the mine contained 2,857,142 tons of ore.
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      Apparently, Mr. Sirgo's personal notes are not available. However, counsel
      submitted a copy of a report from Mr. Sirgo, dated August 9, 1967 at
      Nogales, Arizona, which includes the same information.
         It is asserted by claimant that the Antonio mine was a going concern
      and that he had received some royalties from the operation thereof. He
      states that the mine was taken by Cuba in October 1960. Claimant's assertion
      concerning the operation of the mine is supported by a general statement
      from Mr. Moore (Exhibit 8), and a statement from Mr. Sirgo (Exhibit 9)
      that the mine was worked and that its ore was shipped to Italy.
         It is noted that claimant was obliged to pay his lessor a royalty of
      $.20 for each mined ton sold and shipped. Admittedly claimant never operated
      the mine directly, or indirectly through his holding corporation. The record
      contains no evidence to show that claimant ever paid any royalties to his
      lessor. The sublease from claimant's holding corporation to the Masvidal
      corporation, purportedly providing for a royalty of $1.00 per mined ton,
      is not available. Apart from claimant's statement that he received "some
      royalties" from the mine, there is no evidence that the Masvidal corporation
      paid any royalties pursuant to the lease with claimant's holding corporation.
         Upon consideration of the entire record, the Commission finds that claim­
      ant has failed to sustain the burden of proof with respect to the portion of
      the claim based on royalties from the Antonio mine. The evidence of record
      does not establish that the mine contained the asserted amount of ore; nor
      does it establish the extent to which the mine was ever exploited; nor does
      it establish that even if the mine contained the asserted amount of ore, it
      was commercialJy feasible and profitable to operate the mine; nor does the
      evidence establish that claimant's mining concession had any value on the
      asserted date of loss. For all of the foregoing reasons, this portion of the
      claim is denied.
         The Commission has decided that in certifications of loss on claims deter­
      mined pursuant to Title V of the International Claims Settlement Act of
      1949, as amended, interest should be included at the rate of 6% per annum
      from the date of Joss to the date of settlement (see Claim of Li.~le Co1·po­
      ration, Claim No. CU-0644), and in the instant case it is so ordered.
                                 CERTIFICATION OF LOSS

        The Commission certifies that MATTHEW A. FRYER a/k/a SANDY
      FRYER suffered a loss, as a result of actions of the Government of Cuba,
      within the scope of Title V of the International Claims Settlement Act of
      1949, as amended, in the amount of Four Hundred Thousand DoiJars
      ($400,000.00) with interest at 6% per annum from March 1, 1959 to the
      date of settlement.
      Dated at Washington, D.C., June 23, 1971.
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                                                                           EXHIBIT 15
                                           FINAL STATISTICAL REPORT ON CUBAN CLAIMS PROGRAM


                                  Number                 Amount                 Number                  Amount                   Number        Amount
           Type                    Filed                 Claimed                Denied •                Denied                   Awarded       Awarded


         Corporate                 1,146           2,855,993,212.69                248            1,277,494,373.14                 898     1,578,498,839.55
         Individual                7,670             490,413,058.67                947              269,363,329.53               5,013       221,049,729.14
           Totals                  8,816           3,346,406,271.36              1,195            1,546,857 '702.67              5,911     1,799,548,568.69

          • Additional claims totaling 1,710 were dismissed without consideration by the Commission or withdrawn by claimants.
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            ANALYSIS OF FINAL AWARDS GRANTED UNDER THE CUBAN
                              CLAIMS PROGRAM

                                                 As of July 6, 1972

                                                              To             To
          Amount of Awards                                Corporations   Individuals   Total


       $1,000 or less -------------------------------------­    63         1252        1315
        1,001 to 5,000 -----------------------------------­    195         1701        1896
        5,001 to 10,000 ---------------------------------­     100          640         740
        10,001 to 25,000 -------------------------------­      134          593         727
        25,001 to 50,000 -------------------------------­       89          328         417
        50,001 to 100,000 -----------------------------­        51          208         259
        100,001 to 250,000 ---------------------------­         77          145         222
        250,001 to 500,000 ---------------------------­         56           74         130
        500,001 to 1,000,000 -------------------------­         41           33          74
        Over $1,000,000 -------------------------------­        92           39         131

                    TOTAL ----------------------------------   898         5013        5911
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                                                                                                                                    >~:>­
                                                                                                                                    .....
                                                                                                                                    >~:>­


                               TEN HIGHEST CERTIFICATIONS OF LOSS
                                UNDER THE CUBAN CLAIMS PROGRAM
                                                                                                                                    l'lj

CLAIM NO.   DEC. NO.                        CLAIMANT                                                           AMOUNT OJ' AWARD     ~
                                                                                                                                    ga
                                                                                                                                    0
CU-2578     CU-4122    Cuban Electric Company                                                                     $267,568,413.62   z
CU­ 2615    CU­ 5013   International Telephone & Telegraph Corporation                        $50,676,963.88                        (')
                       International Telephone & Telegraph Corporation                         80,002,794.14       130,679,758.02   c-­
                                                                                                                                    >
                         as Trustee
                                                                                              $97,373,414.72
                                                                                                                                    ~
                                                                                                                                    rn
CU-2622     CU-3578    North Ameri<'an Sugar Industries, Inc.
                       Cuban-American Mercantile Corporation                                       52,688.46

                                                                                                                                    ~
                       West India Company                                                      11,548,959.95       108,975,063.13
CU-2619     CU­ 6049   Moa Bay Mining Company                                                                       88,349,ooo:oo
CU-2573                Cuban American Nickel Company ......................................                             Denied      ~
CU- 2776    CU-3824    United Fruit Sugar Company                                                                   85,110,147.09   1:'1
CU-0665     CU-5969    West Indies Sugar Company                                                                    84,880,957.55   ~
CU-2445     CU-3969    American Sugar Company                                                                       81,011,240.24
CU-0938     CU-3838    Standard Oil Company                                                                         71,611,002.90   8
CU-2156     CU-6034    Bangor Punta Corporation                                               $39,078,904.64                        a::
                       Baraqua Industrial Corporation
                       Florida Industrial Corporation of New York
                                                                                                6,280,722.17
                                                                                                3,749,751.18
                                                                                                                                    -5
                                                                                                                                    a::
                                                                                                                                    en
                       Macareno Industrial Corporation of New York                              4,145,316.01
                       Bangor Punta Operations                                                    124,429.06        53,379,123.06   z
CU-1831     CU-4546    Texaco Inc.                                                                                  50,081,109.67
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